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                       Exhibit K
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2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN         473337545      100      4823642                   Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin                  256    historical     1555264454            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                        GEORGE CARLIN         473337545      100      4823646                   Just Enough Bullshit / No One Questions Things                                  George Carlin                  268    historical     1555264460            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                    GEORGE CARLIN         473337545      100      4823648                   Proud To Be An American / God Bless America                                     George Carlin                  286    historical     1555264463            3              3 0.00127892     0.001278922     0.00383677          0     0.0000238   0.0038606


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          OC23UO OPENING ‐ OLD FUCK                                                               GEORGE CARLIN         473337545      100      4823634                   Opening / Old Fuck                                                              George Carlin                  315    historical     1555264438            2         2.4      0.00127892   0.001278922     0.00306941          0   0.000019048   0.0030885


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          HA7D3B   HI MOM!                                                                        GEORGE CARLIN         473337545      100    11005076                    Hi Mom!                                                                         George Carlin                   64    historical     1554269122            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          BB6P17   BACK HOME                                                                      ROBIN WILLIAMS         89045747      100    19908635     USUM71412982 Back Home                                                                         Robin Williams                 223    historical     1556493201            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          YA2IE8   Y'EVER                                                                         GEORGE CARLIN         473337545      100    36926292     QMFME1556691 Y'ever                                                                            George Carlin                  149    historical     1558462613            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          HA7FOU   HEALTHCARE AND HEART SURGERY                                                   ROBIN WILLIAMS         89045747      100    22454789     USQX91000081   Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams                 370    historical     1556970025           11        15.4      0.00127892   0.001278922      0.0196954          0   0.000122224   0.0198176


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                            ROBIN WILLIAMS         89045747      100    22454791     USQX91000083   Sarah Palin, The Clintons, And Jack (Explicit Audio)                            Robin Williams                 325    historical     1557026103           14        16.8      0.00127892   0.001278922     0.02148589          0   0.000133336   0.0216192


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          SH7T0L   SEX IN COMMERCIALS                                                             GEORGE CARLIN         473337545      100    37436674     QMFME1556404 Sex in Commercials                                                                George Carlin                  321    historical     1558521514            2         2.4      0.00127892   0.001278922     0.00306941          0   0.000019048   0.0030885


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                             ROBIN WILLIAMS         89045747      100    22454786     USQX91000078   What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)                           Robin Williams                 130    historical     1556971356            7              7 0.00127892     0.001278922     0.00895246          0     0.0000556    0.009008


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TF0IVE   THE FALKLANDS                                                                  ROBIN WILLIAMS         89045747      100    19908637     USUM71412983 The Falklands                                                                     Robin Williams                 188    historical     1556489361            4              4 0.00127892     0.001278922     0.00511569          0     0.0000317   0.0051474


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                     ROBIN WILLIAMS         89045747      100    22454790     USQX91000082   Bush, Cheney, And The Obamas (Explicit Audio)                                   Robin Williams                 517    historical     1557012653            3         5.4      0.00127892   0.001278922     0.00690618          0     0.0000429    0.006949


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          RA9LAN   RICHARD SIMMONS                                                                ROBIN WILLIAMS         89045747      100    19908638     USUM71412985 Richard Simmons                                                                   Robin Williams                  76    historical     1556160049            2              2 0.00127892     0.001278922     0.00255784          0     0.0000159   0.0025737


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                                ROBIN WILLIAMS         89045747      100    22454795     USQX91000087   Drugs, Alcoholism, And More Drugs (Explicit Audio)                              Robin Williams                 646    historical     1557025595            6        13.2      0.00127892   0.001278922     0.01688177          0   0.000104764   0.0169865


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          RA9K3Q   RELIGION AND MARRIAGE                                                          ROBIN WILLIAMS         89045747      100    22454796     USQX91000088   Religion And Marriage (Explicit Audio)                                          Robin Williams                 406    historical     1556991634           14        19.6      0.00127892   0.001278922     0.02506688          0   0.000155558   0.0252224


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          BB5374   BIRTH CONTROL                                                                  GEORGE CARLIN         473337545      100    37436676     QMFME1556406 Birth Control                                                                     George Carlin                  310    historical     1558521464            1         1.2      0.00127892   0.001278922     0.00153471          0   0.000009524   0.0015442


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H         BLUEWATER MUSIC CORP.    161970171     P50568               BASH MUSIC                                           127194183      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          DA3U5D   DICE HAS RANDOM THOUGHTS                                                       ANDREW DICE CLAY      128623771      100    20966174     USSM19100214   Dice Has Random Thoughts (Live At Govenors/1991)                                Andrew Dice Clay                98    historical     1556103937            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                                     ROBIN WILLIAMS         89045747      100    22454792     USQX91000084   Arnold, The Economy, And Alternative Fuels (Explicit Audio)                     Robin Williams                 359    historical     1556964866           15             18 0.00127892     0.001278922      0.0230206          0    0.00014286   0.0231635


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          KE6B2Y   KHADAFI                                                                        ROBIN WILLIAMS         89045747      100    22491098     USSM18600022   Khadafi (Live)                                                                  Robin Williams                 111    historical     1557051618            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H         BLUEWATER MUSIC CORP.    161970171     P50568               BASH MUSIC                                           127194183      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          DA3NED   DICE JUST SAYS NO LENO                                                         ANDREW DICE CLAY      128623771      100    20966143     USSM19100193   Dice Just Says No Leno (Live At Govenors/1991)                                  Andrew Dice Clay               108    historical     1556464663            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          OC23QW OCCUPATION: FOOLE                                                                GEORGE CARLIN         473337545      100    37436695     QMFME1556597 Occupation: Foole                                                                 George Carlin                  222    historical     1558528048            2              2 0.00127892     0.001278922     0.00255784          0     0.0000159   0.0025737


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TF0A86   THOBBING PYTHON OF LOVE                                                        ROBIN WILLIAMS         89045747      100    19908636     USUM71111341 Throbbing Python Of Love                                                          Robin Williams                 337    historical     1556564708            1         1.2      0.00127892   0.001278922     0.00153471          0   0.000009524   0.0015442


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          WB72VJ   WURDS                                                                          GEORGE CARLIN         473337545      100    36926285     QMFME1556684 Wurds                                                                             George Carlin                   61    historical     1558484795            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2MKO ACKNOWLEDGEMENTS                                                                 GEORGE CARLIN         473337545      100    36929023     QMFME1556562 Acknowledgements                                                                  George Carlin                   26    historical     1558450059            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          WB72TA WELCOME TO MY JOB                                                                GEORGE CARLIN         473337545      100    37436693     QMFME1556596 Welcome To My Job                                                                 George Carlin                  182    historical     1558522477            2              2 0.00127892     0.001278922     0.00255784          0     0.0000159   0.0025737


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                              ROBIN WILLIAMS         89045747      100    22454794     USQX91000086   The Summer Olympics And Athletics (Explicit Audio)                              Robin Williams                 405    historical     1557010575           14        19.6      0.00127892   0.001278922     0.02506688          0   0.000155558   0.0252224


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          FD8V69   FIRST ANNOUNCEMENTS                                                            GEORGE CARLIN         473337545      100    36929029     QMFME1556565 First Announcements                                                               George Carlin                   94    historical     1558482722            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN         473337545      100    37436672     QMFME1556402 Shoot                                                                             George Carlin                  355    historical     1558527844            1         1.2      0.00127892   0.001278922     0.00153471          0   0.000009524   0.0015442


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H         BLUEWATER MUSIC CORP.    161970171     P50568               BASH MUSIC                                           127194183      3/1/2017      3/31/2017      M18195       Pandora   Pandora Premium    Streaming US          DA3NJO   DICE ON BODYBUILDERS                                                           ANDREW DICE CLAY      128623771      100    20966172     USSM19100212   Dice On Bodybuilders (Live At Govenors/1991)                                    Andrew Dice Clay                73    historical     1556501343            1              1 0.00127892     0.001278922     0.00127892          0    0.00000794   0.0012869


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TE8R2E   TELEVISION ANNOUNCERS                                                          GEORGE CARLIN         473337545      100    11005090                    Television Announcers                                                           George Carlin                  441    historical        67940481          98       156.8       0.0003958   0.000395803     0.06206193          0    0.00038514   0.0624471


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          NC5V51   NO COMPLAINING ABOUT POLITICIANS                                               GEORGE CARLIN         473337545      100      3446744                   No Complaining About Politicians                                                George Carlin                  183    historical        69779952          72             72    0.0003958   0.000395803     0.02849782          0    0.00017685   0.0286747


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          GA1BWE GREATEST THING SINCE SLICED BREAD                                                GEORGE CARLIN         473337545      100      3446719                   Greatest Thing Since Sliced Bread                                               George Carlin                  221    historical        69779927          23             23    0.0003958   0.000395803     0.00910347          0     0.0000565     0.00916


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          NC5OG8   NICE DAYS                                                                      GEORGE CARLIN         473337545      100      3446737                   Nice Days                                                                       George Carlin                  154    historical        69779939          12             12    0.0003958   0.000395803     0.00474964          0   0.000029475   0.0047791


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          FD83M4   FALLING ASLEEP                                                                 GEORGE CARLIN         473337545      100      3446735                   Falling Asleep                                                                  George Carlin                   59    historical        69779937          20             20    0.0003958   0.000395803     0.00791606          0   0.000049125   0.0079652


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2MH9 AIRLINES                                                                         GEORGE CARLIN         473337545      100      3446728                   Airlines                                                                        George Carlin                  518    historical        69779931          48        86.4       0.0003958   0.000395803     0.03419739          0    0.00021222   0.0344096


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                      GEORGE CARLIN         473337545      100    11005052                    Air Pollution & Seven Things I'm Tired Of                                       George Carlin                  388    historical        67940453           7         9.8       0.0003958   0.000395803     0.00387887          0     0.0000241   0.0039029


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          RA8YJ5   REINCARNATION (SOULS)                                                          GEORGE CARLIN         473337545      100    11005102                    Reincarnation (Souls)                                                           George Carlin                   38    historical        67940492           4              4    0.0003958   0.000395803     0.00158321          0   0.000009825    0.001593


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          FD83DB   FAVORITE PERIOD OF TIME                                                        GEORGE CARLIN         473337545      100      3446713                   Favorite Period Of Time                                                         George Carlin                  101    historical        69779922           7              7    0.0003958   0.000395803     0.00277062          0     0.0000172   0.0027878


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H         BLUEWATER MUSIC CORP.    161970171     P50568               BASH MUSIC                                           127194183     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          FD9PR9   FIRST KISS                                                                     ANDREW DICE CLAY      128623771      100      5643598                   First Kiss                                                                      Andrew Dice Clay               131    historical        70773009           4              4    0.0003958   0.000395803     0.00158321          0   0.000009825    0.001593


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                                 GEORGE CARLIN         473337545      100    11005095                    Popular Beliefs Rooted In Familiar Expressions                                  George Carlin                  388    historical        67940485           9        12.6       0.0003958   0.000395803     0.00498712          0     0.0000309   0.0050181


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          MA5ZJ4   MENTAL BRAIN THOUGHTS                                                          GEORGE CARLIN         473337545      100    11005072                    Mental Brain Thoughts                                                           George Carlin                  228    historical        67940467          22             22    0.0003958   0.000395803     0.00870767          0      0.000054   0.0087617


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2UF5   A PROPOSITION                                                                  GEORGE CARLIN         473337545      100      3446753                   A Proposition                                                                   George Carlin                  100    historical        69779960           4              4    0.0003958   0.000395803     0.00158321          0   0.000009825    0.001593


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                            GEORGE CARLIN         473337545      100      3446758                   Comitting The Perfect Double Murder                                             George Carlin                  174    historical        69779971          19             19    0.0003958   0.000395803     0.00752026          0     0.0000467   0.0075669


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                    GEORGE CARLIN         473337545      100      4823648                   Proud To Be An American / God Bless America                                     George Carlin                  286    historical        70523179         595         595       0.0003958   0.000395803     0.23550285          0   0.001461467   0.2369643


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                                  GEORGE CARLIN         473337545      100    11005091                    Another Objection On Language                                                   George Carlin                  250    historical        67940482          39             39    0.0003958   0.000395803     0.01543632          0     0.0000958   0.0155321


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          PF2KCV   PERFORMANCE OF 2/28/71                                                         GEORGE CARLIN         473337545      100      5493859                   (02/28/71 Performance)                                                          George Carlin                  369    historical        70725753           4         5.6       0.0003958   0.000395803      0.0022165          0   0.000013755   0.0022303


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                                  GEORGE CARLIN         473337545      100    11005098                    Expressions (In The Privacy Of Your Own Home)                                   George Carlin                  396    historical        67940488           7         9.8       0.0003958   0.000395803     0.00387887          0     0.0000241   0.0039029


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          UA5N3Z   UGLY SINGERS                                                                   GEORGE CARLIN         473337545      100      3446739                   Ugly Singers                                                                    George Carlin                  121    historical        69779944           2              2    0.0003958   0.000395803     0.00079161          0    0.00000491   0.0007965


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          MA56Z9   MORE REDUNDANT EXPRESSIONS                                                     GEORGE CARLIN         473337545      100    11005099                    More Redundant Expressions                                                      George Carlin                   46    historical        67940489           6              6    0.0003958   0.000395803     0.00237482          0     0.0000147   0.0023896


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          MA6D69 MY CHILDHOOD                                                                     GEORGE CARLIN         473337545      100    11005103                    My Childhood                                                                    George Carlin                  338    historical        67940493           6         7.2       0.0003958   0.000395803     0.00284978          0   0.000017685   0.0028675


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                        GEORGE CARLIN         473337545      100    11005082                    # Fuck You, I Like These Kinds Of Jokes                                         George Carlin                  108    historical        67940473           5              5    0.0003958   0.000395803     0.00197902          0     0.0000123   0.0019913


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          SH7MKT   SAYING HELLO                                                                   GEORGE CARLIN         473337545      100      3446743                   Saying Hello                                                                    George Carlin                  200    historical        69779951          36             36    0.0003958   0.000395803     0.01424891          0     0.0000884   0.0143373


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                        GEORGE CARLIN         473337545      100      4823646                   Just Enough Bullshit / No One Questions Things                                  George Carlin                  268    historical        70523178         826         826       0.0003958   0.000395803     0.32693336          0   0.002028861   0.3289622


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TE8DX7   THE 'PRE' EPIDEMIC                                                             GEORGE CARLIN         473337545      100    11005094                    The "Pre" Epidemic                                                              George Carlin                   46    historical        67940484           5              5    0.0003958   0.000395803     0.00197902          0     0.0000123   0.0019913


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2MC6 ASYLUMS                                                                          GEORGE CARLIN         473337545      100      3446714                   Asylums                                                                         George Carlin                  301    historical        69779923          25             30    0.0003958   0.000395803     0.01187409          0     0.0000737   0.0119478


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                               GEORGE CARLIN         473337545      100      3446712                   People Who Want To Know The Time                                                George Carlin                  450    historical        69779921         128       204.8       0.0003958   0.000395803     0.08106048          0    0.00050304   0.0815635


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          SH7TV8   SPORTS ROUNDUP                                                                 GEORGE CARLIN         473337545      100    11005081                    Sports Roundup                                                                  George Carlin                  118    historical        67940472           2              2    0.0003958   0.000395803     0.00079161          0    0.00000491   0.0007965


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                          GEORGE CARLIN         473337545      100      3446752                   Bumper Sticker                                                                  George Carlin                  173    historical        69779959           7              7    0.0003958   0.000395803     0.00277062          0     0.0000172   0.0027878


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                    GEORGE CARLIN         473337545      100    11005056                    Well, Ya Gotta Live Someplace                                                   George Carlin                  481    historical        67940457           8        14.4       0.0003958   0.000395803     0.00569957          0    0.00003537   0.0057349


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          RA8YPX   RIP‐OFFS                                                                       GEORGE CARLIN         473337545      100      3446751                   Rip‐Offs                                                                        George Carlin                  165    historical        69779957           2              2    0.0003958   0.000395803     0.00079161          0    0.00000491   0.0007965


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                     GEORGE CARLIN         473337545      100    11005105                    Language Of Comedy/Goodbye                                                      George Carlin                  106    historical        67940495          10             10    0.0003958   0.000395803     0.00395803          0     0.0000246   0.0039826


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2MEE   ANYTHING BUT THE PRESENT                                                       GEORGE CARLIN         473337545      100    11005086                    Anything But The Present                                                        George Carlin                  334    historical        67940477           9        10.8       0.0003958   0.000395803     0.00427467          0     0.0000265   0.0043012


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          NC5ODY   NO BROWN IN THE RAINBOW                                                        GEORGE CARLIN         473337545      100      3446745                   No Brown In The Rainbow                                                         George Carlin                  180    historical        69779953           3              3    0.0003958   0.000395803     0.00118741          0    0.00000737   0.0011948


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2MNJ   APPROPRIATE NAMES                                                              GEORGE CARLIN         473337545      100    11005062                    Appropriate Names                                                               George Carlin                  157    historical        67940459           8              8    0.0003958   0.000395803     0.00316643          0    0.00001965   0.0031861


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H         BLUEWATER MUSIC CORP.    161970171     P50568               BASH MUSIC                                           127194183     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          1C1KJB                                                                           1990   ANDREW DICE CLAY      128623771      100      5643610                                                                                            1990   Andrew Dice Clay               132    historical        70773021           2              2    0.0003958   0.000395803     0.00079161          0    0.00000491   0.0007965


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          FD8WA9 FOOD TERMS                                                                       GEORGE CARLIN         473337545      100    11005054                    Food Terms                                                                      George Carlin                   84    historical        67940455          28             28    0.0003958   0.000395803     0.01108249          0     0.0000688   0.0111513


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          SH7TX4   SPORTS IS BIG BUSINESS                                                         GEORGE CARLIN         473337545      100      3446715                   Sports Is Big Business                                                          George Carlin                  322    historical        69779924           6         7.2       0.0003958   0.000395803     0.00284978          0   0.000017685   0.0028675


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          WB7942   # WHAT'S MY MOTIVATION                                                         GEORGE CARLIN         473337545      100    11005085                    # What's My Motivation                                                          George Carlin                   45    historical        67940476          12             12    0.0003958   0.000395803     0.00474964          0   0.000029475   0.0047791


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          EB1KXM   EUPHAMISTIC LANGUAGE                                                           GEORGE CARLIN         473337545      100      3446750                   Euphamistic Language                                                            George Carlin                  487    historical        69779956         163       293.4       0.0003958   0.000395803     0.11612863          0   0.000720663   0.1168493


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          GA1BXD   GIVE A HOOT                                                                    GEORGE CARLIN         473337545      100    11005079                    Give A Hoot                                                                     George Carlin                   42    historical        67940471          16             16    0.0003958   0.000395803     0.00633285          0     0.0000393   0.0063722


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          RA8YJO   RELIGIOUS PEOPLE                                                               GEORGE CARLIN         473337545      100      3446748                   Religious People                                                                George Carlin                  400    historical        69779955          92       128.8       0.0003958   0.000395803     0.05097944          0   0.000316365   0.0512958


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                         GEORGE CARLIN         473337545      100      5486207                   The Best Of Comic Relief '90: Track 13                                          George Carlin                  335    historical        70723280         114       136.8       0.0003958   0.000395803     0.05414586          0   0.000336015   0.0544819


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          TE8D21   THE RED SOX (SOCKS)                                                            GEORGE CARLIN         473337545      100      3446765                   The Red Sox (Socks)                                                             George Carlin                  188    historical        69779982          12             12    0.0003958   0.000395803     0.00474964          0   0.000029475   0.0047791


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          AB2L90   AVANT GARDE PLAY                                                               GEORGE CARLIN         473337545      100      3446741                   Avant Garde Play                                                                George Carlin                   74    historical        69779949           4              4    0.0003958   0.000395803     0.00158321          0   0.000009825    0.001593


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          1C1G5X   15 RULES TO LIVE BY                                                            GEORGE CARLIN         473337545      100    11005097                    15 Rules To Live By                                                             George Carlin                  246    historical        67940487          79             79    0.0003958   0.000395803     0.03126845          0   0.000194044   0.0314625


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          HA7D3B   HI MOM!                                                                        GEORGE CARLIN         473337545      100    11005076                    Hi Mom!                                                                         George Carlin                   64    historical        67940469           3              3    0.0003958   0.000395803     0.00118741          0    0.00000737   0.0011948


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          RA8YOE   RETIRED PEOPLE                                                                 GEORGE CARLIN         473337545      100      3446767                   Retired People                                                                  George Carlin                   63    historical        69779984          50             50    0.0003958   0.000395803     0.01979016          0   0.000122812    0.019913


2022‐06          22‐Jun   6/13/2022     P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                         P63131               BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC        201732908     12/1/2017     12/31/2017      M18195       Pandora   Pandora Premium    Streaming US          MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                      GEORGE CARLIN         473337545      100    11005089                    More Random Thoughts (Peacekeeping Force)                                       George Carlin                   66    historical        67940480          25             25    0.0003958   0.000395803     0.00989508          0     0.0000614   0.0099565
                                                                                                                                                                                                               Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 3 of 86 Page ID
                                                                                                                                                                                                                                                 #:4456
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                         GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                         George Carlin      118   historical   67940474     5          5   0.0003958   0.000395803   0.00197902   0     0.0000123   0.0019913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                               GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                               George Carlin      54    historical   69779938    22         22   0.0003958   0.000395803   0.00870767   0      0.000054   0.0087617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   70523176   580        580   0.0003958   0.000395803    0.2295658   0   0.001424624   0.2309904


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                   GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                   George Carlin      152   historical   69779928     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                   GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                   George Carlin      595   historical   67940466     3          6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                        GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                 George Carlin      181   historical   69758413    72         72   0.0003958   0.000395803   0.02849782   0    0.00017685   0.0286747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                               GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                               George Carlin      743   historical   67940478     9       23.4   0.0003958   0.000395803   0.00926179   0     0.0000575   0.0093193


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                         GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                         George Carlin      165   historical   69779925    10         10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                       George Carlin      315   historical   70523170   861     1033.2   0.0003958   0.000395803   0.40894376   0   0.002537795   0.4114816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                         George Carlin      164   historical   69779946    14         14   0.0003958   0.000395803   0.00554124   0     0.0000344   0.0055756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical   67940494    30         30   0.0003958   0.000395803   0.01187409   0     0.0000737   0.0119478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                           GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                           George Carlin      74    historical   67940468     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                   George Carlin      69    historical   67940461     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                         George Carlin      484   historical   67940463     8       14.4   0.0003958   0.000395803   0.00569957   0    0.00003537   0.0057349


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                  George Carlin      62    historical   67940483    15         15   0.0003958   0.000395803   0.00593705   0     0.0000368   0.0059739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                              GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                              George Carlin      183   historical   69779965    15         15   0.0003958   0.000395803   0.00593705   0     0.0000368   0.0059739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                               George Carlin      271   historical   69779920     6          6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                George Carlin      129   historical   69779983     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619    The Honeymoon                                                            Andrew Dice Clay   113   historical   69174764     5          5   0.0003958   0.000395803   0.00197902   0     0.0000123   0.0019913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                 GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                                    George Carlin      76    historical   69923858    52         52   0.0003958   0.000395803   0.02058176   0   0.000127725   0.0207095


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                        George Carlin      235   historical   69924075   175        175   0.0003958   0.000395803   0.06926554   0   0.000429843   0.0696954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                                Andrew Dice Clay   73    historical   68800286    19         19   0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                                       George Carlin      127   historical   70619756    25         25   0.0003958   0.000395803   0.00989508   0     0.0000614   0.0099565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                                   Andrew Dice Clay   167   historical   68839832    23         23   0.0003958   0.000395803   0.00910347   0     0.0000565     0.00916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   52042526   US4LA0703708    Childhood Cliches                                                        George Carlin      244   historical   70619760    10         10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                                         George Carlin      158   historical   69950735     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                                 George Carlin      286   historical   69929433    62         62   0.0003958   0.000395803   0.02453979   0   0.000152287   0.0246921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                                        Andrew Dice Clay   32    historical   68800282    32         32   0.0003958   0.000395803    0.0126657   0     0.0000786   0.0127443


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)                         Andrew Dice Clay   98    historical   68824547    42         42   0.0003958   0.000395803   0.01662373   0   0.000103162   0.0167269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                          GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                             George Carlin      119   historical   69950728     2          2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                           Robin Williams     111   historical   69056958   761        761   0.0003958   0.000395803   0.30120616   0   0.001869204   0.3030754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                           ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                                         Andrew Dice Clay   239   historical   69174759     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                           George Carlin      255   historical   70614229   233        233   0.0003958   0.000395803   0.09222212   0   0.000572306   0.0927944


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                             ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606    Dice Funk‐Up                                                             Andrew Dice Clay   89    historical   69174751    34         34   0.0003958   0.000395803   0.01345731   0     0.0000835   0.0135408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                                               George Carlin      51    historical   69923862    49         49   0.0003958   0.000395803   0.01939435   0   0.000120356   0.0195147


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20778782   USSM18900318    How Are Ya? (Live at Dangerfield's/1989)                                 Andrew Dice Clay   50    historical   68775730     9          9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                                ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621    Road Call                                                                Andrew Dice Clay   82    historical   69174766     4          4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                         George Carlin      340   historical   69928080   246      295.2   0.0003958   0.000395803   0.11684108   0   0.000725084   0.1175662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                                        Andrew Dice Clay   90    historical   68800303    23         23   0.0003958   0.000395803   0.00910347   0     0.0000565     0.00916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                           George Carlin      316   historical   70607237     1        1.2   0.0003958   0.000395803   0.00047496   0    0.00000295   0.0004779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                                        Andrew Dice Clay   231   historical   68800291    40         40   0.0003958   0.000395803   0.01583212   0     0.0000982   0.0159304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                                        George Carlin      53    historical   69924715     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                                    ANDREW DICE CLAY   128623771   100   20778763   USSM18900299    Pizza (Live At Dangerfield's/1989)                                       Andrew Dice Clay   108   historical   68775711     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                   Andrew Dice Clay   145   historical   68824539    52         52   0.0003958   0.000395803   0.02058176   0   0.000127725   0.0207095


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20778772   USSM18900308    Dogs & Birds (Live at Dangerfield's/1989)                                Andrew Dice Clay   168   historical   68775720    11         11   0.0003958   0.000395803   0.00435383   0      0.000027   0.0043809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                             George Carlin      269   historical   70614251    30         30   0.0003958   0.000395803   0.01187409   0     0.0000737   0.0119478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                               ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                   Robin Williams     246   historical   68677039   399        399   0.0003958   0.000395803   0.15792544   0   0.000980043   0.1589055


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                                         George Carlin      174   historical   70614235    20         20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                                ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                                              Andrew Dice Clay   33    historical   69174750    34         34   0.0003958   0.000395803   0.01345731   0     0.0000835   0.0135408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                                 Andrew Dice Clay   174   historical   68767427    71         71   0.0003958   0.000395803   0.02810202   0   0.000174394   0.0282764


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)                       Andrew Dice Clay   186   historical   68775691    10         10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                                    George Carlin      521   historical   69947696    87      156.6   0.0003958   0.000395803   0.06198277   0   0.000384648   0.0623674


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620    The Honeymoon's Over                                                     Andrew Dice Clay   55    historical   69174765     4          4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                         George Carlin      86    historical   69924712    32         32   0.0003958   0.000395803    0.0126657   0     0.0000786   0.0127443


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20746967   USSM18900276    Joey                                                                     Andrew Dice Clay   127   historical   68767423     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                                 ANDREW DICE CLAY   128623771   100   20746963   USSM18900272    Speedin'                                                                 Andrew Dice Clay   86    historical   68767419     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                                                      ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                                       Andrew Dice Clay   185   historical   68775690    11         11   0.0003958   0.000395803   0.00435383   0      0.000027   0.0043809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                        GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                                         George Carlin      65    historical   69924719     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                            Andrew Dice Clay   99    historical   68800294    39         39   0.0003958   0.000395803   0.01543632   0     0.0000958   0.0155321


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                                   George Carlin      49    historical   69923866    45         45   0.0003958   0.000395803   0.01781114   0   0.000110531   0.0179217


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                             ANDREW DICE CLAY   128623771   100   20746960   USSM18900269    The Attitude                                                             Andrew Dice Clay   113   historical   68767416    10         10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                                    George Carlin      328   historical   69924081   304      364.8   0.0003958   0.000395803   0.14438897   0   0.000896039    0.145285


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                        GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                                      George Carlin      351   historical   70424636    97      116.4   0.0003958   0.000395803   0.04607148   0   0.000285907   0.0463574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                                                  Andrew Dice Clay   17    historical   68839820     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                                      ANDREW DICE CLAY   128623771   100   20966165   USSM19100205    Dice And Truckdrivers (Live At Govenors/1991)                            Andrew Dice Clay   23    historical   68824538    55         55   0.0003958   0.000395803   0.02176917   0   0.000135094   0.0219043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                          George Carlin      80    historical   69779979    26         26   0.0003958   0.000395803   0.01029088   0     0.0000639   0.0103547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                              George Carlin      203   historical   69933928    33         33   0.0003958   0.000395803    0.0130615   0     0.0000811   0.0131426


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                                            Andrew Dice Clay   60    historical   68800281    24         24   0.0003958   0.000395803   0.00949927   0     0.0000589   0.0095582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                                  Andrew Dice Clay   202   historical   68839817    17         17   0.0003958   0.000395803   0.00672865   0     0.0000418   0.0067704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                         ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631    Flat As*/Fat As*                                                         Andrew Dice Clay   80    historical   69174776     4          4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                                        Andrew Dice Clay   462   historical   69174752    43       68.8   0.0003958   0.000395803   0.02723125   0    0.00016899   0.0274002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   68824549    29         29   0.0003958   0.000395803   0.01147829   0     0.0000712   0.0115495


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                  GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                     George Carlin      175   historical   69923870    47         47   0.0003958   0.000395803   0.01860275   0   0.000115444   0.0187182


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)                       Robin Williams     405   historical   69037806   7959   11142.6   0.0003958   0.000395803   4.41027562   0   0.027368985   4.4376446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                         GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                                         George Carlin      355   historical   70614237    50         60   0.0003958   0.000395803   0.02374819   0   0.000147375   0.0238956


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                                       Andrew Dice Clay   255   historical   68839825    30         30   0.0003958   0.000395803   0.01187409   0     0.0000737   0.0119478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617    Never Marry Her                                                          Andrew Dice Clay   81    historical   69174762     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O39 WHAT DID SHE SAY?                                                          ANDREW DICE CLAY   128623771   100   20778779   USSM18900315    What Did She Say? (Live at Dangerfield's/1989)                           Andrew Dice Clay   75    historical   68775727    12         12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                          GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                                           George Carlin      222   historical   69950732     4          4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                           Andrew Dice Clay   187   historical   68839812    37         37   0.0003958   0.000395803   0.01464472   0     0.0000909   0.0147356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                           George Carlin      315   historical   69950724    79       94.8   0.0003958   0.000395803   0.03752213   0   0.000232852    0.037755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                             George Carlin      326   historical   69933929    26       31.2   0.0003958   0.000395803   0.01234906   0     0.0000766   0.0124257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                             George Carlin      147   historical   69923582    39         39   0.0003958   0.000395803   0.01543632   0     0.0000958   0.0155321
                                                                                                                                                                                                               Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 4 of 86 Page ID
                                                                                                                                                                                                                                                 #:4457
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                 ANDREW DICE CLAY   128623771   100   20746959   USSM18900268     Smokin'                                                            Andrew Dice Clay   131   historical   68767415    12        12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH    GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   69923580    38     129.2   0.0003958   0.000395803   0.05113776   0   0.000317347   0.0514551


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                                ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615     K2Y/Wife                                                           Andrew Dice Clay   47    historical   69174760     5         5   0.0003958   0.000395803   0.00197902   0     0.0000123   0.0019913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                     GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                  George Carlin      115   historical   69929442    63        63   0.0003958   0.000395803    0.0249356   0   0.000154744   0.0250903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                             ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                Andrew Dice Clay   166   historical   68824536    44        44   0.0003958   0.000395803   0.01741534   0   0.000108075   0.0175234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                             ANDREW DICE CLAY   128623771   100   20778746   USSM18900287     The Divider (Live At Dangerfield's/1989)                           Andrew Dice Clay   130   historical   68775693     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                      ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)              Robin Williams     129   historical   69037798   2428     2428   0.0003958   0.000395803   0.96100993   0   0.005963769   0.9669737


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                            Andrew Dice Clay   126   historical   68824529    51        51   0.0003958   0.000395803   0.02018596   0   0.000125269   0.0203112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                       GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   69950738    79        79   0.0003958   0.000395803   0.03126845   0   0.000194044   0.0314625


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                   ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                            Andrew Dice Clay   195   historical   68839833    18        18   0.0003958   0.000395803   0.00712446   0     0.0000442   0.0071687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                                ANDREW DICE CLAY   128623771   100   20746968   USSM18900277     The Bait                                                           Andrew Dice Clay   151   historical   68767424     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                      ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                 Andrew Dice Clay   110   historical   68839837    21        21   0.0003958   0.000395803   0.00831187   0     0.0000516   0.0083634


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                  George Carlin      355   historical   69950712    11      13.2   0.0003958   0.000395803    0.0052246   0     0.0000324    0.005257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                          GEORGE CARLIN      473337545   100   51923442   US4LA0704602     The Hair Piece                                                     George Carlin      173   historical   70614245    19        19   0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                    ANDREW DICE CLAY   128623771   100   20778750   USSM18900291     Kids (Live At Dangerfield's/1989)                                  Andrew Dice Clay   118   historical   68775697     8         8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                           ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                            Andrew Dice Clay   79    historical   68824540   100       100   0.0003958   0.000395803   0.03958031   0   0.000245625   0.0398259


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                      George Carlin      288   historical   69950720     3         3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                          GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                         George Carlin      173   historical   69950713     6         6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                         GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                George Carlin      295   historical   69933932    11        11   0.0003958   0.000395803   0.00435383   0      0.000027   0.0043809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                              ANDREW DICE CLAY   128623771   100   20778740   USSM18900281     First Kiss (Live At Dangerfield's/1989)                            Andrew Dice Clay   131   historical   68775687    14        14   0.0003958   0.000395803   0.00554124   0     0.0000344   0.0055756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                           ANDREW DICE CLAY   128623771   100   20872378   USSM19000300     Shakin' Hands                                                      Andrew Dice Clay   29    historical   68800288    18        18   0.0003958   0.000395803   0.00712446   0     0.0000442   0.0071687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                          ANDREW DICE CLAY   128623771   100   20778741   USSM18900282     Holiday Season (Live At Dangerfield's/1989)                        Andrew Dice Clay   111   historical   68775688     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                               ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                          Andrew Dice Clay   99    historical   68800274    16        16   0.0003958   0.000395803   0.00633285   0     0.0000393   0.0063722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                                    George Carlin      94    historical   69924704    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   51923440   US4LA0704601     Shoot                                                              George Carlin      355   historical   70614243   394     472.8   0.0003958   0.000395803   0.18713571   0   0.001161314    0.188297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                               ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)             Andrew Dice Clay   232   historical   68775694     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                           Andrew Dice Clay   33    historical   68800271    61        61   0.0003958   0.000395803   0.02414399   0   0.000149831   0.0242938


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   51923450   US4LA0704609     Let's Make a Deal                                                  George Carlin      288   historical   70614253   204       204   0.0003958   0.000395803   0.08074383   0   0.000501075   0.0812449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                                       ANDREW DICE CLAY   128623771   100   20746957   USSM18900266     Moby And The Japs                                                  Andrew Dice Clay   51    historical   68767413    12        12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                            ANDREW DICE CLAY   128623771   100   21026294   USSM19303061     Film & Video                                                       Andrew Dice Clay   106   historical   68839824    15        15   0.0003958   0.000395803   0.00593705   0     0.0000368   0.0059739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                            GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                           George Carlin      85    historical   69950737     3         3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                       GEORGE CARLIN      473337545   100   51923368   US4LA0703602     Toledo Window Box                                                  George Carlin      296   historical   70614228   130       130   0.0003958   0.000395803    0.0514544   0   0.000319312   0.0517737


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                         ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                                    Andrew Dice Clay   72    historical   68800289    50        50   0.0003958   0.000395803   0.01979016   0   0.000122812    0.019913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                          ANDREW DICE CLAY   128623771   100   20778785   USSM18900321     Something Soft (Live at Dangerfield's/1989)                        Andrew Dice Clay   284   historical   68775733     7         7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                           GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                                  George Carlin      477   historical   69933931    20        32   0.0003958   0.000395803    0.0126657   0     0.0000786   0.0127443


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                                   ANDREW DICE CLAY   128623771   100   20966162   USSM19100202     Dice On Redheaded Men (Live At Govenors/1991)                      Andrew Dice Clay   42    historical   68824535    21        21   0.0003958   0.000395803   0.00831187   0     0.0000516   0.0083634


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                         ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   68800283    74        74   0.0003958   0.000395803   0.02928943   0   0.000181762   0.0294712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                      GEORGE CARLIN      473337545   100   45268812   USRC10503015     Daytime Television                                                 George Carlin      577   historical   70424638    45        90   0.0003958   0.000395803   0.03562228   0   0.000221062   0.0358433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                    ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                               Andrew Dice Clay   178   historical   68839826    21        21   0.0003958   0.000395803   0.00831187   0     0.0000516   0.0083634


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                              ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618     For Who, For Her, For What                                         Andrew Dice Clay   35    historical   69174763     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                           GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                          George Carlin      70    historical   69923854    57        57   0.0003958   0.000395803   0.02256078   0   0.000140006   0.0227008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                               GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                            George Carlin      150   historical   69924522    31        31   0.0003958   0.000395803    0.0122699   0     0.0000761    0.012346


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                 GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                                George Carlin      145   historical   69924083    34        34   0.0003958   0.000395803   0.01345731   0     0.0000835   0.0135408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622     Date Night At The Movies                                           Andrew Dice Clay   227   historical   69174767    19        19   0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                     ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                              Andrew Dice Clay   468   historical   68839836    39      62.4   0.0003958   0.000395803   0.02469811   0    0.00015327   0.0248514


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                      GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                     George Carlin      127   historical   69950734     2         2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                             ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613     Banana Nose                                                        Andrew Dice Clay   33    historical   69174758     5         5   0.0003958   0.000395803   0.00197902   0     0.0000123   0.0019913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                                         GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                        George Carlin      126   historical   69950740     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026284   USSM19303051     The Notes                                                          Andrew Dice Clay   48    historical   68839814    12        12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                         ANDREW DICE CLAY   128623771   100   20966168   USSM19100208     Dice Vs. PeeWee (Live At Govenors/1991)                            Andrew Dice Clay   30    historical   68824541    21        21   0.0003958   0.000395803   0.00831187   0     0.0000516   0.0083634


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                               GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                              George Carlin      389   historical   69924716    38      53.2   0.0003958   0.000395803   0.02105673   0   0.000130672   0.0211874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                      ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   68839834    15        15   0.0003958   0.000395803   0.00593705   0     0.0000368   0.0059739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                                                           ANDREW DICE CLAY   128623771   100   20778758   USSM18900298     What'll It Be (Live At Dangerfield's/1989)                         Andrew Dice Clay   136   historical   68775705     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                                            GEORGE CARLIN      473337545   100   45268813   USRC10503016     The Newscast                                                       George Carlin      456   historical   70424639    30        48   0.0003958   0.000395803   0.01899855   0     0.0001179   0.0191164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                                  George Carlin      263   historical   69950715     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                       ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630     Rita's As* Funnel                                                  Andrew Dice Clay   101   historical   69174775     3         3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                         ANDREW DICE CLAY   128623771   100   20778771   USSM18900307     Automatic Pilot (Live at Dangerfield's/1989)                       Andrew Dice Clay   106   historical   68775719     8         8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20872359   USSM19000283     Birds                                                              Andrew Dice Clay   59    historical   68800269    20        20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                   ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                      Andrew Dice Clay   215   historical   68824503    77        77   0.0003958   0.000395803   0.03047684   0   0.000189131    0.030666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                      ANDREW DICE CLAY   128623771   100   20872405   USSM19000314     The First Blow‐Job                                                 Andrew Dice Clay   50    historical   68800302    30        30   0.0003958   0.000395803   0.01187409   0     0.0000737   0.0119478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                  ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626     My Cum                                                             Andrew Dice Clay   89    historical   69174771    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                        ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616     Sid/All Bound Up                                                   Andrew Dice Clay   16    historical   69174761     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                              ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                         Andrew Dice Clay   126   historical   68839821    12        12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   68839838    14        14   0.0003958   0.000395803   0.00554124   0     0.0000344   0.0055756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                           Andrew Dice Clay   180   historical   68839839    28        28   0.0003958   0.000395803   0.01108249   0     0.0000688   0.0111513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                               ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   139   historical   68800270    35        35   0.0003958   0.000395803   0.01385311   0      0.000086   0.0139391


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                           ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                                      Andrew Dice Clay   14    historical   68800295    18        18   0.0003958   0.000395803   0.00712446   0     0.0000442   0.0071687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                             ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                        Andrew Dice Clay   94    historical   68839813    20        20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo               George Carlin      221   historical   69950727   109       109   0.0003958   0.000395803   0.04314254   0   0.000267731   0.0434103


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20872398   USSM19000310     Fat Orgasms                                                        Andrew Dice Clay   28    historical   68800298    18        18   0.0003958   0.000395803   0.00712446   0     0.0000442   0.0071687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                                ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                           Andrew Dice Clay   114   historical   68839818    12        12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                              ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)        Robin Williams     359   historical   69037804   6984   8380.8   0.0003958   0.000395803   3.31714662   0    0.02058532   3.3377319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                    GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                                 George Carlin      102   historical   69923859    47        47   0.0003958   0.000395803   0.01860275   0   0.000115444   0.0187182


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                    GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                                   George Carlin      69    historical   69924708    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                              ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                         Andrew Dice Clay   65    historical   68800277    71        71   0.0003958   0.000395803   0.02810202   0   0.000174394   0.0282764


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                                ANDREW DICE CLAY   128623771   100   21026298   USSM19303065     Surprise                                                           Andrew Dice Clay   232   historical   68839828    31        31   0.0003958   0.000395803    0.0122699   0     0.0000761    0.012346


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                              GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                           George Carlin      285   historical   69950733     2         2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                                         ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624     The Pencil Room                                                    Andrew Dice Clay   79    historical   69174769     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                            GEORGE CARLIN      473337545   100   51648296   USZQE0610778     Mothers Club                                                       George Carlin      279   historical   70607234     7         7   0.0003958   0.000395803   0.00138531   0     0.0000086   0.0013939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                      ANDREW DICE CLAY   128623771   100   20966152   USSM19100197     Dice Stops For Gas (Live At Govenors/1991)                         Andrew Dice Clay   149   historical   68824525    52        52   0.0003958   0.000395803   0.02058176   0   0.000127725   0.0207095


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                           Andrew Dice Clay   48    historical   68800297    27        27   0.0003958   0.000395803   0.01068668   0     0.0000663    0.010753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                               ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   68824543   123     147.6   0.0003958   0.000395803   0.05842054   0   0.000362542   0.0587831


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Q1 MULTIPLE SCLEROSIS                                                        ANDREW DICE CLAY   128623771   100   20778781   USSM18900317     Multiple Sclerosis (Live at Dangerfield's/1989)                    Andrew Dice Clay   26    historical   68775729    13        13   0.0003958   0.000395803   0.00514544   0     0.0000319   0.0051774
                                                                                                                                                                                                               Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 5 of 86 Page ID
                                                                                                                                                                                                                                                 #:4458
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)             Andrew Dice Clay   67    historical   68824527    81        81   0.0003958   0.000395803   0.03206005   0   0.000198956    0.032259


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                       George Carlin      112   historical   69924525    28        28   0.0003958   0.000395803   0.01108249   0     0.0000688   0.0111513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                    George Carlin      214   historical   69923535   196       196   0.0003958   0.000395803   0.07757741   0   0.000481425   0.0780588


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                        GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                              George Carlin      49    historical   69928079    17        17   0.0003958   0.000395803   0.00672865   0     0.0000418   0.0067704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                              ANDREW DICE CLAY   128623771   100   21026300   USSM19303067     Talk To 'Em                                                  Andrew Dice Clay   32    historical   68839831     6         6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                           Andrew Dice Clay   78    historical   68800273    96        96   0.0003958   0.000395803    0.0379971   0     0.0002358   0.0382329


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                          George Carlin      261   historical   69924514    24        24   0.0003958   0.000395803   0.00949927   0     0.0000589   0.0095582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XAJ   SILENCE IS GOLDEN                                                        ANDREW DICE CLAY   128623771   100   20778783   USSM18900319     Silence Is Golden (Live at Dangerfield's/1989)               Andrew Dice Clay   16    historical   68775731     7         7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                George Carlin      310   historical   69950739     5         6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                          George Carlin      206   historical   69950719     3         3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                        Andrew Dice Clay   65    historical   68839829    13        13   0.0003958   0.000395803   0.00514544   0     0.0000319   0.0051774


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                               George Carlin      157   historical   69924710    20        20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                  Andrew Dice Clay   78    historical   68800268    26        26   0.0003958   0.000395803   0.01029088   0     0.0000639   0.0103547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                 Andrew Dice Clay   189   historical   68824544   111       111   0.0003958   0.000395803   0.04393414   0   0.000272644   0.0442068


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   68677038   221       221   0.0003958   0.000395803   0.08747249   0   0.000542831   0.0880153


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                               Andrew Dice Clay   29    historical   68800278    26        26   0.0003958   0.000395803   0.01029088   0     0.0000639   0.0103547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                                                    ANDREW DICE CLAY   128623771   100   20746966   USSM18900275     Shampoo                                                      Andrew Dice Clay   48    historical   68767422    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                      George Carlin      391   historical   69950717     4       5.6   0.0003958   0.000395803    0.0022165   0   0.000013755   0.0022303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                             George Carlin      93    historical   69923869    43        43   0.0003958   0.000395803   0.01701953   0   0.000105619   0.0171252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612     Midgets 2000                                                 Andrew Dice Clay   319   historical   69174757     7       8.4   0.0003958   0.000395803   0.00332475   0     0.0000206   0.0033454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                     George Carlin      270   historical   69950718     2         2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204     Dice On Complaints (Live At Govenors/1991)                   Andrew Dice Clay   85    historical   68824537    49        49   0.0003958   0.000395803   0.01939435   0   0.000120356   0.0195147


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                        GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                George Carlin      131   historical   69923852    61        61   0.0003958   0.000395803   0.02414399   0   0.000149831   0.0242938


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                               ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623     Home Or Office, You Decide                                   Andrew Dice Clay   44    historical   69174768     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                     Andrew Dice Clay   304   historical   69174781    21      25.2   0.0003958   0.000395803   0.00997424   0     0.0000619   0.0100361


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                                    ANDREW DICE CLAY   128623771   100   20966173   USSM19100213     Dice Does It Like Dis (Live At Govenors/1991)                Andrew Dice Clay   59    historical   68824546    17        17   0.0003958   0.000395803   0.00672865   0     0.0000418   0.0067704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                         Andrew Dice Clay   41    historical   68800275    27        27   0.0003958   0.000395803   0.01068668   0     0.0000663    0.010753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                       George Carlin      586   historical   69933930    22        44   0.0003958   0.000395803   0.01741534   0   0.000108075   0.0175234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                         Andrew Dice Clay   79    historical   68839823    20        20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604     Some Werds                                                   George Carlin      477   historical   70614230   281     449.6   0.0003958   0.000395803   0.17795307   0   0.001104329   0.1790574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                  George Carlin      147   historical   69950723     2         2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                  George Carlin      419   historical   69924520   172     240.8   0.0003958   0.000395803   0.09530939   0   0.000591464   0.0959009


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                               ANDREW DICE CLAY   128623771   100   20872374   USSM19000320     The Urinal                                                   Andrew Dice Clay   13    historical   68800284     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                Robin Williams     517   historical   69037802   4821   8677.8   0.0003958   0.000395803   3.43470014   0   0.021314826    3.456015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LIT   CIGARETTES                                                               ANDREW DICE CLAY   128623771   100   20778774   USSM18900310     Cigarettes (Live at Dangerfield's/1989)                      Andrew Dice Clay   136   historical   68775722     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                    Andrew Dice Clay   154   historical   68824523    67        67   0.0003958   0.000395803   0.02651881   0   0.000164569   0.0266834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                    Andrew Dice Clay   111   historical   68824511    70        70   0.0003958   0.000395803   0.02770622   0   0.000171937   0.0278782


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311     Black Chicks                                                 Andrew Dice Clay   41    historical   68800299    24        24   0.0003958   0.000395803   0.00949927   0     0.0000589   0.0095582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608     Sid And The Oriental                                         Andrew Dice Clay   197   historical   69174753     7         7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                           ANDREW DICE CLAY   128623771   100   21026277   USSM19303047     'Tis The Season                                              Andrew Dice Clay   31    historical   68839807    23        23   0.0003958   0.000395803   0.00910347   0     0.0000565     0.00916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                 ANDREW DICE CLAY   128623771   100   21026292   USSM19303059     Dr. Dice                                                     Andrew Dice Clay   20    historical   68839822     8         8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                     George Carlin      153   historical   69923864    47        47   0.0003958   0.000395803   0.01860275   0   0.000115444   0.0187182


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)         Robin Williams     324   historical   69037803   6800     8160   0.0003958   0.000395803    3.2297533   0   0.020042981   3.2497963


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290     Handicaps, Cripples                                          Andrew Dice Clay   123   historical   68800276    17        17   0.0003958   0.000395803   0.00672865   0     0.0000418   0.0067704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                               Andrew Dice Clay   49    historical   68800305    19        19   0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                              ANDREW DICE CLAY   128623771   100   20778752   USSM18900292     Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)   Andrew Dice Clay   169   historical   68775699    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                        ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633     Fat As* House Mix                                            Andrew Dice Clay   146   historical   69174778     4         4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   69928082   117       117   0.0003958   0.000395803   0.04630896   0   0.000287381   0.0465963


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                  Andrew Dice Clay   339   historical   68775702     9      10.8   0.0003958   0.000395803   0.00427467   0     0.0000265   0.0043012


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                             George Carlin      214   historical   70607238     2         2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273     Couples In Love                                              Andrew Dice Clay   211   historical   68767420    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                                              ANDREW DICE CLAY   128623771   100   20778754   USSM18900294     Jerkin' Off (Live At Dangerfield's/1989)                     Andrew Dice Clay   79    historical   68775701    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                               George Carlin      191   historical   69929437    82        82   0.0003958   0.000395803   0.03245585   0   0.000201412   0.0326573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604     Drugs                                                        George Carlin      263   historical   70614247   107       107   0.0003958   0.000395803   0.04235093   0   0.000262819   0.0426138


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                  George Carlin      828   historical   69929434    17      47.6   0.0003958   0.000395803   0.01884023   0   0.000116917   0.0189571


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                        ANDREW DICE CLAY   128623771   100   20746954   USSM18900263     What If The Chick Gets Pregnant...                           Andrew Dice Clay   99    historical   68767410    20        20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293     The Car Ride (Goin' To A Party)                              Andrew Dice Clay   135   historical   68800279    17        17   0.0003958   0.000395803   0.00672865   0     0.0000418   0.0067704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                                 ANDREW DICE CLAY   128623771   100   20872408   USSM19000316     Ya Hear?                                                     Andrew Dice Clay   54    historical   68800304    16        16   0.0003958   0.000395803   0.00633285   0     0.0000393   0.0063722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                                 ANDREW DICE CLAY   128623771   100   20778767   USSM18900303     Hot Mama (Live at Dangerfield's/1989)                        Andrew Dice Clay   138   historical   68775715     9         9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                  George Carlin      426   historical   69950736     5         8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                                  ANDREW DICE CLAY   128623771   100   20872402   USSM19000312     A Vibrant Beautiful Woman                                    Andrew Dice Clay   35    historical   68800300     6         6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)        Andrew Dice Clay   173   historical   68824521    78        78   0.0003958   0.000395803   0.03087264   0   0.000191587   0.0310642


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                    George Carlin      253   historical   69924073   753       753   0.0003958   0.000395803   0.29803973   0   0.001849555   0.2998893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706     New York Voices                                              George Carlin      426   historical   70619758   208     332.8   0.0003958   0.000395803   0.13172327   0   0.000817439   0.1325407


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)               Andrew Dice Clay   63    historical   68824542    46        46   0.0003958   0.000395803   0.01820694   0   0.000112987   0.0183199


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                             George Carlin      275   historical   69950729     3         3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                               Andrew Dice Clay   368   historical   68800285    62      86.8   0.0003958   0.000395803   0.03435571   0   0.000213202   0.0345689


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                       ANDREW DICE CLAY   128623771   100   20746956   USSM18900265     A Day At The Beach                                           Andrew Dice Clay   158   historical   68767412    14        14   0.0003958   0.000395803   0.00554124   0     0.0000344   0.0055756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001               George Carlin      518   historical   69933933    14      25.2   0.0003958   0.000395803   0.00997424   0     0.0000619   0.0100361


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                    George Carlin      310   historical   69950716     3       3.6   0.0003958   0.000395803   0.00142489   0    0.00000884   0.0014337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                                         ANDREW DICE CLAY   128623771   100   20966177   USSM19100217     Let Yourself Go (Live At Govenors/1991)                      Andrew Dice Clay   135   historical   68824550    18        18   0.0003958   0.000395803   0.00712446   0     0.0000442   0.0071687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608     Gay Lib                                                      George Carlin      126   historical   70614234    16        16   0.0003958   0.000395803   0.00633285   0     0.0000393   0.0063722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                 George Carlin      42    historical   69923861    49        49   0.0003958   0.000395803   0.01939435   0   0.000120356   0.0195147


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                     Andrew Dice Clay   101   historical   68824519    42        42   0.0003958   0.000395803   0.01662373   0   0.000103162   0.0167269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                             ANDREW DICE CLAY   128623771   100   20872370   USSM19000294     The Driveway                                                 Andrew Dice Clay   19    historical   68800280    10        10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                            ANDREW DICE CLAY   128623771   100   20778768   USSM18900304     Turn‐On Words (Live at Dangerfield's/1989)                   Andrew Dice Clay   34    historical   68775716     8         8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                          ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609     K2Y‐China Diner                                              Andrew Dice Clay   157   historical   69174754     8         8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637     Club 33(Reprise)                                             Andrew Dice Clay   195   historical   69174782     2         2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                      Andrew Dice Clay   190   historical   69174780     3         3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313     Mother & Son (Live at Dangerfield's/1989)                    Andrew Dice Clay   216   historical   68775725    19        19   0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                                 George Carlin      85    historical   70619759    63        63   0.0003958   0.000395803    0.0249356   0   0.000154744   0.0250903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                    Andrew Dice Clay   98    historical   68824514    72        72   0.0003958   0.000395803   0.02849782   0    0.00017685   0.0286747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                 George Carlin      252   historical   69950726   120       120   0.0003958   0.000395803   0.04749637   0    0.00029475   0.0477911
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                                                                                                                                                                                                                                                 #:4459
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                          Andrew Dice Clay   330   historical   68839840    42       50.4   0.0003958   0.000395803   0.01994848   0   0.000123795   0.0200723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                              GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                              George Carlin      69    historical   69923867    45         45   0.0003958   0.000395803   0.01781114   0   0.000110531   0.0179217


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                              George Carlin      54    historical   69923865    46         46   0.0003958   0.000395803   0.01820694   0   0.000112987   0.0183199


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                                   ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                              Andrew Dice Clay   55    historical   69174756     6          6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)         Andrew Dice Clay   231   historical   68775717    11         11   0.0003958   0.000395803   0.00435383   0      0.000027   0.0043809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                   George Carlin      149   historical   69924526   101        101   0.0003958   0.000395803   0.03997611   0   0.000248081   0.0402242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                            ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                         Andrew Dice Clay   151   historical   69174779     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                             ANDREW DICE CLAY   128623771   100   20746962   USSM18900271    The Golden Age Of Television                          Andrew Dice Clay   111   historical   68767418    12         12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                              George Carlin      177   historical   69950725     2          2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                   George Carlin      192   historical   69933927    29         29   0.0003958   0.000395803   0.01147829   0     0.0000712   0.0115495


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)              Andrew Dice Clay   264   historical   68775714    12         12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                            George Carlin      155   historical   69924707    44         44   0.0003958   0.000395803   0.01741534   0   0.000108075   0.0175234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                            GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                         George Carlin      167   historical   70607235     7          7   0.0003958   0.000395803   0.00138531   0     0.0000086   0.0013939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                             GEORGE CARLIN      473337545   100   51648299   USZQE0610781    War Pictures                                          George Carlin      222   historical   70607236     6          6   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                           George Carlin      500   historical   70424637    54       97.2   0.0003958   0.000395803   0.03847206   0   0.000238747   0.0387108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                                 ANDREW DICE CLAY   128623771   100   20778745   USSM18900286    The Gift (Live At Dangerfield's/1989)                 Andrew Dice Clay   100   historical   68775692    11         11   0.0003958   0.000395803   0.00435383   0      0.000027   0.0043809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                    George Carlin      61    historical   69924519    44         44   0.0003958   0.000395803   0.01741534   0   0.000108075   0.0175234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04M0 GEORGE CARLIN ROASTS ARNOLD SCHWARZENEGGER                                 GEORGE CARLIN      473337545   100   51991269   US4LA0931901    George Carlin Roasts Arnold Schwarzenegger            George Carlin      491   historical   70616454     4        7.2   0.0003958   0.000395803   0.00284978   0   0.000017685   0.0028675


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)              Andrew Dice Clay   101   historical   68824531    58         58   0.0003958   0.000395803   0.02295658   0   0.000142462    0.023099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                                  ANDREW DICE CLAY   128623771   100   20778764   USSM18900300    Concave (Live At Dangerfield's/1989)                  Andrew Dice Clay   67    historical   68775712     9          9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                      George Carlin      25    historical   69924717     7          7   0.0003958   0.000395803   0.00277062   0     0.0000172   0.0027878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                  Robin Williams     154   historical   68677044   100        100   0.0003958   0.000395803   0.03958031   0   0.000245625   0.0398259


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                        Andrew Dice Clay   114   historical   68839827    19         19   0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                          GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                          George Carlin      68    historical   69923853    51         51   0.0003958   0.000395803   0.02018596   0   0.000125269   0.0203112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                   George Carlin      99    historical   69947540    34         34   0.0003958   0.000395803   0.01345731   0     0.0000835   0.0135408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                          Robin Williams     192   historical   68677042   218        218   0.0003958   0.000395803   0.08628508   0   0.000535462   0.0868205


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)         Robin Williams     369   historical   69037801   5766    8072.4   0.0003958   0.000395803   3.19508094   0   0.019827813   3.2149088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                       George Carlin      418   historical   69933925    21       29.4   0.0003958   0.000395803   0.01163661   0     0.0000722   0.0117088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                                                           ANDREW DICE CLAY   128623771   100   20746965   USSM18900274    When I Was Young                                      Andrew Dice Clay   129   historical   68767421     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                     George Carlin      275   historical   69923588   195        195   0.0003958   0.000395803   0.07718161   0   0.000478968   0.0776606


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                                              ANDREW DICE CLAY   128623771   100   20778780   USSM18900316    Double Date (Live at Dangerfield's/1989)              Andrew Dice Clay   145   historical   68775728     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)          Andrew Dice Clay   209   historical   68775696    10         10   0.0003958   0.000395803   0.00395803   0     0.0000246   0.0039826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                     George Carlin      486   historical   69924709    36       64.8   0.0003958   0.000395803   0.02564804   0   0.000159165   0.0258072


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                                              ANDREW DICE CLAY   128623771   100   20778765   USSM18900301    Frozen Food (Live At Dangerfield's/1989)              Andrew Dice Clay   69    historical   68775713     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)             Andrew Dice Clay   199   historical   68775721     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                         ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                      Andrew Dice Clay   129   historical   68839819    16         16   0.0003958   0.000395803   0.00633285   0     0.0000393   0.0063722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                       ANDREW DICE CLAY   128623771   100   20746958   USSM18900267    Doctors And Nurses                                    Andrew Dice Clay   97    historical   68767414    12         12   0.0003958   0.000395803   0.00474964   0   0.000029475   0.0047791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                               George Carlin      206   historical   70614252    20         20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                      George Carlin      147   historical   70614236    24         24   0.0003958   0.000395803   0.00949927   0     0.0000589   0.0095582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                          George Carlin      192   historical   69923863    55         55   0.0003958   0.000395803   0.02176917   0   0.000135094   0.0219043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                         Andrew Dice Clay   32    historical   68800301    74         74   0.0003958   0.000395803   0.02928943   0   0.000181762   0.0294712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                               Andrew Dice Clay   37    historical   68800296    32         32   0.0003958   0.000395803    0.0126657   0     0.0000786   0.0127443


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                Robin Williams     223   historical   68677031   347        347   0.0003958   0.000395803   0.13734368   0   0.000852318    0.138196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                           ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                      Andrew Dice Clay   166   historical   68800306     9          9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                        George Carlin      182   historical   69950731     2          2   0.0003958   0.000395803   0.00079161   0    0.00000491   0.0007965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                              George Carlin      177   historical   69923584   133        133   0.0003958   0.000395803   0.05264181   0   0.000326681   0.0529685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                           GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                         George Carlin      26    historical   69924701    15         15   0.0003958   0.000395803   0.00593705   0     0.0000368   0.0059739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                                                    ANDREW DICE CLAY   128623771   100   20746961   USSM18900270    No Pity                                               Andrew Dice Clay   64    historical   68767417     9          9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                  George Carlin      39    historical   69923860    45         45   0.0003958   0.000395803   0.01781114   0   0.000110531   0.0179217


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)          Andrew Dice Clay   73    historical   68824545   171        171   0.0003958   0.000395803   0.06768233   0   0.000420018   0.0681023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                                ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628    Fish Tank                                             Andrew Dice Clay   28    historical   69174773     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                                                         ANDREW DICE CLAY   128623771   100   20778775   USSM18900311    A History Lesson (Live at Dangerfield's/1989)         Andrew Dice Clay   119   historical   68775723     9          9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                             Andrew Dice Clay   108   historical   68800287    36         36   0.0003958   0.000395803   0.01424891   0     0.0000884   0.0143373


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                         George Carlin      336   historical   69933924    32       38.4   0.0003958   0.000395803   0.01519884   0     0.0000943   0.0152932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                        Andrew Dice Clay   140   historical   68839835     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                          George Carlin      285   historical   70619755   137        137   0.0003958   0.000395803   0.05422503   0   0.000336506   0.0545615


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                               ANDREW DICE CLAY   128623771   100   20746969   USSM18900278    Masturbation                                          Andrew Dice Clay   91    historical   68767425     6          6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                   GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                   George Carlin      54    historical   69947537    44         44   0.0003958   0.000395803   0.01741534   0   0.000108075   0.0175234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                Andrew Dice Clay   200   historical   68767426    44         44   0.0003958   0.000395803   0.01741534   0   0.000108075   0.0175234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                   George Carlin      429   historical   70614254    34       54.4   0.0003958   0.000395803   0.02153169   0    0.00013362   0.0216653


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                    GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                    George Carlin      15    historical   69924721     6          6   0.0003958   0.000395803   0.00237482   0     0.0000147   0.0023896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                           George Carlin      391   historical   70614249    27       37.8   0.0003958   0.000395803   0.01496136   0     0.0000928   0.0150542


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                     George Carlin      129   historical   70614232    28         28   0.0003958   0.000395803   0.01108249   0     0.0000688   0.0111513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                      Andrew Dice Clay   419   historical   69174770    36       50.4   0.0003958   0.000395803   0.01994848   0   0.000123795   0.0200723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                                ANDREW DICE CLAY   128623771   100   20966160   USSM19100201    "What A Mess" (Live At Govenors/1991)                 Andrew Dice Clay   50    historical   68824533    25         25   0.0003958   0.000395803   0.00989508   0     0.0000614   0.0099565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                           ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627    Grocery‐Part 1                                        Andrew Dice Clay   31    historical   69174772     4          4   0.0003958   0.000395803   0.00158321   0   0.000009825    0.001593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                  George Carlin      107   historical   69923871    64         64   0.0003958   0.000395803    0.0253314   0     0.0001572   0.0254886


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                      George Carlin      430   historical   69950721     3        4.8   0.0003958   0.000395803   0.00189986   0    0.00001179   0.0019116


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                            Robin Williams     188   historical   68677033   457        457   0.0003958   0.000395803   0.18088202   0   0.001122505   0.1820045


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                                      ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)   Andrew Dice Clay   198   historical   68775704     8          8   0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                                             ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                        Andrew Dice Clay   82    historical   69174774     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                             ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632    My Statement                                          Andrew Dice Clay   62    historical   69174777     3          3   0.0003958   0.000395803   0.00118741   0    0.00000737   0.0011948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                    George Carlin      320   historical   70614246   118      141.6   0.0003958   0.000395803   0.05604572   0   0.000347805   0.0563935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)        Andrew Dice Clay   108   historical   68824516    76         76   0.0003958   0.000395803   0.03008104   0   0.000186675   0.0302677


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                 Andrew Dice Clay   180   historical   68800293    25         25   0.0003958   0.000395803   0.00989508   0     0.0000614   0.0099565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   20966175   USSM19100215    Dice Greeting Cards (Live At Govenors/1991)           Andrew Dice Clay   43    historical   68824548    18         18   0.0003958   0.000395803   0.00712446   0     0.0000442   0.0071687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                          Andrew Dice Clay   207   historical   68767411    20         20   0.0003958   0.000395803   0.00791606   0   0.000049125   0.0079652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)    Robin Williams     646   historical   69037807   7041   15490.2   0.0003958   0.000395803   6.13106918   0   0.038047767   6.1691169


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                         George Carlin      310   historical   70614248   104      124.8   0.0003958   0.000395803   0.04939623   0    0.00030654   0.0497028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                 Andrew Dice Clay   162   historical   68800290    38         38   0.0003958   0.000395803   0.01504052   0     0.0000933   0.0151339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                      ANDREW DICE CLAY   128623771   100   20778756   USSM18900296    Laughter Vs. Comedy (Live At Dangerfield's/1989)      Andrew Dice Clay   67    historical   68775703     9          9   0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)              Andrew Dice Clay   216   historical   68824509    58         58   0.0003958   0.000395803   0.02295658   0   0.000142462    0.023099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)      Andrew Dice Clay   400   historical   68775732     8       11.2   0.0003958   0.000395803     0.004433   0    0.00002751   0.0044605
                                                                                                                                                                                                               Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 7 of 86 Page ID
                                                                                                                                                                                                                                                 #:4460
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                     ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical    68677034     199        199    0.0003958   0.000395803   0.07876482   0   0.000488793   0.0792536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293    1990 (Live At Dangerfield's/1989)                             Andrew Dice Clay   132   historical    68775700       9          9    0.0003958   0.000395803   0.00356223   0     0.0000221   0.0035843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                          ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical    68824506     108        108    0.0003958   0.000395803   0.04274674   0   0.000265275    0.043012


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO             GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                 George Carlin      229   historical    69947697     267        267    0.0003958   0.000395803   0.10567943   0   0.000655818   0.1063352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                              ANDREW DICE CLAY   128623771   100   20872382   USSM19000304    Action                                                        Andrew Dice Clay   21    historical    68800292       8          8    0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                              GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                         George Carlin      28    historical    69924711      15         15    0.0003958   0.000395803   0.00593705   0     0.0000368   0.0059739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                           GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                      George Carlin      64    historical    69923856      49         49    0.0003958   0.000395803   0.01939435   0   0.000120356   0.0195147


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                        ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                  Andrew Dice Clay    6    historical    68839809      19         19    0.0003958   0.000395803   0.00752026   0     0.0000467   0.0075669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                  GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                               George Carlin      321   historical    69950714       3        3.6    0.0003958   0.000395803   0.00142489   0    0.00000884   0.0014337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                        ANDREW DICE CLAY   128623771   100   20778770   USSM18900306    True Stories (Live at Dangerfield's/1989)                     Andrew Dice Clay   41    historical    68775718       8          8    0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                               ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical    69037808    6951     9731.4    0.0003958   0.000395803   3.85171829   0   0.023902728    3.875621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                             ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                         Robin Williams     337   historical    68677032     514      616.8    0.0003958   0.000395803   0.24413135   0   0.001515014   0.2456464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                                      ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)                   Andrew Dice Clay   222   historical    68775695       8          8    0.0003958   0.000395803   0.00316643   0    0.00001965   0.0031861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2UF5   A PROPOSITION                                                       GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                 George Carlin      100   historical   1548382129     11         11 0.00029645     0.000296452   0.00326097   0     0.0000202   0.0032812


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MNJ   APPROPRIATE NAMES                                                   GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                             George Carlin      157   historical   1547818676     23         23 0.00029645     0.000296452   0.00681839   0     0.0000423   0.0068607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                 GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                           George Carlin      174   historical   1548382135     31         31 0.00029645     0.000296452   0.00919001   0      0.000057    0.009247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                    GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                              George Carlin      164   historical   1548382107     21         21 0.00029645     0.000296452   0.00622549   0     0.0000386   0.0062641


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                          GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                    George Carlin      106   historical   1547818751     32         32 0.00029645     0.000296452   0.00948646   0     0.0000589   0.0095453


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                         GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                   George Carlin      286   historical   1548904838   2396       2396 0.00029645     0.000296452   0.71029875   0   0.004407923   0.7147067


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83M4   FALLING ASLEEP                                                      GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                George Carlin      59    historical   1548382097     64         64 0.00029645     0.000296452   0.01897292   0   0.000117741   0.0190907


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R90   THE INDIAN SERGEANT                                                 GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                           George Carlin      321   historical   1549356505    607      728.4   0.00029645   0.000296452   0.21593556   0   0.001340038   0.2172756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                             GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                George Carlin      268   historical   1548904836   2787       2787 0.00029645     0.000296452   0.82621145   0   0.005127246   0.8313387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                      GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                George Carlin      388   historical   1547818731     83      116.2   0.00029645   0.000296452   0.03444771   0   0.000213773   0.0346615


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   MA6D69 MY CHILDHOOD                                                          GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                  George Carlin      338   historical   1547818747     55         66 0.00029645     0.000296452   0.01956583   0    0.00012142   0.0196872


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   OC23UO OPENING ‐ OLD FUCK                                                    GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                            George Carlin      315   historical   1548904820   2951     3541.2   0.00029645   0.000296452   1.04979547   0   0.006514748   1.0563102


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   1C1G5X   15 RULES TO LIVE BY                                                 GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                           George Carlin      246   historical   1547818735    218        218 0.00029645     0.000296452   0.06462651   0   0.000401055   0.0650276


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                            GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                      George Carlin      334   historical   1547818713     67       80.4   0.00029645   0.000296452   0.02383473   0   0.000147912   0.0239826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8D21   THE RED SOX (SOCKS)                                                 GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                           George Carlin      188   historical   1548382145     55         55 0.00029645     0.000296452   0.01630486   0   0.000101184    0.016406


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MH9 AIRLINES                                                              GEORGE CARLIN      473337545   100   3446728                    Airlines                                                      George Carlin      518   historical   1548382089    129      232.2   0.00029645   0.000296452   0.06883613   0   0.000427179   0.0692633


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7MKT   SAYING HELLO                                                        GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                  George Carlin      200   historical   1548382113    157        157 0.00029645     0.000296452   0.04654295   0   0.000288833   0.0468318


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MC6 ASYLUMS                                                               GEORGE CARLIN      473337545   100   3446714                    Asylums                                                       George Carlin      301   historical   1548382075     89      106.8   0.00029645   0.000296452   0.03166106   0    0.00019648   0.0318575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                       GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                 George Carlin      250   historical   1547818723    156        156 0.00029645     0.000296452    0.0462465   0   0.000286993   0.0465335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   FD8WA9 FOOD TERMS                                                            GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                    George Carlin      84    historical   1547818662     80         80 0.00029645     0.000296452   0.02371615   0   0.000147176   0.0238633


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES              GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                       George Carlin      62    historical   1547818725     60         60 0.00029645     0.000296452   0.01778711   0   0.000110382   0.0178975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                          GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                    George Carlin      46    historical   1547818739     53         53 0.00029645     0.000296452   0.01571195   0     0.0000975   0.0158095


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8ICJ   THE NEW ZODIAC                                                      GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                George Carlin      74    historical   1547818694     18         18 0.00029645     0.000296452   0.00533613   0     0.0000331   0.0053692


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   LA38T0   LATEST DISASTER                                                     GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                               George Carlin      80    historical   1548382139    116        116 0.00029645     0.000296452   0.03438842   0   0.000213405   0.0346018


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                          George Carlin      299   historical   1547818749    104        104 0.00029645     0.000296452     0.030831   0   0.000191329   0.0310223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                              GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                        George Carlin      322   historical   1548382077     82       98.4   0.00029645   0.000296452   0.02917087   0   0.000181027   0.0293519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   BB6WNK BROOKLYN BAD BOY                                                      ANDREW DICE CLAY   128623771   100   5970488                    Brooklyn Bad Boy                                              Andrew Dice Clay   165   historical   1549495493      2          2 0.00029645     0.000296452    0.0005929   0    0.00000368   0.0005966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                             GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                       George Carlin      108   historical   1547818705     23         23 0.00029645     0.000296452   0.00681839   0     0.0000423   0.0068607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TV8   SPORTS ROUNDUP                                                      GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                George Carlin      118   historical   1547818703      9          9 0.00029645     0.000296452   0.00266807   0     0.0000166   0.0026846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                   GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                           George Carlin      350   historical   1549223290     24       28.8   0.00029645   0.000296452   0.00853782   0      0.000053   0.0085908


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   HA7D3B   HI MOM!                                                             GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                       George Carlin      64    historical   1547818696     30         30 0.00029645     0.000296452   0.00889356   0   0.000055191   0.0089487


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                          GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                    George Carlin      271   historical   1548382069     54         54 0.00029645     0.000296452    0.0160084   0     0.0000993   0.0161077


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                       GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                 George Carlin      396   historical   1547818737     71       99.4   0.00029645   0.000296452   0.02946732   0   0.000182866   0.0296502


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2L90   AVANT GARDE PLAY                                                    GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                              George Carlin      74    historical   1548382109     16         16 0.00029645     0.000296452   0.00474323   0     0.0000294   0.0047727


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                             GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                       George Carlin      101   historical   1548382073     22         22 0.00029645     0.000296452   0.00652194   0     0.0000405   0.0065624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                              GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                        George Carlin      369   historical   1549221906     76      106.4   0.00029645   0.000296452   0.03154248   0   0.000195744   0.0317382


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                     GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                             George Carlin      221   historical   1548382083    102        102 0.00029645     0.000296452   0.03023809   0    0.00018765   0.0304257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                          GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                    George Carlin      164   historical   1547818727      9          9 0.00029645     0.000296452   0.00266807   0     0.0000166   0.0026846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                           GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                     George Carlin      388   historical   1547818658     94      131.6   0.00029645   0.000296452   0.03901307   0   0.000242105   0.0392552


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU               GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                George Carlin      173   historical   1548382127     15         15 0.00029645     0.000296452   0.00444678   0     0.0000276   0.0044744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NLB   DICE ON READING MATERIAL                                            ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)              Andrew Dice Clay   67    historical   1550127661     47         47 0.00029645     0.000296452   0.01393324   0     0.0000865   0.0140197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TF0IVE   THE FALKLANDS                                                       ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   1550134938    558        558 0.00029645     0.000296452   0.16542016   0   0.001026553   0.1664467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                               ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical   1550576976   15664   21929.6   0.00029645   0.000296452   6.50107159   0   0.040343902   6.5414155


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                          ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   1550555810   14731   17677.2   0.00029645   0.000296452   5.24043953   0   0.032520759   5.2729603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA9K93   RHYME RENDITIONS                                                    ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                 Andrew Dice Clay   231   historical   1550226106      2          2 0.00029645     0.000296452    0.0005929   0    0.00000368   0.0005966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)          GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001               George Carlin      518   historical   1552407925     56      100.8   0.00029645   0.000296452   0.02988235   0   0.000185442   0.0300678


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO             GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                      George Carlin      286   historical   1551898174     12         12 0.00029645     0.000296452   0.00355742   0     0.0000221   0.0035795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8H49   THE SICKEST                                                         GEORGE CARLIN      473337545   100   32163219   USZQE0610784    The Sickest                                                   George Carlin      113   historical   1551518405     16         16 0.00029645     0.000296452   0.00474323   0     0.0000294   0.0047727


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   YA2IE8   Y'EVER                                                              GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                           George Carlin      149   historical   1551855167     15         15 0.00029645     0.000296452   0.00444678   0     0.0000276   0.0044744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   NC53XA   NICHOLSON                                                           ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   1549968874    474        474 0.00029645     0.000296452    0.1405182   0   0.000872018   0.1413902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                              GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                             George Carlin      486   historical   1551872348    118      212.4   0.00029645   0.000296452   0.06296638   0   0.000390752   0.0633571


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YX2   RADIO DIAL                                                          GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                       George Carlin      112   historical   1551852271      4          4 0.00029645     0.000296452   0.00118581   0    0.00000736   0.0011932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YL5   RICE KRISPIES                                                       GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                    George Carlin      155   historical   1551867001    169        169 0.00029645     0.000296452   0.05010037   0   0.000310909   0.0504113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   SH9INM   SOMETHING SOFT                                                      ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)                   Andrew Dice Clay   285   historical   1550176593      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                   ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)            Robin Williams     405   historical   1550592091   16778   23489.2   0.00029645   0.000296452   6.96341797   0     0.0432131   7.0066311


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   FD8V4O   FOR NAMES' SAKE                                                     GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                  George Carlin      419   historical   1551843540     34       47.6   0.00029645   0.000296452   0.01411111   0     0.0000876   0.0141987


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8D58   TIRED OF SONGS                                                      GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                   George Carlin      203   historical   1552392822    255        255 0.00029645     0.000296452   0.07559524   0   0.000469124   0.0760644


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                     GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                              George Carlin      214   historical   1551528030     69         69 0.00029645     0.000296452   0.02045518   0   0.000126939   0.0205821


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   DA55SO   DOGS COME IN ALL SIZES                                              GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                        George Carlin      152   historical   1548382085     31         31 0.00029645     0.000296452   0.00919001   0      0.000057    0.009247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   BB64DZ   BAMBI                                                               ANDREW DICE CLAY   128623771   100   5970472                    Bambi                                                         Andrew Dice Clay   162   historical   1549495465     44         44 0.00029645     0.000296452   0.01304388   0     0.0000809   0.0131248


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YJ5   REINCARNATION (SOULS)                                               GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                         George Carlin      38    historical   1547818745     31         31 0.00029645     0.000296452   0.00919001   0      0.000057    0.009247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                               GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                         George Carlin      441   historical   1547818721    157      251.2   0.00029645   0.000296452   0.07446872   0   0.000462133   0.0749309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   GA1BXD   GIVE A HOOT                                                         GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                   George Carlin      42    historical   1547818700     31         31 0.00029645     0.000296452   0.00919001   0      0.000057    0.009247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                         GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                 George Carlin      481   historical   1547818666     81      145.8   0.00029645   0.000296452   0.04322269   0   0.000268228   0.0434909


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                              GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                        George Carlin      335   historical   1549217613    517      620.4   0.00029645   0.000296452   0.18391876   0    0.00114135   0.1850601


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R2D   THE EVENING NEWS                                                    GEORGE CARLIN      473337545   100   3446716                    The Evening News                                              George Carlin      165   historical   1548382079     30         30 0.00029645     0.000296452   0.00889356   0   0.000055191   0.0089487


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                          George Carlin      487   historical   1548382123    104      187.2   0.00029645   0.000296452    0.0554958   0   0.000344392   0.0558402


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                              GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                        George Carlin      595   historical   1547818690     73        146 0.00029645     0.000296452   0.04328198   0   0.000268596   0.0435506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                             GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                       George Carlin      180   historical   1548382117     46         46 0.00029645     0.000296452   0.01363679   0     0.0000846   0.0137214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    2/1/2017    2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                    GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                              George Carlin      484   historical   1547818684     56      100.8   0.00029645   0.000296452   0.02988235   0   0.000185442   0.0300678
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                                                                                                                                                                                                                                                 #:4461
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                             ANDREW DICE CLAY   128623771   100   5975940                     He Said She Said                                                                Andrew Dice Clay   462   historical   1549498712    109      174.4   0.00029645   0.000296452   0.05170121   0   0.000320844   0.0520221


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                    GEORGE CARLIN      473337545   100   3446736                     Dogs On Tv                                                                      George Carlin      54    historical   1548382099     68         68 0.00029645     0.000296452   0.02015873   0     0.0001251   0.0202838


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                              GEORGE CARLIN      473337545   100   3446748                     Religious People                                                                George Carlin      400   historical   1548382121    273      382.2   0.00029645   0.000296452   0.11330392   0   0.000703134   0.1140071


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                     GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                                         George Carlin      150   historical   1551874691      3          3 0.00029645     0.000296452   0.00088936   0    0.00000552   0.0008949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                           GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                               George Carlin      115   historical   1551889849     10         10 0.00029645     0.000296452   0.00296452   0   0.000018397   0.0029829


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                                     ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                                           Robin Williams     223   historical   1550138354    599        599 0.00029645     0.000296452   0.17757469   0   0.001101981   0.1786767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                            GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                                  George Carlin      191   historical   1551895776     12         12 0.00029645     0.000296452   0.00355742   0     0.0000221   0.0035795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                       GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                             George Carlin      175   historical   1551873723      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                         ANDREW DICE CLAY   128623771   100   20966176   USSM19100216     Dice Rewrites History (Live At Govenors/1991)                                   Andrew Dice Clay   135   historical   1550218551     12         12 0.00029645     0.000296452   0.00355742   0     0.0000221   0.0035795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                               ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                                     Robin Williams     192   historical   1550219221    531        531 0.00029645     0.000296452   0.15741596   0   0.000976881   0.1583928


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                                ANDREW DICE CLAY   128623771   100   21026282   USSM19303049     Gas (Feminine)                                                                  Andrew Dice Clay   187   historical   1550532531      2          2 0.00029645     0.000296452    0.0005929   0    0.00000368   0.0005966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                    ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                           Robin Williams     246   historical   1549984781    885        885 0.00029645     0.000296452   0.26235993   0   0.001628135   0.2639881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                                   ANDREW DICE CLAY   128623771   100   20778752   USSM18900292     Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)                      Andrew Dice Clay   169   historical   1549940274      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                                 ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                                         Andrew Dice Clay   79    historical   1550220076     77         77 0.00029645     0.000296452    0.0228268   0   0.000141657   0.0229685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                              GEORGE CARLIN      473337545   100   3446712                     People Who Want To Know The Time                                                George Carlin      450   historical   1548382071    778     1244.8   0.00029645   0.000296452   0.36902333   0    0.00229006   0.3713134


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                      GEORGE CARLIN      473337545   100   3446751                     Rip‐Offs                                                                        George Carlin      165   historical   1548382125     12         12 0.00029645     0.000296452   0.00355742   0     0.0000221   0.0035795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                   GEORGE CARLIN      473337545   100   3446757                     Free Speech                                                                     George Carlin      183   historical   1548382133     46         46 0.00029645     0.000296452   0.01363679   0     0.0000846   0.0137214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                    ANDREW DICE CLAY   128623771   100   5643598                     First Kiss                                                                      Andrew Dice Clay   131   historical   1549299906      8          8 0.00029645     0.000296452   0.00237162   0     0.0000147   0.0023863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                        GEORGE CARLIN      473337545   100   11005064                    # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   1547818680     18         18 0.00029645     0.000296452   0.00533613   0     0.0000331   0.0053692


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                              GEORGE CARLIN      473337545   100   3446744                     No Complaining About Politicians                                                George Carlin      183   historical   1548382115    299        299 0.00029645     0.000296452   0.08863912   0   0.000550071   0.0891892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                          1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                              1990   Andrew Dice Clay   132   historical   1549299930      8          8 0.00029645     0.000296452   0.00237162   0     0.0000147   0.0023863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                     GEORGE CARLIN      473337545   100   11005089                    More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   1547818719     55         55 0.00029645     0.000296452   0.01630486   0   0.000101184    0.016406


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                    GEORGE CARLIN      473337545   100   11005087                    First Time Human Sacrifice                                                      George Carlin      743   historical   1547818715     85        221 0.00029645     0.000296452   0.06551587   0   0.000406574   0.0659224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA        GEORGE CARLIN      473337545   100   4823642                     Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   1548904832   1873       1873 0.00029645     0.000296452   0.55525441   0    0.00344576   0.5587002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                     GEORGE CARLIN      473337545   100   3446766                     Quicksand                                                                       George Carlin      129   historical   1548382147     29         29 0.00029645     0.000296452   0.00859711   0     0.0000534   0.0086505


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                             GEORGE CARLIN      473337545   100   3408459                     Death And Dying (Part 2)                                                        George Carlin      181   historical   1548359095    260        260 0.00029645     0.000296452   0.07707749   0   0.000478322   0.0775558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                                GEORGE CARLIN      473337545   100   3446767                     Retired People                                                                  George Carlin      63    historical   1548382149     65         65 0.00029645     0.000296452   0.01926937   0   0.000119581    0.019389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                            GEORGE CARLIN      473337545   100   11005094                    The "Pre" Epidemic                                                              George Carlin      46    historical   1547818729      7          7 0.00029645     0.000296452   0.00207516   0     0.0000129    0.002088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                        GEORGE CARLIN      473337545   100   11005085                    # What's My Motivation                                                          George Carlin      45    historical   1547818711     21         21 0.00029645     0.000296452   0.00622549   0     0.0000386   0.0062641


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                     GEORGE CARLIN      473337545   100   3446737                     Nice Days                                                                       George Carlin      154   historical   1548382101     38         38 0.00029645     0.000296452   0.01126517   0     0.0000699   0.0113351


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                  GEORGE CARLIN      473337545   100   3446739                     Ugly Singers                                                                    George Carlin      121   historical   1548382105     17         17 0.00029645     0.000296452   0.00503968   0     0.0000313    0.005071


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                         GEORGE CARLIN      473337545   100   11005072                    Mental Brain Thoughts                                                           George Carlin      228   historical   1547818692    126        126 0.00029645     0.000296452   0.03735294   0   0.000231802   0.0375847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                              GEORGE CARLIN      473337545   100   11005083                    Let's Beat Them With Our Purses!                                                George Carlin      118   historical   1547818707      8          8 0.00029645     0.000296452   0.00237162   0     0.0000147   0.0023863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA        GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                                     George Carlin      192   historical   1551843880     11         11 0.00029645     0.000296452   0.00326097   0     0.0000202   0.0032812


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                               GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                                     George Carlin      326   historical   1552379488    221      265.2   0.00029645   0.000296452   0.07861904   0   0.000487889   0.0791069


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                                ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                                  Andrew Dice Clay   368   historical   1550713638      1        1.4   0.00029645   0.000296452   0.00041503   0    0.00000258   0.0004176


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                       ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                            Robin Williams     337   historical   1550200399    947     1136.4   0.00029645   0.000296452   0.33688794   0   0.002090636   0.3389786


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                                 ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)                           Andrew Dice Clay   173   historical   1550264631     22         22 0.00029645     0.000296452   0.00652194   0     0.0000405   0.0065624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                             ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                               Andrew Dice Clay   462   historical   1550799595      5          8 0.00029645     0.000296452   0.00237162   0     0.0000147   0.0023863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                       ROBIN WILLIAMS     89045747    100   22491098   USSM18600022     Khadafi (Live)                                                                  Robin Williams     111   historical   1550626458    876        876 0.00029645     0.000296452   0.25969186   0   0.001611578   0.2613034


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                         ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                                         Andrew Dice Clay   195   historical   1550532924      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                         ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                                         Andrew Dice Clay   195   historical   1550532923      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH          GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish                George Carlin      966   historical   1551875630      1        3.4   0.00029645   0.000296452   0.00100794   0   0.000006255   0.0010142


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                              GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                    George Carlin      336   historical   1552346046     33       39.6   0.00029645   0.000296452    0.0117395   0     0.0000729   0.0118123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                              ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625     Old School Phone                                                                Andrew Dice Clay   419   historical   1550798442      2        2.8   0.00029645   0.000296452   0.00083007   0    0.00000515   0.0008352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                               ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                              Robin Williams     646   historical   1550604065    997     2193.4   0.00029645   0.000296452    0.6502376   0     0.0040352   0.6542728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                               ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                                         Andrew Dice Clay   126   historical   1549912521     50         50 0.00029645     0.000296452    0.0148226   0   0.000091985   0.0149146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA        GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                                        George Carlin      153   historical   1551836935      2          2 0.00029645     0.000296452    0.0005929   0    0.00000368   0.0005966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                       ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                                          Andrew Dice Clay   200   historical   1549767186     17         17 0.00029645     0.000296452   0.00503968   0     0.0000313    0.005071


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                            GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                                  George Carlin      189   historical   1551897051    246        246 0.00029645     0.000296452   0.07292717   0   0.000452566   0.0733797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                               ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                                    Andrew Dice Clay   210   historical   1550028519      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                     ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                               Andrew Dice Clay   307   historical   1550089152    238      285.6   0.00029645   0.000296452   0.08466666   0   0.000525419   0.0851921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                                   ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                                        Andrew Dice Clay   264   historical   1549803249      4          4 0.00029645     0.000296452   0.00118581   0    0.00000736   0.0011932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                             ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                                       Andrew Dice Clay   98    historical   1549714283     72         72 0.00029645     0.000296452   0.02134454   0   0.000132459    0.021477


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                             ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                                       Andrew Dice Clay   111   historical   1550112462     52         52 0.00029645     0.000296452    0.0154155   0     0.0000957   0.0155112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                          ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                                    Andrew Dice Clay   73    historical   1550145395    205        205 0.00029645     0.000296452   0.06077264   0   0.000377139   0.0611498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                                 GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                                       George Carlin      214   historical   1551827216    247        247 0.00029645     0.000296452   0.07322362   0   0.000454406    0.073678


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                        ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                                  Andrew Dice Clay   63    historical   1550137828     35         35 0.00029645     0.000296452   0.01037582   0     0.0000644   0.0104402


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                     GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                              George Carlin      99    historical   1551892103     86         86 0.00029645     0.000296452   0.02549486   0   0.000158214   0.0256531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                    ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                                   Robin Williams     517   historical   1550593689   9872    17769.6   0.00029645   0.000296452   5.26783168   0   0.032690747   5.3005224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                         ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                                   Andrew Dice Clay   215   historical   1550102652     73         73 0.00029645     0.000296452   0.02164099   0   0.000134298   0.0217753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                        ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                                  Andrew Dice Clay   108   historical   1550113492     59         59 0.00029645     0.000296452   0.01749066   0   0.000108542   0.0175992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                   GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                                         George Carlin      177   historical   1551857058    164        164 0.00029645     0.000296452   0.04861811   0   0.000301711   0.0489198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                  ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams     370   historical   1550559918   11120     15568 0.00029645     0.000296452   4.61516318   0   0.028640462   4.6438036


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                        GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                            George Carlin      28    historical   1551837516     55         55 0.00029645     0.000296452   0.01630486   0   0.000101184    0.016406


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                           GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                                 George Carlin      340   historical   1551878072    361      433.2   0.00029645   0.000296452   0.12842296   0   0.000796958   0.1292199


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                          ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                                    Andrew Dice Clay   189   historical   1550200575    215        215 0.00029645     0.000296452   0.06373716   0   0.000395536   0.0641327


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                           ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)                            Robin Williams     325   historical   1550604472   15700     18840 0.00029645     0.000296452    5.5851538   0   0.034659963   5.6198138


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                               ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                                     Robin Williams     76    historical   1549848122    261        261 0.00029645     0.000296452   0.07737395   0   0.000480162   0.0778541


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                         ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)                              Andrew Dice Clay   186   historical   1549704161      1          1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                                   ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                             Andrew Dice Clay   166   historical   1550277770     55         55 0.00029645     0.000296452   0.01630486   0   0.000101184    0.016406


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                                    ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)                              Andrew Dice Clay   60    historical   1549910376     41         41 0.00029645     0.000296452   0.01215453   0     0.0000754     0.01223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                           ANDREW DICE CLAY   128623771   100   20778784   USSM18900320     Hour Back...Get It? (Live at Dangerfield's/1989)                                Andrew Dice Clay   400   historical   1550064909      1        1.4   0.00029645   0.000296452   0.00041503   0    0.00000258   0.0004176


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                         GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                               George Carlin      61    historical   1551875128      2          2 0.00029645     0.000296452    0.0005929   0    0.00000368   0.0005966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                               GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                                     George Carlin      147   historical   1551834375     57         57 0.00029645     0.000296452   0.01689776   0   0.000104863   0.0170026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                            ANDREW DICE CLAY   128623771   100   20966152   USSM19100197     Dice Stops For Gas (Live At Govenors/1991)                                      Andrew Dice Clay   149   historical   1550122389     43         43 0.00029645     0.000296452   0.01274743   0     0.0000791   0.0128265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                               ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                                       Andrew Dice Clay   154   historical   1549762040     47         47 0.00029645     0.000296452   0.01393324   0     0.0000865   0.0140197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                              ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                                        Andrew Dice Clay   101   historical   1549723110     39         39 0.00029645     0.000296452   0.01156162   0     0.0000717   0.0116334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                              ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                                        Andrew Dice Clay   101   historical   1549777062     12         12 0.00029645     0.000296452   0.00355742   0     0.0000221   0.0035795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                           ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                                           Andrew Dice Clay   468   historical   1550532727      1        1.6   0.00029645   0.000296452   0.00047432   0    0.00000294   0.0004773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                      ANDREW DICE CLAY   128623771   100   20746968   USSM18900277     The Bait                                                                        Andrew Dice Clay   151   historical   1549703371     65         65 0.00029645     0.000296452   0.01926937   0   0.000119581    0.019389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                      ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   1549799237     37         37 0.00029645     0.000296452   0.01096872   0     0.0000681   0.0110368


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                      ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                                        Andrew Dice Clay   174   historical   1550250626     27         27 0.00029645     0.000296452    0.0080042   0     0.0000497   0.0080539
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                                                                                                                                                                                                                                                 #:4462
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                             Andrew Dice Clay   331   historical   1550528784     1       1.2   0.00029645   0.000296452   0.00035574   0    0.00000221    0.000358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                                  George Carlin      586   historical   1552357329     6        12 0.00029645     0.000296452   0.00355742   0     0.0000221   0.0035795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                   George Carlin      389   historical   1551869403    83     116.2   0.00029645   0.000296452   0.03444771   0   0.000213773   0.0346615


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                          George Carlin      157   historical   1551824253    31        31 0.00029645     0.000296452   0.00919001   0      0.000057    0.009247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)                    Robin Williams     130   historical   1550560954   3525     3525 0.00029645     0.000296452   1.04499295   0   0.006484945   1.0514779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                                 Andrew Dice Clay   216   historical   1549761088    61        61 0.00029645     0.000296452   0.01808357   0   0.000112222   0.0181958


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                     Robin Williams     154   historical   1550089531    59        59 0.00029645     0.000296452   0.01749066   0   0.000108542   0.0175992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                      George Carlin      192   historical   1552381890   150       150 0.00029645     0.000296452   0.04446779   0   0.000275955   0.0447437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                         George Carlin      86    historical   1551825652    36        36 0.00029645     0.000296452   0.01067227   0     0.0000662   0.0107385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                            George Carlin      229   historical   1551886737   724       724 0.00029645     0.000296452   0.21463118   0   0.001331943   0.2159631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                     George Carlin      295   historical   1552358663     1         1 0.00029645     0.000296452   0.00029645   0    0.00000184   0.0002983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                          George Carlin      418   historical   1552415853   242     338.8   0.00029645   0.000296452    0.1004379   0   0.000623291   0.1010612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                               Andrew Dice Clay   85    historical   1549919596    13        13 0.00029645     0.000296452   0.00385388   0     0.0000239   0.0038778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                        George Carlin      275   historical   1551875372   362       362 0.00029645     0.000296452   0.10731559   0   0.000665972   0.1079816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                   Andrew Dice Clay   145   historical   1549849766    52        52 0.00029645     0.000296452    0.0154155   0     0.0000957   0.0155112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   2/1/2017   2/28/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   32163213   USZQE0610782    The Cool World                                                           George Carlin      316   historical   1551489778    13      15.6   0.00029645   0.000296452   0.00462465   0     0.0000287   0.0046533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                   GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                   George Carlin      369   historical    25848021     16      22.4   0.00013353   0.000133531   0.00299109   0     0.0000186   0.0030097


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                        GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                 George Carlin      181   historical    24815921    134       134 0.00013353     0.000133531   0.01789315   0    0.00011104   0.0180042


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                George Carlin      388   historical    22912538     29      40.6   0.00013353   0.000133531   0.00542136   0     0.0000336    0.005455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                   George Carlin      69    historical    22912546      3         3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                              George Carlin      286   historical    25654095    937       937 0.00013353     0.000133531   0.12511855   0   0.000776452    0.125895


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                             GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                             George Carlin      121   historical    24841833      5         5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                   GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                   George Carlin      595   historical    22912551     26        52 0.00013353     0.000133531   0.00694361   0     0.0000431   0.0069867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                        GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                        George Carlin      157   historical    22912544     16        16 0.00013353     0.000133531    0.0021365   0     0.0000133   0.0021498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                                             GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                             George Carlin      200   historical    24841839     60        60 0.00013353     0.000133531   0.00801186   0     0.0000497   0.0080616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                               GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                               George Carlin      54    historical    24841827     36        36 0.00013353     0.000133531   0.00480712   0     0.0000298   0.0048369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                         George Carlin      183   historical    24841840    106       106 0.00013353     0.000133531   0.01415429   0     0.0000878   0.0142421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                            GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                            George Carlin      250   historical    22912567     67        67 0.00013353     0.000133531   0.00894658   0     0.0000555   0.0090021


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                 GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                 George Carlin      334   historical    22912562     24      28.8   0.00013353   0.000133531   0.00384569   0     0.0000239   0.0038696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                                  GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                  George Carlin      64    historical    22912554     23        23 0.00013353     0.000133531   0.00307121   0     0.0000191   0.0030903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                   GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                   George Carlin      322   historical    24841814     27      32.4   0.00013353   0.000133531    0.0043264   0     0.0000268   0.0043533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                                    GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                  George Carlin      301   historical    24841813     25        30 0.00013353     0.000133531   0.00400593   0     0.0000249   0.0040308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                   GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                   George Carlin      45    historical    22912561      9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                   GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                 George Carlin      518   historical    24841820     37      66.6   0.00013353   0.000133531   0.00889317   0     0.0000552   0.0089484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                George Carlin      66    historical    22912565     19        19 0.00013353     0.000133531   0.00253709   0     0.0000157   0.0025528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                               GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                               George Carlin      743   historical    22912563     11      28.6   0.00013353   0.000133531   0.00381899   0     0.0000237   0.0038427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                               GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                               George Carlin      164   historical    22912569      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                               GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                             George Carlin      338   historical    22912579     24      28.8   0.00013353   0.000133531   0.00384569   0     0.0000239   0.0038696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                                              GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                              George Carlin      42    historical    22912556     23        23 0.00013353     0.000133531   0.00307121   0     0.0000191   0.0030903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                              GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                              George Carlin      183   historical    24841854     25        25 0.00013353     0.000133531   0.00333828   0     0.0000207    0.003359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                      GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                      George Carlin      246   historical    22912573    137       137 0.00013353     0.000133531   0.01829375   0   0.000113526   0.0184073


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                         GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                         George Carlin      450   historical    24841811    271     433.6   0.00013353   0.000133531   0.05789904   0   0.000359306   0.0582583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                  George Carlin      62    historical    22912568     51        51 0.00013353     0.000133531   0.00681008   0     0.0000423   0.0068523


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                         GEORGE CARLIN      473337545   100   3446748                    Religious People                                                         George Carlin      400   historical    24841843    107     149.8   0.00013353   0.000133531   0.02000294   0   0.000124133   0.0201271


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                    GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                    George Carlin      441   historical    22912566     80       128 0.00013353     0.000133531   0.01709197   0   0.000106068    0.017198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                                           GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                           George Carlin      118   historical    22912557      2         2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                               GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                               George Carlin      106   historical    22912581      9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                            George Carlin      396   historical    22912574     18      25.2   0.00013353   0.000133531   0.00336498   0     0.0000209   0.0033859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                               GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                               George Carlin      46    historical    22912575     15        15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                                 GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                               George Carlin      84    historical    22912539     40        40 0.00013353     0.000133531   0.00534124   0     0.0000331   0.0053744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                         GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                         George Carlin      74    historical    24841837      8         8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                         GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                         George Carlin      165   historical    24841815      4         4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                                           GEORGE CARLIN      473337545   100   3446767                    Retired People                                                           George Carlin      63    historical    24841873     13        13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                       GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                       George Carlin      46    historical    22912570      2         2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                           GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                           George Carlin      74    historical    22912553      9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                               George Carlin      271   historical    24841810     13        13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                   George Carlin      335   historical    25845765    205       246 0.00013353     0.000133531   0.03284863   0    0.00020385   0.0330525


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical    25654092    619       619 0.00013353     0.000133531   0.08265569   0   0.000512939   0.0831686


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                           GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                           George Carlin      388   historical    22912571     19      26.6   0.00013353   0.000133531   0.00355193   0      0.000022    0.003574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                                GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                George Carlin      154   historical    24841828     16        16 0.00013353     0.000133531    0.0021365   0     0.0000133   0.0021498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                  George Carlin      101   historical    24841812     26        26 0.00013353     0.000133531   0.00347181   0     0.0000215   0.0034934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                    George Carlin      38    historical    22912578     15        15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                           GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                           George Carlin      59    historical    24841826     21        21 0.00013353     0.000133531   0.00280415   0     0.0000174   0.0028216


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                        George Carlin      221   historical    24841817     38        38 0.00013353     0.000133531   0.00507418   0   0.000031489   0.0051057


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                         GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                         George Carlin      118   historical    22912559      7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                                 GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                 George Carlin      165   historical    24841845      4         4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                         George Carlin      164   historical    24841835      4         4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                  George Carlin      180   historical    24841841     10        10 0.00013353     0.000133531   0.00133531   0    0.00000829   0.0013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                          George Carlin      80    historical    24841868     25        25 0.00013353     0.000133531   0.00333828   0     0.0000207    0.003359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                              GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                            George Carlin      481   historical    22912541     16      28.8   0.00013353   0.000133531   0.00384569   0     0.0000239   0.0038696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                     GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                     George Carlin      487   historical    24841844     20        36 0.00013353     0.000133531   0.00480712   0     0.0000298   0.0048369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                       George Carlin      315   historical    25654086    1371   1645.2   0.00013353   0.000133531    0.2196852   0   0.001363307   0.2210485


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical    22912580     52        52 0.00013353     0.000133531   0.00694361   0     0.0000431   0.0069867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                             Andrew Dice Clay   189   historical    23823125    103       103 0.00013353     0.000133531   0.01375369   0     0.0000854    0.013839


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                                        George Carlin      93    historical    25004482    101       101 0.00013353     0.000133531   0.01348663   0     0.0000837   0.0135703


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                             George Carlin      426   historical    25032508     18      28.8   0.00013353   0.000133531   0.00384569   0     0.0000239   0.0038696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                                 George Carlin      150   historical    25005101     44        44 0.00013353     0.000133531   0.00587536   0     0.0000365   0.0059118


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                                         George Carlin      158   historical    25032507     12        12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                           GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                                            George Carlin      26    historical    25005298     34        34 0.00013353     0.000133531   0.00454005   0     0.0000282   0.0045682


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617    Never Marry Her                                                          Andrew Dice Clay   81    historical    24202745     11        11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                                     Andrew Dice Clay   197   historical    24202736     10        10 0.00013353     0.000133531   0.00133531   0    0.00000829   0.0013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                          GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                             George Carlin      119   historical    25032500     12        12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                                                  Andrew Dice Clay   17    historical    23839304      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                           ANDREW DICE CLAY   128623771   100   21026296   USSM19303063   Tom & The Philippino                                           Andrew Dice Clay   178   historical   23839312    15         15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                          ANDREW DICE CLAY   128623771   100   21026302   USSM19303069   Mad Max                                                        Andrew Dice Clay   195   historical   23839321     4          4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                              GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                              George Carlin      49    historical   25008901    39         39 0.00013353     0.000133531   0.00520771   0     0.0000323     0.00524


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                                ANDREW DICE CLAY   128623771   100   20778771   USSM18900307   Automatic Pilot (Live at Dangerfield's/1989)                   Andrew Dice Clay   106   historical   23769767     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                           ANDREW DICE CLAY   128623771   100   20872365   USSM19000289   Japs                                                           Andrew Dice Clay   41    historical   23796949     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                                          ANDREW DICE CLAY   128623771   100   20966162   USSM19100202   Dice On Redheaded Men (Live At Govenors/1991)                  Andrew Dice Clay   42    historical   23823116    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                            ANDREW DICE CLAY   128623771   100   20966175   USSM19100215   Dice Greeting Cards (Live At Govenors/1991)                    Andrew Dice Clay   43    historical   23823129    15         15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                            ANDREW DICE CLAY   128623771   100   20778784   USSM18900320   Hour Back...Get It? (Live at Dangerfield's/1989)               Andrew Dice Clay   400   historical   23769782     1        1.4   0.00013353   0.000133531   0.00018694   0    0.00000116   0.0001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                                       ANDREW DICE CLAY   128623771   100   20746968   USSM18900277   The Bait                                                       Andrew Dice Clay   151   historical   23760793    10         10 0.00013353     0.000133531   0.00133531   0    0.00000829   0.0013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                                     GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                       George Carlin      586   historical   25014967    38         76 0.00013353     0.000133531   0.01014836   0   0.000062978   0.0102113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                                  ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   23667941   550        550 0.00013353     0.000133531   0.07344205   0   0.000455762   0.0738978


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                                     ANDREW DICE CLAY   128623771   100   21026291   USSM19303058   More Notes                                                     Andrew Dice Clay   126   historical   23839306     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                             ANDREW DICE CLAY   128623771   100   20872405   USSM19000314   The First Blow‐Job                                             Andrew Dice Clay   50    historical   23796984    11         11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                                     ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612   Midgets 2000                                                   Andrew Dice Clay   319   historical   24202740     9       10.8   0.00013353   0.000133531   0.00144214   0    0.00000895   0.0014511


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                                     ANDREW DICE CLAY   128623771   100   21026309   USSM19303076   The Argument                                                   Andrew Dice Clay   330   historical   23839329    41       49.2   0.00013353   0.000133531   0.00656973   0     0.0000408   0.0066105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                                GEORGE CARLIN      473337545   100   51648301   USZQE0610783   Person to Person                                               George Carlin      214   historical   25738990    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                              ANDREW DICE CLAY   128623771   100   20872406   USSM19000315   People Are Pricks                                              Andrew Dice Clay   90    historical   23796986     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                                       ANDREW DICE CLAY   128623771   100   20778745   USSM18900286   The Gift (Live At Dangerfield's/1989)                          Andrew Dice Clay   100   historical   23769733     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                                             GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                               George Carlin      418   historical   25014962    51       71.4   0.00013353   0.000133531   0.00953411   0     0.0000592   0.0095933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                                     ANDREW DICE CLAY   128623771   100   20778773   USSM18900309   Women Comics (Live at Dangerfield's/1989)                      Andrew Dice Clay   199   historical   23769769     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                            GEORGE CARLIN      473337545   100   3446765                   The Red Sox (Socks)                                            George Carlin      188   historical   24841870    23         23 0.00013353     0.000133531   0.00307121   0     0.0000191   0.0030903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   5643610                                                                           1990   Andrew Dice Clay   132   historical   25885313     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                      GEORGE CARLIN      473337545   100   3446766                   Quicksand                                                      George Carlin      129   historical   24841871    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                               GEORGE CARLIN      473337545   100   11005066                  It's Your Body‐Fearless Fashions                               George Carlin      484   historical   22912548    16       28.8   0.00013353   0.000133531   0.00384569   0     0.0000239   0.0038696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                                     ANDREW DICE CLAY   128623771   100   5643598                   First Kiss                                                     Andrew Dice Clay   131   historical   25885301     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                          GEORGE CARLIN      473337545   100   11005072                  Mental Brain Thoughts                                          George Carlin      228   historical   22912552    52         52 0.00013353     0.000133531   0.00694361   0     0.0000431   0.0069867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UF5   A PROPOSITION                                                                  GEORGE CARLIN      473337545   100   3446753                   A Proposition                                                  George Carlin      100   historical   24841849    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                                                                ANDREW DICE CLAY   128623771   100   20746964   USSM18900273   Couples In Love                                                Andrew Dice Clay   211   historical   23760789    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                          ANDREW DICE CLAY   128623771   100   20778744   USSM18900285   Places To Meet Chicks (Live At Dangerfield's/1989)             Andrew Dice Clay   186   historical   23769731     7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                             ROBIN WILLIAMS     89045747    100   22454786   USQX91000078   What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)          Robin Williams     129   historical   24049046   869        869 0.00013353     0.000133531   0.11603844   0   0.000720103   0.1167585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   51923440   US4LA0704601   Shoot                                                          George Carlin      355   historical   25746542   336      403.2   0.00013353   0.000133531    0.0538397   0   0.000334115   0.0541738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                     ROBIN WILLIAMS     89045747    100   22454790   USQX91000082   Bush, Cheney, And The Obamas (Explicit Audio)                  Robin Williams     517   historical   24049052   5954   10717.2   0.00013353   0.000133531   1.43107843   0   0.008880888   1.4399593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                             ANDREW DICE CLAY   128623771   100   20966164   USSM19100204   Dice On Complaints (Live At Govenors/1991)                     Andrew Dice Clay   85    historical   23823118    24         24 0.00013353     0.000133531   0.00320474   0     0.0000199   0.0032246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                                                       GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                         George Carlin      328   historical   25004699   439      526.8   0.00013353   0.000133531   0.07034413   0   0.000436537   0.0707807


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                        GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                          George Carlin      39    historical   25004473   101        101 0.00013353     0.000133531   0.01348663   0     0.0000837   0.0135703


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                              ANDREW DICE CLAY   128623771   100   20966138   USSM19100192   Dice On Disasters (Live At Govenors/1991)                      Andrew Dice Clay   111   historical   23823092    50         50 0.00013353     0.000133531   0.00667655   0     0.0000414    0.006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                             GEORGE CARLIN      473337545   100   51923443   US4LA0704603   Sex in Commercials                                             George Carlin      320   historical   25746545   150        180 0.00013353     0.000133531   0.02403558   0   0.000149158   0.0241847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                                 ANDREW DICE CLAY   128623771   100   20872375   USSM19000297   1989‐ A Review                                                 Andrew Dice Clay   368   historical   23796961    70         98 0.00013353     0.000133531   0.01308604   0     0.0000812   0.0131672


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                       ANDREW DICE CLAY   128623771   100   20966174   USSM19100214   Dice Has Random Thoughts (Live At Govenors/1991)               Andrew Dice Clay   98    historical   23823128    41         41 0.00013353     0.000133531   0.00547477   0   0.000033975   0.0055087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                             ROBIN WILLIAMS     89045747    100   22454786   USQX91000078   What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)          Robin Williams     129   historical   24049045   2420      2420 0.00013353     0.000133531   0.32314502   0   0.002005351   0.3251504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                              ANDREW DICE CLAY   128623771   100   20872406   USSM19000315   People Are Pricks                                              Andrew Dice Clay   90    historical   23796985    16         16 0.00013353     0.000133531    0.0021365   0     0.0000133   0.0021498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                                ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609   K2Y‐China Diner                                                Andrew Dice Clay   157   historical   24202737     9          9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                        GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                          George Carlin      175   historical   25004483   103        103 0.00013353     0.000133531   0.01375369   0     0.0000854    0.013839


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                                         GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                           George Carlin      149   historical   25005105    87         87 0.00013353     0.000133531    0.0116172   0     0.0000721   0.0116893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                              ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630   Rita's As* Funnel                                              Andrew Dice Clay   101   historical   24202758     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                                     ANDREW DICE CLAY   128623771   100   20778740   USSM18900281   First Kiss (Live At Dangerfield's/1989)                        Andrew Dice Clay   131   historical   23769726     3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                                  ANDREW DICE CLAY   128623771   100   20872384   USSM19000306   Filthy In Bed                                                  Andrew Dice Clay   99    historical   23796974    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                                 ANDREW DICE CLAY   128623771   100   20778785   USSM18900321   Something Soft (Live at Dangerfield's/1989)                    Andrew Dice Clay   284   historical   23769783     3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                                     GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                       George Carlin      112   historical   25005104    43         43 0.00013353     0.000133531   0.00574183   0     0.0000356   0.0057775


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                                   ANDREW DICE CLAY   128623771   100   20778777   USSM18900313   Mother & Son (Live at Dangerfield's/1989)                      Andrew Dice Clay   216   historical   23769775     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                                    GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                      George Carlin      69    historical   25004480   102        102 0.00013353     0.000133531   0.01362016   0     0.0000845   0.0137047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                                GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                          George Carlin      288   historical   25014970     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                        ANDREW DICE CLAY   128623771   100   20746959   USSM18900268   Smokin'                                                        Andrew Dice Clay   131   historical   23760782    15         15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                                    ANDREW DICE CLAY   128623771   100   21026283   USSM19303050   Deef & Dumb                                                    Andrew Dice Clay   94    historical   23839295    23         23 0.00013353     0.000133531   0.00307121   0     0.0000191   0.0030903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                                   ANDREW DICE CLAY   128623771   100   20872370   USSM19000294   The Driveway                                                   Andrew Dice Clay   19    historical   23796955     5          5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                        GEORGE CARLIN      473337545   100   11005082                  # Fuck You, I Like These Kinds Of Jokes                        George Carlin      108   historical   22912558     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                         GEORGE CARLIN      473337545   100   3446720                   Dogs Come In All Sizes                                         George Carlin      152   historical   24841818     5          5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                        GEORGE CARLIN      473337545   100   4823646                   Just Enough Bullshit / No One Questions Things                 George Carlin      268   historical   25654094   1235      1235 0.00013353     0.000133531   0.16491079   0   0.001023392   0.1659342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                            GEORGE CARLIN      473337545   100   3446758                   Comitting The Perfect Double Murder                            George Carlin      174   historical   24841860    23         23 0.00013353     0.000133531   0.00307121   0     0.0000191   0.0030903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                               GEORGE CARLIN      473337545   100   51923375   US4LA0703609   Snot, The Original Rubber Cement                               George Carlin      174   historical   25746534    25         25 0.00013353     0.000133531   0.00333828   0     0.0000207    0.003359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                  George Carlin      192   historical   25004476   124        124 0.00013353     0.000133531   0.01655784   0   0.000102754   0.0166606


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                                     ANDREW DICE CLAY   128623771   100   20872367   USSM19000291   Don't Move                                                     Andrew Dice Clay   65    historical   23796952    11         11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                               ANDREW DICE CLAY   128623771   100   20966146   USSM19100194   Dice On Redheads (Live At Govenors/1991)                       Andrew Dice Clay   101   historical   23823100    35         35 0.00013353     0.000133531   0.00467359   0   0.000029003   0.0047026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                                      GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                        George Carlin      49    historical   25004479   105        105 0.00013353     0.000133531   0.01402076   0   0.000087009   0.0141078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                                         ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611   Big Head                                                       Andrew Dice Clay   55    historical   24202739     7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                              GEORGE CARLIN      473337545   100   51923372   US4LA0703606   The Metric System                                              George Carlin      129   historical   25746531    63         63 0.00013353     0.000133531   0.00841245   0     0.0000522   0.0084647


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                             ANDREW DICE CLAY   128623771   100   21026290   USSM19303057   Chinese                                                        Andrew Dice Clay   17    historical   23839303     6          6 0.00013353     0.000133531   0.00080119   0    0.00000497   0.0008062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                           ANDREW DICE CLAY   128623771   100   20872365   USSM19000289   Japs                                                           Andrew Dice Clay   41    historical   23796948    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                              GEORGE CARLIN      473337545   100   52042526   US4LA0703708   Childhood Cliches                                              George Carlin      244   historical   25752086    20         20 0.00013353     0.000133531   0.00267062   0     0.0000166   0.0026872


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                                   GEORGE CARLIN      473337545   100   51648299   USZQE0610781   War Pictures                                                   George Carlin      222   historical   25738988     9          9 0.00013353     0.000133531   0.00060089   0   0.000003729   0.0006046


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                             ANDREW DICE CLAY   128623771   100   20746958   USSM18900267   Doctors And Nurses                                             Andrew Dice Clay   97    historical   23760781     9          9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                           ANDREW DICE CLAY   128623771   100   21026293   USSM19303060   Rice                                                           Andrew Dice Clay   79    historical   23839308    10         10 0.00013353     0.000133531   0.00133531   0    0.00000829   0.0013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                                       ANDREW DICE CLAY   128623771   100   20746963   USSM18900272   Speedin'                                                       Andrew Dice Clay   86    historical   23760788    12         12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                       ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622   Date Night At The Movies                                       Andrew Dice Clay   227   historical   24202750    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                      ANDREW DICE CLAY   128623771   100   20872376   USSM19000298   Bad Press                                                      Andrew Dice Clay   70    historical   23796962     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                                ANDREW DICE CLAY   128623771   100   20966150   USSM19100196   Dice The Advocate (Live At Govenors/1991)                      Andrew Dice Clay   154   historical   23823104    37         37 0.00013353     0.000133531   0.00494065   0     0.0000307   0.0049713


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                                  ANDREW DICE CLAY   128623771   100   20966167   USSM19100207   Dice On Manners (Live At Govenors/1991)                        Andrew Dice Clay   79    historical   23823121    87         87 0.00013353     0.000133531    0.0116172   0     0.0000721   0.0116893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                                    ANDREW DICE CLAY   128623771   100   20778766   USSM18900302   The Osmonds (Live at Dangerfield's/1989)                       Andrew Dice Clay   264   historical   23769762     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                                     ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623   Home Or Office, You Decide                                     Andrew Dice Clay   44    historical   24202751     7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                                   ANDREW DICE CLAY   128623771   100   20778772   USSM18900308   Dogs & Birds (Live at Dangerfield's/1989)                      Andrew Dice Clay   168   historical   23769768     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                                               ANDREW DICE CLAY   128623771   100   20778769   USSM18900305   Rhyme Renditions (Live at Dangerfield's/1989)                  Andrew Dice Clay   231   historical   23769765     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                                   ANDREW DICE CLAY   128623771   100   20872400   USSM19000311   Black Chicks                                                   Andrew Dice Clay   41    historical   23796981     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                                   GEORGE CARLIN      473337545   100   51923448   US4LA0704607   Divorce Game                                                   George Carlin      269   historical   25746550   104        104 0.00013353     0.000133531   0.01388722   0     0.0000862   0.0139734
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 11 of 86 Page ID
                                                                                                                                                                                                                                              #:4464
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                    ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)               Andrew Dice Clay   101   historical   23823112    33        33 0.00013353     0.000133531   0.00440652   0     0.0000273   0.0044339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                            ANDREW DICE CLAY   128623771   100   20778745   USSM18900286    The Gift (Live At Dangerfield's/1989)                  Andrew Dice Clay   100   historical   23769732     2         2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                   ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                      Andrew Dice Clay   231   historical   23796971     5         5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                     ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                        Andrew Dice Clay   135   historical   23796954    14        14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU               GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                         George Carlin      173   historical   24841848    24        24 0.00013353     0.000133531   0.00320474   0     0.0000199   0.0032246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                 GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                       George Carlin      25    historical   25005313    15        15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                          ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                             Andrew Dice Clay   126   historical   23839305     6         6 0.00013353     0.000133531   0.00080119   0    0.00000497   0.0008062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                     GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                           George Carlin      147   historical   25004155    61        61 0.00013353     0.000133531   0.00814539   0     0.0000505   0.0081959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                             ANDREW DICE CLAY   128623771   100   20872402   USSM19000312    A Vibrant Beautiful Woman                              Andrew Dice Clay   35    historical   23796982     2         2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                      GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                         George Carlin      255   historical   25746528   377       377 0.00013353     0.000133531   0.05034119   0   0.000312404   0.0506536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                           GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                    George Carlin      99    historical   25029143   283       283 0.00013353     0.000133531   0.03778927   0    0.00023451   0.0380238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Q1 MULTIPLE SCLEROSIS                                                    ANDREW DICE CLAY   128623771   100   20778781   USSM18900317    Multiple Sclerosis (Live at Dangerfield's/1989)        Andrew Dice Clay   26    historical   23769779     1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                        GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                              George Carlin      85    historical   25032509    10        10 0.00013353     0.000133531   0.00133531   0    0.00000829   0.0013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                          GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                              George Carlin      285   historical   25032505    17        17 0.00013353     0.000133531   0.00227003   0     0.0000141   0.0022841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                          ANDREW DICE CLAY   128623771   100   20872374   USSM19000320    The Urinal                                             Andrew Dice Clay   13    historical   23796959     4         4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                              ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626    My Cum                                                 Andrew Dice Clay   89    historical   24202754     9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                     GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                           George Carlin      828   historical   25010275     7      19.6   0.00013353   0.000133531   0.00261721   0     0.0000162   0.0026334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                     GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                           George Carlin      326   historical   25014966   104     124.8   0.00013353   0.000133531   0.01666467   0   0.000103417   0.0167681


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                   ANDREW DICE CLAY   128623771   100   20746954   USSM18900263    What If The Chick Gets Pregnant...                     Andrew Dice Clay   100   historical   23760776    11        11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                     ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)     Robin Williams     646   historical   24049058   3639   8005.8   0.00013353   0.000133531   1.06902248   0   0.006634066   1.0756565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                      ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                         Andrew Dice Clay   49    historical   23796989     4         4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                 ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)   Robin Williams     324   historical   24049053   6740     8088 0.00013353     0.000133531   1.07999873   0   0.006702182   1.0867009


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                    ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                       Andrew Dice Clay   419   historical   24202753    99     138.6   0.00013353   0.000133531    0.0185074   0   0.000114852   0.0186222


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                  ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                     Andrew Dice Clay   78    historical   23796946    59        59 0.00013353     0.000133531   0.00787833   0     0.0000489   0.0079272


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                             ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                Andrew Dice Clay   37    historical   23796976    12        12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                                        ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                         Andrew Dice Clay   82    historical   24202757     7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                              GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                  George Carlin      521   historical   25029328    69     124.2   0.00013353   0.000133531   0.01658455   0   0.000102919   0.0166875


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                     GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                         George Carlin      182   historical   25032503    14        14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                     ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                        Andrew Dice Clay   40    historical   23796958    63        63 0.00013353     0.000133531   0.00841245   0     0.0000522   0.0084647


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)          GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                             George Carlin      51    historical   25004475   110       110 0.00013353     0.000133531   0.01468841   0     0.0000912   0.0147796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                     ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                           Robin Williams     76    historical   23667942   198       198 0.00013353     0.000133531   0.02643914   0   0.000164074   0.0266032


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                    ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637    Club 33(Reprise)                                       Andrew Dice Clay   195   historical   24202765     2         2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                   ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)              Andrew Dice Clay   98    historical   23823095    58        58 0.00013353     0.000133531    0.0077448   0     0.0000481   0.0077929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                  ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                     Andrew Dice Clay   110   historical   23839325    26        26 0.00013353     0.000133531   0.00347181   0     0.0000215   0.0034934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                        ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632    My Statement                                           Andrew Dice Clay   62    historical   24202760     5         5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                     GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                         George Carlin      222   historical   25032504    15        15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                    GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                          George Carlin      336   historical   25014961    77      92.4   0.00013353   0.000133531   0.01233826   0   0.000076568   0.0124148


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                        ANDREW DICE CLAY   128623771   100   20746960   USSM18900269    The Attitude                                           Andrew Dice Clay   113   historical   23760783     5         5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                      ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627    Grocery‐Part 1                                         Andrew Dice Clay   31    historical   24202755     8         8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO             GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                          George Carlin      229   historical   25029329   255       255 0.00013353     0.000133531   0.03405041   0   0.000211308   0.0342617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                                               ANDREW DICE CLAY   128623771   100   20746966   USSM18900275    Shampoo                                                Andrew Dice Clay   48    historical   23760791    12        12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                       GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                     George Carlin      466   historical   25014968     1       1.6   0.00013353   0.000133531   0.00021365   0    0.00000133    0.000215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                               ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                Andrew Dice Clay   195   historical   23839320    29        29 0.00013353     0.000133531    0.0038724   0      0.000024   0.0038964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                        ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)              Andrew Dice Clay   216   historical   23769774     5         5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                               ANDREW DICE CLAY   128623771   100   20966173   USSM19100213    Dice Does It Like Dis (Live At Govenors/1991)          Andrew Dice Clay   59    historical   23823127    18        18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                            ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                               Andrew Dice Clay   48    historical   23796977    11        11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                           ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621    Road Call                                              Andrew Dice Clay   82    historical   24202749     7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                 ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                    Andrew Dice Clay   123   historical   23796950    10        10 0.00013353     0.000133531   0.00133531   0    0.00000829   0.0013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                         ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                            Andrew Dice Clay   78    historical   23796938     7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                        ANDREW DICE CLAY   128623771   100   20778770   USSM18900306    True Stories (Live at Dangerfield's/1989)              Andrew Dice Clay   41    historical   23769766     1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                   ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                      Andrew Dice Clay   462   historical   24202735    99     158.4   0.00013353   0.000133531   0.02115131   0   0.000131259   0.0212826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                                         ANDREW DICE CLAY   128623771   100   20778765   USSM18900301    Frozen Food (Live At Dangerfield's/1989)               Andrew Dice Clay   69    historical   23769761     1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                                               ANDREW DICE CLAY   128623771   100   20746961   USSM18900270    No Pity                                                Andrew Dice Clay   64    historical   23760785    12        12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                 ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                         Andrew Dice Clay   107   historical   23839326     9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                     George Carlin      263   historical   25032487    27        27 0.00013353     0.000133531   0.00360534   0     0.0000224   0.0036277


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                        ANDREW DICE CLAY   128623771   100   20746962   USSM18900271    The Golden Age Of Television                           Andrew Dice Clay   111   historical   23760787     9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619    The Honeymoon                                          Andrew Dice Clay   113   historical   24202747     7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                               ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)          Andrew Dice Clay   135   historical   23823130    26        26 0.00013353     0.000133531   0.00347181   0     0.0000215   0.0034934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                 ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)   Robin Williams     324   historical   24049054   2565     3078 0.00013353     0.000133531   0.41100842   0   0.002550608    0.413559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                        ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                           Andrew Dice Clay   14    historical   23839293    13        13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                          ANDREW DICE CLAY   128623771   100   20872374   USSM19000320    The Urinal                                             Andrew Dice Clay   13    historical   23796960     1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                     GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                           George Carlin      419   historical   25005099   305       427 0.00013353     0.000133531   0.05701774   0   0.000353837   0.0573716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                   GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                    George Carlin      351   historical   25553763   140       168 0.00013353     0.000133531   0.02243321   0   0.000139215   0.0225724


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                 GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                       George Carlin      86    historical   25005309    45        45 0.00013353     0.000133531    0.0060089   0     0.0000373   0.0060462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                          GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                             George Carlin      477   historical   25746529   379     606.4   0.00013353   0.000133531    0.0809732   0   0.000502498   0.0814757


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                            ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                               Andrew Dice Clay   33    historical   23796943    53        53 0.00013353     0.000133531   0.00707714   0     0.0000439   0.0071211


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                               ANDREW DICE CLAY   128623771   100   20778763   USSM18900299    Pizza (Live At Dangerfield's/1989)                     Andrew Dice Clay   108   historical   23769759     1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                       ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                          Andrew Dice Clay   29    historical   23796966     7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                            ANDREW DICE CLAY   128623771   100   21026292   USSM19303059    Dr. Dice                                               Andrew Dice Clay   20    historical   23839307     4         4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                    ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                       Andrew Dice Clay   129   historical   23839302    11        11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                        ANDREW DICE CLAY   128623771   100   20746960   USSM18900269    The Attitude                                           Andrew Dice Clay   113   historical   23760784     9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                       ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                          Andrew Dice Clay   151   historical   24202762     5         5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                          ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)     Andrew Dice Clay   60    historical   23823085    77        77 0.00013353     0.000133531   0.01028189   0     0.0000638   0.0103457


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                            ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615    K2Y/Wife                                               Andrew Dice Clay   47    historical   24202743     8         8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                              ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)         Andrew Dice Clay   108   historical   23823097    52        52 0.00013353     0.000133531   0.00694361   0     0.0000431   0.0069867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                     ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                        Andrew Dice Clay   72    historical   23796967    14        14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                    ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616    Sid/All Bound Up                                       Andrew Dice Clay   16    historical   24202744     9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                  George Carlin      263   historical   25746546   196       196 0.00013353     0.000133531   0.02617208   0   0.000162417   0.0263345


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                       GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                          George Carlin      310   historical   25746547   235       282 0.00013353     0.000133531   0.03765574   0   0.000233681   0.0378894


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                           GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                   George Carlin      261   historical   25005093    17        17 0.00013353     0.000133531   0.00227003   0     0.0000141   0.0022841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                      George Carlin      275   historical   25004161   326       326 0.00013353     0.000133531   0.04353111   0   0.000270142   0.0438012


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293    1990 (Live At Dangerfield's/1989)                      Andrew Dice Clay   132   historical   23769744     1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                           ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)              Andrew Dice Clay   99    historical   23796947    18        18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 12 of 86 Page ID
                                                                                                                                                                                                                                              #:4465
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                           Andrew Dice Clay   33    historical   23796944     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                         ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                        Robin Williams     192   historical   23667950   385        385 0.00013353     0.000133531   0.05140944   0   0.000319033   0.0517285


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                      George Carlin      315   historical   25032496    12       14.4   0.00013353   0.000133531   0.00192285   0     0.0000119   0.0019348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                          GEORGE CARLIN      473337545   100   51648300   USZQE0610782     The Cool World                                                     George Carlin      316   historical   25738989     7        8.4   0.00013353   0.000133531   0.00112166   0    0.00000696   0.0011286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                     GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                    George Carlin      340   historical   25008902   282      338.4   0.00013353   0.000133531   0.04518689   0   0.000280418   0.0454673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                                ANDREW DICE CLAY   128623771   100   21026298   USSM19303065     Surprise                                                           Andrew Dice Clay   232   historical   23839315    40         40 0.00013353     0.000133531   0.00534124   0     0.0000331   0.0053744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                 ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                             Andrew Dice Clay   200   historical   23760795    58         58 0.00013353     0.000133531    0.0077448   0     0.0000481   0.0077929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   45268811   USRC10503014     Commercials                                                        George Carlin      500   historical   25553764    75        135 0.00013353     0.000133531   0.01802669   0   0.000111869   0.0181386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                   GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                                  George Carlin      15    historical   25005317    17         17 0.00013353     0.000133531   0.00227003   0     0.0000141   0.0022841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                         ANDREW DICE CLAY   128623771   100   20966168   USSM19100208     Dice Vs. PeeWee (Live At Govenors/1991)                            Andrew Dice Clay   30    historical   23823122    22         22 0.00013353     0.000133531   0.00293768   0     0.0000182   0.0029559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                       GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   25032510   128        128 0.00013353     0.000133531   0.01709197   0   0.000106068    0.017198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                               GEORGE CARLIN      473337545   100   51648298   USZQE0610780     Capt. Jack & Jolly George                                          George Carlin      241   historical   25738987     5          5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                            ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                     Andrew Dice Clay   114   historical   23839314     4          4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                  GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                   George Carlin      486   historical   25005306    62      111.6   0.00013353   0.000133531   0.01490206   0     0.0000925   0.0149945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                         GEORGE CARLIN      473337545   100   52042524   US4LA0703706     New York Voices                                                    George Carlin      426   historical   25752084   295        472 0.00013353     0.000133531   0.06302663   0   0.000391126   0.0634178


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                               ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   23823124   102      122.4   0.00013353   0.000133531   0.01634419   0   0.000101428   0.0164456


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH    GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   25004153    57      193.8   0.00013353   0.000133531   0.02587831   0   0.000160594   0.0260389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                        GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                       George Carlin      42    historical   25004474   104        104 0.00013353     0.000133531   0.01388722   0     0.0000862   0.0139734


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                             GEORGE CARLIN      473337545   100   51923446   US4LA0704606     Son of Wino                                                        George Carlin      391   historical   25746548    21       29.4   0.00013353   0.000133531   0.00392581   0     0.0000244   0.0039502


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                        George Carlin      147   historical   25032495    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026284   USSM19303051     The Notes                                                          Andrew Dice Clay   48    historical   23839296    11         11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                                    George Carlin      94    historical   25005301    26         26 0.00013353     0.000133531   0.00347181   0     0.0000215   0.0034934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                                                        ANDREW DICE CLAY   128623771   100   20778775   USSM18900311     A History Lesson (Live at Dangerfield's/1989)                      Andrew Dice Clay   119   historical   23769771     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                             ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613     Banana Nose                                                        Andrew Dice Clay   33    historical   24202741     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                 GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                                George Carlin      206   historical   25032491    20         20 0.00013353     0.000133531   0.00267062   0     0.0000166   0.0026872


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                      George Carlin      288   historical   25032492    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                               George Carlin      76    historical   25004471   106        106 0.00013353     0.000133531   0.01415429   0     0.0000878   0.0142421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                        ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631     Flat As*/Fat As*                                                   Andrew Dice Clay   80    historical   24202759     9          9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                          ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                        Andrew Dice Clay   339   historical   23769747     4        4.8   0.00013353   0.000133531   0.00064095   0    0.00000398   0.0006449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                  ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                             Andrew Dice Clay   167   historical   23839319     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                           Andrew Dice Clay   180   historical   23839328     7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                         ANDREW DICE CLAY   128623771   100   20746967   USSM18900276     Joey                                                               Andrew Dice Clay   127   historical   23760792    13         13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                           Andrew Dice Clay   304   historical   24202764     7        8.4   0.00013353   0.000133531   0.00112166   0    0.00000696   0.0011286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                           ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)              Andrew Dice Clay   173   historical   23823102    72         72 0.00013353     0.000133531   0.00961423   0     0.0000597   0.0096739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                   GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                  George Carlin      61    historical   25005098    63         63 0.00013353     0.000133531   0.00841245   0     0.0000522   0.0084647


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                               ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628     Fish Tank                                                          Andrew Dice Clay   28    historical   24202756     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                                       ANDREW DICE CLAY   128623771   100   20746957   USSM18900266     Moby And The Japs                                                  Andrew Dice Clay   51    historical   23760779    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                               ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)             Andrew Dice Clay   232   historical   23769736     4          4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                                        ANDREW DICE CLAY   128623771   100   20966177   USSM19100217     Let Yourself Go (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   23823131    17         17 0.00013353     0.000133531   0.00227003   0     0.0000141   0.0022841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                   ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                      Andrew Dice Clay   215   historical   23823081    80         80 0.00013353     0.000133531   0.01068248   0     0.0000663   0.0107488


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   23760796    58         58 0.00013353     0.000133531    0.0077448   0     0.0000481   0.0077929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                     George Carlin      321   historical   25032486    24       28.8   0.00013353   0.000133531   0.00384569   0     0.0000239   0.0038696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                         ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                       Andrew Dice Clay   209   historical   23769739     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                      GEORGE CARLIN      473337545   100   52042522   US4LA0703704     The Hallway Groups                                                 George Carlin      127   historical   25752082    24         24 0.00013353     0.000133531   0.00320474   0     0.0000199   0.0032246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                           ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                      Andrew Dice Clay   60    historical   23796956     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                            Andrew Dice Clay   126   historical   23823110    45         45 0.00013353     0.000133531    0.0060089   0     0.0000373   0.0060462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                        ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                            Andrew Dice Clay   190   historical   24202763     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                          ANDREW DICE CLAY   128623771   100   20872411   USSM19000318     Brooklyn Bad Boy                                                   Andrew Dice Clay   166   historical   23796990     3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                                     ANDREW DICE CLAY   128623771   100   20966165   USSM19100205     Dice And Truckdrivers (Live At Govenors/1991)                      Andrew Dice Clay   23    historical   23823119    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                             GEORGE CARLIN      473337545   100   51648302   USZQE0610784     The Sickest                                                        George Carlin      113   historical   25738991    15         15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                              ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                       Andrew Dice Clay   330   historical   23839330    15         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                            ANDREW DICE CLAY   128623771   100   20872400   USSM19000311     Black Chicks                                                       Andrew Dice Clay   41    historical   23796980     7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                                 ANDREW DICE CLAY   128623771   100   20778764   USSM18900300     Concave (Live At Dangerfield's/1989)                               Andrew Dice Clay   67    historical   23769760     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                          ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                     Andrew Dice Clay   140   historical   23839323     6          6 0.00013353     0.000133531   0.00080119   0    0.00000497   0.0008062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                      GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                     George Carlin      127   historical   25032506    11         11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)              GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   25014972    23       41.4   0.00013353   0.000133531   0.00552818   0     0.0000343   0.0055625


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                         GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                George Carlin      288   historical   25014971     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                            GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                           George Carlin      270   historical   25032490    20         20 0.00013353     0.000133531   0.00267062   0     0.0000166   0.0026872


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                                             ANDREW DICE CLAY   128623771   100   20778780   USSM18900316     Double Date (Live at Dangerfield's/1989)                           Andrew Dice Clay   145   historical   23769778     1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                             GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                            George Carlin      391   historical   25032489    24       33.6   0.00013353   0.000133531   0.00448664   0     0.0000278   0.0045145


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                          ANDREW DICE CLAY   128623771   100   20778741   USSM18900282     Holiday Season (Live At Dangerfield's/1989)                        Andrew Dice Clay   111   historical   23769727     3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                  George Carlin      355   historical   25032484    53       63.6   0.00013353   0.000133531   0.00849257   0     0.0000527   0.0085453


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20872359   USSM19000283     Birds                                                              Andrew Dice Clay   59    historical   23796940     3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                           GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                          George Carlin      310   historical   25032488    28       33.6   0.00013353   0.000133531   0.00448664   0     0.0000278   0.0045145


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                           GEORGE CARLIN      473337545   100   51648297   USZQE0610779     Killer Carlin                                                      George Carlin      167   historical   25738986     8          8 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                   ROBIN WILLIAMS     89045747    100   22454796   USQX91000088     Religion And Marriage (Explicit Audio)                             Robin Williams     406   historical   24049059   9972   13960.8   0.00013353   0.000133531   1.86419959   0   0.011568721   1.8757683


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                       GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                      George Carlin      131   historical   25004465   124        124 0.00013353     0.000133531   0.01655784   0   0.000102754   0.0166606


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                       ANDREW DICE CLAY   128623771   100   20872372   USSM19000295     The Grocery Store                                                  Andrew Dice Clay   32    historical   23796957    14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                    GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                                   George Carlin      69    historical   25005305    23         23 0.00013353     0.000133531   0.00307121   0     0.0000191   0.0030903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                      ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   23839322     9          9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                                     ANDREW DICE CLAY   128623771   100   20778757   USSM18900297     While The Cats Away... (Live At Dangerfield's/1989)                Andrew Dice Clay   198   historical   23769749     5          5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                             ANDREW DICE CLAY   128623771   100   21026300   USSM19303067     Talk To 'Em                                                        Andrew Dice Clay   32    historical   23839317     2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                          ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   49    historical   23796988     3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                               ANDREW DICE CLAY   128623771   100   20966160   USSM19100201     "What A Mess" (Live At Govenors/1991)                              Andrew Dice Clay   50    historical   23823114    18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                    ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620     The Honeymoon's Over                                               Andrew Dice Clay   55    historical   24202748     7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                                ANDREW DICE CLAY   128623771   100   20872408   USSM19000316     Ya Hear?                                                           Andrew Dice Clay   54    historical   23796987     8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                           GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                          George Carlin      253   historical   25004691   249        249 0.00013353     0.000133531   0.03324922   0   0.000206336   0.0334556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                            ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                      Robin Williams     369   historical   24049050   4652    6512.8   0.00013353   0.000133531    0.8696607   0   0.005396881   0.8750576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                                    GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                   George Carlin      235   historical   25004693   254        254 0.00013353     0.000133531   0.03391687   0   0.000210479   0.0341274


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                           GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                          George Carlin      155   historical   25005304   110        110 0.00013353     0.000133531   0.01468841   0     0.0000912   0.0147796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                              ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                              Robin Williams     246   historical   23667947   582        582 0.00013353     0.000133531   0.07771504   0   0.000482279   0.0781973


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                                                          ANDREW DICE CLAY   128623771   100   20746965   USSM18900274     When I Was Young                                                   Andrew Dice Clay   129   historical   23760790    11         11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                       GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                      George Carlin      310   historical   25032511    10         12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 13 of 86 Page ID
                                                                                                                                                                                                                                              #:4466
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                             GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                                  George Carlin      68    historical   25004466    118        118 0.00013353     0.000133531   0.01575666   0     0.0000978   0.0158544


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                        ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                          Andrew Dice Clay   79    historical   23839309      2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                                 ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                   Andrew Dice Clay   28    historical   23796978      7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                                 ANDREW DICE CLAY   128623771   100   20778752   USSM18900292    Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)    Andrew Dice Clay   169   historical   23769743      2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                                 ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                   Andrew Dice Clay   78    historical   23796937     11         11 0.00013353     0.000133531   0.00146884   0    0.00000912    0.001478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                        GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                           George Carlin      102   historical   25004472    105        105 0.00013353     0.000133531   0.01402076   0   0.000087009   0.0141078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                      ANDREW DICE CLAY   128623771   100   20872382   USSM19000304    Action                                                        Andrew Dice Clay   21    historical   23796972      3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                                 ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                 Andrew Dice Clay   32    historical   23796983     56         56 0.00013353     0.000133531   0.00747774   0     0.0000464   0.0075241


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                    ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                      Andrew Dice Clay   180   historical   23839327     45         45 0.00013353     0.000133531    0.0060089   0     0.0000373   0.0060462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                          ANDREW DICE CLAY   128623771   100   20746956   USSM18900265    A Day At The Beach                                            Andrew Dice Clay   158   historical   23760778     18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                     ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                          Robin Williams     154   historical   23667952     96         96 0.00013353     0.000133531   0.01281898   0     0.0000796   0.0128985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                     ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                         Robin Williams     337   historical   23667940    658      789.6   0.00013353   0.000133531   0.10543608   0   0.000654308   0.1060904


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293    1990 (Live At Dangerfield's/1989)                             Andrew Dice Clay   132   historical   23769745      1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                          GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                            George Carlin      577   historical   25553765     52        104 0.00013353     0.000133531   0.01388722   0     0.0000862   0.0139734


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                   ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                     Andrew Dice Clay   108   historical   23796964     19         19 0.00013353     0.000133531   0.00253709   0     0.0000157   0.0025528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                                ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                                Andrew Dice Clay   114   historical   23839313      8          8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                          ANDREW DICE CLAY   128623771   100   20746958   USSM18900267    Doctors And Nurses                                            Andrew Dice Clay   97    historical   23760780      5          5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                   ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                     Andrew Dice Clay   139   historical   23796942      7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                              ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                        Andrew Dice Clay   145   historical   23823120     37         37 0.00013353     0.000133531   0.00494065   0     0.0000307   0.0049713


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LIT   CIGARETTES                                                                  ANDREW DICE CLAY   128623771   100   20778774   USSM18900310    Cigarettes (Live at Dangerfield's/1989)                       Andrew Dice Clay   136   historical   23769770      1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                                 ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)           Andrew Dice Clay   166   historical   23823117     29         29 0.00013353     0.000133531    0.0038724   0      0.000024   0.0038964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                     GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                       George Carlin      206   historical   25746551     49         49 0.00013353     0.000133531   0.00654302   0     0.0000406   0.0065836


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                    GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo         George Carlin      221   historical   25032499     13         13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                                GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                  George Carlin      279   historical   25738985      9          9 0.00013353     0.000133531   0.00060089   0   0.000003729   0.0006046


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                         ANDREW DICE CLAY   128623771   100   20778756   USSM18900296    Laughter Vs. Comedy (Live At Dangerfield's/1989)              Andrew Dice Clay   67    historical   23769748      2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                                ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                  Andrew Dice Clay   14    historical   23839291      4          4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                                        GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                             George Carlin      53    historical   25005311     18         18 0.00013353     0.000133531   0.00240356   0     0.0000149   0.0024185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                            GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                 George Carlin      252   historical   25032498     14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                          GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   25008904    203        203 0.00013353     0.000133531   0.02710679   0   0.000168218    0.027275


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                            GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                              George Carlin      147   historical   25746535     57         57 0.00013353     0.000133531   0.00761127   0     0.0000472   0.0076585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                              ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                               Andrew Dice Clay   23    historical   23839290      3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                           ANDREW DICE CLAY   128623771   100   20746954   USSM18900263    What If The Chick Gets Pregnant...                            Andrew Dice Clay   100   historical   23760775     16         16 0.00013353     0.000133531    0.0021365   0     0.0000133   0.0021498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                         GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                              George Carlin      430   historical   25032493     17       27.2   0.00013353   0.000133531   0.00363204   0     0.0000225   0.0036546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                                   ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   23667946    234        234 0.00013353     0.000133531   0.03124625   0   0.000193906   0.0314402


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                          GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                               George Carlin      191   historical   25010278    108        108 0.00013353     0.000133531   0.01442135   0   0.000089495   0.0145108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                                             GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                  George Carlin      126   historical   25032512      9          9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                                                         ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                            Andrew Dice Clay   185   historical   23769730      4          4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                   GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                      George Carlin      64    historical   25004469    111        111 0.00013353     0.000133531   0.01482194   0   0.000091981   0.0149139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                                 ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                   Andrew Dice Clay   28    historical   23796979      3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                               GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                    George Carlin      70    historical   25004467    112        112 0.00013353     0.000133531   0.01495547   0     0.0000928   0.0150483


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                            ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                      Andrew Dice Clay   216   historical   23823089     69         69 0.00013353     0.000133531   0.00921364   0     0.0000572   0.0092708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                    ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)              Andrew Dice Clay   67    historical   23823108     30         30 0.00013353     0.000133531   0.00400593   0     0.0000249   0.0040308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                   ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                     Andrew Dice Clay   108   historical   23796965      3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                              ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                              Andrew Dice Clay   239   historical   24202742      9          9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                     GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                          George Carlin      107   historical   25004484    480        480 0.00013353     0.000133531   0.06409488   0   0.000397756   0.0644926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                                ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                  Andrew Dice Clay   14    historical   23839292      1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                        ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                  Andrew Dice Clay   73    historical   23823126    138        138 0.00013353     0.000133531   0.01842728   0   0.000114355   0.0185416


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                             ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)                  Andrew Dice Clay   209   historical   23769738      5          5 0.00013353     0.000133531   0.00066766   0    0.00000414   0.0006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                      GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                         George Carlin      28    historical   25005308     58         58 0.00013353     0.000133531    0.0077448   0     0.0000481   0.0077929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                                  ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                                  Andrew Dice Clay   207   historical   23760777     30         30 0.00013353     0.000133531   0.00400593   0     0.0000249   0.0040308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                           GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                             George Carlin      288   historical   25746552    281        281 0.00013353     0.000133531   0.03752221   0   0.000232853   0.0377551


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                                    ANDREW DICE CLAY   128623771   100   20778767   USSM18900303    Hot Mama (Live at Dangerfield's/1989)                         Andrew Dice Clay   138   historical   23769763      1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                 GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                      George Carlin      177   historical   25004157    108        108 0.00013353     0.000133531   0.01442135   0   0.000089495   0.0145108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                           GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                             George Carlin      296   historical   25746527    289        289 0.00013353     0.000133531   0.03859046   0   0.000239482   0.0388299


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                         GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                           George Carlin      429   historical   25746553     82      131.2   0.00013353   0.000133531   0.01751927   0    0.00010872    0.017628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                              ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                Andrew Dice Clay   187   historical   23839294     33         33 0.00013353     0.000133531   0.00440652   0     0.0000273   0.0044339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                                  ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   24049055   9654    11584.8   0.00013353   0.000133531   1.54692993   0   0.009599831   1.5565298


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                           ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                             Andrew Dice Clay   231   historical   23796970     55         55 0.00013353     0.000133531   0.00734421   0     0.0000456   0.0073898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                               GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                    George Carlin      214   historical   25004092    243        243 0.00013353     0.000133531   0.03244803   0   0.000201364   0.0326494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                         GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                            George Carlin      115   historical   25010284     76         76 0.00013353     0.000133531   0.01014836   0   0.000062978   0.0102113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                      GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                           George Carlin      54    historical   25029140    281        281 0.00013353     0.000133531   0.03752221   0   0.000232853   0.0377551


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                          ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                    Andrew Dice Clay   149   historical   23823106     50         50 0.00013353     0.000133531   0.00667655   0     0.0000414    0.006718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                                ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                                  Andrew Dice Clay   106   historical   23839310     13         13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                                 ANDREW DICE CLAY   128623771   100   20778746   USSM18900287    The Divider (Live At Dangerfield's/1989)                      Andrew Dice Clay   130   historical   23769734      2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                                  GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                                  George Carlin      285   historical   25752081    243        243 0.00013353     0.000133531   0.03244803   0   0.000201364   0.0326494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                      ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                        Andrew Dice Clay   167   historical   23839318     12         12 0.00013353     0.000133531   0.00160237   0    0.00000994   0.0016123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                      George Carlin      54    historical   25004478    100        100 0.00013353     0.000133531    0.0133531   0     0.0000829    0.013436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                                   ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                                   Andrew Dice Clay   33    historical   24202733     67         67 0.00013353     0.000133531   0.00894658   0     0.0000555   0.0090021


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                               ANDREW DICE CLAY   128623771   100   20778768   USSM18900304    Turn‐On Words (Live at Dangerfield's/1989)                    Andrew Dice Clay   34    historical   23769764      1          1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                              GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                                George Carlin      173   historical   25746544     36         36 0.00013353     0.000133531   0.00480712   0     0.0000298   0.0048369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                       ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                         Andrew Dice Clay   65    historical   23839316      7          7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                        ANDREW DICE CLAY   128623771   100   20778750   USSM18900291    Kids (Live At Dangerfield's/1989)                             Andrew Dice Clay   118   historical   23769740      3          3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                       ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                         Andrew Dice Clay   162   historical   23796969     21         21 0.00013353     0.000133531   0.00280415   0     0.0000174   0.0028216


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                                    ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                      Andrew Dice Clay   114   historical   23839301      6          6 0.00013353     0.000133531   0.00080119   0    0.00000497   0.0008062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                                ANDREW DICE CLAY   128623771   100   20746962   USSM18900271    The Golden Age Of Television                                  Andrew Dice Clay   111   historical   23760786      4          4 0.00013353     0.000133531   0.00053412   0    0.00000331   0.0005374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                     GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                          George Carlin      145   historical   25004701     33         33 0.00013353     0.000133531   0.00440652   0     0.0000273   0.0044339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                                 ANDREW DICE CLAY   128623771   100   20778782   USSM18900318    How Are Ya? (Live at Dangerfield's/1989)                      Andrew Dice Clay   50    historical   23769780      2          2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                           ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)            Robin Williams     405   historical   24049057   10381   14533.4   0.00013353   0.000133531   1.94065944   0   0.012043211   1.9527026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                         ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                         Andrew Dice Clay   468   historical   23839324     13       20.8   0.00013353   0.000133531   0.00277745   0     0.0000172   0.0027947


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                     ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                Robin Williams     111   historical   24070997   1096       1096 0.00013353     0.000133531   0.14634998   0   0.000908209   0.1472582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                   ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                     Andrew Dice Clay   139   historical   23796941     14         14 0.00013353     0.000133531   0.00186943   0     0.0000116    0.001881


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                      ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)                Andrew Dice Clay   63    historical   23823123     33         33 0.00013353     0.000133531   0.00440652   0     0.0000273   0.0044339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                     George Carlin      153   historical   25004477    121        121 0.00013353     0.000133531   0.01615725   0   0.000100268   0.0162575
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 14 of 86 Page ID
                                                                                                                                                                                                                                              #:4467
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                          ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                                              Andrew Dice Clay   255   historical    23839311     40        40 0.00013353     0.000133531   0.00534124   0     0.0000331   0.0053744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                                             ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624    The Pencil Room                                                                 Andrew Dice Clay   79    historical    24202752      6         6 0.00013353     0.000133531   0.00080119   0    0.00000497   0.0008062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                               ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                                                   Andrew Dice Clay   14    historical    23796975      7         7 0.00013353     0.000133531   0.00093472   0     0.0000058   0.0009405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                     ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                                         Andrew Dice Clay   202   historical    23839300     33        33 0.00013353     0.000133531   0.00440652   0     0.0000273   0.0044339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                            GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                                                George Carlin      355   historical    25746536     94     112.8   0.00013353   0.000133531    0.0150623   0     0.0000935   0.0151558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                              GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                                     George Carlin      173   historical    25032485     29        29 0.00013353     0.000133531    0.0038724   0      0.000024   0.0038964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                       ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                                           Andrew Dice Clay   180   historical    23796973     32        32 0.00013353     0.000133531   0.00427299   0   0.000026517   0.0042995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XAJ   SILENCE IS GOLDEN                                                           ANDREW DICE CLAY   128623771   100   20778783   USSM18900319    Silence Is Golden (Live at Dangerfield's/1989)                                  Andrew Dice Clay   16    historical    23769781      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                                  ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618    For Who, For Her, For What                                                      Andrew Dice Clay   35    historical    24202746      9         9 0.00013353     0.000133531   0.00120178   0    0.00000746   0.0012092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                          GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                                 George Carlin      157   historical    25005307     44        44 0.00013353     0.000133531   0.00587536   0     0.0000365   0.0059118


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                                 ANDREW DICE CLAY   128623771   100   20778746   USSM18900287    The Divider (Live At Dangerfield's/1989)                                        Andrew Dice Clay   130   historical    23769735      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                              ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                                                 Andrew Dice Clay   23    historical    23839289     17        17 0.00013353     0.000133531   0.00227003   0     0.0000141   0.0022841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                   ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                                          Robin Williams     223   historical    23667939    531       531 0.00013353     0.000133531   0.07090496   0   0.000440017    0.071345


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                              ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                                                  Andrew Dice Clay   29    historical    23796953     13        13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                     GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                                        George Carlin      286   historical    25010273    152       152 0.00013353     0.000133531   0.02029671   0   0.000125956   0.0204227


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                              GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                                     George Carlin      203   historical    25014965    123       123 0.00013353     0.000133531   0.01642431   0   0.000101925   0.0165262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                             ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                                                 Andrew Dice Clay   72    historical    23796968      2         2 0.00013353     0.000133531   0.00026706   0    0.00000166   0.0002687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O39 WHAT DID SHE SAY?                                                             ANDREW DICE CLAY   128623771   100   20778779   USSM18900315    What Did She Say? (Live at Dangerfield's/1989)                                  Andrew Dice Clay   75    historical    23769777      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                                ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606    Dice Funk‐Up                                                                    Andrew Dice Clay   89    historical    24202734     55        55 0.00013353     0.000133531   0.00734421   0     0.0000456   0.0073898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                           GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                                                George Carlin      65    historical    25005315     19        19 0.00013353     0.000133531   0.00253709   0     0.0000157   0.0025528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                                              ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)                                     Andrew Dice Clay   222   historical    23769737      3         3 0.00013353     0.000133531   0.00040059   0   0.000002486   0.0004031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                               GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                                              George Carlin      466   historical    25014969     17      27.2   0.00013353   0.000133531   0.00363204   0     0.0000225   0.0036546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                                  ANDREW DICE CLAY   128623771   100   20746969   USSM18900278    Masturbation                                                                    Andrew Dice Clay   91    historical    23760794      8         8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                                ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                                           Andrew Dice Clay   59    historical    23796939     15        15 0.00013353     0.000133531   0.00200297   0     0.0000124   0.0020154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                        ANDREW DICE CLAY   128623771   100   20778750   USSM18900291    Kids (Live At Dangerfield's/1989)                                               Andrew Dice Clay   118   historical    23769741      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                                                    George Carlin      85    historical    25752085    108       108 0.00013353     0.000133531   0.01442135   0   0.000089495   0.0145108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                                                               ANDREW DICE CLAY   128623771   100   20778758   USSM18900298    What'll It Be (Live At Dangerfield's/1989)                                      Andrew Dice Clay   136   historical    23769750      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                                                 ANDREW DICE CLAY   128623771   100   20778754   USSM18900294    Jerkin' Off (Live At Dangerfield's/1989)                                        Andrew Dice Clay   79    historical    23769746      1         1 0.00013353     0.000133531   0.00013353   0   0.000000829   0.0001344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                        GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                                               George Carlin      275   historical    25032501     13        13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                   ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                                       Andrew Dice Clay   70    historical    23796963      6         6 0.00013353     0.000133531   0.00080119   0    0.00000497   0.0008062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                      GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                             George Carlin      192   historical    25014964    112       112 0.00013353     0.000133531   0.01495547   0     0.0000928   0.0150483


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                                                GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                                    George Carlin      456   historical    25553766     41      65.6   0.00013353   0.000133531   0.00875963   0     0.0000544    0.008814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams     369   historical    24049051    1716   2402.4   0.00013353   0.000133531   0.32079487   0   0.001990767   0.3227856


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                 GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                                        George Carlin      177   historical    25032497     13        13 0.00013353     0.000133531    0.0017359   0     0.0000108   0.0017467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                           ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633    Fat As* House Mix                                                               Andrew Dice Clay   146   historical    24202761      8         8 0.00013353     0.000133531   0.00106825   0    0.00000663   0.0010749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                   GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                          George Carlin      389   historical    25005312     68      95.2   0.00013353   0.000133531   0.01271215   0     0.0000789    0.012791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                                     GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                                         George Carlin      126   historical    25746533     29        29 0.00013353     0.000133531    0.0038724   0      0.000024   0.0038964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                                  ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                                      Andrew Dice Clay   65    historical    23796951     38        38 0.00013353     0.000133531   0.00507418   0   0.000031489   0.0051057


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical   1542188538    96     249.6   0.00027499   0.000274993   0.06863823   0    0.00042595   0.0690642


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   1542745009   367     513.8   0.00027499   0.000274993   0.14129135   0   0.000876816   0.1421682


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   1543651900    20        20 0.00027499     0.000274993   0.00549986   0     0.0000341    0.005534


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                          George Carlin      595   historical   1542188512    73       146 0.00027499     0.000274993   0.04014896   0   0.000249154   0.0403981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical   1542188482    46        46 0.00027499     0.000274993   0.01264967   0     0.0000785   0.0127282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   1542744956    51        51 0.00027499     0.000274993   0.01402464   0      0.000087   0.0141117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                       George Carlin      154   historical   1542744988    42        42 0.00027499     0.000274993    0.0115497   0     0.0000717   0.0116214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   1543258469   1538     1538 0.00027499     0.000274993   0.42293908   0   0.002624646   0.4255637


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                                 George Carlin      80    historical   1542745030    79        79 0.00027499     0.000274993   0.02172444   0   0.000134816   0.0218593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                           GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                                             George Carlin      350   historical   1543575806    14      16.8   0.00027499   0.000274993   0.00461988   0     0.0000287   0.0046486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   1542188544   222     355.2   0.00027499   0.000274993   0.09767748   0    0.00060616   0.0982836


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                              George Carlin      315   historical   1543258457   3132   3758.4   0.00027499   0.000274993   1.03353332   0    0.00641383   1.0399471


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical   1542744996    11        11 0.00027499     0.000274993   0.00302492   0     0.0000188   0.0030437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   1542188486    63     113.4   0.00027499   0.000274993    0.0311842   0   0.000193521   0.0313777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   1542188523    28        28 0.00027499     0.000274993    0.0076998   0     0.0000478   0.0077476


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                             George Carlin      246   historical   1542188558   296       296 0.00027499     0.000274993    0.0813979   0   0.000505134    0.081903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   1542745026    46        46 0.00027499     0.000274993   0.01264967   0     0.0000785   0.0127282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   HB18ZJ   HE SAID, SHE SAID                                                           ANDREW DICE CLAY   128623771   100   5975940                    He Said She Said                                                                Andrew Dice Clay   462   historical   1543854967   103     164.8   0.00027499   0.000274993   0.04531883   0   0.000281237   0.0456001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical   1542188550    14        14 0.00027499     0.000274993    0.0038499   0     0.0000239   0.0038738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                         George Carlin      180   historical   1542745004    62        62 0.00027499     0.000274993   0.01704956   0   0.000105805   0.0171554


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   1542745039    47        47 0.00027499     0.000274993   0.01292467   0   0.000080207   0.0130049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   1542188504    55        99 0.00027499     0.000274993    0.0272243   0   0.000168947   0.0273932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   1542745037    45        45 0.00027499     0.000274993   0.01237468   0     0.0000768   0.0124515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   1542188572   129       129 0.00027499     0.000274993   0.03547408   0   0.000220143   0.0356942


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   1543258473   2965     2965 0.00027499     0.000274993   0.81535395   0   0.005059867   0.8204138


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   1542744976    85       153 0.00027499     0.000274993   0.04207391   0   0.000261099    0.042335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical   1542188574    39        39 0.00027499     0.000274993   0.01072472   0     0.0000666   0.0107913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   1542188562    43        43 0.00027499     0.000274993    0.0118247   0     0.0000734   0.0118981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                                George Carlin      450   historical   1542744958   658    1052.8   0.00027499   0.000274993   0.28951253   0   0.001796637   0.2913092


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   NC5V8K   NAPALM & SILLY PUTTY (EXCERPT)                                              GEORGE CARLIN      473337545   100   5493818                    Napalm & Silly Putty (Excerpt)                                                  George Carlin      723   historical   1543574589    39     101.4   0.00027499   0.000274993   0.02788428   0   0.000173042   0.0280573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   1542744970    89        89 0.00027499     0.000274993   0.02447437   0   0.000151881   0.0246262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   1542744994    50        50 0.00027499     0.000274993   0.01374965   0     0.0000853    0.013835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   1542744964    48      57.6   0.00027499   0.000274993   0.01583959   0     0.0000983   0.0159379


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   1542188546    93        93 0.00027499     0.000274993   0.02557434   0   0.000158708    0.025733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                    Retired People                                                                  George Carlin      63    historical   1542745041    62        62 0.00027499     0.000274993   0.01704956   0   0.000105805   0.0171554


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                                  George Carlin      173   historical   1542745016    19        19 0.00027499     0.000274993   0.00522487   0     0.0000324   0.0052573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   1542188528    37        37 0.00027499     0.000274993   0.01017474   0     0.0000631   0.0102379


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   1542188560    71      99.4   0.00027499   0.000274993   0.02733429   0   0.000169629   0.0275039


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                                    George Carlin      121   historical   1542744992    29        29 0.00027499     0.000274993   0.00797479   0     0.0000495   0.0080243


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R90   THE INDIAN SERGEANT                                                         GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                                             George Carlin      321   historical   1543710389   680       816 0.00027499     0.000274993   0.22439421   0    0.00139253   0.2257867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   1542744984    30        30 0.00027499     0.000274993   0.00824979   0   0.000051196    0.008301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   1543570421   601     721.2   0.00027499   0.000274993   0.19832488   0   0.001230751   0.1995556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   1542188536    75        90 0.00027499     0.000274993   0.02474936   0   0.000153588   0.0249029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   1542745024    74        74 0.00027499     0.000274993   0.02034948   0   0.000126283   0.0204758


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   1542188500    14        14 0.00027499     0.000274993    0.0038499   0     0.0000239   0.0038738
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                      GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                       George Carlin      101   historical   1542744960     30         30 0.00027499     0.000274993   0.00824979   0   0.000051196    0.008301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6WNK BROOKLYN BAD BOY                                               ANDREW DICE CLAY   128623771   100   5970488                    Brooklyn Bad Boy                                              Andrew Dice Clay   165   historical   1543851724      1          1 0.00027499     0.000274993   0.00027499   0    0.00000171   0.0002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES       GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                       George Carlin      62    historical   1542188548     65         65 0.00027499     0.000274993   0.01787454   0   0.000110925   0.0179855


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                   ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                    Andrew Dice Clay   131   historical   1543651876     14         14 0.00027499     0.000274993    0.0038499   0     0.0000239   0.0038738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MUA TRAFFIC ACCIDENTS ‐ KEEP MOVIN'!                               GEORGE CARLIN      473337545   100   3657797                    Traffic Accidents ? Keep Movin'!                              George Carlin      376   historical   1542878120   1779     2490.6   0.00027499   0.000274993   0.68489732   0   0.004250289   0.6891476


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                           GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                            George Carlin      46    historical   1542188552      7          7 0.00027499     0.000274993   0.00192495   0     0.0000119   0.0019369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                   GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                  George Carlin      338   historical   1542188570     56       67.2   0.00027499   0.000274993   0.01847952   0   0.000114679   0.0185942


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                         GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                          George Carlin      487   historical   1542745012    130        234 0.00027499     0.000274993   0.06434834   0   0.000399329   0.0647477


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                   GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                    George Carlin      54    historical   1542744986     90         90 0.00027499     0.000274993   0.02474936   0   0.000153588   0.0249029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                 GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                  George Carlin      200   historical   1542745000    130        130 0.00027499     0.000274993   0.03574908   0   0.000221849   0.0359709


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                       GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                        George Carlin      152   historical   1542744972     30         30 0.00027499     0.000274993   0.00824979   0   0.000051196    0.008301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                    GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                     George Carlin      388   historical   1542188478   1385       1939 0.00027499     0.000274993   0.53321123   0   0.003308966   0.5365202


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                        GEORGE CARLIN      473337545   100   3446714                    Asylums                                                       George Carlin      301   historical   1542744962     94      112.8   0.00027499   0.000274993    0.0310192   0   0.000192497   0.0312117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                    GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                     George Carlin      66    historical   1542188542     60         60 0.00027499     0.000274993   0.01649957   0   0.000102392    0.016602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                             GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                              George Carlin      183   historical   1542745002    327        327 0.00027499     0.000274993   0.08992268   0   0.000558036   0.0904807


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                        GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                         George Carlin      228   historical   1542188514    116        116 0.00027499     0.000274993   0.03189918   0   0.000197958   0.0320971


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                            GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                             George Carlin      157   historical   1542188496     30         30 0.00027499     0.000274993   0.00824979   0   0.000051196    0.008301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                 George Carlin      100   historical   1542745018     13         13 0.00027499     0.000274993   0.00357491   0     0.0000222   0.0035971


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                               GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                George Carlin      118   historical   1542188526     14         14 0.00027499     0.000274993    0.0038499   0     0.0000239   0.0038738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                        ANDREW DICE CLAY   128623771   100   5970472                    Bambi                                                         Andrew Dice Clay   162   historical   1543851696     56         56 0.00027499     0.000274993    0.0153996   0     0.0000956   0.0154952


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                               GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                George Carlin      74    historical   1542188516     27         27 0.00027499     0.000274993   0.00742481   0     0.0000461   0.0074709


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                        GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                         George Carlin      38    historical   1542188568     33         33 0.00027499     0.000274993   0.00907477   0     0.0000563   0.0091311


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                    ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   1544277739    376        376 0.00027499     0.000274993   0.10339733   0   0.000641656    0.104039


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                              GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                  George Carlin      326   historical   1546265667     55         66 0.00027499     0.000274993   0.01814953   0   0.000112631   0.0182622


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                          GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                              George Carlin      25    historical   1545790576      1          1 0.00027499     0.000274993   0.00027499   0    0.00000171   0.0002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                               GEORGE CARLIN      473337545   100   32163213   USZQE0610782    The Cool World                                                George Carlin      316   historical   1545510027     22       26.4   0.00027499   0.000274993   0.00725981   0     0.0000451   0.0073049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                      ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                Robin Williams     111   historical   1544804812   1125       1125 0.00027499     0.000274993   0.30936701   0   0.001919849   0.3112869


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                              ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)            Robin Williams     646   historical   1544785632    290        638 0.00027499     0.000274993   0.17544547   0   0.001088767   0.1765342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                          GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                              George Carlin      86    historical   1545787058     47         47 0.00027499     0.000274993   0.01292467   0   0.000080207   0.0130049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                     GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                      George Carlin      165   historical   1542745014     10         10 0.00027499     0.000274993   0.00274993   0     0.0000171    0.002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                            GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                      George Carlin      181   historical   1542721247    329        329 0.00027499     0.000274993   0.09047266   0   0.000561449   0.0910341


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                       GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                        George Carlin      45    historical   1542188534     13         13 0.00027499     0.000274993   0.00357491   0     0.0000222   0.0035971


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                      GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                       George Carlin      64    historical   1542188518     28         28 0.00027499     0.000274993    0.0076998   0     0.0000478   0.0077476


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                       GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                        George Carlin      369   historical   1543574629     51       71.4   0.00027499   0.000274993   0.01963449   0   0.000121846   0.0197563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS               GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                George Carlin      388   historical   1542188554     74      103.6   0.00027499   0.000274993   0.02848926   0   0.000176797   0.0286661


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                             GEORGE CARLIN      473337545   100   3446716                    The Evening News                                              George Carlin      165   historical   1542744966     16         16 0.00027499     0.000274993   0.00439989   0     0.0000273   0.0044272


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                  GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                   George Carlin      286   historical   1543258475   2587       2587 0.00027499     0.000274993   0.71140663   0   0.004414798   0.7158214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                              GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                              George Carlin      214   historical   1545542540     81         81 0.00027499     0.000274993   0.02227443   0   0.000138229   0.0224127


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                             GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                 George Carlin      336   historical   1546236819     34       40.8   0.00027499   0.000274993   0.01121971   0     0.0000696   0.0112893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                           ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     130   historical   1544750753   3703       3703 0.00027499     0.000274993   1.01829871   0   0.006319288    1.024618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                       GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                           George Carlin      192   historical   1546267747     20         20 0.00027499     0.000274993   0.00549986   0     0.0000341    0.005534


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                    ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   1544375777    209      250.8   0.00027499   0.000274993   0.06896822   0   0.000427998   0.0693962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                 GEORGE CARLIN      473337545   100   32163210   USZQE0610781    War Pictures                                                  George Carlin      222   historical   1545533816     13         13 0.00027499     0.000274993   0.00178744   0     0.0000111   0.0017985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                           GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                               George Carlin      418   historical   1546297121     12       16.8   0.00027499   0.000274993   0.00461988   0     0.0000287   0.0046486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                          GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                              George Carlin      340   historical   1545831850    463      555.6   0.00027499   0.000274993   0.15278606   0   0.000948149   0.1537342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                         ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                  Andrew Dice Clay   189   historical   1544466360    180        180 0.00027499     0.000274993   0.04949872   0   0.000307176   0.0498059


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                       ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)                Andrew Dice Clay   63    historical   1544415379     36         36 0.00027499     0.000274993   0.00989974   0     0.0000614   0.0099612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                GEORGE CARLIN      473337545   100   32163205   USZQE0610779    Killer Carlin                                                 George Carlin      167   historical   1545552014      2          2 0.00027499     0.000274993   0.00027499   0    0.00000171   0.0002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                        ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                 Andrew Dice Clay   215   historical   1544386816     88         88 0.00027499     0.000274993   0.02419938   0   0.000150175   0.0243496


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   1544413026    803        803 0.00027499     0.000274993    0.2208193   0   0.001370345   0.2221896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                             ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   1544077141     33         33 0.00027499     0.000274993   0.00907477   0     0.0000563   0.0091311


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                              ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                       Andrew Dice Clay   126   historical   1544231708     54         54 0.00027499     0.000274993   0.01484962   0     0.0000922   0.0149418


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                          ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)          Robin Williams     325   historical   1544785956   11779   14134.8   0.00027499   0.000274993   3.88696964   0   0.024121489   3.9110911


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                    GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                        George Carlin      389   historical   1545824565    107      149.8   0.00027499   0.000274993   0.04119394   0   0.000255639   0.0414496


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                  ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)           Andrew Dice Clay   166   historical   1544529222     31         31 0.00027499     0.000274993   0.00852478   0     0.0000529   0.0085777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)   GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001               George Carlin      518   historical   1546290236     22       39.6   0.00027499   0.000274993   0.01088972   0     0.0000676   0.0109573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                    ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                        Robin Williams     223   historical   1544415789    755        755 0.00027499     0.000274993   0.20761964   0   0.001288432   0.2089081


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                    GEORGE CARLIN      473337545   100   32163208   USZQE0610780    Capt. Jack & Jolly George                                     George Carlin      241   historical   1545523956      1          1 0.00027499     0.000274993   0.00027499   0    0.00000171   0.0002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                   ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   1544746605   14496   17395.2   0.00027499   0.000274993   4.78355649   0   0.029685466    4.813242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                           ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                    Andrew Dice Clay   149   historical   1544402811     32         32 0.00027499     0.000274993   0.00879977   0   0.000054609   0.0088544


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                            ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                     Andrew Dice Clay   98    historical   1544069965     46         46 0.00027499     0.000274993   0.01264967   0     0.0000785   0.0127282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                   ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   1544229925     47         47 0.00027499     0.000274993   0.01292467   0   0.000080207   0.0130049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                           ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                    Andrew Dice Clay   85    historical   1544237499     35         35 0.00027499     0.000274993   0.00962475   0     0.0000597   0.0096845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                             ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                      Andrew Dice Clay   216   historical   1544108164     86         86 0.00027499     0.000274993   0.02364939   0   0.000146762   0.0237962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                             GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                              George Carlin      118   historical   1542188530     38         38 0.00027499     0.000274993   0.01044973   0     0.0000648   0.0105146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                           GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                               George Carlin      157   historical   1545785822     60         60 0.00027499     0.000274993   0.01649957   0   0.000102392    0.016602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                        ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical   1544763743   15385     21539 0.00027499     0.000274993   5.92307207   0   0.036756993   5.9598291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                   GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                       George Carlin      586   historical   1546246536      5         10 0.00027499     0.000274993   0.00274993   0     0.0000171    0.002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                   ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                        Robin Williams     246   historical   1544290782   1096       1096 0.00027499     0.000274993   0.30139222   0   0.001870359   0.3032626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                              ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                     Andrew Dice Clay   154   historical   1544108959     40         40 0.00027499     0.000274993   0.01099972   0     0.0000683    0.011068


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                 ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     370   historical   1544749947   11034   15447.6   0.00027499   0.000274993   4.24798032   0   0.026361824   4.2743421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                              ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                  Robin Williams     192   historical   1544481497    675        675 0.00027499     0.000274993   0.18562021   0   0.001151909   0.1867721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                         ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                  Andrew Dice Clay   73    historical   1544421487    171        171 0.00027499     0.000274993   0.04702379   0   0.000291817   0.0473156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                           GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   1545848079    387        387 0.00027499     0.000274993   0.10642225   0   0.000660428   0.1070827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                     ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)              Andrew Dice Clay   67    historical   1544407040     43         43 0.00027499     0.000274993    0.0118247   0     0.0000734   0.0118981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                               ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                        Andrew Dice Clay   145   historical   1544180613     30         30 0.00027499     0.000274993   0.00824979   0   0.000051196    0.008301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                    GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                           George Carlin      99    historical   1545843889    146        146 0.00027499     0.000274993   0.04014896   0   0.000249154   0.0403981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                      ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                          Robin Williams     154   historical   1544376080    102        102 0.00027499     0.000274993   0.02804928   0   0.000174066   0.0282233


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                        ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                 Andrew Dice Clay   135   historical   1544480943     18         18 0.00027499     0.000274993   0.00494987   0     0.0000307   0.0049806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                 GEORGE CARLIN      473337545   100   32163203   USZQE0610778    Mothers Club                                                  George Carlin      279   historical   1545535465      3          3 0.00027499     0.000274993   0.00041249   0    0.00000256    0.000415


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)         Andrew Dice Clay   173   historical   1544518424     30         30 0.00027499     0.000274993   0.00824979   0   0.000051196    0.008301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                    George Carlin      155   historical   1545822526    189        189 0.00027499     0.000274993   0.05197366   0   0.000322535   0.0522962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO      GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                 George Carlin      229   historical   1545839318    594        594 0.00027499     0.000274993   0.16334578   0    0.00101368   0.1643595
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 16 of 86 Page ID
                                                                                                                                                                                                                                              #:4469
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                        ANDREW DICE CLAY   128623771   100   20966174   USSM19100214   Dice Has Random Thoughts (Live At Govenors/1991)                Andrew Dice Clay   98    historical   1544139410     53         53 0.00027499     0.000274993   0.01457462   0     0.0000904   0.0146651


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                      ROBIN WILLIAMS     89045747    100   22454790   USQX91000082   Bush, Cheney, And The Obamas (Explicit Audio)                   Robin Williams     517   historical   1544777235    239      430.2   0.00027499   0.000274993   0.11830195   0    0.00073415   0.1190361


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                         ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                          Robin Williams     337   historical   1544466222   1053     1263.6   0.00027499   0.000274993   0.34748103   0   0.002156374   0.3496374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                     GEORGE CARLIN      473337545   100   32163219   USZQE0610784   The Sickest                                                     George Carlin      113   historical   1545534298     12         12 0.00027499     0.000274993   0.00329992   0     0.0000205   0.0033204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                          GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                          George Carlin      28    historical   1545797149     35         35 0.00027499     0.000274993   0.00962475   0     0.0000597   0.0096845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                   ANDREW DICE CLAY   128623771   100   20966167   USSM19100207   Dice On Manners (Live At Govenors/1991)                         Andrew Dice Clay   79    historical   1544482161     67         67 0.00027499     0.000274993   0.01842452   0   0.000114338   0.0185389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                               ANDREW DICE CLAY   128623771   100   20966138   USSM19100192   Dice On Disasters (Live At Govenors/1991)                       Andrew Dice Clay   111   historical   1544394835     43         43 0.00027499     0.000274993    0.0118247   0     0.0000734   0.0118981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                 ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                   Robin Williams     76    historical   1544179284    396        396 0.00027499     0.000274993   0.10889719   0   0.000675787    0.109573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                 GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                           George Carlin      295   historical   1546247704      1          1 0.00027499     0.000274993   0.00027499   0    0.00000171   0.0002767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                               ROBIN WILLIAMS     89045747    100   22454794   USQX91000086   The Summer Olympics And Athletics (Explicit Audio)              Robin Williams     405   historical   1544775939   16270     22778 0.00027499     0.000274993   6.26378828   0   0.038871386   6.3026597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                          GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                              George Carlin      486   historical   1545827097     99      178.2   0.00027499   0.000274993   0.04900374   0   0.000304104   0.0493078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                          ANDREW DICE CLAY   128623771   100   20966143   USSM19100193   Dice Just Says No Leno (Live At Govenors/1991)                  Andrew Dice Clay   108   historical   1544395653     41         41 0.00027499     0.000274993   0.01127471   0       0.00007   0.0113447


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                  GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                    George Carlin      203   historical   1546277197     67         67 0.00027499     0.000274993   0.01842452   0   0.000114338   0.0185389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   1/1/2017   1/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                ANDREW DICE CLAY   128623771   100   20966146   USSM19100194   Dice On Redheads (Live At Govenors/1991)                        Andrew Dice Clay   101   historical   1544121255     22         22 0.00027499     0.000274993   0.00604984   0     0.0000375   0.0060874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                GEORGE CARLIN      473337545   100   11005083                  Let's Beat Them With Our Purses!                                George Carlin      118   historical   1554269134      7          7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                             GEORGE CARLIN      473337545   100   11005097                  15 Rules To Live By                                             George Carlin      246   historical   1554269162    325        325 0.00024962     0.000249619   0.08112605   0   0.000503446   0.0816295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                      GEORGE CARLIN      473337545   100   11005099                  More Redundant Expressions                                      George Carlin      46    historical   1554269166     70         70 0.00024962     0.000249619    0.0174733   0   0.000108435   0.0175817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                       GEORGE CARLIN      473337545   100   3446766                   Quicksand                                                       George Carlin      129   historical   1554801545     45         45 0.00024962     0.000249619   0.01123284   0   0.000069708   0.0113025


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                          GEORGE CARLIN      473337545   100   11005070                  A Place For Your Stuff                                          George Carlin      595   historical   1554269115     81        162 0.00024962     0.000249619   0.04043821   0   0.000250949   0.0406892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES          GEORGE CARLIN      473337545   100   11005092                  George Carlin Book Club                                         George Carlin      62    historical   1554269152     61         61 0.00024962     0.000249619   0.01522674   0   0.000094493   0.0153212


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                              GEORGE CARLIN      473337545   100   11005094                  The "Pre" Epidemic                                              George Carlin      46    historical   1554269156      2          2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                    GEORGE CARLIN      473337545   100   3446743                   Saying Hello                                                    George Carlin      200   historical   1554801513    153        153 0.00024962     0.000249619   0.03819165   0   0.000237007   0.0384287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                               GEORGE CARLIN      473337545   100   11005062                  Appropriate Names                                               George Carlin      157   historical   1554269101     28         28 0.00024962     0.000249619   0.00698932   0     0.0000434   0.0070327


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                          GEORGE CARLIN      473337545   100   11005085                  # What's My Motivation                                          George Carlin      45    historical   1554269138     27         27 0.00024962     0.000249619    0.0067397   0     0.0000418   0.0067815


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                            GEORGE CARLIN      473337545   100   3446750                   Euphamistic Language                                            George Carlin      487   historical   1554801523    111      199.8   0.00024962   0.000249619    0.0498738   0   0.000309503   0.0501833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                          GEORGE CARLIN      473337545   100   3446720                   Dogs Come In All Sizes                                          George Carlin      152   historical   1554801484     31         31 0.00024962     0.000249619   0.00773818   0   0.000048021   0.0077862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                GEORGE CARLIN      473337545   100   4823634                   Opening / Old Fuck                                              George Carlin      315   historical   1555264437   3439     4126.8   0.00024962   0.000249619   1.03012604   0   0.006392685   1.0365187


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                 GEORGE CARLIN      473337545   100   3446760                   Latest Disaster                                                 George Carlin      80    historical   1554801539    172        172 0.00024962     0.000249619    0.0429344   0   0.000266439   0.0432008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                GEORGE CARLIN      473337545   100   3446740                   Secretary Of Being In The Closet                                George Carlin      164   historical   1554801507     20         20 0.00024962     0.000249619   0.00499237   0      0.000031   0.0050234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                     GEORGE CARLIN      473337545   100   3446757                   Free Speech                                                     George Carlin      183   historical   1554801533     69         69 0.00024962     0.000249619   0.01722368   0   0.000106886   0.0173306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES          GEORGE CARLIN      473337545   100   11005064                  # The George Carlin Book Club Offer No.1‐How To Titles          George Carlin      69    historical   1554269105     20         20 0.00024962     0.000249619   0.00499237   0      0.000031   0.0050234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                         GEORGE CARLIN      473337545   100   4823646                   Just Enough Bullshit / No One Questions Things                  George Carlin      268   historical   1555264459   3154       3154 0.00024962     0.000249619   0.78729706   0   0.004885754   0.7921828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                        GEORGE CARLIN      473337545   100   3446751                   Rip‐Offs                                                        George Carlin      165   historical   1554801525     21         21 0.00024962     0.000249619   0.00524199   0     0.0000325   0.0052745


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                GEORGE CARLIN      473337545   100   3446712                   People Who Want To Know The Time                                George Carlin      450   historical   1554801470    770       1232 0.00024962     0.000249619   0.30753012   0   0.001908449   0.3094386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                      GEORGE CARLIN      473337545   100   3446711                   Tell Claus I Said, "Hello"                                      George Carlin      271   historical   1554801468     53         53 0.00024962     0.000249619   0.01322979   0     0.0000821   0.0133119


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                  GEORGE CARLIN      473337545   100   3446767                   Retired People                                                  George Carlin      63    historical   1554801547     52         52 0.00024962     0.000249619   0.01298017   0     0.0000806   0.0130607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                           GEORGE CARLIN      473337545   100   11005072                  Mental Brain Thoughts                                           George Carlin      228   historical   1554269117    131        131 0.00024962     0.000249619   0.03270004   0   0.000202928    0.032903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                GEORGE CARLIN      473337545   100   3446748                   Religious People                                                George Carlin      400   historical   1554801521    347      485.8   0.00024962   0.000249619   0.12126472   0   0.000752536   0.1220173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                      GEORGE CARLIN      473337545   100   11005087                  First Time Human Sacrifice                                      George Carlin      743   historical   1554269142     60        156 0.00024962     0.000249619    0.0389405   0   0.000241654   0.0391822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                             GEORGE CARLIN      473337545   100   3446765                   The Red Sox (Socks)                                             George Carlin      188   historical   1554801543     69         69 0.00024962     0.000249619   0.01722368   0   0.000106886   0.0173306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                         GEORGE CARLIN      473337545   100   3446713                   Favorite Period Of Time                                         George Carlin      101   historical   1554801472     24         24 0.00024962     0.000249619   0.00599085   0     0.0000372    0.006028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                         GEORGE CARLIN      473337545   100   11005082                  # Fuck You, I Like These Kinds Of Jokes                         George Carlin      108   historical   1554269132     21         21 0.00024962     0.000249619   0.00524199   0     0.0000325   0.0052745


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                       GEORGE CARLIN      473337545   100   11005089                  More Random Thoughts (Peacekeeping Force)                       George Carlin      66    historical   1554269146     51         51 0.00024962     0.000249619   0.01273055   0      0.000079   0.0128096


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                           ANDREW DICE CLAY   128623771   100   5970472                   Bambi                                                           Andrew Dice Clay   162   historical   1555795058     46         46 0.00024962     0.000249619   0.01148246   0   0.000071257   0.0115537


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                      GEORGE CARLIN      473337545   100   11005093                  Deaths Of Supercelebrities                                      George Carlin      164   historical   1554269154      7          7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                             GEORGE CARLIN      473337545   100   3446758                   Comitting The Perfect Double Murder                             George Carlin      174   historical   1554801535     26         26 0.00024962     0.000249619   0.00649008   0     0.0000403   0.0065304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                          GEORGE CARLIN      473337545   100   3446728                   Airlines                                                        George Carlin      518   historical   1554801488    129      232.2   0.00024962   0.000249619   0.05796144   0   0.000359693   0.0583211


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                            1990   ANDREW DICE CLAY   128623771   100   5643610                                                                            1990   Andrew Dice Clay   132   historical   1555616810     10         10 0.00024962     0.000249619   0.00249619   0     0.0000155   0.0025117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                      GEORGE CARLIN      473337545   100   11005105                  Language Of Comedy/Goodbye                                      George Carlin      106   historical   1554269178     72         72 0.00024962     0.000249619   0.01797254   0   0.000111533   0.0180841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                     GEORGE CARLIN      473337545   100   11005056                  Well, Ya Gotta Live Someplace                                   George Carlin      481   historical   1554269092     75        135 0.00024962     0.000249619   0.03369851   0   0.000209124   0.0339076


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                            GEORGE CARLIN      473337545   100   11005104                  Random Thoughts (Recreational Drugs)                            George Carlin      299   historical   1554269176    153        153 0.00024962     0.000249619   0.03819165   0   0.000237007   0.0384287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                           GEORGE CARLIN      473337545   100   3446714                   Asylums                                                         George Carlin      301   historical   1554801474    122      146.4   0.00024962   0.000249619   0.03654416   0   0.000226783   0.0367709


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                      ANDREW DICE CLAY   128623771   100   5643598                   First Kiss                                                      Andrew Dice Clay   131   historical   1555616786     18         18 0.00024962     0.000249619   0.00449314   0     0.0000279    0.004521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                          GEORGE CARLIN      473337545   100   5486207                   The Best Of Comic Relief '90: Track 13                          George Carlin      335   historical   1555543356    663      795.6   0.00024962   0.000249619   0.19859656   0   0.001232437    0.199829


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                         GEORGE CARLIN      473337545   100   3446745                   No Brown In The Rainbow                                         George Carlin      180   historical   1554801517     37         37 0.00024962     0.000249619   0.00923589   0     0.0000573   0.0092932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                       GEORGE CARLIN      473337545   100   3446737                   Nice Days                                                       George Carlin      154   historical   1554801501     83         83 0.00024962     0.000249619   0.02071834   0   0.000128573   0.0208469


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                GEORGE CARLIN      473337545   100   3446716                   The Evening News                                                George Carlin      165   historical   1554801478     20         20 0.00024962     0.000249619   0.00499237   0      0.000031   0.0050234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                         GEORGE CARLIN      473337545   100   11005076                  Hi Mom!                                                         George Carlin      64    historical   1554269121     43         43 0.00024962     0.000249619    0.0107336   0     0.0000666   0.0108002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                GEORGE CARLIN      473337545   100   3446744                   No Complaining About Politicians                                George Carlin      183   historical   1554801515    323        323 0.00024962     0.000249619   0.08062681   0   0.000500348   0.0811272


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                       GEORGE CARLIN      473337545   100   11005052                  Air Pollution & Seven Things I'm Tired Of                       George Carlin      388   historical   1554269084     61       85.4   0.00024962   0.000249619   0.02131743   0    0.00013229   0.0214497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R90   THE INDIAN SERGEANT                                             GEORGE CARLIN      473337545   100   5739918                   The Indian Sergeant                                             George Carlin      321   historical   1555667774    602      722.4   0.00024962   0.000249619   0.18032448   0   0.001119045   0.1814435


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                           GEORGE CARLIN      473337545   100   11005090                  Television Announcers                                           George Carlin      441   historical   1554269148    226      361.6   0.00024962   0.000249619   0.09026209   0   0.000560142   0.0908222


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                      GEORGE CARLIN      473337545   100   3446736                   Dogs On Tv                                                      George Carlin      54    historical   1554801499     55         55 0.00024962     0.000249619   0.01372902   0     0.0000852   0.0138142


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                           GEORGE CARLIN      473337545   100   11005102                  Reincarnation (Souls)                                           George Carlin      38    historical   1554269172     43         43 0.00024962     0.000249619    0.0107336   0     0.0000666   0.0108002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                      GEORGE CARLIN      473337545   100   11005103                  My Childhood                                                    George Carlin      338   historical   1554269174     60         72 0.00024962     0.000249619   0.01797254   0   0.000111533   0.0180841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                   GEORGE CARLIN      473337545   100   3446753                   A Proposition                                                   George Carlin      100   historical   1554801529      4          4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                               GEORGE CARLIN      473337545   100   5496715                   Wonderful Wino (Top 40 Disc Jockey)                             George Carlin      350   historical   1555548223     23       27.6   0.00024962   0.000249619   0.00688947   0     0.0000428   0.0069322


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                        GEORGE CARLIN      473337545   100   11005054                  Food Terms                                                      George Carlin      84    historical   1554269088     82         82 0.00024962     0.000249619   0.02046873   0   0.000127023   0.0205957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                  GEORGE CARLIN      473337545   100   11005081                  Sports Roundup                                                  George Carlin      118   historical   1554269130     18         18 0.00024962     0.000249619   0.00449314   0     0.0000279    0.004521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU           GEORGE CARLIN      473337545   100   3446752                   Bumper Sticker                                                  George Carlin      173   historical   1554801527     21         21 0.00024962     0.000249619   0.00524199   0     0.0000325   0.0052745


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                GEORGE CARLIN      473337545   100   11005066                  It's Your Body‐Fearless Fashions                                George Carlin      484   historical   1554269109     54       97.2   0.00024962   0.000249619   0.02426293   0   0.000150569   0.0244135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                   GEORGE CARLIN      473337545   100   11005098                  Expressions (In The Privacy Of Your Own Home)                   George Carlin      396   historical   1554269164     71       99.4   0.00024962   0.000249619   0.02481209   0   0.000153977   0.0249661


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                  GEORGE CARLIN      473337545   100   3446735                   Falling Asleep                                                  George Carlin      59    historical   1554801497     69         69 0.00024962     0.000249619   0.01722368   0   0.000106886   0.0173306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                  GEORGE CARLIN      473337545   100   11005095                  Popular Beliefs Rooted In Familiar Expressions                  George Carlin      388   historical   1554269158     84      117.6   0.00024962   0.000249619   0.02935515   0    0.00018217   0.0295373


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                               GEORGE CARLIN      473337545   100   3408459                   Death And Dying (Part 2)                                        George Carlin      181   historical   1554780326    349        349 0.00024962     0.000249619   0.08711689   0   0.000540624   0.0876575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                 GEORGE CARLIN      473337545   100   3446719                   Greatest Thing Since Sliced Bread                               George Carlin      221   historical   1554801482    150        150 0.00024962     0.000249619   0.03744279   0    0.00023236   0.0376752


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                          GEORGE CARLIN      473337545   100   5493859                   (02/28/71 Performance)                                          George Carlin      369   historical   1555547155     77      107.8   0.00024962   0.000249619   0.02690889   0   0.000166989   0.0270759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                  GEORGE CARLIN      473337545   100   11005075                  The New Zodiac                                                  George Carlin      74    historical   1554269119     28         28 0.00024962     0.000249619   0.00698932   0     0.0000434   0.0070327


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                        GEORGE CARLIN      473337545   100   11005086                  Anything But The Present                                        George Carlin      334   historical   1554269140     85        102 0.00024962     0.000249619    0.0254611   0   0.000158005   0.0256191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                       GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                           George Carlin      261   historical   1558465974      4          4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                    ANDREW DICE CLAY   128623771   100   20872400   USSM19000311   Black Chicks                                                    Andrew Dice Clay   42    historical   1557103025      2          2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                    ROBIN WILLIAMS     89045747    100   22454789   USQX91000081   Healthcare And Heart Surgery (Explicit Audio)                   Robin Williams     370   historical   1556970024   11859   16602.6   0.00024962   0.000249619   4.14431777   0   0.025718522   4.1700363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                              ANDREW DICE CLAY   128623771   100   20966164   USSM19100204   Dice On Complaints (Live At Govenors/1991)                      Andrew Dice Clay   85    historical   1556242274     17         17 0.00024962     0.000249619   0.00424352   0     0.0000263   0.0042699
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                                                                                                                                                                                                                                              #:4470
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                       Andrew Dice Clay   110   historical   1556936592      8        8 0.00024962     0.000249619   0.00199695   0     0.0000124   0.0020093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                                    Andrew Dice Clay   180   historical   1557141779     22       22 0.00024962     0.000249619   0.00549161   0     0.0000341   0.0055257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93UW TEXAS                                                                      ANDREW DICE CLAY   128623771   100   20778743   USSM18900284     Texas (Live At Dangerfield's/1989)                                       Andrew Dice Clay   185   historical   1556480229      4        4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                                          George Carlin      430   historical   1558522753     72    115.2   0.00024962   0.000249619   0.02875606   0   0.000178452   0.0289345


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283     Birds                                                                    Andrew Dice Clay   60    historical   1557108679      2        2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216     Dice Rewrites History (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   1556585405     12       12 0.00024962     0.000249619   0.00299542   0     0.0000186    0.003014


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293     The Car Ride (Goin' To A Party)                                          Andrew Dice Clay   135   historical   1557130170      8        8 0.00024962     0.000249619   0.00199695   0     0.0000124   0.0020093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                             GEORGE CARLIN      473337545   100   3446739                     Ugly Singers                                                             George Carlin      121   historical   1554801505     24       24 0.00024962     0.000249619   0.00599085   0     0.0000372    0.006028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                   GEORGE CARLIN      473337545   100   3446715                     Sports Is Big Business                                                   George Carlin      322   historical   1554801476    110      132 0.00024962     0.000249619   0.03294966   0   0.000204477   0.0331541


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                              GEORGE CARLIN      473337545   100   11005079                    Give A Hoot                                                              George Carlin      42    historical   1554269126     38       38 0.00024962     0.000249619   0.00948551   0     0.0000589   0.0095444


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                         GEORGE CARLIN      473337545   100   3446741                     Avant Garde Play                                                         George Carlin      74    historical   1554801509     19       19 0.00024962     0.000249619   0.00474275   0     0.0000294   0.0047722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                     Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   1555264453   1825     1825 0.00024962     0.000249619   0.45555395   0   0.002827045    0.458381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                     Proud To Be An American / God Bless America                              George Carlin      286   historical   1555264462   3217     3217 0.00024962     0.000249619   0.80302304   0   0.004983345   0.8080064


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                            GEORGE CARLIN      473337545   100   11005091                    Another Objection On Language                                            George Carlin      250   historical   1554269150    141      141 0.00024962     0.000249619   0.03519622   0   0.000218418   0.0354146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23QW OCCUPATION: FOOLE                                                          GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                                            George Carlin      222   historical   1558528047    393      393 0.00024962     0.000249619   0.09810011   0   0.000608783   0.0987089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313     Mother & Son (Live at Dangerfield's/1989)                                Andrew Dice Clay   217   historical   1556162282      3        3 0.00024962     0.000249619   0.00074886   0    0.00000465   0.0007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                           Andrew Dice Clay   107   historical   1556939032      4        4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                                George Carlin      310   historical   1558521463    309    370.8   0.00024962   0.000249619   0.09255858   0   0.000574394    0.093133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                            ANDREW DICE CLAY   128623771   100   20872378   USSM19000300     Shakin' Hands                                                            Andrew Dice Clay   29    historical   1557104514      5        5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                                  Andrew Dice Clay   195   historical   1556938288     10       10 0.00024962     0.000249619   0.00249619   0     0.0000155   0.0025117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                             Andrew Dice Clay   330   historical   1556933489     31     37.2   0.00024962   0.000249619   0.00928581   0     0.0000576   0.0093434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                           George Carlin      157   historical   1558427798     40       40 0.00024962     0.000249619   0.00998474   0      0.000062   0.0100467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299     Backwards                                                                Andrew Dice Clay   109   historical   1557120315     10       10 0.00024962     0.000249619   0.00249619   0     0.0000155   0.0025117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                              George Carlin      828   historical   1558502290      2      5.6   0.00024962   0.000249619   0.00139786   0    0.00000867   0.0014065


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                 GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                                     George Carlin      76    historical   1558480448      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                                     Andrew Dice Clay   42    historical   1557109846      9        9 0.00024962     0.000249619   0.00224657   0     0.0000139   0.0022605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IBX   THEIR KIDS!                                                              GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                                  George Carlin      69    historical   1558481010      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                                                George Carlin      51    historical   1558430261      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                                      George Carlin      206   historical   1558517365     31       31 0.00024962     0.000249619   0.00773818   0   0.000048021   0.0077862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)                    Andrew Dice Clay   173   historical   1556638359     15       15 0.00024962     0.000249619   0.00374428   0   0.000023236   0.0037675


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320     Hour Back...Get It? (Live at Dangerfield's/1989)                         Andrew Dice Clay   400   historical   1556408942      4      5.6   0.00024962   0.000249619   0.00139786   0    0.00000867   0.0014065


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                                  George Carlin      177   historical   1558464689    212      212 0.00024962     0.000249619   0.05291914   0   0.000328402   0.0532475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                                   George Carlin      112   historical   1558459377     56       56 0.00024962     0.000249619   0.01397864   0     0.0000867   0.0140654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                               Andrew Dice Clay   126   historical   1556938580      4        4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                                  Andrew Dice Clay   126   historical   1556234161     75       75 0.00024962     0.000249619    0.0187214   0    0.00011618   0.0188376


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                             Andrew Dice Clay   210   historical   1556366915      6        6 0.00024962     0.000249619   0.00149771   0    0.00000929    0.001507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                             George Carlin      42    historical   1558463388      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273     Couples In Love                                                          Andrew Dice Clay   211   historical   1556058222      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                              George Carlin      419   historical   1558449485    725     1015 0.00024962     0.000249619   0.25336288   0   0.001572302   0.2549352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                           ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614     Big Tit/ Pin Tit                                                         Andrew Dice Clay   239   historical   1557241918      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                                Andrew Dice Clay   140   historical   1557141632      6        6 0.00024962     0.000249619   0.00149771   0    0.00000929    0.001507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                         George Carlin      486   historical   1558481688    136    244.8   0.00024962   0.000249619   0.06110663   0   0.000379211   0.0614858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                             Andrew Dice Clay   189   historical   1556564926    244      244 0.00024962     0.000249619   0.06090694   0   0.000377972   0.0612849


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                        George Carlin      61    historical   1558484794    140      140 0.00024962     0.000249619    0.0349466   0   0.000216869   0.0351635


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                          George Carlin      25    historical   1558434078      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                          George Carlin      340   historical   1558488487    557    668.4   0.00024962   0.000249619   0.16684507   0   0.001035396   0.1678805


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                                Andrew Dice Clay   154   historical   1556061307     58       58 0.00024962     0.000249619   0.01447788   0     0.0000898   0.0145677


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                           Andrew Dice Clay   63    historical   1556492607     54       54 0.00024962     0.000249619    0.0134794   0     0.0000836   0.0135631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                                  Andrew Dice Clay   79    historical   1556587195     78       78 0.00024962     0.000249619   0.01947025   0   0.000120827   0.0195911


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                                George Carlin      155   historical   1558475688    216      216 0.00024962     0.000249619   0.05391762   0   0.000334598   0.0542522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                            Andrew Dice Clay   60    historical   1557141347      6        6 0.00024962     0.000249619   0.00149771   0    0.00000929    0.001507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                                  George Carlin      54    historical   1558473611      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264     Mother Goose                                                             Andrew Dice Clay   207   historical   1556304029      4        4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                               George Carlin      203   historical   1559071335    251      251 0.00024962     0.000249619   0.06265427   0   0.000388816   0.0630431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                                     Andrew Dice Clay   178   historical   1556938119      4        4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                                     Andrew Dice Clay   178   historical   1556938118      9        9 0.00024962     0.000249619   0.00224657   0     0.0000139   0.0022605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                               ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                    Robin Williams     246   historical   1556316816    880      880 0.00024962     0.000249619   0.21966437   0   0.001363178   0.2210275


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                                          George Carlin      158   historical   1558524706    123      123 0.00024962     0.000249619   0.03070309   0   0.000190535   0.0308936


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                                 Andrew Dice Clay   264   historical   1556108543      3        3 0.00024962     0.000249619   0.00074886   0    0.00000465   0.0007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                    George Carlin      389   historical   1558478366    124    173.6   0.00024962   0.000249619   0.04333379   0   0.000268918   0.0436027


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                        George Carlin      355   historical   1558527843    539    646.8   0.00024962   0.000249619   0.16145331   0   0.001001936   0.1624552


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QU1   IN A COMA                                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                                    George Carlin      49    historical   1558445286      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                              George Carlin      326   historical   1559055140    271    325.2   0.00024962   0.000249619   0.08117597   0   0.000503756   0.0816797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065     Surprise                                                                 Andrew Dice Clay   232   historical   1556937507     28       28 0.00024962     0.000249619   0.00698932   0     0.0000434   0.0070327


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                                Robin Williams     188   historical   1556489360    762      762 0.00024962     0.000249619   0.19020937   0   0.001180388   0.1913898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                           Andrew Dice Clay   140   historical   1556937332      5        5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   32163219   USZQE0610784     The Sickest                                                              George Carlin      113   historical   1558081357     25       25 0.00024962     0.000249619   0.00624047   0     0.0000387   0.0062792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                                    Robin Williams     223   historical   1556493200    814      814 0.00024962     0.000249619   0.20318954   0    0.00126094   0.2044505


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                                 Andrew Dice Clay   180   historical   1556936382     15       15 0.00024962     0.000249619   0.00374428   0   0.000023236   0.0037675


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)                       Andrew Dice Clay   186   historical   1555994486      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                                Andrew Dice Clay   111   historical   1556463518     54       54 0.00024962     0.000249619    0.0134794   0     0.0000836   0.0135631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9P3B   FEMALE ANATOMY                                                           ANDREW DICE CLAY   128623771   100   20778748   USSM18900289     Female Anatomy (Live At Dangerfield's/1989)                              Andrew Dice Clay   222   historical   1556169676      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                       Robin Williams     646   historical   1557025594   5295    11649 0.00024962     0.000249619   2.90780707   0   0.018045069   2.9258521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)                     Robin Williams     325   historical   1557026102   17520   21024 0.00024962     0.000249619   5.24798145   0   0.032567562    5.280549


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                                            George Carlin      182   historical   1558522476    461      461 0.00024962     0.000249619   0.11507418   0   0.000714119   0.1157883


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                              Andrew Dice Clay   94    historical   1556936660     11       11 0.00024962     0.000249619   0.00274581   0      0.000017   0.0027628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                               Andrew Dice Clay   126   historical   1556938581      4        4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305     Rhyme Renditions (Live at Dangerfield's/1989)                            Andrew Dice Clay   231   historical   1556594159      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                         George Carlin      275   historical   1558485081    656      656 0.00024962     0.000249619    0.1637498   0   0.001016187    0.164766


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                              George Carlin      147   historical   1558439218     96       96 0.00024962     0.000249619   0.02396339   0    0.00014871   0.0241121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                           Andrew Dice Clay   114   historical   1556936726      7        7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                                      George Carlin      39    historical   1558437677      1        1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                       George Carlin      99    historical   1558507329     98       98 0.00024962     0.000249619   0.02446262   0   0.000151809   0.0246144
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 18 of 86 Page ID
                                                                                                                                                                                                                                              #:4471
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                     GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                     George Carlin      189   historical   1558514105    332        332 0.00024962     0.000249619   0.08287338   0    0.00051429   0.0833877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                             GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                             George Carlin      586   historical   1559028497     45         90 0.00024962     0.000249619   0.02246567   0   0.000139416   0.0226051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                 GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                               George Carlin      28    historical   1558442778     69         69 0.00024962     0.000249619   0.01722368   0   0.000106886   0.0173306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                      ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                                  Andrew Dice Clay   232   historical   1557147133     25         25 0.00024962     0.000249619   0.00624047   0     0.0000387   0.0062792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                Robin Williams     154   historical   1556437126     79         79 0.00024962     0.000249619   0.01971987   0   0.000122376   0.0198422


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                       ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                            Andrew Dice Clay   190   historical   1557246779      1          1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YSF   RAISIN RHETORIC                                                        GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                        George Carlin      126   historical   1558525199     67         67 0.00024962     0.000249619   0.01672445   0   0.000103787   0.0168282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                     GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                     George Carlin      418   historical   1559099243    122      170.8   0.00024962   0.000249619   0.04263486   0   0.000264581   0.0428994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                              ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   1556436672    276      331.2   0.00024962   0.000249619   0.08267368   0   0.000513051   0.0831867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                               ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                           Andrew Dice Clay   114   historical   1556937267     10         10 0.00024962     0.000249619   0.00249619   0     0.0000155   0.0025117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                 ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                             Andrew Dice Clay   167   historical   1556936886      6          6 0.00024962     0.000249619   0.00149771   0    0.00000929    0.001507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                        ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   1557124496      7          7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH   GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   1558485383      4       13.6   0.00024962   0.000249619   0.00339481   0     0.0000211   0.0034159


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)             GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   1559089614      1        1.8   0.00024962   0.000249619   0.00044931   0    0.00000279   0.0004521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                     GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                     George Carlin      127   historical   1558521714     34         34 0.00024962     0.000249619   0.00848703   0     0.0000527   0.0085397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                            ANDREW DICE CLAY   128623771   100   20872403   USSM19000313     Woman's World                                                      Andrew Dice Clay   32    historical   1557111833      9          9 0.00024962     0.000249619   0.00224657   0     0.0000139   0.0022605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                               ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   1556622190     76         76 0.00024962     0.000249619   0.01897101   0   0.000117729   0.0190887


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                    ANDREW DICE CLAY   128623771   100   20778757   USSM18900297     While The Cats Away... (Live At Dangerfield's/1989)                Andrew Dice Clay   198   historical   1556083415      3          3 0.00024962     0.000249619   0.00074886   0    0.00000465   0.0007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                     ANDREW DICE CLAY   128623771   100   20872405   USSM19000314     The First Blow‐Job                                                 Andrew Dice Clay   50    historical   1557112961      4          4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                  ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                            Andrew Dice Clay   195   historical   1556938287     26         26 0.00024962     0.000249619   0.00649008   0     0.0000403   0.0065304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                       ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   1556060156     95         95 0.00024962     0.000249619   0.02371377   0   0.000147161   0.0238609


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                           ANDREW DICE CLAY   128623771   100   21026294   USSM19303061     Film & Video                                                       Andrew Dice Clay   106   historical   1556939012      4          4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                          ANDREW DICE CLAY   128623771   100   20872384   USSM19000306     Filthy In Bed                                                      Andrew Dice Clay   100   historical   1557138192     10         10 0.00024962     0.000249619   0.00249619   0     0.0000155   0.0025117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                              ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   71    historical   1557138276      2          2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                  ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                              Andrew Dice Clay   162   historical   1557138779     10         10 0.00024962     0.000249619   0.00249619   0     0.0000155   0.0025117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                         ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                     Andrew Dice Clay   140   historical   1556937333      2          2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                      ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                  Andrew Dice Clay   462   historical   1557237142    132      211.2   0.00024962   0.000249619   0.05271945   0   0.000327163   0.0530466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                           GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                           George Carlin      270   historical   1558518996     90         90 0.00024962     0.000249619   0.02246567   0   0.000139416   0.0226051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                ROBIN WILLIAMS     89045747    100   22491098   USSM18600022     Khadafi (Live)                                                     Robin Williams     111   historical   1557051617   1235       1235 0.00024962     0.000249619   0.30827897   0   0.001913096   0.3101921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                             ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                       Andrew Dice Clay   330   historical   1556933490      9       10.8   0.00024962   0.000249619   0.00269588   0     0.0000167   0.0027126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                              ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)             Andrew Dice Clay   232   historical   1556010791      5          5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                               ANDREW DICE CLAY   128623771   100   20746968   USSM18900277     The Bait                                                           Andrew Dice Clay   151   historical   1555993586      3          3 0.00024962     0.000249619   0.00074886   0    0.00000465   0.0007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                     ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)              Robin Williams     130   historical   1556971355   4411       4411 0.00024962     0.000249619   1.10106765   0    0.00683293   1.1079006


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                   GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                                  George Carlin      263   historical   1558521895    291        291 0.00024962     0.000249619   0.07263901   0   0.000450778   0.0730898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                      GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                      George Carlin      288   historical   1558520987    518        518 0.00024962     0.000249619   0.12930244   0   0.000802416   0.1301049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                        ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609     K2Y‐China Diner                                                    Andrew Dice Clay   157   historical   1557224920     52         52 0.00024962     0.000249619   0.01298017   0     0.0000806   0.0130607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                 GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                 George Carlin      192   historical   1559058099    204        204 0.00024962     0.000249619   0.05092219   0   0.000316009   0.0512382


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                               ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                   Andrew Dice Clay   98    historical   1556103936     57         57 0.00024962     0.000249619   0.01422826   0     0.0000883   0.0143166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                        GEORGE CARLIN      473337545   100   32163216   USZQE0610783     Person to Person                                                   George Carlin      214   historical   1558092353     54         54 0.00024962     0.000249619    0.0134794   0     0.0000836   0.0135631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                   ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                               Andrew Dice Clay   79    historical   1556937437      5          5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                             ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)        Robin Williams     359   historical   1556964865   16799   20158.8   0.00024962   0.000249619   5.03201143   0    0.03122731   5.0632387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                         ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                     Andrew Dice Clay   368   historical   1557148583     33       46.2   0.00024962   0.000249619   0.01153238   0     0.0000716   0.0116039


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                ANDREW DICE CLAY   128623771   100   20872386   USSM19000308     Smokin' For Your Health                                            Andrew Dice Clay   37    historical   1557120535      7          7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                      GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                      George Carlin      310   historical   1558520698    274      328.8   0.00024962   0.000249619    0.0820746   0   0.000509333   0.0825839


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                              GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                            George Carlin      150   historical   1558484321     65         65 0.00024962     0.000249619   0.01622521   0   0.000100689   0.0163259


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                 ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                     Andrew Dice Clay   108   historical   1556464662     67         67 0.00024962     0.000249619   0.01672445   0   0.000103787   0.0168282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                     ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   1556932414     14         14 0.00024962     0.000249619   0.00349466   0     0.0000217   0.0035163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                            ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                Andrew Dice Clay   166   historical   1556653374     73         73 0.00024962     0.000249619   0.01822216   0   0.000113082   0.0183352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                             ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                         Andrew Dice Clay   66    historical   1557148502      7          7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                      ROBIN WILLIAMS     89045747    100   22454794   USQX91000086     The Summer Olympics And Athletics (Explicit Audio)                 Robin Williams     405   historical   1557010574   20096   28134.4   0.00024962   0.000249619   7.02286954   0    0.04358204   7.0664516


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                            ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                        Andrew Dice Clay   79    historical   1557113543     30         30 0.00024962     0.000249619   0.00748856   0   0.000046472    0.007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                         ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                        Andrew Dice Clay   339   historical   1556362775      1        1.2   0.00024962   0.000249619   0.00029954   0    0.00000186   0.0003014


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                               Robin Williams     337   historical   1556564707   1130       1356 0.00024962     0.000249619   0.33848282   0   0.002100533   0.3405834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                     ANDREW DICE CLAY   128623771   100   20966152   USSM19100197     Dice Stops For Gas (Live At Govenors/1991)                         Andrew Dice Clay   149   historical   1556475006     54         54 0.00024962     0.000249619    0.0134794   0     0.0000836   0.0135631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                    ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   1556939031      6          6 0.00024962     0.000249619   0.00149771   0    0.00000929    0.001507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                              ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                          Andrew Dice Clay   99    historical   1557139811      4          4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9INM   SOMETHING SOFT                                                         ANDREW DICE CLAY   128623771   100   20778785   USSM18900321     Something Soft (Live at Dangerfield's/1989)                        Andrew Dice Clay   285   historical   1556537319      1          1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                       ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                                   Andrew Dice Clay   129   historical   1556935277      3          3 0.00024962     0.000249619   0.00074886   0    0.00000465   0.0007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                          GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                          George Carlin      214   historical   1558431159    486        486 0.00024962     0.000249619   0.12131464   0   0.000752846   0.1220675


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                     ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                                 Andrew Dice Clay   255   historical   1556933638     42         42 0.00024962     0.000249619   0.01048398   0     0.0000651    0.010549


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                         GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                         George Carlin      173   historical   1558516795     11         11 0.00024962     0.000249619   0.00274581   0      0.000017   0.0027628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                       ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   1556016084     54         54 0.00024962     0.000249619    0.0134794   0     0.0000836   0.0135631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                               ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                           Andrew Dice Clay   48    historical   1557112963      8          8 0.00024962     0.000249619   0.00199695   0     0.0000124   0.0020093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                           ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                     Andrew Dice Clay   114   historical   1556936725      7          7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                             ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)                 Andrew Dice Clay   60    historical   1556231724     78         78 0.00024962     0.000249619   0.01947025   0   0.000120827   0.0195911


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                      GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   1558518778    118        118 0.00024962     0.000249619     0.029455   0    0.00018279   0.0296378


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                          ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                                      Andrew Dice Clay   14    historical   1557134356     11         11 0.00024962     0.000249619   0.00274581   0      0.000017   0.0027628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                            ANDREW DICE CLAY   128623771   100   20872398   USSM19000310     Fat Orgasms                                                        Andrew Dice Clay   29    historical   1557136821      2          2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                             ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                          Andrew Dice Clay   200   historical   1556149026      2          2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                                George Carlin      107   historical   1558430142      1          1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                     ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                                 Andrew Dice Clay   78    historical   1557109666     14         14 0.00024962     0.000249619   0.00349466   0     0.0000217   0.0035163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                               ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                           Andrew Dice Clay   34    historical   1557130057     11         11 0.00024962     0.000249619   0.00274581   0      0.000017   0.0027628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                             ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                      Robin Williams     517   historical   1557012652   8779    15802.2   0.00024962   0.000249619   3.94452304   0   0.024478649   3.9690017


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                          GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                          George Carlin      70    historical   1558446185      1          1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                              GEORGE CARLIN      473337545   100   32163208   USZQE0610780     Capt. Jack & Jolly George                                          George Carlin      241   historical   1558067754      1          1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                       ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   1556078646     16         16 0.00024962     0.000249619    0.0039939   0     0.0000248   0.0040187


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                 GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                                 George Carlin      149   historical   1558462612    272        272 0.00024962     0.000249619   0.06789626   0   0.000421346   0.0683176


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                         ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                             Andrew Dice Clay   145   historical   1556161916     39         39 0.00024962     0.000249619   0.00973513   0     0.0000604   0.0097955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                     GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                     George Carlin      191   historical   1558512327    269        269 0.00024962     0.000249619    0.0671474   0   0.000416699   0.0675641


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                            GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                            George Carlin      391   historical   1558528186     16       22.4   0.00024962   0.000249619   0.00559146   0     0.0000347   0.0056262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                        ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                        Robin Williams     76    historical   1556160048    361        361 0.00024962     0.000249619   0.09011232   0   0.000559213   0.0906715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                       ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637     Club 33(Reprise)                                                   Andrew Dice Clay   195   historical   1557257792      1          1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   3/1/2017   3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83HB   SID/IN TOILET                                                          ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634     Sid/In Toilet                                                      Andrew Dice Clay   151   historical   1557227494     27         27 0.00024962     0.000249619    0.0067397   0     0.0000418   0.0067815
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 19 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                     GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                            George Carlin      175   historical   1558483253      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                         GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                              George Carlin      115   historical   1558504235    249       249 0.00024962     0.000249619   0.06215503   0   0.000385717   0.0625407


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                                    George Carlin      192   historical   1558449864    119       119 0.00024962     0.000249619   0.02970461   0   0.000184339    0.029889


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                      GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                                             George Carlin      54    historical   1558508514      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                     GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                                        George Carlin      286   historical   1558515635    276       276 0.00024962     0.000249619   0.06889473   0   0.000427542   0.0693223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                                       George Carlin      153   historical   1558442127     11        11 0.00024962     0.000249619   0.00274581   0      0.000017   0.0027628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                        GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                                             George Carlin      102   historical   1558482098      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                    ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                                        Andrew Dice Clay   180   historical   1556936381     14        14 0.00024962     0.000249619   0.00349466   0     0.0000217   0.0035163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                            ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                                                Andrew Dice Clay   419   historical   1557235963    151     211.4   0.00024962   0.000249619   0.05276937   0   0.000327473   0.0530968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                     ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                                          Andrew Dice Clay   200   historical   1556067190     90        90 0.00024962     0.000249619   0.02246567   0   0.000139416   0.0226051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                         ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                                             Andrew Dice Clay   123   historical   1557137312      5         5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                           ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                                               Andrew Dice Clay   32    historical   1557125211      5         5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                             ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                                    Robin Williams     192   historical   1556586207    780       780 0.00024962     0.000249619   0.19470251   0   0.001208271   0.1959108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                           ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                                               Andrew Dice Clay   91    historical   1557127557      8         8 0.00024962     0.000249619   0.00199695   0     0.0000124   0.0020093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                    ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                                        Andrew Dice Clay   304   historical   1557249361      2       2.4   0.00024962   0.000249619   0.00059909   0    0.00000372   0.0006028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                    ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                                        Andrew Dice Clay   227   historical   1557239273      2         2 0.00024962     0.000249619   0.00049924   0     0.0000031   0.0005023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                         GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                                George Carlin      86    historical   1558429413     39        39 0.00024962     0.000249619   0.00973513   0     0.0000604   0.0097955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                     ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                                         Andrew Dice Clay   202   historical   1556933082     35        35 0.00024962     0.000249619   0.00873665   0     0.0000542   0.0087909


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                          GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                                 George Carlin      321   historical   1558521513    283     339.6   0.00024962   0.000249619   0.08477048   0   0.000526063   0.0852965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68GQ MIDGETS 2000                                                                  ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612    Midgets 2000                                                                    Andrew Dice Clay   319   historical   1557221086      1       1.2   0.00024962   0.000249619   0.00029954   0    0.00000186   0.0003014


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                   GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                                        George Carlin      64    historical   1558476515      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                             GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                                    George Carlin      426   historical   1558522571    437     699.2   0.00024962   0.000249619   0.17453333   0   0.001083107   0.1756164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                       ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                                           Andrew Dice Clay   65    historical   1556934711      6         6 0.00024962     0.000249619   0.00149771   0    0.00000929    0.001507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                           ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                                       Andrew Dice Clay   98    historical   1556005987     70        70 0.00024962     0.000249619    0.0174733   0   0.000108435   0.0175817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                   ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                                          Robin Williams     81    historical   1556298640    452       452 0.00024962     0.000249619   0.11282761   0   0.000700178   0.1135278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                   George Carlin      336   historical   1559014639     15        18 0.00024962     0.000249619   0.00449314   0     0.0000279    0.004521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                              ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                                  Andrew Dice Clay   187   historical   1556937858     44        44 0.00024962     0.000249619   0.01098322   0     0.0000682   0.0110514


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                       ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                                          Robin Williams     406   historical   1556991633   18030    25242 0.00024962     0.000249619    6.3008727   0   0.039101522   6.3399742


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                       ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                                   Andrew Dice Clay   215   historical   1556452216    101       101 0.00024962     0.000249619   0.02521148   0   0.000156456   0.0253679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                        ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                                            Andrew Dice Clay   79    historical   1556937436      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7DT6   HE'S SMILING DOWN                                                           GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                                  George Carlin      131   historical   1558480204      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                                               George Carlin      93    historical   1558439148      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                              ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                                  Andrew Dice Clay   50    historical   1557111316      3         3 0.00024962     0.000249619   0.00074886   0    0.00000465   0.0007535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                    ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)                                Andrew Dice Clay   67    historical   1556480975     65        65 0.00024962     0.000249619   0.01622521   0   0.000100689   0.0163259


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                         ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                                           Andrew Dice Clay   468   historical   1556938070     46      73.6   0.00024962   0.000249619   0.01837193   0   0.000114011   0.0184859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                                       George Carlin      85    historical   1558524850    196       196 0.00024962     0.000249619   0.04892525   0   0.000303617   0.0492289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C4C   PARENTS IN HELL                                                             GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                                                    George Carlin      68    historical   1558483383      1         1 0.00024962     0.000249619   0.00024962   0    0.00000155   0.0002512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                    ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                                        Andrew Dice Clay   54    historical   1557102845      5         5 0.00024962     0.000249619   0.00124809   0    0.00000775   0.0012558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                             ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                                                 Andrew Dice Clay   73    historical   1557122725      4         4 0.00024962     0.000249619   0.00099847   0     0.0000062   0.0010047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                                  GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                                       George Carlin      285   historical   1558520573    280       280 0.00024962     0.000249619   0.06989321   0   0.000433739   0.0703269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                              GEORGE CARLIN      473337545   100   32163213   USZQE0610782    The Cool World                                                                  George Carlin      316   historical   1558049241     24      28.8   0.00024962   0.000249619   0.00718902   0     0.0000446   0.0072336


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                              ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                                                  Andrew Dice Clay   29    historical   1557141155      7         7 0.00024962     0.000249619   0.00174733   0     0.0000108   0.0017582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                        ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                                    Andrew Dice Clay   73    historical   1556501342    192       192 0.00024962     0.000249619   0.04792677   0   0.000297421   0.0482242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    3/1/2017    3/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                     GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                                   George Carlin      229   historical   1558500034    699       699 0.00024962     0.000249619    0.1744834   0   0.001082797   0.1755662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                        George Carlin      181   historical    66549753     170       170 0.00033588     0.000335879    0.0570995   0   0.000354344   0.0574538


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical    66572533       6         6 0.00033588     0.000335879   0.00201528   0     0.0000125   0.0020278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical    65071999      29      34.8   0.00033588   0.000335879    0.0116886   0     0.0000725   0.0117611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical    65071998      12        12 0.00033588     0.000335879   0.00403055   0      0.000025   0.0040556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                            GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                                George Carlin      183   historical    66572499     156       156 0.00033588     0.000335879   0.05239719   0   0.000325163   0.0527223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical    66572498      76        76 0.00033588     0.000335879   0.02552683   0   0.000158413   0.0256852


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical    67504065      45        63 0.00033588     0.000335879    0.0211604   0   0.000131316   0.0212917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical    65072007      17      23.8   0.00033588   0.000335879   0.00799393   0     0.0000496   0.0080435


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                              George Carlin      46    historical    65072006       7         7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical    67552298       4         4 0.00033588     0.000335879   0.00134352   0    0.00000834   0.0013519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical    65071983       3         3 0.00033588     0.000335879   0.00100764   0    0.00000625   0.0010139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                              George Carlin      315   historical    67289723    1863    2235.6   0.00033588   0.000335879   0.75089199   0   0.004659834   0.7555518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical    66572503     264     475.2   0.00033588   0.000335879   0.15960989   0   0.000990496   0.1606004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                          George Carlin      152   historical    66572473      12        12 0.00033588     0.000335879   0.00403055   0      0.000025   0.0040556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical    65072016      74        74 0.00033588     0.000335879   0.02485508   0   0.000154244   0.0250093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical    65072017       7         7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical    66572512      22        22 0.00033588     0.000335879   0.00738935   0     0.0000459   0.0074352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical    65071976      34      47.6   0.00033588   0.000335879   0.01598786   0     0.0000992   0.0160871


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical    66572502     172     240.8   0.00033588   0.000335879   0.08087976   0   0.000501918   0.0813817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical    65072000      30        78 0.00033588     0.000335879   0.02619859   0   0.000162581   0.0263612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical    67289729    1144      1144 0.00033588     0.000335879   0.38424603   0   0.002384528   0.3866306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                                George Carlin      165   historical    66572469      10        10 0.00033588     0.000335879   0.00335879   0     0.0000208   0.0033796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical    66572464      15        15 0.00033588     0.000335879   0.00503819   0     0.0000313   0.0050695


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical    66572518      24        24 0.00033588     0.000335879   0.00806111   0       0.00005   0.0081111


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical    65072004     108       108 0.00033588     0.000335879   0.03627498   0   0.000225113   0.0365001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical    66572496       7         7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical    67501637     232     278.4   0.00033588   0.000335879   0.09350883   0   0.000580291   0.0940891


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical    65071991      21        21 0.00033588     0.000335879   0.00705347   0     0.0000438   0.0070972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                           George Carlin      38    historical    65072014      22        22 0.00033588     0.000335879   0.00738935   0     0.0000459   0.0074352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical    65071979       4       7.2   0.00033588   0.000335879   0.00241833   0      0.000015   0.0024333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                                    George Carlin      121   historical    66572492      22        22 0.00033588     0.000335879   0.00738935   0     0.0000459   0.0074352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical    66572485      37        37 0.00033588     0.000335879   0.01242754   0   0.000077122   0.0125047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical    65071977     109       109 0.00033588     0.000335879   0.03661086   0   0.000227197   0.0368381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical    65072003     212     339.2   0.00033588   0.000335879   0.11393029   0   0.000707021   0.1146373


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical    65072011      44        44 0.00033588     0.000335879   0.01477869   0     0.0000917   0.0148704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                             George Carlin      246   historical    65072009     181       181 0.00033588     0.000335879   0.06079417   0   0.000377272   0.0611714


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical    65072015      12      14.4   0.00033588   0.000335879   0.00483666   0   0.000030015   0.0048667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                                George Carlin      118   historical    65071996      15        15 0.00033588     0.000335879   0.00503819   0     0.0000313   0.0050695


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical    65071995       9         9 0.00033588     0.000335879   0.00302292   0     0.0000188   0.0030417
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 20 of 86 Page ID
                                                                                                                                                                                                                                              #:4473
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                    GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                         George Carlin      228   historical   65071989     99         99 0.00033588     0.000335879   0.03325206   0   0.000206353   0.0334584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                   George Carlin      286   historical   67289732   1361       1361 0.00033588     0.000335879   0.45713186   0   0.002836837   0.4599687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                           Andrew Dice Clay   123   historical   65763052      8          8 0.00033588     0.000335879   0.00268704   0   0.000016675   0.0027037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                     Andrew Dice Clay   108   historical   65763061     36         36 0.00033588     0.000335879   0.01209166   0      0.000075   0.0121667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                George Carlin      255   historical   67390764    458        458 0.00033588     0.000335879   0.15383277   0   0.000954645   0.1547874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical   65668214     97         97 0.00033588     0.000335879    0.0325803   0   0.000202185   0.0327825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                  George Carlin      419   historical   66711688    303      424.2   0.00033588   0.000335879   0.14248004   0   0.000884193   0.1433642


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                 George Carlin      336   historical   66720371     11       13.2   0.00033588   0.000335879   0.00443361   0     0.0000275   0.0044611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     129   historical   65940294   2540       2540 0.00033588     0.000335879   0.85313368   0   0.005294318    0.858428


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                Andrew Dice Clay   187   historical   65792535     52         52 0.00033588     0.000335879   0.01746573   0   0.000108388   0.0175741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                     Andrew Dice Clay   216   historical   65744730     16         16 0.00033588     0.000335879   0.00537407   0    0.00003335   0.0054074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                      George Carlin      177   historical   66710817    139        139 0.00033588     0.000335879   0.04668724   0   0.000289728    0.046977


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   65668213    419        419 0.00033588     0.000335879   0.14073347   0   0.000873354   0.1416068


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                              George Carlin      86    historical   66711878     47         47 0.00033588     0.000335879   0.01578633   0      0.000098   0.0158843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                    George Carlin      253   historical   66711305   1479       1479 0.00033588     0.000335879   0.49676563   0   0.003082794   0.4998484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                          Andrew Dice Clay   79    historical   65792543      3          3 0.00033588     0.000335879   0.00100764   0    0.00000625   0.0010139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                  George Carlin      192   historical   66711076      1          1 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                      Andrew Dice Clay   114   historical   65792540      6          6 0.00033588     0.000335879   0.00201528   0     0.0000125   0.0020278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                  George Carlin      326   historical   66720376     23       27.6   0.00033588   0.000335879   0.00927027   0     0.0000575   0.0093278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                     Andrew Dice Clay   73    historical   65763060      2          2 0.00033588     0.000335879   0.00067176   0    0.00000417   0.0006759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                            George Carlin      115   historical   66716251     89         89 0.00033588     0.000335879   0.02989327   0    0.00018551   0.0300788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                  Andrew Dice Clay   330   historical   65792559     51       61.2   0.00033588   0.000335879   0.02055582   0   0.000127564   0.0206834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical   65940304   10497   14695.8   0.00033588   0.000335879   4.93601649   0   0.030631591   4.9666481


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                        GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                             George Carlin      157   historical   65071981     29         29 0.00033588     0.000335879    0.0097405   0     0.0000604    0.009801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                             George Carlin      221   historical   66572471     48         48 0.00033588     0.000335879   0.01612221   0    0.00010005   0.0162223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                       George Carlin      101   historical   66572466     27         27 0.00033588     0.000335879   0.00906874   0     0.0000563    0.009125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                              George Carlin      484   historical   65071985     20         36 0.00033588     0.000335879   0.01209166   0      0.000075   0.0121667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                           GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                George Carlin      118   historical   65071994      6          6 0.00033588     0.000335879   0.00201528   0     0.0000125   0.0020278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                       George Carlin      180   historical   66572500      8          8 0.00033588     0.000335879   0.00268704   0   0.000016675   0.0027037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                           GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                George Carlin      74    historical   65071990     15         15 0.00033588     0.000335879   0.00503819   0     0.0000313   0.0050695


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                     George Carlin      66    historical   65072002     49         49 0.00033588     0.000335879   0.01645809   0   0.000102135   0.0165602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                              GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                   George Carlin      42    historical   65071993     38         38 0.00033588     0.000335879   0.01276342   0     0.0000792   0.0128426


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                              George Carlin      164   historical   66572494     37         37 0.00033588     0.000335879   0.01242754   0   0.000077122   0.0125047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                 George Carlin      396   historical   65072010     11       15.4   0.00033588   0.000335879   0.00517254   0     0.0000321   0.0052046


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                               George Carlin      80    historical   66572526     36         36 0.00033588     0.000335879   0.01209166   0      0.000075   0.0121667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                               GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                    George Carlin      54    historical   66572486     33         33 0.00033588     0.000335879   0.01108402   0     0.0000688   0.0111528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                      GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                           George Carlin      188   historical   66572529     40         40 0.00033588     0.000335879   0.01343518   0     0.0000834   0.0135186


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                    GEORGE CARLIN      473337545   100   3446714                    Asylums                                                       George Carlin      301   historical   66572467     52       62.4   0.00033588   0.000335879   0.02095888   0   0.000130065   0.0210889


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                   GEORGE CARLIN      473337545   100   3446728                    Airlines                                                      George Carlin      518   historical   66572479     60        108 0.00033588     0.000335879   0.03627498   0   0.000225113   0.0365001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                    GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                George Carlin      173   historical   66572505     47         47 0.00033588     0.000335879   0.01578633   0      0.000098   0.0158843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                            GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                 George Carlin      100   historical   66572507     10         10 0.00033588     0.000335879   0.00335879   0     0.0000208   0.0033796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                    Andrew Dice Clay   85    historical   65780964     17         17 0.00033588     0.000335879   0.00570995   0     0.0000354   0.0057454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   65780937     49         49 0.00033588     0.000335879   0.01645809   0   0.000102135   0.0165602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                       George Carlin      126   historical   67390769     13         13 0.00033588     0.000335879   0.00436643   0     0.0000271   0.0043935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                    Andrew Dice Clay   126   historical   65792542      3          3 0.00033588     0.000335879   0.00100764   0    0.00000625   0.0010139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                        Andrew Dice Clay   200   historical   65738677     63         63 0.00033588     0.000335879    0.0211604   0   0.000131316   0.0212917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   65668218     93         93 0.00033588     0.000335879   0.03123678   0   0.000193847   0.0314306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                    Andrew Dice Clay   149   historical   65780955     48         48 0.00033588     0.000335879   0.01612221   0    0.00010005   0.0162223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                              George Carlin      212   historical   67382560     21         21 0.00033588     0.000335879   0.00705347   0     0.0000438   0.0070972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                George Carlin      308   historical   67382558      7        8.4   0.00033588   0.000335879   0.00282139   0     0.0000175   0.0028389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   65780960     55         55 0.00033588     0.000335879   0.01847337   0   0.000114641    0.018588


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                         George Carlin      328   historical   66711313    561      673.2   0.00033588   0.000335879   0.22611401   0   0.001403203   0.2275172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                                  George Carlin      285   historical   67395995    264        264 0.00033588     0.000335879   0.08867216   0   0.000550276   0.0892224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                      George Carlin      150   historical   66711690     47         47 0.00033588     0.000335879   0.01578633   0      0.000098   0.0158843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                             George Carlin      288   historical   67390784    378        378 0.00033588     0.000335879   0.12696241   0   0.000787895   0.1277503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)              Andrew Dice Clay   67    historical   65780957     61         61 0.00033588     0.000335879   0.02048864   0   0.000127147   0.0206158


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   65940300   10431   12517.2   0.00033588   0.000335879   4.20426963   0   0.026090567   4.2303602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                 GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                      George Carlin      165   historical   66572504      5          5 0.00033588     0.000335879    0.0016794   0     0.0000104   0.0016898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                         GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                              George Carlin      450   historical   66572465    558      892.8   0.00033588   0.000335879   0.29987313   0   0.001860932   0.3017341


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                   GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                        George Carlin      322   historical   66572468     16       19.2   0.00033588   0.000335879   0.00644889   0    0.00004002   0.0064889


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                           GEORGE CARLIN      473337545   100   3446767                    Retired People                                                George Carlin      63    historical   66572535     23         23 0.00033588     0.000335879   0.00772523   0     0.0000479   0.0077732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                       George Carlin      62    historical   65072005     20         20 0.00033588     0.000335879   0.00671759   0     0.0000417   0.0067593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                   GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                        George Carlin      595   historical   65071988     18         36 0.00033588     0.000335879   0.01209166   0      0.000075   0.0121667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                George Carlin      268   historical   67289731   1803       1803 0.00033588     0.000335879   0.60559056   0   0.003758132   0.6093487


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                               ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                    Andrew Dice Clay   131   historical   67552286     20         20 0.00033588     0.000335879   0.00671759   0     0.0000417   0.0067593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                     George Carlin      154   historical   66572487     19         19 0.00033588     0.000335879   0.00638171   0     0.0000396   0.0064213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   65780969    225        270 0.00033588     0.000335879   0.09068744   0   0.000562782   0.0912502


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                              George Carlin      212   historical   67382559      1          1 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                             George Carlin      486   historical   66711875     98      176.4   0.00033588   0.000335879   0.05924913   0   0.000367684   0.0596168


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                Andrew Dice Clay   49    historical   65763077      5          5 0.00033588     0.000335879    0.0016794   0     0.0000104   0.0016898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04M0 GEORGE CARLIN ROASTS ARNOLD SCHWARZENEGGER                                 GEORGE CARLIN      473337545   100   51991269   US4LA0931901    George Carlin Roasts Arnold Schwarzenegger                    George Carlin      491   historical   67393112     11       19.8   0.00033588   0.000335879   0.00665041   0     0.0000413   0.0066917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                       Andrew Dice Clay   37    historical   65763069     45         45 0.00033588     0.000335879   0.01511457   0   0.000093797   0.0152084


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                          George Carlin      107   historical   66711078      1          1 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                            George Carlin      320   historical   67390777    254      304.8   0.00033588   0.000335879   0.10237604   0   0.000635318   0.1030114


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                               George Carlin      191   historical   66716248    120        120 0.00033588     0.000335879   0.04030553   0   0.000250125   0.0405557


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                                  Andrew Dice Clay   106   historical   65792544      7          7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                 Robin Williams     517   historical   65940298   6200      11160 0.00033588     0.000335879    3.7484141   0    0.02326165   3.7716758


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                         Andrew Dice Clay   65    historical   65792549      7          7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                               George Carlin      157   historical   66711876     57         57 0.00033588     0.000335879   0.01914513   0    0.00011881   0.0192639


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                             George Carlin      235   historical   66711307    268        268 0.00033588     0.000335879   0.09001568   0   0.000558613   0.0905743


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                                 Andrew Dice Clay   14    historical   65763068      4          4 0.00033588     0.000335879   0.00134352   0    0.00000834   0.0013519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                  George Carlin      279   historical   67382555      2          2 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                       George Carlin      586   historical   66720377      2          4 0.00033588     0.000335879   0.00134352   0    0.00000834   0.0013519
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                          ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                     Andrew Dice Clay   140   historical   65792554      8          8 0.00033588     0.000335879   0.00268704   0   0.000016675   0.0027037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                       GEORGE CARLIN      473337545   100   51923372   US4LA0703606     The Metric System                                                  George Carlin      129   historical   67390767     30         30 0.00033588     0.000335879   0.01007638   0     0.0000625   0.0101389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                              GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                             George Carlin      112   historical   66711693     35         35 0.00033588     0.000335879   0.01175578   0      0.000073   0.0118287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                          ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                     Andrew Dice Clay   368   historical   65763059     56       78.4   0.00033588   0.000335879   0.02633295   0   0.000163415   0.0264964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                     George Carlin      189   historical   66715129    200        200 0.00033588     0.000335879   0.06717588   0   0.000416875   0.0675928


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                         ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                          Andrew Dice Clay   154   historical   65780953     54         54 0.00033588     0.000335879   0.01813749   0   0.000112556     0.01825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                          ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                             Andrew Dice Clay   145   historical   65780965     57         57 0.00033588     0.000335879   0.01914513   0    0.00011881   0.0192639


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                       ANDREW DICE CLAY   128623771   100   20872406   USSM19000315     People Are Pricks                                                  Andrew Dice Clay   90    historical   65763075     12         12 0.00033588     0.000335879   0.00403055   0      0.000025   0.0040556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                       ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                  Andrew Dice Clay   462   historical   66031290     63      100.8   0.00033588   0.000335879   0.03385664   0   0.000210105   0.0340667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                 GEORGE CARLIN      473337545   100   51923449   US4LA0704608     Ed Sullivan Self Taught                                            George Carlin      206   historical   67390783     16         16 0.00033588     0.000335879   0.00537407   0    0.00003335   0.0054074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                          GEORGE CARLIN      473337545   100   51923442   US4LA0704602     The Hair Piece                                                     George Carlin      173   historical   67390776      7          7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                           GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                          George Carlin      155   historical   66711874     91         91 0.00033588     0.000335879   0.03056503   0   0.000189678   0.0307547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                ANDREW DICE CLAY   128623771   100   21026298   USSM19303065     Surprise                                                           Andrew Dice Clay   232   historical   65792548     47         47 0.00033588     0.000335879   0.01578633   0      0.000098   0.0158843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                     ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                              Andrew Dice Clay   468   historical   65792555     45         72 0.00033588     0.000335879   0.02418332   0   0.000150075   0.0243334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                  GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                               George Carlin      521   historical   66733361     78      140.4   0.00033588   0.000335879   0.04715747   0   0.000292647   0.0474501


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                 ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                Robin Williams     154   historical   65668224     26         26 0.00033588     0.000335879   0.00873286   0     0.0000542   0.0087871


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                            GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                                       George Carlin      85    historical   67395999    142        142 0.00033588     0.000335879   0.04769488   0   0.000295982   0.0479909


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                  ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                     Andrew Dice Clay   63    historical   65780968     42         42 0.00033588     0.000335879   0.01410694   0     0.0000875   0.0141945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                              ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                              Robin Williams     246   historical   65668219    332        332 0.00033588     0.000335879   0.11151196   0   0.000692013    0.112204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                 GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                                George Carlin      145   historical   66711315     27         27 0.00033588     0.000335879   0.00906874   0     0.0000563    0.009125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                        ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   65780949     14         14 0.00033588     0.000335879   0.00470231   0     0.0000292   0.0047315


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                    ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                       Andrew Dice Clay   73    historical   65780971    150        150 0.00033588     0.000335879   0.05038191   0   0.000312657   0.0506946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                           Andrew Dice Clay   304   historical   66031294     22       26.4   0.00033588   0.000335879   0.00886722   0      0.000055   0.0089222


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                        ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   65780940     64         64 0.00033588     0.000335879   0.02149628   0     0.0001334   0.0216297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                           ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                      Andrew Dice Clay   60    historical   65763056     19         19 0.00033588     0.000335879   0.00638171   0     0.0000396   0.0064213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                         GEORGE CARLIN      473337545   100   52042524   US4LA0703706     New York Voices                                                    George Carlin      426   historical   67395998    450        720 0.00033588     0.000335879   0.24183317   0   0.001500752   0.2433339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   45268811   USRC10503014     Commercials                                                        George Carlin      500   historical   67184262      9       16.2   0.00033588   0.000335879   0.00544125   0     0.0000338    0.005475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                   ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                              Andrew Dice Clay   180   historical   65763066     41         41 0.00033588     0.000335879   0.01377106   0     0.0000855   0.0138565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                           Andrew Dice Clay   48    historical   65763070      7          7 0.00033588     0.000335879   0.00235116   0     0.0000146   0.0023657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                         ANDREW DICE CLAY   128623771   100   20872369   USSM19000293     The Car Ride (Goin' To A Party)                                    Andrew Dice Clay   135   historical   65763055      6          6 0.00033588     0.000335879   0.00201528   0     0.0000125   0.0020278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                       GEORGE CARLIN      473337545   100   45268810   USRC10503013     Wonderful Wino (Top‐40 Disc Jockey)                                George Carlin      351   historical   67184261      1        1.2   0.00033588   0.000335879   0.00040306   0     0.0000025   0.0004056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                      GEORGE CARLIN      473337545   100   52042522   US4LA0703704     The Hallway Groups                                                 George Carlin      127   historical   67395996     23         23 0.00033588     0.000335879   0.00772523   0     0.0000479   0.0077732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                           Andrew Dice Clay   180   historical   65792558     35         35 0.00033588     0.000335879   0.01175578   0      0.000073   0.0118287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                    ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                       Andrew Dice Clay   189   historical   65780970    199        199 0.00033588     0.000335879      0.06684   0   0.000414791   0.0672548


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                       ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                          Andrew Dice Clay   98    historical   65780944     67         67 0.00033588     0.000335879   0.02250392   0   0.000139653   0.0226436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                     ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)               Robin Williams     324   historical   65940299   9363    11235.6   0.00033588   0.000335879   3.77380659   0   0.023419229   3.7972258


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   65792557      9          9 0.00033588     0.000335879   0.00302292   0     0.0000188   0.0030417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                           GEORGE CARLIN      473337545   100   51923445   US4LA0704605     Birth Control                                                      George Carlin      310   historical   67390779    217      260.4   0.00033588   0.000335879     0.087463   0   0.000542772   0.0880058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                         ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                                    Andrew Dice Clay   72    historical   65763063     51         51 0.00033588     0.000335879   0.01712985   0   0.000106303   0.0172362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                 GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                            George Carlin      286   historical   66716247    119        119 0.00033588     0.000335879   0.03996965   0   0.000248041   0.0402177


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   65738678     63         63 0.00033588     0.000335879    0.0211604   0   0.000131316   0.0212917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                   GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                  George Carlin      61    historical   66711687     71         71 0.00033588     0.000335879   0.02384744   0   0.000147991   0.0239954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                          ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                     Andrew Dice Clay   29    historical   65763054     11         11 0.00033588     0.000335879   0.00369467   0     0.0000229   0.0037176


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                      ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                 Andrew Dice Clay   110   historical   65792556     25         25 0.00033588     0.000335879   0.00839699   0     0.0000521   0.0084491


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                             ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                           Andrew Dice Clay   264   historical   65744729      2          2 0.00033588     0.000335879   0.00067176   0    0.00000417   0.0006759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                            Andrew Dice Clay   126   historical   65780958     60         60 0.00033588     0.000335879   0.02015276   0   0.000125063   0.0202778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                   ANDREW DICE CLAY   128623771   100   20966176   USSM19100216     Dice Rewrites History (Live At Govenors/1991)                      Andrew Dice Clay   135   historical   65780973      9          9 0.00033588     0.000335879   0.00302292   0     0.0000188   0.0030417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                               GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                              George Carlin      389   historical   66711880     74      103.6   0.00033588   0.000335879   0.03479711   0   0.000215942    0.035013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                         ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   65763058     21         21 0.00033588     0.000335879   0.00705347   0     0.0000438   0.0070972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                            ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                      Robin Williams     369   historical   65940297   7442    10418.8   0.00033588   0.000335879   3.49946029   0    0.02171671    3.521177


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                 ANDREW DICE CLAY   128623771   100   21026287   USSM19303054     Critics                                                            Andrew Dice Clay   202   historical   65792539     17         17 0.00033588     0.000335879   0.00570995   0     0.0000354   0.0057454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                           GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                          George Carlin      214   historical   66710768    352        352 0.00033588     0.000335879   0.11822955   0   0.000733701   0.1189633


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                             GEORGE CARLIN      473337545   100   51923446   US4LA0704606     Son of Wino                                                        George Carlin      391   historical   67390780     13       18.2   0.00033588   0.000335879   0.00611301   0     0.0000379   0.0061509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo               George Carlin      221   historical   66736299    271        271 0.00033588     0.000335879   0.09102332   0   0.000564866   0.0915882


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH    GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   66710813      6       20.4   0.00033588   0.000335879   0.00685194   0     0.0000425   0.0068945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                  ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                             Andrew Dice Clay   167   historical   65792551     15         15 0.00033588     0.000335879   0.00503819   0     0.0000313   0.0050695


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                       GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   66736301    170        170 0.00033588     0.000335879    0.0570995   0   0.000354344   0.0574538


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                ANDREW DICE CLAY   128623771   100   20872408   USSM19000316     Ya Hear?                                                           Andrew Dice Clay   54    historical   65763076      4          4 0.00033588     0.000335879   0.00134352   0    0.00000834   0.0013519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622     Date Night At The Movies                                           Andrew Dice Clay   227   historical   66031292     29         29 0.00033588     0.000335879    0.0097405   0     0.0000604    0.009801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                            GEORGE CARLIN      473337545   100   51648299   USZQE0610781     War Pictures                                                       George Carlin      222   historical   67382556      2          2 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                          GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                         George Carlin      203   historical   66720375     17         17 0.00033588     0.000335879   0.00570995   0     0.0000354   0.0057454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                         ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                        Robin Williams     192   historical   65668222    228        228 0.00033588     0.000335879    0.0765805   0   0.000475238   0.0770557


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                       ROBIN WILLIAMS     89045747    100   22454794   USQX91000086     The Summer Olympics And Athletics (Explicit Audio)                 Robin Williams     405   historical   65940302   11104   15545.6   0.00033588   0.000335879    5.2214468   0   0.032402895   5.2538497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                     GEORGE CARLIN      473337545   100   51923451   US4LA0704610     The 11 O'clock News                                                George Carlin      429   historical   67390785     58       92.8   0.00033588   0.000335879   0.03116961   0    0.00019343    0.031363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                    ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                               Andrew Dice Clay   41    historical   65763051     47         47 0.00033588     0.000335879   0.01578633   0      0.000098   0.0158843


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                           ANDREW DICE CLAY   128623771   100   20872384   USSM19000306     Filthy In Bed                                                      Andrew Dice Clay   99    historical   65763067     29         29 0.00033588     0.000335879    0.0097405   0     0.0000604    0.009801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20872359   USSM19000283     Birds                                                              Andrew Dice Clay   59    historical   65763045     19         19 0.00033588     0.000335879   0.00638171   0     0.0000396   0.0064213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                   ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                      Andrew Dice Clay   215   historical   65780935     74         74 0.00033588     0.000335879   0.02485508   0   0.000154244   0.0250093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                           ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)              Andrew Dice Clay   173   historical   65780951     24         24 0.00033588     0.000335879   0.00806111   0       0.00005   0.0081111


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                        GEORGE CARLIN      473337545   100   51923375   US4LA0703609     Snot, The Original Rubber Cement                                   George Carlin      174   historical   67390770     27         27 0.00033588     0.000335879   0.00906874   0     0.0000563    0.009125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                     GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                    George Carlin      340   historical   66715127    380        456 0.00033588     0.000335879   0.15316101   0   0.000950476   0.1541115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   51923440   US4LA0704601     Shoot                                                              George Carlin      355   historical   67390775    775        930 0.00033588     0.000335879   0.31236784   0   0.001938471   0.3143063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                   ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                              Andrew Dice Clay   162   historical   65763064     41         41 0.00033588     0.000335879   0.01377106   0     0.0000855   0.0138565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                               ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   139   historical   65763046     43         43 0.00033588     0.000335879   0.01444281   0     0.0000896   0.0145324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                  ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                     Andrew Dice Clay   108   historical   65780946     68         68 0.00033588     0.000335879    0.0228398   0   0.000141738   0.0229815


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                  GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                               George Carlin      28    historical   66711877     35         35 0.00033588     0.000335879   0.01175578   0      0.000073   0.0118287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                      ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   65792553      5          5 0.00033588     0.000335879    0.0016794   0     0.0000104   0.0016898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                              GEORGE CARLIN      473337545   100   51923370   US4LA0703604     Some Werds                                                         George Carlin      477   historical   67390765    492      787.2   0.00033588   0.000335879   0.26440426   0   0.001640822   0.2660451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                       ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                          Andrew Dice Clay   111   historical   65780942     62         62 0.00033588     0.000335879   0.02082452   0   0.000129231   0.0209538


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                              ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                         Andrew Dice Clay   65    historical   65763053     18         18 0.00033588     0.000335879   0.00604583   0     0.0000375   0.0060833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                             ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                        Andrew Dice Clay   78    historical   65763044     23         23 0.00033588     0.000335879   0.00772523   0     0.0000479   0.0077732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                             ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                Andrew Dice Clay   166   historical   65780963     45         45 0.00033588     0.000335879   0.01511457   0   0.000093797   0.0152084


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                      GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                     George Carlin      418   historical   66720372      2        2.8   0.00033588   0.000335879   0.00094046   0    0.00000584   0.0009463
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                                Andrew Dice Clay   99    historical   65763050    13         13 0.00033588     0.000335879   0.00436643   0     0.0000271   0.0043935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)                             Andrew Dice Clay   209   historical   65744725     1          1 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                      George Carlin      99    historical   66733212    20         20 0.00033588     0.000335879   0.00671759   0     0.0000417   0.0067593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                            Andrew Dice Clay   32    historical   65763073    18         18 0.00033588     0.000335879   0.00604583   0     0.0000375   0.0060833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                                        Andrew Dice Clay   32    historical   65763057    21         21 0.00033588     0.000335879   0.00705347   0     0.0000438   0.0070972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   MA68B4   MY FIRST CONCERT                                                         ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                                         Andrew Dice Clay   129   historical   65792541    10         10 0.00033588     0.000335879   0.00335879   0     0.0000208   0.0033796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                            George Carlin      229   historical   66733362   495        495 0.00033588     0.000335879    0.1662603   0   0.001031767   0.1672921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)                         Andrew Dice Clay   98    historical   65780972    51         51 0.00033588     0.000335879   0.01712985   0   0.000106303   0.0172362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                             George Carlin      147   historical   66710815    70         70 0.00033588     0.000335879   0.02351156   0   0.000145906   0.0236575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   51648302   USZQE0610784    The Sickest                                                              George Carlin      113   historical   67382561     2          2 0.00033588     0.000335879   0.00067176   0    0.00000417   0.0006759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                           George Carlin      308   historical   67382557     1        1.2   0.00033588   0.000335879   0.00040306   0     0.0000025   0.0004056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                             Andrew Dice Clay   41    historical   65763072     8          8 0.00033588     0.000335879   0.00268704   0   0.000016675   0.0027037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                      George Carlin      192   historical   66720374     3          3 0.00033588     0.000335879   0.00100764   0    0.00000625   0.0010139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                                 Andrew Dice Clay   33    historical   65763047    19         19 0.00033588     0.000335879   0.00638171   0     0.0000396   0.0064213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                                           Andrew Dice Clay   114   historical   65792547     4          4 0.00033588     0.000335879   0.00134352   0    0.00000834   0.0013519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                              Andrew Dice Clay   28    historical   65763071     1          1 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                                     Andrew Dice Clay   178   historical   65792546    10         10 0.00033588     0.000335879   0.00335879   0     0.0000208   0.0033796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2MJA   A FEW MORE FARTS                                                         GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                                         George Carlin      355   historical   67390772   104      124.8   0.00033588   0.000335879   0.04191775   0    0.00026013   0.0421779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   SH9IDV   SHAKIN' HANDS                                                            ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                            Andrew Dice Clay   29    historical   65763062     5          5 0.00033588     0.000335879    0.0016794   0     0.0000104   0.0016898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                           George Carlin      315   historical   66736297   192      230.4   0.00033588   0.000335879   0.07738661   0   0.000480241   0.0778669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                                              Andrew Dice Clay   94    historical   65792536     3          3 0.00033588     0.000335879   0.00100764   0    0.00000625   0.0010139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                                       Andrew Dice Clay   50    historical   65763074    15         15 0.00033588     0.000335879   0.00503819   0     0.0000313   0.0050695


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                            George Carlin      252   historical   66736298   329        329 0.00033588     0.000335879   0.11050432   0    0.00068576   0.1111901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                    Robin Williams     337   historical   65668212   387      464.4   0.00033588   0.000335879   0.15598239   0   0.000967985   0.1569504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                                       Andrew Dice Clay   255   historical   65792545    46         46 0.00033588     0.000335879   0.01545045   0     0.0000959   0.0155463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                             George Carlin      269   historical   67390782    45         45 0.00033588     0.000335879   0.01511457   0   0.000093797   0.0152084


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                                        George Carlin      296   historical   67390763   236        236 0.00033588     0.000335879   0.07926754   0   0.000491913   0.0797595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                           Robin Williams     111   historical   65953739   717        717 0.00033588     0.000335879   0.24082553   0   0.001494499     0.24232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                                  Andrew Dice Clay   79    historical   65780966    78         78 0.00033588     0.000335879   0.02619859   0   0.000162581   0.0263612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                                    George Carlin      263   historical   67390778   221        221 0.00033588     0.000335879   0.07422935   0   0.000460647     0.07469


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                                      George Carlin      149   historical   66711694   177        177 0.00033588     0.000335879   0.05945065   0   0.000368935   0.0598196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3U6E   DICE VS. PEEWEE                                                          ANDREW DICE CLAY   128623771   100   20966168   USSM19100208    Dice Vs. PeeWee (Live At Govenors/1991)                                  Andrew Dice Clay   30    historical   65780967     1          1 0.00033588     0.000335879   0.00033588   0    0.00000208    0.000338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                                   Robin Williams     223   historical   65668211   274        274 0.00033588     0.000335879   0.09203096   0   0.000571119   0.0926021


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                                  Andrew Dice Clay   195   historical   65792552    48         48 0.00033588     0.000335879   0.01612221   0    0.00010005   0.0162223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                                       Andrew Dice Clay   78    historical   65763049    51         51 0.00033588     0.000335879   0.01712985   0   0.000106303   0.0172362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                                         Andrew Dice Clay   419   historical   66031293    60         84 0.00033588     0.000335879   0.02821387   0   0.000175088    0.028389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                                         George Carlin      147   historical   67390771    48         48 0.00033588     0.000335879   0.01612221   0    0.00010005   0.0162223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                        George Carlin      275   historical   66710821   323        323 0.00033588     0.000335879   0.10848905   0   0.000673254   0.1091623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                                        Andrew Dice Clay   231   historical   65763065    48         48 0.00033588     0.000335879   0.01612221   0    0.00010005   0.0162223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2017   12/31/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)                       Robin Williams     646   historical   65940303   9439   20765.8   0.00033588   0.000335879   6.97480445   0   0.043283761   7.0180882


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical   52116359     6          6    0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                       George Carlin      315   historical   53278819    91      109.2    0.0002815   0.000281502   0.03073999   0   0.000190764   0.0309308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                    GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                    George Carlin      228   historical   52116346     3          3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                   GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                   George Carlin      369   historical   53329918     2        2.8    0.0002815   0.000281502   0.00078821   0    0.00000489   0.0007931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                    George Carlin      38    historical   52116357     3          3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                      GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                      George Carlin      188   historical   52957156     3          3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                 GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                 George Carlin      334   historical   52116349     2        2.4    0.0002815   0.000281502    0.0006756   0    0.00000419   0.0006798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                                    GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                  George Carlin      301   historical   52957125     4        4.8    0.0002815   0.000281502   0.00135121   0    0.00000839   0.0013596


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                           George Carlin      268   historical   53278827    97         97    0.0002815   0.000281502   0.02730567   0   0.000169452   0.0274751


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                        George Carlin      221   historical   52957127     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                   George Carlin      335   historical   53329362    11       13.2    0.0002815   0.000281502   0.00371582   0     0.0000231   0.0037389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                            George Carlin      396   historical   52116355     1        1.4    0.0002815   0.000281502    0.0003941   0    0.00000245   0.0003965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                                 GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                               George Carlin      84    historical   52116339     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                        GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                 George Carlin      181   historical   52948450    12         12    0.0002815   0.000281502   0.00337802   0      0.000021    0.003399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                              GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                            George Carlin      481   historical   52116340     1        1.8    0.0002815   0.000281502    0.0005067   0    0.00000314   0.0005098


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                         George Carlin      484   historical   52116343     2        3.6    0.0002815   0.000281502   0.00101341   0    0.00000629   0.0010197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                     GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                     George Carlin      487   historical   52957144     2        3.6    0.0002815   0.000281502   0.00101341   0    0.00000629   0.0010197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                         George Carlin      183   historical   52957140     8          8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                              GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                              George Carlin      183   historical   52957149     4          4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                George Carlin      66    historical   52116350     2          2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                George Carlin      388   historical   52116338     2        2.8    0.0002815   0.000281502   0.00078821   0    0.00000489   0.0007931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                  George Carlin      180   historical   52957141     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                   GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                   George Carlin      595   historical   52116345     2          4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                      GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                      George Carlin      246   historical   52116354     8          8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                              George Carlin      286   historical   53278828    51         51    0.0002815   0.000281502   0.01435659   0     0.0000891   0.0144457


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                                             GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                             George Carlin      200   historical   52957139     2          2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                           GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                           George Carlin      59    historical   52957133     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                    GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                    George Carlin      441   historical   52116351     5          8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                  George Carlin      62    historical   52116353     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                         GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                         George Carlin      74    historical   52957138     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                                  GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                  George Carlin      64    historical   52116347     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                               George Carlin      271   historical   52957122     3          3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                            GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                            George Carlin      250   historical   52116352     3          3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                         GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                         George Carlin      450   historical   52957123    12       19.2    0.0002815   0.000281502   0.00540483   0     0.0000335   0.0054384


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R90   THE INDIAN SERGEANT                                                      GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                                      George Carlin      321   historical   53346567     5          6    0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                  George Carlin      101   historical   52957124     5          5    0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                    GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                           George Carlin      173   historical   52957145     1          1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                               GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                             George Carlin      338   historical   52116358     1        1.2    0.0002815   0.000281502    0.0003378   0     0.0000021   0.0003399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                   GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                 George Carlin      518   historical   52957129     3        5.4    0.0002815   0.000281502   0.00152011   0    0.00000943   0.0015295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                               GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                               George Carlin      54    historical   52957134     2          2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   53278825    46         46    0.0002815   0.000281502   0.01294908   0     0.0000804   0.0130294


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                                  George Carlin      112   historical   53020502     3          3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                            GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                               George Carlin      70    historical   53020205     9          9    0.0002815   0.000281502   0.00253352   0     0.0000157   0.0025492
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 23 of 86 Page ID
                                                                                                                                                                                                                                              #:4476
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                               George Carlin      86    historical   53020586    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   52529057    6      7.2   0.0002815   0.000281502   0.00202681   0     0.0000126   0.0020394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299     Backwards                                                     Andrew Dice Clay   109   historical   52517630    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                   George Carlin      126   historical   53031324    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                         George Carlin      49    historical   53020217    8        8   0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   52517625    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                     Andrew Dice Clay   111   historical   52529040    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                        George Carlin      586   historical   53024330    2        4   0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                             George Carlin      355   historical   53031296   32     38.4   0.0002815   0.000281502   0.01080967   0     0.0000671   0.0108767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                   Robin Williams     192   historical   52460165   19       19   0.0002815   0.000281502   0.00534853   0     0.0000332   0.0053817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                  Andrew Dice Clay   210   historical   52505858    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                             Andrew Dice Clay   462   historical   52707047    2      3.2   0.0002815   0.000281502   0.00090081   0    0.00000559   0.0009064


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                           George Carlin      206   historical   53031303    4        4   0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                              George Carlin      69    historical   53020582    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                               ANDREW DICE CLAY   128623771   100   20778740   USSM18900281     First Kiss (Live At Dangerfield's/1989)                       Andrew Dice Clay   131   historical   52505857    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                      George Carlin      285   historical   53031317    6        6   0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                George Carlin      127   historical   53031318    7        7   0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313     Woman's World                                                 Andrew Dice Clay   32    historical   52517637    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                  Andrew Dice Clay   189   historical   52529058    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   32163219   USZQE0610784     The Sickest                                                   George Carlin      113   historical   52909013    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625     Old School Phone                                              Andrew Dice Clay   419   historical   52707048    3      4.2   0.0002815   0.000281502   0.00118231   0    0.00000734   0.0011896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                            GEORGE CARLIN      473337545   100   32163205   USZQE0610779     Killer Carlin                                                 George Carlin      167   historical   52909011    2        2   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                         Andrew Dice Clay   180   historical   52517635    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                            George Carlin      99    historical   53029924   21       21   0.0002815   0.000281502   0.00591154   0     0.0000367   0.0059482


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                         Andrew Dice Clay   162   historical   52517633    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                Andrew Dice Clay   368   historical   52517629    8     11.2   0.0002815   0.000281502   0.00315282   0     0.0000196   0.0031724


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                George Carlin      191   historical   53022503    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                   George Carlin      426   historical   53031320   25       40   0.0002815   0.000281502   0.01126007   0   0.000069877   0.0113299


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                              George Carlin      486   historical   53020583    1      1.8   0.0002815   0.000281502    0.0005067   0    0.00000314   0.0005098


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                  Andrew Dice Clay   330   historical   52536331    1      1.2   0.0002815   0.000281502    0.0003378   0     0.0000021   0.0003399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                       Andrew Dice Clay   126   historical   52529051    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                   George Carlin      147   historical   53031307    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     130   historical   52631824   193     193   0.0002815   0.000281502   0.05432983   0   0.000337156    0.054667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                      GEORGE CARLIN      473337545   100   3446758                     Comitting The Perfect Double Murder                           George Carlin      174   historical   52957150    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                         GEORGE CARLIN      473337545   100   3446748                     Religious People                                              George Carlin      400   historical   52957143    9     12.6   0.0002815   0.000281502   0.00354692   0      0.000022   0.0035689


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                                GEORGE CARLIN      473337545   100   3446737                     Nice Days                                                     George Carlin      154   historical   52957135    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                     George Carlin      310   historical   53031300   15       18   0.0002815   0.000281502   0.00506703   0     0.0000314   0.0050985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   52529035    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                Andrew Dice Clay   108   historical   52529043    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                          GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                   George Carlin      119   historical   53031312    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                            George Carlin      192   historical   53024327    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                     George Carlin      155   historical   53020581    5        5   0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                   George Carlin      192   historical   53020214    8        8   0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                               George Carlin      340   historical   53021930   14     16.8   0.0002815   0.000281502   0.00472923   0     0.0000293   0.0047586


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                           George Carlin      261   historical   53020491    5        5   0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                            George Carlin      149   historical   53020503    9        9   0.0002815   0.000281502   0.00253352   0     0.0000157   0.0025492


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2ILH   YOU & ME (THINGS THAT COME OFF OF YOUR BODY)                             GEORGE CARLIN      473337545   100   37439992   QMFME1556468 You & Me (Things That Come off Your Body)                         George Carlin      638   historical   53031361    3      6.6   0.0002815   0.000281502   0.00185791   0     0.0000115   0.0018694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                                     George Carlin      51    historical   53020213    8        8   0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                               George Carlin      430   historical   53031305    3      4.8   0.0002815   0.000281502   0.00135121   0    0.00000839   0.0013596


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                        Andrew Dice Clay   145   historical   52529054    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                                ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605     Banana Girl                                                   Andrew Dice Clay   33    historical   52707045    6        6   0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                George Carlin      321   historical   53031298   14     16.8   0.0002815   0.000281502   0.00472923   0     0.0000293   0.0047586


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                   George Carlin      828   historical   53022501    1      2.8   0.0002815   0.000281502   0.00078821   0    0.00000489   0.0007931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                              George Carlin      275   historical   53020080   29       29   0.0002815   0.000281502   0.00816355   0     0.0000507   0.0082142


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                       George Carlin      150   historical   53020499    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                   GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                            George Carlin      54    historical   53029921   41       41   0.0002815   0.000281502   0.01154157   0     0.0000716   0.0116132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                   George Carlin      326   historical   53024329    4      4.8   0.0002815   0.000281502   0.00135121   0    0.00000839   0.0013596


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                George Carlin      518   historical   53024331    4      7.2   0.0002815   0.000281502   0.00202681   0     0.0000126   0.0020394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                           George Carlin      107   historical   53020222    7        7   0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                        Andrew Dice Clay   200   historical   52501922    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022     Khadafi (Live)                                                Robin Williams     111   historical   52645606   52       52   0.0002815   0.000281502   0.01463809   0    0.00009084   0.0147289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                              George Carlin      275   historical   53031313    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                            Andrew Dice Clay   255   historical   52536327    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                  George Carlin      42    historical   53020212    7        7   0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                  George Carlin      252   historical   53031310    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                           GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                                  George Carlin      26    historical   53020576    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                               Andrew Dice Clay   73    historical   52517632    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                    Andrew Dice Clay   66    historical   52517626    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   52631830   551   661.2   0.0002815   0.000281502   0.18612892   0   0.001155066    0.187284


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086     The Summer Olympics And Athletics (Explicit Audio)            Robin Williams     405   historical   52631832   592   828.8   0.0002815   0.000281502   0.23330861   0   0.001447851   0.2347565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                       George Carlin      286   historical   53022500    5        5   0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049     Gas (Feminine)                                                Andrew Dice Clay   187   historical   52536321    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                        GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                               George Carlin      49    historical   53021929    3        3   0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                             ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606     Dice Funk‐Up                                                  Andrew Dice Clay   89    historical   52707046    4        4   0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                 Andrew Dice Clay   215   historical   52529033    4        4   0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                   George Carlin      419   historical   53020497   23     32.2   0.0002815   0.000281502   0.00906436   0     0.0000563   0.0091206


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                            Andrew Dice Clay   110   historical   52536330    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                     Andrew Dice Clay   154   historical   52529047    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                    George Carlin      203   historical   53024328    8        8   0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                      Andrew Dice Clay   216   historical   52529038    1        1   0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                         Robin Williams     81    historical   52460161   11       11   0.0002815   0.000281502   0.00309652   0     0.0000192   0.0031157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                      George Carlin      270   historical   53031302    4        4   0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054     Critics                                                       Andrew Dice Clay   202   historical   52536326    2        2   0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                                ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                                     Robin Williams     76    historical   52460157   18       18    0.0002815   0.000281502   0.00506703   0     0.0000314   0.0050985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                      ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                                           Robin Williams     223   historical   52460154   37       37    0.0002815   0.000281502   0.01041556   0     0.0000646   0.0104802


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH           GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish                George Carlin      966   historical   53020072   11     37.4    0.0002815   0.000281502   0.01052816   0   0.000065335   0.0105935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                                  ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)                           Andrew Dice Clay   173   historical   52529046    5        5    0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                             GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                                  George Carlin      157   historical   53020584    6        6    0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                            GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                                                 George Carlin      158   historical   53031319    5        5    0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                        GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                                    George Carlin      229   historical   53030013   14       14    0.0002815   0.000281502   0.00394102   0     0.0000245   0.0039655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                                  GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                                       George Carlin      214   historical   53020054   10       10    0.0002815   0.000281502   0.00281502   0     0.0000175   0.0028325


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                        GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                                                George Carlin      93    historical   53020220    6        6    0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                        ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                             Robin Williams     154   historical   52460167    5        5    0.0002815   0.000281502   0.00140751   0    0.00000873   0.0014162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                                ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                                 Andrew Dice Clay   40    historical   52517628    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                                             GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                                  George Carlin      418   historical   53024325    2      2.8    0.0002815   0.000281502   0.00078821   0    0.00000489   0.0007931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                              GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                                   George Carlin      310   historical   53031323   12     14.4    0.0002815   0.000281502   0.00405363   0     0.0000252   0.0040788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                   ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams     370   historical   52631827   407   569.8    0.0002815   0.000281502   0.16039967   0   0.000995397   0.1613951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                      GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                           George Carlin      389   historical   53020588    3      4.2    0.0002815   0.000281502   0.00118231   0    0.00000734   0.0011896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                       ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   52529060    4        4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                       GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                                            George Carlin      76    historical   53020209    8        8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                            ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                                           Andrew Dice Clay   468   historical   52536329    1      1.6    0.0002815   0.000281502    0.0004504   0     0.0000028   0.0004532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                                   GEORGE CARLIN      473337545   100   32163203   USZQE0610778     Mothers Club                                                                    George Carlin      279   historical   52909010    2        2    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                                   George Carlin      315   historical   53031308    3      3.6    0.0002815   0.000281502   0.00101341   0    0.00000629   0.0010197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                       ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                                        Andrew Dice Clay   34    historical   52517623    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                          GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                               George Carlin      61    historical   53020496    8        8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                                ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                              Robin Williams     646   historical   52631833   195     429    0.0002815   0.000281502   0.12076423   0    0.00074943   0.1215137


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                              GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                                   George Carlin      131   historical   53020203   10       10    0.0002815   0.000281502   0.00281502   0     0.0000175   0.0028325


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                       ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                                Andrew Dice Clay   67    historical   52529049    4        4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                                         George Carlin      177   historical   53031309    3        3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                           GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                                               George Carlin      263   historical   53031299   16       16    0.0002815   0.000281502   0.00450403   0      0.000028    0.004532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                                    GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                                         George Carlin      69    historical   53020218    7        7    0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                         GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                                            George Carlin      521   historical   53030012    1      1.8    0.0002815   0.000281502    0.0005067   0    0.00000314   0.0005098


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                                GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                                                   George Carlin      182   historical   53031315   13       13    0.0002815   0.000281502   0.00365952   0    0.00002271   0.0036822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                            GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                               George Carlin      115   historical   53022506    9        9    0.0002815   0.000281502   0.00253352   0     0.0000157   0.0025492


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                                  ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                                       Robin Williams     188   historical   52460156   31       31    0.0002815   0.000281502   0.00872655   0     0.0000542   0.0087807


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                        GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                                             George Carlin      39    historical   53020211    7        7    0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                        ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                            Robin Williams     337   historical   52460155   41     49.2    0.0002815   0.000281502   0.01384988   0     0.0000859   0.0139358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                         GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                            George Carlin      28    historical   53020585    3        3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                                              Andrew Dice Clay   78    historical   52517624    4        4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                   GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                                        George Carlin      85    historical   53031321    6        6    0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                             GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                                  George Carlin      189   historical   53021932   18       18    0.0002815   0.000281502   0.00506703   0     0.0000314   0.0050985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                      GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                                         George Carlin      64    historical   53020207    7        7    0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                     ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                                   Robin Williams     517   historical   52631828   359   646.2    0.0002815   0.000281502    0.1819064   0   0.001128862   0.1830353


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                       ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                                        Andrew Dice Clay   174   historical   52501923    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                           ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                                    Andrew Dice Clay   73    historical   52529059    4        4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                                GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                                     George Carlin      147   historical   53020074    4        4    0.0002815   0.000281502   0.00112601   0    0.00000699    0.001133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                                GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                                                   George Carlin      222   historical   53031316   17       17    0.0002815   0.000281502   0.00478553   0     0.0000297   0.0048152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                          ROBIN WILLIAMS     89045747    100   22454796   USQX91000088     Religion And Marriage (Explicit Audio)                                          Robin Williams     406   historical   52631834   569   796.6    0.0002815   0.000281502   0.22424425   0     0.0013916   0.2256359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                                  ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                                         Andrew Dice Clay   79    historical   52529055    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                              GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                                   George Carlin      244   historical   53031322    3        3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                              ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                                               Andrew Dice Clay   232   historical   52517634    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                                  ANDREW DICE CLAY   128623771   100   20872378   USSM19000300     Shakin' Hands                                                                   Andrew Dice Clay   29    historical   52517631    1        1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                        GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                             George Carlin      175   historical   53020221    7        7    0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                       GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo                            George Carlin      221   historical   53031311    3        3    0.0002815   0.000281502   0.00084451   0    0.00000524   0.0008497


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                           GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                                              George Carlin      102   historical   53020210    7        7    0.0002815   0.000281502   0.00197051   0     0.0000122   0.0019827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                                 ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                                  Andrew Dice Clay   29    historical   52517627    1        1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                                        George Carlin      153   historical   53020215    8        8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                              GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                                   George Carlin      288   historical   53031304   19       19    0.0002815   0.000281502   0.00534853   0     0.0000332   0.0053817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                                GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                                                     George Carlin      68    historical   53020204    8        8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                         ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                                  Andrew Dice Clay   63    historical   52529056    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                               GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                    George Carlin      336   historical   53024324    4      4.8    0.0002815   0.000281502   0.00135121   0    0.00000839   0.0013596


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                             ANDREW DICE CLAY   128623771   100   20966152   USSM19100197     Dice Stops For Gas (Live At Govenors/1991)                                      Andrew Dice Clay   149   historical   52529048    1        1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                            ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)                            Robin Williams     325   historical   52631829   513   615.6    0.0002815   0.000281502   0.17329245   0   0.001075406   0.1743679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                                    ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                                     Andrew Dice Clay   94    historical   52536322    1        1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                                            GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                                                 George Carlin      94    historical   53020579    1        1    0.0002815   0.000281502    0.0002815   0    0.00000175   0.0002832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                                   GEORGE CARLIN      473337545   100   32163210   USZQE0610781     War Pictures                                                                    George Carlin      222   historical   52909012    1        1    0.0002815   0.000281502   0.00014075   0   0.000000874   0.0001416


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                                         George Carlin      54    historical   53020216    8        8    0.0002815   0.000281502   0.00225201   0      0.000014    0.002266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                     ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                           Robin Williams     246   historical   52460162   31       31    0.0002815   0.000281502   0.00872655   0     0.0000542   0.0087807


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                                    GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                                         George Carlin      391   historical   53031301    1      1.4    0.0002815   0.000281502    0.0003941   0    0.00000245   0.0003965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                                  ANDREW DICE CLAY   128623771   100   20872384   USSM19000306     Filthy In Bed                                                                   Andrew Dice Clay   100   historical   52517636    2        2    0.0002815   0.000281502     0.000563   0    0.00000349   0.0005665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                                 GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                                      George Carlin      173   historical   53031297    6        6    0.0002815   0.000281502   0.00168901   0     0.0000105   0.0016995


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                                         George Carlin      177   historical   53020076    9        9    0.0002815   0.000281502   0.00253352   0     0.0000157   0.0025492


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                      GEORGE CARLIN      473337545   100   3446766                     Quicksand                                                                       George Carlin      129   historical   4728649     6        6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                         GEORGE CARLIN      473337545   100   11005064                    # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   2910724     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                                 GEORGE CARLIN      473337545   100   11005075                    The New Zodiac                                                                  George Carlin      74    historical   2910731    13       13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                          GEORGE CARLIN      473337545   100   11005090                    Television Announcers                                                           George Carlin      441   historical   2910743    76    121.6   0.00027959   0.000279588   0.03399789   0   0.000210982   0.0342089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                                   GEORGE CARLIN      473337545   100   3446739                     Ugly Singers                                                                    George Carlin      121   historical   4728607     7        7 0.00027959     0.000279588   0.00195712   0     0.0000121   0.0019693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                            GEORGE CARLIN      473337545   100   3446765                     The Red Sox (Socks)                                                             George Carlin      188   historical   4728646    10       10 0.00027959     0.000279588   0.00279588   0     0.0000174   0.0028132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                                                 GEORGE CARLIN      473337545   100   3446767                     Retired People                                                                  George Carlin      63    historical   4728650    11       11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                              1990   Andrew Dice Clay   132   historical   5765639    19       19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                                 GEORGE CARLIN      473337545   100   3446735                     Falling Asleep                                                                  George Carlin      59    historical   4728595    16       16 0.00027959     0.000279588   0.00447341   0     0.0000278   0.0045012


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                              GEORGE CARLIN      473337545   100   11005062                    Appropriate Names                                                               George Carlin      157   historical   2910722     2        2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                           GEORGE CARLIN      473337545   100   11005104                    Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   2910757    40       40 0.00027959     0.000279588   0.01118352   0     0.0000694   0.0112529


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                               GEORGE CARLIN      473337545   100   3446744                     No Complaining About Politicians                                                George Carlin      183   historical   4728613    105     105 0.00027959     0.000279588   0.02935673   0    0.00018218   0.0295389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   4823642                     Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   5514316    559     559 0.00027959     0.000279588   0.15628964   0   0.000969892   0.1572595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                               GEORGE CARLIN      473337545   100   11005066                    It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   2910726     9     16.2   0.00027959   0.000279588   0.00452932   0     0.0000281   0.0045574
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 25 of 86 Page ID
                                                                                                                                                                                                                                              #:4478
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                    GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                 George Carlin      108   historical   2910735     9         9 0.00027959     0.000279588   0.00251629   0     0.0000156   0.0025319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                     GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                  George Carlin      45    historical   2910738     1         1 0.00027959     0.000279588   0.00027959   0   0.000001735   0.0002813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                    GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things          George Carlin      268   historical   5514318   1074     1074 0.00027959     0.000279588   0.30027741   0   0.001863441   0.3021408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                              GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                           George Carlin      250   historical   2910744    57        57 0.00027959     0.000279588   0.01593651   0     0.0000989   0.0160354


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                                GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                             George Carlin      42    historical   2910733    15        15 0.00027959     0.000279588   0.00419382   0      0.000026   0.0042198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                 GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                              George Carlin      271   historical   4728574    13        13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                      GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                   George Carlin      38    historical   2910755     9         9 0.00027959     0.000279588   0.00251629   0     0.0000156   0.0025319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                               GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                            George Carlin      200   historical   4728612    40        40 0.00027959     0.000279588   0.01118352   0     0.0000694   0.0112529


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                     GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                  George Carlin      322   historical   4728578    15        18 0.00027959     0.000279588   0.00503258   0     0.0000312   0.0050638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                           GEORGE CARLIN      473337545   100   3446748                    Religious People                                        George Carlin      400   historical   4728616   104     145.6   0.00027959   0.000279588     0.040708   0   0.000252623   0.0409606


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                         GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                      George Carlin      46    historical   2910747     8         8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                  GEORGE CARLIN      473337545   100   3446737                    Nice Days                                               George Carlin      154   historical   4728601    28        28 0.00027959     0.000279588   0.00782846   0     0.0000486    0.007877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                          GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                George Carlin      181   historical   4704102   129       129 0.00027959     0.000279588   0.03606684   0   0.000223821   0.0362907


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                  GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)               George Carlin      66    historical   2910742    16        16 0.00027959     0.000279588   0.00447341   0     0.0000278   0.0045012


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                 GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                              George Carlin      54    historical   4728596    24        24 0.00027959     0.000279588   0.00671011   0     0.0000416   0.0067518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                           GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                        George Carlin      118   historical   2910736     4         4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                    GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                 George Carlin      101   historical   4728576    11        11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                           GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                        George Carlin      164   historical   4728609     9         9 0.00027959     0.000279588   0.00251629   0     0.0000156   0.0025319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                      GEORGE CARLIN      473337545   100   3446714                    Asylums                                                 George Carlin      301   historical   4728577    14      16.8   0.00027959   0.000279588   0.00469708   0     0.0000291   0.0047262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                 GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                              George Carlin      164   historical   2910746     6         6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                 GEORGE CARLIN      473337545   100   11005103                   My Childhood                                            George Carlin      338   historical   2910756    11      13.2   0.00027959   0.000279588   0.00369056   0     0.0000229   0.0037135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                 GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                              George Carlin      46    historical   2910752    19        19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                           George Carlin      481   historical   2910720    12      21.6   0.00027959   0.000279588    0.0060391   0   0.000037477   0.0060766


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                             GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                          George Carlin      118   historical   2910734     3         3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                     GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                  George Carlin      369   historical   5719074    11      15.4   0.00027959   0.000279588   0.00430565   0     0.0000267   0.0043324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU      GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                          George Carlin      173   historical   4728622     2         2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                               ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                          Andrew Dice Clay   82    historical   4113476     5         5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                          GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                        George Carlin      49    historical   4884957    53        53 0.00027959     0.000279588   0.01481816   0      0.000092   0.0149101


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                 ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                            Andrew Dice Clay   330   historical   3788367    46      55.2   0.00027959   0.000279588   0.01543325   0     0.0000958    0.015529


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                          ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                       Andrew Dice Clay   462   historical   4113454    57      91.2   0.00027959   0.000279588   0.02549842   0   0.000158236   0.0256567


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                       GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                     George Carlin      102   historical   4880628   155       155 0.00027959     0.000279588   0.04333613   0   0.000268932   0.0436051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                   ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                Andrew Dice Clay   232   historical   3788355    39        39 0.00027959     0.000279588   0.01090393   0     0.0000677   0.0109716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                ANDREW DICE CLAY   128623771   100   21026300   USSM19303067    Talk To 'Em                                             Andrew Dice Clay   32    historical   3788358    11        11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                          GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                       George Carlin      288   historical   5610505   274       274 0.00027959     0.000279588   0.07660709   0   0.000475403   0.0770825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                    GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                    George Carlin      107   historical   4880640   178       178 0.00027959     0.000279588   0.04976665   0   0.000308838   0.0500755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                              ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                           Andrew Dice Clay   60    historical   3750754    23        23 0.00027959     0.000279588   0.00643052   0     0.0000399   0.0064704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                          GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                     George Carlin      351   historical   5412119   140       168 0.00027959     0.000279588   0.04697077   0   0.000291488   0.0472623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                   GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                   George Carlin      76    historical   4880627   156       156 0.00027959     0.000279588   0.04361571   0   0.000270667   0.0438864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO    GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                George Carlin      286   historical   4886269   115       115 0.00027959     0.000279588   0.03215261   0    0.00019953   0.0323521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                       GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                   George Carlin      263   historical   5610499   168       168 0.00027959     0.000279588   0.04697077   0   0.000291488   0.0472623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)     Andrew Dice Clay   166   historical   3773741    30        30 0.00027959     0.000279588   0.00838764   0     0.0000521   0.0084397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                        ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)    Robin Williams     324   historical   3977836   8024   9628.8   0.00027959   0.000279588   2.69209597   0   0.016706424   2.7088024


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                               ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                            Andrew Dice Clay   106   historical   3788351    23        23 0.00027959     0.000279588   0.00643052   0     0.0000399   0.0064704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                          GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                          George Carlin      288   historical   4908956    14        14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                        GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                        George Carlin      86    historical   4881532    62        62 0.00027959     0.000279588   0.01733445   0   0.000107573    0.017442


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                            GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                            George Carlin      126   historical   4908976     2         2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                              ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                           Andrew Dice Clay   99    historical   3750768    21        21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                    GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                 George Carlin      206   historical   5610504    54        54 0.00027959     0.000279588   0.01509775   0     0.0000937   0.0151914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                     GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                     George Carlin      192   historical   4891105    53        53 0.00027959     0.000279588   0.01481816   0      0.000092   0.0149101


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                  ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                  Robin Williams     81    historical   3633919   174       174 0.00027959     0.000279588    0.0486483   0   0.000301898   0.0489502


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                 ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623    Home Or Office, You Decide                              Andrew Dice Clay   44    historical   4113470     6         6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                            ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                         Andrew Dice Clay   40    historical   3750756   101       101 0.00027959     0.000279588   0.02823838   0    0.00017524   0.0284136


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                           ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)           Andrew Dice Clay   231   historical   3727054     3         3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                        GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                     George Carlin      246   historical   2910750   120       120 0.00027959     0.000279588   0.03355055   0   0.000208206   0.0337588


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                      GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                   George Carlin      228   historical   2910730    54        54 0.00027959     0.000279588   0.01509775   0     0.0000937   0.0151914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                            GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                       George Carlin      221   historical   4728581    47        47 0.00027959     0.000279588   0.01314063   0     0.0000815   0.0132222


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                     GEORGE CARLIN      473337545   100   3446728                    Airlines                                                George Carlin      518   historical   4728588    24      43.2   0.00027959   0.000279588    0.0120782   0   0.000074954   0.0121532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                 GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                              George Carlin      743   historical   2910740    34      88.4   0.00027959   0.000279588   0.02471557   0   0.000153378   0.0248689


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS             GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions          George Carlin      388   historical   2910748    13      18.2   0.00027959   0.000279588    0.0050885   0     0.0000316   0.0051201


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                           GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                      George Carlin      315   historical   5514310   1061   1273.2   0.00027959   0.000279588   0.35597131   0   0.002209062   0.3581804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                            GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                         George Carlin      80    historical   4728643    17        17 0.00027959     0.000279588   0.00475299   0     0.0000295   0.0047825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                        GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                     George Carlin      174   historical   4728635    21        21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES     GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                 George Carlin      62    historical   2910745    21        21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                   GEORGE CARLIN      473337545   100   11005054                   Food Terms                                              George Carlin      84    historical   2910718    35        35 0.00027959     0.000279588   0.00978558   0     0.0000607   0.0098463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                     GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                  George Carlin      595   historical   2910729     9        18 0.00027959     0.000279588   0.00503258   0     0.0000312   0.0050638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                   GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                George Carlin      334   historical   2910739    16      19.2   0.00027959   0.000279588   0.00536809   0     0.0000333   0.0054014


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UF5   A PROPOSITION                                              GEORGE CARLIN      473337545   100   3446753                    A Proposition                                           George Carlin      100   historical   4728624     7         7 0.00027959     0.000279588   0.00195712   0     0.0000121   0.0019693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                 ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                              Andrew Dice Clay   131   historical   5765627     5         5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                 GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                              George Carlin      106   historical   2910758     6         6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                       GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                    George Carlin      487   historical   4728617   104     187.2   0.00027959   0.000279588   0.05233886   0   0.000324801   0.0526637


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America             George Carlin      286   historical   5514319   794       794 0.00027959     0.000279588   0.22199279   0   0.001377628   0.2233704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                GEORGE CARLIN      473337545   100   3446757                    Free Speech                                             George Carlin      183   historical   4728629    19        19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                    GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                 George Carlin      180   historical   4728614     8         8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)              GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)           George Carlin      396   historical   2910751    19      26.6   0.00027959   0.000279588   0.00743704   0     0.0000462   0.0074832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                  GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of               George Carlin      388   historical   2910716     8      11.2   0.00027959   0.000279588   0.00313139   0     0.0000194   0.0031508


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                           GEORGE CARLIN      473337545   100   3446716                    The Evening News                                        George Carlin      165   historical   4728579     4         4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                   GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                George Carlin      165   historical   4728618     6         6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                     GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                  George Carlin      335   historical   5716690   143     171.6   0.00027959   0.000279588   0.04797728   0   0.000297734    0.048275


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                     GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                  George Carlin      152   historical   4728582     5         5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO   GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo   George Carlin      221   historical   4908963    15        15 0.00027959     0.000279588   0.00419382   0      0.000026   0.0042198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                              ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                              Robin Williams     188   historical   3633914   371       371 0.00027959     0.000279588   0.10372711   0   0.000643703   0.1043708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                            GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                            George Carlin      147   historical   4880309    80        80 0.00027959     0.000279588   0.02236703   0   0.000138804   0.0225058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                           GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                        George Carlin      174   historical   5610489    21        21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078
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                                                                                                                                                                                                                                              #:4479
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                      George Carlin      315   historical   4908960     4        4.8   0.00027959   0.000279588   0.00134202   0    0.00000833   0.0013504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                             GEORGE CARLIN      473337545   100   51648302   USZQE0610784     The Sickest                                                        George Carlin      113   historical   5602657    20         20 0.00027959     0.000279588   0.00559176   0     0.0000347   0.0056265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                                ANDREW DICE CLAY   128623771   100   20746968   USSM18900277     The Bait                                                           Andrew Dice Clay   151   historical   3719180     3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                              ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                              Robin Williams     246   historical   3633920   355        355 0.00027959     0.000279588   0.09925371   0   0.000615942   0.0998696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                          ANDREW DICE CLAY   128623771   100   20872411   USSM19000318     Brooklyn Bad Boy                                                   Andrew Dice Clay   165   historical   3750781     4          4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                            ANDREW DICE CLAY   128623771   100   20746960   USSM18900269     The Attitude                                                       Andrew Dice Clay   113   historical   3719172     3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                     George Carlin      189   historical   4884960   260        260 0.00027959     0.000279588   0.07269285   0   0.000451112    0.073144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                          GEORGE CARLIN      473337545   100   51923369   US4LA0703603     Nursery Rhymes                                                     George Carlin      255   historical   5610483   456        456 0.00027959     0.000279588   0.12749208   0   0.000791182   0.1282833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                             GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                            George Carlin      69    historical   4880636   122        122 0.00027959     0.000279588   0.03410972   0   0.000211676   0.0343214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                   GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                  George Carlin      61    historical   4881341    90         90 0.00027959     0.000279588   0.02516291   0   0.000156154   0.0253191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                                          ANDREW DICE CLAY   128623771   100   20778748   USSM18900289     Female Anatomy (Live At Dangerfield's/1989)                        Andrew Dice Clay   222   historical   3727041     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                         ANDREW DICE CLAY   128623771   100   20872369   USSM19000293     The Car Ride (Goin' To A Party)                                    Andrew Dice Clay   135   historical   3750752    18         18 0.00027959     0.000279588   0.00503258   0     0.0000312   0.0050638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                       GEORGE CARLIN      473337545   100   51923372   US4LA0703606     The Metric System                                                  George Carlin      129   historical   5610486    47         47 0.00027959     0.000279588   0.01314063   0     0.0000815   0.0132222


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                            Andrew Dice Clay   126   historical   3773734    39         39 0.00027959     0.000279588   0.01090393   0     0.0000677   0.0109716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                       ANDREW DICE CLAY   128623771   100   20872406   USSM19000315     People Are Pricks                                                  Andrew Dice Clay   90    historical   3750777    14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                      ANDREW DICE CLAY   128623771   100   21026290   USSM19303057     Chinese                                                            Andrew Dice Clay   17    historical   3788347    14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                    GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                                   George Carlin      69    historical   4881528    42         42 0.00027959     0.000279588   0.01174269   0   0.000072872   0.0118156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                      GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                     George Carlin      191   historical   4886274    58         58 0.00027959     0.000279588    0.0162161   0   0.000100633   0.0163167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                               ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)             Andrew Dice Clay   232   historical   3727040     4          4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                            GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                           George Carlin      85    historical   4908973     3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                             ANDREW DICE CLAY   128623771   100   20778752   USSM18900292     Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)         Andrew Dice Clay   169   historical   3727044     4          4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   3788365    19         19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                          ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   49    historical   3750780     7          7 0.00027959     0.000279588   0.00195712   0     0.0000121   0.0019693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                    GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                   George Carlin      275   historical   4880315   316        316 0.00027959     0.000279588   0.08834978   0   0.000548275   0.0888981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                   ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                            Andrew Dice Clay   195   historical   3788360    51         51 0.00027959     0.000279588   0.01425898   0     0.0000885   0.0143475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                        ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                                   Andrew Dice Clay   129   historical   3788346    23         23 0.00027959     0.000279588   0.00643052   0     0.0000399   0.0064704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                    George Carlin      25    historical   4881537    31         31 0.00027959     0.000279588   0.00866723   0     0.0000538    0.008721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                 ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                             Andrew Dice Clay   200   historical   3719182    48         48 0.00027959     0.000279588   0.01342022   0     0.0000833   0.0135035


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                               ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   3773748    69       82.8   0.00027959   0.000279588   0.02314988   0   0.000143662   0.0232935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                       ANDREW DICE CLAY   128623771   100   20872372   USSM19000295     The Grocery Store                                                  Andrew Dice Clay   32    historical   3750755    24         24 0.00027959     0.000279588   0.00671011   0     0.0000416   0.0067518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                            ANDREW DICE CLAY   128623771   100   20778777   USSM18900313     Mother & Son (Live at Dangerfield's/1989)                          Andrew Dice Clay   216   historical   3727058     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                 GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                George Carlin      175   historical   4880639   118        118 0.00027959     0.000279588   0.03299137   0   0.000204736   0.0331961


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                                                   ANDREW DICE CLAY   128623771   100   20746966   USSM18900275     Shampoo                                                            Andrew Dice Clay   48    historical   3719178     2          2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                     GEORGE CARLIN      473337545   100   51923451   US4LA0704610     The 11 O'clock News                                                George Carlin      429   historical   5610506    76      121.6   0.00027959   0.000279588   0.03399789   0   0.000210982   0.0342089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                      GEORGE CARLIN      473337545   100   45268812   USRC10503015     Daytime Television                                                 George Carlin      577   historical   5412121    62        124 0.00027959     0.000279588    0.0346689   0   0.000215146    0.034884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH    GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   4880307    95        323 0.00027959     0.000279588   0.09030689   0    0.00056042   0.0908673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                     ANDREW DICE CLAY   128623771   100   20778756   USSM18900296     Laughter Vs. Comedy (Live At Dangerfield's/1989)                   Andrew Dice Clay   67    historical   3727047     1          1 0.00027959     0.000279588   0.00027959   0   0.000001735   0.0002813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                    ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                               Andrew Dice Clay   79    historical   3788350    21         21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                                ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615     K2Y/Wife                                                           Andrew Dice Clay   47    historical   4113462     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                            GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                           George Carlin      270   historical   4908954    10         10 0.00027959     0.000279588   0.00279588   0     0.0000174   0.0028132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                               GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                              George Carlin      49    historical   4880635   125        125 0.00027959     0.000279588   0.03494849   0   0.000216881   0.0351654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                        ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616     Sid/All Bound Up                                                   Andrew Dice Clay   16    historical   4113463     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                                  George Carlin      263   historical   4908951    14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                     GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                  George Carlin      115   historical   4886280    58         58 0.00027959     0.000279588    0.0162161   0   0.000100633   0.0163167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                        GEORGE CARLIN      473337545   100   51923377   US4LA0703611     A Few More Farts                                                   George Carlin      355   historical   5610491   108      129.6   0.00027959   0.000279588   0.03623459   0   0.000224862   0.0364595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                           Andrew Dice Clay   304   historical   4113483     6        7.2   0.00027959   0.000279588   0.00201303   0     0.0000125   0.0020255


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                              ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)        Robin Williams     359   historical   3977837   8461   10153.2   0.00027959   0.000279588   2.83871187   0   0.017616283   2.8563281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20778772   USSM18900308     Dogs & Birds (Live at Dangerfield's/1989)                          Andrew Dice Clay   168   historical   3727055     1          1 0.00027959     0.000279588   0.00027959   0   0.000001735   0.0002813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                          ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614     Big Tit/ Pin Tit                                                   Andrew Dice Clay   239   historical   4113461     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                  GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                               George Carlin      28    historical   4881531    85         85 0.00027959     0.000279588   0.02376497   0   0.000147479   0.0239125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)              GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   4891111    29       52.2   0.00027959   0.000279588   0.01459449   0     0.0000906   0.0146851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                               ANDREW DICE CLAY   128623771   100   20872377   USSM19000299     Backwards                                                          Andrew Dice Clay   108   historical   3750761    28         28 0.00027959     0.000279588   0.00782846   0     0.0000486    0.007877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                                ANDREW DICE CLAY   128623771   100   20746963   USSM18900272     Speedin'                                                           Andrew Dice Clay   86    historical   3719175     2          2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                         ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                 Robin Williams     646   historical   3977840   9076   19967.2   0.00027959   0.000279588   5.58258752   0   0.034644037   5.6172316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                               ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605     Banana Girl                                                        Andrew Dice Clay   33    historical   4113452    41         41 0.00027959     0.000279588    0.0114631   0     0.0000711   0.0115342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                      ANDREW DICE CLAY   128623771   100   20746956   USSM18900265     A Day At The Beach                                                 Andrew Dice Clay   158   historical   3719168     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                              ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618     For Who, For Her, For What                                         Andrew Dice Clay   35    historical   4113465     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                             ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613     Banana Nose                                                        Andrew Dice Clay   33    historical   4113460     6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                  GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                               George Carlin      521   historical   4905631    83      149.4   0.00027959   0.000279588   0.04177043   0   0.000259216   0.0420296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                               ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621     Road Call                                                          Andrew Dice Clay   82    historical   4113468     6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                         GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                                      George Carlin      222   historical   4908968     5          5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   20966175   USSM19100215     Dice Greeting Cards (Live At Govenors/1991)                        Andrew Dice Clay   43    historical   3773753    13         13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                         ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                        Robin Williams     192   historical   3633923   232        232 0.00027959     0.000279588   0.06486439   0   0.000402531   0.0652669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                          ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                        Andrew Dice Clay   339   historical   3727046     3        3.6   0.00027959   0.000279588   0.00100652   0    0.00000625   0.0010128


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                            ANDREW DICE CLAY   128623771   100   21026279   USSM19303048     Thermometers                                                       Andrew Dice Clay   14    historical   3788335    13         13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                        GEORGE CARLIN      473337545   100   3446741                     Avant Garde Play                                                   George Carlin      74    historical   4728610     3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                        GEORGE CARLIN      473337545   100   3446712                     People Who Want To Know The Time                                   George Carlin      450   historical   4728575   219      350.4   0.00027959   0.000279588    0.0979676   0   0.000607961   0.0985756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                                    GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                   George Carlin      235   historical   4880868   261        261 0.00027959     0.000279588   0.07297244   0   0.000452847   0.0734253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                       GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                                    George Carlin      65    historical   4881539    30         30 0.00027959     0.000279588   0.00838764   0     0.0000521   0.0084397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                                   ANDREW DICE CLAY   128623771   100   20966173   USSM19100213     Dice Does It Like Dis (Live At Govenors/1991)                      Andrew Dice Clay   59    historical   3773751    17         17 0.00027959     0.000279588   0.00475299   0     0.0000295   0.0047825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                  GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                                 George Carlin      54    historical   4905468   336        336 0.00027959     0.000279588   0.09394153   0   0.000582976   0.0945245


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                    GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                                   George Carlin      275   historical   4908965     6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                                        ANDREW DICE CLAY   128623771   100   20966177   USSM19100217     Let Yourself Go (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   3773755    13         13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                          GEORGE CARLIN      473337545   100   51648300   USZQE0610782     The Cool World                                                     George Carlin      316   historical   5602655    23       27.6   0.00027959   0.000279588   0.00771663   0     0.0000479   0.0077645


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                              ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                          Andrew Dice Clay   199   historical   3727056     1          1 0.00027959     0.000279588   0.00027959   0   0.000001735   0.0002813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                  ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626     My Cum                                                             Andrew Dice Clay   89    historical   4113473     8          8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                   ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                              Andrew Dice Clay   180   historical   3750767    55         55 0.00027959     0.000279588   0.01537734   0     0.0000954   0.0154728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                              ANDREW DICE CLAY   128623771   100   20872374   USSM19000320     The Urinal                                                         Andrew Dice Clay   13    historical   3750757    10         10 0.00027959     0.000279588   0.00279588   0     0.0000174   0.0028132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                             ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                        Andrew Dice Clay   94    historical   3788340    23         23 0.00027959     0.000279588   0.00643052   0     0.0000399   0.0064704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                          ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                     Andrew Dice Clay   29    historical   3750751    19         19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                                                GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                               George Carlin      328   historical   4880874   472      566.4   0.00027959   0.000279588   0.15835859   0   0.000982731   0.1593413


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20872398   USSM19000310     Fat Orgasms                                                        Andrew Dice Clay   28    historical   3750772    11         11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                           GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                          George Carlin      253   historical   4880866   1066      1066 0.00027959     0.000279588    0.2980407   0   0.001849561   0.2998903
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 27 of 86 Page ID
                                                                                                                                                                                                                                              #:4480
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                        ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633     Fat As* House Mix                                       Andrew Dice Clay   146   historical   4113480     4        4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                             George Carlin      147   historical   4908959     4        4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)           Robin Williams     369   historical   3977834   6095    8533 0.00027959     0.000279588   2.38572355   0   0.014805159   2.4005287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                Andrew Dice Clay   114   historical   3788345    43       43 0.00027959     0.000279588   0.01202228   0   0.000074607   0.0120969


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                               George Carlin      214   historical   4880251   253      253 0.00027959     0.000279588   0.07073574   0   0.000438967   0.0711747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                      Andrew Dice Clay   78    historical   3750746    85       85 0.00027959     0.000279588   0.02376497   0   0.000147479   0.0239125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                            George Carlin      85    historical   5616092    89       89 0.00027959     0.000279588   0.02488332   0   0.000154419   0.0250377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                               Andrew Dice Clay   70    historical   3750759     8        8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                                 ANDREW DICE CLAY   128623771   100   20778745   USSM18900286     The Gift (Live At Dangerfield's/1989)                   Andrew Dice Clay   100   historical   3727039     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                            George Carlin      336   historical   4891102   111    133.2   0.00027959   0.000279588   0.03724111   0   0.000231108   0.0374722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                             ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606     Dice Funk‐Up                                            Andrew Dice Clay   89    historical   4113453    33       33 0.00027959     0.000279588    0.0092264   0     0.0000573   0.0092837


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                        George Carlin      93    historical   4880638   123      123 0.00027959     0.000279588   0.03438931   0   0.000213411   0.0346027


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                           GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                            George Carlin      26    historical   4881521    61       61 0.00027959     0.000279588   0.01705486   0   0.000105838   0.0171607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)            Andrew Dice Clay   209   historical   3727042     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                           ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627     Grocery‐Part 1                                          Andrew Dice Clay   31    historical   4113474     4        4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016     The Newscast                                            George Carlin      456   historical   5412122    46     73.6   0.00027959   0.000279588   0.02057767   0     0.0001277   0.0207054


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703     White Harlem                                            George Carlin      285   historical   5616088   234      234 0.00027959     0.000279588   0.06542357   0   0.000406001   0.0658296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637     Club 33(Reprise)                                        Andrew Dice Clay   195   historical   4113484     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                            ANDREW DICE CLAY   128623771   100   20778768   USSM18900304     Turn‐On Words (Live at Dangerfield's/1989)              Andrew Dice Clay   34    historical   3727053     2        2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                             Andrew Dice Clay   78    historical   3750741    11       11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                Andrew Dice Clay   101   historical   3773736    39       39 0.00027959     0.000279588   0.01090393   0     0.0000677   0.0109716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                            George Carlin      42    historical   4880630   148      148 0.00027959     0.000279588   0.04137901   0   0.000256787   0.0416358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                             ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632     My Statement                                            Andrew Dice Clay   62    historical   4113479     4        4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014     Commercials                                             George Carlin      500   historical   5412120    85      153 0.00027959     0.000279588   0.04277695   0   0.000265462   0.0430424


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)          Andrew Dice Clay   108   historical   3773721    38       38 0.00027959     0.000279588   0.01062434   0     0.0000659   0.0106903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                     George Carlin      295   historical   4891110    25       25 0.00027959     0.000279588    0.0069897   0     0.0000434   0.0070331


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605     Birth Control                                           George Carlin      310   historical   5610500   176    211.2   0.00027959   0.000279588   0.05904897   0   0.000366442   0.0594154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)          Andrew Dice Clay   63    historical   3773747    37       37 0.00027959     0.000279588   0.01034475   0     0.0000642   0.0104089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608     Sid And The Oriental                                    Andrew Dice Clay   197   historical   4113455     8        8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                George Carlin      153   historical   4880633   235      235 0.00027959     0.000279588   0.06570316   0   0.000407736   0.0661109


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                                        ANDREW DICE CLAY   128623771   100   20746957   USSM18900266     Moby And The Japs                                       Andrew Dice Clay   51    historical   3719169    23       23 0.00027959     0.000279588   0.00643052   0     0.0000399   0.0064704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                              George Carlin      203   historical   4891106    71       71 0.00027959     0.000279588   0.01985074   0   0.000123188   0.0199739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                          George Carlin      418   historical   4891103    92    128.8   0.00027959   0.000279588   0.03601092   0   0.000223474   0.0362344


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)           Andrew Dice Clay   215   historical   3773708    80       80 0.00027959     0.000279588   0.02236703   0   0.000138804   0.0225058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)   Robin Williams     129   historical   3977831   3807    3807 0.00027959     0.000279588   1.06439114   0   0.006605325   1.0709965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617     Never Marry Her                                         Andrew Dice Clay   81    historical   4113464     7        7 0.00027959     0.000279588   0.00195712   0     0.0000121   0.0019693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620     The Honeymoon's Over                                    Andrew Dice Clay   55    historical   4113467     5        5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                          George Carlin      127   historical   4908970     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625     Old School Phone                                        Andrew Dice Clay   419   historical   4113472    70       98 0.00027959     0.000279588   0.02739961   0   0.000170035   0.0275696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                          Andrew Dice Clay   140   historical   3788362    18       18 0.00027959     0.000279588   0.00503258   0     0.0000312   0.0050638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                 George Carlin      64    historical   4880625   169      169 0.00027959     0.000279588   0.04725036   0   0.000293223   0.0475436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308     Smokin' For Your Health                                 Andrew Dice Clay   37    historical   3750770    15       15 0.00027959     0.000279588   0.00419382   0      0.000026   0.0042198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                            GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                       George Carlin      477   historical   4891109    49     78.4   0.00027959   0.000279588   0.02191969   0   0.000136028   0.0220557


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                             GEORGE CARLIN      473337545   100   51648299   USZQE0610781     War Pictures                                            George Carlin      222   historical   5602654    20       20 0.00027959     0.000279588   0.00279588   0     0.0000174   0.0028132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                              Andrew Dice Clay   126   historical   3788348    20       20 0.00027959     0.000279588   0.00559176   0     0.0000347   0.0056265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                GEORGE CARLIN      473337545   100   51648298   USZQE0610780     Capt. Jack & Jolly George                               George Carlin      241   historical   5602653    20       20 0.00027959     0.000279588   0.00559176   0     0.0000347   0.0056265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                               George Carlin      51    historical   4880631   146      146 0.00027959     0.000279588   0.04081983   0   0.000253317   0.0410732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                               ANDREW DICE CLAY   128623771   100   20746969   USSM18900278     Masturbation                                            Andrew Dice Clay   91    historical   3719181     2        2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                Andrew Dice Clay   48    historical   3750771    13       13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                     George Carlin      261   historical   4881336    54       54 0.00027959     0.000279588   0.01509775   0     0.0000937   0.0151914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197     Dice Stops For Gas (Live At Govenors/1991)              Andrew Dice Clay   149   historical   3773730    41       41 0.00027959     0.000279588    0.0114631   0     0.0000711   0.0115342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)      Andrew Dice Clay   186   historical   3727038    12       12 0.00027959     0.000279588   0.00335506   0     0.0000208   0.0033759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                      Andrew Dice Clay   108   historical   3788361    27       27 0.00027959     0.000279588   0.00754887   0     0.0000468   0.0075957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                 Andrew Dice Clay   79    historical   3773745    95       95 0.00027959     0.000279588   0.02656085   0    0.00016483   0.0267257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                   George Carlin      389   historical   4881536    90      126 0.00027959     0.000279588   0.03522808   0   0.000218616   0.0354467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704     The Hallway Groups                                      George Carlin      127   historical   5616089    50       50 0.00027959     0.000279588    0.0139794   0     0.0000868   0.0140661


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                Andrew Dice Clay   180   historical   3788366    45       45 0.00027959     0.000279588   0.01258146   0     0.0000781   0.0126595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)            Andrew Dice Clay   189   historical   3773749    55       55 0.00027959     0.000279588   0.01537734   0     0.0000954   0.0154728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                             ANDREW DICE CLAY   128623771   100   20746962   USSM18900271     The Golden Age Of Television                            Andrew Dice Clay   111   historical   3719174    21       21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619     The Honeymoon                                           Andrew Dice Clay   113   historical   4113466     6        6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                  George Carlin      112   historical   4881347    57       57 0.00027959     0.000279588   0.01593651   0     0.0000989   0.0160354


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                            GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                               George Carlin      70    historical   4880623   176      176 0.00027959     0.000279588   0.04920747   0   0.000305368   0.0495128


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264     Mother Goose                                            Andrew Dice Clay   207   historical   3719167     7        7 0.00027959     0.000279588   0.00195712   0     0.0000121   0.0019693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603     Sex in Commercials                                      George Carlin      320   historical   5610498   158    189.6   0.00027959   0.000279588   0.05300987   0   0.000328965   0.0533388


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                       ANDREW DICE CLAY   128623771   100   20746958   USSM18900267     Doctors And Nurses                                      Andrew Dice Clay   97    historical   3719170    22       22 0.00027959     0.000279588   0.00615093   0   0.000038171   0.0061891


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                     Robin Williams     154   historical   3633925    97       97 0.00027959     0.000279588   0.02712003   0     0.0001683   0.0272883


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612     Midgets 2000                                            Andrew Dice Clay   319   historical   4113459     8      9.6   0.00027959   0.000279588   0.00268404   0     0.0000167   0.0027007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610     Urinals Are 50 Percent Universal                        George Carlin      147   historical   5610490    34       34 0.00027959     0.000279588   0.00950599   0      0.000059    0.009565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608     Gay Lib                                                 George Carlin      126   historical   5610488    29       29 0.00027959     0.000279588   0.00810805   0     0.0000503   0.0081584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                    Andrew Dice Clay   41    historical   3750748    35       35 0.00027959     0.000279588   0.00978558   0     0.0000607   0.0098463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                                          ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624     The Pencil Room                                         Andrew Dice Clay   79    historical   4113471     5        5 0.00027959     0.000279588   0.00139794   0    0.00000868   0.0014066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   72    historical   3750763    22       22 0.00027959     0.000279588   0.00615093   0   0.000038171   0.0061891


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)               Andrew Dice Clay   154   historical   3773728    42       42 0.00027959     0.000279588   0.01174269   0   0.000072872   0.0118156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)      Andrew Dice Clay   60    historical   3773711   122      122 0.00027959     0.000279588   0.03410972   0   0.000211676   0.0343214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                Andrew Dice Clay   264   historical   3727052     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                      Andrew Dice Clay   110   historical   3788364    24       24 0.00027959     0.000279588   0.00671011   0     0.0000416   0.0067518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                   Andrew Dice Clay   468   historical   3788363    39     62.4   0.00027959   0.000279588   0.01744629   0   0.000108267   0.0175546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                           ANDREW DICE CLAY   128623771   100   20872411   USSM19000318     Brooklyn Bad Boy                                        Andrew Dice Clay   165   historical   3750782     3        3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                          Andrew Dice Clay   114   historical   3788354    19       19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                           Andrew Dice Clay   14    historical   3750769    11       11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                   Robin Williams     223   historical   3633912   410      410 0.00027959     0.000279588   0.11463104   0   0.000711369   0.1153424


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)               Andrew Dice Clay   111   historical   3773716    44       44 0.00027959     0.000279588   0.01230187   0     0.0000763   0.0123782


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)        Andrew Dice Clay   98    historical   3773752    45       45 0.00027959     0.000279588   0.01258146   0     0.0000781   0.0126595
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                        ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                   Robin Williams     337   historical   3633913    500        600 0.00027959     0.000279588   0.16775274   0   0.001041028   0.1687938


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                                 ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                         Andrew Dice Clay   23    historical   3788332     14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                                GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                            George Carlin      828   historical   4886271      9       25.2   0.00027959   0.000279588   0.00704562   0     0.0000437   0.0070893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                             GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                         George Carlin      157   historical   4881530     68         68 0.00027959     0.000279588   0.01901198   0   0.000117983     0.01913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                      GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                George Carlin      150   historical   4881344     76         76 0.00027959     0.000279588   0.02124868   0   0.000131864   0.0213805


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                               ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                Andrew Dice Clay   216   historical   3773714     77         77 0.00027959     0.000279588   0.02152827   0   0.000133599   0.0216619


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                        GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                    George Carlin      39    historical   4880629    152        152 0.00027959     0.000279588   0.04249736   0   0.000263727   0.0427611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                                        ANDREW DICE CLAY   128623771   100   20872402   USSM19000312    A Vibrant Beautiful Woman                               Andrew Dice Clay   35    historical   3750774      6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                                GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                        George Carlin      214   historical   5602656     26         26 0.00027959     0.000279588   0.00726929   0     0.0000451   0.0073144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                                GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                            George Carlin      119   historical   4908964     10         10 0.00027959     0.000279588   0.00279588   0     0.0000174   0.0028132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                                                          ANDREW DICE CLAY   128623771   100   20746961   USSM18900270    No Pity                                                 Andrew Dice Clay   64    historical   3719173      4          4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                              GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                          George Carlin      310   historical   4908975      7        8.4   0.00027959   0.000279588   0.00234854   0     0.0000146   0.0023631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                               ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                Andrew Dice Clay   101   historical   3773724     37         37 0.00027959     0.000279588   0.01034475   0     0.0000642   0.0104089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                              ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                       Andrew Dice Clay   231   historical   3750765     69         69 0.00027959     0.000279588   0.01929157   0   0.000119718   0.0194113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                       ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                Andrew Dice Clay   33    historical   3750744    102        102 0.00027959     0.000279588   0.02851797   0   0.000176975   0.0286949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                        ANDREW DICE CLAY   128623771   100   20746959   USSM18900268    Smokin'                                                 Andrew Dice Clay   131   historical   3719171      3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                               ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635    Club 33                                                 Andrew Dice Clay   190   historical   4113482      3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                                      ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628    Fish Tank                                               Andrew Dice Clay   28    historical   4113475      3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                              ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)               Andrew Dice Clay   98    historical   3773719     72         72 0.00027959     0.000279588   0.02013033   0   0.000124923   0.0202553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                         ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                  Andrew Dice Clay   167   historical   3788359     19         19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                                GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                            George Carlin      419   historical   4881342    287      401.8   0.00027959   0.000279588   0.11233842   0   0.000697142   0.1130356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                              ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630    Rita's As* Funnel                                       Andrew Dice Clay   101   historical   4113477     38         38 0.00027959     0.000279588   0.01062434   0     0.0000659   0.0106903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                              ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)      Robin Williams     405   historical   3977839   10500     14700 0.00027959     0.000279588   4.10994213   0   0.025505196   4.1354473


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                                GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                            George Carlin      68    historical   4880622    185        185 0.00027959     0.000279588   0.05172376   0   0.000320984   0.0520447


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                                            GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                        George Carlin      94    historical   4881524     48         48 0.00027959     0.000279588   0.01342022   0     0.0000833   0.0135035


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                                     GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                              George Carlin      477   historical   5610484    403      644.8   0.00027959   0.000279588   0.18027828   0   0.001118759    0.181397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                                            ANDREW DICE CLAY   128623771   100   20966165   USSM19100205    Dice And Truckdrivers (Live At Govenors/1991)           Andrew Dice Clay   23    historical   3773743     20         20 0.00027959     0.000279588   0.00559176   0     0.0000347   0.0056265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                                  ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)   Andrew Dice Clay   173   historical   3773726     93         93 0.00027959     0.000279588   0.02600168   0   0.000161359    0.026163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                                GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                         George Carlin      426   historical   5616091    304      486.4   0.00027959   0.000279588   0.13599156   0   0.000843927   0.1368355


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                                                                ANDREW DICE CLAY   128623771   100   20746964   USSM18900273    Couples In Love                                         Andrew Dice Clay   211   historical   3719176     22         22 0.00027959     0.000279588   0.00615093   0   0.000038171   0.0061891


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                                                                 ANDREW DICE CLAY   128623771   100   20746965   USSM18900274    When I Was Young                                        Andrew Dice Clay   129   historical   3719177      2          2 0.00027959     0.000279588   0.00055918   0    0.00000347   0.0005626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                            ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                     Andrew Dice Clay   123   historical   3750749     22         22 0.00027959     0.000279588   0.00615093   0   0.000038171   0.0061891


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                                ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                            Robin Williams     76    historical   3633915    176        176 0.00027959     0.000279588   0.04920747   0   0.000305368   0.0495128


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                                 ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                  Andrew Dice Clay   145   historical   3773744     28         28 0.00027959     0.000279588   0.00782846   0     0.0000486    0.007877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                          GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                      George Carlin      15    historical   4881541     31         31 0.00027959     0.000279588   0.00866723   0     0.0000538    0.008721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                                 ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                         Andrew Dice Clay   23    historical   3788333     21         21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                                   ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                            Andrew Dice Clay   14    historical   3788336     15         15 0.00027959     0.000279588   0.00419382   0      0.000026   0.0042198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                        ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                          Robin Williams     111   historical   3997067    904        904 0.00027959     0.000279588   0.25274746   0   0.001568483   0.2543159


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                                    ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                           Andrew Dice Clay   32    historical   3750775     57         57 0.00027959     0.000279588   0.01593651   0     0.0000989   0.0160354


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                                                               ANDREW DICE CLAY   128623771   100   20778775   USSM18900311    A History Lesson (Live at Dangerfield's/1989)           Andrew Dice Clay   119   historical   3727057      1          1 0.00027959     0.000279588   0.00027959   0   0.000001735   0.0002813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                       ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)        Andrew Dice Clay   67    historical   3773732     35         35 0.00027959     0.000279588   0.00978558   0     0.0000607   0.0098463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                                     GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                               George Carlin      285   historical   4908969      6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                           ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)            Andrew Dice Clay   73    historical   3773750    177        177 0.00027959     0.000279588   0.04948706   0   0.000307103   0.0497942


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                          ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                   Andrew Dice Clay   162   historical   3750764     24         24 0.00027959     0.000279588   0.00671011   0     0.0000416   0.0067518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                George Carlin      54    historical   4880634    130        130 0.00027959     0.000279588   0.03634643   0   0.000225556    0.036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                                    GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                George Carlin      391   historical   4908953     12       16.8   0.00027959   0.000279588   0.00469708   0     0.0000291   0.0047262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                            ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)        Andrew Dice Clay   400   historical   3727060      2        2.8   0.00027959   0.000279588   0.00078285   0    0.00000486   0.0007877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                            George Carlin      192   historical   4880632    205        205 0.00027959     0.000279588   0.05731552   0   0.000355685   0.0576712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                                     ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                              Andrew Dice Clay   65    historical   3750750     75         75 0.00027959     0.000279588   0.02096909   0   0.000130129   0.0210992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                                  ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                           Andrew Dice Clay   29    historical   3750762     20         20 0.00027959     0.000279588   0.00559176   0     0.0000347   0.0056265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                                GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                            George Carlin      426   historical   4908972     11       17.6   0.00027959   0.000279588   0.00492075   0     0.0000305   0.0049513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                          ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                   Andrew Dice Clay   65    historical   3788356     19         19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                                          ANDREW DICE CLAY   128623771   100   20966162   USSM19100202    Dice On Redheaded Men (Live At Govenors/1991)           Andrew Dice Clay   42    historical   3773740     19         19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                      ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                               Andrew Dice Clay   139   historical   3750743     27         27 0.00027959     0.000279588   0.00754887   0     0.0000468   0.0075957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                                   ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                   Andrew Dice Clay   59    historical   3750742     24         24 0.00027959     0.000279588   0.00671011   0     0.0000416   0.0067518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                              GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                          George Carlin      131   historical   4880621    164        164 0.00027959     0.000279588   0.04585242   0   0.000284548    0.046137


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                        GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                    George Carlin      206   historical   4908955     12         12 0.00027959     0.000279588   0.00335506   0     0.0000208   0.0033759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                                  GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                              George Carlin      155   historical   4881527    126        126 0.00027959     0.000279588   0.03522808   0   0.000218616   0.0354467


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                                GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                          George Carlin      182   historical   4908967      6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                          ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                  Robin Williams     406   historical   3977841   8143    11400.2   0.00027959   0.000279588   3.18735798   0   0.019779887   3.2071379


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                       ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                Andrew Dice Clay   227   historical   4113469     11         11 0.00027959     0.000279588   0.00307547   0     0.0000191   0.0030946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                                       ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                Andrew Dice Clay   54    historical   3750778     14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                                 ANDREW DICE CLAY   128623771   100   20872375   USSM19000297    1989‐ A Review                                          Andrew Dice Clay   368   historical   3750758     73      102.2   0.00027959   0.000279588   0.02857388   0   0.000177322   0.0287512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                        GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                           George Carlin      229   historical   4905632    372        372 0.00027959     0.000279588    0.1040067   0   0.000645438   0.1046521


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                                  GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                              George Carlin      310   historical   4908952     11       13.2   0.00027959   0.000279588   0.00369056   0     0.0000229   0.0037135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                             GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                         George Carlin      321   historical   4908950     15         18 0.00027959     0.000279588   0.00503258   0     0.0000312   0.0050638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293    1990 (Live At Dangerfield's/1989)                       Andrew Dice Clay   132   historical   3727045      1          1 0.00027959     0.000279588   0.00027959   0   0.000001735   0.0002813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                                          ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)           Andrew Dice Clay   135   historical   3773754     29         29 0.00027959     0.000279588   0.00810805   0     0.0000503   0.0081584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                           ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                    Andrew Dice Clay   178   historical   3788353     24         24 0.00027959     0.000279588   0.00671011   0     0.0000416   0.0067518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                        ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                 Andrew Dice Clay   202   historical   3788344     30         30 0.00027959     0.000279588   0.00838764   0     0.0000521   0.0084397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                                      ANDREW DICE CLAY   128623771   100   20966160   USSM19100201    "What A Mess" (Live At Govenors/1991)                   Andrew Dice Clay   50    historical   3773738     21         21 0.00027959     0.000279588   0.00587135   0   0.000036436   0.0059078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                        GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                    George Carlin      145   historical   4880876     67         67 0.00027959     0.000279588   0.01873239   0   0.000116248   0.0188486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                   George Carlin      355   historical   5610496    306      367.2   0.00027959   0.000279588   0.10266468   0   0.000637109   0.1033018


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                                 ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                          Andrew Dice Clay   187   historical   3788339     45         45 0.00027959     0.000279588   0.01258146   0     0.0000781   0.0126595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                                ANDREW DICE CLAY   128623771   100   20966168   USSM19100208    Dice Vs. PeeWee (Live At Govenors/1991)                 Andrew Dice Clay   30    historical   3773746     17         17 0.00027959     0.000279588   0.00475299   0     0.0000295   0.0047825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                                           GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                       George Carlin      53    historical   4881535     34         34 0.00027959     0.000279588   0.00950599   0      0.000059    0.009565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                         GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                       George Carlin      486   historical   4881529     96      172.8   0.00027959   0.000279588   0.04831279   0   0.000299816   0.0486126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                                         ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                                Andrew Dice Clay   55    historical   4113458      9          9 0.00027959     0.000279588   0.00251629   0     0.0000156   0.0025319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                                ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609    K2Y‐China Diner                                         Andrew Dice Clay   157   historical   4113456      8          8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                                     GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                 George Carlin      586   historical   4891108     55        110 0.00027959     0.000279588   0.03075467   0   0.000190855   0.0309455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                      ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)               Andrew Dice Clay   99    historical   3750747     19         19 0.00027959     0.000279588   0.00531217   0      0.000033   0.0053451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                             ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)              Andrew Dice Clay   85    historical   3773742     41         41 0.00027959     0.000279588    0.0114631   0     0.0000711   0.0115342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                                   GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                            George Carlin      279   historical   5602651     36         36 0.00027959     0.000279588   0.00503258   0     0.0000312   0.0050638
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 29 of 86 Page ID
                                                                                                                                                                                                                                              #:4482
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                                   GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                George Carlin      269   historical   5610503     76         76 0.00027959     0.000279588   0.02124868   0   0.000131864   0.0213805


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                         ANDREW DICE CLAY   128623771   100   20872382   USSM19000304    Action                                                      Andrew Dice Clay   21    historical   3750766      6          6 0.00027959     0.000279588   0.00167753   0     0.0000104   0.0016879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                                 GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                 George Carlin      173   historical   4908949     15         15 0.00027959     0.000279588   0.00419382   0      0.000026   0.0042198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                                 GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                              George Carlin      173   historical   5610497     59         59 0.00027959     0.000279588   0.01649569   0   0.000102368   0.0165981


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                      ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                   Andrew Dice Clay   70    historical   3750760     12         12 0.00027959     0.000279588   0.00335506   0     0.0000208   0.0033759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                                 ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                              Andrew Dice Clay   49    historical   3750779      8          8 0.00027959     0.000279588    0.0022367   0     0.0000139   0.0022506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                    George Carlin      177   historical   4908961     14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                              GEORGE CARLIN      473337545   100   52042526   US4LA0703708    Childhood Cliches                                           George Carlin      244   historical   5616093     34         34 0.00027959     0.000279588   0.00950599   0      0.000059    0.009565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                                      ANDREW DICE CLAY   128623771   100   21026284   USSM19303051    The Notes                                                   Andrew Dice Clay   48    historical   3788341     16         16 0.00027959     0.000279588   0.00447341   0     0.0000278   0.0045012


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                       ANDREW DICE CLAY   128623771   100   21026292   USSM19303059    Dr. Dice                                                    Andrew Dice Clay   20    historical   3788349     13         13 0.00027959     0.000279588   0.00363464   0     0.0000226   0.0036572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                              GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                              George Carlin      244   historical   4908974     89         89 0.00027959     0.000279588   0.02488332   0   0.000154419   0.0250377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                                ANDREW DICE CLAY   128623771   100   20746967   USSM18900276    Joey                                                        Andrew Dice Clay   127   historical   3719179      3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                               ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631    Flat As*/Fat As*                                            Andrew Dice Clay   80    historical   4113478      3          3 0.00027959     0.000279588   0.00083876   0    0.00000521    0.000844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                                  ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                               Andrew Dice Clay   151   historical   4113481      4          4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                              ANDREW DICE CLAY   128623771   100   20746954   USSM18900263    What If The Chick Gets Pregnant...                          Andrew Dice Clay   99    historical   3719166     33         33 0.00027959     0.000279588    0.0092264   0     0.0000573   0.0092837


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                             ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                          Andrew Dice Clay   255   historical   3788352     66         66 0.00027959     0.000279588    0.0184528   0   0.000114513   0.0185673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                     ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)               Robin Williams     517   historical   3977835    6319   11374.2   0.00027959   0.000279588   3.18008869   0   0.019734775   3.1998235


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                                   ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                Andrew Dice Clay   41    historical   3750773     15         15 0.00027959     0.000279588   0.00419382   0      0.000026   0.0042198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                                  GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                               George Carlin      167   historical   5602652     29         29 0.00027959     0.000279588   0.00405403   0     0.0000252   0.0040792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                          George Carlin      355   historical   4908948     27       32.4   0.00027959   0.000279588   0.00905865   0     0.0000562   0.0091149


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                                    GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                 George Carlin      391   historical   5610501     35         49 0.00027959     0.000279588   0.01369981   0      0.000085   0.0137848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                    George Carlin      177   historical   4880311    132        132 0.00027959     0.000279588    0.0369056   0   0.000229026   0.0371346


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                            GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                            George Carlin      430   historical   4908957     18       28.8   0.00027959   0.000279588   0.00805213   0       0.00005   0.0081021


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                             ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                          Andrew Dice Clay   50    historical   3750776     23         23 0.00027959     0.000279588   0.00643052   0     0.0000399   0.0064704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                      GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                         George Carlin      99    historical   4905471    282        282 0.00027959     0.000279588   0.07884379   0   0.000489283   0.0793331


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                       ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                    Andrew Dice Clay   174   historical   3719183     27         27 0.00027959     0.000279588   0.00754887   0     0.0000468   0.0075957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                            GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                            George Carlin      158   historical   4908971      4          4 0.00027959     0.000279588   0.00111835   0    0.00000694   0.0011253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                              GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                           George Carlin      296   historical   5610482    229        229 0.00027959     0.000279588   0.06402563   0   0.000397326    0.064423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                            GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                            George Carlin      340   historical   4884958    265        318 0.00027959     0.000279588   0.08890895   0   0.000551745   0.0894607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                                         GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                         George Carlin      149   historical   4881348    162        162 0.00027959     0.000279588   0.04529324   0   0.000281078   0.0455743


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                                   ANDREW DICE CLAY   128623771   100   20872370   USSM19000294    The Driveway                                                Andrew Dice Clay   19    historical   3750753     12         12 0.00027959     0.000279588   0.00335506   0     0.0000208   0.0033759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                                GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                George Carlin      326   historical   4891107     63       75.6   0.00027959   0.000279588   0.02113685   0    0.00013117    0.021268


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                               GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                               George Carlin      252   historical   4908962     14         14 0.00027959     0.000279588   0.00391423   0     0.0000243   0.0039385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                                  GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)               George Carlin      396   historical   43007868     9       12.6   0.00012488   0.000124875   0.00157343   0    0.00000976   0.0015832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                      GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                   George Carlin      129   historical   44413382     6          6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                                GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                           George Carlin      221   historical   44413332    35         35 0.00012488     0.000124875   0.00437063   0     0.0000271   0.0043978


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                          GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                       George Carlin      441   historical   43007862    36       57.6   0.00012488   0.000124875   0.00719281   0     0.0000446   0.0072374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                                       GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                  George Carlin      84    historical   43007839    23         23 0.00012488     0.000124875   0.00287213   0     0.0000178     0.00289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   5643610                                                                         1990   Andrew Dice Clay   132   historical   45136812     2          2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                        GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                     George Carlin      180   historical   44413359     2          2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R90   THE INDIAN SERGEANT                                                            GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                         George Carlin      321   historical   45149214    62       74.4   0.00012488   0.000124875   0.00929071   0     0.0000577   0.0093484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                           GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                        George Carlin      487   historical   44413362    38       68.4   0.00012488   0.000124875   0.00854146   0   0.000053006   0.0085945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                                 GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                              George Carlin      59    historical   44413339     5          5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                      GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                   George Carlin      66    historical   43007861     6          6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                                                 GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                              George Carlin      118   historical   43007853     3          3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                               GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                            George Carlin      74    historical   44413355     2          2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                     GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                  George Carlin      106   historical   43007875     4          4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                                     GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                George Carlin      338   historical   43007873    17       20.4   0.00012488   0.000124875   0.00254745   0     0.0000158   0.0025633


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                                     GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                  George Carlin      54    historical   44413340    33         33 0.00012488     0.000124875   0.00412088   0     0.0000256   0.0041465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                                        GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                     George Carlin      64    historical   43007851     8          8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                                 GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                              George Carlin      74    historical   43007850     3          3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                    GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                               George Carlin      481   historical   43007840    15         27 0.00012488     0.000124875   0.00337163   0     0.0000209   0.0033926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                       GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                    George Carlin      334   historical   43007858    19       22.8   0.00012488   0.000124875   0.00284715   0     0.0000177   0.0028648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                                       GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                    George Carlin      165   historical   44413363     4          4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                                    GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                 George Carlin      183   historical   44413369    23         23 0.00012488     0.000124875   0.00287213   0     0.0000178     0.00289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                                GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                             George Carlin      80    historical   44413379    12         12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                        GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                     George Carlin      101   historical   44413327     8          8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                               GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                            George Carlin      450   historical   44413326   104      166.4   0.00012488   0.000124875   0.02077922   0    0.00012895   0.0209082


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                                      GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                   George Carlin      154   historical   44413346     6          6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                                   GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                George Carlin      121   historical   44413351     6          6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                         GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                      George Carlin      595   historical   43007848     7         14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                                 GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                               George Carlin      26    historical   44530611    21         21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                                 GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                              George Carlin      255   historical   45071994   167        167 0.00012488     0.000124875   0.02085414   0   0.000129415   0.0209836


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                                ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                     Andrew Dice Clay   126   historical   43684331    27         27 0.00012488     0.000124875   0.00337163   0     0.0000209   0.0033926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                              GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                           George Carlin      296   historical   45071993   121        121 0.00012488     0.000124875   0.01510989   0     0.0000938   0.0152037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                      GEORGE CARLIN      473337545   100   32163208   USZQE0610780    Capt. Jack & Jolly George                                   George Carlin      241   historical   44322965     2          2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                          ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)          Andrew Dice Clay   186   historical   43647547     3          3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                       ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)            Andrew Dice Clay   67    historical   43684329     9          9 0.00012488     0.000124875   0.00112388   0    0.00000697   0.0011309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                              ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                           Andrew Dice Clay   90    historical   43666271     2          2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                         ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                      Andrew Dice Clay   167   historical   43695883     6          6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                            GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                            George Carlin      86    historical   44530622    24         24 0.00012488     0.000124875     0.002997   0     0.0000186   0.0030156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                      ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                   Andrew Dice Clay   139   historical   43666229     7          7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                                          ANDREW DICE CLAY   128623771   100   20966173   USSM19100213    Dice Does It Like Dis (Live At Govenors/1991)               Andrew Dice Clay   59    historical   43684348     1          1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                              GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                           George Carlin      288   historical   45072019   101        101 0.00012488     0.000124875   0.01261239   0     0.0000783   0.0126907


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                                 ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)                 Andrew Dice Clay   285   historical   43647587     1          1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                                   ANDREW DICE CLAY   128623771   100   20872370   USSM19000294    The Driveway                                                Andrew Dice Clay   19    historical   43666243     1          1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                                      GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                      George Carlin      49    historical   44530005    44         44 0.00012488     0.000124875    0.0054945   0     0.0000341   0.0055286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                    George Carlin      54    historical   44530004    45         45 0.00012488     0.000124875   0.00561938   0     0.0000349   0.0056543


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                       ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                    Andrew Dice Clay   227   historical   43958384     4          4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                                ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)          Robin Williams     646   historical   43845942   1887    4151.4   0.00012488   0.000124875   0.51840649   0   0.003217091   0.5216236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2ILH   YOU & ME (THINGS THAT COME OFF OF YOUR BODY)                                   GEORGE CARLIN      473337545   100   37439992   QMFME1556468 You & Me (Things That Come off Your Body)                      George Carlin      638   historical   44550275     2        4.4   0.00012488   0.000124875   0.00054945   0    0.00000341   0.0005529


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                                                GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                George Carlin      126   historical   44550191     7          7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                         ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)              Andrew Dice Clay   63    historical   43684344     8          8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 30 of 86 Page ID
                                                                                                                                                                                                                                              #:4483
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                                   ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                                 Andrew Dice Clay   264   historical   43647568     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                                       ANDREW DICE CLAY   128623771   100   20872402   USSM19000312     A Vibrant Beautiful Woman                                                Andrew Dice Clay   35    historical   43666268     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                                    ANDREW DICE CLAY   128623771   100   20778740   USSM18900281     First Kiss (Live At Dangerfield's/1989)                                  Andrew Dice Clay   131   historical   43647543     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                             ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   43684316    20        20 0.00012488     0.000124875    0.0024975   0     0.0000155    0.002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                    ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                            Robin Williams     517   historical   43845937   2639   4750.2   0.00012488   0.000124875    0.5931817   0   0.003681126   0.5968628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                                    ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)              Robin Williams     359   historical   43845939   4058   4869.6   0.00012488   0.000124875   0.60809179   0   0.003773654   0.6118654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                                  ANDREW DICE CLAY   128623771   100   20778770   USSM18900306     True Stories (Live at Dangerfield's/1989)                                Andrew Dice Clay   42    historical   43647572     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                                   GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                                  George Carlin      69    historical   44530006    46        46 0.00012488     0.000124875   0.00574426   0     0.0000356   0.0057799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                                  GEORGE CARLIN      473337545   100   51648296   USZQE0610778     Mothers Club                                                             George Carlin      279   historical   45066581    13        13 0.00012488     0.000124875   0.00081169   0    0.00000504   0.0008167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                      ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                                 Andrew Dice Clay   33    historical   43666232     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                                        GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                                       George Carlin      149   historical   44530481    41        41 0.00012488     0.000124875   0.00511988   0     0.0000318   0.0051517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                             ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633     Fat As* House Mix                                                        Andrew Dice Clay   146   historical   43958395     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                            GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                           George Carlin      157   historical   44530620    23        23 0.00012488     0.000124875   0.00287213   0     0.0000178     0.00289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                              ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                                 Andrew Dice Clay   101   historical   43684333    12        12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                     ANDREW DICE CLAY   128623771   100   20872377   USSM19000299     Backwards                                                                Andrew Dice Clay   108   historical   43666251     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                                                           ANDREW DICE CLAY   128623771   100   20778743   USSM18900284     Texas (Live At Dangerfield's/1989)                                       Andrew Dice Clay   185   historical   43647546     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                         GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                                        George Carlin      15    historical   44530630     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                     GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                    George Carlin      389   historical   44530625    30        42 0.00012488     0.000124875   0.00524475   0     0.0000325   0.0052773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                                ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                              Andrew Dice Clay   339   historical   43647558     4       4.8   0.00012488   0.000124875    0.0005994   0    0.00000372   0.0006031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                          ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                                     Andrew Dice Clay   80    historical   43695872     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                    ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                    Robin Williams     246   historical   43575018   195       195 0.00012488     0.000124875   0.02435065   0   0.000151114   0.0245018


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                     ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                                Andrew Dice Clay   73    historical   43666249     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                                 ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                            Andrew Dice Clay   60    historical   43666244     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                          GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                                         George Carlin      69    historical   44530618    11        11 0.00012488     0.000124875   0.00137363   0    0.00000852   0.0013822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                                            GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                           George Carlin      418   historical   44537601    38      53.2   0.00012488   0.000124875   0.00664336   0     0.0000412   0.0066846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                             GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                            George Carlin      131   historical   44529991    64        64 0.00012488     0.000124875   0.00799201   0     0.0000496   0.0080416


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                              GEORGE CARLIN      473337545   100   51923377   US4LA0703611     A Few More Farts                                                         George Carlin      355   historical   45072003    47      56.4   0.00012488   0.000124875   0.00704296   0     0.0000437   0.0070867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                              GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                             George Carlin      336   historical   44537600    66      79.2   0.00012488   0.000124875   0.00989011   0     0.0000614   0.0099515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                               GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                              George Carlin      147   historical   44529742    27        27 0.00012488     0.000124875   0.00337163   0     0.0000209   0.0033926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                               ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                             Andrew Dice Clay   210   historical   43647552     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                                    ANDREW DICE CLAY   128623771   100   20872374   USSM19000320     The Urinal                                                               Andrew Dice Clay   14    historical   43666247     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56SG "MY DADDY"                                                                      GEORGE CARLIN      473337545   100   37440002   QMFME1556473 "My Daddy"                                                                   George Carlin      51    historical   44550280     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                             ROBIN WILLIAMS     89045747    100   22454794   USQX91000086     The Summer Olympics And Athletics (Explicit Audio)                       Robin Williams     405   historical   43845941   4723   6612.2   0.00012488   0.000124875   0.82569914   0   0.005124067   0.8308232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH          GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish         George Carlin      966   historical   44529741    40       136 0.00012488     0.000124875   0.01698301   0   0.000105392   0.0170884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                                    ANDREW DICE CLAY   128623771   100   20746969   USSM18900278     Masturbation                                                             Andrew Dice Clay   91    historical   43641310     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                                 ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634     Sid/In Toilet                                                            Andrew Dice Clay   151   historical   43958396     9         9 0.00012488     0.000124875   0.00112388   0    0.00000697   0.0011309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                            ANDREW DICE CLAY   128623771   100   20872405   USSM19000314     The First Blow‐Job                                                       Andrew Dice Clay   50    historical   43666270     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                       ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                     Robin Williams     337   historical   43575011   285       342 0.00012488     0.000124875   0.04270728   0    0.00026503   0.0429723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                   GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                                  George Carlin      177   historical   44550176     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1B   TELEPHONE MIMES                                                               GEORGE CARLIN      473337545   100   37440005   QMFME1556474 Telephone Mimes                                                              George Carlin      69    historical   44550281     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                                                              ANDREW DICE CLAY   128623771   100   20778775   USSM18900311     A History Lesson (Live at Dangerfield's/1989)                            Andrew Dice Clay   120   historical   43647577     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                          ANDREW DICE CLAY   128623771   100   20778750   USSM18900291     Kids (Live At Dangerfield's/1989)                                        Andrew Dice Clay   119   historical   43647553     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                          1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293     1990 (Live At Dangerfield's/1989)                                        Andrew Dice Clay   133   historical   43647556     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                                   GEORGE CARLIN      473337545   100   51648302   USZQE0610784     The Sickest                                                              George Carlin      113   historical   45066587     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J85   PEOPLE WHO WEAR VISORS                                                        GEORGE CARLIN      473337545   100   37440017   QMFME1556479 People Who Wear Visors                                                       George Carlin      39    historical   44550286     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                                   ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                              Andrew Dice Clay   78    historical   43666226     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                        GEORGE CARLIN      473337545   100   3446715                     Sports Is Big Business                                                   George Carlin      322   historical   44413329    25        30 0.00012488     0.000124875   0.00374625   0     0.0000232   0.0037695


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                              GEORGE CARLIN      473337545   100   3446716                     The Evening News                                                         George Carlin      165   historical   44413330     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                                GEORGE CARLIN      473337545   100   11005095                    Popular Beliefs Rooted In Familiar Expressions                           George Carlin      388   historical   43007865    17      23.8   0.00012488   0.000124875   0.00297203   0     0.0000184   0.0029905


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                                                GEORGE CARLIN      473337545   100   3446767                     Retired People                                                           George Carlin      63    historical   44413383     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                                                   GEORGE CARLIN      473337545   100   11005079                    Give A Hoot                                                              George Carlin      42    historical   43007852     9         9 0.00012488     0.000124875   0.00112388   0    0.00000697   0.0011309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA        GEORGE CARLIN      473337545   100   4823642                     Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   45000923   316       316 0.00012488     0.000124875   0.03946053   0   0.000244881   0.0397054


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                             GEORGE CARLIN      473337545   100   3408459                     Death And Dying (Part 2)                                                 George Carlin      181   historical   44396233    59        59 0.00012488     0.000124875   0.00736763   0     0.0000457   0.0074134


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                         GEORGE CARLIN      473337545   100   3446752                     Bumper Sticker                                                           George Carlin      173   historical   44413364     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                     GEORGE CARLIN      473337545   100   11005052                    Air Pollution & Seven Things I'm Tired Of                                George Carlin      388   historical   43007838    19      26.6   0.00012488   0.000124875   0.00332168   0     0.0000206   0.0033423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                              GEORGE CARLIN      473337545   100   3446744                     No Complaining About Politicians                                         George Carlin      183   historical   44413358    51        51 0.00012488     0.000124875   0.00636863   0   0.000039522   0.0064082


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                        GEORGE CARLIN      473337545   100   5493859                     (02/28/71 Performance)                                                   George Carlin      369   historical   45120571    11      15.4   0.00012488   0.000124875   0.00192308   0     0.0000119    0.001935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                           GEORGE CARLIN      473337545   100   3446758                     Comitting The Perfect Double Murder                                      George Carlin      174   historical   44413373    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                         GEORGE CARLIN      473337545   100   11005102                    Reincarnation (Souls)                                                    George Carlin      38    historical   43007872     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                              GEORGE CARLIN      473337545   100   4823634                     Opening / Old Fuck                                                       George Carlin      315   historical   45000917   610       732 0.00012488     0.000124875   0.09140857   0   0.000567257   0.0919758


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                        GEORGE CARLIN      473337545   100   11005085                    # What's My Motivation                                                   George Carlin      45    historical   43007857     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                              GEORGE CARLIN      473337545   100   11005083                    Let's Beat Them With Our Purses!                                         George Carlin      118   historical   43007855     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                                         GEORGE CARLIN      473337545   100   3446714                     Asylums                                                                  George Carlin      301   historical   44413328    22      26.4   0.00012488   0.000124875    0.0032967   0     0.0000205   0.0033172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                          GEORGE CARLIN      473337545   100   11005104                    Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical   43007874    27        27 0.00012488     0.000124875   0.00337163   0     0.0000209   0.0033926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                    GEORGE CARLIN      473337545   100   11005099                    More Redundant Expressions                                               George Carlin      46    historical   43007869     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                    GEORGE CARLIN      473337545   100   11005087                    First Time Human Sacrifice                                               George Carlin      743   historical   43007859    23      59.8   0.00012488   0.000124875   0.00746753   0     0.0000463   0.0075139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                       GEORGE CARLIN      473337545   100   4823646                     Just Enough Bullshit / No One Questions Things                           George Carlin      268   historical   45000925   591       591 0.00012488     0.000124875   0.07380118   0    0.00045799   0.0742592


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                        GEORGE CARLIN      473337545   100   11005064                    # The George Carlin Book Club Offer No.1‐How To Titles                   George Carlin      69    historical   43007844     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                                 GEORGE CARLIN      473337545   100   11005091                    Another Objection On Language                                            George Carlin      250   historical   43007863    47        47 0.00012488     0.000124875   0.00586913   0     0.0000364   0.0059056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                                   GEORGE CARLIN      473337545   100   51923446   US4LA0704606     Son of Wino                                                              George Carlin      391   historical   45072015    14      19.6   0.00012488   0.000124875   0.00244755   0     0.0000152   0.0024627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                       GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                                         George Carlin      93    historical   44530008    44        44 0.00012488     0.000124875    0.0054945   0     0.0000341   0.0055286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                               GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                              George Carlin      119   historical   44550179     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                            ANDREW DICE CLAY   128623771   100   21026290   USSM19303057     Chinese                                                                  Andrew Dice Clay   17    historical   43695868     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                             ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                                Andrew Dice Clay   111   historical   43684314    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                    GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                                                George Carlin      51    historical   44530001    54        54 0.00012488     0.000124875   0.00674326   0     0.0000418   0.0067851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                      ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                                 Andrew Dice Clay   304   historical   43958398     3       3.6   0.00012488   0.000124875   0.00044955   0    0.00000279   0.0004523


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                                   ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                              Andrew Dice Clay   94    historical   43695859     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                                  ANDREW DICE CLAY   128623771   100   20778777   USSM18900313     Mother & Son (Live at Dangerfield's/1989)                                Andrew Dice Clay   217   historical   43647579     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                       GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                                      George Carlin      206   historical   44550170     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                                                                 ANDREW DICE CLAY   128623771   100   20778758   USSM18900298     What'll It Be (Live At Dangerfield's/1989)                               Andrew Dice Clay   136   historical   43647561     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                            ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                                       Andrew Dice Clay   255   historical   43695875    11        11 0.00012488     0.000124875   0.00137363   0    0.00000852   0.0013822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                        ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626     My Cum                                                                   Andrew Dice Clay   89    historical   43958388     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                         GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                        George Carlin      61    historical   44530474    30        30 0.00012488     0.000124875   0.00374625   0     0.0000232   0.0037695
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 31 of 86 Page ID
                                                                                                                                                                                                                                              #:4484
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04TN   GUYS NAMED TODD                                                          GEORGE CARLIN      473337545   100   37440027   QMFME1556483 Guys Named Todd                                              George Carlin      90    historical   44550290    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                     Andrew Dice Clay   80    historical   43695873    3        3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                  George Carlin      150   historical   44530477   14       14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612     Midgets 2000                                             Andrew Dice Clay   319   historical   43958374    6      7.2   0.00012488   0.000124875    0.0008991   0    0.00000558   0.0009047


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                          ANDREW DICE CLAY   128623771   100   20778771   USSM18900307     Automatic Pilot (Live at Dangerfield's/1989)             Andrew Dice Clay   107   historical   43647573    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                       ANDREW DICE CLAY   128623771   100   20746956   USSM18900265     A Day At The Beach                                       Andrew Dice Clay   158   historical   43641306    5        5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                                              ANDREW DICE CLAY   128623771   100   20778780   USSM18900316     Double Date (Live at Dangerfield's/1989)                 Andrew Dice Clay   146   historical   43647582    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617     Never Marry Her                                          Andrew Dice Clay   81    historical   43958379    4        4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610     Urinals Are 50 Percent Universal                         George Carlin      147   historical   45072002   16       16 0.00012488     0.000124875     0.001998   0     0.0000124   0.0020104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                    Andrew Dice Clay   65    historical   43695880    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                              George Carlin      326   historical   44537605   54     64.8   0.00012488   0.000124875   0.00809191   0     0.0000502   0.0081421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                      George Carlin      107   historical   44530010   63       63 0.00012488     0.000124875   0.00786713   0     0.0000488    0.007916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                Andrew Dice Clay   200   historical   43647575    3        3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                           ANDREW DICE CLAY   128623771   100   21026277   USSM19303047     'Tis The Season                                          Andrew Dice Clay   23    historical   43695854    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                             George Carlin      229   historical   44547867   126     126 0.00012488     0.000124875   0.01573426   0     0.0000976   0.0158319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)            Andrew Dice Clay   215   historical   43684307   18       18 0.00012488     0.000124875   0.00224775   0     0.0000139   0.0022617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637     Club 33(Reprise)                                         Andrew Dice Clay   195   historical   43958399    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                   Andrew Dice Clay   167   historical   43695882    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                  Andrew Dice Clay   190   historical   43958397    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                                ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)   Andrew Dice Clay   232   historical   43647550    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                               ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623     Home Or Office, You Decide                               Andrew Dice Clay   44    historical   43958385    3        3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290     Handicaps, Cripples                                      Andrew Dice Clay   123   historical   43666238    5        5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                        ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630     Rita's As* Funnel                                        Andrew Dice Clay   101   historical   43958392    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                     Andrew Dice Clay   178   historical   43695876    4        4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                           George Carlin      189   historical   44533145   85       85 0.00012488     0.000124875   0.01061438   0    0.00006587   0.0106803


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                             ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606     Dice Funk‐Up                                             Andrew Dice Clay   89    historical   43958368   12       12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                      GEORGE CARLIN      473337545   100   3446765                     The Red Sox (Socks)                                      George Carlin      188   historical   44413381   20       20 0.00012488     0.000124875    0.0024975   0     0.0000155    0.002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                     Proud To Be An American / God Bless America              George Carlin      286   historical   45000926   446     446 0.00012488     0.000124875    0.0556943   0   0.000345624   0.0560399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                   GEORGE CARLIN      473337545   100   3446720                     Dogs Come In All Sizes                                   George Carlin      152   historical   44413333    4        4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                   GEORGE CARLIN      473337545   100   3446728                     Airlines                                                 George Carlin      518   historical   44413335   30       54 0.00012488     0.000124875   0.00674326   0     0.0000418   0.0067851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                         GEORGE CARLIN      473337545   100   3446748                     Religious People                                         George Carlin      400   historical   44413361   44     61.6   0.00012488   0.000124875   0.00769231   0     0.0000477     0.00774


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                     Tell Claus I Said, "Hello"                               George Carlin      271   historical   44413325    8        8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                        GEORGE CARLIN      473337545   100   11005062                    Appropriate Names                                        George Carlin      157   historical   43007842    4        4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                  GEORGE CARLIN      473337545   100   11005082                    # Fuck You, I Like These Kinds Of Jokes                  George Carlin      108   historical   43007854    3        3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                    GEORGE CARLIN      473337545   100   11005072                    Mental Brain Thoughts                                    George Carlin      228   historical   43007849   20       20 0.00012488     0.000124875    0.0024975   0     0.0000155    0.002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                                             GEORGE CARLIN      473337545   100   3446743                     Saying Hello                                             George Carlin      200   historical   44413357   87       87 0.00012488     0.000124875   0.01086413   0     0.0000674   0.0109316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                     Secretary Of Being In The Closet                         George Carlin      164   historical   44413353    3        3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                      GEORGE CARLIN      473337545   100   11005097                    15 Rules To Live By                                      George Carlin      246   historical   43007867   40       40 0.00012488     0.000124875     0.004995   0      0.000031    0.005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                    It's Your Body‐Fearless Fashions                         George Carlin      484   historical   43007845    9     16.2   0.00012488   0.000124875   0.00202298   0   0.000012554   0.0020355


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                     The Best Of Comic Relief '90: Track 13                   George Carlin      335   historical   45119607   87    104.4   0.00012488   0.000124875   0.01303696   0     0.0000809   0.0131179


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                    George Carlin Book Club                                  George Carlin      62    historical   43007864   22       22 0.00012488     0.000124875   0.00274725   0      0.000017   0.0027643


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                        ANDREW DICE CLAY   128623771   100   20746954   USSM18900263     What If The Chick Gets Pregnant...                       Andrew Dice Clay   100   historical   43641304    8        8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   32163213   USZQE0610782     The Cool World                                           George Carlin      316   historical   44322967    1      1.2   0.00012488   0.000124875   0.00014985   0    0.00000093   0.0001508


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                             George Carlin      42    historical   44530000   50       50 0.00012488     0.000124875   0.00624376   0     0.0000387   0.0062825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                 George Carlin      85    historical   44550188   11       11 0.00012488     0.000124875   0.00137363   0    0.00000852   0.0013822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                   ANDREW DICE CLAY   128623771   100   20872382   USSM19000304     Action                                                   Andrew Dice Clay   22    historical   43666258    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                 George Carlin      285   historical   44550184    7        7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                              George Carlin      192   historical   44530002   54       54 0.00012488     0.000124875   0.00674326   0     0.0000418   0.0067851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                              Robin Williams     76    historical   43575013   103     103 0.00012488     0.000124875   0.01286214   0   0.000079819    0.012942


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                           George Carlin      191   historical   44534244   43       43 0.00012488     0.000124875   0.00536963   0     0.0000333    0.005403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                         ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631     Flat As*/Fat As*                                         Andrew Dice Clay   80    historical   43958393    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049     Gas (Feminine)                                           Andrew Dice Clay   187   historical   43695858   14       14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625     Old School Phone                                         Andrew Dice Clay   419   historical   43958387   19     26.6   0.00012488   0.000124875   0.00332168   0     0.0000206   0.0033423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                         George Carlin      53    historical   44530624   13       13 0.00012488     0.000124875   0.00162338   0     0.0000101   0.0016335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                 Andrew Dice Clay   33    historical   43666231    8        8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605     Birth Control                                            George Carlin      310   historical   45072014   56     67.2   0.00012488   0.000124875   0.00839161   0     0.0000521   0.0084437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                        Andrew Dice Clay   231   historical   43666257    9        9 0.00012488     0.000124875   0.00112388   0    0.00000697   0.0011309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                 George Carlin      153   historical   44530003   53       53 0.00012488     0.000124875   0.00661838   0     0.0000411   0.0066595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                        Andrew Dice Clay   231   historical   43666256    6        6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782     The Cool World                                           George Carlin      316   historical   45066585   10       12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0M   SINGERS WITH ONE NAME                                                    GEORGE CARLIN      473337545   100   37440020   QMFME1556480 Singers with One Name                                        George Carlin      41    historical   44550287    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                      George Carlin      39    historical   44529999   50       50 0.00012488     0.000124875   0.00624376   0     0.0000387   0.0062825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XAJ   SILENCE IS GOLDEN                                                        ANDREW DICE CLAY   128623771   100   20778783   USSM18900319     Silence Is Golden (Live at Dangerfield's/1989)           Andrew Dice Clay   17    historical   43647585    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                               Andrew Dice Clay   65    historical   43666240   12       12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                              Robin Williams     192   historical   43575021   218     218 0.00012488     0.000124875   0.02722277   0   0.000168937   0.0273917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                 Andrew Dice Clay   174   historical   43641312   21       21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                  George Carlin      391   historical   44550168   10       14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                   Andrew Dice Clay   145   historical   43684341   10       10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                                          ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624     The Pencil Room                                          Andrew Dice Clay   79    historical   43958386    3        3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                           Andrew Dice Clay   140   historical   43695887    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                              Andrew Dice Clay   78    historical   43666225    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                Andrew Dice Clay   154   historical   43684325   16       16 0.00012488     0.000124875     0.001998   0     0.0000124   0.0020104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)             Andrew Dice Clay   73    historical   43684347   42       42 0.00012488     0.000124875   0.00524475   0     0.0000325   0.0052773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                          George Carlin      430   historical   44550172   12     19.2   0.00012488   0.000124875    0.0023976   0     0.0000149   0.0024125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                                 ANDREW DICE CLAY   128623771   100   20778767   USSM18900303     Hot Mama (Live at Dangerfield's/1989)                    Andrew Dice Clay   139   historical   43647569    2        2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                       George Carlin      99    historical   44547728   145     145 0.00012488     0.000124875   0.01810689   0   0.000112367   0.0182193


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                      George Carlin      261   historical   44530469   21       21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                         George Carlin      214   historical   45066586   11       11 0.00012488     0.000124875   0.00137363   0    0.00000852   0.0013822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OMY NASA‐HOLES                                                                 GEORGE CARLIN      473337545   100   37440034   QMFME1556486 Nasa‐Holes                                                   George Carlin      92    historical   44550293    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)    Andrew Dice Clay   173   historical   43684323   12       12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Q1 MULTIPLE SCLEROSIS                                                         ANDREW DICE CLAY   128623771   100   20778781   USSM18900317     Multiple Sclerosis (Live at Dangerfield's/1989)          Andrew Dice Clay   26    historical   43647583    1        1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                          GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                            George Carlin      222   historical   44550183    6        6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                        George Carlin      355   historical   44550163   39     46.8   0.00012488   0.000124875   0.00584416   0     0.0000363   0.0058804
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 32 of 86 Page ID
                                                                                                                                                                                                                                              #:4485
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                            GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                     George Carlin      351   historical   44927782   115       138 0.00012488     0.000124875   0.01723276   0   0.000106942   0.0173397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                      ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                    Robin Williams     154   historical   43575023    46        46 0.00012488     0.000124875   0.00574426   0     0.0000356   0.0057799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                          ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)    Robin Williams     325   historical   43845938   4106   4927.2   0.00012488   0.000124875   0.61528459   0   0.003818291   0.6191029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                  ANDREW DICE CLAY   128623771   100   21026300   USSM19303067    Talk To 'Em                                             Andrew Dice Clay   32    historical   43695881     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                          GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                      George Carlin      115   historical   44534248    48        48 0.00012488     0.000124875   0.00599401   0     0.0000372   0.0060312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                          ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)     Andrew Dice Clay   198   historical   43647560     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                      ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                          Robin Williams     111   historical   43863323   446       446 0.00012488     0.000124875    0.0556943   0   0.000345624   0.0560399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                   GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                 George Carlin      586   historical   44537606    38        76 0.00012488     0.000124875   0.00949051   0     0.0000589   0.0095494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                            GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                        George Carlin      65    historical   44530628    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                    ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)       Andrew Dice Clay   307   historical   43684345    53      63.6   0.00012488   0.000124875   0.00794206   0     0.0000493   0.0079913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                         ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620    The Honeymoon's Over                                    Andrew Dice Clay   55    historical   43958382     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                           GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                      George Carlin      320   historical   45072012    63      75.6   0.00012488   0.000124875   0.00944056   0     0.0000586   0.0094991


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EA5 MOTIVATION SEMINARS                                            GEORGE CARLIN      473337545   100   37439996   QMFME1556470 Motivation Seminars                                        George Carlin      65    historical   44550277     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                           ANDREW DICE CLAY   128623771   100   20746958   USSM18900267    Doctors And Nurses                                      Andrew Dice Clay   98    historical   43641308     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                 GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                            George Carlin      269   historical   45072017    34        34 0.00012488     0.000124875   0.00424575   0   0.000026348   0.0042721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                               ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                          Andrew Dice Clay   50    historical   43666274     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                           ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)              Andrew Dice Clay   85    historical   43684339     7         7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                          ANDREW DICE CLAY   128623771   100   20966165   USSM19100205    Dice And Truckdrivers (Live At Govenors/1991)           Andrew Dice Clay   23    historical   43684340     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                         GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                       George Carlin      275   historical   44529748   126       126 0.00012488     0.000124875   0.01573426   0     0.0000976   0.0158319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                              Robin Williams     188   historical   43575012   214       214 0.00012488     0.000124875   0.02672327   0   0.000165837   0.0268891


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                         ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                    Andrew Dice Clay   41    historical   43666236     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83IJ   FAMILY NEWSLETTERS                                           GEORGE CARLIN      473337545   100   37440012   QMFME1556477 Family Newsletters                                         George Carlin      83    historical   44550284     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                   GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                 George Carlin      112   historical   44530480    22        22 0.00012488     0.000124875   0.00274725   0      0.000017   0.0027643


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                    ANDREW DICE CLAY   128623771   100   20966160   USSM19100201    "What A Mess" (Live At Govenors/1991)                   Andrew Dice Clay   50    historical   43684335     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                              ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                         Andrew Dice Clay   135   historical   43666242    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                 ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                          Andrew Dice Clay   114   historical   43695877     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                           GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                             George Carlin      500   historical   44927783    53      95.4   0.00012488   0.000124875   0.01191309   0     0.0000739    0.011987


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                      GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                 George Carlin      126   historical   45072000    15        15 0.00012488     0.000124875   0.00187313   0     0.0000116   0.0018848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                    ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628    Fish Tank                                               Andrew Dice Clay   28    historical   43958390     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                           Andrew Dice Clay   100   historical   43666261     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                 ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                            Andrew Dice Clay   15    historical   43695856     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                    GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                George Carlin      64    historical   44529995    50        50 0.00012488     0.000124875   0.00624376   0     0.0000387   0.0062825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                   ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                              Andrew Dice Clay   126   historical   43695869     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                            ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                       Andrew Dice Clay   32    historical   43666245     7         7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)   GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001         George Carlin      518   historical   44537608    31      55.8   0.00012488   0.000124875   0.00696803   0     0.0000432   0.0070113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                     ANDREW DICE CLAY   128623771   100   20778745   USSM18900286    The Gift (Live At Dangerfield's/1989)                   Andrew Dice Clay   101   historical   43647548     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                     ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                Andrew Dice Clay   180   historical   43695892     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                           ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                      Andrew Dice Clay   78    historical   43666234    17        17 0.00012488     0.000124875   0.00212288   0   0.000013174   0.0021361


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                               ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)             Andrew Dice Clay   222   historical   43647551     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                              George Carlin      155   historical   44530617    78        78 0.00012488     0.000124875   0.00974026   0     0.0000604   0.0098007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                         GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                   George Carlin      263   historical   45072013    72        72 0.00012488     0.000124875   0.00899101   0     0.0000558   0.0090468


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                              GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                            George Carlin      68    historical   44529992    58        58 0.00012488     0.000124875   0.00724276   0     0.0000449   0.0072877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                          GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                     George Carlin      429   historical   45072020    14      22.4   0.00012488   0.000124875    0.0027972   0     0.0000174   0.0028146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                   GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                            George Carlin      285   historical   45075670    63        63 0.00012488     0.000124875   0.00786713   0     0.0000488    0.007916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                               ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                          Andrew Dice Clay   140   historical   43695886     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                      ANDREW DICE CLAY   128623771   100   20746959   USSM18900268    Smokin'                                                 Andrew Dice Clay   131   historical   43641309     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                               GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                          George Carlin      173   historical   45072011    16        16 0.00012488     0.000124875     0.001998   0     0.0000124   0.0020104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                     ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)        Andrew Dice Clay   98    historical   43684349     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                           ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                      Andrew Dice Clay   110   historical   43695889     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                 GEORGE CARLIN      473337545   100   32163210   USZQE0610781    War Pictures                                            George Carlin      222   historical   44322966     2         2 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                            GEORGE CARLIN      473337545   100   52042526   US4LA0703708    Childhood Cliches                                       George Carlin      244   historical   45075675     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                 ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                            Andrew Dice Clay   106   historical   43695874     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                    ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                               Andrew Dice Clay   108   historical   43666250     9         9 0.00012488     0.000124875   0.00112388   0    0.00000697   0.0011309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                     GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                   George Carlin      76    historical   44529997    48        48 0.00012488     0.000124875   0.00599401   0     0.0000372   0.0060312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C5S   PEOPLE WHO MISUSE CREDIT CARDS                               GEORGE CARLIN      473337545   100   37440025   QMFME1556482 People Who Misuse Credit Cards                             George Carlin      51    historical   44550289     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                           ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)   Robin Williams     130   historical   43845933   1604     1604 0.00012488     0.000124875   0.20029966   0   0.001243006   0.2015427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                      GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                 George Carlin      206   historical   45072018    13        13 0.00012488     0.000124875   0.00162338   0     0.0000101   0.0016335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                    ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                  Robin Williams     223   historical   43575010   286       286 0.00012488     0.000124875   0.03571428   0   0.000221633   0.0359359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                               ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                        Andrew Dice Clay   239   historical   43958376     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                 Andrew Dice Clay   79    historical   43684342    31        31 0.00012488     0.000124875   0.00387113   0      0.000024   0.0038952


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                            ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                       Andrew Dice Clay   90    historical   43666272    14        14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                     ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                Andrew Dice Clay   232   historical   43695879     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                      ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                 Andrew Dice Clay   37    historical   43666263     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                       GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                   George Carlin      521   historical   44547866    27      48.6   0.00012488   0.000124875   0.00606893   0     0.0000377   0.0061066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                    ANDREW DICE CLAY   128623771   100   21026284   USSM19303051    The Notes                                               Andrew Dice Clay   48    historical   43695860     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                 GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                               George Carlin      270   historical   44550169    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                       ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                                Andrew Dice Clay   55    historical   43958373     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                      ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                 Andrew Dice Clay   202   historical   43695864     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                ANDREW DICE CLAY   128623771   100   20778768   USSM18900304    Turn‐On Words (Live at Dangerfield's/1989)              Andrew Dice Clay   34    historical   43647570     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                  ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613    Banana Nose                                             Andrew Dice Clay   33    historical   43958375     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                               ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                        Andrew Dice Clay   166   historical   43666276     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LIT   CIGARETTES                                                   ANDREW DICE CLAY   128623771   100   20778774   USSM18900310    Cigarettes (Live at Dangerfield's/1989)                 Andrew Dice Clay   137   historical   43647576     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                         GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                      George Carlin      263   historical   44550166    21        21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                                          ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)        Andrew Dice Clay   400   historical   43647586     2       2.8   0.00012488   0.000124875   0.00034965   0    0.00000217   0.0003518


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                          GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                        George Carlin      158   historical   44550186     7         7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                              GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                          George Carlin      182   historical   44550182    14        14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                               ANDREW DICE CLAY   128623771   100   20872375   USSM19000297    1989‐ A Review                                          Andrew Dice Clay   368   historical   43666248    37      51.8   0.00012488   0.000124875   0.00646853   0   0.000040142   0.0065087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                            GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                          George Carlin      310   historical   44550190    12      14.4   0.00012488   0.000124875    0.0017982   0     0.0000112   0.0018094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                           GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                         George Carlin      321   historical   44550165    19      22.8   0.00012488   0.000124875   0.00284715   0     0.0000177   0.0028648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                              ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                         Andrew Dice Clay   40    historical   43666246    12        12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                     ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                Andrew Dice Clay   180   historical   43695893     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO     GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo   George Carlin      221   historical   44550178     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                              ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   72    historical   43666253     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 33 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                                             ANDREW DICE CLAY   128623771   100   20778754   USSM18900294    Jerkin' Off (Live At Dangerfield's/1989)                     Andrew Dice Clay   80    historical   43647557     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                       GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                             George Carlin      49    historical   44533142    12        12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                         ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                              Andrew Dice Clay   72    historical   43666254     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                              ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)           Andrew Dice Clay   60    historical   43684309    19        19 0.00012488     0.000124875   0.00237263   0     0.0000147   0.0023874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                ANDREW DICE CLAY   128623771   100   21026292   USSM19303059    Dr. Dice                                                     Andrew Dice Clay   20    historical   43695871     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                                ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                     Andrew Dice Clay   54    historical   43666273     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                    GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                          George Carlin      102   historical   44529998    51        51 0.00012488     0.000124875   0.00636863   0   0.000039522   0.0064082


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                                   ANDREW DICE CLAY   128623771   100   20966162   USSM19100202    Dice On Redheaded Men (Live At Govenors/1991)                Andrew Dice Clay   42    historical   43684337     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                          ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                               Andrew Dice Clay   50    historical   43666275     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                      GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                           George Carlin      577   historical   44927784    38        76 0.00012488     0.000124875   0.00949051   0     0.0000589   0.0095494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                            ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632    My Statement                                                 Andrew Dice Clay   62    historical   43958394     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                       ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                            Andrew Dice Clay   462   historical   43958369    26      41.6   0.00012488   0.000124875    0.0051948   0     0.0000322    0.005227


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                        ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                     Andrew Dice Clay   216   historical   43684312    21        21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                                             ANDREW DICE CLAY   128623771   100   20778765   USSM18900301    Frozen Food (Live At Dangerfield's/1989)                     Andrew Dice Clay   69    historical   43647567     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                             ANDREW DICE CLAY   128623771   100   20778746   USSM18900287    The Divider (Live At Dangerfield's/1989)                     Andrew Dice Clay   131   historical   43647549     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                   ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                       Robin Williams     406   historical   43845943   4466   6252.4   0.00012488   0.000124875   0.78076908   0   0.004845243   0.7856143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                        ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                     Andrew Dice Clay   101   historical   43684321     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                         GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                         George Carlin      288   historical   44537607     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                          ANDREW DICE CLAY   128623771   100   20778741   USSM18900282    Holiday Season (Live At Dangerfield's/1989)                  Andrew Dice Clay   111   historical   43647544     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                           ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                Andrew Dice Clay   100   historical   43666260     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                    ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                 Andrew Dice Clay   189   historical   43684346    25        25 0.00012488     0.000124875   0.00312188   0     0.0000194   0.0031413


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                               ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                    Andrew Dice Clay   139   historical   43666230     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                 GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                     George Carlin      286   historical   44534240    63        63 0.00012488     0.000124875   0.00786713   0     0.0000488    0.007916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                        George Carlin      355   historical   45072009   121     145.2   0.00012488   0.000124875   0.01813187   0   0.000112522   0.0182444


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O39 WHAT DID SHE SAY?                                                         ANDREW DICE CLAY   128623771   100   20778779   USSM18900315    What Did She Say? (Live at Dangerfield's/1989)               Andrew Dice Clay   75    historical   43647581     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                               ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                       Robin Williams     81    historical   43575017   115       115 0.00012488     0.000124875   0.01436064   0     0.0000891   0.0144498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                  GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                        George Carlin      28    historical   44530621    23        23 0.00012488     0.000124875   0.00287213   0     0.0000178     0.00289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                         GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                             George Carlin      214   historical   44322968     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C1S   PEOPLE WHO OUGHTA BE KILLED: SELF‐HELP BOOKS                            GEORGE CARLIN      473337545   100   37439995   QMFME1556469 People Who Oughta Be Killed: Self‐Help Books                    George Carlin      76    historical   44550276     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                         GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                 George Carlin      419   historical   44530475   107     149.8   0.00012488   0.000124875   0.01870629   0   0.000116086   0.0188224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                         GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                 George Carlin      828   historical   44534241     4      11.2   0.00012488   0.000124875    0.0013986   0    0.00000868   0.0014073


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                         ANDREW DICE CLAY   128623771   100   20966168   USSM19100208    Dice Vs. PeeWee (Live At Govenors/1991)                      Andrew Dice Clay   30    historical   43684343     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                               GEORGE CARLIN      473337545   100   51648298   USZQE0610780    Capt. Jack & Jolly George                                    George Carlin      241   historical   45066583     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                 George Carlin      147   historical   44550174     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                      GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                           George Carlin      127   historical   45075671    26        26 0.00012488     0.000124875   0.00324675   0     0.0000201   0.0032669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                               ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621    Road Call                                                    Andrew Dice Clay   82    historical   43958383     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                     Andrew Dice Clay   48    historical   43666264     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                              ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                 Andrew Dice Clay   330   historical   43695895     7       8.4   0.00012488   0.000124875   0.00104895   0    0.00000651   0.0010555


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                          ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                               Andrew Dice Clay   29    historical   43666241    11        11 0.00012488     0.000124875   0.00137363   0    0.00000852   0.0013822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                   ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                      Andrew Dice Clay   196   historical   43695884     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                          GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                  George Carlin      203   historical   44537604    51        51 0.00012488     0.000124875   0.00636863   0   0.000039522   0.0064082


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                          ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627    Grocery‐Part 1                                               Andrew Dice Clay   31    historical   43958389     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                             ANDREW DICE CLAY   128623771   100   20778752   USSM18900292    Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)   Andrew Dice Clay   169   historical   43647555     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                           GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                   George Carlin      310   historical   44550167    20        24 0.00012488     0.000124875     0.002997   0     0.0000186   0.0030156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)               George Carlin      315   historical   44550175     4       4.8   0.00012488   0.000124875    0.0005994   0    0.00000372   0.0006031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                        ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                             Andrew Dice Clay   129   historical   43695866     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                   ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                        Andrew Dice Clay   180   historical   43666259    21        21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                               Andrew Dice Clay   107   historical   43695890     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                  GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                          George Carlin      192   historical   44537603    56        56 0.00012488     0.000124875   0.00699301   0     0.0000434   0.0070364


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                             ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)          Andrew Dice Clay   166   historical   43684338     9         9 0.00012488     0.000124875   0.00112388   0    0.00000697   0.0011309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                 GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                         George Carlin      175   historical   44530009    45        45 0.00012488     0.000124875   0.00561938   0     0.0000349   0.0056543


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                   ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                        Andrew Dice Clay   162   historical   43666255    13        13 0.00012488     0.000124875   0.00162338   0     0.0000101   0.0016335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                     ANDREW DICE CLAY   128623771   100   20778756   USSM18900296    Laughter Vs. Comedy (Live At Dangerfield's/1989)             Andrew Dice Clay   67    historical   43647559     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                  Andrew Dice Clay   28    historical   43666266     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                             ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                Andrew Dice Clay   32    historical   43666269    13        13 0.00012488     0.000124875   0.00162338   0     0.0000101   0.0016335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                             George Carlin      94    historical   44530614    16        16 0.00012488     0.000124875     0.001998   0     0.0000124   0.0020104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                         GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                 George Carlin      426   historical   44550187    13      20.8   0.00012488   0.000124875    0.0025974   0     0.0000161   0.0026135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                        GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                George Carlin      252   historical   44550177     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                    ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619    The Honeymoon                                                Andrew Dice Clay   113   historical   43958381     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                               ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                    Andrew Dice Clay   99    historical   43666235     7         7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                 ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                       Andrew Dice Clay   200   historical   43641311    21        21 0.00012488     0.000124875   0.00262238   0     0.0000163   0.0026387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                  GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                            George Carlin      486   historical   44530619    22      39.6   0.00012488   0.000124875   0.00494505   0     0.0000307   0.0049757


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                      ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                           Andrew Dice Clay   108   historical   43695885     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                               Andrew Dice Clay   107   historical   43695891     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04SZ   GUN ENTHUSIASTS                                                         GEORGE CARLIN      473337545   100   37440029   QMFME1556484 Gun Enthusiasts                                                 George Carlin      86    historical   44550291     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                                   ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                Andrew Dice Clay   135   historical   43684350     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                       GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                               George Carlin      244   historical   44550189    38        38 0.00012488     0.000124875   0.00474525   0     0.0000294   0.0047747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                        GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                             George Carlin      174   historical   45072001    14        14 0.00012488     0.000124875   0.00174825   0     0.0000108   0.0017591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                      ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                                      Andrew Dice Clay   17    historical   43695867     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                                        ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                Andrew Dice Clay   231   historical   43647571    16        16 0.00012488     0.000124875     0.001998   0     0.0000124   0.0020104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                              ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                 Andrew Dice Clay   330   historical   43695894    10        12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                          GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                  George Carlin      173   historical   44550164    17        17 0.00012488     0.000124875   0.00212288   0   0.000013174   0.0021361


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                            ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                 Andrew Dice Clay   15    historical   43695857     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                                   ANDREW DICE CLAY   128623771   100   20778763   USSM18900299    Pizza (Live At Dangerfield's/1989)                           Andrew Dice Clay   109   historical   43647565     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20778772   USSM18900308    Dogs & Birds (Live at Dangerfield's/1989)                    Andrew Dice Clay   169   historical   43647574     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                            ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                               Andrew Dice Clay   114   historical   43695878     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                                            ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                               Andrew Dice Clay   82    historical   43958391     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                                ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615    K2Y/Wife                                                     Andrew Dice Clay   47    historical   43958377     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                       GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                            George Carlin      129   historical   45071998    24        24 0.00012488     0.000124875     0.002997   0     0.0000186   0.0030156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                      GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                              George Carlin      127   historical   44550185     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                        ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616    Sid/All Bound Up                                             Andrew Dice Clay   16    historical   43958378     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                  Andrew Dice Clay   28    historical   43666265     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                              GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                                   George Carlin      477   historical   45071996   129     206.4   0.00012488   0.000124875   0.02577422   0   0.000159948   0.0259342
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                                                                                                                                                                                                                                              #:4487
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                    GEORGE CARLIN      473337545   100   51648299   USZQE0610781    War Pictures                                                    George Carlin      222   historical   45066584     4         4 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54HG   BABY SLINGS                                                     GEORGE CARLIN      473337545   100   37440000   QMFME1556472 Baby Slings                                                        George Carlin      59    historical   44550279     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                  ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                                 Andrew Dice Clay   23    historical   43695855     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                      ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                                    Andrew Dice Clay   207   historical   43641305    13        13 0.00012488     0.000124875   0.00162338   0     0.0000101   0.0016335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KKY   PARENTS OF HONOR STUDENTS                                       GEORGE CARLIN      473337545   100   37439998   QMFME1556471 Parents of Honor Students                                          George Carlin      135   historical   44550278     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                    GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                                    George Carlin      85    historical   45075674    59        59 0.00012488     0.000124875   0.00736763   0     0.0000457   0.0074134


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                               ANDREW DICE CLAY   128623771   100   20746957   USSM18900266    Moby And The Japs                                               Andrew Dice Clay   51    historical   43641307     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                     GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                        George Carlin      177   historical   44529744    47        47 0.00012488     0.000124875   0.00586913   0     0.0000364   0.0059056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                       ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                                     Andrew Dice Clay   33    historical   43958367    15        15 0.00012488     0.000124875   0.00187313   0     0.0000116   0.0018848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YMQ RICH GUYS IN HOT AIR BALLOONS                                     GEORGE CARLIN      473337545   100   37440022   QMFME1556481 Rich Guys in Hot Air Balloons                                      George Carlin      61    historical   44550288     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                 ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609    K2Y‐China Diner                                                 Andrew Dice Clay   157   historical   43958371     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                         ANDREW DICE CLAY   128623771   100   20778764   USSM18900300    Concave (Live At Dangerfield's/1989)                            Andrew Dice Clay   67    historical   43647566     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                          ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                  Andrew Dice Clay   108   historical   43684318    24        24 0.00012488     0.000124875     0.002997   0     0.0000186   0.0030156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                   GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                      George Carlin      214   historical   44529690    81        81 0.00012488     0.000124875   0.01011488   0     0.0000628   0.0101777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                   ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                                   Andrew Dice Clay   14    historical   43666262     8         8 0.00012488     0.000124875     0.000999   0     0.0000062   0.0010052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                   ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                   Andrew Dice Clay   29    historical   43666252     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72KD WHITE GUYS WHO SHAVE THEIR HEADS                                  GEORGE CARLIN      473337545   100   37440032   QMFME1556485 White Guys Who Shave Their Heads                                   George Carlin      48    historical   44550292     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                            GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                               George Carlin      275   historical   44550180     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                   GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                      George Carlin      70    historical   44529993    53        53 0.00012488     0.000124875   0.00661838   0     0.0000411   0.0066595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                    ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                   Robin Williams     370   historical   43845936   2954   4135.6   0.00012488   0.000124875   0.51643346   0   0.003204847   0.5196383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYS   HANDS‐FREE TELEPHONE HEADSETS                                   GEORGE CARLIN      473337545   100   37440007   QMFME1556475 Hands‐Free Telephone Headsets                                      George Carlin      38    historical   44550282     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                             ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                           Andrew Dice Clay   468   historical   43695888     9      14.4   0.00012488   0.000124875    0.0017982   0     0.0000112   0.0018094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                    ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                           Andrew Dice Clay   59    historical   43666227     5         5 0.00012488     0.000124875   0.00062438   0    0.00000387   0.0006283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                     ANDREW DICE CLAY   128623771   100   20778782   USSM18900318    How Are Ya? (Live at Dangerfield's/1989)                        Andrew Dice Clay   50    historical   43647584     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                   GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                                   George Carlin      167   historical   45066582     6         6 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                        ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                        Andrew Dice Clay   114   historical   43695865     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                      ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618    For Who, For Her, For What                                      Andrew Dice Clay   35    historical   43958380     3         3 0.00012488     0.000124875   0.00037463   0    0.00000232    0.000377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D55 MUSIC ON ANSWERING MACHINES                                       GEORGE CARLIN      473337545   100   37440015   QMFME1556478 Music on Answering Machines                                        George Carlin      99    historical   44550285     1         1 0.00012488     0.000124875   0.00012488   0   0.000000775   0.0001257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                      ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                      Andrew Dice Clay   126   historical   43695870     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                    ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                           Andrew Dice Clay   59    historical   43666228     2         2 0.00012488     0.000124875   0.00024975   0    0.00000155   0.0002513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                                    GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                    George Carlin      456   historical   44927785    30        48 0.00012488     0.000124875   0.00599401   0     0.0000372   0.0060312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                            ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                            Andrew Dice Clay   197   historical   43958370     6         6 0.00012488     0.000124875   0.00074925   0    0.00000465   0.0007539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                      ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                      Andrew Dice Clay   65    historical   43666239     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                               GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                  George Carlin      288   historical   44550171    12        12 0.00012488     0.000124875    0.0014985   0     0.0000093   0.0015078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                          GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                             George Carlin      54    historical   44547725   219       219 0.00012488     0.000124875   0.02734765   0   0.000169712   0.0275174


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                             GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                George Carlin      340   historical   44533143   197     236.4   0.00012488   0.000124875   0.02952047   0   0.000183196   0.0297037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                              ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                      Andrew Dice Clay   149   historical   43684327    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                            ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                            Andrew Dice Clay   41    historical   43666237     7         7 0.00012488     0.000124875   0.00087413   0    0.00000542   0.0008796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                 GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                                 George Carlin      426   historical   45075673    85       136 0.00012488     0.000124875   0.01698301   0   0.000105392   0.0170884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                             GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                George Carlin      25    historical   44530626    10        10 0.00012488     0.000124875   0.00124875   0    0.00000775   0.0012565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                    ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                    Andrew Dice Clay   42    historical   43666267     4         4 0.00012488     0.000124875    0.0004995   0     0.0000031   0.0005026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                George Carlin      450   historical   34874960   277     443.2     8.61E‐05      8.61E‐05    0.0381718   0   0.000236884   0.0384087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                      ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                      Andrew Dice Clay   131   historical   35842266    11        11     8.61E‐05      8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                                  GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                  George Carlin      118   historical   33104675     9         9     8.61E‐05      8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                  GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                  George Carlin      74    historical   33104670    10        10     8.61E‐05      8.61E‐05   0.00086128   0    0.00000534   0.0008666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                          GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                          George Carlin      595   historical   33104668    28        56     8.61E‐05      8.61E‐05   0.00482315   0     0.0000299   0.0048531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                                  GEORGE CARLIN      473337545   100   3446767                    Retired People                                                  George Carlin      63    historical   34875035    25        25     8.61E‐05      8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                         GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                         George Carlin      64    historical   33104671    11        11     8.61E‐05      8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                              GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                              George Carlin      46    historical   33104688     2         2     8.61E‐05      8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                           GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                           George Carlin      228   historical   33104669    79        79     8.61E‐05      8.61E‐05   0.00680409   0     0.0000422   0.0068463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                      GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                      George Carlin      271   historical   34874959    14        14     8.61E‐05      8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                      GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                      George Carlin      743   historical   33104681    20        52     8.61E‐05      8.61E‐05   0.00447864   0     0.0000278   0.0045064


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                       GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                       George Carlin      129   historical   34875032    16        16     8.61E‐05      8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                George Carlin      118   historical   33104677    16        16     8.61E‐05      8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                               GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                             George Carlin      350   historical   35819745     1       1.2     8.61E‐05      8.61E‐05   0.00010335   0   0.000000641    0.000104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU           GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                  George Carlin      173   historical   34875000    24        24     8.61E‐05      8.61E‐05   0.00206707   0     0.0000128   0.0020799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                            1990   ANDREW DICE CLAY   128623771   100   5643610                                                                             1990   Andrew Dice Clay   132   historical   35842278     2         2     8.61E‐05      8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES          GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                         George Carlin      62    historical   33104686    38        38     8.61E‐05      8.61E‐05   0.00327285   0     0.0000203   0.0032932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                       GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                       George Carlin      154   historical   34874983    41        41     8.61E‐05      8.61E‐05   0.00353124   0     0.0000219   0.0035532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                         GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                         George Carlin      108   historical   33104676     6         6     8.61E‐05      8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                           GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                           George Carlin      38    historical   33104696    15        15     8.61E‐05      8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                             GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                             George Carlin      246   historical   33104691   153       153     8.61E‐05      8.61E‐05   0.01317754   0     0.0000818   0.0132593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                  GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                  George Carlin      59    historical   34874978    25        25     8.61E‐05      8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES          GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles          George Carlin      69    historical   33104663     1         1     8.61E‐05      8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                               GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                               George Carlin      157   historical   33104661    36        36     8.61E‐05      8.61E‐05    0.0031006   0     0.0000192   0.0031198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                             GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                             George Carlin      188   historical   34875024    31        31     8.61E‐05      8.61E‐05   0.00266996   0   0.000016569   0.0026865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                 GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                               George Carlin      221   historical   34874966    56        56     8.61E‐05      8.61E‐05   0.00482315   0     0.0000299   0.0048531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                       GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                       George Carlin      66    historical   33104683    24        24     8.61E‐05      8.61E‐05   0.00206707   0     0.0000128   0.0020799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                George Carlin      484   historical   33104665    11      19.8     8.61E‐05      8.61E‐05   0.00170533   0     0.0000106   0.0017159


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                         GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                  George Carlin      268   historical   35638700   1634     1634     8.61E‐05      8.61E‐05   0.14073266   0   0.000873349    0.141606


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                         GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                         George Carlin      101   historical   34874961    56        56     8.61E‐05      8.61E‐05   0.00482315   0     0.0000299   0.0048531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                            GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                            George Carlin      487   historical   34874998    43      77.4     8.61E‐05      8.61E‐05   0.00666628   0     0.0000414   0.0067077


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                      GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                      George Carlin      46    historical   33104693    23        23     8.61E‐05      8.61E‐05   0.00198094   0     0.0000123   0.0019932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                     GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                     George Carlin      183   historical   34875006    24        24     8.61E‐05      8.61E‐05   0.00206707   0     0.0000128   0.0020799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                               GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                        George Carlin      181   historical   34850503   169       169     8.61E‐05      8.61E‐05   0.01455558   0   0.000090328   0.0146459


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                  GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                  George Carlin      388   historical   33104689    26      36.4     8.61E‐05      8.61E‐05   0.00313505   0     0.0000195   0.0031545


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                   GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                   George Carlin      250   historical   33104685    89        89     8.61E‐05      8.61E‐05   0.00766537   0     0.0000476   0.0077129


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                       GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                       George Carlin      388   historical   33104655    28      39.2     8.61E‐05      8.61E‐05   0.00337621   0      0.000021   0.0033972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                      GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                    George Carlin      338   historical   33104697    26      31.2     8.61E‐05      8.61E‐05   0.00268718   0     0.0000167   0.0027039


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                      GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                      George Carlin      54    historical   34874979    57        57     8.61E‐05      8.61E‐05   0.00490928   0     0.0000305   0.0049397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                           GEORGE CARLIN      473337545   100   3446714                    Asylums                                                         George Carlin      301   historical   34874962    27      32.4     8.61E‐05      8.61E‐05   0.00279054   0     0.0000173   0.0028079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                        GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                        George Carlin      334   historical   33104680    18      21.6     8.61E‐05      8.61E‐05   0.00186036   0     0.0000115   0.0018719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                           GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                           George Carlin      441   historical   33104684   126     201.6     8.61E‐05      8.61E‐05   0.01736334   0   0.000107752   0.0174711
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                                             GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                             George Carlin      200   historical   34874993    56         56   8.61E‐05   8.61E‐05   0.00482315   0     0.0000299   0.0048531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                       George Carlin      315   historical   35638692   1878    2253.6   8.61E‐05   8.61E‐05   0.19409739   0   0.001204516   0.1953019


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                                              GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                              George Carlin      42    historical   33104673    28         28   8.61E‐05   8.61E‐05   0.00241158   0      0.000015   0.0024265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                          George Carlin      80    historical   34875020    77         77   8.61E‐05   8.61E‐05   0.00663183   0     0.0000412    0.006673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                            George Carlin      396   historical   33104692    18       25.2   8.61E‐05   8.61E‐05   0.00217042   0   0.000013469   0.0021839


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                   GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                 George Carlin      518   historical   34874972    37       66.6   8.61E‐05   8.61E‐05   0.00573611   0     0.0000356   0.0057717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                   GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                   George Carlin      369   historical   35819228    12       16.8   8.61E‐05   8.61E‐05   0.00144695   0    0.00000898   0.0014559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                               GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                               George Carlin      164   historical   33104687     4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                                 ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615    K2Y/Wife                                                                 Andrew Dice Clay   47    historical   34274335     7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                                          Andrew Dice Clay   135   historical   33923850    25         25   8.61E‐05   8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                              Andrew Dice Clay   28    historical   33923876     3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                     GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                                      George Carlin      102   historical   35026245   112        112   8.61E‐05   8.61E‐05    0.0096463   0     0.0000599   0.0097062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                         George Carlin      183   historical   34874994   148        148   8.61E‐05   8.61E‐05    0.0127469   0     0.0000791    0.012826


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                         GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                         George Carlin      165   historical   34874964     6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   35638698   748        748   8.61E‐05   8.61E‐05   0.06442352   0   0.000399795   0.0648233


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical   33104698    58         58   8.61E‐05   8.61E‐05   0.00499541   0      0.000031   0.0050264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                         GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                         George Carlin      74    historical   34874991     7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                      GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                      George Carlin      174   historical   34875012    39         39   8.61E‐05   8.61E‐05   0.00335898   0     0.0000208   0.0033798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                                 GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                 George Carlin      165   historical   34874999     4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                  George Carlin      180   historical   34874995     8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                              George Carlin      286   historical   35638701   1088      1088   8.61E‐05   8.61E‐05   0.09370694   0    0.00058152   0.0942885


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                   GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                   George Carlin      322   historical   34874963    37       44.4   8.61E‐05   8.61E‐05   0.00382407   0     0.0000237   0.0038478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R90   THE INDIAN SERGEANT                                                      GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                                      George Carlin      321   historical   35858708   187      224.4   8.61E‐05   8.61E‐05   0.01932706   0   0.000119939    0.019447


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                   GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                   George Carlin      45    historical   33104679     8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UF5   A PROPOSITION                                                            GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                            George Carlin      100   historical   34875001     6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                   GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                   George Carlin      152   historical   34874967     8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                         George Carlin      164   historical   34874990    24         24   8.61E‐05   8.61E‐05   0.00206707   0     0.0000128   0.0020799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                   George Carlin      335   historical   35817599   271      325.2   8.61E‐05   8.61E‐05   0.02800873   0   0.000173815   0.0281825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                                 GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                               George Carlin      84    historical   33104656    46         46   8.61E‐05   8.61E‐05   0.00396187   0     0.0000246   0.0039865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                              GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                            George Carlin      481   historical   33104658    17       30.6   8.61E‐05   8.61E‐05   0.00263551   0     0.0000164   0.0026519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                         GEORGE CARLIN      473337545   100   3446748                    Religious People                                                         George Carlin      400   historical   34874997   143      200.2   8.61E‐05   8.61E‐05   0.01724277   0   0.000107004   0.0173498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                               GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                               George Carlin      106   historical   33104699    15         15   8.61E‐05   8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                             GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                             George Carlin      121   historical   34874988    12         12   8.61E‐05   8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                   ANDREW DICE CLAY   128623771   100   20872382   USSM19000304    Action                                                                   Andrew Dice Clay   21    historical   33923868     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                           ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)                              Andrew Dice Clay   285   historical   33901268     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                                  Andrew Dice Clay   195   historical   33960420    22         22   8.61E‐05   8.61E‐05   0.00189481   0     0.0000118   0.0019066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                             ANDREW DICE CLAY   128623771   100   20778770   USSM18900306    True Stories (Live at Dangerfield's/1989)                                Andrew Dice Clay   42    historical   33901252     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                    George Carlin      28    historical   35027088   100        100   8.61E‐05   8.61E‐05   0.00861277   0     0.0000534   0.0086662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                           Andrew Dice Clay   187   historical   33960391    39         39   8.61E‐05   8.61E‐05   0.00335898   0     0.0000208   0.0033798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                             George Carlin      326   historical   35036213    61       73.2   8.61E‐05   8.61E‐05   0.00630455   0     0.0000391   0.0063437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                 ANDREW DICE CLAY   128623771   100   21026292   USSM19303059    Dr. Dice                                                                 Andrew Dice Clay   20    historical   33960405     4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                         ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631    Flat As*/Fat As*                                                         Andrew Dice Clay   80    historical   34274351     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                             ANDREW DICE CLAY   128623771   100   20872370   USSM19000294    The Driveway                                                             Andrew Dice Clay   19    historical   33923851     9          9   8.61E‐05   8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                                                  Andrew Dice Clay   17    historical   33960400     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                                         Andrew Dice Clay   419   historical   34274345   118      165.2   8.61E‐05   8.61E‐05    0.0142283   0   0.000088297   0.0143166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                                            George Carlin      310   historical   35729080   291      349.2   8.61E‐05   8.61E‐05   0.03007579   0   0.000186642   0.0302624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                               Andrew Dice Clay   65    historical   33923848    21         21   8.61E‐05   8.61E‐05   0.00180868   0     0.0000112   0.0018199


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                             ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                             Andrew Dice Clay   15    historical   33960389     7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                                                    ANDREW DICE CLAY   128623771   100   20746961   USSM18900270    No Pity                                                                  Andrew Dice Clay   64    historical   33893721     8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                        GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                                         George Carlin      49    historical   35030470    32         32   8.61E‐05   8.61E‐05   0.00275609   0     0.0000171   0.0027732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                                     Andrew Dice Clay   79    historical   33960407     6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                        George Carlin      235   historical   35026469    45         45   8.61E‐05   8.61E‐05   0.00387575   0     0.0000241   0.0038998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                 GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                                    George Carlin      76    historical   35026244   110        110   8.61E‐05   8.61E‐05   0.00947405   0     0.0000588   0.0095328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                                      ANDREW DICE CLAY   128623771   100   20966165   USSM19100205    Dice And Truckdrivers (Live At Govenors/1991)                            Andrew Dice Clay   23    historical   33946308    16         16   8.61E‐05   8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LIT   CIGARETTES                                                               ANDREW DICE CLAY   128623771   100   20778774   USSM18900310    Cigarettes (Live at Dangerfield's/1989)                                  Andrew Dice Clay   137   historical   33901256     1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                                     George Carlin      107   historical   35026257   121        121   8.61E‐05   8.61E‐05   0.01042145   0     0.0000647   0.0104861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                                           ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)                              Andrew Dice Clay   222   historical   33901229     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                                                    ANDREW DICE CLAY   128623771   100   20746966   USSM18900275    Shampoo                                                                  Andrew Dice Clay   48    historical   33893726     5          5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                                               George Carlin      477   historical   35729062   436      697.6   8.61E‐05   8.61E‐05   0.06008268   0   0.000372857   0.0604555


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                                ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621    Road Call                                                                Andrew Dice Clay   82    historical   34274341     6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                            Andrew Dice Clay   100   historical   33923872     3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                                     Andrew Dice Clay   197   historical   34274328    11         11   8.61E‐05   8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                                        George Carlin      129   historical   35729064    90         90   8.61E‐05   8.61E‐05   0.00775149   0     0.0000481   0.0077996


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                      ANDREW DICE CLAY   128623771   100   20778756   USSM18900296    Laughter Vs. Comedy (Live At Dangerfield's/1989)                         Andrew Dice Clay   67    historical   33901237     1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                            Robin Williams     370   historical   34142607   7282   10194.8   8.61E‐05   8.61E‐05   0.87805468   0   0.005448971   0.8835036


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                                George Carlin      285   historical   35053080    10         10   8.61E‐05   8.61E‐05   0.00086128   0    0.00000534   0.0008666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                                    George Carlin      328   historical   35026475   105        126   8.61E‐05   8.61E‐05   0.01085209   0     0.0000673   0.0109194


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612    Midgets 2000                                                             Andrew Dice Clay   319   historical   34274332     9       10.8   8.61E‐05   8.61E‐05   0.00093018   0    0.00000577    0.000936


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                              Andrew Dice Clay   78    historical   33923833     4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                           George Carlin      315   historical   35053071     3        3.6   8.61E‐05   8.61E‐05   0.00031006   0    0.00000192    0.000312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                     Robin Williams     154   historical   33811018    69         69   8.61E‐05   8.61E‐05   0.00594281   0     0.0000369   0.0059797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                                    George Carlin      355   historical   35729075   495        594   8.61E‐05   8.61E‐05   0.05115985   0   0.000317484   0.0514773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                                     George Carlin      39    historical   35026246   103        103   8.61E‐05   8.61E‐05   0.00887115   0   0.000055052   0.0089262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                             ANDREW DICE CLAY   128623771   100   20746962   USSM18900271    The Golden Age Of Television                                             Andrew Dice Clay   112   historical   33893722     6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                                        Andrew Dice Clay   90    historical   33923885     9          9   8.61E‐05   8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                           Andrew Dice Clay   140   historical   33960423     2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                               George Carlin      155   historical   35027084   141        141   8.61E‐05   8.61E‐05   0.01214401   0     0.0000754   0.0122194


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                                     George Carlin      261   historical   35026865    32         32   8.61E‐05   8.61E‐05   0.00275609   0     0.0000171   0.0027732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                   George Carlin      389   historical   35027092    72      100.8   8.61E‐05   8.61E‐05   0.00868167   0     0.0000539   0.0087355


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297    1989‐ A Review                                                           Andrew Dice Clay   368   historical   33923857   101      141.4   8.61E‐05   8.61E‐05   0.01217846   0     0.0000756    0.012254


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                        GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                           George Carlin      131   historical   35026238   127        127   8.61E‐05   8.61E‐05   0.01093822   0     0.0000679   0.0110061


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                               George Carlin      253   historical   35026467    42         42   8.61E‐05   8.61E‐05   0.00361736   0     0.0000224   0.0036398


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                          ANDREW DICE CLAY   128623771   100   20778771   USSM18900307    Automatic Pilot (Live at Dangerfield's/1989)                             Andrew Dice Clay   107   historical   33901253     1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05
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                                                                                                                                                                                                                                              #:4489
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                                    ANDREW DICE CLAY   128623771   100   20778763   USSM18900299     Pizza (Live At Dangerfield's/1989)                                 Andrew Dice Clay   109   historical   33901245      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)        Robin Williams     359   historical   34142610   10898   13077.6   8.61E‐05   8.61E‐05   1.12634361   0   0.006989786   1.1333334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                                    Andrew Dice Clay   72    historical   33923863      7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604     Drugs                                                              George Carlin      263   historical   35729079    259        259   8.61E‐05   8.61E‐05   0.02230707   0   0.000138432   0.0224455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061     Film & Video                                                       Andrew Dice Clay   106   historical   33960408      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608     Ed Sullivan Self Taught                                            George Carlin      206   historical   35729084     38         38   8.61E‐05   8.61E‐05   0.00327285   0     0.0000203   0.0032932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                              Andrew Dice Clay   162   historical   33923865     34         34   8.61E‐05   8.61E‐05   0.00292834   0     0.0000182   0.0029465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                               Robin Williams     337   historical   33811006    518      621.6   8.61E‐05   8.61E‐05   0.05353698   0   0.000332236   0.0538692


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                                George Carlin      206   historical   35053066      5          5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603     Sex in Commercials                                                 George Carlin      320   historical   35729078    198      237.6   8.61E‐05   8.61E‐05   0.02046394   0   0.000126994   0.0205909


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)               Robin Williams     325   historical   34142609   10467   12560.4   8.61E‐05   8.61E‐05   1.08179836   0    0.00671335   1.0885117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314     The First Blow‐Job                                                 Andrew Dice Clay   50    historical   33923883     16         16   8.61E‐05   8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320     Hour Back...Get It? (Live at Dangerfield's/1989)                   Andrew Dice Clay   400   historical   33901267      2        2.8   8.61E‐05   8.61E‐05   0.00024116   0     0.0000015   0.0002427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                      Andrew Dice Clay   215   historical   33946273     96         96   8.61E‐05   8.61E‐05   0.00826826   0     0.0000513   0.0083196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                        George Carlin      147   historical   35025930     87         87   8.61E‐05   8.61E‐05   0.00749311   0     0.0000465   0.0075396


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299     Backwards                                                          Andrew Dice Clay   108   historical   33923860     20         20   8.61E‐05   8.61E‐05   0.00172255   0     0.0000107   0.0017332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20778772   USSM18900308     Dogs & Birds (Live at Dangerfield's/1989)                          Andrew Dice Clay   169   historical   33901254      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   71    historical   33923858      8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306     Filthy In Bed                                                      Andrew Dice Clay   100   historical   33923871     19         19   8.61E‐05   8.61E‐05   0.00163643   0     0.0000102   0.0016466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                           ANDREW DICE CLAY   128623771   100   20778741   USSM18900282     Holiday Season (Live At Dangerfield's/1989)                        Andrew Dice Clay   111   historical   33901222      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                                    ANDREW DICE CLAY   128623771   100   20966173   USSM19100213     Dice Does It Like Dis (Live At Govenors/1991)                      Andrew Dice Clay   59    historical   33946316     12         12   8.61E‐05   8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                 George Carlin      99    historical   35049773    258        258   8.61E‐05   8.61E‐05   0.02222095   0   0.000137897   0.0223588


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                            George Carlin      54    historical   35026251    106        106   8.61E‐05   8.61E‐05   0.00912954   0     0.0000567   0.0091862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620     The Honeymoon's Over                                               Andrew Dice Clay   55    historical   34274340      4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308     Smokin' For Your Health                                            Andrew Dice Clay   37    historical   33923874     13         13   8.61E‐05   8.61E‐05   0.00111966   0    0.00000695   0.0011266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                                  Andrew Dice Clay   231   historical   33923866     31         31   8.61E‐05   8.61E‐05   0.00266996   0   0.000016569   0.0026865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                         ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616     Sid/All Bound Up                                                   Andrew Dice Clay   16    historical   34274336      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                           ANDREW DICE CLAY   128623771   100   21026277   USSM19303047     'Tis The Season                                                    Andrew Dice Clay   23    historical   33960386     11         11   8.61E‐05   8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216     Dice Rewrites History (Live At Govenors/1991)                      Andrew Dice Clay   135   historical   33946319     23         23   8.61E‐05   8.61E‐05   0.00198094   0     0.0000123   0.0019932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                     Andrew Dice Clay   29    historical   33923849     25         25   8.61E‐05   8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                          Andrew Dice Clay   111   historical   33946281     55         55   8.61E‐05   8.61E‐05   0.00473702   0     0.0000294   0.0047664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                                    George Carlin      94    historical   35027081     23         23   8.61E‐05   8.61E‐05   0.00198094   0     0.0000123   0.0019932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                            George Carlin      177   historical   35053072      3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704     The Hallway Groups                                                 George Carlin      127   historical   35734260     32         32   8.61E‐05   8.61E‐05   0.00275609   0     0.0000171   0.0027732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290     Handicaps, Cripples                                                Andrew Dice Clay   123   historical   33923846     22         22   8.61E‐05   8.61E‐05   0.00189481   0     0.0000118   0.0019066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                          ANDREW DICE CLAY   128623771   100   20966168   USSM19100208     Dice Vs. PeeWee (Live At Govenors/1991)                            Andrew Dice Clay   30    historical   33946311     18         18   8.61E‐05   8.61E‐05    0.0015503   0    0.00000962   0.0015599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20746959   USSM18900268     Smokin'                                                            Andrew Dice Clay   131   historical   33893719      8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                        George Carlin      828   historical   35031770     16       44.8   8.61E‐05   8.61E‐05   0.00385852   0     0.0000239   0.0038825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                       George Carlin      229   historical   35049943    290        290   8.61E‐05   8.61E‐05   0.02497703   0   0.000155001    0.025132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                               Andrew Dice Clay   178   historical   33960410      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                         George Carlin      173   historical   35053060     15         15   8.61E‐05   8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                              ANDREW DICE CLAY   128623771   100   20778752   USSM18900292     Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)         Andrew Dice Clay   169   historical   33901233      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054     Critics                                                            Andrew Dice Clay   202   historical   33960397     34         34   8.61E‐05   8.61E‐05   0.00292834   0     0.0000182   0.0029465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                           Andrew Dice Clay   180   historical   33960429     35         35   8.61E‐05   8.61E‐05   0.00301447   0   0.000018707   0.0030332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                  GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                                George Carlin      145   historical   35026477     10         10   8.61E‐05   8.61E‐05   0.00086128   0    0.00000534   0.0008666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                                      George Carlin      182   historical   35053078     11         11   8.61E‐05   8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                         George Carlin      203   historical   35036212     80         80   8.61E‐05   8.61E‐05   0.00689022   0     0.0000428    0.006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                  George Carlin      355   historical   35053059     54       64.8   8.61E‐05   8.61E‐05   0.00558108   0     0.0000346   0.0056157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                   George Carlin      486   historical   35027086     71      127.8   8.61E‐05   8.61E‐05   0.01100712   0     0.0000683   0.0110754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                 Andrew Dice Clay   110   historical   33960426     26         26   8.61E‐05   8.61E‐05   0.00223932   0     0.0000139   0.0022532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)              Robin Williams     130   historical   34142604   3695       3695   8.61E‐05   8.61E‐05   0.31824185   0   0.001974923   0.3202168


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                            Andrew Dice Clay   79    historical   33946310     97         97   8.61E‐05   8.61E‐05   0.00835439   0     0.0000518   0.0084062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                 ANDREW DICE CLAY   128623771   100   21026292   USSM19303059     Dr. Dice                                                           Andrew Dice Clay   20    historical   33960404      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                        ANDREW DICE CLAY   128623771   100   20746954   USSM18900263     What If The Chick Gets Pregnant...                                 Andrew Dice Clay   100   historical   33893714     19         19   8.61E‐05   8.61E‐05   0.00163643   0     0.0000102   0.0016466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   33946289     34         34   8.61E‐05   8.61E‐05   0.00292834   0     0.0000182   0.0029465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                       George Carlin      42    historical   35026247    104        104   8.61E‐05   8.61E‐05   0.00895728   0     0.0000556   0.0090129


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   51923450   US4LA0704609     Let's Make a Deal                                                  George Carlin      288   historical   35729085    346        346   8.61E‐05   8.61E‐05   0.02980018   0   0.000184932   0.0299851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                         Andrew Dice Clay   126   historical   33960402      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   33946279     72         72   8.61E‐05   8.61E‐05   0.00620119   0     0.0000385   0.0062397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                          Andrew Dice Clay   99    historical   33923843     19         19   8.61E‐05   8.61E‐05   0.00163643   0     0.0000102   0.0016466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283     Birds                                                              Andrew Dice Clay   59    historical   33923835     14         14   8.61E‐05   8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                                 Andrew Dice Clay   78    historical   33923842     68         68   8.61E‐05   8.61E‐05   0.00585668   0   0.000036345    0.005893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                                 Andrew Dice Clay   255   historical   33960409     41         41   8.61E‐05   8.61E‐05   0.00353124   0     0.0000219   0.0035532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                              ANDREW DICE CLAY   128623771   100   21026300   USSM19303067     Talk To 'Em                                                        Andrew Dice Clay   32    historical   33960417      3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Q1 MULTIPLE SCLEROSIS                                                         ANDREW DICE CLAY   128623771   100   20778781   USSM18900317     Multiple Sclerosis (Live at Dangerfield's/1989)                    Andrew Dice Clay   26    historical   33901264      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                              Andrew Dice Clay   65    historical   33960415      8          8   8.61E‐05   8.61E‐05   0.00068902   0    0.00000428   0.0006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                              Robin Williams     223   historical   33811005    432        432   8.61E‐05   8.61E‐05   0.03720717   0   0.000230898   0.0374381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                GEORGE CARLIN      473337545   100   51648298   USZQE0610780     Capt. Jack & Jolly George                                          George Carlin      241   historical   35721633      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                                                         ANDREW DICE CLAY   128623771   100   20778775   USSM18900311     A History Lesson (Live at Dangerfield's/1989)                      Andrew Dice Clay   120   historical   33901257      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                              ANDREW DICE CLAY   128623771   100   20778746   USSM18900287     The Divider (Live At Dangerfield's/1989)                           Andrew Dice Clay   131   historical   33901227      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   33923854     73         73   8.61E‐05   8.61E‐05   0.00628732   0      0.000039   0.0063263


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   35025928     84      285.6   8.61E‐05   8.61E‐05   0.02459807   0   0.000152649   0.0247507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                   ANDREW DICE CLAY   128623771   100   20872382   USSM19000304     Action                                                             Andrew Dice Clay   21    historical   33923869      5          5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   33893731     92         92   8.61E‐05   8.61E‐05   0.00792375   0     0.0000492   0.0079729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                          Andrew Dice Clay   154   historical   33946293     49         49   8.61E‐05   8.61E‐05   0.00422026   0     0.0000262   0.0042464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                      George Carlin      310   historical   35053086      7        8.4   8.61E‐05   8.61E‐05   0.00072347   0    0.00000449    0.000728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                            Andrew Dice Clay   190   historical   34274355      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   33946301     26         26   8.61E‐05   8.61E‐05   0.00223932   0     0.0000139   0.0022532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778     Mothers Club                                                       George Carlin      279   historical   35721631     18         18   8.61E‐05   8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   71    historical   33923859      5          5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                                ANDREW DICE CLAY   128623771   100   20966160   USSM19100201     "What A Mess" (Live At Govenors/1991)                              Andrew Dice Clay   50    historical   33946303     17         17   8.61E‐05   8.61E‐05   0.00146417   0    0.00000909   0.0014733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                    George Carlin      25    historical   35027093     14         14   8.61E‐05   8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   35036217     31       55.8   8.61E‐05   8.61E‐05   0.00480593   0     0.0000298   0.0048358
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                      ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626    My Cum                                                  Andrew Dice Clay   89    historical   34274346    4       4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                                  ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                            Andrew Dice Clay   330   historical   33960431   32    38.4   8.61E‐05   8.61E‐05    0.0033073   0     0.0000205   0.0033278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                                  ANDREW DICE CLAY   128623771   100   20872374   USSM19000320    The Urinal                                              Andrew Dice Clay   13    historical   33923856    3       3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                               ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                           Andrew Dice Clay   14    historical   33923873    9       9   8.61E‐05   8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                              ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                        Andrew Dice Clay   165   historical   33923890    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                                  ANDREW DICE CLAY   128623771   100   20746969   USSM18900278    Masturbation                                            Andrew Dice Clay   91    historical   33893729    7       7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                         ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                          Andrew Dice Clay   107   historical   33960428    4       4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                       ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                 Andrew Dice Clay   195   historical   33960421   16      16   8.61E‐05   8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                             ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)            Andrew Dice Clay   210   historical   33901230    4       4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                               ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                              Robin Williams     188   historical   33811007   466    466   8.61E‐05   8.61E‐05   0.04013551   0    0.00024907   0.0403846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                                GEORGE CARLIN      473337545   100   51648299   USZQE0610781    War Pictures                                            George Carlin      222   historical   35721634   10      10   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                                ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                            Andrew Dice Clay   41    historical   33923879    5       5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                               GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                      George Carlin      466   historical   35036215    2     3.2   8.61E‐05   8.61E‐05   0.00027561   0    0.00000171   0.0002773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                                  ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                            Andrew Dice Clay   207   historical   33893715   25      25   8.61E‐05   8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                               GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                              George Carlin      214   historical   35025862   311    311   8.61E‐05   8.61E‐05   0.02678572   0   0.000166225   0.0269519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                                ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                            Andrew Dice Clay   41    historical   33923878    2       2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                              GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                          George Carlin      316   historical   35721635   25      30   8.61E‐05   8.61E‐05   0.00258383   0      0.000016   0.0025999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                   GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                George Carlin      150   historical   35026873   54      54   8.61E‐05   8.61E‐05    0.0046509   0     0.0000289   0.0046798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                          GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                         George Carlin      127   historical   35053081    3       3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                                 GEORGE CARLIN      473337545   100   51648302   USZQE0610784    The Sickest                                             George Carlin      113   historical   35721637    3       3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                           GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                          George Carlin      244   historical   35053085   170    170   8.61E‐05   8.61E‐05   0.01464171   0     0.0000909   0.0147326


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                                                 ANDREW DICE CLAY   128623771   100   20778765   USSM18900301    Frozen Food (Live At Dangerfield's/1989)                Andrew Dice Clay   69    historical   33901247    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                                                 ANDREW DICE CLAY   128623771   100   20778754   USSM18900294    Jerkin' Off (Live At Dangerfield's/1989)                Andrew Dice Clay   80    historical   33901235    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                        ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                    Andrew Dice Clay   41    historical   33923845   19      19   8.61E‐05   8.61E‐05   0.00163643   0     0.0000102   0.0016466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                                                               ANDREW DICE CLAY   128623771   100   20778758   USSM18900298    What'll It Be (Live At Dangerfield's/1989)              Andrew Dice Clay   136   historical   33901239    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                              GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                          George Carlin      255   historical   35729060   538    538   8.61E‐05   8.61E‐05    0.0463367   0   0.000287553   0.0466243


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                                 GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                             George Carlin      391   historical   35729081   33    46.2   8.61E‐05   8.61E‐05    0.0039791   0     0.0000247   0.0040038


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                               ANDREW DICE CLAY   128623771   100   20778768   USSM18900304    Turn‐On Words (Live at Dangerfield's/1989)              Andrew Dice Clay   34    historical   33901250    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                         ANDREW DICE CLAY   128623771   100   20966175   USSM19100215    Dice Greeting Cards (Live At Govenors/1991)             Andrew Dice Clay   43    historical   33946318   12      12   8.61E‐05   8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                           ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                       Andrew Dice Clay   90    historical   33923884    7       7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                       George Carlin      93    historical   35026255   87      87   8.61E‐05   8.61E‐05   0.00749311   0     0.0000465   0.0075396


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                           George Carlin      336   historical   35036208   59    70.8   8.61E‐05   8.61E‐05   0.00609784   0     0.0000378   0.0061357


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                                  ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623    Home Or Office, You Decide                              Andrew Dice Clay   44    historical   34274343    5       5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                              ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                          Andrew Dice Clay   140   historical   33960424    4       4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                             ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                            Robin Williams     76    historical   33811008   177    177   8.61E‐05   8.61E‐05    0.0152446   0     0.0000946   0.0153392


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                                  GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                 George Carlin      112   historical   35026876   50      50   8.61E‐05   8.61E‐05   0.00430639   0     0.0000267   0.0043331


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                         GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                        George Carlin      430   historical   35053068    9    14.4   8.61E‐05   8.61E‐05   0.00124024   0     0.0000077   0.0012479


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                                  GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                            George Carlin      285   historical   35734259   283    283   8.61E‐05   8.61E‐05   0.02437414   0   0.000151259   0.0245254


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                             GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                        George Carlin      214   historical   35721636   12      12   8.61E‐05   8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                              ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627    Grocery‐Part 1                                          Andrew Dice Clay   31    historical   34274347    4       4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                                 ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                             Andrew Dice Clay   28    historical   33923877    6       6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                           ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                       Andrew Dice Clay   32    historical   33923853   25      25   8.61E‐05   8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                        ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)            Andrew Dice Clay   189   historical   33946314   124    124   8.61E‐05   8.61E‐05   0.01067984   0     0.0000663   0.0107461


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                                  ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)      Andrew Dice Clay   60    historical   33946276   74      74   8.61E‐05   8.61E‐05   0.00637345   0     0.0000396    0.006413


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                           GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                        George Carlin      65    historical   35027095   12      12   8.61E‐05   8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                      GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                     George Carlin      54    historical   35049770   332    332   8.61E‐05   8.61E‐05    0.0285944   0   0.000177449   0.0287718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                     GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                    George Carlin      175   historical   35026256   96      96   8.61E‐05   8.61E‐05   0.00826826   0     0.0000513   0.0083196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                            George Carlin      192   historical   35026249   121    121   8.61E‐05   8.61E‐05   0.01042145   0     0.0000647   0.0104861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                             ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   72    historical   33923864   15      15   8.61E‐05   8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                                  ANDREW DICE CLAY   128623771   100   20872374   USSM19000320    The Urinal                                              Andrew Dice Clay   13    historical   33923855    6       6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                         ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                   Andrew Dice Clay   468   historical   33960425   24    38.4   8.61E‐05   8.61E‐05    0.0033073   0     0.0000205   0.0033278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                                  ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                              Andrew Dice Clay   65    historical   33923847   31      31   8.61E‐05   8.61E‐05   0.00266996   0   0.000016569   0.0026865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O39 WHAT DID SHE SAY?                                                             ANDREW DICE CLAY   128623771   100   20778779   USSM18900315    What Did She Say? (Live at Dangerfield's/1989)          Andrew Dice Clay   75    historical   33901261    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                               ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                           Andrew Dice Clay   151   historical   34274354    2       2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                    ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                Andrew Dice Clay   48    historical   33923875   15      15   8.61E‐05   8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                           GEORGE CARLIN      473337545   100   52042526   US4LA0703708    Childhood Cliches                                       George Carlin      244   historical   35734264   25      25   8.61E‐05   8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                   GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                George Carlin      64    historical   35026242   115    115   8.61E‐05   8.61E‐05   0.00990469   0     0.0000615   0.0099662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                                ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)               Andrew Dice Clay   217   historical   33901259    2       2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                                  GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                 George Carlin      586   historical   35036214   40      80   8.61E‐05   8.61E‐05   0.00689022   0     0.0000428    0.006933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                                 GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                George Carlin      69    historical   35026253   102    102   8.61E‐05   8.61E‐05   0.00878503   0     0.0000545   0.0088395


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                               ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                           Andrew Dice Clay   60    historical   33923852   16      16   8.61E‐05   8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                      George Carlin      263   historical   35053062   20      20   8.61E‐05   8.61E‐05   0.00172255   0     0.0000107   0.0017332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                                    ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                Andrew Dice Clay   232   historical   33960414   35      35   8.61E‐05   8.61E‐05   0.00301447   0   0.000018707   0.0030332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                             GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                            George Carlin      68    historical   35026239   129    129   8.61E‐05   8.61E‐05   0.01111047   0     0.0000689   0.0111794


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                              ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                          Andrew Dice Clay   50    historical   33923888    5       5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                          ANDREW DICE CLAY   128623771   100   20746956   USSM18900265    A Day At The Beach                                      Andrew Dice Clay   158   historical   33893716   16      16   8.61E‐05   8.61E‐05   0.00137804   0    0.00000855   0.0013866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                        GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                       George Carlin      69    historical   35027085   20      20   8.61E‐05   8.61E‐05   0.00172255   0     0.0000107   0.0017332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                   ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                               Andrew Dice Clay   139   historical   33923838   13      13   8.61E‐05   8.61E‐05   0.00111966   0    0.00000695   0.0011266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                    GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo   George Carlin      221   historical   35053074    3       3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                    ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                Andrew Dice Clay   304   historical   34274356   16    19.2   8.61E‐05   8.61E‐05   0.00165365   0     0.0000103   0.0016639


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                  GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                              George Carlin      51    historical   35026248   102    102   8.61E‐05   8.61E‐05   0.00878503   0     0.0000545   0.0088395


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                                 ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                             Andrew Dice Clay   78    historical   33923834   17      17   8.61E‐05   8.61E‐05   0.00146417   0    0.00000909   0.0014733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                        ANDREW DICE CLAY   128623771   100   20778750   USSM18900291    Kids (Live At Dangerfield's/1989)                       Andrew Dice Clay   119   historical   33901231    2       2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                        ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619    The Honeymoon                                           Andrew Dice Clay   113   historical   34274339    5       5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                                 ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                           Andrew Dice Clay   32    historical   33923882   47      47   8.61E‐05   8.61E‐05     0.004048   0     0.0000251   0.0040731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                               George Carlin      153   historical   35026250   117    117   8.61E‐05   8.61E‐05   0.01007694   0     0.0000625   0.0101395


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                             GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                            George Carlin      426   historical   35053083   12    19.2   8.61E‐05   8.61E‐05   0.00165365   0     0.0000103   0.0016639


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                          ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)              Andrew Dice Clay   85    historical   33946307   38      38   8.61E‐05   8.61E‐05   0.00327285   0     0.0000203   0.0032932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                       GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                      George Carlin      61    historical   35026870   139    139   8.61E‐05   8.61E‐05   0.01197175   0     0.0000743    0.012046


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                    ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)        Andrew Dice Clay   67    historical   33946297   38      38   8.61E‐05   8.61E‐05   0.00327285   0     0.0000203   0.0032932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293    1990 (Live At Dangerfield's/1989)                       Andrew Dice Clay   133   historical   33901234    1       1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                           GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                          George Carlin      288   historical   35053067    5       5   8.61E‐05   8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                                                ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                          Andrew Dice Clay   82    historical   34274349    3       3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 38 of 86 Page ID
                                                                                                                                                                                                                                              #:4491
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                             Andrew Dice Clay   330   historical   33960432     34       40.8   8.61E‐05   8.61E‐05   0.00351401   0   0.000021807   0.0035358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                     GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                       George Carlin      15    historical   35027097     13         13   8.61E‐05   8.61E‐05   0.00111966   0    0.00000695   0.0011266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                        ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                       Andrew Dice Clay   108   historical   33960422      7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                              ANDREW DICE CLAY   128623771   100   20746960   USSM18900269    The Attitude                                             Andrew Dice Clay   114   historical   33893720      7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                 ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                              Andrew Dice Clay   33    historical   34274325     55         55   8.61E‐05   8.61E‐05   0.00473702   0     0.0000294   0.0047664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                               ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                 Andrew Dice Clay   264   historical   33901248      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XAJ   SILENCE IS GOLDEN                                         ANDREW DICE CLAY   128623771   100   20778783   USSM18900319    Silence Is Golden (Live at Dangerfield's/1989)           Andrew Dice Clay   17    historical   33901266      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                                           ANDREW DICE CLAY   128623771   100   20746964   USSM18900273    Couples In Love                                          Andrew Dice Clay   211   historical   33893724      7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                  ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                 Andrew Dice Clay   54    historical   33923886     12         12   8.61E‐05   8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                               ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)      Andrew Dice Clay   166   historical   33946306     42         42   8.61E‐05   8.61E‐05   0.00361736   0     0.0000224   0.0036398


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                 ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                Andrew Dice Clay   108   historical   33923861     11         11   8.61E‐05   8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                  ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                 Andrew Dice Clay   33    historical   33923840     23         23   8.61E‐05   8.61E‐05   0.00198094   0     0.0000123   0.0019932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                        GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                          George Carlin      189   historical   35030473    244        244   8.61E‐05   8.61E‐05   0.02101516   0   0.000130414   0.0211456


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                            ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                         Andrew Dice Clay   239   historical   34274334      9          9   8.61E‐05   8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                         GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                        George Carlin      296   historical   35729059    279        279   8.61E‐05   8.61E‐05   0.02402963   0   0.000149121   0.0241788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                     ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                    Andrew Dice Clay   180   historical   33923870     46         46   8.61E‐05   8.61E‐05   0.00396187   0     0.0000246   0.0039865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                               ANDREW DICE CLAY   128623771   100   20778780   USSM18900316    Double Date (Live at Dangerfield's/1989)                 Andrew Dice Clay   146   historical   33901263      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                  ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)         Andrew Dice Clay   98    historical   33946317     35         35   8.61E‐05   8.61E‐05   0.00301447   0   0.000018707   0.0030332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                  ANDREW DICE CLAY   128623771   100   20778767   USSM18900303    Hot Mama (Live at Dangerfield's/1989)                    Andrew Dice Clay   139   historical   33901249      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                   ANDREW DICE CLAY   128623771   100   20872402   USSM19000312    A Vibrant Beautiful Woman                                Andrew Dice Clay   35    historical   33923880      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                            GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                           George Carlin      173   historical   35729077     58         58   8.61E‐05   8.61E‐05   0.00499541   0      0.000031   0.0050264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                  ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                                 Andrew Dice Clay   151   historical   33893728     13         13   8.61E‐05   8.61E‐05   0.00111966   0    0.00000695   0.0011266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                             GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                            George Carlin      167   historical   35721632     11         11   8.61E‐05   8.61E‐05    0.0004737   0    0.00000294   0.0004766


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                   Robin Williams     246   historical   33811013    433        433   8.61E‐05   8.61E‐05   0.03729329   0   0.000231432   0.0375247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO   GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                 George Carlin      286   historical   35031769    290        290   8.61E‐05   8.61E‐05   0.02497703   0   0.000155001    0.025132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                   ANDREW DICE CLAY   128623771   100   20872402   USSM19000312    A Vibrant Beautiful Woman                                Andrew Dice Clay   35    historical   33923881      3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                 ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628    Fish Tank                                                Andrew Dice Clay   28    historical   34274348      4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                       ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                           Andrew Dice Clay   107   historical   33960427      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                   ANDREW DICE CLAY   128623771   100   20778764   USSM18900300    Concave (Live At Dangerfield's/1989)                     Andrew Dice Clay   67    historical   33901246      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                       GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                         George Carlin      86    historical   35027089     38         38   8.61E‐05   8.61E‐05   0.00327285   0     0.0000203   0.0032932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                      GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                        George Carlin      53    historical   35027091     15         15   8.61E‐05   8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                               ANDREW DICE CLAY   128623771   100   20778782   USSM18900318    How Are Ya? (Live at Dangerfield's/1989)                 Andrew Dice Clay   50    historical   33901265      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                          ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)            Andrew Dice Clay   231   historical   33901251      3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                              GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                             George Carlin      269   historical   35729083     72         72   8.61E‐05   8.61E‐05   0.00620119   0     0.0000385   0.0062397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                           GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                           George Carlin      222   historical   35053079      4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                    GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                    George Carlin      521   historical   35049942     63      113.4   8.61E‐05   8.61E‐05   0.00976688   0     0.0000606   0.0098275


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                  ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                 Andrew Dice Clay   227   historical   34274342     25         25   8.61E‐05   8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)            Robin Williams     517   historical   34142608   7597    13674.6   8.61E‐05   8.61E‐05   1.17776185   0   0.007308873   1.1850707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                 ANDREW DICE CLAY   128623771   100   20778747   USSM18900288    Personal Delivery Service (Live At Dangerfield's/1989)   Andrew Dice Clay   232   historical   33901228      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                         ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630    Rita's As* Funnel                                        Andrew Dice Clay   101   historical   34274350      3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                    ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)           Andrew Dice Clay   63    historical   33946312     28         28   8.61E‐05   8.61E‐05   0.00241158   0      0.000015   0.0024265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                           ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617    Never Marry Her                                          Andrew Dice Clay   81    historical   34274337      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                    ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)           Andrew Dice Clay   108   historical   33946286     68         68   8.61E‐05   8.61E‐05   0.00585668   0   0.000036345    0.005893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                             GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                               George Carlin      70    historical   35026240    127        127   8.61E‐05   8.61E‐05   0.01093822   0     0.0000679   0.0110061


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                              ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                    Andrew Dice Clay   59    historical   33923836     10         10   8.61E‐05   8.61E‐05   0.00086128   0    0.00000534   0.0008666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                              GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                George Carlin      85    historical   35053084      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                          ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                         Andrew Dice Clay   129   historical   33960399     13         13   8.61E‐05   8.61E‐05   0.00111966   0    0.00000695   0.0011266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                       ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)      Andrew Dice Clay   198   historical   33901238      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                    ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                   Andrew Dice Clay   167   historical   33960419      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                          GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                         George Carlin      355   historical   35729069    126      151.2   8.61E‐05   8.61E‐05   0.01302251   0     0.0000808   0.0131033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                           ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)       Robin Williams     646   historical   34142613   4128     9081.6   8.61E‐05   8.61E‐05   0.78217732   0   0.004853982   0.7870313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                          ANDREW DICE CLAY   128623771   100   20966177   USSM19100217    Let Yourself Go (Live At Govenors/1991)                  Andrew Dice Clay   135   historical   33946320      7          7   8.61E‐05   8.61E‐05   0.00060289   0    0.00000374   0.0006066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                   GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                  George Carlin      126   historical   35729066     47         47   8.61E‐05   8.61E‐05     0.004048   0     0.0000251   0.0040731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)                Andrew Dice Clay   200   historical   33901255      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                       GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                         George Carlin      158   historical   35053082      4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                           ANDREW DICE CLAY   128623771   100   20746967   USSM18900276    Joey                                                     Andrew Dice Clay   127   historical   33893727      6          6   8.61E‐05   8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                      ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                     Andrew Dice Clay   79    historical   33960406      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                      GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                        George Carlin      275   historical   35025936    498        498   8.61E‐05   8.61E‐05    0.0428916   0   0.000266174   0.0431578


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                     ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)       Andrew Dice Clay   186   historical   33901225      4          4   8.61E‐05   8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                    GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                      George Carlin      149   historical   35026877    211        211   8.61E‐05   8.61E‐05   0.01817295   0   0.000112776   0.0182857


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                       GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                      George Carlin      429   historical   35729086     80        128   8.61E‐05   8.61E‐05   0.01102435   0     0.0000684   0.0110928


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                         ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633    Fat As* House Mix                                        Andrew Dice Clay   146   historical   34274353      3          3   8.61E‐05   8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                        GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                       George Carlin      577   historical   35542393     57        114   8.61E‐05   8.61E‐05   0.00981856   0     0.0000609   0.0098795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                        GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                          George Carlin      157   historical   35027087     37         37   8.61E‐05   8.61E‐05   0.00318673   0   0.000019776   0.0032065


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                    GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                      George Carlin      192   historical   35036211     40         40   8.61E‐05   8.61E‐05   0.00344511   0     0.0000214   0.0034665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                     ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                   Robin Williams     406   historical   34142614   11290     15806   8.61E‐05   8.61E‐05   1.36133443   0   0.008448075   1.3697825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                    ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                   Andrew Dice Clay   167   historical   33960418     11         11   8.61E‐05   8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                           ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                  Andrew Dice Clay   126   historical   33946299     55         55   8.61E‐05   8.61E‐05   0.00473702   0     0.0000294   0.0047664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                              ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606    Dice Funk‐Up                                             Andrew Dice Clay   89    historical   34274326     43         43   8.61E‐05   8.61E‐05   0.00370349   0      0.000023   0.0037265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                      ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                     Andrew Dice Clay   178   historical   33960411     14         14   8.61E‐05   8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                   ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                   Andrew Dice Clay   200   historical   33893730     98         98   8.61E‐05   8.61E‐05   0.00844052   0     0.0000524   0.0084929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                      ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                     Andrew Dice Clay   41    historical   33923844     17         17   8.61E‐05   8.61E‐05   0.00146417   0    0.00000909   0.0014733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                           GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                             George Carlin      419   historical   35026871    475        665   8.61E‐05   8.61E‐05   0.05727492   0   0.000355433   0.0576304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                         GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                      George Carlin      351   historical   35542391    178      213.6   8.61E‐05   8.61E‐05   0.01839688   0   0.000114166    0.018511


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                        ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                                  Andrew Dice Clay   17    historical   33960401      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                                       ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                       Andrew Dice Clay   185   historical   33901224      1          1   8.61E‐05   8.61E‐05     8.61E‐05   0   0.000000535    8.67E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                         ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)       Robin Williams     405   historical   34142612   12040     16856   8.61E‐05   8.61E‐05   1.45176851   0   0.009009285   1.4607778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                             ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)    Andrew Dice Clay   173   historical   33946291     73         73   8.61E‐05   8.61E‐05   0.00628732   0      0.000039   0.0063263


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                             ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                            Andrew Dice Clay   29    historical   33923862     13         13   8.61E‐05   8.61E‐05   0.00111966   0    0.00000695   0.0011266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                        GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                          George Carlin      321   historical   35053061     14       16.8   8.61E‐05   8.61E‐05   0.00144695   0    0.00000898   0.0014559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                              GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                             George Carlin      85    historical   35734263    184        184   8.61E‐05   8.61E‐05    0.0158475   0     0.0000983   0.0159458


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                            ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                         Andrew Dice Clay   165   historical   33923889      2          2   8.61E‐05   8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                           ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                             Robin Williams     192   historical   33811016    383        383   8.61E‐05   8.61E‐05   0.03298691   0   0.000204708   0.0331916
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                                                                                                                                                                                                                                              #:4492
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                 ANDREW DICE CLAY   128623771   100   20778745   USSM18900286    The Gift (Live At Dangerfield's/1989)               Andrew Dice Clay   101   historical   33901226     2        2     8.61E‐05      8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                ANDREW DICE CLAY   128623771   100   21026284   USSM19303051    The Notes                                           Andrew Dice Clay   48    historical   33960393     9        9     8.61E‐05      8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                     George Carlin      191   historical   35031773   201      201     8.61E‐05      8.61E‐05   0.01731167   0   0.000107432   0.0174191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                      Andrew Dice Clay   114   historical   33960412     4        4     8.61E‐05      8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                              Robin Williams     81    historical   33811012   244      244     8.61E‐05      8.61E‐05   0.02101516   0   0.000130414   0.0211456


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                    George Carlin      174   historical   35729067    36       36     8.61E‐05      8.61E‐05    0.0031006   0     0.0000192   0.0031198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                          Andrew Dice Clay   126   historical   33960403     3        3     8.61E‐05      8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                            Andrew Dice Clay   180   historical   33960430    18       18     8.61E‐05      8.61E‐05    0.0015503   0    0.00000962   0.0015599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                                           ANDREW DICE CLAY   128623771   100   20746965   USSM18900274    When I Was Young                                    Andrew Dice Clay   129   historical   33893725     6        6     8.61E‐05      8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                              ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613    Banana Nose                                         Andrew Dice Clay   33    historical   34274333     5        5     8.61E‐05      8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                   Andrew Dice Clay   462   historical   34274327   126    201.6     8.61E‐05      8.61E‐05   0.01736334   0   0.000107752   0.0174711


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                         George Carlin      500   historical   35542392   126    226.8     8.61E‐05      8.61E‐05   0.01953376   0   0.000121221    0.019655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                        ANDREW DICE CLAY   128623771   100   20746957   USSM18900266    Moby And The Japs                                   Andrew Dice Clay   51    historical   33893717    14       14     8.61E‐05      8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                 ANDREW DICE CLAY   128623771   100   20746963   USSM18900272    Speedin'                                            Andrew Dice Clay   86    historical   33893723     6        6     8.61E‐05      8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                               ANDREW DICE CLAY   128623771   100   20778740   USSM18900281    First Kiss (Live At Dangerfield's/1989)             Andrew Dice Clay   131   historical   33901221     3        3     8.61E‐05      8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                    George Carlin      340   historical   35030471   325      390     8.61E‐05      8.61E‐05    0.0335898   0   0.000208449   0.0337983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                             GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                           George Carlin      270   historical   35053065    11       11     8.61E‐05      8.61E‐05   0.00094741   0    0.00000588   0.0009533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                           ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                     Andrew Dice Clay   23    historical   33960387    14       14     8.61E‐05      8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                             ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632    My Statement                                        Andrew Dice Clay   62    historical   34274352     2        2     8.61E‐05      8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                            George Carlin      177   historical   35025932   189      189     8.61E‐05      8.61E‐05   0.01627814   0   0.000101018   0.0163792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                        George Carlin      456   historical   35542394    38     60.8     8.61E‐05      8.61E‐05   0.00523656   0     0.0000325   0.0052691


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)              Andrew Dice Clay   145   historical   33946309    47       47     8.61E‐05      8.61E‐05     0.004048   0     0.0000251   0.0040731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                     GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                   George Carlin      275   historical   35053076     3        3     8.61E‐05      8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                              GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                            George Carlin      391   historical   35053064    12     16.8     8.61E‐05      8.61E‐05   0.00144695   0    0.00000898   0.0014559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)          Andrew Dice Clay   149   historical   33946295    42       42     8.61E‐05      8.61E‐05   0.00361736   0     0.0000224   0.0036398


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                            Andrew Dice Clay   114   historical   33960398    18       18     8.61E‐05      8.61E‐05    0.0015503   0    0.00000962   0.0015599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                          GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                        George Carlin      119   historical   35053075     4        4     8.61E‐05      8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                            Andrew Dice Clay   33    historical   33923839    54       54     8.61E‐05      8.61E‐05    0.0046509   0     0.0000289   0.0046798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                George Carlin      288   historical   35036216     2        2     8.61E‐05      8.61E‐05   0.00017226   0   0.000001069   0.0001733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)         Andrew Dice Clay   339   historical   33901236     2      2.4     8.61E‐05      8.61E‐05   0.00020671   0    0.00000128    0.000208


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                     George Carlin      426   historical   35734262   330      528     8.61E‐05      8.61E‐05   0.04547543   0   0.000282208   0.0457576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                               ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618    For Who, For Her, For What                          Andrew Dice Clay   35    historical   34274338     5        5     8.61E‐05      8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                            GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                          George Carlin      310   historical   35053063    14     16.8     8.61E‐05      8.61E‐05   0.00144695   0    0.00000898   0.0014559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                          ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609    K2Y‐China Diner                                     Andrew Dice Clay   157   historical   34274329     9        9     8.61E‐05      8.61E‐05   0.00077515   0    0.00000481     0.00078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                  George Carlin      115   historical   35031777   142      142     8.61E‐05      8.61E‐05   0.01223013   0     0.0000759    0.012306


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                        George Carlin      126   historical   35053087     3        3     8.61E‐05      8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                           Andrew Dice Clay   139   historical   33923837    14       14     8.61E‐05      8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                      Robin Williams     111   historical   34161497   1074    1074     8.61E‐05      8.61E‐05   0.09250115   0   0.000574037   0.0930752


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)           Andrew Dice Clay   98    historical   33946284    68       68     8.61E‐05      8.61E‐05   0.00585668   0   0.000036345    0.005893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                     George Carlin      418   historical   35036209    63     88.2     8.61E‐05      8.61E‐05   0.00759646   0     0.0000471   0.0076436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                      Andrew Dice Clay   114   historical   33960413     5        5     8.61E‐05      8.61E‐05   0.00043064   0    0.00000267   0.0004333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                          GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                        George Carlin      147   historical   35053070     3        3     8.61E‐05      8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)        Andrew Dice Clay   73    historical   33946315   152      152     8.61E‐05      8.61E‐05   0.01309141   0     0.0000812   0.0131727


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                          ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624    The Pencil Room                                     Andrew Dice Clay   79    historical   34274344     4        4     8.61E‐05      8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                       George Carlin      252   historical   35053073     3        3     8.61E‐05      8.61E‐05   0.00025838   0     0.0000016     0.00026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                         Andrew Dice Clay   94    historical   33960392    15       15     8.61E‐05      8.61E‐05   0.00129192   0    0.00000802   0.0012999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                           GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                       George Carlin      26    historical   35027078    34       34     8.61E‐05      8.61E‐05   0.00292834   0     0.0000182   0.0029465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                   Andrew Dice Clay   231   historical   33923867    25       25     8.61E‐05      8.61E‐05   0.00215319   0     0.0000134   0.0021666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                       ANDREW DICE CLAY   128623771   100   20746958   USSM18900267    Doctors And Nurses                                  Andrew Dice Clay   98    historical   33893718    14       14     8.61E‐05      8.61E‐05   0.00120579   0    0.00000748   0.0012133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                      Andrew Dice Clay   50    historical   33923887     4        4     8.61E‐05      8.61E‐05   0.00034451   0    0.00000214   0.0003466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                    ANDREW DICE CLAY   128623771   100   20966162   USSM19100202    Dice On Redheaded Men (Live At Govenors/1991)       Andrew Dice Clay   42    historical   33946305    18       18     8.61E‐05      8.61E‐05    0.0015503   0    0.00000962   0.0015599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                              George Carlin      49    historical   35026252   108      108     8.61E‐05      8.61E‐05   0.00930179   0     0.0000577   0.0093595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)   Andrew Dice Clay   307   historical   33946313   145      174     8.61E‐05      8.61E‐05   0.01498622   0      0.000093   0.0150792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                             ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                        Andrew Dice Clay   15    historical   33960388    12       12     8.61E‐05      8.61E‐05   0.00103353   0    0.00000641   0.0010399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                   ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                            Andrew Dice Clay   55    historical   34274331     6        6     8.61E‐05      8.61E‐05   0.00051677   0    0.00000321     0.00052


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                    George Carlin      147   historical   35729068    39       39     8.61E‐05      8.61E‐05   0.00335898   0     0.0000208   0.0033798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                   GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                              George Carlin      369   historical   15702376    20       28 0.00015619     0.000156189   0.00437328   0     0.0000271   0.0044004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13              George Carlin      335   historical   15699887   332    398.4   0.00015619   0.000156189   0.06222558   0   0.000386155   0.0626117


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                         GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                    George Carlin      118   historical   12783492    12       12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                              GEORGE CARLIN      473337545   100   3446757                    Free Speech                                         George Carlin      183   historical   14657371    29       29 0.00015619     0.000156189   0.00452947   0     0.0000281   0.0045576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                   GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                              George Carlin      322   historical   14657323    27     32.4   0.00015619   0.000156189   0.00506051   0     0.0000314   0.0050919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                         GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                    George Carlin      484   historical   12783480    14     25.2   0.00015619   0.000156189   0.00393596   0     0.0000244   0.0039604


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                               GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                          George Carlin      164   historical   12783502     1        1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                          GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                   George Carlin      221   historical   14657326    71       71 0.00015619     0.000156189    0.0110894   0     0.0000688   0.0111582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                      GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                 George Carlin      246   historical   12783506   149      149 0.00015619     0.000156189   0.02327212   0   0.000144421   0.0234165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                             George Carlin      101   historical   14657321    27       27 0.00015619     0.000156189    0.0042171   0     0.0000262   0.0042433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                           GEORGE CARLIN      473337545   100   3446767                    Retired People                                      George Carlin      63    historical   14657391    37       37 0.00015619     0.000156189   0.00577898   0     0.0000359   0.0058148


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                              GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                       George Carlin      481   historical   12783473    20       36 0.00015619     0.000156189   0.00562279   0     0.0000349   0.0056577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                               George Carlin      38    historical   12783511     8        8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                               ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                          Andrew Dice Clay   131   historical   15748846    11       11 0.00015619     0.000156189   0.00171808   0     0.0000107   0.0017287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                             George Carlin      180   historical   14657353    11       11 0.00015619     0.000156189   0.00171808   0     0.0000107   0.0017287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                         GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                    George Carlin      74    historical   14657349     5        5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                             George Carlin      62    historical   12783501    40       40 0.00015619     0.000156189   0.00624755   0     0.0000388   0.0062863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                            GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                       George Carlin      250   historical   12783500   100      100 0.00015619     0.000156189   0.01561887   0     0.0000969   0.0157158


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                     GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                George Carlin      299   historical   12783513    66       66 0.00015619     0.000156189   0.01030845   0      0.000064   0.0103724


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                      GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                 George Carlin      174   historical   14657377    31       31 0.00015619     0.000156189   0.00484185   0       0.00003   0.0048719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                              GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                         George Carlin      42    historical   12783488    22       22 0.00015619     0.000156189   0.00343615   0     0.0000213   0.0034575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                             GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                        George Carlin      200   historical   14657351    71       71 0.00015619     0.000156189    0.0110894   0     0.0000688   0.0111582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                         GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                    George Carlin      450   historical   14657320   413    660.8   0.00015619   0.000156189   0.10320949   0    0.00064049     0.10385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                        GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                   George Carlin      157   historical   12783476    21       21 0.00015619     0.000156189   0.00327996   0     0.0000204   0.0033003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                               GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                          George Carlin      46    historical   12783508    14       14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                    George Carlin      183   historical   14657352   145      145 0.00015619     0.000156189   0.02264736   0   0.000140543   0.0227879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                               GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                          George Carlin      54    historical   14657338    34       34 0.00015619     0.000156189   0.00531042   0   0.000032955   0.0053434
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 40 of 86 Page ID
                                                                                                                                                                                                                                              #:4493
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                   Dogs Come In All Sizes                                                          George Carlin      152   historical   14657327      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                  The New Zodiac                                                                  George Carlin      74    historical   12783485     18         18 0.00015619     0.000156189    0.0028114   0     0.0000174   0.0028288


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                   Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   15488112   1096       1096 0.00015619     0.000156189   0.17118282   0   0.001062315   0.1722451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                  The "Pre" Epidemic                                                              George Carlin      46    historical   12783503      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                            1990   Andrew Dice Clay   132   historical   15748858      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                  Television Announcers                                                           George Carlin      441   historical   12783499    137      219.2   0.00015619   0.000156189   0.03423656   0   0.000212463    0.034449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                  More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   12783498     21         21 0.00015619     0.000156189   0.00327996   0     0.0000204   0.0033003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                   Religious People                                                                George Carlin      400   historical   14657355    150        210 0.00015619     0.000156189   0.03279963   0   0.000203546   0.0330032


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                   Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   15488114   2046       2046 0.00015619     0.000156189   0.31956208   0   0.001983116   0.3215452


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                   Rip‐Offs                                                                        George Carlin      165   historical   14657358      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                   Proud To Be An American / God Bless America                                     George Carlin      286   historical   15488115   1304       1304 0.00015619     0.000156189   0.20367007   0   0.001263922    0.204934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                  Anything But The Present                                                        George Carlin      334   historical   12783495     32       38.4   0.00015619   0.000156189   0.00599765   0     0.0000372   0.0060349


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                  A Place For Your Stuff                                                          George Carlin      595   historical   12783483     19         38 0.00015619     0.000156189   0.00593517   0     0.0000368    0.005972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                   Airlines                                                                        George Carlin      518   historical   14657331     42       75.6   0.00015619   0.000156189   0.01180787   0     0.0000733   0.0118811


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                  My Childhood                                                                    George Carlin      338   historical   12783512     15         18 0.00015619     0.000156189    0.0028114   0     0.0000174   0.0028288


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                   Latest Disaster                                                                 George Carlin      80    historical   14657385     27         27 0.00015619     0.000156189    0.0042171   0     0.0000262   0.0042433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                  Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   12783507     29       40.6   0.00015619   0.000156189   0.00634126   0     0.0000394   0.0063806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                  Language Of Comedy/Goodbye                                                      George Carlin      106   historical   12783514     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                   Quicksand                                                                       George Carlin      129   historical   14657389     24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                   Ugly Singers                                                                    George Carlin      121   historical   14657345     14         14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                   Secretary Of Being In The Closet                                                George Carlin      164   historical   14657347     13         13 0.00015619     0.000156189   0.00203045   0     0.0000126   0.0020431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                  Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   12783504     29       40.6   0.00015619   0.000156189   0.00634126   0     0.0000394   0.0063806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                  Hi Mom!                                                                         George Carlin      64    historical   12783486      7          7 0.00015619     0.000156189   0.00109332   0    0.00000678   0.0011001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                   A Proposition                                                                   George Carlin      100   historical   14657366     16         16 0.00015619     0.000156189   0.00249902   0     0.0000155   0.0025145


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                   Falling Asleep                                                                  George Carlin      59    historical   14657337     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                  Mental Brain Thoughts                                                           George Carlin      228   historical   12783484     57         57 0.00015619     0.000156189   0.00890276   0     0.0000552    0.008958


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                   The Evening News                                                                George Carlin      165   historical   14657324      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                   Opening / Old Fuck                                                              George Carlin      315   historical   15488106   1869     2242.8   0.00015619   0.000156189   0.35030002   0   0.002173868   0.3524739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                  # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   12783491      7          7 0.00015619     0.000156189   0.00109332   0    0.00000678   0.0011001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                  Sports Roundup                                                                  George Carlin      118   historical   12783490      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                  # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   12783478      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                  # What's My Motivation                                                          George Carlin      45    historical   12783494      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                   The Red Sox (Socks)                                                             George Carlin      188   historical   14657388     16         16 0.00015619     0.000156189   0.00249902   0     0.0000155   0.0025145


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                   Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   14657319     23         23 0.00015619     0.000156189   0.00359234   0     0.0000223   0.0036146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                  Food Terms                                                                      George Carlin      84    historical   12783471     55         55 0.00015619     0.000156189   0.00859038   0     0.0000533   0.0086437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                                   ANDREW DICE CLAY   128623771   100   21026284   USSM19303051   The Notes                                                                       Andrew Dice Clay   48    historical   13677395      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                             ANDREW DICE CLAY   128623771   100   20778749   USSM18900290   Under 2 Minutes (Live At Dangerfield's/1989)                                    Andrew Dice Clay   209   historical   13614582      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                      GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                                            George Carlin      54    historical   14846530    354        354 0.00015619     0.000156189    0.0552908   0    0.00034312   0.0556339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                              GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                                    George Carlin      203   historical   14831292     98         98 0.00015619     0.000156189   0.01530649   0   0.000094988   0.0154015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                          GEORGE CARLIN      473337545   100   45268811   USRC10503014   Commercials                                                                     George Carlin      500   historical   15380743    119      214.2   0.00015619   0.000156189   0.03345562   0   0.000207617   0.0336632


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                      GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                              George Carlin      486   historical   14821147    157      282.6   0.00015619   0.000156189   0.04413893   0   0.000273914   0.0444128


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                               ANDREW DICE CLAY   128623771   100   20872378   USSM19000300   Shakin' Hands                                                                   Andrew Dice Clay   29    historical   13638894     12         12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                               ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634   Sid/In Toilet                                                                   Andrew Dice Clay   151   historical   14006068      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                                ANDREW DICE CLAY   128623771   100   21026294   USSM19303061   Film & Video                                                                    Andrew Dice Clay   106   historical   13677405     18         18 0.00015619     0.000156189    0.0028114   0     0.0000174   0.0028288


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                               GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                                     George Carlin      214   historical   14819838    388        388 0.00015619     0.000156189   0.06060122   0   0.000376075   0.0609773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                   Nice Days                                                                       George Carlin      154   historical   14657340     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                   Death And Dying (Part 2)                                                        George Carlin      181   historical   14630968    164        164 0.00015619     0.000156189   0.02561495   0    0.00015896   0.0257739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                  Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   12783469     35         49 0.00015619     0.000156189   0.00765325   0   0.000047494   0.0077007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                   Bumper Sticker                                                                  George Carlin      173   historical   14657365      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                  First Time Human Sacrifice                                                      George Carlin      743   historical   12783496     14       36.4   0.00015619   0.000156189   0.00568527   0     0.0000353   0.0057206


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                   Asylums                                                                         George Carlin      301   historical   14657322     44       52.8   0.00015619   0.000156189   0.00824676   0     0.0000512   0.0082979


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                   Euphamistic Language                                                            George Carlin      487   historical   14657356    202      363.6   0.00015619   0.000156189   0.05679021   0   0.000352425   0.0571426


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                                                       ANDREW DICE CLAY   128623771   100   20746966   USSM18900275   Shampoo                                                                         Andrew Dice Clay   48    historical   13606730      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                         GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                               George Carlin      340   historical   14824862    368      441.6   0.00015619   0.000156189   0.06897293   0   0.000428028    0.069401


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                   GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                         George Carlin      389   historical   14821154    105        147 0.00015619     0.000156189   0.02295974   0   0.000142482   0.0231022


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                             GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                                   George Carlin      147   historical   14850177     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                     ANDREW DICE CLAY   128623771   100   20746970   USSM18900279   Hoggin                                                                          Andrew Dice Clay   200   historical   13606734     86         86 0.00015619     0.000156189   0.01343223   0     0.0000834   0.0135156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                             GEORGE CARLIN      473337545   100   52042524   US4LA0703706   New York Voices                                                                 George Carlin      426   historical   15594670    452      723.2   0.00015619   0.000156189   0.11295567   0   0.000700973   0.1136566


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                                  ANDREW DICE CLAY   128623771   100   20966133   USSM19100190   Dice Talks To The Salesmen (Live At Govenors/1991)                              Andrew Dice Clay   60    historical   13662694     83         83 0.00015619     0.000156189   0.01296366   0   0.000080449   0.0130441


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                                ANDREW DICE CLAY   128623771   100   20778770   USSM18900306   True Stories (Live at Dangerfield's/1989)                                       Andrew Dice Clay   41    historical   13614604      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                         ROBIN WILLIAMS     89045747    100   22454791   USQX91000083   Sarah Palin, The Clintons, And Jack (Explicit Audio)                            Robin Williams     324   historical   13870826   12033   14439.6   0.00015619   0.000156189   2.25530235   0     0.0139958   2.2692982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                                ANDREW DICE CLAY   128623771   100   20872370   USSM19000294   The Driveway                                                                    Andrew Dice Clay   19    historical   13638885      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                   GEORGE CARLIN      473337545   100   51648298   USZQE0610780   Capt. Jack & Jolly George                                                       George Carlin      241   historical   15580302     10         10 0.00015619     0.000156189   0.00156189   0    0.00000969   0.0015716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                           ANDREW DICE CLAY   128623771   100   20872372   USSM19000295   The Grocery Store                                                               Andrew Dice Clay   32    historical   13638887     17         17 0.00015619     0.000156189   0.00265521   0     0.0000165   0.0026717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                          ANDREW DICE CLAY   128623771   100   20966164   USSM19100204   Dice On Complaints (Live At Govenors/1991)                                      Andrew Dice Clay   85    historical   13662725     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                                    ANDREW DICE CLAY   128623771   100   20746968   USSM18900277   The Bait                                                                        Andrew Dice Clay   151   historical   13606732      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                              GEORGE CARLIN      473337545   100   51923442   US4LA0704602   The Hair Piece                                                                  George Carlin      173   historical   15588730     50         50 0.00015619     0.000156189   0.00780944   0     0.0000485   0.0078579


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                               ANDREW DICE CLAY   128623771   100   20872384   USSM19000306   Filthy In Bed                                                                   Andrew Dice Clay   99    historical   13638900     23         23 0.00015619     0.000156189   0.00359234   0     0.0000223   0.0036146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                                         ANDREW DICE CLAY   128623771   100   20778757   USSM18900297   While The Cats Away... (Live At Dangerfield's/1989)                             Andrew Dice Clay   198   historical   13614590      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                                                 ANDREW DICE CLAY   128623771   100   20778754   USSM18900294   Jerkin' Off (Live At Dangerfield's/1989)                                        Andrew Dice Clay   79    historical   13614587      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                            ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625   Old School Phone                                                                Andrew Dice Clay   419   historical   14006059    109      152.6   0.00015619   0.000156189    0.0238344   0    0.00014791   0.0239823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                                                         ANDREW DICE CLAY   128623771   100   20778743   USSM18900284   Texas (Live At Dangerfield's/1989)                                              Andrew Dice Clay   185   historical   13614576      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                    ANDREW DICE CLAY   128623771   100   20966174   USSM19100214   Dice Has Random Thoughts (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   13662735     42         42 0.00015619     0.000156189   0.00655993   0     0.0000407   0.0066006


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                     GEORGE CARLIN      473337545   100   51923449   US4LA0704608   Ed Sullivan Self Taught                                                         George Carlin      206   historical   15588737     65         65 0.00015619     0.000156189   0.01015227   0      0.000063   0.0102153


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                                   ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628   Fish Tank                                                                       Andrew Dice Clay   28    historical   14006062      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                                                ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629   Grocery‐Part 2                                                                  Andrew Dice Clay   82    historical   14006063      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                                ANDREW DICE CLAY   128623771   100   20872359   USSM19000283   Birds                                                                           Andrew Dice Clay   59    historical   13638874     34         34 0.00015619     0.000156189   0.00531042   0   0.000032955   0.0053434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                    ANDREW DICE CLAY   128623771   100   20872387   USSM19000309   The News                                                                        Andrew Dice Clay   48    historical   13638903     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                                    ANDREW DICE CLAY   128623771   100   21026288   USSM19303055   Pink Dot                                                                        Andrew Dice Clay   114   historical   13677399     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                          GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                                George Carlin      127   historical   14850188     13         13 0.00015619     0.000156189   0.00203045   0     0.0000126   0.0020431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                       ANDREW DICE CLAY   128623771   100   21026302   USSM19303069   Mad Max                                                                         Andrew Dice Clay   195   historical   13677413     56         56 0.00015619     0.000156189   0.00874657   0     0.0000543   0.0088008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                    ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636   Good 4 U                                                                        Andrew Dice Clay   304   historical   14006070      2        2.4   0.00015619   0.000156189   0.00037485   0    0.00000233   0.0003772


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                           ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607   He Said, She Said                                                               Andrew Dice Clay   462   historical   14006041     79      126.4   0.00015619   0.000156189   0.01974225   0   0.000122515   0.0198648
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 41 of 86 Page ID
                                                                                                                                                                                                                                              #:4494
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                                     GEORGE CARLIN      473337545   100   52042521   US4LA0703703     White Harlem                                                  George Carlin      285   historical   15594667    306        306 0.00015619     0.000156189   0.04779374   0   0.000296595   0.0480903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                               GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                  George Carlin      42    historical   14820255    133        133 0.00015619     0.000156189    0.0207731   0   0.000128912    0.020902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                                    GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                       George Carlin      69    historical   14820261    134        134 0.00015619     0.000156189   0.02092929   0   0.000129882   0.0210592


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                     GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                George Carlin      518   historical   14831297     29       52.2   0.00015619   0.000156189   0.00815305   0     0.0000506   0.0082036


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                      GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                       George Carlin      64    historical   14820250    156        156 0.00015619     0.000156189   0.02436544   0   0.000151205   0.0245166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                                 ANDREW DICE CLAY   128623771   100   21026277   USSM19303047     'Tis The Season                                               Andrew Dice Clay   23    historical   13677387     14         14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                                 GEORGE CARLIN      473337545   100   51923369   US4LA0703603     Nursery Rhymes                                                George Carlin      255   historical   15588714    581        581 0.00015619     0.000156189   0.09074564   0   0.000563143   0.0913088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                       George Carlin      177   historical   14819912    170        170 0.00015619     0.000156189   0.02655208   0   0.000164775   0.0267169


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                                 ANDREW DICE CLAY   128623771   100   20872411   USSM19000318     Brooklyn Bad Boy                                              Andrew Dice Clay   165   historical   13638914      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                             ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                            Andrew Dice Clay   108   historical   13677414     15         15 0.00015619     0.000156189   0.00234283   0   0.000014539   0.0023574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                             GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                George Carlin      191   historical   14826314    121        121 0.00015619     0.000156189   0.01889883   0   0.000117281   0.0190161


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                                     ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                  Andrew Dice Clay   330   historical   13677420     52       62.4   0.00015619   0.000156189   0.00974618   0     0.0000605   0.0098067


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                        GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                  George Carlin      229   historical   14846721    411        411 0.00015619     0.000156189   0.06419356   0   0.000398368   0.0645919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                                ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609     K2Y‐China Diner                                               Andrew Dice Clay   157   historical   14006043     10         10 0.00015619     0.000156189   0.00156189   0    0.00000969   0.0015716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                                  GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                     George Carlin      155   historical   14821145    157        157 0.00015619     0.000156189   0.02452163   0   0.000152175   0.0246738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                                     ANDREW DICE CLAY   128623771   100   20872374   USSM19000320     The Urinal                                                    Andrew Dice Clay   13    historical   13638889      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                             ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                            Andrew Dice Clay   255   historical   13677406     73         73 0.00015619     0.000156189   0.01140178   0     0.0000708   0.0114725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                                               ANDREW DICE CLAY   128623771   100   20778769   USSM18900305     Rhyme Renditions (Live at Dangerfield's/1989)                 Andrew Dice Clay   231   historical   13614603      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                         ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                Andrew Dice Clay   108   historical   13662704     47         47 0.00015619     0.000156189   0.00734087   0     0.0000456   0.0073864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                 George Carlin      315   historical   14850178     17       20.4   0.00015619   0.000156189   0.00318625   0   0.000019773    0.003206


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                      ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   13662731     91      109.2   0.00015619   0.000156189   0.01705581   0   0.000105844   0.0171617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                         GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                          George Carlin      521   historical   14846720     67      120.6   0.00015619   0.000156189   0.01883636   0   0.000116893   0.0189533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                                  GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                     George Carlin      70    historical   14820248    164        164 0.00015619     0.000156189   0.02561495   0    0.00015896   0.0257739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                           ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608     Sid And The Oriental                                          Andrew Dice Clay   197   historical   14006042     11         11 0.00015619     0.000156189   0.00171808   0     0.0000107   0.0017287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                                    ANDREW DICE CLAY   128623771   100   21026300   USSM19303067     Talk To 'Em                                                   Andrew Dice Clay   32    historical   13677411      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                     GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                                     George Carlin      51    historical   14820256    142        142 0.00015619     0.000156189    0.0221788   0   0.000137636   0.0223164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                                  ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)         Andrew Dice Clay   173   historical   13662709     65         65 0.00015619     0.000156189   0.01015227   0      0.000063   0.0102153


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                                              ANDREW DICE CLAY   128623771   100   20746957   USSM18900266     Moby And The Japs                                             Andrew Dice Clay   51    historical   13606721      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                                          ANDREW DICE CLAY   128623771   100   20778763   USSM18900299     Pizza (Live At Dangerfield's/1989)                            Andrew Dice Clay   108   historical   13614597      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                                      ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621     Road Call                                                     Andrew Dice Clay   82    historical   14006055      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                                        ANDREW DICE CLAY   128623771   100   20872402   USSM19000312     A Vibrant Beautiful Woman                                     Andrew Dice Clay   35    historical   13638906      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                               ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   13662719     35         35 0.00015619     0.000156189   0.00546661   0     0.0000339   0.0055005


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                   ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     369   historical   13870824   9129    12780.6   0.00015619   0.000156189    1.9961853   0   0.012387789   2.0085731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                                    ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                   Andrew Dice Clay   78    historical   13638873     48         48 0.00015619     0.000156189   0.00749706   0     0.0000465   0.0075436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                                     ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                     Andrew Dice Clay   199   historical   13614607      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                                   GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                      George Carlin      270   historical   14850172     21         21 0.00015619     0.000156189   0.00327996   0     0.0000204   0.0033003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                                GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                   George Carlin      326   historical   14831293     84      100.8   0.00015619   0.000156189   0.01574382   0     0.0000977   0.0158415


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                                     ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   13870827   12724   15268.8   0.00015619   0.000156189   2.38481402   0   0.014799515   2.3996135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                                 ANDREW DICE CLAY   128623771   100   21026277   USSM19303047     'Tis The Season                                               Andrew Dice Clay   23    historical   13677386     11         11 0.00015619     0.000156189   0.00171808   0     0.0000107   0.0017287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                                    GEORGE CARLIN      473337545   100   51648302   USZQE0610784     The Sickest                                                   George Carlin      113   historical   15580306      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                                 ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                Andrew Dice Clay   49    historical   13638912      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293     1990 (Live At Dangerfield's/1989)                             Andrew Dice Clay   132   historical   13614586      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                                     GEORGE CARLIN      473337545   100   51923370   US4LA0703604     Some Werds                                                    George Carlin      477   historical   15588715    586      937.6   0.00015619   0.000156189   0.14644253   0   0.000908783   0.1473513


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                              GEORGE CARLIN      473337545   100   51923450   US4LA0704609     Let's Make a Deal                                             George Carlin      288   historical   15588738    428        428 0.00015619     0.000156189   0.06684876   0   0.000414846   0.0672636


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                                  GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                     George Carlin      310   historical   14850170     34       40.8   0.00015619   0.000156189    0.0063725   0   0.000039546    0.006412


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                     ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                         Robin Williams     246   historical   13519555    543        543 0.00015619     0.000156189   0.08481046   0   0.000526311   0.0853368


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                              GEORGE CARLIN      473337545   100   52042526   US4LA0703708     Childhood Cliches                                             George Carlin      244   historical   15594672     23         23 0.00015619     0.000156189   0.00359234   0     0.0000223   0.0036146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                                     ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                    Andrew Dice Clay   126   historical   13677402     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                                ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                               Andrew Dice Clay   72    historical   13638895     27         27 0.00015619     0.000156189    0.0042171   0     0.0000262   0.0042433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                                 ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                   Andrew Dice Clay   339   historical   13614588      1        1.2   0.00015619   0.000156189   0.00018743   0    0.00000116   0.0001886


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                              ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                     Andrew Dice Clay   98    historical   13662702     71         71 0.00015619     0.000156189    0.0110894   0     0.0000688   0.0111582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                        GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                           George Carlin      145   historical   14820496     58         58 0.00015619     0.000156189   0.00905895   0     0.0000562   0.0091152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                                        GEORGE CARLIN      473337545   100   51923374   US4LA0703608     Gay Lib                                                       George Carlin      126   historical   15588719     45         45 0.00015619     0.000156189   0.00702849   0     0.0000436   0.0070721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                              GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                 George Carlin      131   historical   14820246    164        164 0.00015619     0.000156189   0.02561495   0    0.00015896   0.0257739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                         ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                Andrew Dice Clay   63    historical   13662730     34         34 0.00015619     0.000156189   0.00531042   0   0.000032955   0.0053434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                   GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                      George Carlin      85    historical   14850191     13         13 0.00015619     0.000156189   0.00203045   0     0.0000126   0.0020431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                            ANDREW DICE CLAY   128623771   100   20778756   USSM18900296     Laughter Vs. Comedy (Live At Dangerfield's/1989)              Andrew Dice Clay   67    historical   13614589      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                                          ANDREW DICE CLAY   128623771   100   20966162   USSM19100202     Dice On Redheaded Men (Live At Govenors/1991)                 Andrew Dice Clay   42    historical   13662723     21         21 0.00015619     0.000156189   0.00327996   0     0.0000204   0.0033003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                              ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633     Fat As* House Mix                                             Andrew Dice Clay   146   historical   14006067      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                          GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                             George Carlin      15    historical   14821159     28         28 0.00015619     0.000156189   0.00437328   0     0.0000271   0.0044004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                               GEORGE CARLIN      473337545   100   51923377   US4LA0703611     A Few More Farts                                              George Carlin      355   historical   15588722    127      152.4   0.00015619   0.000156189   0.02380316   0   0.000147716   0.0239509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                                   GEORGE CARLIN      473337545   100   51648296   USZQE0610778     Mothers Club                                                  George Carlin      273   historical   15580299      1          1 0.00015619     0.000156189     7.81E‐05   0   0.000000485   7.858E‐05


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                      ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   13638879     27         27 0.00015619     0.000156189    0.0042171   0     0.0000262   0.0042433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                          ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)            Andrew Dice Clay   186   historical   13614577      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                           ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                          Andrew Dice Clay   178   historical   13677407     24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                             GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                George Carlin      189   historical   14824864    256        256 0.00015619     0.000156189   0.03998431   0   0.000248132   0.0402324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                            GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                               George Carlin      25    historical   14821155     31         31 0.00015619     0.000156189   0.00484185   0       0.00003   0.0048719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                                       ANDREW DICE CLAY   128623771   100   20872408   USSM19000316     Ya Hear?                                                      Andrew Dice Clay   54    historical   13638910     17         17 0.00015619     0.000156189   0.00265521   0     0.0000165   0.0026717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                                                ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624     The Pencil Room                                               Andrew Dice Clay   79    historical   14006058      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                              GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                 George Carlin      288   historical   14850174     18         18 0.00015619     0.000156189    0.0028114   0     0.0000174   0.0028288


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                      ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                         Robin Williams     223   historical   13519547    632        632 0.00015619     0.000156189   0.09871126   0   0.000612576   0.0993238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                                GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                   George Carlin      119   historical   14850182     24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                              GEORGE CARLIN      473337545   100   45268810   USRC10503013     Wonderful Wino (Top‐40 Disc Jockey)                           George Carlin      351   historical   15380742    145        174 0.00015619     0.000156189   0.02717683   0   0.000168652   0.0273455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                                            ANDREW DICE CLAY   128623771   100   20966165   USSM19100205     Dice And Truckdrivers (Live At Govenors/1991)                 Andrew Dice Clay   23    historical   13662726     25         25 0.00015619     0.000156189   0.00390472   0     0.0000242   0.0039289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                               ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                              Andrew Dice Clay   129   historical   13677400     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                         ANDREW DICE CLAY   128623771   100   20872382   USSM19000304     Action                                                        Andrew Dice Clay   21    historical   13638898      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                                  ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                       Andrew Dice Clay   79    historical   13662728     73         73 0.00015619     0.000156189   0.01140178   0     0.0000708   0.0114725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                                   GEORGE CARLIN      473337545   100   51648299   USZQE0610781     War Pictures                                                  George Carlin      222   historical   15580303     13         13 0.00015619     0.000156189   0.00101523   0     0.0000063   0.0010215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                            GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                             George Carlin      115   historical   14826318    129        129 0.00015619     0.000156189   0.02014834   0   0.000125035   0.0202734


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                             ANDREW DICE CLAY   128623771   100   20746956   USSM18900265     A Day At The Beach                                            Andrew Dice Clay   158   historical   13606720      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                              GEORGE CARLIN      473337545   100   51923368   US4LA0703602     Toledo Window Box                                             George Carlin      296   historical   15588713    384        384 0.00015619     0.000156189   0.05997646   0   0.000372198   0.0603487


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                          GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                             George Carlin      61    historical   14820926     98         98 0.00015619     0.000156189   0.01530649   0   0.000094988   0.0154015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                                   ANDREW DICE CLAY   128623771   100   21026279   USSM19303048     Thermometers                                                  Andrew Dice Clay   14    historical   13677389     10         10 0.00015619     0.000156189   0.00156189   0    0.00000969   0.0015716
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 42 of 86 Page ID
                                                                                                                                                                                                                                              #:4495
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                              ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                Andrew Dice Clay   166   historical   13662724     34         34 0.00015619     0.000156189   0.00531042   0   0.000032955   0.0053434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                                 ANDREW DICE CLAY   128623771   100   20746963   USSM18900272     Speedin'                                                           Andrew Dice Clay   86    historical   13606727      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                             ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632     My Statement                                                       Andrew Dice Clay   62    historical   14006066      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                George Carlin      295   historical   14831296     36         36 0.00015619     0.000156189   0.00562279   0     0.0000349   0.0056577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                                   George Carlin      53    historical   14821153     27         27 0.00015619     0.000156189    0.0042171   0     0.0000262   0.0042433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                              Andrew Dice Clay   162   historical   13638896     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                                   George Carlin      275   historical   14850183     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                       ANDREW DICE CLAY   128623771   100   20746958   USSM18900267     Doctors And Nurses                                                 Andrew Dice Clay   97    historical   13606722      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                        George Carlin      426   historical   14850190     16       25.6   0.00015619   0.000156189   0.00399843   0     0.0000248   0.0040232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                   George Carlin      235   historical   14820488    345        345 0.00015619     0.000156189    0.0538851   0   0.000334397   0.0542195


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                            George Carlin      391   historical   14850171     26       36.4   0.00015619   0.000156189   0.00568527   0     0.0000353   0.0057206


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                                      Andrew Dice Clay   14    historical   13638901     12         12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                        George Carlin      828   historical   14826312     11       30.8   0.00015619   0.000156189   0.00481061   0     0.0000299   0.0048405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                           ANDREW DICE CLAY   128623771   100   20872411   USSM19000318     Brooklyn Bad Boy                                                   Andrew Dice Clay   165   historical   13638913      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                     GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                                 George Carlin      102   historical   14820253    148        148 0.00015619     0.000156189   0.02311593   0   0.000143451   0.0232594


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                                                           ANDREW DICE CLAY   128623771   100   20746965   USSM18900274     When I Was Young                                                   Andrew Dice Clay   129   historical   13606729      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                       George Carlin      336   historical   14831288    128      153.6   0.00015619   0.000156189   0.02399058   0   0.000148879   0.0241395


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                           ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627     Grocery‐Part 1                                                     Andrew Dice Clay   31    historical   14006061      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                             ANDREW DICE CLAY   128623771   100   20746962   USSM18900271     The Golden Age Of Television                                       Andrew Dice Clay   111   historical   13606726      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617     Never Marry Her                                                    Andrew Dice Clay   81    historical   14006051      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   14819908     83      282.2   0.00015619   0.000156189   0.04407645   0   0.000273527     0.04435


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                                       George Carlin      85    historical   15594671    132        132 0.00015619     0.000156189   0.02061691   0   0.000127943   0.0207449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                                         ANDREW DICE CLAY   128623771   100   20966177   USSM19100217     Let Yourself Go (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   13662738     16         16 0.00015619     0.000156189   0.00249902   0     0.0000155   0.0025145


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086     The Summer Olympics And Athletics (Explicit Audio)                 Robin Williams     405   historical   13870829   14346   20084.4   0.00015619   0.000156189   3.13695633   0   0.019467108   3.1564234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                             ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606     Dice Funk‐Up                                                       Andrew Dice Clay   89    historical   14006040     44         44 0.00015619     0.000156189    0.0068723   0     0.0000426    0.006915


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                     Andrew Dice Clay   368   historical   13638890    102      142.8   0.00015619   0.000156189   0.02230375   0   0.000138411   0.0224422


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20746959   USSM18900268     Smokin'                                                            Andrew Dice Clay   131   historical   13606723      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                              ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613     Banana Nose                                                        Andrew Dice Clay   33    historical   14006047      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                          George Carlin      253   historical   14820486    638        638 0.00015619     0.000156189   0.09964839   0   0.000618391   0.1002668


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                       Andrew Dice Clay   189   historical   13662732     68         68 0.00015619     0.000156189   0.01062083   0    0.00006591   0.0106867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                 George Carlin      192   historical   14831291     84         84 0.00015619     0.000156189   0.01311985   0     0.0000814   0.0132013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                            Andrew Dice Clay   190   historical   14006069      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                          Andrew Dice Clay   154   historical   13662711     38         38 0.00015619     0.000156189   0.00593517   0     0.0000368    0.005972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                              Andrew Dice Clay   468   historical   13677416     38       60.8   0.00015619   0.000156189   0.00949627   0     0.0000589   0.0095552


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                      Andrew Dice Clay   60    historical   13638886     23         23 0.00015619     0.000156189   0.00359234   0     0.0000223   0.0036146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                              ANDREW DICE CLAY   128623771   100   20778746   USSM18900287     The Divider (Live At Dangerfield's/1989)                           Andrew Dice Clay   130   historical   13614579      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                           ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614     Big Tit/ Pin Tit                                                   Andrew Dice Clay   239   historical   14006048      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                               Andrew Dice Clay   41    historical   13638880     34         34 0.00015619     0.000156189   0.00531042   0   0.000032955   0.0053434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605     Birth Control                                                      George Carlin      310   historical   15588733    242      290.4   0.00015619   0.000156189    0.0453572   0   0.000281475   0.0456387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                               Andrew Dice Clay   79    historical   13677404     17         17 0.00015619     0.000156189   0.00265521   0     0.0000165   0.0026717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                             Andrew Dice Clay   145   historical   13662727     38         38 0.00015619     0.000156189   0.00593517   0     0.0000368    0.005972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                        George Carlin      147   historical   14819910    108        108 0.00015619     0.000156189   0.01686838   0   0.000104681   0.0169731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                        GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                                    George Carlin      65    historical   14821157     30         30 0.00015619     0.000156189   0.00468566   0   0.000029078   0.0047147


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                            George Carlin      54    historical   14820259    138        138 0.00015619     0.000156189   0.02155404   0   0.000133759   0.0216878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313     Woman's World                                                      Andrew Dice Clay   32    historical   13638907     42         42 0.00015619     0.000156189   0.00655993   0     0.0000407   0.0066006


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                            GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                                  George Carlin      477   historical   14831295     55         88 0.00015619     0.000156189   0.01374461   0     0.0000853   0.0138299


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026290   USSM19303057     Chinese                                                            Andrew Dice Clay   17    historical   13677401      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                                George Carlin      107   historical   14820265    180        180 0.00015619     0.000156189   0.02811397   0   0.000174468   0.0282884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                                  George Carlin      263   historical   14850169     35         35 0.00015619     0.000156189   0.00546661   0     0.0000339   0.0055005


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                     Andrew Dice Clay   114   historical   13677408     34         34 0.00015619     0.000156189   0.00531042   0   0.000032955   0.0053434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                          ANDREW DICE CLAY   128623771   100   20778771   USSM18900307     Automatic Pilot (Live at Dangerfield's/1989)                       Andrew Dice Clay   106   historical   13614605      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                                   George Carlin      93    historical   14820263    133        133 0.00015619     0.000156189    0.0207731   0   0.000128912    0.020902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                        George Carlin      192   historical   14820257    174        174 0.00015619     0.000156189   0.02717683   0   0.000168652   0.0273455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                           Andrew Dice Clay   264   historical   13614600      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                               Robin Williams     337   historical   13519548    702      842.4   0.00015619   0.000156189   0.13157336   0   0.000816509   0.1323899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   13677418     15         15 0.00015619     0.000156189   0.00234283   0   0.000014539   0.0023574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   139   historical   13638875     23         23 0.00015619     0.000156189   0.00359234   0     0.0000223   0.0036146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                                  ANDREW DICE CLAY   128623771   100   20778764   USSM18900300     Concave (Live At Dangerfield's/1989)                               Andrew Dice Clay   67    historical   13614598      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607     Divorce Game                                                       George Carlin      269   historical   15588736     80         80 0.00015619     0.000156189    0.0124951   0     0.0000775   0.0125726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290     Handicaps, Cripples                                                Andrew Dice Clay   123   historical   13638881     24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                 Robin Williams     646   historical   13870830   7618    16759.6   0.00015619   0.000156189   2.61766014   0   0.016244495   2.6339046


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                            George Carlin      150   historical   14820929     69         69 0.00015619     0.000156189   0.01077702   0     0.0000669   0.0108439


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   13662697    103        103 0.00015619     0.000156189   0.01608744   0     0.0000998   0.0161873


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                   George Carlin      275   historical   14819916    398        398 0.00015619     0.000156189    0.0621631   0   0.000385768   0.0625489


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                Robin Williams     154   historical   13519560    153        153 0.00015619     0.000156189   0.02389687   0   0.000148298   0.0240452


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                                              ANDREW DICE CLAY   128623771   100   20778780   USSM18900316     Double Date (Live at Dangerfield's/1989)                           Andrew Dice Clay   145   historical   13614610      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                                   George Carlin      214   historical   15580305     14         14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273     Couples In Love                                                    Andrew Dice Clay   211   historical   13606728     12         12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606     Son of Wino                                                        George Carlin      391   historical   15588734     21       29.4   0.00015619   0.000156189   0.00459195   0     0.0000285   0.0046204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                          Andrew Dice Clay   111   historical   13662699     46         46 0.00015619     0.000156189   0.00718468   0     0.0000446   0.0072293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609     Snot, The Original Rubber Cement                                   George Carlin      174   historical   15588720     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                                   George Carlin      69    historical   14821146     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                            Andrew Dice Clay   126   historical   13662717     40         40 0.00015619     0.000156189   0.00624755   0     0.0000388   0.0062863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   20966175   USSM19100215     Dice Greeting Cards (Live At Govenors/1991)                        Andrew Dice Clay   43    historical   13662736     17         17 0.00015619     0.000156189   0.00265521   0     0.0000165   0.0026717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                       Andrew Dice Clay   73    historical   13662733    156        156 0.00015619     0.000156189   0.02436544   0   0.000151205   0.0245166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                        GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                                    George Carlin      49    historical   14824861     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                             ANDREW DICE CLAY   128623771   100   20746960   USSM18900269     The Attitude                                                       Andrew Dice Clay   113   historical   13606724      9          9 0.00015619     0.000156189    0.0014057   0    0.00000872   0.0014144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                        George Carlin      419   historical   14820927    393      550.2   0.00015619   0.000156189   0.08593502   0    0.00053329   0.0864683


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)              Robin Williams     129   historical   13870821   4755       4755 0.00015619     0.000156189   0.74267727   0   0.004608855   0.7472861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310     Fat Orgasms                                                        Andrew Dice Clay   28    historical   13638904     17         17 0.00015619     0.000156189   0.00265521   0     0.0000165   0.0026717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619     The Honeymoon                                                      Andrew Dice Clay   113   historical   14006053      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                 ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622     Date Night At The Movies                                           Andrew Dice Clay   227   historical   14006056      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                        ANDREW DICE CLAY   128623771   100   20746954   USSM18900263     What If The Chick Gets Pregnant...                                 Andrew Dice Clay   99    historical   13606718     12         12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 43 of 86 Page ID
                                                                                                                                                                                                                                              #:4496
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                               Andrew Dice Clay   187   historical   13677393     48         48 0.00015619     0.000156189   0.00749706   0     0.0000465   0.0075436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                              Andrew Dice Clay   135   historical   13638884     24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                               George Carlin      182   historical   14850185     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620    The Honeymoon's Over                                         Andrew Dice Clay   55    historical   14006054      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                                  Andrew Dice Clay   94    historical   13677394     24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                          GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                                 George Carlin      68    historical   14820247    161        161 0.00015619     0.000156189   0.02514638   0   0.000156052   0.0253024


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                           George Carlin      355   historical   14850166     59       70.8   0.00015619   0.000156189   0.01105816   0   0.000068624   0.0111268


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                           George Carlin      320   historical   15588731    218      261.6   0.00015619   0.000156189   0.04085896   0    0.00025356   0.0411125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)             Andrew Dice Clay   67    historical   13662715     38         38 0.00015619     0.000156189   0.00593517   0     0.0000368    0.005972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                                ANDREW DICE CLAY   128623771   100   20966160   USSM19100201    "What A Mess" (Live At Govenors/1991)                        Andrew Dice Clay   50    historical   13662721     23         23 0.00015619     0.000156189   0.00359234   0     0.0000223   0.0036146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                          George Carlin      429   historical   15588739     74      118.4   0.00015619   0.000156189   0.01849274   0   0.000114761   0.0186075


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                       Robin Williams     406   historical   13870831   12759   17862.6   0.00015619   0.000156189   2.78993627   0   0.017313594   2.8072499


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                           Andrew Dice Clay   50    historical   13638908     20         20 0.00015619     0.000156189   0.00312377   0     0.0000194   0.0031432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                              George Carlin      157   historical   14821148     68         68 0.00015619     0.000156189   0.01062083   0    0.00006591   0.0106867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                       GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                           George Carlin      577   historical   15380744     51        102 0.00015619     0.000156189   0.01593125   0   0.000098865   0.0160301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                           Andrew Dice Clay   78    historical   13638878     50         50 0.00015619     0.000156189   0.00780944   0     0.0000485   0.0078579


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                            George Carlin      129   historical   15588717     59         59 0.00015619     0.000156189   0.00921513   0     0.0000572   0.0092723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                 Robin Williams     192   historical   13519558    421        421 0.00015619     0.000156189   0.06575544   0   0.000408061   0.0661635


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                 George Carlin      273   historical   15580300     19         19 0.00015619     0.000156189   0.00148379   0   0.000009208    0.001493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                Andrew Dice Clay   215   historical   13662691    115        115 0.00015619     0.000156189    0.0179617   0   0.000111466   0.0180732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                      George Carlin      586   historical   14831294     64        128 0.00015619     0.000156189   0.01999215   0   0.000124066   0.0201162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                    Andrew Dice Clay   108   historical   13638893     36         36 0.00015619     0.000156189   0.00562279   0     0.0000349   0.0056577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                 Andrew Dice Clay   41    historical   13638905     17         17 0.00015619     0.000156189   0.00265521   0     0.0000165   0.0026717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                       Robin Williams     81    historical   13519554    245        245 0.00015619     0.000156189   0.03826623   0    0.00023747   0.0385037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                               Andrew Dice Clay   29    historical   13638883     20         20 0.00015619     0.000156189   0.00312377   0     0.0000194   0.0031432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                 ANDREW DICE CLAY   128623771   100   21026292   USSM19303059    Dr. Dice                                                     Andrew Dice Clay   20    historical   13677403      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                           ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)                  Andrew Dice Clay   284   historical   13614611      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                                ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                                  Andrew Dice Clay   33    historical   14006039     46         46 0.00015619     0.000156189   0.00718468   0     0.0000446   0.0072293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                           GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                                George Carlin      26    historical   14821139     59         59 0.00015619     0.000156189   0.00921513   0     0.0000572   0.0092723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                             George Carlin      158   historical   14850189     15         15 0.00015619     0.000156189   0.00234283   0   0.000014539   0.0023574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                                 ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615    K2Y/Wife                                                     Andrew Dice Clay   47    historical   14006049      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612    Midgets 2000                                                 Andrew Dice Clay   319   historical   14006046     11       13.2   0.00015619   0.000156189   0.00206169   0     0.0000128   0.0020745


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                        George Carlin      328   historical   14820494    594      712.8   0.00015619   0.000156189   0.11133131   0   0.000690892   0.1120222


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                               Andrew Dice Clay   49    historical   13638911     14         14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                               Robin Williams     111   historical   13889874   1349       1349 0.00015619     0.000156189   0.21069856   0   0.001307539   0.2120061


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                   Andrew Dice Clay   149   historical   13662713     37         37 0.00015619     0.000156189   0.00577898   0     0.0000359   0.0058148


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                         ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631    Flat As*/Fat As*                                             Andrew Dice Clay   80    historical   14006065      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                      Andrew Dice Clay   37    historical   13638902     22         22 0.00015619     0.000156189   0.00343615   0     0.0000213   0.0034575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                              George Carlin      321   historical   14850168     37       44.4   0.00015619   0.000156189   0.00693478   0      0.000043   0.0069778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                             George Carlin      147   historical   15588721     63         63 0.00015619     0.000156189   0.00983989   0     0.0000611    0.009901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                  George Carlin      173   historical   14850167     32         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                                   ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                                     Andrew Dice Clay   55    historical   14006045      8          8 0.00015619     0.000156189   0.00124951   0    0.00000775   0.0012573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                         George Carlin      261   historical   14820921     41         41 0.00015619     0.000156189   0.00640374   0     0.0000397   0.0064435


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                     Andrew Dice Clay   232   historical   13677409     29         29 0.00015619     0.000156189   0.00452947   0     0.0000281   0.0045576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                   Robin Williams     188   historical   13519549    608        608 0.00015619     0.000156189   0.09496273   0   0.000589313    0.095552


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                     Andrew Dice Clay   174   historical   13606735     49         49 0.00015619     0.000156189   0.00765325   0   0.000047494   0.0077007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                          ANDREW DICE CLAY   128623771   100   20966168   USSM19100208    Dice Vs. PeeWee (Live At Govenors/1991)                      Andrew Dice Clay   30    historical   13662729     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                George Carlin      252   historical   14850180     19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                         George Carlin      206   historical   14850173     21         21 0.00015619     0.000156189   0.00327996   0     0.0000204   0.0033003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                                 ANDREW DICE CLAY   128623771   100   20778767   USSM18900303    Hot Mama (Live at Dangerfield's/1989)                        Andrew Dice Clay   138   historical   13614601      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                            GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                                George Carlin      167   historical   15580301     13         13 0.00015619     0.000156189   0.00101523   0     0.0000063   0.0010215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                        Andrew Dice Clay   180   historical   13638899     73         73 0.00015619     0.000156189   0.01140178   0     0.0000708   0.0114725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                               ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623    Home Or Office, You Decide                                   Andrew Dice Clay   44    historical   14006057      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                               ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618    For Who, For Her, For What                                   Andrew Dice Clay   35    historical   14006052      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                               ANDREW DICE CLAY   128623771   100   20746969   USSM18900278    Masturbation                                                 Andrew Dice Clay   91    historical   13606733      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                           ANDREW DICE CLAY   128623771   100   20778741   USSM18900282    Holiday Season (Live At Dangerfield's/1989)                  Andrew Dice Clay   111   historical   13614574      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                    Andrew Dice Clay   70    historical   13638891      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                Andrew Dice Clay   135   historical   13662737     31         31 0.00015619     0.000156189   0.00484185   0       0.00003   0.0048719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                                ANDREW DICE CLAY   128623771   100   20778747   USSM18900288    Personal Delivery Service (Live At Dangerfield's/1989)       Andrew Dice Clay   232   historical   13614580      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                           Andrew Dice Clay   110   historical   13677417     36         36 0.00015619     0.000156189   0.00562279   0     0.0000349   0.0056577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                                                            ANDREW DICE CLAY   128623771   100   20778758   USSM18900298    What'll It Be (Live At Dangerfield's/1989)                   Andrew Dice Clay   136   historical   13614591      2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                  GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                         George Carlin      175   historical   14820264    136        136 0.00015619     0.000156189   0.02124166   0    0.00013182   0.0213735


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                     George Carlin      286   historical   14826311    173        173 0.00015619     0.000156189   0.02702065   0   0.000167683   0.0271883


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                         ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616    Sid/All Bound Up                                             Andrew Dice Clay   16    historical   14006050      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                               George Carlin      310   historical   14850193     14       16.8   0.00015619   0.000156189   0.00262397   0     0.0000163   0.0026403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                    George Carlin      153   historical   14820258    155        155 0.00015619     0.000156189   0.02420925   0   0.000150236   0.0243595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                    Andrew Dice Clay   216   historical   13614608      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                        George Carlin      263   historical   15588732    245        245 0.00015619     0.000156189   0.03826623   0    0.00023747   0.0385037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                    Andrew Dice Clay   70    historical   13638892      7          7 0.00015619     0.000156189   0.00109332   0    0.00000678   0.0011001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                     Andrew Dice Clay   33    historical   13638876     65         65 0.00015619     0.000156189   0.01015227   0      0.000063   0.0102153


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                            Andrew Dice Clay   90    historical   13638909     12         12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                              ANDREW DICE CLAY   128623771   100   20778752   USSM18900292    Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)   Andrew Dice Clay   169   historical   13614585      1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                 Robin Williams     76    historical   13519550    243        243 0.00015619     0.000156189   0.03795385   0   0.000235531   0.0381894


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                         George Carlin      39    historical   14820254    135        135 0.00015619     0.000156189   0.02108548   0   0.000130851   0.0212163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                   ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626    My Cum                                                       Andrew Dice Clay   89    historical   14006060      5          5 0.00015619     0.000156189   0.00078094   0    0.00000485   0.0007858


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                        ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630    Rita's As* Funnel                                            Andrew Dice Clay   101   historical   14006064      3          3 0.00015619     0.000156189   0.00046857   0    0.00000291   0.0004715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                 GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo        George Carlin      221   historical   14850181     50         50 0.00015619     0.000156189   0.00780944   0     0.0000485   0.0078579


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                   Andrew Dice Clay   65    historical   13638882     47         47 0.00015619     0.000156189   0.00734087   0     0.0000456   0.0073864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                               ANDREW DICE CLAY   128623771   100   20778740   USSM18900281    First Kiss (Live At Dangerfield's/1989)                      Andrew Dice Clay   131   historical   13614573      6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                             George Carlin      430   historical   14850175     20         32 0.00015619     0.000156189   0.00499804   0      0.000031   0.0050291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                      George Carlin      112   historical   14820932     94         94 0.00015619     0.000156189   0.01468174   0     0.0000911   0.0147728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                                 ANDREW DICE CLAY   128623771   100   20778745   USSM18900286    The Gift (Live At Dangerfield's/1989)                        Andrew Dice Clay   100   historical   13614578      4          4 0.00015619     0.000156189   0.00062476   0    0.00000388   0.0006286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                        George Carlin      355   historical   15588728    472      566.4   0.00015619   0.000156189   0.08846528   0   0.000548992   0.0890143
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 44 of 86 Page ID
                                                                                                                                                                                                                                              #:4497
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                                    ANDREW DICE CLAY   128623771   100   20746961   USSM18900270    No Pity                                                  Andrew Dice Clay   64    historical    13606725       7          7 0.00015619     0.000156189   0.00109332   0    0.00000678   0.0011001


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                      George Carlin      99    historical    14846533     390        390 0.00015619     0.000156189   0.06091359   0   0.000378013   0.0612916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                      GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                         George Carlin      94    historical    14821142      36         36 0.00015619     0.000156189   0.00562279   0     0.0000349   0.0056577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                             George Carlin      126   historical    14850194      14         14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                   George Carlin      49    historical    14820260     133        133 0.00015619     0.000156189    0.0207731   0   0.000128912    0.020902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                 Andrew Dice Clay   101   historical    13662707      39         39 0.00015619     0.000156189   0.00609136   0     0.0000378   0.0061292


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                             Andrew Dice Clay   207   historical    13606719      14         14 0.00015619     0.000156189   0.00218664   0     0.0000136   0.0022002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                            ANDREW DICE CLAY   128623771   100   20778768   USSM18900304    Turn‐On Words (Live at Dangerfield's/1989)               Andrew Dice Clay   34    historical    13614602       1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                 Andrew Dice Clay   180   historical    13677419      67         67 0.00015619     0.000156189   0.01046464   0     0.0000649   0.0105296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)            Robin Williams     517   historical    13870825    10066   18118.8   0.00015619   0.000156189   2.82995182   0    0.01756192   2.8475137


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                           George Carlin      316   historical    15580304      12       14.4   0.00015619   0.000156189   0.00224912   0      0.000014   0.0022631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                          ANDREW DICE CLAY   128623771   100   20746967   USSM18900276    Joey                                                     Andrew Dice Clay   127   historical    13606731       6          6 0.00015619     0.000156189   0.00093713   0    0.00000582   0.0009429


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                          GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                           George Carlin      222   historical    14850186      15         15 0.00015619     0.000156189   0.00234283   0   0.000014539   0.0023574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                    George Carlin      28    historical    14821149      71         71 0.00015619     0.000156189    0.0110894   0     0.0000688   0.0111582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                             George Carlin      456   historical    15380745      50         80 0.00015619     0.000156189    0.0124951   0     0.0000775   0.0125726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                              GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                 George Carlin      177   historical    14850179      24         24 0.00015619     0.000156189   0.00374853   0     0.0000233   0.0037718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                           Andrew Dice Clay   140   historical    13677415      13         13 0.00015619     0.000156189   0.00203045   0     0.0000126   0.0020431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                George Carlin      285   historical    14850187      15         15 0.00015619     0.000156189   0.00234283   0   0.000014539   0.0023574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                       George Carlin      127   historical    15594668      35         35 0.00015619     0.000156189   0.00546661   0     0.0000339   0.0055005


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                        GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                           George Carlin      244   historical    14850192     182        182 0.00015619     0.000156189   0.02842634   0   0.000176406   0.0286028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                              ANDREW DICE CLAY   128623771   100   20778765   USSM18900301    Frozen Food (Live At Dangerfield's/1989)                 Andrew Dice Clay   69    historical    13614599       1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                    ANDREW DICE CLAY   128623771   100   20966173   USSM19100213    Dice Does It Like Dis (Live At Govenors/1991)            Andrew Dice Clay   59    historical    13662734      19         19 0.00015619     0.000156189   0.00296759   0   0.000018416    0.002986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                    Andrew Dice Clay   65    historical    13677410      35         35 0.00015619     0.000156189   0.00546661   0     0.0000339   0.0055005


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                             ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                             Andrew Dice Clay   14    historical    13677390      12         12 0.00015619     0.000156189   0.00187426   0     0.0000116   0.0018859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                           ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)              Andrew Dice Clay   222   historical    13614581       2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                      George Carlin      149   historical    14820933     210        210 0.00015619     0.000156189   0.03279963   0   0.000203546   0.0330032


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                             ANDREW DICE CLAY   128623771   100   20778772   USSM18900308    Dogs & Birds (Live at Dangerfield's/1989)                Andrew Dice Clay   168   historical    13614606       2          2 0.00015619     0.000156189   0.00031238   0    0.00000194   0.0003143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                          Andrew Dice Clay   40    historical    13638888      50         50 0.00015619     0.000156189   0.00780944   0     0.0000485   0.0078579


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                         George Carlin      86    historical    14821150      66         66 0.00015619     0.000156189   0.01030845   0      0.000064   0.0103724


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                  Andrew Dice Clay   202   historical    13677398      46         46 0.00015619     0.000156189   0.00718468   0     0.0000446   0.0072293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                   Andrew Dice Clay   167   historical    13677412      29         29 0.00015619     0.000156189   0.00452947   0     0.0000281   0.0045576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                          George Carlin      418   historical    14831289      94      131.6   0.00015619   0.000156189   0.02055443   0   0.000127555    0.020682


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                     ANDREW DICE CLAY   128623771   100   20778750   USSM18900291    Kids (Live At Dangerfield's/1989)                        Andrew Dice Clay   118   historical    13614583       1          1 0.00015619     0.000156189   0.00015619   0   0.000000969   0.0001572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                        Andrew Dice Clay   231   historical    13638897      74         74 0.00015619     0.000156189   0.01155796   0     0.0000717   0.0116297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                 GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                    George Carlin      76    historical    14820252     146        146 0.00015619     0.000156189   0.02280355   0   0.000141513   0.0229451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YOE   RETIRED PEOPLE                                           GEORGE CARLIN      473337545   100   3446767                    Retired People                                           George Carlin      63    historical   1523200300     72         72    0.0003211   0.000321097   0.02311898   0    0.00014347   0.0232624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   DA55U6   DEATH AND DYING 2                                        GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                 George Carlin      181   historical   1523157368    295        295    0.0003211   0.000321097   0.09472359   0   0.000587829   0.0953114


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2MNJ   APPROPRIATE NAMES                                        GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                        George Carlin      157   historical   1522466081     28         28    0.0003211   0.000321097   0.00899071   0     0.0000558   0.0090465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                               GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                               George Carlin      106   historical   1522466159      6          6    0.0003211   0.000321097   0.00192658   0      0.000012   0.0019385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YJO   RELIGIOUS PEOPLE                                         GEORGE CARLIN      473337545   100   3446748                    Religious People                                         George Carlin      400   historical   1523200272    267      373.8    0.0003211   0.000321097   0.12002602   0   0.000744849   0.1207709


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU    GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                           George Carlin      173   historical   1523200278      8          8    0.0003211   0.000321097   0.00256878   0     0.0000159   0.0025847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   MA6D69 MY CHILDHOOD                                               GEORGE CARLIN      473337545   100   11005103                   My Childhood                                             George Carlin      338   historical   1522466155     31       37.2    0.0003211   0.000321097   0.01194481   0     0.0000741   0.0120189


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   SH7MKT   SAYING HELLO                                             GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                             George Carlin      200   historical   1523200264    157        157    0.0003211   0.000321097   0.05041221   0   0.000312845   0.0507251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                    GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                    George Carlin      228   historical   1522466099     52         52    0.0003211   0.000321097   0.01669704   0   0.000103617   0.0168007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                         GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                         George Carlin      484   historical   1522466089     47       84.6    0.0003211   0.000321097    0.0271648   0   0.000168577   0.0273334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                         GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                         George Carlin      164   historical   1523200258     13         13    0.0003211   0.000321097   0.00417426   0     0.0000259   0.0042002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES   GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles   George Carlin      69    historical   1522466085      4          4    0.0003211   0.000321097   0.00128439   0    0.00000797   0.0012924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8D21   THE RED SOX (SOCKS)                                      GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                      George Carlin      188   historical   1523200296     21         21    0.0003211   0.000321097   0.00674304   0     0.0000418   0.0067849


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD8WA9 FOOD TERMS                                                 GEORGE CARLIN      473337545   100   11005054                   Food Terms                                               George Carlin      84    historical   1522466067     15         15    0.0003211   0.000321097   0.00481645   0     0.0000299   0.0048463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                   GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                   George Carlin      595   historical   1522466097     36         72    0.0003211   0.000321097   0.02311898   0    0.00014347   0.0232624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   UA5N3Z   UGLY SINGERS                                             GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                             George Carlin      121   historical   1523200256     28         28    0.0003211   0.000321097   0.00899071   0     0.0000558   0.0090465


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   HA7D3B   HI MOM!                                                  GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                  George Carlin      64    historical   1522466103      9          9    0.0003211   0.000321097   0.00288987   0     0.0000179   0.0029078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                George Carlin      66    historical   1522466127     18         18    0.0003211   0.000321097   0.00577974   0     0.0000359   0.0058156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD8V4Z   FUSSY EATER (PART 1)                                     GEORGE CARLIN      473337545   100   3446025                    "Fussy Eater" (Part 1)                                   George Carlin      213   historical   1523199390     13         13    0.0003211   0.000321097   0.00417426   0     0.0000259   0.0042002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                   George Carlin      335   historical   1524793745    399      478.8    0.0003211   0.000321097    0.1537412   0   0.000954077   0.1546953


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                         GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                         George Carlin      118   historical   1522466115     16         16    0.0003211   0.000321097   0.00513755   0     0.0000319   0.0051694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2UF5   A PROPOSITION                                            GEORGE CARLIN      473337545   100   3446753                    A Proposition                                            George Carlin      100   historical   1523200280     10         10    0.0003211   0.000321097   0.00321097   0     0.0000199   0.0032309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   SH7TV8   SPORTS ROUNDUP                                           GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                           George Carlin      118   historical   1522466111     17         17    0.0003211   0.000321097   0.00545865   0     0.0000339   0.0054925


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                         George Carlin      183   historical   1523200266    156        156    0.0003211   0.000321097   0.05009112   0   0.000310852    0.050402


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   OC23UO OPENING ‐ OLD FUCK                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                       George Carlin      315   historical   1524192843   1515       1818    0.0003211   0.000321097   0.58375416   0   0.003622621   0.5873768


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                         GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                         George Carlin      450   historical   1523200208    377      603.2    0.0003211   0.000321097   0.19368565   0   0.001201961   0.1948876


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   BB64DZ   BAMBI                                                    ANDREW DICE CLAY   128623771   100   5970472                    Bambi                                                    Andrew Dice Clay   162   historical   1525281150     19         19    0.0003211   0.000321097   0.00610084   0     0.0000379   0.0061387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                       GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                       George Carlin      46    historical   1522466137     10         10    0.0003211   0.000321097   0.00321097   0     0.0000199   0.0032309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YJ5   REINCARNATION (SOULS)                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                    George Carlin      38    historical   1522466153     20         20    0.0003211   0.000321097   0.00642194   0     0.0000399   0.0064618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R2D   THE EVENING NEWS                                         GEORGE CARLIN      473337545   100   3446716                    The Evening News                                         George Carlin      165   historical   1523200216     12         12    0.0003211   0.000321097   0.00385316   0     0.0000239   0.0038771


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)            George Carlin      396   historical   1522466145     33       46.2    0.0003211   0.000321097   0.01483468   0    0.00009206   0.0149267


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                              GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                            George Carlin      481   historical   1522466071     42       75.6    0.0003211   0.000321097   0.02427493   0   0.000150644   0.0244256


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                    GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                    George Carlin      441   historical   1522466129    148      236.8    0.0003211   0.000321097   0.07603575   0   0.000471857   0.0765076


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD9PR9   FIRST KISS                                               ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                               Andrew Dice Clay   131   historical   1524936460      1          1    0.0003211   0.000321097    0.0003211   0    0.00000199   0.0003231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R90   THE INDIAN SERGEANT                                      GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                      George Carlin      321   historical   1525037270    381      457.2    0.0003211   0.000321097    0.1468055   0   0.000911036   0.1477165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS           GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions           George Carlin      388   historical   1522466139     51       71.4    0.0003211   0.000321097   0.02292632   0   0.000142275   0.0230686


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   HB18ZJ   HE SAID, SHE SAID                                        ANDREW DICE CLAY   128623771   100   5975940                    He Said She Said                                         Andrew Dice Clay   462   historical   1525286268     54       86.4    0.0003211   0.000321097   0.02774277   0   0.000172164   0.0279149


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                  George Carlin      180   historical   1523200268     29         29    0.0003211   0.000321097   0.00931181   0     0.0000578   0.0093696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                               GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                               George Carlin      743   historical   1522466123     20         52    0.0003211   0.000321097   0.01669704   0   0.000103617   0.0168007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                        GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                      George Carlin      350   historical   1524802513      6        7.2    0.0003211   0.000321097    0.0023119   0   0.000014347   0.0023262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2L90   AVANT GARDE PLAY                                         GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                         George Carlin      74    historical   1523200260      7          7    0.0003211   0.000321097   0.00224768   0     0.0000139   0.0022616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8ICJ   THE NEW ZODIAC                                           GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                           George Carlin      74    historical   1522466101     11         11    0.0003211   0.000321097   0.00353207   0     0.0000219    0.003554


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83NM FUSSY EATER (PART 2)                                       GEORGE CARLIN      473337545   100   3446027                    "Fussy Eater" (Part 2)                                   George Carlin      266   historical   1523199398     22         22    0.0003211   0.000321097   0.00706413   0     0.0000438    0.007108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   DA55SO   DOGS COME IN ALL SIZES                                   GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                   George Carlin      152   historical   1523200224     24         24    0.0003211   0.000321097   0.00770633   0     0.0000478   0.0077541


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD8V4Z   FUSSY EATER (PART 1)                                     GEORGE CARLIN      473337545   100   3446025                    "Fussy Eater" (Part 1)                                   George Carlin      213   historical   1523199392     95         95    0.0003211   0.000321097   0.03050421   0   0.000189301   0.0306935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   1C1G5X   15 RULES TO LIVE BY                                      GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                      George Carlin      246   historical   1522466143    171        171    0.0003211   0.000321097   0.05490757   0   0.000340742   0.0552483


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YPX   RIP‐OFFS                                                 GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                 George Carlin      165   historical   1523200276      7          7    0.0003211   0.000321097   0.00224768   0     0.0000139   0.0022616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2016   9/30/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                  George Carlin      101   historical   1523200210     61         61    0.0003211   0.000321097   0.01958691   0   0.000121551   0.0197085
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                                                                                                                                                                                                                                              #:4498
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   1523200284    32       32   0.0003211   0.000321097    0.0102751   0     0.0000638   0.0103389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   1522466063    50       70   0.0003211   0.000321097   0.02247678   0   0.000139485   0.0226163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   1522466121    48     57.6   0.0003211   0.000321097   0.01849518   0   0.000114776     0.01861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   1523200222    71       71   0.0003211   0.000321097   0.02279788   0   0.000141478   0.0229394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   1524936483     3        3   0.0003211   0.000321097   0.00096329   0    0.00000598   0.0009693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   1522466131    52       52   0.0003211   0.000321097   0.01669704   0   0.000103617   0.0168007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical   1522466135    11       11   0.0003211   0.000321097   0.00353207   0     0.0000219    0.003554


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   1524192855   1035    1035   0.0003211   0.000321097   0.33233529   0   0.002062384   0.3343977


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   1524800122    27     37.8   0.0003211   0.000321097   0.01213746   0     0.0000753   0.0122128


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                         George Carlin      301   historical   1523200212    56     67.2   0.0003211   0.000321097   0.02157771   0   0.000133906   0.0217116


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                                      George Carlin      54    historical   1523200250    82       82   0.0003211   0.000321097   0.02632995   0   0.000163397   0.0264933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   1522466109    12       12   0.0003211   0.000321097   0.00385316   0     0.0000239   0.0038771


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   1523200248    17       17   0.0003211   0.000321097   0.00545865   0     0.0000339   0.0054925


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   1523200235    38     68.4   0.0003211   0.000321097   0.02196303   0   0.000136297   0.0220993


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                            ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                                        Andrew Dice Clay   101   historical   1525647455     4        4   0.0003211   0.000321097   0.00128439   0    0.00000797   0.0012924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                    ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)                                Andrew Dice Clay   67    historical   1525848167    20       20   0.0003211   0.000321097   0.00642194   0     0.0000399   0.0064618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                       ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                                   Andrew Dice Clay   215   historical   1525833784    34       34   0.0003211   0.000321097    0.0109173   0     0.0000677    0.010985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                              ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                          Andrew Dice Clay   145   historical   1525689254    13       13   0.0003211   0.000321097   0.00417426   0     0.0000259   0.0042002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                         GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                                George Carlin      340   historical   1526596442    40       48   0.0003211   0.000321097   0.01541265   0     0.0000956   0.0155083


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                               GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                                      George Carlin      155   historical   1526593511     5        5   0.0003211   0.000321097   0.00160549   0    0.00000996   0.0016154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                   George Carlin      336   historical   1526625338   149    178.8   0.0003211   0.000321097   0.05741213   0   0.000356284   0.0577684


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                              GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                                     George Carlin      203   historical   1526639553   282      282   0.0003211   0.000321097   0.09054933   0   0.000561925   0.0911113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                          ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                                      Andrew Dice Clay   149   historical   1525845211    16       16   0.0003211   0.000321097   0.00513755   0     0.0000319   0.0051694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                      ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)                                  Andrew Dice Clay   63    historical   1525854048    16       16   0.0003211   0.000321097   0.00513755   0     0.0000319   0.0051694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                      GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                               George Carlin      486   historical   1526594848     3      5.4   0.0003211   0.000321097   0.00173392   0     0.0000108   0.0017447


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                             GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                            George Carlin      295   historical   1526629099    56       56   0.0003211   0.000321097   0.01798143   0   0.000111588    0.018093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                               ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                                         Andrew Dice Clay   79    historical   1525900817    27       27   0.0003211   0.000321097   0.00866962   0     0.0000538   0.0087234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   1523200286   145      145   0.0003211   0.000321097   0.04655905   0   0.000288933    0.046848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83NM FUSSY EATER (PART 2)                                                          GEORGE CARLIN      473337545   100   3446027                    "Fussy Eater" (Part 2)                                                          George Carlin      266   historical   1523199399   119      119   0.0003211   0.000321097   0.03821053   0   0.000237124   0.0384477


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   1522466113    20       20   0.0003211   0.000321097   0.00642194   0     0.0000399   0.0064618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   1523200274   111    199.8   0.0003211   0.000321097   0.06415516   0    0.00039813   0.0645533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8MUA TRAFFIC ACCIDENTS ‐ KEEP MOVIN'!                                              GEORGE CARLIN      473337545   100   3657797                    Traffic Accidents ? Keep Movin'!                                                George Carlin      376   historical   1523440295   1085    1519   0.0003211   0.000321097   0.48774619   0   0.003026822    0.490773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   1524192861   1246    1246   0.0003211   0.000321097   0.40008674   0   0.002482831   0.4025696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   1523200298    18       18   0.0003211   0.000321097   0.00577974   0     0.0000359   0.0058156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8V4Z   FUSSY EATER (PART 1)                                                        GEORGE CARLIN      473337545   100   3446025                    "Fussy Eater" (Part 1)                                                          George Carlin      213   historical   1523199391   141      141   0.0003211   0.000321097   0.04527466   0   0.000280962   0.0455556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                                 George Carlin      80    historical   1523200290    55       55   0.0003211   0.000321097   0.01766033   0   0.000109595   0.0177699


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                       George Carlin      154   historical   1523200252    68       68   0.0003211   0.000321097   0.02183459   0     0.0001355   0.0219701


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   1522466147    32       32   0.0003211   0.000321097    0.0102751   0     0.0000638   0.0103389


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   1523200214    38     45.6   0.0003211   0.000321097   0.01464202   0     0.0000909   0.0147329


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical   1522466119     9        9   0.0003211   0.000321097   0.00288987   0     0.0000179   0.0029078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   1524192859   1341    1341   0.0003211   0.000321097   0.43059094   0   0.002672132   0.4332631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   1522466157    37       37   0.0003211   0.000321097   0.01188059   0     0.0000737   0.0119543


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83NM FUSSY EATER (PART 2)                                                          GEORGE CARLIN      473337545   100   3446027                    "Fussy Eater" (Part 2)                                                          George Carlin      266   historical   1523199397   166      166   0.0003211   0.000321097   0.05330209   0   0.000330778   0.0536329


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   1523200206    30       30   0.0003211   0.000321097   0.00963291   0     0.0000598   0.0096927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   1522466133    19       19   0.0003211   0.000321097   0.00610084   0     0.0000379   0.0061387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                                 ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)                             Andrew Dice Clay   166   historical   1525933687    18       18   0.0003211   0.000321097   0.00577974   0     0.0000359   0.0058156


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                       ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                                   Andrew Dice Clay   135   historical   1525899960     4        4   0.0003211   0.000321097   0.00128439   0    0.00000797   0.0012924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                  GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                                 George Carlin      518   historical   1526644245    69    124.2   0.0003211   0.000321097   0.03988024   0   0.000247486   0.0401277


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                         GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                                George Carlin      86    historical   1526582987     4        4   0.0003211   0.000321097   0.00128439   0    0.00000797   0.0012924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                      ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                                  Andrew Dice Clay   108   historical   1525839974    19       19   0.0003211   0.000321097   0.00610084   0     0.0000379   0.0061387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                                         Andrew Dice Clay   126   historical   1525725335    26       26   0.0003211   0.000321097   0.00834852   0     0.0000518   0.0084003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                           ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                                       Andrew Dice Clay   98    historical   1525611459    19       19   0.0003211   0.000321097   0.00610084   0     0.0000379   0.0061387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                                  ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)                              Andrew Dice Clay   60    historical   1525724066    16       16   0.0003211   0.000321097   0.00513755   0     0.0000319   0.0051694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                             ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                                       Andrew Dice Clay   154   historical   1525638840    19       19   0.0003211   0.000321097   0.00610084   0     0.0000379   0.0061387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                          GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                                 George Carlin      157   historical   1526582639     2        2   0.0003211   0.000321097   0.00064219   0    0.00000399   0.0006462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                      GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                           George Carlin      28    historical   1526585948     1        1   0.0003211   0.000321097    0.0003211   0    0.00000199   0.0003231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                            ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                                        Andrew Dice Clay   216   historical   1525638309    40       40   0.0003211   0.000321097   0.01284388   0     0.0000797   0.0129236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                               ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)                           Andrew Dice Clay   173   historical   1525926145    14       14   0.0003211   0.000321097   0.00449536   0   0.000027897   0.0045233


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                          ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                                      Andrew Dice Clay   85    historical   1525729367    15       15   0.0003211   0.000321097   0.00481645   0     0.0000299   0.0048463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                          GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                                 George Carlin      418   historical   1526646696   153    214.2   0.0003211   0.000321097   0.06877896   0   0.000426824   0.0692058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                             GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                                    George Carlin      326   historical   1526635382   150      180   0.0003211   0.000321097   0.05779744   0   0.000358675   0.0581561


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                   GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                          George Carlin      389   historical   1526594097    10       14   0.0003211   0.000321097   0.00449536   0   0.000027897   0.0045233


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                   ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)                               Andrew Dice Clay   307   historical   1525826141    87    104.4   0.0003211   0.000321097   0.03352252   0   0.000208032   0.0337305


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                          GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                                 George Carlin      189   historical   1526603887    26       26   0.0003211   0.000321097   0.00834852   0     0.0000518   0.0084003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                     GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                                   George Carlin      229   historical   1526599845    29       29   0.0003211   0.000321097   0.00931181   0     0.0000578   0.0093696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                            ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                                        Andrew Dice Clay   101   historical   1525616509    22       22   0.0003211   0.000321097   0.00706413   0     0.0000438    0.007108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                     ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                                  Robin Williams     111   historical   1526134135   829      829   0.0003211   0.000321097   0.26618933   0   0.001651899   0.2678412


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                      GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                             George Carlin      192   historical   1526636146   159      159   0.0003211   0.000321097   0.05105441   0    0.00031683   0.0513712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                        ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                                    Andrew Dice Clay   189   historical   1525889591    84       84   0.0003211   0.000321097   0.02697214   0   0.000167382   0.0271395


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                    ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   1525660139    22       22   0.0003211   0.000321097   0.00706413   0     0.0000438    0.007108


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                               GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                                              George Carlin      477   historical   1526628477    80      128   0.0003211   0.000321097    0.0411004   0   0.000255058   0.0413555


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                           ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                                       Andrew Dice Clay   111   historical   1525839382    23       23   0.0003211   0.000321097   0.00738523   0     0.0000458   0.0074311


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                        ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                                    Andrew Dice Clay   73    historical   1525858476    68       68   0.0003211   0.000321097   0.02183459   0     0.0001355   0.0219701


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    9/1/2016    9/30/2016   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                                  GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                                         George Carlin      586   historical   1526628686    78      156   0.0003211   0.000321097   0.05009112   0   0.000310852    0.050402


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   1527828038    37       37 0.00032503    0.000325034   0.01202627   0     0.0000746   0.0121009


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   1527828022     6        6 0.00032503    0.000325034   0.00195021   0     0.0000121   0.0019623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   1527253136    49       49 0.00032503    0.000325034   0.01592668   0     0.0000988   0.0160255


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   1527253166   118      118 0.00032503    0.000325034   0.03835405   0   0.000238015   0.0385921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                                  George Carlin      74    historical   1527253111    28       28 0.00032503    0.000325034   0.00910096   0     0.0000565   0.0091574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                                    George Carlin      121   historical   1527827998    38       38 0.00032503    0.000325034    0.0123513   0     0.0000766    0.012428


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   1527827977    80      144 0.00032503    0.000325034   0.04680494   0   0.000290459   0.0470954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical   1527253091    54       54 0.00032503    0.000325034   0.01755185   0   0.000108922   0.0176608


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   1529203473     7        7 0.00032503    0.000325034   0.00227524   0     0.0000141   0.0022894
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                  Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   1527253154    50        70 0.00032503     0.000325034    0.0227524   0   0.000141195   0.0228936


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                  Hi Mom!                                                                         George Carlin      64    historical   1527253113    15        15 0.00032503     0.000325034   0.00487552   0     0.0000303   0.0049058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                  More Redundant Expressions                                                      George Carlin      46    historical   1527253156    52        52 0.00032503     0.000325034   0.01690178   0   0.000104888   0.0170067


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                   Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   1528622906   1674     1674 0.00032503     0.000325034   0.54410742   0   0.003376584    0.547484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                  Television Announcers                                                           George Carlin      441   historical   1527253138   330       528 0.00032503     0.000325034   0.17161811   0   0.001065016   0.1726831


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                  # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   1527253122    51        51 0.00032503     0.000325034   0.01657675   0   0.000102871   0.0166796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                   Sports Is Big Business                                                          George Carlin      322   historical   1527827957    71      85.2   0.00032503   0.000325034   0.02769292   0   0.000171855   0.0278648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                            GEORGE CARLIN      473337545   100   3446744                   No Complaining About Politicians                                                George Carlin      183   historical   1527828008   411       411 0.00032503     0.000325034    0.1335891   0   0.000829018   0.1344181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                   (02/28/71 Performance)                                                          George Carlin      369   historical   1529092802    40        56 0.00032503     0.000325034   0.01820192   0   0.000112956   0.0183149


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                  Mental Brain Thoughts                                                           George Carlin      228   historical   1527253109    87        87 0.00032503     0.000325034   0.02827798   0   0.000175486   0.0284535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                   Death And Dying (Part 2)                                                        George Carlin      181   historical   1527794418   491       491 0.00032503     0.000325034   0.15959184   0   0.000990384   0.1605822


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                  Another Objection On Language                                                   George Carlin      250   historical   1527253140    72        72 0.00032503     0.000325034   0.02340247   0   0.000145229   0.0235477


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                  Food Terms                                                                      George Carlin      84    historical   1527253077    28        28 0.00032503     0.000325034   0.00910096   0     0.0000565   0.0091574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                       ANDREW DICE CLAY   128623771   100   5970472                   Bambi                                                                           Andrew Dice Clay   162   historical   1529483838    38        38 0.00032503     0.000325034    0.0123513   0     0.0000766    0.012428


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8MUA TRAFFIC ACCIDENTS ‐ KEEP MOVIN'!                                              GEORGE CARLIN      473337545   100   3657797                   Traffic Accidents ? Keep Movin'!                                                George Carlin      376   historical   1528019304   1190     1666 0.00032503     0.000325034   0.54150714   0   0.003360448   0.5448676


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                   Asylums                                                                         George Carlin      301   historical   1527827955   149     178.8   0.00032503   0.000325034   0.05811613   0   0.000360653   0.0584768


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                   Saying Hello                                                                    George Carlin      200   historical   1527828006   240       240 0.00032503     0.000325034   0.07800823   0   0.000484098   0.0784923


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                  Let's Beat Them With Our Purses!                                                George Carlin      118   historical   1527253124    39        39 0.00032503     0.000325034   0.01267634   0     0.0000787    0.012755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                   Comitting The Perfect Double Murder                                             George Carlin      174   historical   1527828028   183       183 0.00032503     0.000325034   0.05948128   0   0.000369125   0.0598504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                           ANDREW DICE CLAY   128623771   100   5975940                   He Said She Said                                                                Andrew Dice Clay   462   historical   1529488277    95       152 0.00032503     0.000325034   0.04940521   0   0.000306596   0.0497118


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                  Deaths Of Supercelebrities                                                      George Carlin      164   historical   1527253144    26        26 0.00032503     0.000325034   0.00845089   0   0.000052444   0.0085033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                  My Childhood                                                                    George Carlin      338   historical   1527253164    48      57.6   0.00032503   0.000325034   0.01872198   0   0.000116184   0.0188382


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                  First Time Human Sacrifice                                                      George Carlin      743   historical   1527253132    36      93.6   0.00032503   0.000325034   0.03042321   0   0.000188798    0.030612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                   Falling Asleep                                                                  George Carlin      59    historical   1527827990    28        28 0.00032503     0.000325034   0.00910096   0     0.0000565   0.0091574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                  Give A Hoot                                                                     George Carlin      42    historical   1527253117    17        17 0.00032503     0.000325034   0.00552558   0     0.0000343   0.0055599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                   Religious People                                                                George Carlin      400   historical   1527828014   443     620.2   0.00032503   0.000325034   0.20158627   0    0.00125099   0.2028373


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                  A Place For Your Stuff                                                          George Carlin      595   historical   1527253107    69       138 0.00032503     0.000325034   0.04485473   0   0.000278356   0.0451331


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                   Dogs Come In All Sizes                                                          George Carlin      152   historical   1527827965    33        33 0.00032503     0.000325034   0.01072613   0     0.0000666   0.0107927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                   Dogs On Tv                                                                      George Carlin      54    historical   1527827992   146       146 0.00032503     0.000325034   0.04745501   0   0.000294493   0.0477495


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                   Rip‐Offs                                                                        George Carlin      165   historical   1527828018    10        10 0.00032503     0.000325034   0.00325034   0     0.0000202   0.0032705


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                  Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   1527253148    75       105 0.00032503     0.000325034    0.0341286   0   0.000211793   0.0343404


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                   Favorite Period Of Time                                                         George Carlin      101   historical   1527827953   120       120 0.00032503     0.000325034   0.03900412   0   0.000242049   0.0392462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                   Secretary Of Being In The Closet                                                George Carlin      164   historical   1527828000    33        33 0.00032503     0.000325034   0.01072613   0     0.0000666   0.0107927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                   Avant Garde Play                                                                George Carlin      74    historical   1527828002     8         8 0.00032503     0.000325034   0.00260027   0     0.0000161   0.0026164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                  George Carlin Book Club                                                         George Carlin      62    historical   1527253142    26        26 0.00032503     0.000325034   0.00845089   0   0.000052444   0.0085033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                  15 Rules To Live By                                                             George Carlin      246   historical   1527253152   376       376 0.00032503     0.000325034    0.1222129   0    0.00075842   0.1229713


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                           GEORGE CARLIN      473337545   100   5496715                   Wonderful Wino (Top 40 Disc Jockey)                                             George Carlin      350   historical   1529094646     5         6 0.00032503     0.000325034   0.00195021   0     0.0000121   0.0019623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                  Anything But The Present                                                        George Carlin      334   historical   1527253130    99     118.8   0.00032503   0.000325034   0.03861408   0   0.000239629   0.0388537


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                  The "Pre" Epidemic                                                              George Carlin      46    historical   1527253146    13        13 0.00032503     0.000325034   0.00422545   0   0.000026222   0.0042517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                   No Brown In The Rainbow                                                         George Carlin      180   historical   1527828010    58        58 0.00032503     0.000325034   0.01885199   0    0.00011699    0.018969


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                  Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   1527253081    49      88.2   0.00032503   0.000325034   0.02866803   0   0.000177906   0.0288459


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                  # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   1527253095     8         8 0.00032503     0.000325034   0.00260027   0     0.0000161   0.0026164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                   Proud To Be An American / God Bless America                                     George Carlin      286   historical   1528622912   2392     2392 0.00032503     0.000325034   0.77748205   0   0.004824845   0.7823069


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                   Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   1528622910   2616     2616 0.00032503     0.000325034   0.85028973   0   0.005276669   0.8555664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                  Reincarnation (Souls)                                                           George Carlin      38    historical   1527253162    19        19 0.00032503     0.000325034   0.00617565   0     0.0000383    0.006214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                   Euphamistic Language                                                            George Carlin      487   historical   1527828016   107     192.6   0.00032503   0.000325034   0.06260161   0   0.000388489   0.0629901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                  It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   1527253099    51      91.8   0.00032503   0.000325034   0.02983815   0   0.000185168   0.0300233


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                   Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   1527827949    58        58 0.00032503     0.000325034   0.01885199   0    0.00011699    0.018969


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                   Free Speech                                                                     George Carlin      183   historical   1527828026    38        38 0.00032503     0.000325034    0.0123513   0     0.0000766    0.012428


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                   Quicksand                                                                       George Carlin      129   historical   1527828040    38        38 0.00032503     0.000325034    0.0123513   0     0.0000766    0.012428


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                  Sports Roundup                                                                  George Carlin      118   historical   1527253120    26        26 0.00032503     0.000325034   0.00845089   0   0.000052444   0.0085033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                   Opening / Old Fuck                                                              George Carlin      315   historical   1528622894   2927   3512.4   0.00032503   0.000325034   1.14165048   0   0.007084776   1.1487353


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                   Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   1527827963    83        83 0.00032503     0.000325034   0.02697785   0   0.000167417   0.0271453


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                   Retired People                                                                  George Carlin      63    historical   1527828042    72        72 0.00032503     0.000325034   0.02340247   0   0.000145229   0.0235477


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                   The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   1529087371   897    1076.4   0.00032503   0.000325034   0.34986692   0    0.00217118   0.3520381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                   Latest Disaster                                                                 George Carlin      80    historical   1527828032    97        97 0.00032503     0.000325034   0.03152833   0   0.000195656    0.031724


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                  # What's My Motivation                                                          George Carlin      45    historical   1527253128    26        26 0.00032503     0.000325034   0.00845089   0   0.000052444   0.0085033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R90   THE INDIAN SERGEANT                                                         GEORGE CARLIN      473337545   100   5739918                   The Indian Sergeant                                                             George Carlin      321   historical   1529285458   694     832.8   0.00032503   0.000325034   0.27068857   0   0.001679821   0.2723684


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                   People Who Want To Know The Time                                                George Carlin      450   historical   1527827951   591     945.6   0.00032503   0.000325034   0.30735243   0   0.001907347   0.3092598


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                   The Evening News                                                                George Carlin      165   historical   1527827959    42        42 0.00032503     0.000325034   0.01365144   0     0.0000847   0.0137362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                            1990   Andrew Dice Clay   132   historical   1529203497    11        11 0.00032503     0.000325034   0.00357538   0     0.0000222   0.0035976


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                  Language Of Comedy/Goodbye                                                      George Carlin      106   historical   1527253168     7         7 0.00032503     0.000325034   0.00227524   0     0.0000141   0.0022894


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                   Bumper Sticker                                                                  George Carlin      173   historical   1527828020    12        12 0.00032503     0.000325034   0.00390041   0     0.0000242   0.0039246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                  Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   1527253073    84     117.6   0.00032503   0.000325034   0.03822403   0   0.000237208   0.0384612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                   Nice Days                                                                       George Carlin      154   historical   1527827994    98        98 0.00032503     0.000325034   0.03185336   0   0.000197673    0.032051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                          ANDREW DICE CLAY   128623771   100   20966164   USSM19100204   Dice On Complaints (Live At Govenors/1991)                                      Andrew Dice Clay   85    historical   1529885266    19        19 0.00032503     0.000325034   0.00617565   0     0.0000383    0.006214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                     ROBIN WILLIAMS     89045747    100   22491098   USSM18600022   Khadafi (Live)                                                                  Robin Williams     111   historical   1530321265   1153     1153 0.00032503     0.000325034   0.37476455   0   0.002325688   0.3770902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                         GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                               George Carlin      340   historical   1530948399   507     608.4   0.00032503   0.000325034   0.19775087   0   0.001227189   0.1989781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                               ANDREW DICE CLAY   128623771   100   20966148   USSM19100195   Dice On Lasting Relationships (Live At Govenors/1991)                           Andrew Dice Clay   173   historical   1530092780    28        28 0.00032503     0.000325034   0.00910096   0     0.0000565   0.0091574


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                      ANDREW DICE CLAY   128623771   100   20966169   USSM19100209   Dice At The Drive Thru (Live At Govenors/1991)                                  Andrew Dice Clay   63    historical   1530016612    22        22 0.00032503     0.000325034   0.00715076   0     0.0000444   0.0071951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                         GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                               George Carlin      86    historical   1530925838    62        62 0.00032503     0.000325034   0.02015213   0   0.000125059   0.0202772


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                       ANDREW DICE CLAY   128623771   100   20966130   USSM19100189   Dice Goes To The Mall (Live At Govenors/1991)                                   Andrew Dice Clay   215   historical   1529995356    85        85 0.00032503     0.000325034   0.02762792   0   0.000171451   0.0277994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                            ANDREW DICE CLAY   128623771   100   20966136   USSM19100191   Dice Buys A Suit (Live At Govenors/1991)                                        Andrew Dice Clay   216   historical   1529789216    89        89 0.00032503     0.000325034   0.02892805   0    0.00017952   0.0291076


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                             GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                                   George Carlin      326   historical   1531069505   106     127.2   0.00032503   0.000325034   0.04134436   0   0.000256572   0.0416009


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                      GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                          George Carlin      28    historical   1530930749    33        33 0.00032503     0.000325034   0.01072613   0     0.0000666   0.0107927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                    ANDREW DICE CLAY   128623771   100   20966154   USSM19100198   Dice On Reading Material (Live At Govenors/1991)                                Andrew Dice Clay   67    historical   1530010441    35        35 0.00032503     0.000325034    0.0113762   0     0.0000706   0.0114468


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                  George Carlin      336   historical   1531049930   196     235.2   0.00032503   0.000325034   0.07644807   0   0.000474416   0.0769225


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                   GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                         George Carlin      389   historical   1530944390    93     130.2   0.00032503   0.000325034   0.04231947   0   0.000262623   0.0425821


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                               ANDREW DICE CLAY   128623771   100   20966167   USSM19100207   Dice On Manners (Live At Govenors/1991)                                         Andrew Dice Clay   79    historical   1530066161    65        65 0.00032503     0.000325034   0.02112723   0    0.00013111   0.0212583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20966156   USSM19100199   Dice On Orgasms (Live At Govenors/1991)                                         Andrew Dice Clay   126   historical   1529881015    32        32 0.00032503     0.000325034    0.0104011   0     0.0000645   0.0104656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                          GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                                George Carlin      157   historical   1530925262    25        25 0.00032503     0.000325034   0.00812586   0     0.0000504   0.0081763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                   ANDREW DICE CLAY   128623771   100   20966170   USSM19100210   Dice Gets Creative In Bed (Live At Govenors/1991)                               Andrew Dice Clay   307   historical   1529987256   132     158.4   0.00032503   0.000325034   0.05148543   0   0.000319505   0.0518049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                       ANDREW DICE CLAY   128623771   100   20966176   USSM19100216   Dice Rewrites History (Live At Govenors/1991)                                   Andrew Dice Clay   135   historical   1530065237    10        10 0.00032503     0.000325034   0.00325034   0     0.0000202   0.0032705
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 47 of 86 Page ID
                                                                                                                                                                                                                                              #:4500
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                                 Andrew Dice Clay   101   historical   1529798933    13        13 0.00032503     0.000325034   0.00422545   0   0.000026222   0.0042517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                      George Carlin      99    historical   1530958478    37        37 0.00032503     0.000325034   0.01202627   0     0.0000746   0.0121009


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                             Andrew Dice Clay   73    historical   1530021295   130       130 0.00032503     0.000325034   0.04225446   0    0.00026222   0.0425167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                          George Carlin      518   historical   1531086477     6      10.8   0.00032503   0.000325034   0.00351037   0     0.0000218   0.0035322


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)                         Andrew Dice Clay   98    historical   1529812344    29        29 0.00032503     0.000325034     0.009426   0     0.0000585   0.0094845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                                 Andrew Dice Clay   101   historical   1529766270    29        29 0.00032503     0.000325034     0.009426   0     0.0000585   0.0094845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                            GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                                       George Carlin      477   historical   1531056014     8      12.8   0.00032503   0.000325034   0.00416044   0     0.0000258   0.0041863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                                Andrew Dice Clay   111   historical   1530001254    34        34 0.00032503     0.000325034   0.01105117   0     0.0000686   0.0111197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                         George Carlin      25    historical   1530927552     1         1 0.00032503     0.000325034   0.00032503   0    0.00000202   0.0003271


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                               George Carlin      155   historical   1530943409   236       236 0.00032503     0.000325034    0.0767081   0    0.00047603   0.0771841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                                  George Carlin      586   historical   1531056446    85       170 0.00032503     0.000325034   0.05525583   0   0.000342903   0.0555987


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   1529760913    31        31 0.00032503     0.000325034   0.01007606   0     0.0000625   0.0101386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                     George Carlin      295   historical   1531057268     6         6 0.00032503     0.000325034   0.00195021   0     0.0000121   0.0019623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                              George Carlin      203   historical   1531077502   222       222 0.00032503     0.000325034   0.07215762   0   0.000447791   0.0726054


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                      George Carlin      192   historical   1531070962    78        78 0.00032503     0.000325034   0.02535268   0   0.000157332     0.02551


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                          George Carlin      418   historical   1531091244    50        70 0.00032503     0.000325034    0.0227524   0   0.000141195   0.0228936


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                        George Carlin      486   historical   1530945612    93     167.4   0.00032503   0.000325034   0.05441074   0   0.000337658   0.0547484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                                Andrew Dice Clay   154   historical   1529789786    39        39 0.00032503     0.000325034   0.01267634   0     0.0000787    0.012755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                             Andrew Dice Clay   189   historical   1530054303   130       130 0.00032503     0.000325034   0.04225446   0    0.00026222   0.0425167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                               Andrew Dice Clay   149   historical   1530007340    22        22 0.00032503     0.000325034   0.00715076   0     0.0000444   0.0071951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)                       Andrew Dice Clay   60    historical   1529879692    47        47 0.00032503     0.000325034   0.01527661   0     0.0000948   0.0153714


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                            George Carlin      229   historical   1530954652   655       655 0.00032503     0.000325034   0.21289747   0   0.001321184   0.2142187


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                          George Carlin      189   historical   1530961959   486       486 0.00032503     0.000325034   0.15796667   0   0.000980299    0.158947


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                   Andrew Dice Clay   145   historical   1529843034    36        36 0.00032503     0.000325034   0.01170124   0     0.0000726   0.0117739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                           Andrew Dice Clay   108   historical   1530001886    44        44 0.00032503     0.000325034   0.01430151   0     0.0000888   0.0143903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2016   10/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                              ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)                      Andrew Dice Clay   166   historical   1530100707    32        32 0.00032503     0.000325034    0.0104011   0     0.0000645   0.0104656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                George Carlin      388   historical   1531912288    62      86.8   0.00032942   0.000329416    0.0285933   0   0.000177442   0.0287707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                           GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                           George Carlin      59    historical   1532529995    27        27 0.00032942     0.000329416   0.00889423   0     0.0000552   0.0089494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                    George Carlin      38    historical   1531912377    39        39 0.00032942     0.000329416   0.01284722   0     0.0000797   0.0129269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                George Carlin      66    historical   1531912351    44        44 0.00032942     0.000329416    0.0144943   0     0.0000899   0.0145842


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                               GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                               George Carlin      743   historical   1531912347    35        91 0.00032942     0.000329416   0.02997685   0   0.000186028   0.0301629


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                            George Carlin      396   historical   1531912369    57      79.8   0.00032942   0.000329416   0.02628739   0   0.000163133   0.0264505


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                         George Carlin      183   historical   1532530013   401       401 0.00032942     0.000329416   0.13209578   0   0.000819751   0.1329155


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                               GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                             George Carlin      338   historical   1531912379    49      58.8   0.00032942   0.000329416   0.01936966   0   0.000120203   0.0194899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                      GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                      George Carlin      188   historical   1532530043    31        31 0.00032942     0.000329416   0.01021189   0     0.0000634   0.0102753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                           GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                           George Carlin      118   historical   1531912335    13        13 0.00032942     0.000329416   0.00428241   0     0.0000266    0.004309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                              GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                              George Carlin      42    historical   1531912332    15        15 0.00032942     0.000329416   0.00494124   0   0.000030664   0.0049719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                              GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                              George Carlin      183   historical   1532530031    36        36 0.00032942     0.000329416   0.01185897   0     0.0000736   0.0119326


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                               GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                               George Carlin      106   historical   1531912383    12        12 0.00032942     0.000329416   0.00395299   0     0.0000245   0.0039775


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                               ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                               Andrew Dice Clay   131   historical   1533908724    11        11 0.00032942     0.000329416   0.00362358   0     0.0000225   0.0036461


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                           GEORGE CARLIN      473337545   100   3446767                    Retired People                                                           George Carlin      63    historical   1532530047    57        57 0.00032942     0.000329416   0.01877671   0   0.000116523   0.0188932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                 GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                 George Carlin      165   historical   1532530023     6         6 0.00032942     0.000329416    0.0019765   0     0.0000123   0.0019888


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8MUA TRAFFIC ACCIDENTS ‐ KEEP MOVIN'!                                           GEORGE CARLIN      473337545   100   3657797                    Traffic Accidents ? Keep Movin'!                                         George Carlin      376   historical   1532727271   1127   1577.8   0.00032942   0.000329416   0.51975241   0   0.003225444   0.5229779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                  George Carlin      101   historical   1532529957    89        89 0.00032942     0.000329416   0.02931802   0    0.00018194      0.0295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                George Carlin      129   historical   1532530045    30        30 0.00032942     0.000329416   0.00988248   0   0.000061328   0.0099438


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                          George Carlin      80    historical   1532530037   154       154 0.00032942     0.000329416   0.05073005   0   0.000314817   0.0510449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                 GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                               George Carlin      84    historical   1531912292    37        37 0.00032942     0.000329416   0.01218839   0     0.0000756    0.012264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                         GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                         George Carlin      74    historical   1532530007    15        15 0.00032942     0.000329416   0.00494124   0   0.000030664   0.0049719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   5975940                    He Said She Said                                                         Andrew Dice Clay   462   historical   1534196011   103     164.8   0.00032942   0.000329416   0.05428774   0   0.000336895   0.0546246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                   GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                   George Carlin      152   historical   1532529969    26        26 0.00032942     0.000329416   0.00856481   0     0.0000532    0.008618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                         GEORGE CARLIN      473337545   100   3446748                    Religious People                                                         George Carlin      400   historical   1532530019   537     751.8   0.00032942   0.000329416   0.24765487   0    0.00153688   0.2491918


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                    GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                           George Carlin      173   historical   1532530025    22        22 0.00032942     0.000329416   0.00724715   0      0.000045   0.0072921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                             GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                             George Carlin      200   historical   1532530011   177       177 0.00032942     0.000329416   0.05830661   0   0.000361835   0.0586685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                 GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                 George Carlin      334   historical   1531912345    77      92.4   0.00032942   0.000329416   0.03043803   0    0.00018889   0.0306269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical   1531912381    89        89 0.00032942     0.000329416   0.02931802   0    0.00018194      0.0295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                      GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                      George Carlin      174   historical   1532530033    89        89 0.00032942     0.000329416   0.02931802   0    0.00018194      0.0295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                  GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                  George Carlin      108   historical   1531912337    32        32 0.00032942     0.000329416   0.01054131   0     0.0000654   0.0106067


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                           George Carlin      268   historical   1533321491   2635     2635 0.00032942     0.000329416    0.8680109   0   0.005386642   0.8733975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                         George Carlin      164   historical   1532530005    49        49 0.00032942     0.000329416   0.01614138   0   0.000100169   0.0162415


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                              GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                            George Carlin      481   historical   1531912296    66     118.8   0.00032942   0.000329416   0.03913461   0   0.000242859   0.0393775


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                         George Carlin      484   historical   1531912314    60       108 0.00032942     0.000329416   0.03557692   0   0.000220781   0.0357977


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                        George Carlin      221   historical   1532529967   116       116 0.00032942     0.000329416   0.03821224   0   0.000237135   0.0384494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                    GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                    George Carlin      441   historical   1531912353   301     481.6   0.00032942   0.000329416    0.1586467   0   0.000984519   0.1596312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R90   THE INDIAN SERGEANT                                                      GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                                      George Carlin      321   historical   1533991713   703     843.6   0.00032942   0.000329416   0.27789525   0   0.001724543   0.2796198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   1533321487   1714     1714 0.00032942     0.000329416   0.56461885   0   0.003503873   0.5681227


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                               George Carlin      271   historical   1532529953    67        67 0.00032942     0.000329416   0.02207087   0   0.000136966   0.0222078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                    GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                  George Carlin      301   historical   1532529959   110       132 0.00032942     0.000329416    0.0434829   0   0.000269843   0.0437527


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                       GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                       George Carlin      46    historical   1531912361     5         5 0.00032942     0.000329416   0.00164708   0     0.0000102   0.0016573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                    GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                    George Carlin      228   historical   1531912324   102       102 0.00032942     0.000329416   0.03360042   0   0.000208515   0.0338089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                   George Carlin      69    historical   1531912310    10        10 0.00032942     0.000329416   0.00329416   0     0.0000204   0.0033146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                  GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                  George Carlin      180   historical   1532530015    55        55 0.00032942     0.000329416   0.01811788   0   0.000112435   0.0182303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                               GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                               George Carlin      54    historical   1532529997   181       181 0.00032942     0.000329416   0.05962428   0   0.000370012   0.0599943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                  GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                  George Carlin      64    historical   1531912328    22        22 0.00032942     0.000329416   0.00724715   0      0.000045   0.0072921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                            GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                            George Carlin      100   historical   1532530027     8         8 0.00032942     0.000329416   0.00263533   0     0.0000164   0.0026517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                          George Carlin      418   historical   1536075306    69      96.6   0.00032942   0.000329416   0.03182158   0   0.000197476   0.0320191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   32163213   USZQE0610782    The Cool World                                                           George Carlin      316   historical   1535543375    15        18 0.00032942     0.000329416   0.00592949   0     0.0000368   0.0059663


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                   GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                   George Carlin      322   historical   1532529961    87     104.4   0.00032942   0.000329416   0.03439102   0   0.000213421   0.0346044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   5970472                    Bambi                                                                    Andrew Dice Clay   162   historical   1534191667    20        20 0.00032942     0.000329416   0.00658832   0     0.0000409   0.0066292


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                   GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                   George Carlin      595   historical   1531912322    65       130 0.00032942     0.000329416   0.04282407   0   0.000265755   0.0430898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                  George Carlin      62    historical   1531912357    42        42 0.00032942     0.000329416   0.01383547   0     0.0000859   0.0139213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                        GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                        George Carlin      157   historical   1531912306    52        52 0.00032942     0.000329416   0.01712963   0   0.000106302   0.0172359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                   George Carlin      335   historical   1533790297   571     685.2   0.00032942   0.000329416   0.22571578   0   0.001400731   0.2271165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                               GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                               George Carlin      164   historical   1531912359    21        21 0.00032942     0.000329416   0.00691773   0     0.0000429   0.0069607
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                         GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                          George Carlin      286   historical   1533321493   2575     2575 0.00032942     0.000329416   0.84824594   0   0.005263986   0.8535099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                  1990   Andrew Dice Clay   132   historical   1533908748    17        17 0.00032942     0.000329416   0.00560007   0     0.0000348   0.0056348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                    GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                     George Carlin      450   historical   1532529955   536     857.6   0.00032942   0.000329416   0.28250708   0   0.001753163   0.2842602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                       GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                        George Carlin      250   historical   1531912355    88        88 0.00032942     0.000329416    0.0289886   0   0.000179896   0.0291685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                   GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                             George Carlin      181   historical   1532495320   479       479 0.00032942     0.000329416   0.15779022   0   0.000979204   0.1587694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                 GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                  George Carlin      246   historical   1531912367   319       319 0.00032942     0.000329416   0.10508367   0   0.000652121   0.1057358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                      GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                       George Carlin      74    historical   1531912326    21        21 0.00032942     0.000329416   0.00691773   0     0.0000429   0.0069607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                              GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                               George Carlin      369   historical   1533796089    48      67.2   0.00032942   0.000329416   0.02213675   0   0.000137375   0.0222741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                      GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                       George Carlin      388   historical   1531912363    64      89.6   0.00032942   0.000329416   0.02951567   0   0.000183166   0.0296988


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                    GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                   George Carlin      315   historical   1533321475   2813   3375.6   0.00032942   0.000329416   1.11197631   0   0.006900626   1.1188769


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                     ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                         Robin Williams     76    historical   1534556015   234       234 0.00032942     0.000329416   0.07708332   0   0.000478358   0.0775617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                          ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                               Robin Williams     246   historical   1534642186   585       585 0.00032942     0.000329416    0.1927083   0   0.001195896   0.1939042


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                      ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                               Andrew Dice Clay   145   historical   1534557081    17        17 0.00032942     0.000329416   0.00560007   0     0.0000348   0.0056348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                      GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                          George Carlin      203   historical   1536061075   130       130 0.00032942     0.000329416   0.04282407   0   0.000265755   0.0430898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                           ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                               Robin Williams     81    historical   1534632050   336       336 0.00032942     0.000329416   0.11068374   0   0.000686874   0.1113706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                 GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                     George Carlin      86    historical   1535728658    37        37 0.00032942     0.000329416   0.01218839   0     0.0000756    0.012264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                  GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                      George Carlin      189   historical   1535768389   560       560 0.00032942     0.000329416    0.1844729   0   0.001144789   0.1856177


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                              ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)                       Andrew Dice Clay   63    historical   1534738024    22        22 0.00032942     0.000329416   0.00724715   0      0.000045   0.0072921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                     ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                              Andrew Dice Clay   126   historical   1534596405    26        26 0.00032942     0.000329416   0.00856481   0     0.0000532    0.008618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                            ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)                     Andrew Dice Clay   98    historical   1534525137    28        28 0.00032942     0.000329416   0.00922365   0     0.0000572   0.0092809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                 GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                     George Carlin      340   historical   1535754014   474     568.8   0.00032942   0.000329416   0.18737176   0   0.001162779   0.1885345


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                          GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                           George Carlin      46    historical   1531912371    40        40 0.00032942     0.000329416   0.01317664   0     0.0000818   0.0132584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                   GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                                  George Carlin      350   historical   1533798058    10        12 0.00032942     0.000329416   0.00395299   0     0.0000245   0.0039775


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                              GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                               George Carlin      45    historical   1531912343    37        37 0.00032942     0.000329416   0.01218839   0     0.0000756    0.012264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                    GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                     George Carlin      118   historical   1531912339    50        50 0.00032942     0.000329416    0.0164708   0   0.000102213    0.016573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                           GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                            George Carlin      154   historical   1532529999    52        52 0.00032942     0.000329416   0.01712963   0   0.000106302   0.0172359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                              GEORGE CARLIN      473337545   100   3446728                    Airlines                                                             George Carlin      518   historical   1532529980    74     133.2   0.00032942   0.000329416    0.0438782   0   0.000272296   0.0441505


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                        GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                         George Carlin      121   historical   1532530003    43        43 0.00032942     0.000329416   0.01416488   0     0.0000879   0.0142528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                 George Carlin      487   historical   1532530021    89     160.2   0.00032942   0.000329416   0.05277243   0   0.000327492   0.0530999


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                          GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                              George Carlin      586   historical   1536039129    53       106 0.00032942     0.000329416   0.03491809   0   0.000216692   0.0351348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                  ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                           Andrew Dice Clay   85    historical   1534600913    18        18 0.00032942     0.000329416   0.00592949   0     0.0000368   0.0059663


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                               ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                        Andrew Dice Clay   135   historical   1534788559    17        17 0.00032942     0.000329416   0.00560007   0     0.0000348   0.0056348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                             ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                Robin Williams     337   historical   1534777091   868    1041.6   0.00032942   0.000329416    0.3431196   0   0.002129308   0.3452489


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                           ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                               Robin Williams     223   historical   1534738341   552       552 0.00032942     0.000329416   0.18183758   0   0.001128435    0.182966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                        ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                        Robin Williams     370   historical   1535014649   820      1148 0.00032942     0.000329416   0.37816945   0   0.002346818   0.3805163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                     ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                         Robin Williams     192   historical   1534788994   495       495 0.00032942     0.000329416   0.16306087   0   0.001011912   0.1640728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                              GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                    George Carlin      486   historical   1535750898    87     156.6   0.00032942   0.000329416   0.05158653   0   0.000320132   0.0519067


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                         Andrew Dice Clay   73    historical   1534742904   126       126 0.00032942     0.000329416    0.0415064   0   0.000257578    0.041764


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                   ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                            Andrew Dice Clay   98    historical   1534471602    29        29 0.00032942     0.000329416   0.00955306   0     0.0000593   0.0096123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                             ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                 Robin Williams     154   historical   1534707707   113       113 0.00032942     0.000329416     0.037224   0   0.000231002    0.037455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                              GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                George Carlin      28    historical   1535734254    29        29 0.00032942     0.000329416   0.00955306   0     0.0000593   0.0096123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                     ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)                   Robin Williams     646   historical   1535044525     2       4.4   0.00032942   0.000329416   0.00144943   0    0.00000899   0.0014584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                       ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)                Andrew Dice Clay   173   historical   1534817404    23        23 0.00032942     0.000329416   0.00757657   0      0.000047   0.0076236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                           ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)                    Andrew Dice Clay   307   historical   1534707483   632     758.4   0.00032942   0.000329416   0.24982902   0   0.001550372   0.2513794


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)          GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                      George Carlin      518   historical   1536070397     1       1.8   0.00032942   0.000329416   0.00059295   0    0.00000368   0.0005966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                    GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                     George Carlin      165   historical   1532529963    29        29 0.00032942     0.000329416   0.00955306   0     0.0000593   0.0096123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                    GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                        George Carlin      336   historical   1536032197   167     200.4   0.00032942   0.000329416   0.06601495   0   0.000409671   0.0664246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                       GEORGE CARLIN      473337545   100   32163205   USZQE0610779    Killer Carlin                                                        George Carlin      167   historical   1535574158     7         7 0.00032942     0.000329416    0.0010963   0     0.0000068   0.0011031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                     GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                         George Carlin      326   historical   1536052794   101     121.2   0.00032942   0.000329416   0.03992521   0   0.000247765    0.040173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                    ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                             Andrew Dice Clay   101   historical   1534477116    14        14 0.00032942     0.000329416   0.00461182   0     0.0000286   0.0046404


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO             GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                        George Carlin      229   historical   1535760633   671       671 0.00032942     0.000329416   0.22103807   0   0.001371703   0.2224098


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                          ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)                   Andrew Dice Clay   60    historical   1534595032    48        48 0.00032942     0.000329416   0.01581196   0     0.0000981   0.0159101


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                     GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                 George Carlin      295   historical   1536039967     1         1 0.00032942     0.000329416   0.00032942   0    0.00000204   0.0003315


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                  GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                      George Carlin      157   historical   1535727999    40        40 0.00032942     0.000329416   0.01317664   0     0.0000818   0.0132584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                          ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                        Robin Williams     517   historical   1535037492    19      34.2   0.00032942   0.000329416   0.01126602   0     0.0000699   0.0113359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                  ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)                Robin Williams     130   historical   1535015325   236       236 0.00032942     0.000329416   0.07774215   0   0.000482447   0.0782246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                        GEORGE CARLIN      473337545   100   32163210   USZQE0610781    War Pictures                                                         George Carlin      222   historical   1535560868    10        10 0.00032942     0.000329416   0.00156615   0    0.00000972   0.0015759


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                               ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                        Andrew Dice Clay   215   historical   1534715951    83        83 0.00032942     0.000329416   0.02734152   0   0.000169674   0.0275112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                    ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                             Andrew Dice Clay   216   historical   1534501018    98        98 0.00032942     0.000329416   0.03228276   0   0.000200338   0.0324831


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                       ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                           Robin Williams     188   historical   1534736141   762       762 0.00032942     0.000329416   0.25101492   0   0.001557731   0.2525726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                               ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                               Robin Williams     406   historical   1535026161   973    1362.2   0.00032942   0.000329416   0.44873034   0     0.0027847    0.451515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                          ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)          Robin Williams     359   historical   1535011798   1077   1292.4   0.00032942   0.000329416   0.42573711   0    0.00264201   0.4283791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                 ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)                 Robin Williams     325   historical   1535044781   980      1176 0.00032942     0.000329416    0.3873931   0   0.002404057   0.3897972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                              GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                  George Carlin      192   historical   1536054280    65        65 0.00032942     0.000329416   0.02141203   0   0.000132877   0.0215449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                              ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                       Andrew Dice Clay   108   historical   1534722692    31        31 0.00032942     0.000329416   0.01021189   0     0.0000634   0.0102753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                         ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)                  Andrew Dice Clay   166   historical   1534825619    17        17 0.00032942     0.000329416   0.00560007   0     0.0000348   0.0056348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                             ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                       Robin Williams     111   historical   1535060540   1188     1188 0.00032942     0.000329416   0.39134609   0   0.002428589   0.3937747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                            ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)                     Andrew Dice Clay   67    historical   1534731542    24        24 0.00032942     0.000329416   0.00790598   0     0.0000491    0.007955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                           GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                               George Carlin      389   historical   1535749503   105       147 0.00032942     0.000329416   0.04842414   0   0.000300507   0.0487246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                   ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                            Andrew Dice Clay   111   historical   1534722048    28        28 0.00032942     0.000329416   0.00922365   0     0.0000572   0.0092809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                    ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                             Andrew Dice Clay   101   historical   1534511125    17        17 0.00032942     0.000329416   0.00560007   0     0.0000348   0.0056348


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                     GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                                     George Carlin      214   historical   1535567224    23        23 0.00032942     0.000329416   0.00757657   0      0.000047   0.0076236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                       GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                           George Carlin      155   historical   1535748393   205       205 0.00032942     0.000329416   0.06753026   0   0.000419075   0.0679493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                       ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                              Andrew Dice Clay   79    historical   1534789523    83        83 0.00032942     0.000329416   0.02734152   0   0.000169674   0.0275112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                  ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                           Andrew Dice Clay   149   historical   1534728295    10        10 0.00032942     0.000329416   0.00329416   0     0.0000204   0.0033146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                        GEORGE CARLIN      473337545   100   32163203   USZQE0610778    Mothers Club                                                         George Carlin      279   historical   1535562054     5         5 0.00032942     0.000329416   0.00078307   0    0.00000486   0.0007879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                           GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                  George Carlin      99    historical   1535764659    78        78 0.00032942     0.000329416   0.02569444   0   0.000159453   0.0258539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                           GEORGE CARLIN      473337545   100   32163208   USZQE0610780    Capt. Jack & Jolly George                                            George Carlin      241   historical   1535553599     2         2 0.00032942     0.000329416   0.00065883   0    0.00000409   0.0006629


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                         Andrew Dice Clay   189   historical   1534777193    84        84 0.00032942     0.000329416   0.02767094   0   0.000171718   0.0278427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                     ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                            Andrew Dice Clay   154   historical   1534501613    15        15 0.00032942     0.000329416   0.00494124   0   0.000030664   0.0049719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                   ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)                   Robin Williams     405   historical   1535036382   1119   1566.6   0.00032942   0.000329416   0.51606295   0   0.003202548   0.5192655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2016   11/30/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                         GEORGE CARLIN      473337545   100   32163219   USZQE0610784    The Sickest                                                          George Carlin      113   historical   1535561195     4         4 0.00032942     0.000329416   0.00131766   0    0.00000818   0.0013258


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    4/1/2017    4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                              GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                               George Carlin      152   historical    50885929     41        41 0.00029571     0.000295712   0.01212418   0     0.0000752   0.0121994
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 49 of 86 Page ID
                                                                                                                                                                                                                                              #:4502
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                           George Carlin      228   historical   49259749    136        136 0.00029571     0.000295712   0.04021681   0   0.000249575   0.0404664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                           GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                                             George Carlin      350   historical   51799274     14       16.8   0.00029571   0.000295712   0.00496796   0     0.0000308   0.0049988


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                        George Carlin      165   historical   50885958     12         12 0.00029571     0.000295712   0.00354854   0      0.000022   0.0035706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical   50885950     32         32 0.00029571     0.000295712   0.00946278   0     0.0000587   0.0095215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   50885933    129      232.2   0.00029571   0.000295712   0.06866428   0   0.000426112   0.0690904


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   49259759     92      110.4   0.00029571   0.000295712   0.03264658   0   0.000202596   0.0328492


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   50885957     79      142.2   0.00029571   0.000295712   0.04205022   0   0.000260952   0.0423112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                              George Carlin      315   historical   51657006   3639     4366.8   0.00029571   0.000295712   1.29131429   0   0.008013549   1.2993278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                                George Carlin      450   historical   50885921    845       1352 0.00029571     0.000295712   0.39980235   0   0.002481066   0.4022834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical   49259741     27         27 0.00029571     0.000295712   0.00798422   0     0.0000495   0.0080338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   50885922     50         50 0.00029571     0.000295712   0.01478559   0     0.0000918   0.0148773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                           George Carlin      38    historical   49259775    218        218 0.00029571     0.000295712   0.06446517   0   0.000400054   0.0648652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                         George Carlin      180   historical   50885954     23         23 0.00029571     0.000295712   0.00680137   0     0.0000422   0.0068436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   49259768     73      102.2   0.00029571   0.000295712   0.03022175   0   0.000187548   0.0304093


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                                George Carlin      165   historical   50885925     19         19 0.00029571     0.000295712   0.00561852   0     0.0000349   0.0056534


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   51657015   2602       2602 0.00029571     0.000295712    0.7694421   0   0.004774951   0.7742171


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical   49259760     28       72.8   0.00029571   0.000295712   0.02152782   0   0.000133596   0.0216614


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical   50885952    156        156 0.00029571     0.000295712   0.04613104   0   0.000286277   0.0464173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                          George Carlin      595   historical   49259748     60        120 0.00029571     0.000295712   0.03548542   0   0.000220213   0.0357056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   49259763    302      483.2   0.00029571   0.000295712   0.14288794   0   0.000886724   0.1437747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   51657012   1706       1706 0.00029571     0.000295712   0.50448433   0   0.003130694    0.507615


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   49259745     49       88.2   0.00029571   0.000295712   0.02608178   0   0.000161857   0.0262436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   50885972     38         38 0.00029571     0.000295712   0.01123705   0     0.0000697   0.0113068


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   51657014   3641       3641 0.00029571     0.000295712   1.07668666   0   0.006681628   1.0833683


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                    Retired People                                                                  George Carlin      63    historical   50885986     55         55 0.00029571     0.000295712   0.01626415   0   0.000100931   0.0163651


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   50885956    364      509.6   0.00029571   0.000295712   0.15069473   0   0.000935171   0.1516299


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical   49259736    107        107 0.00029571     0.000295712   0.03164116   0   0.000196357   0.0318375


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                                George Carlin      118   historical   49259756      6          6 0.00029571     0.000295712   0.00177427   0      0.000011   0.0017853


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                            GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                                George Carlin      183   historical   50885953    388        388 0.00029571     0.000295712   0.11473618   0   0.000712022   0.1154482


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   51797445    558      669.6   0.00029571   0.000295712   0.19800862   0   0.001228788   0.1992374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   49259765     91         91 0.00029571     0.000295712   0.02690977   0   0.000166995   0.0270768


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R90   THE INDIAN SERGEANT                                                         GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                                             George Carlin      321   historical   51846258    672      806.4   0.00029571   0.000295712     0.238462   0   0.001479831   0.2399418


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   49259764    200        200 0.00029571     0.000295712   0.05914236   0   0.000367022   0.0595094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical   49259766     10         10 0.00029571     0.000295712   0.00295712   0     0.0000184   0.0029755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                                 George Carlin      80    historical   50885979    108        108 0.00029571     0.000295712   0.03193687   0   0.000198192   0.0321351


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                             George Carlin      246   historical   49259770    332        332 0.00029571     0.000295712   0.09817632   0   0.000609256   0.0987856


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                                  George Carlin      74    historical   49259750     31         31 0.00029571     0.000295712   0.00916707   0     0.0000569    0.009224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   49259777    125        125 0.00029571     0.000295712   0.03696398   0   0.000229389   0.0371934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   49259734     78      109.2   0.00029571   0.000295712   0.03229173   0   0.000200394   0.0324921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   51825991      8          8 0.00029571     0.000295712   0.00236569   0     0.0000147   0.0023804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                                      George Carlin      54    historical   50885938     84         84 0.00029571     0.000295712   0.02483979   0   0.000154149   0.0249939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                                  George Carlin      118   historical   49259754     26         26 0.00029571     0.000295712   0.00768851   0     0.0000477   0.0077362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                                    George Carlin      121   historical   50885945     21         21 0.00029571     0.000295712   0.00620995   0     0.0000385   0.0062485


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   50885937     35         35 0.00029571     0.000295712   0.01034991   0     0.0000642   0.0104141


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   49259755      9          9 0.00029571     0.000295712   0.00266141   0   0.000016516   0.0026779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   51798929     64       89.6   0.00029571   0.000295712   0.02649578   0   0.000164426   0.0266602


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical   49259758     25         25 0.00029571     0.000295712    0.0073928   0     0.0000459   0.0074387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   49259738     76      136.8   0.00029571   0.000295712   0.04045337   0   0.000251043   0.0407044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical   49259776     40         48 0.00029571     0.000295712   0.01419417   0     0.0000881   0.0142823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   49259772     41         41 0.00029571     0.000295712   0.01212418   0     0.0000752   0.0121994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   50885961      5          5 0.00029571     0.000295712   0.00147856   0    0.00000918   0.0014877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   49259762     45         45 0.00029571     0.000295712   0.01330703   0     0.0000826   0.0133896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   50885927    131        131 0.00029571     0.000295712   0.03873825   0   0.000240399   0.0389786


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical   49259751     45         45 0.00029571     0.000295712   0.01330703   0     0.0000826   0.0133896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   49259771     76      106.4   0.00029571   0.000295712   0.03146374   0   0.000195256    0.031659


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   50885920     41         41 0.00029571     0.000295712   0.01212418   0     0.0000752   0.0121994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical   49259778     64         64 0.00029571     0.000295712   0.01892556   0   0.000117447    0.019043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                         George Carlin      301   historical   50885923    111      133.2   0.00029571   0.000295712   0.03938881   0   0.000244436   0.0396332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                       George Carlin      154   historical   50885940     75         75 0.00029571     0.000295712   0.02217839   0   0.000137633    0.022316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   50885966     69         69 0.00029571     0.000295712   0.02040411   0   0.000126622   0.0205307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   49259743     12         12 0.00029571     0.000295712   0.00354854   0      0.000022   0.0035706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                              George Carlin      46    historical   49259767      8          8 0.00029571     0.000295712   0.00236569   0     0.0000147   0.0023804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   50885947      9          9 0.00029571     0.000295712   0.00266141   0   0.000016516   0.0026779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   49259753     69         69 0.00029571     0.000295712   0.02040411   0   0.000126622   0.0205307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   51826003      7          7 0.00029571     0.000295712   0.00206998   0     0.0000128   0.0020828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                                  George Carlin      173   historical   50885959     27         27 0.00029571     0.000295712   0.00798422   0     0.0000495   0.0080338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                        George Carlin      181   historical   50860418    429        429 0.00029571     0.000295712   0.12686036   0   0.000787261   0.1276476


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   50885981     67         67 0.00029571     0.000295712   0.01981269   0   0.000122952   0.0199356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   50885924     99      118.8   0.00029571   0.000295712   0.03513056   0   0.000218011   0.0353486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   50885984     26         26 0.00029571     0.000295712   0.00768851   0     0.0000477   0.0077362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                         ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)                             Andrew Dice Clay   198   historical   49988159      3          3 0.00029571     0.000295712   0.00088714   0    0.00000551   0.0008926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                                  ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)                     Robin Williams     359   historical   50194886   16036   19243.2   0.00029571   0.000295712   5.69044131   0   0.035313349   5.7257547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                                       George Carlin      85    historical   51075978    271        271 0.00029571     0.000295712    0.0801379   0   0.000497314   0.0806352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                                 ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                                     Andrew Dice Clay   79    historical   50007866     29         29 0.00029571     0.000295712   0.00857564   0     0.0000532   0.0086289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                   GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                          George Carlin      389   historical   51050704     88      123.2   0.00029571   0.000295712   0.03643169   0   0.000226085   0.0366578


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                          GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                                 George Carlin      418   historical   51059415     18       25.2   0.00029571   0.000295712   0.00745194   0     0.0000462   0.0074982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9INM   SOMETHING SOFT                                                              ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)                                     Andrew Dice Clay   285   historical   49988169      2          2 0.00029571     0.000295712   0.00059142   0    0.00000367   0.0005951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                    ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                                        Andrew Dice Clay   34    historical   50007869     18         18 0.00029571     0.000295712   0.00532281   0      0.000033   0.0053558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                       ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                                         Andrew Dice Clay   195   historical   50039765     27         27 0.00029571     0.000295712   0.00798422   0     0.0000495   0.0080338


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                     GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                                            George Carlin      206   historical   51075969     47         47 0.00029571     0.000295712   0.01389846   0     0.0000863   0.0139847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                          ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                                              Andrew Dice Clay   50    historical   50007896     11         11 0.00029571     0.000295712   0.00325283   0     0.0000202    0.003273


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                              ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                                  Andrew Dice Clay   140   historical   50039767      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                     GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                            George Carlin      175   historical   51049889      3          3 0.00029571     0.000295712   0.00088714   0    0.00000551   0.0008926
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 50 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                          Andrew Dice Clay   114   historical   50039760      5          5 0.00029571     0.000295712   0.00147856   0    0.00000918   0.0014877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                    George Carlin      261   historical   51050457     14         14 0.00029571     0.000295712   0.00413997   0     0.0000257   0.0041657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                    Andrew Dice Clay   178   historical   50039758      6          6 0.00029571     0.000295712   0.00177427   0      0.000011   0.0017853


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                            George Carlin      147   historical   51049597    133        133 0.00029571     0.000295712   0.03932967   0   0.000244069   0.0395737


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                          George Carlin      182   historical   51075972    781        781 0.00029571     0.000295712   0.23095092   0   0.001433219   0.2323841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                  Robin Williams     223   historical   49907727    624        624 0.00029571     0.000295712   0.18452416   0   0.001145107   0.1856693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                George Carlin      150   historical   51050465     82         82 0.00029571     0.000295712   0.02424837   0   0.000150479   0.0243988


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                               George Carlin      153   historical   51049887     17         17 0.00029571     0.000295712    0.0050271   0     0.0000312   0.0050583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                         Andrew Dice Clay   135   historical   50007877     21         21 0.00029571     0.000295712   0.00620995   0     0.0000385   0.0062485


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                              Andrew Dice Clay   127   historical   50039751      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   73    historical   50007885     65         65 0.00029571     0.000295712   0.01922127   0   0.000119282   0.0193405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                   Andrew Dice Clay   468   historical   50039769     59       94.4   0.00029571   0.000295712   0.02791519   0   0.000173234   0.0280884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                            Robin Williams     192   historical   49907738    608        608 0.00029571     0.000295712   0.17979277   0   0.001115746   0.1809085


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)              Andrew Dice Clay   85    historical   50027166     19         19 0.00029571     0.000295712   0.00561852   0     0.0000349   0.0056534


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                          Andrew Dice Clay   107   historical   50039772     14         14 0.00029571     0.000295712   0.00413997   0     0.0000257   0.0041657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                               Andrew Dice Clay   71    historical   50007882     12         12 0.00029571     0.000295712   0.00354854   0      0.000022   0.0035706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                Andrew Dice Clay   304   historical   50288482      1        1.2   0.00029571   0.000295712   0.00035485   0     0.0000022   0.0003571


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620    The Honeymoon's Over                                    Andrew Dice Clay   55    historical   50288478      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)           Andrew Dice Clay   231   historical   49988164      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                   Andrew Dice Clay   60    historical   50007867     24         24 0.00029571     0.000295712   0.00709708   0      0.000044   0.0071411


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93UW TEXAS                                                                      ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                      Andrew Dice Clay   185   historical   49988153      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                      George Carlin      61    historical   51050462    125        125 0.00029571     0.000295712   0.03696398   0   0.000229389   0.0371934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                             Andrew Dice Clay   29    historical   50007893      9          9 0.00029571     0.000295712   0.00266141   0   0.000016516   0.0026779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                           Andrew Dice Clay   32    historical   50007895     14         14 0.00029571     0.000295712   0.00413997   0     0.0000257   0.0041657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                      Andrew Dice Clay   255   historical   50039756     70         70 0.00029571     0.000295712   0.02069983   0   0.000128458   0.0208283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                               ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                  Robin Williams     246   historical   49907735    813        813 0.00029571     0.000295712   0.24041369   0   0.001491943   0.2419056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                    Andrew Dice Clay   79    historical   50039753      3          3 0.00029571     0.000295712   0.00088714   0    0.00000551   0.0008926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)               Andrew Dice Clay   200   historical   49988165      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                GEORGE CARLIN      473337545   100   32163208   USZQE0610780    Capt. Jack & Jolly George                               George Carlin      241   historical   50755281      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                   Andrew Dice Clay   162   historical   50007886     83         83 0.00029571     0.000295712   0.02454408   0   0.000152314   0.0246964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                      George Carlin      263   historical   51075965    403        403 0.00029571     0.000295712   0.11917186   0   0.000739549   0.1199114


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                           Andrew Dice Clay   100   historical   50007889     50         50 0.00029571     0.000295712   0.01478559   0     0.0000918   0.0148773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                              Andrew Dice Clay   66    historical   50007875     23         23 0.00029571     0.000295712   0.00680137   0     0.0000422   0.0068436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                        George Carlin      158   historical   51075976    177        177 0.00029571     0.000295712   0.05234099   0   0.000324814   0.0526658


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                George Carlin      286   historical   51055187    245        245 0.00029571     0.000295712   0.07244939   0   0.000449601    0.072899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)      Andrew Dice Clay   186   historical   49988154      2          2 0.00029571     0.000295712   0.00059142   0    0.00000367   0.0005951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                             George Carlin      173   historical   51075963     17         17 0.00029571     0.000295712    0.0050271   0     0.0000312   0.0050583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                            George Carlin      426   historical   51075977    665       1064 0.00029571     0.000295712   0.31463736   0   0.001952555   0.3165899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                            Andrew Dice Clay   42    historical   50007894     18         18 0.00029571     0.000295712   0.00532281   0      0.000033   0.0053558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)             Andrew Dice Clay   339   historical   49988158      1        1.2   0.00029571   0.000295712   0.00035485   0     0.0000022   0.0003571


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)              Andrew Dice Clay   149   historical   50027156     77         77 0.00029571     0.000295712   0.02276981   0   0.000141303   0.0229111


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                        George Carlin      214   historical   50755284     48         48 0.00029571     0.000295712   0.01419417   0     0.0000881   0.0142823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                            Andrew Dice Clay   106   historical   50039755     20         20 0.00029571     0.000295712   0.00591424   0     0.0000367   0.0059509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                Andrew Dice Clay   114   historical   50039749     16         16 0.00029571     0.000295712   0.00473139   0     0.0000294   0.0047608


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                Andrew Dice Clay   48    historical   50007892     10         10 0.00029571     0.000295712   0.00295712   0     0.0000184   0.0029755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                 Andrew Dice Clay   202   historical   50039748     43         43 0.00029571     0.000295712   0.01271561   0     0.0000789   0.0127945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                          Andrew Dice Clay   114   historical   50039759      5          5 0.00029571     0.000295712   0.00147856   0    0.00000918   0.0014877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                              George Carlin      310   historical   51075966    358      429.6   0.00029571   0.000295712   0.12703779   0   0.000788362   0.1278262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                  Robin Williams     406   historical   50194890   16796   23514.4   0.00029571   0.000295712   6.95348555   0   0.043151462    6.996637


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2ILH   YOU & ME (THINGS THAT COME OFF OF YOUR BODY)                             GEORGE CARLIN      473337545   100   37439992   QMFME1556468 You & Me (Things That Come off Your Body)                  George Carlin      638   historical   51076108     49      107.8   0.00029571   0.000295712   0.03187773   0   0.000197825   0.0320756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                      George Carlin      355   historical   51075962    885       1062 0.00029571     0.000295712   0.31404593   0   0.001948885   0.3159948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                             George Carlin      203   historical   51059417     79         79 0.00029571     0.000295712   0.02336123   0   0.000144974   0.0235062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                     Andrew Dice Clay   123   historical   50007874     22         22 0.00029571     0.000295712   0.00650566   0     0.0000404    0.006546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                Andrew Dice Clay   180   historical   50039773     29         29 0.00029571     0.000295712   0.00857564   0     0.0000532   0.0086289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                Andrew Dice Clay   180   historical   50039774     31         31 0.00029571     0.000295712   0.00916707   0     0.0000569    0.009224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                       Andrew Dice Clay   32    historical   50007879     31         31 0.00029571     0.000295712   0.00916707   0     0.0000569    0.009224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                               George Carlin      270   historical   51075968    127        127 0.00029571     0.000295712    0.0375554   0   0.000233059   0.0377885


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                     George Carlin      192   historical   51059416     50         50 0.00029571     0.000295712   0.01478559   0     0.0000918   0.0148773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                          Robin Williams     111   historical   50208021   1078       1078 0.00029571     0.000295712   0.31877732   0   0.001978246   0.3207556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617    Never Marry Her                                         Andrew Dice Clay   81    historical   50288477      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                      George Carlin      115   historical   51055193    172        172 0.00029571     0.000295712   0.05086243   0   0.000315639   0.0511781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                               Andrew Dice Clay   109   historical   50007883     39         39 0.00029571     0.000295712   0.01153276   0     0.0000716   0.0116043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                George Carlin      391   historical   51075967     17       23.8   0.00029571   0.000295712   0.00703794   0     0.0000437   0.0070816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                Andrew Dice Clay   174   historical   49981616     84         84 0.00029571     0.000295712   0.02483979   0   0.000154149   0.0249939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)           Robin Williams     517   historical   50194884   9994    17989.2   0.00029571   0.000295712   5.31961871   0   0.033012124   5.3526308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                      Andrew Dice Clay   78    historical   50007871     80         80 0.00029571     0.000295712   0.02365694   0   0.000146809   0.0238038


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                 ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                                Andrew Dice Clay   151   historical   49981614      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                            George Carlin      419   historical   51050463    606      848.4   0.00029571   0.000295712   0.25088189   0   0.001556906   0.2524388


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)           Andrew Dice Clay   135   historical   50027174      9          9 0.00029571     0.000295712   0.00266141   0   0.000016516   0.0026779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)      Robin Williams     405   historical   50194888   17945     25123 0.00029571     0.000295712   7.42916755   0   0.046103416    7.475271


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                     George Carlin      149   historical   51050469    328        328 0.00029571     0.000295712   0.09699347   0   0.000601915   0.0975954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                Andrew Dice Clay   216   historical   50027141     73         73 0.00029571     0.000295712   0.02158696   0   0.000133963   0.0217209


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                        George Carlin      86    historical   51050701     28         28 0.00029571     0.000295712   0.00827993   0   0.000051383   0.0083313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                 Andrew Dice Clay   37    historical   50007891     25         25 0.00029571     0.000295712    0.0073928   0     0.0000459   0.0074387


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)          Andrew Dice Clay   63    historical   50027169     68         68 0.00029571     0.000295712    0.0201084   0   0.000124787   0.0202332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                         George Carlin      157   historical   51050699     40         40 0.00029571     0.000295712   0.01182847   0     0.0000734   0.0119019


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                            George Carlin      326   historical   51059418    108      129.6   0.00029571   0.000295712   0.03832425   0    0.00023783   0.0385621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612    Midgets 2000                                            Andrew Dice Clay   319   historical   50288476      7        8.4   0.00029571   0.000295712   0.00248398   0     0.0000154   0.0024994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)   Robin Williams     130   historical   50194880   4370       4370 0.00029571     0.000295712   1.29226057   0   0.008019422     1.30028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)           Andrew Dice Clay   215   historical   50027136     94         94 0.00029571     0.000295712   0.02779691   0     0.0001725   0.0279694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)               Andrew Dice Clay   154   historical   50027154     68         68 0.00029571     0.000295712    0.0201084   0   0.000124787   0.0202332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                       George Carlin      275   historical   51049603    690        690 0.00029571     0.000295712   0.20404114   0   0.001266225   0.2053074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                       Andrew Dice Clay   232   historical   50007887     86         86 0.00029571     0.000295712   0.02543122   0   0.000157819    0.025589
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 51 of 86 Page ID
                                                                                                                                                                                                                                              #:4504
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1Q2T   GROCERY‐PART 1                                                           ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627     Grocery‐Part 1                                                     Andrew Dice Clay   31    historical   50288481      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                        George Carlin      828   historical   51055188      7       19.6   0.00029571   0.000295712   0.00579595   0      0.000036   0.0058319


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                              ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                Andrew Dice Clay   166   historical   50027165     87         87 0.00029571     0.000295712   0.02572693   0   0.000159654   0.0258866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   140   historical   50007868     17         17 0.00029571     0.000295712    0.0050271   0     0.0000312   0.0050583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                 Andrew Dice Clay   110   historical   50039770     20         20 0.00029571     0.000295712   0.00591424   0     0.0000367   0.0059509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                            Andrew Dice Clay   79    historical   50027168     99         99 0.00029571     0.000295712   0.02927547   0   0.000181676   0.0294571


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                           George Carlin      285   historical   51075974    373        373 0.00029571     0.000295712    0.1103005   0   0.000684495    0.110985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                       Andrew Dice Clay   210   historical   49988156      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   50027170    322      386.4   0.00029571   0.000295712   0.11426304   0   0.000709086   0.1149721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                               George Carlin      28    historical   51050700     35         35 0.00029571     0.000295712   0.01034991   0     0.0000642   0.0104141


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                               Robin Williams     337   historical   49907728    711      853.2   0.00029571   0.000295712   0.25230131   0   0.001565714    0.253867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                               Andrew Dice Clay   178   historical   50039757      6          6 0.00029571     0.000295712   0.00177427   0      0.000011   0.0017853


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                 George Carlin      99    historical   51072767     93         93 0.00029571     0.000295712    0.0275012   0   0.000170665   0.0276719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                   Andrew Dice Clay   98    historical   50027173     75         75 0.00029571     0.000295712   0.02217839   0   0.000137633    0.022316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                          George Carlin      155   historical   51050697    191        191 0.00029571     0.000295712   0.05648095   0   0.000350506   0.0568315


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                     Andrew Dice Clay   108   historical   50027147     95         95 0.00029571     0.000295712   0.02809262   0   0.000174335    0.028267


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049     Gas (Feminine)                                                     Andrew Dice Clay   187   historical   50039743     59         59 0.00029571     0.000295712     0.017447   0   0.000108271   0.0175553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YSF   RAISIN RHETORIC                                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                        George Carlin      126   historical   51075981     47         47 0.00029571     0.000295712   0.01389846   0     0.0000863   0.0139847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264     Mother Goose                                                       Andrew Dice Clay   207   historical   49981610      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                                      Andrew Dice Clay   14    historical   50007890      5          5 0.00029571     0.000295712   0.00147856   0    0.00000918   0.0014877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                   Andrew Dice Clay   67    historical   50027158    105        105 0.00029571     0.000295712   0.03104974   0   0.000192686   0.0312424


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                          Andrew Dice Clay   98    historical   50027145     97         97 0.00029571     0.000295712   0.02868405   0   0.000178006   0.0288621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   51075979    188        188 0.00029571     0.000295712   0.05559382   0      0.000345   0.0559388


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                   GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                                 George Carlin      54    historical   51072764      2          2 0.00029571     0.000295712   0.00059142   0    0.00000367   0.0005951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                     Andrew Dice Clay   140   historical   50039768      3          3 0.00029571     0.000295712   0.00088714   0    0.00000551   0.0008926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                      Andrew Dice Clay   60    historical   50007878     20         20 0.00029571     0.000295712   0.00591424   0     0.0000367   0.0059509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   50007880     28         28 0.00029571     0.000295712   0.00827993   0   0.000051383   0.0083313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                     George Carlin      189   historical   51054032    424        424 0.00029571     0.000295712    0.1253818   0   0.000778086   0.1261599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                          Robin Williams     188   historical   49907729    688        688 0.00029571     0.000295712   0.20344972   0   0.001262554   0.2047123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320     Hour Back...Get It? (Live at Dangerfield's/1989)                   Andrew Dice Clay   400   historical   49988168      1        1.4   0.00029571   0.000295712     0.000414   0    0.00000257   0.0004166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                     Andrew Dice Clay   29    historical   50007876     11         11 0.00029571     0.000295712   0.00325283   0     0.0000202    0.003273


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625     Old School Phone                                                   Andrew Dice Clay   419   historical   50288480    120        168 0.00029571     0.000295712   0.04967958   0   0.000308298   0.0499879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                  Andrew Dice Clay   462   historical   50288474    145        232 0.00029571     0.000295712   0.06860514   0   0.000425745   0.0690309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                             George Carlin      112   historical   51050468     81         81 0.00029571     0.000295712   0.02395266   0   0.000148644   0.0241013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                               Andrew Dice Clay   42    historical   50007873     18         18 0.00029571     0.000295712   0.00532281   0      0.000033   0.0053558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                             George Carlin      586   historical   51059419     42         84 0.00029571     0.000295712   0.02483979   0   0.000154149   0.0249939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   32163219   USZQE0610784     The Sickest                                                        George Carlin      113   historical   50755285     16         16 0.00029571     0.000295712   0.00473139   0     0.0000294   0.0047608


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                            ANDREW DICE CLAY   128623771   100   20872378   USSM19000300     Shakin' Hands                                                      Andrew Dice Clay   29    historical   50007884      6          6 0.00029571     0.000295712   0.00177427   0      0.000011   0.0017853


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                            Andrew Dice Clay   195   historical   50039764     21         21 0.00029571     0.000295712   0.00620995   0     0.0000385   0.0062485


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                    George Carlin      340   historical   51054030    603      723.6   0.00029571   0.000295712   0.21397706   0   0.001327884   0.2153049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065     Surprise                                                           Andrew Dice Clay   232   historical   50039761     60         60 0.00029571     0.000295712   0.01774271   0   0.000110107   0.0178528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                             ANDREW DICE CLAY   128623771   100   20746962   USSM18900271     The Golden Age Of Television                                       Andrew Dice Clay   112   historical   49981611      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   50027150     16         16 0.00029571     0.000295712   0.00473139   0     0.0000294   0.0047608


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                        George Carlin      192   historical   51049886     13         13 0.00029571     0.000295712   0.00384425   0     0.0000239   0.0038681


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                          George Carlin      214   historical   51049531    274        274 0.00029571     0.000295712   0.08102503   0    0.00050282   0.0815279


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   51049595      6       20.4   0.00029571   0.000295712   0.00603252   0     0.0000374     0.00607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   32163213   USZQE0610782     The Cool World                                                     George Carlin      316   historical   50755283     27       32.4   0.00029571   0.000295712   0.00958106   0     0.0000595   0.0096405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                 ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622     Date Night At The Movies                                           Andrew Dice Clay   227   historical   50288479      9          9 0.00029571     0.000295712   0.00266141   0   0.000016516   0.0026779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)               Robin Williams     325   historical   50194885   16115     19338 0.00029571     0.000295712   5.71847479   0   0.035487317   5.7539621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                       Andrew Dice Clay   73    historical   50027172    164        164 0.00029571     0.000295712   0.04849674   0   0.000300958   0.0487977


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                     Andrew Dice Clay   368   historical   50007881     91      127.4   0.00029571   0.000295712   0.03767368   0   0.000233793   0.0379075


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                                    George Carlin      430   historical   51075971    143      228.8   0.00029571   0.000295712   0.06765886   0   0.000419873   0.0680787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313     Mother & Son (Live at Dangerfield's/1989)                          Andrew Dice Clay   217   historical   49988167      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                   George Carlin      486   historical   51050698    125        225 0.00029571     0.000295712   0.06653516   0   0.000412899   0.0669481


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                       Andrew Dice Clay   330   historical   50039776     22       26.4   0.00029571   0.000295712   0.00780679   0     0.0000484   0.0078552


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                     George Carlin      191   historical   51055190    196        196 0.00029571     0.000295712   0.05795951   0   0.000359681   0.0583192


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   50027162     63         63 0.00029571     0.000295712   0.01862984   0   0.000115612   0.0187455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                       Andrew Dice Clay   330   historical   50039775     65         78 0.00029571     0.000295712   0.02306552   0   0.000143138   0.0232087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)              Andrew Dice Clay   173   historical   50027152     30         30 0.00029571     0.000295712   0.00887135   0     0.0000551   0.0089264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                      George Carlin      288   historical   51075970    663        663 0.00029571     0.000295712   0.19605692   0   0.001216677   0.1972736


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                                ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)             Andrew Dice Clay   232   historical   49988155      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                       Andrew Dice Clay   189   historical   50027171    306        306 0.00029571     0.000295712   0.09048781   0   0.000561543   0.0910494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   50    historical   50007899     11         11 0.00029571     0.000295712   0.00325283   0     0.0000202    0.003273


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                            George Carlin      177   historical   51049599    231        231 0.00029571     0.000295712   0.06830943   0    0.00042391   0.0687333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   51059420      1        1.8   0.00029571   0.000295712   0.00053228   0     0.0000033   0.0005356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273     Couples In Love                                                    Andrew Dice Clay   211   historical   49981613      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)                 Andrew Dice Clay   60    historical   50027138     45         45 0.00029571     0.000295712   0.01330703   0     0.0000826   0.0133896


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   50039766      7          7 0.00029571     0.000295712   0.00206998   0     0.0000128   0.0020828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                          Andrew Dice Clay   99    historical   50007872     20         20 0.00029571     0.000295712   0.00591424   0     0.0000367   0.0059509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   50039771      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                        Andrew Dice Clay   94    historical   50039744     14         14 0.00029571     0.000295712   0.00413997   0     0.0000257   0.0041657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                         Andrew Dice Clay   127   historical   50039752      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                           Andrew Dice Clay   264   historical   49988163      8          8 0.00029571     0.000295712   0.00236569   0     0.0000147   0.0023804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608     Sid And The Oriental                                               Andrew Dice Clay   197   historical   50288475      1          1 0.00029571     0.000295712   0.00029571   0    0.00000184   0.0002975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                              Andrew Dice Clay   65    historical   50039762      8          8 0.00029571     0.000295712   0.00236569   0     0.0000147   0.0023804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                       George Carlin      229   historical   51072924    503        503 0.00029571     0.000295712   0.14874304   0   0.000923059   0.1496661


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060     Rice                                                               Andrew Dice Clay   79    historical   50039754      2          2 0.00029571     0.000295712   0.00059142   0    0.00000367   0.0005951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                 Robin Williams     646   historical   50194889   5777    12709.4   0.00029571   0.000295712   3.75831955   0   0.023323121   3.7816427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                             Andrew Dice Clay   200   historical   49981615     80         80 0.00029571     0.000295712   0.02365694   0   0.000146809   0.0238038


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IOQ   SPEEDIN'                                                                 ANDREW DICE CLAY   128623771   100   20746963   USSM18900272     Speedin'                                                           Andrew Dice Clay   86    historical   49981612      3          3 0.00029571     0.000295712   0.00088714   0    0.00000551   0.0008926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                       George Carlin      336   historical   51059414     22       26.4   0.00029571   0.000295712   0.00780679   0     0.0000484   0.0078552


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                     George Carlin      127   historical   51075975     43         43 0.00029571     0.000295712   0.01271561   0     0.0000789   0.0127945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315     People Are Pricks                                                  Andrew Dice Clay   91    historical   50007897     24         24 0.00029571     0.000295712   0.00709708   0      0.000044   0.0071411
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 52 of 86 Page ID
                                                                                                                                                                                                                                              #:4505
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                             ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                                    Robin Williams     76    historical   49907730    318        318 0.00029571     0.000295712   0.09403635   0   0.000583564   0.0946199


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                   ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                                          Robin Williams     81    historical   49907734    356        356 0.00029571     0.000295712    0.1052734   0   0.000653298   0.1059267


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                            ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                                                Andrew Dice Clay   129   historical   50039750     10         10 0.00029571     0.000295712   0.00295712   0     0.0000184   0.0029755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                       ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                                           Andrew Dice Clay   180   historical   50007888     71         71 0.00029571     0.000295712   0.02099554   0   0.000130293   0.0211258


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                              ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                          Andrew Dice Clay   145   historical   50027167     74         74 0.00029571     0.000295712   0.02188267   0   0.000135798   0.0220185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                    ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                                        Andrew Dice Clay   54    historical   50007898      8          8 0.00029571     0.000295712   0.00236569   0     0.0000147   0.0023804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23QW OCCUPATION: FOOLE                                                             GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                                                  George Carlin      222   historical   51075973    565        565 0.00029571     0.000295712   0.16707717   0   0.001036836    0.168114


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                      ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                                          Andrew Dice Clay   168   historical   50039763      4          4 0.00029571     0.000295712   0.00118285   0    0.00000734   0.0011902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams     370   historical   50194883   10511   14715.4   0.00029571   0.000295712   4.35151742   0   0.027004347   4.3785218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                           GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                                  George Carlin      310   historical   51075980    378      453.6   0.00029571   0.000295712   0.13413487   0   0.000832405   0.1349673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                           ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                                       Andrew Dice Clay   111   historical   50027143     65         65 0.00029571     0.000295712   0.01922127   0   0.000119282   0.0193405


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                                         Andrew Dice Clay   126   historical   50027160     76         76 0.00029571     0.000295712    0.0224741   0   0.000139468   0.0226136


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                     ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                            Robin Williams     154   historical   49907740     63         63 0.00029571     0.000295712   0.01862984   0   0.000115612   0.0187455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   4/1/2017   4/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                          GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                                 George Carlin      321   historical   51075964    422      506.4   0.00029571   0.000295712   0.14974846   0   0.000929299   0.1506778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                       George Carlin      154   historical   41624688     48         48 0.00026903     0.000269028   0.01291334   0     0.0000801   0.0129935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                         George Carlin      180   historical   41624702     28         28 0.00026903     0.000269028   0.00753278   0     0.0000467   0.0075795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                                George Carlin      118   historical   39905749     17         17 0.00026903     0.000269028   0.00457348   0     0.0000284   0.0046019


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                           George Carlin      228   historical   39905742    267        267 0.00026903     0.000269028   0.07183048   0   0.000445761   0.0722762


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   39905764     61       85.4   0.00026903   0.000269028   0.02297499   0   0.000142577   0.0231176


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   41624725     61         61 0.00026903     0.000269028   0.01641071   0    0.00010184   0.0165125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical   39905729    128        128 0.00026903     0.000269028   0.03443558   0   0.000213698   0.0346493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   39905748     15         15 0.00026903     0.000269028   0.00403542   0      0.000025   0.0040605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                        George Carlin      165   historical   41624707     11         11 0.00026903     0.000269028   0.00295931   0     0.0000184   0.0029777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical   39905734     28         28 0.00026903     0.000269028   0.00753278   0     0.0000467   0.0075795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   39905746     79         79 0.00026903     0.000269028   0.02125321   0   0.000131892   0.0213851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   41624695     36         36 0.00026903     0.000269028   0.00968501   0     0.0000601   0.0097451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   39905757    271        271 0.00026903     0.000269028   0.07290659   0   0.000452439    0.073359


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                           GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                                             George Carlin      350   historical   42664315      7        8.4   0.00026903   0.000269028   0.00225984   0      0.000014   0.0022739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   39905738     33       59.4   0.00026903   0.000269028   0.01598026   0     0.0000992   0.0160794


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical   39905759      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical   39905751     41         41 0.00026903     0.000269028   0.01103015   0     0.0000685   0.0110986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   42690283      7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   42459938   2213       2213 0.00026903     0.000269028   0.59535896   0   0.003694638   0.5990536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                          George Carlin      595   historical   39905741     44         88 0.00026903     0.000269028   0.02367446   0   0.000146917   0.0238214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                                George Carlin      450   historical   41624667    729     1166.4   0.00026903   0.000269028   0.31379426   0   0.001947323   0.3157416


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                          George Carlin      152   historical   41624674     41         41 0.00026903     0.000269028   0.01103015   0     0.0000685   0.0110986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                                  George Carlin      74    historical   39905743     26         26 0.00026903     0.000269028   0.00699473   0     0.0000434   0.0070381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   39905727     73      102.2   0.00026903   0.000269028   0.02749466   0   0.000170625   0.0276653


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   42459937   3070       3070 0.00026903     0.000269028   0.82591596   0   0.005125412   0.8310414


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   39905765     65         65 0.00026903     0.000269028   0.01748682   0   0.000108519   0.0175953


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                             George Carlin      246   historical   39905763    280        280 0.00026903     0.000269028   0.07532784   0   0.000467464   0.0757953


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   41624714      8          8 0.00026903     0.000269028   0.00215222   0     0.0000134   0.0021656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   41624705    172      309.6   0.00026903   0.000269028   0.08329107   0   0.000516882    0.083808


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   41624681    131      235.8   0.00026903   0.000269028    0.0634368   0   0.000393672   0.0638305


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   41624666     31         31 0.00026903     0.000269028   0.00833987   0   0.000051755   0.0083916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   39905758    161        161 0.00026903     0.000269028   0.04331351   0   0.000268792   0.0435823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                                      George Carlin      54    historical   41624686    144        144 0.00026903     0.000269028   0.03874003   0    0.00024041   0.0389804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   41624738     36         36 0.00026903     0.000269028   0.00968501   0     0.0000601   0.0097451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   41624673    129        129 0.00026903     0.000269028   0.03470461   0   0.000215368     0.03492


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   42662450    430        516 0.00026903     0.000269028   0.13881845   0    0.00086147   0.1396799


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                         George Carlin      301   historical   41624669     71       85.2   0.00026903   0.000269028   0.02292119   0   0.000142243   0.0230634


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   41624685     64         64 0.00026903     0.000269028   0.01721779   0   0.000106849   0.0173246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   39905756    223      356.8   0.00026903   0.000269028   0.09598919   0   0.000595683   0.0965849


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   42663958     57       79.8   0.00026903   0.000269028   0.02146843   0   0.000133227   0.0216017


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                        George Carlin      181   historical   41597687    326        326 0.00026903     0.000269028   0.08770313   0   0.000544262   0.0882474


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical   39905771     34         34 0.00026903     0.000269028   0.00914695   0     0.0000568   0.0092037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   39905731     53       95.4   0.00026903   0.000269028   0.02566527   0   0.000159272   0.0258245


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   41624736     53         53 0.00026903     0.000269028   0.01425848   0     0.0000885    0.014347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical   41624700    286        286 0.00026903     0.000269028   0.07694201   0   0.000477481   0.0774195


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   39905770     92         92 0.00026903     0.000269028   0.02475058   0   0.000153595   0.0249042


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   39905752     48       57.6   0.00026903   0.000269028   0.01549601   0     0.0000962   0.0155922


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical   41624698     35         35 0.00026903     0.000269028   0.00941598   0   0.000058433   0.0094744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                           George Carlin      38    historical   39905768     78         78 0.00026903     0.000269028   0.02098418   0   0.000130222   0.0211144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical   39905753    157      408.2   0.00026903   0.000269028   0.10981723   0   0.000681496   0.1104987


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   39905755     37         37 0.00026903     0.000269028   0.00995404   0     0.0000618   0.0100158


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                                 George Carlin      80    historical   41624733     80         80 0.00026903     0.000269028   0.02152224   0   0.000133561   0.0216558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   41624668     43         43 0.00026903     0.000269028    0.0115682   0     0.0000718     0.01164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                                  George Carlin      118   historical   39905747     37         37 0.00026903     0.000269028   0.00995404   0     0.0000618   0.0100158


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R90   THE INDIAN SERGEANT                                                         GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                                             George Carlin      321   historical   42709903    685        822 0.00026903     0.000269028   0.22114102   0   0.001372342   0.2225134


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   39905761     65         91 0.00026903     0.000269028   0.02448155   0   0.000151926   0.0246335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical   39905744     47         47 0.00026903     0.000269028   0.01264432   0     0.0000785   0.0127228


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   39905736      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                              George Carlin      46    historical   39905760      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   41624719     49         49 0.00026903     0.000269028   0.01318237   0     0.0000818   0.0132642


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical   39905769     42       50.4   0.00026903   0.000269028   0.01355901   0     0.0000841   0.0136432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   42459935   1899       1899 0.00026903     0.000269028   0.51088417   0    0.00317041   0.5140546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                                  George Carlin      173   historical   41624711     14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                                George Carlin      165   historical   41624671     16         16 0.00026903     0.000269028   0.00430445   0     0.0000267   0.0043312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   42690271     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                    Retired People                                                                  George Carlin      63    historical   41624739     34         34 0.00026903     0.000269028   0.00914695   0     0.0000568   0.0092037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   41624670     54       64.8   0.00026903   0.000269028   0.01743301   0   0.000108185   0.0175412


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   41624704    332      464.8   0.00026903   0.000269028   0.12504421   0   0.000775991   0.1258202


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                                    George Carlin      121   historical   41624692     22         22 0.00026903     0.000269028   0.00591862   0     0.0000367   0.0059553
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                                                                                                                                                                                                                                              #:4506
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                    Andrew Dice Clay   85    historical   40721328     26         26 0.00026903     0.000269028   0.00699473   0     0.0000434   0.0070381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                Andrew Dice Clay   140   historical   40734479      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637    Club 33(Reprise)                                              Andrew Dice Clay   195   historical   40993031      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                               George Carlin      191   historical   41802923    243        243 0.00026903     0.000269028    0.0653738   0   0.000405692   0.0657795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                            Andrew Dice Clay   78    historical   40701176     55         55 0.00026903     0.000269028   0.01479654   0     0.0000918   0.0148884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                        Andrew Dice Clay   145   historical   40721329     40         40 0.00026903     0.000269028   0.01076112   0     0.0000668   0.0108279


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   32163219   USZQE0610784    The Sickest                                                   George Carlin      113   historical   41488265      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                             George Carlin      288   historical   42592925    448        448 0.00026903     0.000269028   0.12052454   0   0.000747943   0.1212725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)              Andrew Dice Clay   98    historical   40721335     36         36 0.00026903     0.000269028   0.00968501   0     0.0000601   0.0097451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9INM   SOMETHING SOFT                                                           ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)                   Andrew Dice Clay   285   historical   40680455     12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                                   Andrew Dice Clay   94    historical   40734455      6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                            ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                 Andrew Dice Clay   29    historical   40701193     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                   Andrew Dice Clay   78    historical   40701168     15         15 0.00026903     0.000269028   0.00403542   0      0.000025   0.0040605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   40721300     77         77 0.00026903     0.000269028   0.02071516   0   0.000128553   0.0208437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                         Andrew Dice Clay   468   historical   40734481     67      107.2   0.00026903   0.000269028    0.0288398   0   0.000178972   0.0290188


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                                  Andrew Dice Clay   207   historical   40673551     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                                  Andrew Dice Clay   106   historical   40734465     18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                               Andrew Dice Clay   40    historical   40701187     27         27 0.00026903     0.000269028   0.00726376   0     0.0000451   0.0073088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                                     George Carlin      270   historical   41824794     18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                            George Carlin      315   historical   42459929   3068     3681.6   0.00026903   0.000269028   0.99045349   0   0.006146488      0.9966


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                           George Carlin      99    historical   41821422     91         91 0.00026903     0.000269028   0.02448155   0   0.000151926   0.0246335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                 ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                                      Andrew Dice Clay   151   historical   40673555      2          2 0.00026903     0.000269028   0.00053806   0   0.000003339   0.0005414


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                            Andrew Dice Clay   108   historical   40734478     14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   40896204   14613   17535.6   0.00026903   0.000269028    4.7175674   0   0.029275955   4.7468434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                 Andrew Dice Clay   32    historical   40701209     27         27 0.00026903     0.000269028   0.00726376   0     0.0000451   0.0073088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                         George Carlin      355   historical   42592916    619      742.8   0.00026903   0.000269028     0.199834   0   0.001240116   0.2010741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   41801744    293        293 0.00026903     0.000269028    0.0788252   0   0.000489168   0.0793144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                         Andrew Dice Clay   59    historical   40701170     14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                Andrew Dice Clay   187   historical   40734454     69         69 0.00026903     0.000269028   0.01856293   0   0.000115197   0.0186781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                              George Carlin      430   historical   41824797     22       35.2   0.00026903   0.000269028   0.00946979   0     0.0000588   0.0095286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   40721324     53         53 0.00026903     0.000269028   0.01425848   0     0.0000885    0.014347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                       Andrew Dice Clay   195   historical   40734476     44         44 0.00026903     0.000269028   0.01183723   0     0.0000735   0.0119107


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                  Andrew Dice Clay   41    historical   40701208      6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                       Andrew Dice Clay   202   historical   40734459     74         74 0.00026903     0.000269028   0.01990807   0   0.000123544   0.0200316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                  Andrew Dice Clay   73    historical   40721334    161        161 0.00026903     0.000269028   0.04331351   0   0.000268792   0.0435823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                        Andrew Dice Clay   167   historical   40734474      2          2 0.00026903     0.000269028   0.00053806   0   0.000003339   0.0005414


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                    George Carlin      214   historical   41797004    339        339 0.00026903     0.000269028   0.09120049   0   0.000565966   0.0917665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635    Club 33                                                       Andrew Dice Clay   190   historical   40993029     11         11 0.00026903     0.000269028   0.00295931   0     0.0000184   0.0029777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                          Andrew Dice Clay   41    historical   40701178     14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                   Andrew Dice Clay   28    historical   40701205      6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   40721312     12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                   Andrew Dice Clay   78    historical   40701167      9          9 0.00026903     0.000269028   0.00242125   0      0.000015   0.0024363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                      George Carlin      286   historical   41802922    288        288 0.00026903     0.000269028   0.07748006   0    0.00048082   0.0779609


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                Andrew Dice Clay   140   historical   40734480      4          4 0.00026903     0.000269028   0.00107611   0    0.00000668   0.0010828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                            Andrew Dice Clay   110   historical   40734482     18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                     Andrew Dice Clay   139   historical   40701172     14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                  George Carlin      269   historical   42592923    100        100 0.00026903     0.000269028    0.0269028   0   0.000166952   0.0270698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                              George Carlin      86    historical   41798247     40         40 0.00026903     0.000269028   0.01076112   0     0.0000668   0.0108279


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                      Andrew Dice Clay   304   historical   40993030      1        1.2   0.00026903   0.000269028   0.00032283   0      0.000002   0.0003248


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                               George Carlin      426   historical   42597494    471      753.6   0.00026903   0.000269028    0.2027395   0   0.001258147   0.2039976


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                    Andrew Dice Clay   65    historical   40701181     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                             George Carlin      275   historical   41797074    547        547 0.00026903     0.000269028   0.14715832   0   0.000913225   0.1480715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                              George Carlin      183   historical   41624701    322        322 0.00026903     0.000269028   0.08662702   0   0.000537584   0.0871646


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                   George Carlin      391   historical   42592921     11       15.4   0.00026903   0.000269028   0.00414303   0     0.0000257   0.0041687


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                     Andrew Dice Clay   108   historical   40701192     18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                 Andrew Dice Clay   100   historical   40701200     11         11 0.00026903     0.000269028   0.00295931   0     0.0000184   0.0029777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                          George Carlin      206   historical   41824795      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                    Andrew Dice Clay   65    historical   40701182     14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                                  George Carlin      85    historical   42597495    253        253 0.00026903     0.000269028   0.06806408   0   0.000422387   0.0684865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                  Robin Williams     192   historical   40595692    577        577 0.00026903     0.000269028   0.15522916   0    0.00096331   0.1561925


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                           George Carlin      192   historical   41807338    322        322 0.00026903     0.000269028   0.08662702   0   0.000537584   0.0871646


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                 George Carlin      336   historical   41807336     85        102 0.00026903     0.000269028   0.02744086   0   0.000170291   0.0276111


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                   George Carlin      203   historical   41807339    403        403 0.00026903     0.000269028   0.10841828   0   0.000672815   0.1090911


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)            Andrew Dice Clay   186   historical   40680437     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                     Andrew Dice Clay   139   historical   40701171     11         11 0.00026903     0.000269028   0.00295931   0     0.0000184   0.0029777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical   40595684    173        173 0.00026903     0.000269028   0.04654184   0   0.000288826   0.0468307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                             Andrew Dice Clay   90    historical   40701211      9          9 0.00026903     0.000269028   0.00242125   0      0.000015   0.0024363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical   40896208   14997   20995.8   0.00026903   0.000269028   5.64845808   0   0.035052812   5.6835109


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93UW TEXAS                                                                      ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                            Andrew Dice Clay   185   historical   40680436      7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)              Andrew Dice Clay   67    historical   40721320     63         63 0.00026903     0.000269028   0.01694876   0    0.00010518   0.0170539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                 Andrew Dice Clay   215   historical   40721298     81         81 0.00026903     0.000269028   0.02179127   0   0.000135231   0.0219265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                  George Carlin      192   historical   41797387      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                                   George Carlin      500   historical   42354242      9       16.2   0.00026903   0.000269028   0.00435825   0      0.000027   0.0043853


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                             George Carlin      129   historical   42592908    139        139 0.00026903     0.000269028   0.03739489   0   0.000232063    0.037627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                          Andrew Dice Clay   178   historical   40734467      8          8 0.00026903     0.000269028   0.00215222   0     0.0000134   0.0021656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                  George Carlin      419   historical   41798009    517      723.8   0.00026903   0.000269028   0.19472247   0   0.001208395   0.1959309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2ILH   YOU & ME (THINGS THAT COME OFF OF YOUR BODY)                             GEORGE CARLIN      473337545   100   37439992   QMFME1556468 You & Me (Things That Come off Your Body)                        George Carlin      623   historical   41824925      8       17.6   0.00026903   0.000269028   0.00473489   0     0.0000294   0.0047643


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                  George Carlin      279   historical   42584714      2          2 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                         George Carlin      28    historical   41798246     54         54 0.00026903     0.000269028   0.01452751   0     0.0000902   0.0146177


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                George Carlin      316   historical   42584715     13       15.6   0.00026903   0.000269028   0.00419684   0      0.000026   0.0042229


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                     Andrew Dice Clay   111   historical   40721305     68         68 0.00026903     0.000269028    0.0182939   0   0.000113527   0.0184074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                      Andrew Dice Clay   33    historical   40701173     19         19 0.00026903     0.000269028   0.00511153   0     0.0000317   0.0051433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                     George Carlin      153   historical   41797388      7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 54 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                         ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)           Robin Williams     646   historical   40896207   5526    12157.2   0.00026903   0.000269028    3.2706272   0   0.020296633   3.2909238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                               GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                       George Carlin      389   historical   41798250     70         98 0.00026903     0.000269028   0.02636474   0   0.000163613   0.0265284


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                               ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)            Andrew Dice Clay   307   historical   40721332    256      307.2   0.00026903   0.000269028    0.0826454   0   0.000512875   0.0831583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                          GEORGE CARLIN      473337545   100   32163213   USZQE0610782    The Cool World                                               George Carlin       0    historical   41488262      8        9.6   0.00026903   0.000269028   0.00258267   0      0.000016   0.0025987


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                      ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                   Andrew Dice Clay   149   historical   40721318     49         49 0.00026903     0.000269028   0.01318237   0     0.0000818   0.0132642


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                         ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                              Andrew Dice Clay   135   historical   40701184     15         15 0.00026903     0.000269028   0.00403542   0      0.000025   0.0040605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23QW OCCUPATION: FOOLE                                                         GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                               George Carlin      222   historical   41824799     66         66 0.00026903     0.000269028   0.01775585   0   0.000110188    0.017866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                 ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                        Robin Williams     337   historical   40595682    649      778.8   0.00026903   0.000269028   0.20951901   0   0.001300219   0.2108192


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                             ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                  Andrew Dice Clay   28    historical   40701206     11         11 0.00026903     0.000269028   0.00295931   0     0.0000184   0.0029777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6CXX   DAYTIME TELEVISION                                                      GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                           George Carlin      577   historical   42354243     10         20 0.00026903     0.000269028   0.00538056   0     0.0000334    0.005414


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IOQ   SPEEDIN'                                                                ANDREW DICE CLAY   128623771   100   20746963   USSM18900272    Speedin'                                                     Andrew Dice Clay   86    historical   40673553      1          1 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                     Andrew Dice Clay   33    historical   40701174      7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                       ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                            Andrew Dice Clay   231   historical   40701198     53         53 0.00026903     0.000269028   0.01425848   0     0.0000885    0.014347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                              ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                   Andrew Dice Clay   126   historical   40734462      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                        George Carlin      263   historical   42592919    280        280 0.00026903     0.000269028   0.07532784   0   0.000467464   0.0757953


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                        ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                Andrew Dice Clay   231   historical   40680449     27         27 0.00026903     0.000269028   0.00726376   0     0.0000451   0.0073088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                              ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)                    Andrew Dice Clay   200   historical   40680450      8          8 0.00026903     0.000269028   0.00215222   0     0.0000134   0.0021656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                            ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                               Andrew Dice Clay   114   historical   40734469     12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                 ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                         Robin Williams     154   historical   40595694     75         75 0.00026903     0.000269028    0.0201771   0   0.000125214   0.0203023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83HB   SID/IN TOILET                                                           ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                                Andrew Dice Clay   151   historical   40993028      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                               Andrew Dice Clay   107   historical   40734484      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                               Andrew Dice Clay   107   historical   40734483      7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                           George Carlin      355   historical   41824789     96      115.2   0.00026903   0.000269028   0.03099203   0   0.000192328   0.0311844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                      GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                              George Carlin      157   historical   41798245     45         45 0.00026903     0.000269028   0.01210626   0     0.0000751   0.0121814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                            GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                    George Carlin      85    historical   41824804     34         34 0.00026903     0.000269028   0.00914695   0     0.0000568   0.0092037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                               ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                    Andrew Dice Clay   71    historical   40701190      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIV   COUPLES IN LOVE                                                         ANDREW DICE CLAY   128623771   100   20746964   USSM18900273    Couples In Love                                              Andrew Dice Clay   211   historical   40673554     12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                           ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                   Robin Williams     188   historical   40595683    512        512 0.00026903     0.000269028   0.13774234   0   0.000854792   0.1385971


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9P3B   FEMALE ANATOMY                                                          ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)                  Andrew Dice Clay   222   historical   40680439     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                           GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                   George Carlin      310   historical   41824792     50         60 0.00026903     0.000269028   0.01614168   0   0.000100171   0.0162419


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                     GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                          George Carlin      429   historical   42592926     70        112 0.00026903     0.000269028   0.03013114   0   0.000186986   0.0303181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                      ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                           Andrew Dice Clay   255   historical   40734466     68         68 0.00026903     0.000269028    0.0182939   0   0.000113527   0.0184074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                             ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)          Andrew Dice Clay   166   historical   40721327     54         54 0.00026903     0.000269028   0.01452751   0     0.0000902   0.0146177


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                       GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                               George Carlin      310   historical   41824806     42       50.4   0.00026903   0.000269028   0.01355901   0     0.0000841   0.0136432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                 GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                George Carlin      229   historical   41821586    577        577 0.00026903     0.000269028   0.15522916   0    0.00096331   0.1561925


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2ILH   YOU & ME (THINGS THAT COME OFF OF YOUR BODY)                            GEORGE CARLIN      473337545   100   37439992   QMFME1556468 You & Me (Things That Come off Your Body)                       George Carlin      623   historical   41824924      2        4.4   0.00026903   0.000269028   0.00118372   0    0.00000735   0.0011911


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                 George Carlin      147   historical   41797068     91         91 0.00026903     0.000269028   0.02448155   0   0.000151926   0.0246335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                     GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                           George Carlin      115   historical   41802926    193        193 0.00026903     0.000269028    0.0519224   0   0.000322217   0.0522446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                       GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                          George Carlin      351   historical   42354241     11       13.2   0.00026903   0.000269028   0.00355117   0      0.000022   0.0035732


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                          ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                               Andrew Dice Clay   29    historical   40701183     21         21 0.00026903     0.000269028   0.00564959   0     0.0000351   0.0056846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                               George Carlin      288   historical   41824796     74         74 0.00026903     0.000269028   0.01990807   0   0.000123544   0.0200316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                       ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                    Andrew Dice Clay   98    historical   40721307     65         65 0.00026903     0.000269028   0.01748682   0   0.000108519   0.0175953


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                              GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                                 George Carlin      285   historical   42597491    347        347 0.00026903     0.000269028   0.09335272   0   0.000579322    0.093932


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                     ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)         Robin Williams     325   historical   40896203   14216   17059.2   0.00026903   0.000269028   4.58940246   0   0.028480598   4.6178831


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                          GEORGE CARLIN      473337545   100   32163213   USZQE0610782    The Cool World                                               George Carlin       0    historical   41488261      1          1 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                 GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                      George Carlin      206   historical   42592924     16         16 0.00026903     0.000269028   0.00430445   0     0.0000267   0.0043312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                  GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                            George Carlin      486   historical   41798244    101      181.8   0.00026903   0.000269028   0.04890929   0   0.000303518   0.0492128


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                       ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)           Robin Williams     405   historical   40896206   16408   22971.2   0.00026903   0.000269028   6.17989599   0   0.038350773   6.2182468


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                         ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                              Andrew Dice Clay   72    historical   40701195     15         15 0.00026903     0.000269028   0.00403542   0      0.000025   0.0040605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                  GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                          George Carlin      54    historical   41821419      1          1 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                              George Carlin      321   historical   41824790     52       62.4   0.00026903   0.000269028   0.01678735   0   0.000104178   0.0168915


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                           ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                      Andrew Dice Clay   79    historical   40721330     71         71 0.00026903     0.000269028   0.01910099   0   0.000118536   0.0192195


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                     ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                          Andrew Dice Clay   123   historical   40701180     12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                    ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                         Andrew Dice Clay   178   historical   40734468      4          4 0.00026903     0.000269028   0.00107611   0    0.00000668   0.0010828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                        GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                             George Carlin      174   historical   42592911     13         13 0.00026903     0.000269028   0.00349736   0     0.0000217   0.0035191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                     Andrew Dice Clay   54    historical   40701213     11         11 0.00026903     0.000269028   0.00295931   0     0.0000184   0.0029777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                   ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                        Andrew Dice Clay   162   historical   40701196     64         64 0.00026903     0.000269028   0.01721779   0   0.000106849   0.0173246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                           ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                                Andrew Dice Clay   60    historical   40701185     18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                               ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                    Andrew Dice Clay   71    historical   40701189      5          5 0.00026903     0.000269028   0.00134514   0    0.00000835   0.0013535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                              ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                Robin Williams     517   historical   40896202   8371    15067.8   0.00026903   0.000269028    4.0536601   0   0.025155925    4.078816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                   ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                        Andrew Dice Clay   180   historical   40701199     79         79 0.00026903     0.000269028   0.02125321   0   0.000131892   0.0213851


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R5L   THE NEWSCAST                                                            GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                 George Carlin      456   historical   42354244     27       43.2   0.00026903   0.000269028   0.01162201   0     0.0000721   0.0116941


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                         ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609    K2Y‐China Diner                                              Andrew Dice Clay   157   historical   40993022      4          4 0.00026903     0.000269028   0.00107611   0    0.00000668   0.0010828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                    ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                         Andrew Dice Clay   80    historical   40734464      2          2 0.00026903     0.000269028   0.00053806   0   0.000003339   0.0005414


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                          GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                               George Carlin      173   historical   42592917     10         10 0.00026903     0.000269028   0.00269028   0     0.0000167    0.002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                           George Carlin      263   historical   41824791     45         45 0.00026903     0.000269028   0.01210626   0     0.0000751   0.0121814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YSF   RAISIN RHETORIC                                                         GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                                 George Carlin      126   historical   41824807      6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                  GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                          George Carlin      149   historical   41798015    233        233 0.00026903     0.000269028   0.06268352   0   0.000388997   0.0630725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                            ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                               Andrew Dice Clay   114   historical   40734470      8          8 0.00026903     0.000269028   0.00215222   0     0.0000134   0.0021656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                             ANDREW DICE CLAY   128623771   100   20778752   USSM18900292    Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)   Andrew Dice Clay   169   historical   40680442      1          1 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                   ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                Andrew Dice Clay   135   historical   40721336      7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                              ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                   Andrew Dice Clay   126   historical   40734463      6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                       ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                            Andrew Dice Clay   90    historical   40701212      3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                 GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                         George Carlin      175   historical   41797390     63         63 0.00026903     0.000269028   0.01694876   0    0.00010518   0.0170539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                           ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)        Andrew Dice Clay   173   historical   40721314     22         22 0.00026903     0.000269028   0.00591862   0     0.0000367   0.0059553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                               ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                    Andrew Dice Clay   99    historical   40701177     12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                     ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)          Andrew Dice Clay   198   historical   40680444      8          8 0.00026903     0.000269028   0.00215222   0     0.0000134   0.0021656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                      GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                              George Carlin      418   historical   41807337     28       39.2   0.00026903   0.000269028    0.0105459   0   0.000065445   0.0106113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                        GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                             George Carlin      355   historical   42592913    164      196.8   0.00026903   0.000269028   0.05294471   0   0.000328561   0.0532733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                         GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                             George Carlin      212   historical   41488264     18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                       ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                            Andrew Dice Clay   231   historical   40701197     26         26 0.00026903     0.000269028   0.00699473   0     0.0000434   0.0070381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                    ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                 Andrew Dice Clay   189   historical   40721333    239        239 0.00026903     0.000269028   0.06429769   0   0.000399014   0.0646967


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                        ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                     Andrew Dice Clay   216   historical   40721303     92         92 0.00026903     0.000269028   0.02475058   0   0.000153595   0.0249042
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                                                                                                                                                                                                                                              #:4508
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                 ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                    Andrew Dice Clay   59    historical   40701169     9          9 0.00026903     0.000269028   0.00242125   0      0.000015   0.0024363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                    ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                   Robin Williams     81    historical   40595688   236        236 0.00026903     0.000269028   0.06349061   0   0.000394006   0.0638846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                    ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                Andrew Dice Clay   108   historical   40701191    28         28 0.00026903     0.000269028   0.00753278   0     0.0000467   0.0075795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                             GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                         George Carlin      147   historical   42592912    41         41 0.00026903     0.000269028   0.01103015   0     0.0000685   0.0110986


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                   ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                   Robin Williams     246   historical   40595689   663        663 0.00026903     0.000269028   0.17836556   0   0.001106889   0.1794725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                     ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                 Andrew Dice Clay   232   historical   40734471    62         62 0.00026903     0.000269028   0.01667974   0    0.00010351   0.0167832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                        ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                  Andrew Dice Clay   195   historical   40734477    18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                        GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                       George Carlin      61    historical   41798008   113        113 0.00026903     0.000269028   0.03040016   0   0.000188655   0.0305888


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                   GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                               George Carlin      477   historical   42592906   676     1081.6   0.00026903   0.000269028   0.29098069   0   0.001805748   0.2927864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                     ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                 Andrew Dice Clay   48    historical   40701204    16         16 0.00026903     0.000269028   0.00430445   0     0.0000267   0.0043312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                    GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                 George Carlin      150   historical   41798011    36         36 0.00026903     0.000269028   0.00968501   0     0.0000601   0.0097451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72TA WELCOME TO MY JOB                                              GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                           George Carlin      182   historical   41824798   104        104 0.00026903     0.000269028   0.02797891   0    0.00017363   0.0281525


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                     ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                 Andrew Dice Clay   114   historical   40734460    12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                            Andrew Dice Clay   14    historical   40701202    19         19 0.00026903     0.000269028   0.00511153   0     0.0000317   0.0051433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                           GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                       George Carlin      127   historical   42597492   100        100 0.00026903     0.000269028    0.0269028   0   0.000166952   0.0270698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68GQ MIDGETS 2000                                                   ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612    Midgets 2000                                             Andrew Dice Clay   319   historical   40993024    33       39.6   0.00026903   0.000269028   0.01065351   0     0.0000661   0.0107196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                            GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                        George Carlin      296   historical   42592904   496        496 0.00026903     0.000269028   0.13343789   0    0.00082808    0.134266


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                  GEORGE CARLIN      473337545   100   51648302   USZQE0610784    The Sickest                                              George Carlin      113   historical   42584717     8          8 0.00026903     0.000269028   0.00215222   0     0.0000134   0.0021656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                              ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                Andrew Dice Clay   154   historical   40721316    63         63 0.00026903     0.000269028   0.01694876   0    0.00010518   0.0170539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                         ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                     Andrew Dice Clay   41    historical   40701179    15         15 0.00026903     0.000269028   0.00403542   0      0.000025   0.0040605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                              GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                         George Carlin      214   historical   42584716    44         44 0.00026903     0.000269028   0.01183723   0     0.0000735   0.0119107


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                            Andrew Dice Clay   100   historical   40701201    24         24 0.00026903     0.000269028   0.00645667   0     0.0000401   0.0064967


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                 ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                Andrew Dice Clay   217   historical   40680452    12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV1   HOUR BACK...GET IT?                                          ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)         Andrew Dice Clay   400   historical   40680454     7        9.8   0.00026903   0.000269028   0.00263647   0     0.0000164   0.0026528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                       ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)           Andrew Dice Clay   108   historical   40721309    57         57 0.00026903     0.000269028    0.0153346   0     0.0000952   0.0154298


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                       ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                   Andrew Dice Clay   167   historical   40734475     4          4 0.00026903     0.000269028   0.00107611   0    0.00000668   0.0010828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                      ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                  Andrew Dice Clay   37    historical   40701203    22         22 0.00026903     0.000269028   0.00591862   0     0.0000367   0.0059553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                 ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                             Andrew Dice Clay   41    historical   40701207     9          9 0.00026903     0.000269028   0.00242125   0      0.000015   0.0024363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB22A9   A DAY AT THE BEACH                                           ANDREW DICE CLAY   128623771   100   20746956   USSM18900265    A Day At The Beach                                       Andrew Dice Clay   158   historical   40673552    14         14 0.00026903     0.000269028   0.00376639   0     0.0000234   0.0037898


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                        ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                    Andrew Dice Clay   65    historical   40734472    12         12 0.00026903     0.000269028   0.00322834   0       0.00002   0.0032484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                            GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                           George Carlin      244   historical   41824805   166        166 0.00026903     0.000269028   0.04465865   0    0.00027714   0.0449358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                           GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                          George Carlin      127   historical   41824801     7          7 0.00026903     0.000269028    0.0018832   0     0.0000117   0.0018949


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                          GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                         George Carlin      158   historical   41824802    31         31 0.00026903     0.000269028   0.00833987   0   0.000051755   0.0083916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                     ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                 Andrew Dice Clay   227   historical   40993026    25         25 0.00026903     0.000269028    0.0067257   0     0.0000417   0.0067674


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                               ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                           Andrew Dice Clay   50    historical   40701215     3          3 0.00026903     0.000269028   0.00080708   0    0.00000501   0.0008121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                            ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                        Andrew Dice Clay   462   historical   40993020   166      265.6   0.00026903   0.000269028   0.07145384   0   0.000443423   0.0718973


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)   GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001          George Carlin      518   historical   41807341     1        1.8   0.00026903   0.000269028   0.00048425   0    0.00000301   0.0004873


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                             ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                         Andrew Dice Clay   129   historical   40734461    17         17 0.00026903     0.000269028   0.00457348   0     0.0000284   0.0046019


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                              GEORGE CARLIN      473337545   100   32163216   USZQE0610783    Person to Person                                         George Carlin      212   historical   41488263     1          1 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                    ANDREW DICE CLAY   128623771   100   20778747   USSM18900288    Personal Delivery Service (Live At Dangerfield's/1989)   Andrew Dice Clay   232   historical   40680438    18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                            ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                        Andrew Dice Clay   32    historical   40701186    30         30 0.00026903     0.000269028   0.00807084   0     0.0000501   0.0081209


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                    ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                   Robin Williams     223   historical   40595681   479        479 0.00026903     0.000269028   0.12886441   0   0.000799698   0.1296641


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                  GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                 George Carlin      391   historical   41824793     3        4.2   0.00026903   0.000269028   0.00112992   0   0.000007012   0.0011369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                     ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                 Andrew Dice Clay   180   historical   40734486    31         31 0.00026903     0.000269028   0.00833987   0   0.000051755   0.0083916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                            George Carlin      310   historical   42592920   349      418.8   0.00026903   0.000269028   0.11266893   0   0.000699193   0.1133681


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                               George Carlin      155   historical   41798243   172        172 0.00026903     0.000269028   0.04627282   0   0.000287157     0.04656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                     ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                 Andrew Dice Clay   180   historical   40734485    21         21 0.00026903     0.000269028   0.00564959   0     0.0000351   0.0056846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                               ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)              Andrew Dice Clay   339   historical   40680443    15         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6WOX BIG HEAD                                                       ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                                 Andrew Dice Clay   55    historical   40993023     1          1 0.00026903     0.000269028   0.00026903   0    0.00000167   0.0002707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                      GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                  George Carlin      126   historical   42592910    48         48 0.00026903     0.000269028   0.01291334   0     0.0000801   0.0129935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                 ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)            Robin Williams     370   historical   40896201   9758   13661.2   0.00026903   0.000269028   3.67524531   0   0.022807584   3.6980529


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                   GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                                George Carlin      285   historical   41824800    50         50 0.00026903     0.000269028    0.0134514   0     0.0000835   0.0135349


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                              GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                             George Carlin      426   historical   41824803    90        144 0.00026903     0.000269028   0.03874003   0    0.00024041   0.0389804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                              ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)             Andrew Dice Clay   210   historical   40680440     6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                           ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)    Robin Williams     130   historical   40896198   3825      3825 0.00026903     0.000269028    1.0290321   0   0.006385897    1.035418


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                               ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                           Andrew Dice Clay   50    historical   40701214     6          6 0.00026903     0.000269028   0.00161417   0       0.00001   0.0016242


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                  ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                 Andrew Dice Clay   264   historical   40680448    28         28 0.00026903     0.000269028   0.00753278   0     0.0000467   0.0075795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                      ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                   Andrew Dice Clay   200   historical   40673556   113        113 0.00026903     0.000269028   0.03040016   0   0.000188655   0.0305888


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                           ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                       Andrew Dice Clay   50    historical   40701210    18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                              ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                          Andrew Dice Clay   72    historical   40701194    22         22 0.00026903     0.000269028   0.00591862   0     0.0000367   0.0059553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83FQ   SID AND THE ORIENTAL                                         ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                     Andrew Dice Clay   197   historical   40993021    18         18 0.00026903     0.000269028    0.0048425   0     0.0000301   0.0048726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                              ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                  Andrew Dice Clay   126   historical   40721322    55         55 0.00026903     0.000269028   0.01479654   0     0.0000918   0.0148884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                  GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                 George Carlin      177   historical   41797070   214        214 0.00026903     0.000269028   0.05757199   0   0.000357276   0.0579293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                   GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                  George Carlin      112   historical   41798014    88         88 0.00026903     0.000269028   0.02367446   0   0.000146917   0.0238214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                   ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                             Andrew Dice Clay   330   historical   40734487    43       51.6   0.00026903   0.000269028   0.01388185   0   0.000086147    0.013968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                      ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                           Robin Williams     111   historical   40909758   1024      1024 0.00026903     0.000269028   0.27548467   0   0.001709584   0.2771943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BVM BIG TIT/ PIN TIT                                               ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                         Andrew Dice Clay   239   historical   40993025    22         22 0.00026903     0.000269028   0.00591862   0     0.0000367   0.0059553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                     ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                 Andrew Dice Clay   174   historical   40673557    90         90 0.00026903     0.000269028   0.02421252   0   0.000150256   0.0243628


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                       ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)           Andrew Dice Clay   63    historical   40721331    51         51 0.00026903     0.000269028   0.01372043   0     0.0000851   0.0138056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                             ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                         Andrew Dice Clay   419   historical   40993027   156      218.4   0.00026903   0.000269028   0.05875572   0   0.000364622   0.0591203


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                           GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                       George Carlin      320   historical   42592918   337      404.4   0.00026903   0.000269028   0.10879492   0   0.000675152   0.1094701


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                              GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                             George Carlin      326   historical   41807340   363      435.6   0.00026903   0.000269028    0.1171886   0   0.000727241   0.1179158


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                          GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                         George Carlin      340   historical   41801742   621      745.2   0.00026903   0.000269028   0.20047967   0   0.001244123   0.2017238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                               GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                           George Carlin      255   historical   42592905   672        672 0.00026903     0.000269028   0.18078682   0   0.001121914   0.1819087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                   ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                             Andrew Dice Clay   330   historical   40734488    55         66 0.00026903     0.000269028   0.01775585   0   0.000110188    0.017866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   5/1/2017   5/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                               ANDREW DICE CLAY   128623771   100   20872375   USSM19000297    1989‐ A Review                                           Andrew Dice Clay   368   historical   40701188   109      152.6   0.00026903   0.000269028   0.04105367   0   0.000254768   0.0413084


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                          GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                      George Carlin      246   historical   19922004   210        210 0.00028366     0.000283664   0.05956948   0   0.000369672   0.0599392


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                GEORGE CARLIN      473337545   100   3446753                    A Proposition                                            George Carlin      100   historical   21568371    21         21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                 GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                             George Carlin      121   historical   21568357     9          9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                              GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                          George Carlin      80    historical   21568390    80         80 0.00028366     0.000283664   0.02269314   0   0.000140828    0.022834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                      GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                  George Carlin      180   historical   21568365    22         22 0.00028366     0.000283664   0.00624061   0     0.0000387   0.0062793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                   GEORGE CARLIN      473337545   100   11005103                   My Childhood                                             George Carlin      338   historical   19922010    29       34.8   0.00028366   0.000283664   0.00987151   0    0.00006126   0.0099328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                   ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                               Andrew Dice Clay   131   historical   22588459    13         13 0.00028366     0.000283664   0.00368764   0     0.0000229   0.0037105
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                                                                                                                                                                                                                                              #:4509
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                           George Carlin      228   historical   19921983    145        145 0.00028366     0.000283664   0.04113131   0    0.00025525   0.0413866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                       George Carlin      154   historical   21568354     36         36 0.00028366     0.000283664   0.01021191   0     0.0000634   0.0102753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   19922002     47       65.8   0.00028366   0.000283664    0.0186651   0   0.000115831   0.0187809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   22347749   1785       1785 0.00028366     0.000283664    0.5063406   0   0.003142214   0.5094828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   19921997    204      326.4   0.00028366   0.000283664     0.092588   0   0.000574576   0.0931626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical   21568361      8          8 0.00028366     0.000283664   0.00226931   0     0.0000141   0.0022834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                         George Carlin      301   historical   21568335     54       64.8   0.00028366   0.000283664   0.01838144   0    0.00011407   0.0184955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   21568334     62         62 0.00028366     0.000283664   0.01758718   0   0.000109141   0.0176963


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   19922006     43         43 0.00028366     0.000283664   0.01219756   0     0.0000757   0.0122733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   19921987     34         34 0.00028366     0.000283664   0.00964458   0     0.0000599   0.0097044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical   19922000      4          4 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical   19921994     34       88.4   0.00028366   0.000283664   0.02507592   0   0.000155614   0.0252315


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   19921993     40         48 0.00028366     0.000283664   0.01361588   0     0.0000845   0.0137004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                    Retired People                                                                  George Carlin      63    historical   21568397     36         36 0.00028366     0.000283664   0.01021191   0     0.0000634   0.0102753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                          George Carlin      152   historical   21568340     21         21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   21568393     40         40 0.00028366     0.000283664   0.01134657   0     0.0000704    0.011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   22549345     51       71.4   0.00028366   0.000283664   0.02025362   0   0.000125689   0.0203793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   19921972     50         90 0.00028366     0.000283664   0.02552978   0   0.000158431   0.0256882


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                           George Carlin      38    historical   19922009     35         35 0.00028366     0.000283664   0.00992825   0   0.000061612   0.0099899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                              George Carlin      315   historical   22347740   2586     3103.2   0.00028366   0.000283664   0.88026675   0   0.005462699   0.8857294


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   22588471     12         12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                        George Carlin      165   historical   21568369     11         11 0.00028366     0.000283664   0.00312031   0     0.0000194   0.0031397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   21568382     44         44 0.00028366     0.000283664   0.01248123   0     0.0000775   0.0125587


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   19921998    135        135 0.00028366     0.000283664   0.03829467   0   0.000237646   0.0385323


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   19921979     25         45 0.00028366     0.000283664   0.01276489   0     0.0000792   0.0128441


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical   19922012     20         20 0.00028366     0.000283664   0.00567328   0     0.0000352   0.0057085


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   21568339     80         80 0.00028366     0.000283664   0.02269314   0   0.000140828    0.022834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   19921989     12         12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   19922005     36       50.4   0.00028366   0.000283664   0.01429668   0     0.0000887   0.0143854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   22547007    402      482.4   0.00028366   0.000283664   0.13683961   0    0.00084919   0.1376888


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical   19921992     10         10 0.00028366     0.000283664   0.00283664   0     0.0000176   0.0028542


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   21568359     17         17 0.00028366     0.000283664   0.00482229   0     0.0000299   0.0048522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                                      George Carlin      54    historical   21568353     70         70 0.00028366     0.000283664   0.01985649   0   0.000123224   0.0199797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   21568336     42       50.4   0.00028366   0.000283664   0.01429668   0     0.0000887   0.0143854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   19921969     51       71.4   0.00028366   0.000283664   0.02025362   0   0.000125689   0.0203793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical   19921970     93         93 0.00028366     0.000283664   0.02638077   0   0.000163712   0.0265445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                              George Carlin      46    historical   19922001     14         14 0.00028366     0.000283664    0.0039713   0     0.0000246   0.0039959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                     GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                                   George Carlin      229   historical   21746878    324        324 0.00028366     0.000283664    0.0919072   0   0.000570351   0.0924776


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                    ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                                        Andrew Dice Clay   54    historical   20676393     17         17 0.00028366     0.000283664   0.00482229   0     0.0000299   0.0048522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                            GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                                                George Carlin      147   historical   22446998     51         51 0.00028366     0.000283664   0.01446687   0     0.0000898   0.0145567


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                                GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                                    George Carlin      269   historical   22447009    153        153 0.00028366     0.000283664   0.04340062   0   0.000269333     0.04367


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                             ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                                                 Andrew Dice Clay   72    historical   20676374     19         19 0.00028366     0.000283664   0.00538962   0     0.0000334   0.0054231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                   George Carlin      336   historical   21733216     13       15.6   0.00028366   0.000283664   0.00442516   0     0.0000275   0.0044526


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                              ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                          Andrew Dice Clay   145   historical   20697248     28         28 0.00028366     0.000283664    0.0079426   0     0.0000493   0.0079919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                          GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                                 George Carlin      157   historical   21724290     30         30 0.00028366     0.000283664   0.00850993   0     0.0000528   0.0085627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                        GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                               George Carlin      235   historical   21723708    384        384 0.00028366     0.000283664   0.10892705   0   0.000675972    0.109603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                               ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                                   Andrew Dice Clay   100   historical   20676381     14         14 0.00028366     0.000283664    0.0039713   0     0.0000246   0.0039959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                                ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                                           Andrew Dice Clay   59    historical   20676351     21         21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                              ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                                  Andrew Dice Clay   49    historical   20676395      2          2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                                  ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                                      Andrew Dice Clay   65    historical   20676362     25         25 0.00028366     0.000283664   0.00709161   0      0.000044   0.0071356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                   ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                                       Andrew Dice Clay   71    historical   20676371      2          2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                                ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                                                  Andrew Dice Clay   114   historical   20710926     30         30 0.00028366     0.000283664   0.00850993   0     0.0000528   0.0085627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                     ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                                         Andrew Dice Clay   37    historical   20676383     30         30 0.00028366     0.000283664   0.00850993   0     0.0000528   0.0085627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical   19921975     28         28 0.00028366     0.000283664    0.0079426   0     0.0000493   0.0079919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   19921999     48         48 0.00028366     0.000283664   0.01361588   0     0.0000845   0.0137004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical   19921985     25         25 0.00028366     0.000283664   0.00709161   0      0.000044   0.0071356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                        George Carlin      181   historical   21542521    286        286 0.00028366     0.000283664   0.08112796   0   0.000503458   0.0816314


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   21568376     33         33 0.00028366     0.000283664   0.00936092   0     0.0000581    0.009419


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   21568345    100        180 0.00028366     0.000283664   0.05105956   0   0.000316862   0.0513764


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                                George Carlin      450   historical   21568333    658     1052.8   0.00028366   0.000283664   0.29864167   0    0.00185329    0.300495


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   19921977     13         13 0.00028366     0.000283664   0.00368764   0     0.0000229   0.0037105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                                  George Carlin      118   historical   19921988     11         11 0.00028366     0.000283664   0.00312031   0     0.0000194   0.0031397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                          George Carlin      595   historical   19921982     47         94 0.00028366     0.000283664   0.02666444   0   0.000165472   0.0268299


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   22347746   1133       1133 0.00028366     0.000283664   0.32139154   0    0.00199447    0.323386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   21568332     23         23 0.00028366     0.000283664   0.00652428   0     0.0000405   0.0065648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   21568368     45         81 0.00028366     0.000283664    0.0229768   0   0.000142588   0.0231194


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   19921996     28         28 0.00028366     0.000283664    0.0079426   0     0.0000493   0.0079919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical   21568363    125        125 0.00028366     0.000283664   0.03545803   0   0.000220043   0.0356781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   21568396     32         32 0.00028366     0.000283664   0.00907725   0   0.000056331   0.0091336


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   19922011     46         46 0.00028366     0.000283664   0.01304855   0      0.000081   0.0131295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   21568367    234      327.6   0.00028366   0.000283664   0.09292839   0   0.000576689   0.0935051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   22347748   2342       2342 0.00028366     0.000283664   0.66434156   0   0.004122725   0.6684643


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                            GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                                George Carlin      183   historical   21568364    207        207 0.00028366     0.000283664   0.05871849   0   0.000364391   0.0590829


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                                  George Carlin      74    historical   19921984     35         35 0.00028366     0.000283664   0.00992825   0   0.000061612   0.0099899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                                  George Carlin      173   historical   21568370     17         17 0.00028366     0.000283664   0.00482229   0     0.0000299   0.0048522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   21568352     39         39 0.00028366     0.000283664    0.0110629   0     0.0000687   0.0111316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                       ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                                          Robin Williams     406   historical   20874114   12969   18156.6   0.00028366   0.000283664   5.15037741   0   0.031961858   5.1823393


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                        ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                                            Andrew Dice Clay   79    historical   20710921      3          3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                           ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                                               Andrew Dice Clay   90    historical   20676392      2          2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                         GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                                                George Carlin      158   historical   21749957      3          3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                            ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                                        Andrew Dice Clay   101   historical   20697231      9          9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                                ANDREW DICE CLAY   128623771   100   20778772   USSM18900308    Dogs & Birds (Live at Dangerfield's/1989)                                       Andrew Dice Clay   168   historical   20654506      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                                 ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                                     Andrew Dice Clay   28    historical   20676386      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854
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                                                                                                                                                                                                                                              #:4510
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                           Andrew Dice Clay   78    historical   20676358    29        29 0.00028366     0.000283664   0.00822626   0    0.00005105   0.0082773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                                  George Carlin      500   historical   22243576     1       1.8   0.00028366   0.000283664    0.0005106   0    0.00000317   0.0005138


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                   George Carlin      214   historical   21723165   254       254 0.00028366     0.000283664   0.07205071   0   0.000447127   0.0724978


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                     Andrew Dice Clay   264   historical   20654504     1         1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                           Andrew Dice Clay   108   historical   20710933    12        12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                              George Carlin      127   historical   21749956    12        12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                          George Carlin      192   historical   21733218   140       140 0.00028366     0.000283664   0.03971299   0   0.000246448   0.0399594


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                                 George Carlin      85    historical   22451949   190       190 0.00028366     0.000283664    0.0538962   0   0.000334465   0.0542307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                         GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                             George Carlin      118   historical   19921990     9         9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                         GEORGE CARLIN      473337545   100   3446716                    The Evening News                                             George Carlin      165   historical   21568337     9         9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                              ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)          Andrew Dice Clay   166   historical   20697246    21        21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                    Andrew Dice Clay   154   historical   20697235    34        34 0.00028366     0.000283664   0.00964458   0     0.0000599   0.0097044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                   Andrew Dice Clay   85    historical   20697247    17        17 0.00028366     0.000283664   0.00482229   0     0.0000299   0.0048522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                              George Carlin      426   historical   22451948   528     844.8   0.00028366   0.000283664   0.23963952   0   0.001487138   0.2411267


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                 Robin Williams     192   historical   20570541   414       414 0.00028366     0.000283664   0.11743698   0   0.000728782   0.1181658


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                                  Andrew Dice Clay   94    historical   20710913    11        11 0.00028366     0.000283664   0.00312031   0     0.0000194   0.0031397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                                 George Carlin      285   historical   22451945   407       407 0.00028366     0.000283664   0.11545133   0    0.00071646   0.1161678


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                               Andrew Dice Clay   49    historical   20676394     3         3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                             George Carlin      174   historical   22446997    13        13 0.00028366     0.000283664   0.00368764   0     0.0000229   0.0037105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                            Andrew Dice Clay   32    historical   20676367    16        16 0.00028366     0.000283664   0.00453863   0     0.0000282   0.0045668


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001              George Carlin      518   historical   21733222     1       1.8   0.00028366   0.000283664    0.0005106   0    0.00000317   0.0005138


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                    Andrew Dice Clay   108   historical   20676373     3         3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                   Robin Williams     188   historical   20570532   518       518 0.00028366     0.000283664   0.14693806   0   0.000911858   0.1478499


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                Andrew Dice Clay   215   historical   20697215    94        94 0.00028366     0.000283664   0.02666444   0   0.000165472   0.0268299


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                Andrew Dice Clay   135   historical   20697255    14        14 0.00028366     0.000283664    0.0039713   0     0.0000246   0.0039959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                Robin Williams     369   historical   20874105   6302   8822.8   0.00028366   0.000283664    2.5027125   0   0.015531161   2.5182437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                               George Carlin      244   historical   21749958   224       224 0.00028366     0.000283664   0.06354078   0   0.000394317   0.0639351


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                 George Carlin      192   historical   21723493     6         6 0.00028366     0.000283664   0.00170199   0     0.0000106   0.0017125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)                 Andrew Dice Clay   209   historical   20654497     2         2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                         Andrew Dice Clay   178   historical   20710925     2         2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                 George Carlin      326   historical   21733220   155       186 0.00028366     0.000283664   0.05276154   0   0.000327424    0.053089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                        Andrew Dice Clay   162   historical   20676376    46        46 0.00028366     0.000283664   0.01304855   0      0.000081   0.0131295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                    Andrew Dice Clay   71    historical   20676370     1         1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                      Andrew Dice Clay   195   historical   20710932    70        70 0.00028366     0.000283664   0.01985649   0   0.000123224   0.0199797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                        George Carlin      28    historical   21724291    50        50 0.00028366     0.000283664   0.01418321   0      0.000088   0.0142712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                                Andrew Dice Clay   14    historical   20676382     3         3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                         Andrew Dice Clay   178   historical   20710924    11        11 0.00028366     0.000283664   0.00312031   0     0.0000194   0.0031397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                           Andrew Dice Clay   50    historical   20676390    13        13 0.00028366     0.000283664   0.00368764   0     0.0000229   0.0037105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                              Andrew Dice Clay   40    historical   20676368    20        20 0.00028366     0.000283664   0.00567328   0     0.0000352   0.0057085


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                     Andrew Dice Clay   180   historical   20710940     9         9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                     Andrew Dice Clay   101   historical   20697243    21        21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                              George Carlin      191   historical   21728963   196       196 0.00028366     0.000283664   0.05559818   0   0.000345027   0.0559432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                    Andrew Dice Clay   139   historical   20676354     2         2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                       Robin Williams     223   historical   20570530   435       435 0.00028366     0.000283664   0.12339393   0    0.00076575   0.1241597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                               Andrew Dice Clay   107   historical   20710938     4         4 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                     Andrew Dice Clay   33    historical   20676356     1         1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                               Andrew Dice Clay   187   historical   20710912    14        14 0.00028366     0.000283664    0.0039713   0     0.0000246   0.0039959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                           George Carlin      61    historical   21724083   102       102 0.00028366     0.000283664   0.02893375   0   0.000179555   0.0291133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                  George Carlin      203   historical   21733219   183       183 0.00028366     0.000283664   0.05191055   0   0.000322143   0.0522327


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                        Andrew Dice Clay   65    historical   20710928     7         7 0.00028366     0.000283664   0.00198565   0     0.0000123    0.001998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                                   George Carlin      477   historical   22446992   728    1164.8   0.00028366   0.000283664   0.33041206   0   0.002050448   0.3324625


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                   George Carlin      253   historical   21723706   391       391 0.00028366     0.000283664    0.1109127   0   0.000688294    0.111601


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                  George Carlin      391   historical   22447007     2       2.8   0.00028366   0.000283664   0.00079426   0   0.000004929   0.0007992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                            Andrew Dice Clay   231   historical   20676378    21        21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                    Andrew Dice Clay   216   historical   20654510     2         2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                               George Carlin      182   historical   21749955     3         3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                      George Carlin      586   historical   21733221    14        28 0.00028366     0.000283664    0.0079426   0     0.0000493   0.0079919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                               Andrew Dice Clay   140   historical   20710934     3         3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                           George Carlin      355   historical   21749950     3       3.6   0.00028366   0.000283664   0.00102119   0    0.00000634   0.0010275


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                     Andrew Dice Clay   304   historical   20975740    19      22.8   0.00028366   0.000283664   0.00646754   0     0.0000401   0.0065077


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                               George Carlin      310   historical   21749959     1       1.2   0.00028366   0.000283664    0.0003404   0    0.00000211   0.0003425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                 Andrew Dice Clay   41    historical   20676387    13        13 0.00028366     0.000283664   0.00368764   0     0.0000229   0.0037105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                     Andrew Dice Clay   232   historical   20710927    56        56 0.00028366     0.000283664    0.0158852   0     0.0000986   0.0159838


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                              ANDREW DICE CLAY   128623771   100   20778752   USSM18900292    Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)   Andrew Dice Clay   169   historical   20654499     2         2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                               Andrew Dice Clay   29    historical   20676364    18        18 0.00028366     0.000283664   0.00510596   0     0.0000317   0.0051376


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                     Andrew Dice Clay   180   historical   20710939    77        77 0.00028366     0.000283664   0.02184214   0   0.000135547   0.0219777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                              George Carlin      189   historical   21727797   319       319 0.00028366     0.000283664   0.09048888   0    0.00056155   0.0910504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                 ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                                     Andrew Dice Clay   151   historical   20647491     1         1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                    Andrew Dice Clay   216   historical   20654511     3         3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                      Andrew Dice Clay   126   historical   20697241    46        46 0.00028366     0.000283664   0.01304855   0      0.000081   0.0131295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                      George Carlin      206   historical   22447010    36        36 0.00028366     0.000283664   0.01021191   0     0.0000634   0.0102753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                         GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                             George Carlin      355   historical   22446999   144     172.8   0.00028366   0.000283664   0.04901717   0   0.000304187   0.0493214


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                       George Carlin      389   historical   21724295    62      86.8   0.00028366   0.000283664   0.02462205   0   0.000152798   0.0247749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                             Andrew Dice Clay   419   historical   20975737   163     228.2   0.00028366   0.000283664   0.06473217   0    0.00040171   0.0651339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                      Andrew Dice Clay   202   historical   20710917    40        40 0.00028366     0.000283664   0.01134657   0     0.0000704    0.011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                           George Carlin      127   historical   22451946    23        23 0.00028366     0.000283664   0.00652428   0     0.0000405   0.0065648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)         Robin Williams     324   historical   20874109   2918   3501.6   0.00028366   0.000283664   0.99327856   0    0.00616402   0.9994426


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                                 Andrew Dice Clay   106   historical   20710922    12        12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                             George Carlin      430   historical   21749954     1       1.6   0.00028366   0.000283664   0.00045386   0    0.00000282   0.0004567


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                       Robin Williams     81    historical   20570537   187       187 0.00028366     0.000283664   0.05304521   0   0.000329184   0.0533744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                     Andrew Dice Clay   174   historical   20647493    36        36 0.00028366     0.000283664   0.01021191   0     0.0000634   0.0102753


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                    Andrew Dice Clay   108   historical   20676372    33        33 0.00028366     0.000283664   0.00936092   0     0.0000581    0.009419


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                             George Carlin      214   historical   22438680    34        34 0.00028366     0.000283664   0.00964458   0     0.0000599   0.0097044
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 58 of 86 Page ID
                                                                                                                                                                                                                                              #:4511
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                             George Carlin      129   historical   22446994     68         68 0.00028366     0.000283664   0.01928917   0   0.000119703   0.0194089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                               Andrew Dice Clay   135   historical   20676365     12         12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)              Andrew Dice Clay   400   historical   20654513      1        1.4   0.00028366   0.000283664   0.00039713   0    0.00000246   0.0003996


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                            Andrew Dice Clay   255   historical   20710923     85         85 0.00028366     0.000283664   0.02411146   0   0.000149629   0.0242611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                  Andrew Dice Clay   330   historical   20710942     17       20.4   0.00028366   0.000283664   0.00578675   0   0.000035911   0.0058227


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                         Andrew Dice Clay   180   historical   20676379     83         83 0.00028366     0.000283664   0.02354413   0   0.000146109   0.0236902


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635    Club 33                                                       Andrew Dice Clay   190   historical   20975739      7          7 0.00028366     0.000283664   0.00198565   0     0.0000123    0.001998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                      Andrew Dice Clay   114   historical   20710918      6          6 0.00028366     0.000283664   0.00170199   0     0.0000106   0.0017125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                   Andrew Dice Clay   28    historical   20676385      4          4 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                             Andrew Dice Clay   90    historical   20676391     15         15 0.00028366     0.000283664   0.00425496   0     0.0000264   0.0042814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   20697251    171      205.2   0.00028366   0.000283664   0.05820789   0   0.000361223   0.0585691


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                     Andrew Dice Clay   98    historical   20697226     41         41 0.00028366     0.000283664   0.01163023   0     0.0000722   0.0117024


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                        GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                           George Carlin      351   historical   22243575      6        7.2   0.00028366   0.000283664   0.00204238   0     0.0000127   0.0020551


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   20874110   12149   14578.8   0.00028366   0.000283664   4.13548364   0     0.0256637   4.1611473


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                                 Andrew Dice Clay   60    historical   20676366     14         14 0.00028366     0.000283664    0.0039713   0     0.0000246   0.0039959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                                George Carlin      173   historical   22447003     12         12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                         George Carlin      328   historical   21723714    628      753.6   0.00028366   0.000283664   0.21376934   0   0.001326595   0.2150959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                            George Carlin      320   historical   22447004    290        348 0.00028366     0.000283664   0.09871514   0     0.0006126   0.0993277


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                                George Carlin      288   historical   21749953      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                             George Carlin      275   historical   21723226    555        555 0.00028366     0.000283664   0.15743363   0   0.000976991   0.1584106


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                    George Carlin      310   historical   21749952      2        2.4   0.00028366   0.000283664   0.00068079   0    0.00000422    0.000685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical   20570533    128        128 0.00028366     0.000283664   0.03630902   0   0.000225324   0.0365343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                                Andrew Dice Clay   107   historical   20710937     12         12 0.00028366     0.000283664   0.00340397   0     0.0000211   0.0034251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                   Andrew Dice Clay   78    historical   20676349     21         21 0.00028366     0.000283664   0.00595695   0      0.000037   0.0059939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                           George Carlin      99    historical   21746727     85         85 0.00028366     0.000283664   0.02411146   0   0.000149629   0.0242611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                  GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                          George Carlin      145   historical   21723716     28         28 0.00028366     0.000283664    0.0079426   0     0.0000493   0.0079919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                  GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                          George Carlin      175   historical   21723496      9          9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                   Andrew Dice Clay   78    historical   20676350      2          2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                           George Carlin      149   historical   21724090    186        186 0.00028366     0.000283664   0.05276154   0   0.000327424    0.053089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                     Andrew Dice Clay   111   historical   20697224     29         29 0.00028366     0.000283664   0.00822626   0    0.00005105   0.0082773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                       George Carlin      126   historical   22446996     26         26 0.00028366     0.000283664   0.00737527   0     0.0000458    0.007421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                  Andrew Dice Clay   41    historical   20676388      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)                Andrew Dice Clay   63    historical   20697250     14         14 0.00028366     0.000283664    0.0039713   0     0.0000246   0.0039959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                         Andrew Dice Clay   468   historical   20710935     21       33.6   0.00028366   0.000283664   0.00953112   0     0.0000591   0.0095903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                    George Carlin      155   historical   21724288    149        149 0.00028366     0.000283664   0.04226597   0   0.000262291   0.0425283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                    Andrew Dice Clay   126   historical   20710920      9          9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                  George Carlin      147   historical   21723220     82         82 0.00028366     0.000283664   0.02326046   0   0.000144348   0.0234048


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   51648302   USZQE0610784    The Sickest                                                   George Carlin      113   historical   22438681      8          8 0.00028366     0.000283664   0.00226931   0     0.0000141   0.0022834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                                 George Carlin      310   historical   22447006    397      476.4   0.00028366   0.000283664   0.13513763   0   0.000838628   0.1359763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                    Andrew Dice Clay   149   historical   20697237     31         31 0.00028366     0.000283664   0.00879359   0     0.0000546   0.0088482


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                          Andrew Dice Clay   41    historical   20676360     24         24 0.00028366     0.000283664   0.00680794   0     0.0000422   0.0068502


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                 Andrew Dice Clay   231   historical   20654505      6          6 0.00028366     0.000283664   0.00170199   0     0.0000106   0.0017125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R5L   THE NEWSCAST                                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                  George Carlin      456   historical   22243577      3        4.8   0.00028366   0.000283664   0.00136159   0    0.00000845     0.00137


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                     Andrew Dice Clay   139   historical   20676353      7          7 0.00028366     0.000283664   0.00198565   0     0.0000123    0.001998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                      Andrew Dice Clay   48    historical   20676384     18         18 0.00028366     0.000283664   0.00510596   0     0.0000317   0.0051376


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                       George Carlin      112   historical   21724089     51         51 0.00028366     0.000283664   0.01446687   0     0.0000898   0.0145567


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                            GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                                 George Carlin      167   historical   22438677      3          3 0.00028366     0.000283664    0.0004255   0    0.00000264   0.0004281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                            George Carlin      115   historical   21728966    156        156 0.00028366     0.000283664   0.04425162   0   0.000274614   0.0445262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                          George Carlin      261   historical   21724078      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   20697217     42         42 0.00028366     0.000283664    0.0119139   0     0.0000739   0.0119878


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93UW TEXAS                                                                      ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                            Andrew Dice Clay   185   historical   20654494      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                             George Carlin      296   historical   22446990    483        483 0.00028366     0.000283664   0.13700981   0   0.000850246   0.1378601


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     129   historical   20874100   2415       2415 0.00028366     0.000283664   0.68504904   0    0.00425123   0.6893003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)                     Andrew Dice Clay   200   historical   20654507      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                  Andrew Dice Clay   189   historical   20697252    144        144 0.00028366     0.000283664   0.04084765   0    0.00025349   0.0411011


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                 Andrew Dice Clay   100   historical   20676380      7          7 0.00028366     0.000283664   0.00198565   0     0.0000123    0.001998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                               ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                        Robin Williams     246   historical   20570538    569        569 0.00028366     0.000283664   0.16140493   0   0.001001636   0.1624066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   20676359     17         17 0.00028366     0.000283664   0.00482229   0     0.0000299   0.0048522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FJ7   MY STATEMENT                                                             ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632    My Statement                                                  Andrew Dice Clay   62    historical   20975738      1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                          Andrew Dice Clay   197   historical   20975734      3          3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                             Andrew Dice Clay   231   historical   20676377     68         68 0.00028366     0.000283664   0.01928917   0   0.000119703   0.0194089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                  George Carlin      279   historical   22438676      8          8 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                  Andrew Dice Clay   73    historical   20697253    125        125 0.00028366     0.000283664   0.03545803   0   0.000220043   0.0356781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                      George Carlin      286   historical   21728961    234        234 0.00028366     0.000283664   0.06637742   0    0.00041192   0.0667893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                           Andrew Dice Clay   123   historical   20676361     13         13 0.00028366     0.000283664   0.00368764   0     0.0000229   0.0037105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                      Andrew Dice Clay   216   historical   20697221     79         79 0.00028366     0.000283664   0.02240947   0   0.000139067   0.0225485


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     129   historical   20874101    799        799 0.00028366     0.000283664    0.2266477   0   0.001406515   0.2280542


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)            Robin Williams     405   historical   20874112   13859   19402.6   0.00028366   0.000283664   5.50382301   0   0.034155246   5.5379783


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                               George Carlin      418   historical   21733217     17       23.8   0.00028366   0.000283664   0.00675121   0     0.0000419   0.0067931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                George Carlin      255   historical   22446991    577        577 0.00028366     0.000283664   0.16367424   0   0.001015718     0.16469


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                               Andrew Dice Clay   72    historical   20676375      5          5 0.00028366     0.000283664   0.00141832   0     0.0000088   0.0014271


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                         Andrew Dice Clay   59    historical   20676352      2          2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                      ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)           Andrew Dice Clay   198   historical   20654501      7          7 0.00028366     0.000283664   0.00198565   0     0.0000123    0.001998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                         George Carlin      263   historical   22447005    287        287 0.00028366     0.000283664   0.08141163   0   0.000505219   0.0819168


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                             George Carlin      288   historical   22447011    452        452 0.00028366     0.000283664   0.12821622   0   0.000795675   0.1290119


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                           George Carlin      429   historical   22447012     89      142.4   0.00028366   0.000283664   0.04039378   0   0.000250673   0.0406445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                          Robin Williams     154   historical   20570543     26         26 0.00028366     0.000283664   0.00737527   0     0.0000458    0.007421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                      Andrew Dice Clay   33    historical   20676355     16         16 0.00028366     0.000283664   0.00453863   0     0.0000282   0.0045668


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                     George Carlin      153   historical   21723494      4          4 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                      George Carlin      150   historical   21724086     45         45 0.00028366     0.000283664   0.01276489   0     0.0000792   0.0128441


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                       Andrew Dice Clay   79    historical   20697249     58         58 0.00028366     0.000283664   0.01645252   0     0.0001021   0.0165546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     369   historical   20874106   1976     2766.4   0.00028366   0.000283664   0.78472864   0   0.004869815   0.7895985


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)            Andrew Dice Clay   186   historical   20654495      4          4 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 59 of 86 Page ID
                                                                                                                                                                                                                                              #:4512
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                        ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                                          Andrew Dice Clay   200   historical   20647492   106        106 0.00028366     0.000283664   0.03006841   0   0.000186596    0.030255


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                            ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)                            Robin Williams     324   historical   20874108   9229   11074.8   0.00028366   0.000283664   3.14152428   0   0.019495455   3.1610197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                        ROBIN WILLIAMS     89045747    100   22491098   USSM18600022     Khadafi (Live)                                                                  Robin Williams     111   historical   20888652   1028      1028 0.00028366     0.000283664    0.2916068   0   0.001809633   0.2934164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                             GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                                  George Carlin      321   historical   21749951     1        1.2   0.00028366   0.000283664    0.0003404   0    0.00000211   0.0003425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                                     ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                                    Andrew Dice Clay   330   historical   20710941    46       55.2   0.00028366   0.000283664   0.01565826   0   0.000097171   0.0157554


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   51923440   US4LA0704601     Shoot                                                                           George Carlin      355   historical   22447002   520        624 0.00028366     0.000283664   0.17700646   0   0.001098455   0.1781049


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                       ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                                Andrew Dice Clay   67    historical   20697239    25         25 0.00028366     0.000283664   0.00709161   0      0.000044   0.0071356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                            GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                                 George Carlin      86    historical   21724292    25         25 0.00028366     0.000283664   0.00709161   0      0.000044   0.0071356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                               ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                                                Andrew Dice Clay   129   historical   20710919     9          9 0.00028366     0.000283664   0.00255298   0     0.0000158   0.0025688


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                                 GEORGE CARLIN      473337545   100   51648300   USZQE0610782     The Cool World                                                                  George Carlin      316   historical   22438679    21       25.2   0.00028366   0.000283664   0.00714834   0     0.0000444   0.0071927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93RW   THE PENCIL ROOM                                                                ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624     The Pencil Room                                                                 Andrew Dice Clay   79    historical   20975736     1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                            GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                                 George Carlin      340   historical   21727795   393      471.6   0.00028366   0.000283664   0.13377604   0   0.000830178   0.1346062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                                   GEORGE CARLIN      473337545   100   51648299   USZQE0610781     War Pictures                                                                    George Carlin      222   historical   22438678     3          3 0.00028366     0.000283664    0.0004255   0    0.00000264   0.0004281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                                  ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)                           Andrew Dice Clay   173   historical   20697233    27         27 0.00028366     0.000283664   0.00765893   0     0.0000475   0.0077065


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                         ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                                          Andrew Dice Clay   168   historical   20710931     1          1 0.00028366     0.000283664   0.00028366   0    0.00000176   0.0002854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                                ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                              Robin Williams     646   historical   20874113   3643    8014.6   0.00028366   0.000283664    2.2734551   0   0.014108451   2.2875635


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                              ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                               Andrew Dice Clay   462   historical   20975733   161      257.6   0.00028366   0.000283664    0.0730719   0   0.000453465   0.0735254


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                                 ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                                  Andrew Dice Clay   368   historical   20676369    88      123.2   0.00028366   0.000283664   0.03494743   0   0.000216874   0.0351643


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                             ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                              Andrew Dice Clay   110   historical   20710936    11         11 0.00028366     0.000283664   0.00312031   0     0.0000194   0.0031397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                                     ANDREW DICE CLAY   128623771   100   20746955   USSM18900264     Mother Goose                                                                    Andrew Dice Clay   207   historical   20647490     3          3 0.00028366     0.000283664   0.00085099   0   0.000005281   0.0008563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                                GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                                     George Carlin      419   historical   21724084   602      842.8   0.00028366   0.000283664   0.23907219   0   0.001483618   0.2405558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                        ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                            Robin Williams     337   historical   20570531   644      772.8   0.00028366   0.000283664   0.21921569   0   0.001360394   0.2205761


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                         ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                                  Andrew Dice Clay   108   historical   20697228    34         34 0.00028366     0.000283664   0.00964458   0     0.0000599   0.0097044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                       ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622     Date Night At The Movies                                                        Andrew Dice Clay   227   historical   20975735    18         18 0.00028366     0.000283664   0.00510596   0     0.0000317   0.0051376


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH           GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish                George Carlin      966   historical   21723218     1        3.4   0.00028366   0.000283664   0.00096446   0    0.00000599   0.0009704


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                                     ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                                   Robin Williams     517   historical   20874107   6479   11662.2   0.00028366   0.000283664   3.30814863   0   0.020529481   3.3286781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                                         George Carlin      177   historical   21723222   149        149 0.00028366     0.000283664   0.04226597   0   0.000262291   0.0425283


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                                 ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                                     Andrew Dice Clay   339   historical   20654500     8        9.6   0.00028366   0.000283664   0.00272318   0     0.0000169   0.0027401


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9INM   SOMETHING SOFT                                                                 ANDREW DICE CLAY   128623771   100   20778785   USSM18900321     Something Soft (Live at Dangerfield's/1989)                                     Andrew Dice Clay   284   historical   20654514     8          8 0.00028366     0.000283664   0.00226931   0     0.0000141   0.0022834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                                ANDREW DICE CLAY   128623771   100   20778749   USSM18900290     Under 2 Minutes (Live At Dangerfield's/1989)                                    Andrew Dice Clay   209   historical   20654496     4          4 0.00028366     0.000283664   0.00113466   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                                    ANDREW DICE CLAY   128623771   100   20872403   USSM19000313     Woman's World                                                                   Andrew Dice Clay   32    historical   20676389    19         19 0.00028366     0.000283664   0.00538962   0     0.0000334   0.0054231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                         GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                                George Carlin      486   historical   21724289   115        207 0.00028366     0.000283664   0.05871849   0   0.000364391   0.0590829


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                       ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   20697254    34         34 0.00028366     0.000283664   0.00964458   0     0.0000599   0.0097044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                         ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                                          Andrew Dice Clay   168   historical   20710930     7          7 0.00028366     0.000283664   0.00198565   0     0.0000123    0.001998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   7/1/2017   7/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                                     ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                                      Andrew Dice Clay   65    historical   20676363     2          2 0.00028366     0.000283664   0.00056733   0    0.00000352   0.0005708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                      GEORGE CARLIN      473337545   100   3446766                     Quicksand                                                                       George Carlin      129   historical   11427172    23         23 0.00027164     0.000271635    0.0062476   0     0.0000388   0.0062864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                               GEORGE CARLIN      473337545   100   11005066                    It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   9868492     18       32.4   0.00027164   0.000271635   0.00880096   0     0.0000546   0.0088556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                                 GEORGE CARLIN      473337545   100   3446735                     Falling Asleep                                                                  George Carlin      59    historical   11427121    40         40 0.00027164     0.000271635   0.01086538   0     0.0000674   0.0109328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                    GEORGE CARLIN      473337545   100   4823648                     Proud To Be An American / God Bless America                                     George Carlin      286   historical   12191775   1935      1935 0.00027164     0.000271635   0.52561295   0   0.003261813   0.5288748


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                       GEORGE CARLIN      473337545   100   11005054                    Food Terms                                                                      George Carlin      84    historical   9868483     84         84 0.00027164     0.000271635   0.02281731   0   0.000141598   0.0229589


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                      GEORGE CARLIN      473337545   100   11005089                    More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   9868509     35         35 0.00027164     0.000271635   0.00950721   0      0.000059   0.0095662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                               GEORGE CARLIN      473337545   100   3446716                     The Evening News                                                                George Carlin      165   historical   11427108    11         11 0.00027164     0.000271635   0.00298798   0     0.0000185   0.0030065


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                         GEORGE CARLIN      473337545   100   3446715                     Sports Is Big Business                                                          George Carlin      322   historical   11427107    28       33.6   0.00027164   0.000271635   0.00912692   0     0.0000566   0.0091836


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                     GEORGE CARLIN      473337545   100   3446736                     Dogs On Tv                                                                      George Carlin      54    historical   11427122    72         72 0.00027164     0.000271635   0.01955769   0    0.00012137   0.0196791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                         GEORGE CARLIN      473337545   100   3446728                     Airlines                                                                        George Carlin      518   historical   11427115    56      100.8   0.00027164   0.000271635   0.02738077   0   0.000169918   0.0275507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                         GEORGE CARLIN      473337545   100   3446720                     Dogs Come In All Sizes                                                          George Carlin      152   historical   11427111    25         25 0.00027164     0.000271635   0.00679087   0     0.0000421    0.006833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                                  GEORGE CARLIN      473337545   100   3446753                     A Proposition                                                                   George Carlin      100   historical   11427147    14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                         GEORGE CARLIN      473337545   100   5493859                     (02/28/71 Performance)                                                          George Carlin      369   historical   12403949    35         49 0.00027164     0.000271635    0.0133101   0     0.0000826   0.0133927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                     GEORGE CARLIN      473337545   100   11005105                    Language Of Comedy/Goodbye                                                      George Carlin      106   historical   9868525     24         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                        GEORGE CARLIN      473337545   100   11005082                    # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   9868502     14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   4823642                     Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   12191772   1500      1500 0.00027164     0.000271635    0.4074519   0   0.002528537   0.4099804


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                               GEORGE CARLIN      473337545   100   3446740                     Secretary Of Being In The Closet                                                George Carlin      164   historical   11427131    24         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                                 GEORGE CARLIN      473337545   100   11005075                    The New Zodiac                                                                  George Carlin      74    historical   9868497     26         26 0.00027164     0.000271635    0.0070625   0   0.000043828   0.0071063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                        GEORGE CARLIN      473337545   100   3446745                     No Brown In The Rainbow                                                         George Carlin      180   historical   11427138    19         19 0.00027164     0.000271635   0.00516106   0      0.000032   0.0051931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                                  GEORGE CARLIN      473337545   100   11005098                    Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   9868518     65         91 0.00027164     0.000271635   0.02471875   0   0.000153398   0.0248721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                          GEORGE CARLIN      473337545   100   11005090                    Television Announcers                                                           George Carlin      441   historical   9868510    162      259.2   0.00027164   0.000271635   0.07040769   0   0.000436931   0.0708446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                           GEORGE CARLIN      473337545   100   3446750                     Euphamistic Language                                                            George Carlin      487   historical   11427141   281      505.8   0.00027164   0.000271635   0.13739278   0   0.000852623   0.1382454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                            GEORGE CARLIN      473337545   100   3446758                     Comitting The Perfect Double Murder                                             George Carlin      174   historical   11427158    34         34 0.00027164     0.000271635   0.00923558   0     0.0000573   0.0092929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                   GEORGE CARLIN      473337545   100   3446739                     Ugly Singers                                                                    George Carlin      121   historical   11427129    15         15 0.00027164     0.000271635   0.00407452   0     0.0000253   0.0040998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                                  GEORGE CARLIN      473337545   100   11005091                    Another Objection On Language                                                   George Carlin      250   historical   9868511    136        136 0.00027164     0.000271635   0.03694231   0   0.000229254   0.0371716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                          GEORGE CARLIN      473337545   100   11005072                    Mental Brain Thoughts                                                           George Carlin      228   historical   9868496    144        144 0.00027164     0.000271635   0.03911538   0    0.00024274   0.0393581


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                               GEORGE CARLIN      473337545   100   11005083                    Let's Beat Them With Our Purses!                                                George Carlin      118   historical   9868503     10         10 0.00027164     0.000271635   0.00271635   0     0.0000169   0.0027332


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                                 GEORGE CARLIN      473337545   100   11005081                    Sports Roundup                                                                  George Carlin      118   historical   9868501      4          4 0.00027164     0.000271635   0.00108654   0    0.00000674   0.0010933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                               GEORGE CARLIN      473337545   100   3446748                     Religious People                                                                George Carlin      400   historical   11427140   220        308 0.00027164     0.000271635   0.08366346   0   0.000519193   0.0841827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                               GEORGE CARLIN      473337545   100   3446741                     Avant Garde Play                                                                George Carlin      74    historical   11427134    15         15 0.00027164     0.000271635   0.00407452   0     0.0000253   0.0040998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                          GEORGE CARLIN      473337545   100   3446752                     Bumper Sticker                                                                  George Carlin      173   historical   11427144     6          6 0.00027164     0.000271635   0.00162981   0     0.0000101   0.0016399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                     ANDREW DICE CLAY   128623771   100   5643598                     First Kiss                                                                      Andrew Dice Clay   131   historical   12448760    15         15 0.00027164     0.000271635   0.00407452   0     0.0000253   0.0040998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                              GEORGE CARLIN      473337545   100   3408459                     Death And Dying (Part 2)                                                        George Carlin      181   historical   11402174   271        271 0.00027164     0.000271635   0.07361298   0   0.000456822   0.0740698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                           GEORGE CARLIN      473337545   100   11005104                    Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   9868524     63         63 0.00027164     0.000271635   0.01711298   0   0.000106199   0.0172192


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                                 GEORGE CARLIN      473337545   100   11005095                    Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   9868515     41       57.4   0.00027164   0.000271635   0.01559183   0     0.0000968   0.0156886


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                      GEORGE CARLIN      473337545   100   11005052                    Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   9868481     35         49 0.00027164     0.000271635    0.0133101   0     0.0000826   0.0133927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                         GEORGE CARLIN      473337545   100   11005070                    A Place For Your Stuff                                                          George Carlin      595   historical   9868495     30         60 0.00027164     0.000271635   0.01629808   0   0.000101142   0.0163992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                    GEORGE CARLIN      473337545   100   11005056                    Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   9868485     23       41.4   0.00027164   0.000271635   0.01124567   0     0.0000698   0.0113155


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                       GEORGE CARLIN      473337545   100   3446751                     Rip‐Offs                                                                        George Carlin      165   historical   11427142     7          7 0.00027164     0.000271635   0.00190144   0     0.0000118   0.0019132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                     GEORGE CARLIN      473337545   100   11005103                    My Childhood                                                                    George Carlin      338   historical   9868523     20         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                   GEORGE CARLIN      473337545   100   3446743                     Saying Hello                                                                    George Carlin      200   historical   11427136    95         95 0.00027164     0.000271635   0.02580529   0   0.000160141   0.0259654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                              GEORGE CARLIN      473337545   100   11005062                    Appropriate Names                                                               George Carlin      157   historical   9868488     25         25 0.00027164     0.000271635   0.00679087   0     0.0000421    0.006833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                        GEORGE CARLIN      473337545   100   4823646                     Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   12191774   2593      2593 0.00027164     0.000271635   0.70434852   0   0.004370998   0.7087195


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                    GEORGE CARLIN      473337545   100   11005079                    Give A Hoot                                                                     George Carlin      42    historical   9868500     44         44 0.00027164     0.000271635   0.01195192   0     0.0000742   0.0120261


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                         GEORGE CARLIN      473337545   100   11005064                    # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   9868490      4          4 0.00027164     0.000271635   0.00108654   0    0.00000674   0.0010933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                              1990   Andrew Dice Clay   132   historical   12448772    14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                   GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                                        George Carlin      85    historical   11603344     1          1 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                          ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)                              Andrew Dice Clay   186   historical   10561819     3          3 0.00027164     0.000271635    0.0008149   0    0.00000506     0.00082
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 60 of 86 Page ID
                                                                                                                                                                                                                                              #:4513
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                            George Carlin      61    historical   11576851     61         61 0.00027164     0.000271635   0.01656971   0   0.000102827   0.0166725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                             Andrew Dice Clay   90    historical   10580947     14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                                Andrew Dice Clay   107   historical   10611064     24         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                      Andrew Dice Clay   264   historical   10561822      2          2 0.00027164     0.000271635   0.00054327   0    0.00000337   0.0005466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   10599172     16         16 0.00027164     0.000271635   0.00434615   0      0.000027   0.0043731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                              George Carlin      174   historical   12294746      9          9 0.00027164     0.000271635   0.00244471   0     0.0000152   0.0024599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                              GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                   George Carlin      183   historical   11427152     29         29 0.00027164     0.000271635    0.0078774   0   0.000048885   0.0079263


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                  GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                       George Carlin      64    historical   9868498      24         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                    GEORGE CARLIN      473337545   100   3446714                    Asylums                                                       George Carlin      301   historical   11427106     43       51.6   0.00027164   0.000271635   0.01401635   0      0.000087   0.0141033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                      GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                           George Carlin      188   historical   11427169     39         39 0.00027164     0.000271635   0.01059375   0   0.000065742   0.0106595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                     George Carlin      154   historical   11427123     26         26 0.00027164     0.000271635    0.0070625   0   0.000043828   0.0071063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                            George Carlin      315   historical   12191766   2456     2947.2   0.00027164   0.000271635   0.80056149   0   0.004968069   0.8055296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                   GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                        George Carlin      45    historical   9868505      12         12 0.00027164     0.000271635   0.00325962   0     0.0000202   0.0032798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                  GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                       George Carlin      101   historical   11427105     35         35 0.00027164     0.000271635   0.00950721   0      0.000059   0.0095662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                        George Carlin      335   historical   12401549    437      524.4   0.00027164   0.000271635   0.14244518   0   0.000883977   0.1433292


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                               GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                    George Carlin      743   historical   9868507      31       80.6   0.00027164   0.000271635   0.02189375   0   0.000135867   0.0220296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                 GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                      George Carlin      334   historical   9868506      29       34.8   0.00027164   0.000271635   0.00945288   0     0.0000587   0.0095115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                         George Carlin      38    historical   9868522      51         51 0.00027164     0.000271635   0.01385337   0      0.000086   0.0139393


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                      GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                           George Carlin      246   historical   9868517     201        201 0.00027164     0.000271635   0.05459856   0   0.000338824   0.0549374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                    George Carlin      271   historical   11427103     24         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                               GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                    George Carlin      164   historical   9868513       6          6 0.00027164     0.000271635   0.00162981   0     0.0000101   0.0016399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                         GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                              George Carlin      450   historical   11427104    562      899.2   0.00027164   0.000271635   0.24425383   0   0.001515774   0.2457696


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                              George Carlin      183   historical   11427137    211        211 0.00027164     0.000271635    0.0573149   0   0.000355681   0.0576706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                               George Carlin      80    historical   11427166     41         41 0.00027164     0.000271635   0.01113702   0     0.0000691   0.0112061


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                             George Carlin      221   historical   11427110     71         71 0.00027164     0.000271635   0.01928606   0   0.000119684   0.0194057


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                       George Carlin      62    historical   9868512      50         50 0.00027164     0.000271635   0.01358173   0     0.0000843    0.013666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                       GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                            George Carlin      46    historical   9868514      12         12 0.00027164     0.000271635   0.00325962   0     0.0000202   0.0032798


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                           GEORGE CARLIN      473337545   100   3446767                    Retired People                                                George Carlin      63    historical   11427174     49         49 0.00027164     0.000271635    0.0133101   0     0.0000826   0.0133927


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                               GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                    George Carlin      46    historical   9868519      31         31 0.00027164     0.000271635   0.00842067   0     0.0000523   0.0084729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                         Andrew Dice Clay   59    historical   10580917     30         30 0.00027164     0.000271635   0.00814904   0     0.0000506   0.0081996


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     369   historical   10759405   9246    12944.4   0.00027164   0.000271635   3.51614692   0   0.021820262   3.5379672


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                     Andrew Dice Clay   216   historical   10561826      1          1 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                        GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                           George Carlin      351   historical   12085011      4        4.8   0.00027164   0.000271635   0.00130385   0    0.00000809   0.0013119


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   10484785    438        438 0.00027164     0.000271635   0.11897596   0   0.000738333   0.1197143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                 Andrew Dice Clay   231   historical   10561823      4          4 0.00027164     0.000271635   0.00108654   0    0.00000674   0.0010933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                      George Carlin      286   historical   11581653    190        190 0.00027164     0.000271635   0.05161057   0   0.000320281   0.0519309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                            Andrew Dice Clay   110   historical   10611063     23         23 0.00027164     0.000271635    0.0062476   0     0.0000388   0.0062864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     129   historical   10759402   3655       3655 0.00027164     0.000271635   0.99282446   0   0.006161202   0.9989857


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                      Andrew Dice Clay   180   historical   10611065     86         86 0.00027164     0.000271635   0.02336058   0    0.00014497   0.0235055


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                Robin Williams     111   historical   10772624    931        931 0.00027164     0.000271635   0.25289181   0   0.001569379   0.2544612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                       George Carlin      126   historical   12294745     23         23 0.00027164     0.000271635    0.0062476   0     0.0000388   0.0062864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                          Andrew Dice Clay   79    historical   10611051      1          1 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                               George Carlin      426   historical   12299829    614      982.4   0.00027164   0.000271635   0.26685383   0   0.001656023   0.2685099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                         Andrew Dice Clay   65    historical   10611057     38         38 0.00027164     0.000271635   0.01032212   0     0.0000641   0.0103862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                      Andrew Dice Clay   232   historical   10611056     45         45 0.00027164     0.000271635   0.01222356   0     0.0000759   0.0122994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                               George Carlin      191   historical   11581654    171        171 0.00027164     0.000271635   0.04644952   0   0.000288253   0.0467378


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                    Andrew Dice Clay   126   historical   10611050     20         20 0.00027164     0.000271635   0.00543269   0     0.0000337   0.0054664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                          Robin Williams     154   historical   10484796     53         53 0.00027164     0.000271635   0.01439663   0     0.0000893    0.014486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                               Andrew Dice Clay   40    historical   10580930     35         35 0.00027164     0.000271635   0.00950721   0      0.000059   0.0095662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                         George Carlin      355   historical   12294751    543      651.6   0.00027164   0.000271635   0.17699711   0   0.001098396   0.1780955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                                    George Carlin      477   historical   12294741    735       1176 0.00027164     0.000271635   0.31944229   0   0.001982373   0.3214247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                  Andrew Dice Clay   189   historical   10599192     95         95 0.00027164     0.000271635   0.02580529   0   0.000160141   0.0259654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                         George Carlin      263   historical   12294754    232        232 0.00027164     0.000271635   0.06301923   0    0.00039108   0.0634103


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                   Andrew Dice Clay   28    historical   10580943     14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                       Andrew Dice Clay   79    historical   10599189     57         57 0.00027164     0.000271635   0.01548317   0     0.0000961   0.0155793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                           Andrew Dice Clay   123   historical   10580924      8          8 0.00027164     0.000271635   0.00217308   0     0.0000135   0.0021866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                       George Carlin      206   historical   12294759     33         33 0.00027164     0.000271635   0.00896394   0     0.0000556   0.0090196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   10580922     13         13 0.00027164     0.000271635   0.00353125   0   0.000021914   0.0035532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                                   Andrew Dice Clay   94    historical   10611044     21         21 0.00027164     0.000271635   0.00570433   0     0.0000354   0.0057397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                         George Carlin      328   historical   11576466    544      652.8   0.00027164   0.000271635   0.17732307   0   0.001100419   0.1784235


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                      Andrew Dice Clay   33    historical   10580919     35         35 0.00027164     0.000271635   0.00950721   0      0.000059   0.0095662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                                  Andrew Dice Clay   106   historical   10611052     17         17 0.00027164     0.000271635   0.00461779   0     0.0000287   0.0046464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                 George Carlin      229   historical   11600160    394        394 0.00027164     0.000271635   0.10702403   0   0.000664162   0.1076882


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   10599160     53         53 0.00027164     0.000271635   0.01439663   0     0.0000893    0.014486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                            George Carlin      127   historical   12299827     31         31 0.00027164     0.000271635   0.00842067   0     0.0000523   0.0084729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                                 Andrew Dice Clay   60    historical   10580928     27         27 0.00027164     0.000271635   0.00733413   0     0.0000455   0.0073796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                           George Carlin      99    historical   11600009    138        138 0.00027164     0.000271635   0.03748558   0   0.000232625   0.0377182


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R5L   THE NEWSCAST                                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                  George Carlin      456   historical   12085013      7       11.2   0.00027164   0.000271635   0.00304231   0     0.0000189   0.0030612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   10599183     14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                            George Carlin      320   historical   12294753    225        270 0.00027164     0.000271635   0.07334134   0   0.000455137   0.0737965


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                             George Carlin      296   historical   12294739    383        383 0.00027164     0.000271635   0.10403605   0    0.00064562   0.1046817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                Andrew Dice Clay   187   historical   10611043     34         34 0.00027164     0.000271635   0.00923558   0     0.0000573   0.0092929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                           George Carlin      149   historical   11576858    174        174 0.00027164     0.000271635   0.04726442   0    0.00029331   0.0475577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                         Robin Williams     337   historical   10484784    443      531.6   0.00027164   0.000271635   0.14440095   0   0.000896114   0.1452971


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                Andrew Dice Clay   49    historical   10580950      7          7 0.00027164     0.000271635   0.00190144   0     0.0000118   0.0019132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                              George Carlin      340   historical   11580516    382      458.4   0.00027164   0.000271635    0.1245173   0   0.000772721     0.12529


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                     George Carlin      153   historical   11576227      4          4 0.00027164     0.000271635   0.00108654   0    0.00000674   0.0010933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                                   George Carlin      500   historical   12085012     64      115.2   0.00027164   0.000271635   0.03129231   0   0.000194192   0.0314865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                  GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                          George Carlin      145   historical   11576468     25         25 0.00027164     0.000271635   0.00679087   0     0.0000421    0.006833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                       George Carlin      586   historical   11586082      3          6 0.00027164     0.000271635   0.00162981   0     0.0000101   0.0016399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   10759408   13379   16054.8   0.00027164   0.000271635   4.36103918   0   0.027063437   4.3881026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                   Andrew Dice Clay   78    historical   10580916     17         17 0.00027164     0.000271635   0.00461779   0     0.0000287   0.0046464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                          Andrew Dice Clay   178   historical   10611054     23         23 0.00027164     0.000271635    0.0062476   0     0.0000388   0.0062864
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 61 of 86 Page ID
                                                                                                                                                                                                                                              #:4514
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   51648302   USZQE0610784     The Sickest                                                        George Carlin      113   historical   12286122      6          6 0.00027164     0.000271635   0.00162981   0     0.0000101   0.0016399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                   Andrew Dice Clay   98    historical   10599194     22         22 0.00027164     0.000271635   0.00597596   0     0.0000371    0.006013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                            GEORGE CARLIN      473337545   100   51648297   USZQE0610779     Killer Carlin                                                      George Carlin      167   historical   12286114      2          2 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   51923442   US4LA0704602     The Hair Piece                                                     George Carlin      173   historical   12294752     21         21 0.00027164     0.000271635   0.00570433   0     0.0000354   0.0057397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606     The Metric System                                                  George Carlin      129   historical   12294743     54         54 0.00027164     0.000271635   0.01466827   0      0.000091   0.0147593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                                    Andrew Dice Clay   72    historical   10580935     27         27 0.00027164     0.000271635   0.00733413   0     0.0000455   0.0073796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311     Black Chicks                                                       Andrew Dice Clay   41    historical   10580944     19         19 0.00027164     0.000271635   0.00516106   0      0.000032   0.0051931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   49    historical   10580949      6          6 0.00027164     0.000271635   0.00162981   0     0.0000101   0.0016399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605     Birth Control                                                      George Carlin      310   historical   12294755    280        336 0.00027164     0.000271635   0.09126923   0   0.000566392   0.0918356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                  GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                George Carlin      175   historical   11576229      8          8 0.00027164     0.000271635   0.00217308   0     0.0000135   0.0021866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                          George Carlin      253   historical   11576458    812        812 0.00027164     0.000271635    0.2205673   0   0.001368781   0.2219361


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                        George Carlin      192   historical   11576226     18         18 0.00027164     0.000271635   0.00488942   0     0.0000303   0.0049198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                                 Andrew Dice Clay   255   historical   10611053    121        121 0.00027164     0.000271635   0.03286779   0   0.000203969   0.0330718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                              ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                Andrew Dice Clay   166   historical   10599186     31         31 0.00027164     0.000271635   0.00842067   0     0.0000523   0.0084729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                                   George Carlin      209   historical   12286120      1          1 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                             Andrew Dice Clay   167   historical   10611058     16         16 0.00027164     0.000271635   0.00434615   0      0.000027   0.0043731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                George Carlin      295   historical   11586083      3          3 0.00027164     0.000271635    0.0008149   0    0.00000506     0.00082


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306     Filthy In Bed                                                      Andrew Dice Clay   99    historical   10580939     21         21 0.00027164     0.000271635   0.00570433   0     0.0000354   0.0057397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                     George Carlin      189   historical   11580518    251        251 0.00027164     0.000271635   0.06818029   0   0.000423109   0.0686034


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                              Robin Williams     223   historical   10484783    398        398 0.00027164     0.000271635   0.10811057   0   0.000670905   0.1087815


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)              Andrew Dice Clay   173   historical   10599174     25         25 0.00027164     0.000271635   0.00679087   0     0.0000421    0.006833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                             George Carlin      112   historical   11576857     87         87 0.00027164     0.000271635   0.02363221   0   0.000146655   0.0237789


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072     Songs                                                              Andrew Dice Clay   468   historical   10611062     28       44.8   0.00027164   0.000271635   0.01216923   0   0.000075519   0.0122447


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                                George Carlin      107   historical   11576230      1          1 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                     Andrew Dice Clay   63    historical   10599190     21         21 0.00027164     0.000271635   0.00570433   0     0.0000354   0.0057397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                     Andrew Dice Clay   108   historical   10599169     32         32 0.00027164     0.000271635   0.00869231   0     0.0000539   0.0087462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                              Andrew Dice Clay   180   historical   10580938     88         88 0.00027164     0.000271635   0.02390385   0   0.000148341   0.0240522


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                          George Carlin      214   historical   11575891    384        384 0.00027164     0.000271635   0.10430769   0   0.000647306    0.104955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                 George Carlin      192   historical   11586079     14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                     Andrew Dice Clay   368   historical   10580931    117      163.8   0.00027164   0.000271635   0.04449375   0   0.000276116   0.0447699


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                          George Carlin      155   historical   11577059     61         61 0.00027164     0.000271635   0.01656971   0   0.000102827   0.0166725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   10611060     28         28 0.00027164     0.000271635   0.00760577   0     0.0000472    0.007653


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                            George Carlin      150   historical   11576854     31         31 0.00027164     0.000271635   0.00842067   0     0.0000523   0.0084729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                              Andrew Dice Clay   162   historical   10580936     37         37 0.00027164     0.000271635   0.01005048   0     0.0000624   0.0101129


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)               Robin Williams     324   historical   10759407   12460     14952 0.00027164     0.000271635   4.06148054   0   0.025204456    4.086685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                   George Carlin      235   historical   11576460    363        363 0.00027164     0.000271635   0.09860336   0   0.000611906   0.0992153


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   139   historical   10580918     22         22 0.00027164     0.000271635   0.00597596   0     0.0000371    0.006013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                   George Carlin      275   historical   11575956    459        459 0.00027164     0.000271635   0.12468028   0   0.000773732    0.125454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                     George Carlin      418   historical   11586078     12       16.8   0.00027164   0.000271635   0.00456346   0     0.0000283   0.0045918


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                     Andrew Dice Clay   114   historical   10611055     32         32 0.00027164     0.000271635   0.00869231   0     0.0000539   0.0087462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                 Robin Williams     646   historical   10759411   7033    15472.6   0.00027164   0.000271635   4.20289351   0   0.026082027   4.2289755


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                      ANDREW DICE CLAY   128623771   100   20778757   USSM18900297     While The Cats Away... (Live At Dangerfield's/1989)                Andrew Dice Clay   198   historical   10561821      2          2 0.00027164     0.000271635   0.00054327   0    0.00000337   0.0005466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                               Andrew Dice Clay   41    historical   10580923     15         15 0.00027164     0.000271635   0.00407452   0     0.0000253   0.0040998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199     Dice On Orgasms (Live At Govenors/1991)                            Andrew Dice Clay   126   historical   10599181     26         26 0.00027164     0.000271635    0.0070625   0   0.000043828   0.0071063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                           Andrew Dice Clay   48    historical   10580942     19         19 0.00027164     0.000271635   0.00516106   0      0.000032   0.0051931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                     Andrew Dice Clay   29    historical   10580926     16         16 0.00027164     0.000271635   0.00434615   0      0.000027   0.0043731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                   George Carlin      486   historical   11577060    296      532.8   0.00027164   0.000271635   0.14472692   0   0.000898136   0.1456251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308     Smokin' For Your Health                                            Andrew Dice Clay   37    historical   10580941     32         32 0.00027164     0.000271635   0.00869231   0     0.0000539   0.0087462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610     Urinals Are 50 Percent Universal                                   George Carlin      147   historical   12294747     33         33 0.00027164     0.000271635   0.00896394   0     0.0000556   0.0090196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   10599163    101        101 0.00027164     0.000271635    0.0274351   0   0.000170255   0.0276053


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703     White Harlem                                                       George Carlin      285   historical   12299826    372        372 0.00027164     0.000271635   0.10104807   0   0.000627077   0.1016751


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                     George Carlin      157   historical   11577061     35         35 0.00027164     0.000271635   0.00950721   0      0.000059   0.0095662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                   Andrew Dice Clay   67    historical   10599180     31         31 0.00027164     0.000271635   0.00842067   0     0.0000523   0.0084729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                                      Andrew Dice Clay   14    historical   10580940      6          6 0.00027164     0.000271635   0.00162981   0     0.0000101   0.0016399


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216     Dice Rewrites History (Live At Govenors/1991)                      Andrew Dice Clay   135   historical   10599195      7          7 0.00027164     0.000271635   0.00190144   0     0.0000118   0.0019132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314     The First Blow‐Job                                                 Andrew Dice Clay   50    historical   10580946     17         17 0.00027164     0.000271635   0.00461779   0     0.0000287   0.0046464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082     Bush, Cheney, And The Obamas (Explicit Audio)                      Robin Williams     517   historical   10759406   10170     18306 0.00027164     0.000271635   4.97254299   0   0.030858265   5.0034013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                           Andrew Dice Clay   304   historical   10850675      1        1.2   0.00027164   0.000271635   0.00032596   0    0.00000202    0.000328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603     Nursery Rhymes                                                     George Carlin      255   historical   12294740    629        629 0.00027164     0.000271635   0.17085816   0     0.0010603   0.1719185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607     Divorce Game                                                       George Carlin      269   historical   12294758     92         92 0.00027164     0.000271635   0.02499038   0   0.000155084   0.0251455


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088     Religion And Marriage (Explicit Audio)                             Robin Williams     406   historical   10759412   13707   19189.8   0.00027164   0.000271635   5.21261365   0   0.032348079   5.2449617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                          Andrew Dice Clay   199   historical   10561824      4          4 0.00027164     0.000271635   0.00108654   0    0.00000674   0.0010933


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   10555570     32         32 0.00027164     0.000271635   0.00869231   0     0.0000539   0.0087462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279     Hoggin                                                             Andrew Dice Clay   200   historical   10555569    123        123 0.00027164     0.000271635   0.03341106   0    0.00020734   0.0336184


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054     Critics                                                            Andrew Dice Clay   202   historical   10611047     47         47 0.00027164     0.000271635   0.01276683   0     0.0000792   0.0128461


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   73    historical   10580932      5          5 0.00027164     0.000271635   0.00135817   0    0.00000843   0.0013666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610     The 11 O'clock News                                                George Carlin      429   historical   12294761     63      100.8   0.00027164   0.000271635   0.02738077   0   0.000169918   0.0275507


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                    George Carlin      86    historical   11577063     50         50 0.00027164     0.000271635   0.01358173   0     0.0000843    0.013666


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                        George Carlin      419   historical   11576852    458      641.2   0.00027164   0.000271635   0.17417211   0   0.001080865    0.175253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   11575948      1        3.4   0.00027164   0.000271635   0.00092356   0    0.00000573   0.0009293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                                  Andrew Dice Clay   231   historical   10580937    124        124 0.00027164     0.000271635   0.03368269   0   0.000209026   0.0338917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                      Andrew Dice Clay   215   historical   10599158     67         67 0.00027164     0.000271635   0.01819952   0   0.000112941   0.0183125


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                              George Carlin      389   historical   11577066     77      107.8   0.00027164   0.000271635   0.02928221   0   0.000181718   0.0294639


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                           Andrew Dice Clay   114   historical   10611048     21         21 0.00027164     0.000271635   0.00570433   0     0.0000354   0.0057397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   11603345    222        222 0.00027164     0.000271635   0.06030288   0   0.000374224   0.0606771


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778     Mothers Club                                                       George Carlin      279   historical   12286113      3          3 0.00027164     0.000271635   0.00040745   0    0.00000253     0.00041


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                  Andrew Dice Clay   462   historical   10850673     85        136 0.00027164     0.000271635   0.03694231   0   0.000229254   0.0371716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                          Andrew Dice Clay   98    historical   10599167     52         52 0.00027164     0.000271635     0.014125   0     0.0000877   0.0142127


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                              Robin Williams     81    historical   10484790    119        119 0.00027164     0.000271635   0.03232452   0   0.000200597   0.0325251


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                         Andrew Dice Clay   65    historical   10580925     35         35 0.00027164     0.000271635   0.00950721   0      0.000059   0.0095662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                       Andrew Dice Clay   330   historical   10611066     49       58.8   0.00027164   0.000271635   0.01597212   0     0.0000991   0.0160712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                                 Andrew Dice Clay   78    historical   10580921     43         43 0.00027164     0.000271635   0.01168029   0     0.0000725   0.0117528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   8/1/2017   8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                               George Carlin      28    historical   11577062     25         25 0.00027164     0.000271635   0.00679087   0     0.0000421    0.006833
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 62 of 86 Page ID
                                                                                                                                                                                                                                              #:4515
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                                 GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                                     George Carlin      203   historical   11586080     23         23 0.00027164     0.000271635    0.0062476   0     0.0000388   0.0062864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                                GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                                    George Carlin      326   historical   11586081     11       13.2   0.00027164   0.000271635   0.00358558   0     0.0000223   0.0036078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                      ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)                               Andrew Dice Clay   307   historical   10599191    117      140.4   0.00027164   0.000271635    0.0381375   0   0.000236671   0.0383742


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                               GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                   George Carlin      336   historical   11586077     19       22.8   0.00027164   0.000271635   0.00619327   0     0.0000384   0.0062317


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                                   GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                                                    George Carlin      85    historical   12299830    158        158 0.00027164     0.000271635   0.04291827   0   0.000266339   0.0431846


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                                 ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)                                     Andrew Dice Clay   339   historical   10561820      1        1.2   0.00027164   0.000271635   0.00032596   0    0.00000202    0.000328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                              ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                                       Andrew Dice Clay   111   historical   10599165     30         30 0.00027164     0.000271635   0.00814904   0     0.0000506   0.0081996


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                                ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                                       Andrew Dice Clay   154   historical   10599176     24         24 0.00027164     0.000271635   0.00651923   0     0.0000405   0.0065597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                     ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                          Robin Williams     246   historical   10484791    355        355 0.00027164     0.000271635   0.09643028   0    0.00059842   0.0970287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                              ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                                               Andrew Dice Clay   32    historical   10580929     13         13 0.00027164     0.000271635   0.00353125   0   0.000021914   0.0035532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                           ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                                    Andrew Dice Clay   73    historical   10599193    138        138 0.00027164     0.000271635   0.03748558   0   0.000232625   0.0377182


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                             ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                                      Andrew Dice Clay   149   historical   10599178     16         16 0.00027164     0.000271635   0.00434615   0      0.000027   0.0043731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                                GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                                    George Carlin      147   historical   11575950     93         93 0.00027164     0.000271635   0.02526202   0   0.000156769   0.0254188


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                               ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                                                Andrew Dice Clay   419   historical   10850674    132      184.8   0.00027164   0.000271635   0.05019807   0   0.000311516   0.0505096


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                          ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                                         Andrew Dice Clay   195   historical   10611059    121        121 0.00027164     0.000271635   0.03286779   0   0.000203969   0.0330718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                                 ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                          Andrew Dice Clay   145   historical   10599188     23         23 0.00027164     0.000271635    0.0062476   0     0.0000388   0.0062864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                                GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                                                George Carlin      209   historical   12286121     20         20 0.00027164     0.000271635   0.00543269   0     0.0000337   0.0054664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                                    ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                                   Andrew Dice Clay   32    historical   10580945     28         28 0.00027164     0.000271635   0.00760577   0     0.0000472    0.007653


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                              George Carlin      355   historical   11603343      2        2.4   0.00027164   0.000271635   0.00065192   0    0.00000405    0.000656


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                                     ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                                                    Andrew Dice Clay   207   historical   10555568      1          1 0.00027164     0.000271635   0.00027164   0    0.00000169   0.0002733


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                                 GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                                  George Carlin      308   historical   12286118      1        1.2   0.00027164   0.000271635   0.00032596   0    0.00000202    0.000328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                      GEORGE CARLIN      473337545   100   51648298   USZQE0610780    Capt. Jack & Jolly George                                                       George Carlin      241   historical   12286115      2          2 0.00027164     0.000271635   0.00054327   0    0.00000337   0.0005466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                      ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                                       Andrew Dice Clay   108   historical   10580933     45         45 0.00027164     0.000271635   0.01222356   0     0.0000759   0.0122994


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                                 GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                                  George Carlin      308   historical   12286119      6        7.2   0.00027164   0.000271635   0.00195577   0   0.000012137   0.0019679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                               GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                                                George Carlin      355   historical   12294748    142      170.4   0.00027164   0.000271635   0.04628654   0   0.000287242   0.0465738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                                  ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                                   Andrew Dice Clay   29    historical   10580934      7          7 0.00027164     0.000271635   0.00190144   0     0.0000118   0.0019132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                              GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                                               George Carlin      288   historical   12294760    450        450 0.00027164     0.000271635   0.12223557   0   0.000758561   0.1229941


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                                ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                                    Robin Williams     192   historical   10484794    329        329 0.00027164     0.000271635   0.08936778   0   0.000554592   0.0899224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                                ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                                                 Andrew Dice Clay   135   historical   10580927     15         15 0.00027164     0.000271635   0.00407452   0     0.0000253   0.0040998


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                                 ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                                  Andrew Dice Clay   140   historical   10611061     14         14 0.00027164     0.000271635   0.00380288   0     0.0000236   0.0038265


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                                   GEORGE CARLIN      473337545   100   51648299   USZQE0610781    War Pictures                                                                    George Carlin      222   historical   12286116      3          3 0.00027164     0.000271635   0.00040745   0    0.00000253     0.00041


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                                        George Carlin      177   historical   11575952    121        121 0.00027164     0.000271635   0.03286779   0   0.000203969   0.0330718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                                    GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                                     George Carlin      391   historical   12294756      5          7 0.00027164     0.000271635   0.00190144   0     0.0000118   0.0019132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                              ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)                              Robin Williams     405   historical   10759410   15518   21725.2   0.00027164   0.000271635   5.90131601   0   0.036621981    5.937938


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                            GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                              George Carlin      115   historical   11581658    124        124 0.00027164     0.000271635   0.03368269   0   0.000209026   0.0338917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                       ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                                        Andrew Dice Clay   54    historical   10580948     18         18 0.00027164     0.000271635   0.00488942   0     0.0000303   0.0049198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                             ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                                      Andrew Dice Clay   85    historical   10599187     13         13 0.00027164     0.000271635   0.00353125   0   0.000021914   0.0035532


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                               ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                                                Andrew Dice Clay   129   historical   10611049     27         27 0.00027164     0.000271635   0.00733413   0     0.0000455   0.0073796


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                                ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                                    Robin Williams     76    historical   10484786    121        121 0.00027164     0.000271635   0.03286779   0   0.000203969   0.0330718


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    8/1/2017    8/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                                 GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                                  George Carlin      308   historical   12286117      1        1.2   0.00027164   0.000271635   0.00032596   0    0.00000202    0.000328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                    GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   84893672     26       46.8   0.00033619   0.000336186   0.01573352   0   0.000097638   0.0158312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                    GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   84893686     37         37 0.00033619     0.000336186   0.01243889   0     0.0000772   0.0125161


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                         GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                          George Carlin      152   historical   86403572     19         19 0.00033619     0.000336186   0.00638754   0     0.0000396   0.0064272


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                         GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                                          George Carlin      595   historical   84893681     31         62 0.00033619     0.000336186   0.02084355   0    0.00012935   0.0209729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                                     GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                                      George Carlin      54    historical   86403598     61         61 0.00033619     0.000336186   0.02050736   0   0.000127263   0.0206346


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                     GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical   84893693     99      257.4   0.00033619   0.000336186   0.08653435   0   0.000537009   0.0870714


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                        GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   86403561     31         31 0.00033619     0.000336186   0.01042178   0     0.0000647   0.0104865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                                  GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   84893704     30         42 0.00033619     0.000336186   0.01411983   0     0.0000876   0.0142074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                         GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   87352311     52       72.8   0.00033619   0.000336186   0.02447436   0   0.000151881   0.0246262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                      GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   84893695     49         49 0.00033619     0.000336186   0.01647313   0   0.000102228   0.0165754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                               GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                                George Carlin      183   historical   86403610    204        204 0.00033619     0.000336186   0.06858201   0   0.000425602   0.0690076


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA         GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   87136786   1084       1084 0.00033619     0.000336186   0.36442595   0    0.00226153   0.3666875


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                         GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   86403591     54       97.2   0.00033619   0.000336186   0.03267731   0   0.000202787   0.0328801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                         GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   84893698     26         26 0.00033619     0.000336186   0.00874084   0     0.0000542   0.0087951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                     GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical   84893699      6          6 0.00033619     0.000336186   0.00201712   0     0.0000125   0.0020296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                                  GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   86403625      8          8 0.00033619     0.000336186   0.00268949   0     0.0000167   0.0027062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                    GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   86403630     22         22 0.00033619     0.000336186    0.0073961   0     0.0000459    0.007442


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                            GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   86403649     38         38 0.00033619     0.000336186   0.01277508   0     0.0000793   0.0128544


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                               GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   86403605     16         16 0.00033619     0.000336186   0.00537898   0     0.0000334   0.0054124


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                     GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   84893705     48         48 0.00033619     0.000336186   0.01613694   0   0.000100142   0.0162371


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                   GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical   86403609     89         89 0.00033619     0.000336186   0.02992058   0   0.000185679   0.0301063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                    GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   87136789   1649       1649 0.00033619     0.000336186   0.55437121   0   0.003440279   0.5578115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                     GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical   84893711     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                         GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   87349863    269      322.8   0.00033619   0.000336186   0.10852094   0   0.000673452   0.1091944


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                      GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   86403651     13         13 0.00033619     0.000336186   0.00437042   0     0.0000271   0.0043975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                              GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical   84893674     40         40 0.00033619     0.000336186   0.01344745   0     0.0000835   0.0135309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                         GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   84893676      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                         GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical   84893691     20         20 0.00033619     0.000336186   0.00672373   0     0.0000417   0.0067655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                                GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   86403566     65         65 0.00033619     0.000336186   0.02185211   0   0.000135608   0.0219877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   87399591      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                        GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical   84893684     13         13 0.00033619     0.000336186   0.00437042   0     0.0000271   0.0043975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                       GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   84893692     54       64.8   0.00033619   0.000336186   0.02178487   0   0.000135191   0.0219201


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                     GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical   84893709     27       32.4   0.00033619   0.000336186   0.01089244   0     0.0000676     0.01096


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                                 GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   86403597     39         39 0.00033619     0.000336186   0.01311127   0   0.000081365   0.0131926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                      GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   84893668     43       60.2   0.00033619   0.000336186   0.02023842   0   0.000125594    0.020364


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                         GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   86403563     30         36 0.00033619     0.000336186   0.01210271   0     0.0000751   0.0121778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                     ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   87399579     15         15 0.00033619     0.000336186    0.0050428   0     0.0000313   0.0050741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                           GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   86403614    162      291.6   0.00033619   0.000336186   0.09803193   0    0.00060836   0.0986403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                          GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   84893696    226      361.6   0.00033619   0.000336186   0.12156497   0     0.0007544   0.1223194


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                               GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   84893678     28       50.4   0.00033619   0.000336186   0.01694379   0   0.000105149   0.0170489


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                              GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                        George Carlin      181   historical   86379828    252        252 0.00033619     0.000336186   0.08471895   0   0.000525743   0.0852447


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                               GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                                George Carlin      165   historical   86403564      8          8 0.00033619     0.000336186   0.00268949   0     0.0000167   0.0027062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                                   GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                                    George Carlin      121   historical   86403603     34         34 0.00033619     0.000336186   0.01143033   0     0.0000709   0.0115013
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 63 of 86 Page ID
                                                                                                                                                                                                                                              #:4516
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                        GEORGE CARLIN      473337545   100   3446741                   Avant Garde Play                                        George Carlin      74    historical   86403607     13         13 0.00033619     0.000336186   0.00437042   0     0.0000271   0.0043975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                        GEORGE CARLIN      473337545   100   4823634                   Opening / Old Fuck                                      George Carlin      315   historical   87136780   2449     2938.8   0.00033619   0.000336186    0.9879843   0   0.006131165   0.9941155


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                           GEORGE CARLIN      473337545   100   11005091                  Another Objection On Language                           George Carlin      250   historical   84893697    171        171 0.00033619     0.000336186   0.05748786   0   0.000356754   0.0578446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                               GEORGE CARLIN      473337545   100   3446737                   Nice Days                                               George Carlin      154   historical   86403599     28         28 0.00033619     0.000336186   0.00941322   0     0.0000584   0.0094716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                          GEORGE CARLIN      473337545   100   11005095                  Popular Beliefs Rooted In Familiar Expressions          George Carlin      388   historical   84893701     39       54.6   0.00033619   0.000336186   0.01835577   0   0.000113911   0.0184697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                        GEORGE CARLIN      473337545   100   3446712                   People Who Want To Know The Time                        George Carlin      450   historical   86403560    547      875.2   0.00033619   0.000336186   0.29423025   0   0.001825914   0.2960562


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                   GEORGE CARLIN      473337545   100   3446714                   Asylums                                                 George Carlin      301   historical   86403562     64       76.8   0.00033619   0.000336186   0.02581911   0   0.000160226   0.0259793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                 GEORGE CARLIN      473337545   100   4823646                   Just Enough Bullshit / No One Questions Things          George Carlin      268   historical   87136788   2204       2204 0.00033619     0.000336186   0.74095461   0   0.004598165   0.7455528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                   GEORGE CARLIN      473337545   100   11005072                  Mental Brain Thoughts                                   George Carlin      228   historical   84893682    103        103 0.00033619     0.000336186   0.03462719   0   0.000214887   0.0348421


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                          GEORGE CARLIN      473337545   100   11005075                  The New Zodiac                                          George Carlin      74    historical   84893683     29         29 0.00033619     0.000336186    0.0097494   0     0.0000605   0.0098099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                 GEORGE CARLIN      473337545   100   3446745                   No Brown In The Rainbow                                 George Carlin      180   historical   86403611     22         22 0.00033619     0.000336186    0.0073961   0     0.0000459    0.007442


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                GEORGE CARLIN      473337545   100   11005054                  Food Terms                                              George Carlin      84    historical   84893670    109        109 0.00033619     0.000336186   0.03664431   0   0.000227405   0.0368717


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                   ANDREW DICE CLAY   128623771   100   20872380   USSM19000302   Bambi                                                   Andrew Dice Clay   162   historical   85589347     29         29 0.00033619     0.000336186    0.0097494   0     0.0000605   0.0098099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DNC   EARRINGS                                                                GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                  George Carlin      328   historical   86545960    748      897.6   0.00033619   0.000336186   0.30176082   0   0.001872647   0.3036335


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                          ANDREW DICE CLAY   128623771   100   20872368   USSM19000292   Double Parking                                          Andrew Dice Clay   29    historical   85589336     13         13 0.00033619     0.000336186   0.00437042   0     0.0000271   0.0043975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                   ANDREW DICE CLAY   128623771   100   20966130   USSM19100189   Dice Goes To The Mall (Live At Govenors/1991)           Andrew Dice Clay   215   historical   85607263     76         76 0.00033619     0.000336186   0.02555016   0   0.000158557   0.0257087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199   Dice On Orgasms (Live At Govenors/1991)                 Andrew Dice Clay   126   historical   85607286     19         19 0.00033619     0.000336186   0.00638754   0     0.0000396   0.0064272


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                 GEORGE CARLIN      473337545   100   51923374   US4LA0703608   Gay Lib                                                 George Carlin      126   historical   87239317     26         26 0.00033619     0.000336186   0.00874084   0     0.0000542   0.0087951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                   ANDREW DICE CLAY   128623771   100   20966176   USSM19100216   Dice Rewrites History (Live At Govenors/1991)           Andrew Dice Clay   135   historical   85607300     11         11 0.00033619     0.000336186   0.00369805   0     0.0000229    0.003721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                ANDREW DICE CLAY   128623771   100   21026308   USSM19303075   No Poems                                                Andrew Dice Clay   180   historical   85619036     83         83 0.00033619     0.000336186   0.02790346   0   0.000173161   0.0280766


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   45268811   USRC10503014   Commercials                                             George Carlin      500   historical   87030604      1        1.8   0.00033619   0.000336186   0.00060514   0    0.00000376   0.0006089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                       GEORGE CARLIN      473337545   100   45268810   USRC10503013   Wonderful Wino (Top‐40 Disc Jockey)                     George Carlin      351   historical   87030603      2        2.4   0.00033619   0.000336186   0.00080685   0    0.00000501   0.0008119


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                               ANDREW DICE CLAY   128623771   100   20872360   USSM19000284   Phone Sex                                               Andrew Dice Clay   139   historical   85589328     19         19 0.00033619     0.000336186   0.00638754   0     0.0000396   0.0064272


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                            GEORGE CARLIN      473337545   100   51648299   USZQE0610781   War Pictures                                            George Carlin      222   historical   87230934      4          4 0.00033619     0.000336186   0.00067237   0    0.00000417   0.0006765


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                   GEORGE CARLIN      473337545   100   3446752                   Bumper Sticker                                          George Carlin      173   historical   86403624      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                   GEORGE CARLIN      473337545   100   11005102                  Reincarnation (Souls)                                   George Carlin      38    historical   84893708     31         31 0.00033619     0.000336186   0.01042178   0     0.0000647   0.0104865


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                     GEORGE CARLIN      473337545   100   3446758                   Comitting The Perfect Double Murder                     George Carlin      174   historical   86403636     33         33 0.00033619     0.000336186   0.01109415   0     0.0000688    0.011163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                          GEORGE CARLIN      473337545   100   11005081                  Sports Roundup                                          George Carlin      118   historical   84893687      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                         GEORGE CARLIN      473337545   100   3446760                   Latest Disaster                                         George Carlin      80    historical   86403644     43         43 0.00033619     0.000336186   0.01445601   0     0.0000897   0.0145457


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                        GEORGE CARLIN      473337545   100   11005083                  Let's Beat Them With Our Purses!                        George Carlin      118   historical   84893689     34         34 0.00033619     0.000336186   0.01143033   0     0.0000709   0.0115013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                          GEORGE CARLIN      473337545   100   3446767                   Retired People                                          George Carlin      63    historical   86403652     29         29 0.00033619     0.000336186    0.0097494   0     0.0000605   0.0098099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                        GEORGE CARLIN      473337545   100   3446748                   Religious People                                        George Carlin      400   historical   86403613    216      302.4   0.00033619   0.000336186   0.10166274   0   0.000630892   0.1022936


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                      GEORGE CARLIN      473337545   100   11005094                  The "Pre" Epidemic                                      George Carlin      46    historical   84893700      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   11005104                  Random Thoughts (Recreational Drugs)                    George Carlin      299   historical   84893710     76         76 0.00033619     0.000336186   0.02555016   0   0.000158557   0.0257087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                 GEORGE CARLIN      473337545   100   11005082                  # Fuck You, I Like These Kinds Of Jokes                 George Carlin      108   historical   84893688     11         11 0.00033619     0.000336186   0.00369805   0     0.0000229    0.003721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                GEORGE CARLIN      473337545   100   3446751                   Rip‐Offs                                                George Carlin      165   historical   86403616      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                     GEORGE CARLIN      473337545   100   11005097                  15 Rules To Live By                                     George Carlin      246   historical   84893703    240        240 0.00033619     0.000336186   0.08068471   0   0.000500708   0.0811854


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                              GEORGE CARLIN      473337545   100   3446711                   Tell Claus I Said, "Hello"                              George Carlin      271   historical   86403559     23         23 0.00033619     0.000336186   0.00773229   0      0.000048   0.0077803


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                      ROBIN WILLIAMS     89045747    100   22454786   USQX91000078   What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)   Robin Williams     129   historical   85765158   3450       3450 0.00033619     0.000336186   1.15984274   0   0.007197672   1.1670404


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                         ANDREW DICE CLAY   128623771   100   20966150   USSM19100196   Dice The Advocate (Live At Govenors/1991)               Andrew Dice Clay   154   historical   85607281     27         27 0.00033619     0.000336186   0.00907703   0     0.0000563   0.0091334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                ANDREW DICE CLAY   128623771   100   20966174   USSM19100214   Dice Has Random Thoughts (Live At Govenors/1991)        Andrew Dice Clay   98    historical   85607299     24         24 0.00033619     0.000336186   0.00806847   0     0.0000501   0.0081185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                  GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                    George Carlin      149   historical   86546364    200        200 0.00033619     0.000336186   0.06723726   0   0.000417256   0.0676545


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                      ANDREW DICE CLAY   128623771   100   20872405   USSM19000314   The First Blow‐Job                                      Andrew Dice Clay   50    historical   85589357     18         18 0.00033619     0.000336186   0.00605135   0     0.0000376   0.0060889


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                     GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                     George Carlin      115   historical   86550999     90         90 0.00033619     0.000336186   0.03025677   0   0.000187765   0.0304445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                        ANDREW DICE CLAY   128623771   100   20966136   USSM19100191   Dice Buys A Suit (Live At Govenors/1991)                Andrew Dice Clay   216   historical   85607268     90         90 0.00033619     0.000336186   0.03025677   0   0.000187765   0.0304445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                           ANDREW DICE CLAY   128623771   100   20966148   USSM19100195   Dice On Lasting Relationships (Live At Govenors/1991)   Andrew Dice Clay   173   historical   85607279     27         27 0.00033619     0.000336186   0.00907703   0     0.0000563   0.0091334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                    ANDREW DICE CLAY   128623771   100   20966172   USSM19100212   Dice On Bodybuilders (Live At Govenors/1991)            Andrew Dice Clay   73    historical   85607298     92         92 0.00033619     0.000336186   0.03092914   0   0.000191938   0.0311211


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                           ANDREW DICE CLAY   128623771   100   20872385   USSM19000307   Salt & Pepper                                           Andrew Dice Clay   14    historical   85589351     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                       ROBIN WILLIAMS     89045747    100   22454794   USQX91000086   The Summer Olympics And Athletics (Explicit Audio)      Robin Williams     405   historical   85765166   15584   21817.6   0.00033619   0.000336186   7.33477822   0   0.045517662   7.3802959


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                             ANDREW DICE CLAY   128623771   100   20872403   USSM19000313   Woman's World                                           Andrew Dice Clay   32    historical   85589356     11         11 0.00033619     0.000336186   0.00369805   0     0.0000229    0.003721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                               ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                 Robin Williams     81    historical   85494759    108        108 0.00033619     0.000336186   0.03630812   0   0.000225318   0.0365334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                            GEORGE CARLIN      473337545   100   51923448   US4LA0704607   Divorce Game                                            George Carlin      269   historical   87239330     88         88 0.00033619     0.000336186   0.02958439   0   0.000183593    0.029768


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                      GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                        George Carlin      418   historical   86555264      8       11.2   0.00033619   0.000336186   0.00376529   0     0.0000234   0.0037887


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3W HELLO GOODBYE 2                                                           GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                             George Carlin      253   historical   86545952   1660       1660 0.00033619     0.000336186   0.55806926   0   0.003463228   0.5615325


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                    ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608   Sid And The Oriental                                    Andrew Dice Clay   197   historical   85855615      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                         ANDREW DICE CLAY   128623771   100   20872379   USSM19000301   Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   72    historical   85589346      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                   ANDREW DICE CLAY   128623771   100   20872383   USSM19000305   Debbie Duz Everything                                   Andrew Dice Clay   180   historical   85589349     84         84 0.00033619     0.000336186   0.02823965   0   0.000175248   0.0284149


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                        ANDREW DICE CLAY   128623771   100   20966146   USSM19100194   Dice On Redheads (Live At Govenors/1991)                Andrew Dice Clay   101   historical   85607277     15         15 0.00033619     0.000336186    0.0050428   0     0.0000313   0.0050741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   51923440   US4LA0704601   Shoot                                                   George Carlin      355   historical   87239323    570        684 0.00033619     0.000336186   0.22995143   0   0.001427017   0.2313784


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                 ANDREW DICE CLAY   128623771   100   20746970   USSM18900279   Hoggin                                                  Andrew Dice Clay   200   historical   85564229    118        118 0.00033619     0.000336186   0.03966998   0   0.000246181   0.0399162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20872359   USSM19000283   Birds                                                   Andrew Dice Clay   59    historical   85589327     24         24 0.00033619     0.000336186   0.00806847   0     0.0000501   0.0081185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                               ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                 Robin Williams     223   historical   85494752    362        362 0.00033619     0.000336186   0.12169944   0   0.000755234   0.1224547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                    ANDREW DICE CLAY   128623771   100   21026293   USSM19303060   Rice                                                    Andrew Dice Clay   79    historical   85619022      5          5 0.00033619     0.000336186   0.00168093   0     0.0000104   0.0016914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                       George Carlin      86    historical   86546564     46         46 0.00033619     0.000336186   0.01546457   0   0.000095969   0.0155605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                          ANDREW DICE CLAY   128623771   100   21026282   USSM19303049   Gas (Feminine)                                          Andrew Dice Clay   187   historical   85619014     64         64 0.00033619     0.000336186   0.02151592   0   0.000133522   0.0216494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                    GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                      George Carlin      235   historical   86545954    308        308 0.00033619     0.000336186   0.10354538   0   0.000642575    0.104188


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                               GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                               George Carlin      150   historical   86546360     36         36 0.00033619     0.000336186   0.01210271   0     0.0000751   0.0121778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                     ANDREW DICE CLAY   128623771   100   20872366   USSM19000290   Handicaps, Cripples                                     Andrew Dice Clay   123   historical   85589334     11         11 0.00033619     0.000336186   0.00369805   0     0.0000229    0.003721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                 GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                               George Carlin      286   historical   86550994    172        172 0.00033619     0.000336186   0.05782404   0   0.000358841   0.0581829


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                   ANDREW DICE CLAY   128623771   100   21026302   USSM19303069   Mad Max                                                 Andrew Dice Clay   195   historical   85619030     69         69 0.00033619     0.000336186   0.02319686   0   0.000143953   0.0233408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                             ANDREW DICE CLAY   128623771   100   20778766   USSM18900302   The Osmonds (Live at Dangerfield's/1989)                Andrew Dice Clay   264   historical   85570426      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                             ANDREW DICE CLAY   128623771   100   20966163   USSM19100203   Dice Knows When To Say When (Live At Govenors/1991)     Andrew Dice Clay   166   historical   85607291     22         22 0.00033619     0.000336186    0.0073961   0     0.0000459    0.007442


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                            ANDREW DICE CLAY   128623771   100   20872400   USSM19000311   Black Chicks                                            Andrew Dice Clay   41    historical   85589355      8          8 0.00033619     0.000336186   0.00268949   0     0.0000167   0.0027062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                           GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                             George Carlin      214   historical   86545377    277        277 0.00033619     0.000336186   0.09312361   0     0.0005779   0.0937015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                    ANDREW DICE CLAY   128623771   100   20966171   USSM19100211   Dice Learns To Mambo (Live At Govenors/1991)            Andrew Dice Clay   189   historical   85607297    121        121 0.00033619     0.000336186   0.04067854   0    0.00025244    0.040931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                       GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                         George Carlin      244   historical   86571770    220        220 0.00033619     0.000336186   0.07396099   0   0.000458982     0.07442


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                         ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                           Robin Williams     192   historical   85494763    209        209 0.00033619     0.000336186   0.07026294   0   0.000436033    0.070699


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                    ANDREW DICE CLAY   128623771   100   21026296   USSM19303063   Tom & The Philippino                                    Andrew Dice Clay   178   historical   85619025      4          4 0.00033619     0.000336186   0.00134475   0    0.00000835   0.0013531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                ANDREW DICE CLAY   128623771   100   20872408   USSM19000316   Ya Hear?                                                Andrew Dice Clay   54    historical   85589359      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                         GEORGE CARLIN      473337545   100   52042524   US4LA0703706   New York Voices                                         George Carlin      426   historical   87244378    512      819.2   0.00033619   0.000336186   0.27540382   0   0.001709082   0.2771129


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                 GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                   George Carlin      145   historical   86545962     41         41 0.00033619     0.000336186   0.01378364   0     0.0000855   0.0138692


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                              GEORGE CARLIN      473337545   100   51923370   US4LA0703604   Some Werds                                              George Carlin      477   historical   87239313    665       1064 0.00033619     0.000336186   0.35770222   0   0.002219804    0.359922


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                             ANDREW DICE CLAY   128623771   100   20872358   USSM19000282   How Are Ya?                                             Andrew Dice Clay   78    historical   85589326     17         17 0.00033619     0.000336186   0.00571517   0     0.0000355   0.0057506
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                         ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                                   Andrew Dice Clay   129   historical   85619020     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)               Robin Williams     324   historical   85765163   10810     12972 0.00033619     0.000336186   4.36100868   0   0.027063247   4.3880719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625     Old School Phone                                                   Andrew Dice Clay   419   historical   85855617    109      152.6   0.00033619   0.000336186   0.05130203   0   0.000318367   0.0516204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                  GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                                George Carlin      175   historical   86545714      4          4 0.00033619     0.000336186   0.00134475   0    0.00000835   0.0013531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                        Robin Williams     76    historical   85494755    101        101 0.00033619     0.000336186   0.03395482   0   0.000210715   0.0341655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605     Birth Control                                                      George Carlin      310   historical   87239327    284      340.8   0.00033619   0.000336186   0.11457229   0   0.000711005   0.1152833


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   49    historical   85589361      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   86555269      2        3.6   0.00033619   0.000336186   0.00121027   0    0.00000751   0.0012178


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                     Andrew Dice Clay   368   historical   85589341    102      142.8   0.00033619   0.000336186    0.0480074   0   0.000297921   0.0483053


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                                   George Carlin      209   historical   87230938      3          3 0.00033619     0.000336186   0.00100856   0    0.00000626   0.0010148


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R5L   THE NEWSCAST                                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016     The Newscast                                                       George Carlin      456   historical   87030605      1        1.6   0.00033619   0.000336186    0.0005379   0    0.00000334   0.0005412


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606     Son of Wino                                                        George Carlin      391   historical   87239328      2        2.8   0.00033619   0.000336186   0.00094132   0    0.00000584   0.0009472


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782     The Cool World                                                     George Carlin      308   historical   87230935      1        1.2   0.00033619   0.000336186   0.00040342   0     0.0000025   0.0004059


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                  Andrew Dice Clay   462   historical   85855614    110        176 0.00033619     0.000336186   0.05916879   0   0.000367186    0.059536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                     George Carlin      157   historical   86546562     30         30 0.00033619     0.000336186   0.01008559   0     0.0000626   0.0101482


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   85619035      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                   George Carlin      275   historical   86545438    521        521 0.00033619     0.000336186   0.17515306   0   0.001086953     0.17624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                    George Carlin      340   historical   86549869    400        480 0.00033619     0.000336186   0.16136942   0   0.001001415   0.1623708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                          George Carlin      155   historical   86546560    118        118 0.00033619     0.000336186   0.03966998   0   0.000246181   0.0399162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287     Hoidy Toidy Chicks                                                 Andrew Dice Clay   78    historical   85589331     32         32 0.00033619     0.000336186   0.01075796   0   0.000066761   0.0108247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   85564230     29         29 0.00033619     0.000336186    0.0097494   0     0.0000605   0.0098099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604     Drugs                                                              George Carlin      263   historical   87239326    227        227 0.00033619     0.000336186   0.07631429   0   0.000473586   0.0767879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610     The 11 O'clock News                                                George Carlin      429   historical   87239333    105        168 0.00033619     0.000336186    0.0564793   0   0.000350495   0.0568298


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                 Andrew Dice Clay   110   historical   85619034     27         27 0.00033619     0.000336186   0.00907703   0     0.0000563   0.0091334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299     Backwards                                                          Andrew Dice Clay   108   historical   85589344     25         25 0.00033619     0.000336186   0.00840466   0   0.000052157   0.0084568


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   49    historical   85589360      5          5 0.00033619     0.000336186   0.00168093   0     0.0000104   0.0016914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                              George Carlin      389   historical   86546567     63       88.2   0.00033619   0.000336186   0.02965163   0    0.00018401   0.0298356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602     Toledo Window Box                                                  George Carlin      296   historical   87239311    372        372 0.00033619     0.000336186    0.1250613   0   0.000776097   0.1258374


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264     Mother Goose                                                       Andrew Dice Clay   207   historical   85564227      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058     More Notes                                                         Andrew Dice Clay   126   historical   85619021     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065     Surprise                                                           Andrew Dice Clay   232   historical   85619027     66         66 0.00033619     0.000336186    0.0221883   0   0.000137695    0.022326


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310     Fat Orgasms                                                        Andrew Dice Clay   28    historical   85589354     14         14 0.00033619     0.000336186   0.00470661   0     0.0000292   0.0047358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                               George Carlin      521   historical   86568746      1        1.8   0.00033619   0.000336186   0.00060514   0    0.00000376   0.0006089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                    George Carlin      25    historical   86546568      2          2 0.00033619     0.000336186   0.00067237   0    0.00000417   0.0006765


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                           ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                     Andrew Dice Clay   140   historical   85619032     11         11 0.00033619     0.000336186   0.00369805   0     0.0000229    0.003721


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   85589340     33         33 0.00033619     0.000336186   0.01109415   0     0.0000688    0.011163


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609     Snot, The Original Rubber Cement                                   George Carlin      174   historical   87239318      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   51923442   US4LA0704602     The Hair Piece                                                     George Carlin      173   historical   87239324     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306     Filthy In Bed                                                      Andrew Dice Clay   99    historical   85589350     20         20 0.00033619     0.000336186   0.00672373   0     0.0000417   0.0067655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                        George Carlin      419   historical   86546358    438      613.2   0.00033619   0.000336186   0.20614944   0   0.001279308   0.2074287


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305     Rhyme Renditions (Live at Dangerfield's/1989)                      Andrew Dice Clay   231   historical   85570427      2          2 0.00033619     0.000336186   0.00067237   0    0.00000417   0.0006765


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088     Religion And Marriage (Explicit Audio)                             Robin Williams     406   historical   85765168   11879   16630.6   0.00033619   0.000336186   5.59097988   0   0.034696118    5.625676


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                              Andrew Dice Clay   65    historical   85619028      4          4 0.00033619     0.000336186   0.00134475   0    0.00000835   0.0013531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                 George Carlin      192   historical   86555265      5          5 0.00033619     0.000336186   0.00168093   0     0.0000104   0.0016914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   86545430     33      112.2   0.00033619   0.000336186    0.0377201   0   0.000234081   0.0379542


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                           Andrew Dice Clay   114   historical   85619019     10         10 0.00033619     0.000336186   0.00336186   0     0.0000209   0.0033827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289     Japs                                                               Andrew Dice Clay   41    historical   85589333     17         17 0.00033619     0.000336186   0.00571517   0     0.0000355   0.0057506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                                   George Carlin      209   historical   87230937      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704     The Hallway Groups                                                 George Carlin      127   historical   87244376     35         35 0.00033619     0.000336186   0.01176652   0      0.000073   0.0118395


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83HB   SID/IN TOILET                                                            ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634     Sid/In Toilet                                                      Andrew Dice Clay   151   historical   85855618      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                Robin Williams     154   historical   85494765     41         41 0.00033619     0.000336186   0.01378364   0     0.0000855   0.0138692


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                          Robin Williams     188   historical   85494754    456        456 0.00033619     0.000336186   0.15330095   0   0.000951345   0.1542523


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606     The Metric System                                                  George Carlin      129   historical   87239315     51         51 0.00033619     0.000336186    0.0171455   0     0.0001064   0.0172519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)                 Andrew Dice Clay   60    historical   85607265     45         45 0.00033619     0.000336186   0.01512838   0     0.0000939   0.0152223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610     Urinals Are 50 Percent Universal                                   George Carlin      147   historical   87239319     60         60 0.00033619     0.000336186   0.02017118   0   0.000125177   0.0202964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                                       George Carlin      85    historical   87244379    194        194 0.00033619     0.000336186   0.06522014   0   0.000404739   0.0656249


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                       George Carlin      336   historical   86555263      8        9.6   0.00033619   0.000336186   0.00322739   0       0.00002   0.0032474


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                            George Carlin      177   historical   86545434    114        114 0.00033619     0.000336186   0.03832524   0   0.000237836   0.0385631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293     The Car Ride (Goin' To A Party)                                    Andrew Dice Clay   135   historical   85589337     17         17 0.00033619     0.000336186   0.00571517   0     0.0000355   0.0057506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                     Andrew Dice Clay   114   historical   85619026     10         10 0.00033619     0.000336186   0.00336186   0     0.0000209   0.0033827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                        George Carlin      326   historical   86555267     42       50.4   0.00033619   0.000336186   0.01694379   0   0.000105149   0.0170489


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)                     Andrew Dice Clay   63    historical   85607295     15         15 0.00033619     0.000336186    0.0050428   0     0.0000313   0.0050741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295     The Grocery Store                                                  Andrew Dice Clay   32    historical   85589339     14         14 0.00033619     0.000336186   0.00470661   0     0.0000292   0.0047358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319     Subway Travel                                                      Andrew Dice Clay   60    historical   85589338     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703     White Harlem                                                       George Carlin      285   historical   87244375    428        428 0.00033619     0.000336186   0.14388774   0   0.000892929   0.1447807


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                           Andrew Dice Clay   48    historical   85589353     16         16 0.00033619     0.000336186   0.00537898   0     0.0000334   0.0054124


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                           George Carlin      153   historical   86545712      8          8 0.00033619     0.000336186   0.00268949   0     0.0000167   0.0027062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                          GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                                   George Carlin      209   historical   87230939      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                                       George Carlin      252   historical   86571767      5          5 0.00033619     0.000336186   0.00168093   0     0.0000104   0.0016914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                 GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo               George Carlin      221   historical   86571768      5          5 0.00033619     0.000336186   0.00168093   0     0.0000104   0.0016914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204     Dice On Complaints (Live At Govenors/1991)                         Andrew Dice Clay   85    historical   85607292     10         10 0.00033619     0.000336186   0.00336186   0     0.0000209   0.0033827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                     George Carlin      191   historical   86550995    170        170 0.00033619     0.000336186   0.05715167   0   0.000354668   0.0575063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                        George Carlin      192   historical   86545711     10         10 0.00033619     0.000336186   0.00336186   0     0.0000209   0.0033827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                   Andrew Dice Clay   67    historical   85607285     15         15 0.00033619     0.000336186    0.0050428   0     0.0000313   0.0050741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                            Andrew Dice Clay   79    historical   85607294     41         41 0.00033619     0.000336186   0.01378364   0     0.0000855   0.0138692


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   70    historical   85589342      6          6 0.00033619     0.000336186   0.00201712   0     0.0000125   0.0020296


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778     Mothers Club                                                       George Carlin      279   historical   87230932      5          5 0.00033619     0.000336186   0.00084047   0    0.00000522   0.0008457


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061     Film & Video                                                       Andrew Dice Clay   106   historical   85619023     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                George Carlin      295   historical   86555268      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197     Dice Stops For Gas (Live At Govenors/1991)                         Andrew Dice Clay   149   historical   85607283     16         16 0.00033619     0.000336186   0.00537898   0     0.0000334   0.0054124


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054     Critics                                                            Andrew Dice Clay   202   historical   85619018     64         64 0.00033619     0.000336186   0.02151592   0   0.000133522   0.0216494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                 ANDREW DICE CLAY   128623771   100   20746968   USSM18900277     The Bait                                                           Andrew Dice Clay   151   historical   85564228     27         27 0.00033619     0.000336186   0.00907703   0     0.0000563   0.0091334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608     Ed Sullivan Self Taught                                            George Carlin      206   historical   87239331     31         31 0.00033619     0.000336186   0.01042178   0     0.0000647   0.0104865
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                                                                                                                                                                                                                                              #:4518
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                              ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                 Robin Williams     517   historical   85765162   6630      11934 0.00033619     0.000336186    4.0120473   0   0.024897687    4.036945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                              GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                       George Carlin      112   historical   86546363     80         80 0.00033619     0.000336186    0.0268949   0   0.000166903   0.0270618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                  GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                             George Carlin      486   historical   86546561    104      187.2   0.00033619   0.000336186   0.06293408   0   0.000390552   0.0633246


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                 ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                Robin Williams     111   historical   85778239    698        698 0.00033619     0.000336186   0.23465804   0   0.001456225   0.2361143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                  George Carlin      147   historical   86545432     87         87 0.00033619     0.000336186   0.02924821   0   0.000181507   0.0294297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                              ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)                     Andrew Dice Clay   199   historical   85570428      1          1 0.00033619     0.000336186   0.00033619   0    0.00000209   0.0003383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                       ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                             Andrew Dice Clay   90    historical   85589358     14         14 0.00033619     0.000336186   0.00470661   0     0.0000292   0.0047358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                  GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                         George Carlin      28    historical   86546563     65         65 0.00033619     0.000336186   0.02185211   0   0.000135608   0.0219877


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                               ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   85607296    107      128.4   0.00033619   0.000336186   0.04316632   0   0.000267879   0.0434342


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                  ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                        Andrew Dice Clay   167   historical   85619029      8          8 0.00033619     0.000336186   0.00268949   0     0.0000167   0.0027062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                          GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                George Carlin      308   historical   87230936      4        4.8   0.00033619   0.000336186   0.00161369   0       0.00001   0.0016237


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                          ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                        Andrew Dice Clay   145   historical   85607293     22         22 0.00033619     0.000336186    0.0073961   0     0.0000459    0.007442


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                              ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   85765164   11982   14378.4   0.00033619   0.000336186    4.8338211   0   0.029997394   4.8638185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                           GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                                 George Carlin      167   historical   87230933      4          4 0.00033619     0.000336186   0.00067237   0    0.00000417   0.0006765


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                       ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                     Andrew Dice Clay   98    historical   85607272     44         44 0.00033619     0.000336186    0.0147922   0     0.0000918    0.014884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   86549871    320        320 0.00033619     0.000336186   0.10757962   0    0.00066761   0.1082472


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                          GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                   George Carlin      203   historical   86555266     23         23 0.00033619     0.000336186   0.00773229   0      0.000048   0.0077803


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                      Andrew Dice Clay   33    historical   85589329     26         26 0.00033619     0.000336186   0.00874084   0     0.0000542   0.0087951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                      ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                            Andrew Dice Clay   255   historical   85619024     66         66 0.00033619     0.000336186    0.0221883   0   0.000137695    0.022326


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                  ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                Andrew Dice Clay   108   historical   85607274     46         46 0.00033619     0.000336186   0.01546457   0   0.000095969   0.0155605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                        ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   85607288     10         10 0.00033619     0.000336186   0.00336186   0     0.0000209   0.0033827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                     ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                         Andrew Dice Clay   468   historical   85619033     88      140.8   0.00033619   0.000336186   0.04733503   0   0.000293749   0.0476288


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                 GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                 George Carlin      229   historical   86568747    417        417 0.00033619     0.000336186   0.14018969   0    0.00086998   0.1410597


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                 ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                         Robin Williams     337   historical   85494753    541      649.2   0.00033619   0.000336186   0.21825215   0   0.001354414   0.2196066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                        GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                              George Carlin      355   historical   87239320    145        174 0.00033619     0.000336186   0.05849642   0   0.000363013   0.0588594


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                      Andrew Dice Clay   304   historical   85855619     21       25.2   0.00033619   0.000336186    0.0084719   0     0.0000526   0.0085245


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                            ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     369   historical   85765161   8382    11734.8   0.00033619   0.000336186   3.94507899   0     0.0244821   3.9695611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                         ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)            Robin Williams     646   historical   85765167   13960     30712 0.00033619     0.000336186   10.3249537   0   0.064073886   10.389028


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                      Andrew Dice Clay   227   historical   85855616     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                      ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                            Andrew Dice Clay   108   historical   85619031      7          7 0.00033619     0.000336186    0.0023533   0   0.000014604   0.0023679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                               GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                           George Carlin      99    historical   86568603     87         87 0.00033619     0.000336186   0.02924821   0   0.000181507   0.0294297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                       ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                     Andrew Dice Clay   111   historical   85607270     20         20 0.00033619     0.000336186   0.00672373   0     0.0000417   0.0067655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                       ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                             Andrew Dice Clay   231   historical   85589348     90         90 0.00033619     0.000336186   0.03025677   0   0.000187765   0.0304445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                             George Carlin      288   historical   87239332    397        397 0.00033619     0.000336186   0.13346596   0   0.000828254   0.1342942


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                 ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                       Andrew Dice Clay   37    historical   85589352     27         27 0.00033619     0.000336186   0.00907703   0     0.0000563   0.0091334


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                            George Carlin      320   historical   87239325    326      391.2   0.00033619   0.000336186   0.13151608   0   0.000816153   0.1323322


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                              ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                  Andrew Dice Clay   330   historical   85619037     76       91.2   0.00033619   0.000336186   0.03066019   0   0.000190269   0.0308505


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                   GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                            George Carlin      61    historical   86546357     59         59 0.00033619     0.000336186   0.01983499   0   0.000123091   0.0199581


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                               ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   85589332     12         12 0.00033619     0.000336186   0.00403424   0      0.000025   0.0040593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                           ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                 Andrew Dice Clay   29    historical   85589345     10         10 0.00033619     0.000336186   0.00336186   0     0.0000209   0.0033827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                             ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                                   Andrew Dice Clay   94    historical   85619015      9          9 0.00033619     0.000336186   0.00302568   0     0.0000188   0.0030445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                       GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                George Carlin      310   historical   86571771      1        1.2   0.00033619   0.000336186   0.00040342   0     0.0000025   0.0004059


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                            ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                     Andrew Dice Clay   216   historical   85570430     18         18 0.00033619     0.000336186   0.00605135   0     0.0000376   0.0060889


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                George Carlin      315   historical   86571766      2        2.4   0.00033619   0.000336186   0.00080685   0    0.00000501   0.0008119


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                               ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                     Andrew Dice Clay   70    historical   85589343      5          5 0.00033619     0.000336186   0.00168093   0     0.0000104   0.0016914


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                              ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                        Robin Williams     246   historical   85494760    362        362 0.00033619     0.000336186   0.12169944   0   0.000755234   0.1224547


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                              ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                    Andrew Dice Clay   65    historical   85589335     30         30 0.00033619     0.000336186   0.01008559   0     0.0000626   0.0101482


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                          GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                George Carlin      255   historical   87239312    584        584 0.00033619     0.000336186    0.1963328   0   0.001218389   0.1975512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                              GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                    George Carlin      164   historical   75132709      5          5    0.0003283   0.000328296   0.00164148   0     0.0000102   0.0016517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                           GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                 George Carlin      396   historical   75132714     27       37.8    0.0003283   0.000328296   0.01240959   0      0.000077   0.0124866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                              GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                    George Carlin      271   historical   76625649     15         15    0.0003283   0.000328296   0.00492444   0     0.0000306    0.004955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                  GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                        George Carlin      152   historical   76625658      7          7    0.0003283   0.000328296   0.00229807   0     0.0000143   0.0023123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                         GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                               George Carlin      80    historical   76625712     25         25    0.0003283   0.000328296    0.0082074   0     0.0000509   0.0082583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                        GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                            George Carlin      315   historical   77341555   2083     2499.6    0.0003283   0.000328296   0.82060893   0   0.005092478   0.8257014


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                              GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                    George Carlin      743   historical   75132703    192      499.2    0.0003283   0.000328296   0.16388541   0   0.001017029   0.1649024


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                               GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                     George Carlin      66    historical   75132705     68         68    0.0003283   0.000328296   0.02232414   0   0.000138538   0.0224627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                  GEORGE CARLIN      473337545   100   3446728                    Airlines                                                      George Carlin      518   historical   76625662     60        108    0.0003283   0.000328296   0.03545598   0    0.00022003    0.035676


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                       GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                      George Carlin      181   historical   76602412    231        231    0.0003283   0.000328296    0.0758364   0    0.00047062    0.076307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                        GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                              George Carlin      183   historical   76625682    193        193    0.0003283   0.000328296   0.06336115   0   0.000393202   0.0637544


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                   GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                         George Carlin      38    historical   75132718     28         28    0.0003283   0.000328296   0.00919229   0      0.000057   0.0092493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                          GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                George Carlin      74    historical   75132693     12         12    0.0003283   0.000328296   0.00393955   0     0.0000244    0.003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                              GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                    George Carlin      54    historical   76625669     34         34    0.0003283   0.000328296   0.01116207   0     0.0000693   0.0112313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                   GEORGE CARLIN      473337545   100   3446714                    Asylums                                                       George Carlin      301   historical   76625652     39       46.8    0.0003283   0.000328296   0.01536426   0     0.0000953   0.0154596


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                  GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                        George Carlin      595   historical   75132691     19         38    0.0003283   0.000328296   0.01247525   0     0.0000774   0.0125527


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                               GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                     George Carlin      129   historical   76625720     10         10    0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                  GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                        George Carlin      335   historical   77553011    258      309.6    0.0003283   0.000328296   0.10164047   0   0.000630753   0.1022712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                            GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                  George Carlin      121   historical   76625674     35         35    0.0003283   0.000328296   0.01149036   0     0.0000713   0.0115617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                      George Carlin      165   historical   76625688      2          2    0.0003283   0.000328296   0.00065659   0    0.00000407   0.0006607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                          GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                George Carlin      59    historical   76625668     40         40    0.0003283   0.000328296   0.01313184   0     0.0000815   0.0132133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                    George Carlin      84    historical   75132679     99         99    0.0003283   0.000328296   0.03250131   0   0.000201694    0.032703


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                  GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                        George Carlin      322   historical   76625653      7        8.4    0.0003283   0.000328296   0.00275769   0     0.0000171   0.0027748


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                          GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                George Carlin      388   historical   75132711     33       46.2    0.0003283   0.000328296   0.01516728   0     0.0000941   0.0152614


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                               ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   75819310     13         13    0.0003283   0.000328296   0.00426785   0     0.0000265   0.0042943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                         ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                     Andrew Dice Clay   154   historical   75837092     29         29    0.0003283   0.000328296   0.00952059   0     0.0000591   0.0095797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                           ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   75725084    517        517    0.0003283   0.000328296   0.16972908   0   0.001053293   0.1707824


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                        ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                      Andrew Dice Clay   216   historical   75837079     73         73    0.0003283   0.000328296   0.02396562   0   0.000148724   0.0241143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                  GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                           George Carlin      192   historical   76775517     33         33    0.0003283   0.000328296   0.01083377   0     0.0000672    0.010901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                  ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                        Andrew Dice Clay   167   historical   75848784      6          6    0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                    ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                  Andrew Dice Clay   189   historical   75837108    128        128    0.0003283   0.000328296    0.0420219   0   0.000260777   0.0422827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                      ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     129   historical   75993805   3618       3618    0.0003283   0.000328296   1.18777529   0   0.007371014   1.1951463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                    ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                          Andrew Dice Clay   41    historical   75819311     22         22    0.0003283   0.000328296   0.00722251   0   0.000044821   0.0072673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                  George Carlin      147   historical   76765870     64         64    0.0003283   0.000328296   0.02101095   0   0.000130388   0.0211413


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                      ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                            Andrew Dice Clay   110   historical   75848789     27         27    0.0003283   0.000328296     0.008864   0      0.000055    0.008919
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                                                                                                                                                                                                                                              #:4519
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                             George Carlin      246   historical   75132713    219      219   0.0003283   0.000328296   0.07189685   0   0.000446173    0.072343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                           George Carlin      228   historical   75132692    116      116   0.0003283   0.000328296   0.03808235   0   0.000236329   0.0383187


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical   76625681    109      109   0.0003283   0.000328296   0.03578428   0   0.000222068   0.0360063


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   76625717     42       42   0.0003283   0.000328296   0.01378844   0     0.0000856    0.013874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   75132681     14     25.2   0.0003283   0.000328296   0.00827306   0     0.0000513   0.0083244


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   75132686      1        1   0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                         George Carlin      180   historical   76625683      6        6   0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   75132688     12     21.6   0.0003283   0.000328296    0.0070912   0      0.000044   0.0071352


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   76625685    240      336   0.0003283   0.000328296   0.11030749   0   0.000684539    0.110992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                              George Carlin      46    historical   75132710      6        6   0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   76625704     18       18   0.0003283   0.000328296   0.00590933   0     0.0000367    0.005946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   75132708     27       27   0.0003283   0.000328296     0.008864   0      0.000055    0.008919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   77555433     39     54.6   0.0003283   0.000328296   0.01792497   0   0.000111238   0.0180362


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   76625656     46       46   0.0003283   0.000328296   0.01510162   0     0.0000937   0.0151953


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   77602748     10       10   0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical   75132694     15       15   0.0003283   0.000328296   0.00492444   0     0.0000306    0.004955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                                George Carlin      118   historical   75132699      3        3   0.0003283   0.000328296   0.00098489   0   0.000006112    0.000991


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   76625686    141    253.8   0.0003283   0.000328296   0.08332155   0   0.000517071   0.0838386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                                  George Carlin      118   historical   75132697      3        3   0.0003283   0.000328296   0.00098489   0   0.000006112    0.000991


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   75132698      4        4   0.0003283   0.000328296   0.00131318   0    0.00000815   0.0013213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   76625693     10       10   0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   75132706    235      376   0.0003283   0.000328296   0.12343933   0   0.000766031   0.1242054


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                                George Carlin      450   historical   76625650    511    817.6   0.0003283   0.000328296   0.26841489   0   0.001665711   0.2700806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                                       George Carlin      154   historical   76625670      9        9   0.0003283   0.000328296   0.00295467   0     0.0000183    0.002973


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   77341561   1031     1031   0.0003283   0.000328296   0.33847328   0   0.002100474   0.3405738


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical   75132684     14       14   0.0003283   0.000328296   0.00459615   0     0.0000285   0.0046247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   75132702     32     38.4   0.0003283   0.000328296   0.01260657   0   0.000078233   0.0126848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   75132677     25       35   0.0003283   0.000328296   0.01149036   0     0.0000713   0.0115617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   76625698     21       21   0.0003283   0.000328296   0.00689422   0     0.0000428    0.006937


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   77341564   1535     1535   0.0003283   0.000328296   0.50393451   0   0.003127282   0.5070618


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                                  George Carlin      173   historical   76625691      2        2   0.0003283   0.000328296   0.00065659   0    0.00000407   0.0006607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   75132707    159      159   0.0003283   0.000328296   0.05219908   0   0.000323934    0.052523


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   75132696     34       34   0.0003283   0.000328296   0.01116207   0     0.0000693   0.0112313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical   75132721     15       15   0.0003283   0.000328296   0.00492444   0     0.0000306    0.004955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical   75132701     11       11   0.0003283   0.000328296   0.00361126   0     0.0000224   0.0036337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical   76625679     17       17   0.0003283   0.000328296   0.00558103   0     0.0000346   0.0056157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                                George Carlin      165   historical   76625654      9        9   0.0003283   0.000328296   0.00295467   0     0.0000183    0.002973


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical   75132715     55       55   0.0003283   0.000328296   0.01805629   0   0.000112053   0.0181683


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                    Retired People                                                                  George Carlin      63    historical   76625721     29       29   0.0003283   0.000328296   0.00952059   0     0.0000591   0.0095797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   76625651     24       24   0.0003283   0.000328296   0.00787911   0     0.0000489    0.007928


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   77341563   2071     2071   0.0003283   0.000328296   0.67990122   0   0.004219284   0.6841205


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   77602760      8        8   0.0003283   0.000328296   0.00262637   0     0.0000163   0.0026427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical   75132719    116    139.2   0.0003283   0.000328296   0.04569882   0   0.000283595   0.0459824


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                   ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                                       Andrew Dice Clay   139   historical   75819306     19       19   0.0003283   0.000328296   0.00623763   0   0.000038709   0.0062763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                        GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                               George Carlin      235   historical   76766397    258      258   0.0003283   0.000328296   0.08470039   0   0.000525628    0.085226


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                                  ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)                     Robin Williams     359   historical   75993811   11085   13302   0.0003283   0.000328296   4.36699472   0   0.027100395   4.3940951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                      GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                                           George Carlin      28    historical   76766986     80       80   0.0003283   0.000328296   0.02626369   0   0.000162985   0.0264267


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                    ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                                        Andrew Dice Clay   227   historical   76084103     14       14   0.0003283   0.000328296   0.00459615   0     0.0000285   0.0046247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                              GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                                  George Carlin      255   historical   77443001    384      384   0.0003283   0.000328296    0.1260657   0    0.00078233    0.126848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                     ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                                          Andrew Dice Clay   200   historical   75794612     89       89   0.0003283   0.000328296   0.02921835   0   0.000181321   0.0293997


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                        GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                               George Carlin      275   historical   76765876    459      459   0.0003283   0.000328296   0.15068791   0   0.000935129    0.151623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                           GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                                               George Carlin      288   historical   77443021    428      428   0.0003283   0.000328296   0.14051073   0   0.000871972   0.1413827


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                     ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                                           Robin Williams     337   historical   75725083    437    524.4   0.0003283   0.000328296   0.17215848   0   0.001068369   0.1732268


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                 GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                                        George Carlin      177   historical   76765872    122      122   0.0003283   0.000328296   0.04005212   0   0.000248553   0.0403007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                              ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                                  Andrew Dice Clay   49    historical   75819338      6        6   0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                           ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                                               Andrew Dice Clay   462   historical   76084101     81    129.6   0.0003283   0.000328296   0.04254718   0   0.000264036   0.0428112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                                  ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                                                    Andrew Dice Clay   207   historical   75794608      3        3   0.0003283   0.000328296   0.00098489   0   0.000006112    0.000991


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                               ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                                         Andrew Dice Clay   79    historical   75837105     59       59   0.0003283   0.000328296   0.01936947   0   0.000120202   0.0194897


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                              ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                                  Andrew Dice Clay   140   historical   75848787      7        7   0.0003283   0.000328296   0.00229807   0     0.0000143   0.0023123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                       ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                                         Andrew Dice Clay   195   historical   75848785     61       61   0.0003283   0.000328296   0.02002606   0   0.000124276   0.0201503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                      GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                                           George Carlin      521   historical   76788756     22     39.6   0.0003283   0.000328296   0.01300053   0     0.0000807   0.0130812


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                                 GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                                     George Carlin      391   historical   77443017      2      2.8   0.0003283   0.000328296   0.00091923   0     0.0000057   0.0009249


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   75132720     72       72   0.0003283   0.000328296   0.02363732   0   0.000146687    0.023784


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   76625677     17       17   0.0003283   0.000328296   0.00558103   0     0.0000346   0.0056157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                    ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                                                        Andrew Dice Clay   151   historical   75794611      8        8   0.0003283   0.000328296   0.00262637   0     0.0000163   0.0026427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                   ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                                          Robin Williams     81    historical   75725089    198      198   0.0003283   0.000328296   0.06500263   0   0.000403389    0.065406


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                                  GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                                                    George Carlin      285   historical   77448119    329      329   0.0003283   0.000328296   0.10800942   0   0.000670277   0.1086797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                                   George Carlin      336   historical   76775515     17     20.4   0.0003283   0.000328296   0.00669724   0     0.0000416   0.0067388


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                             GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                                    George Carlin      326   historical   76775519     31     37.2   0.0003283   0.000328296   0.01221262   0     0.0000758   0.0122884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                    ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                                        Andrew Dice Clay   54    historical   75819337     12       12   0.0003283   0.000328296   0.00393955   0     0.0000244    0.003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                               ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                                   Andrew Dice Clay   29    historical   75819323      5        5   0.0003283   0.000328296   0.00164148   0     0.0000102   0.0016517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                            ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                                                Andrew Dice Clay   129   historical   75848775      7        7   0.0003283   0.000328296   0.00229807   0     0.0000143   0.0023123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                    ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                                        Andrew Dice Clay   114   historical   75848774      6        6   0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                                 ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                                        Andrew Dice Clay   264   historical   75800711      1        1   0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                                  GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                                         George Carlin      586   historical   76775520      1        2   0.0003283   0.000328296   0.00065659   0    0.00000407   0.0006607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                               GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                                      George Carlin      155   historical   76766983    121      121   0.0003283   0.000328296   0.03972383   0   0.000246515   0.0399703


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                              ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                          Andrew Dice Clay   145   historical   75837104     19       19   0.0003283   0.000328296   0.00623763   0   0.000038709   0.0062763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                         ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                                           Andrew Dice Clay   468   historical   75848788     34     54.4   0.0003283   0.000328296   0.01785931   0    0.00011083   0.0179701


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                   GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                                        George Carlin      150   historical   76766807     28       28   0.0003283   0.000328296   0.00919229   0      0.000057   0.0092493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                       ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                                   Andrew Dice Clay   135   historical   75837111     11       11   0.0003283   0.000328296   0.00361126   0     0.0000224   0.0036337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                             ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                                    Robin Williams     76    historical   75725085    105      105   0.0003283   0.000328296   0.03447109   0   0.000213918    0.034685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                         ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                                                  Andrew Dice Clay   107   historical   75848790     11       11   0.0003283   0.000328296   0.00361126   0     0.0000224   0.0036337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                         GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                                George Carlin      340   historical   76770227    413    495.6   0.0003283   0.000328296   0.16270355   0   0.001009695   0.1637132
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 67 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                             ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                            Andrew Dice Clay   106   historical   75848778     19         19   0.0003283   0.000328296   0.00623763   0   0.000038709   0.0062763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                         Andrew Dice Clay   40    historical   75819318     15         15   0.0003283   0.000328296   0.00492444   0     0.0000306    0.004955


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                Andrew Dice Clay   180   historical   75848791     54         54   0.0003283   0.000328296   0.01772799   0   0.000110015    0.017838


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)              Andrew Dice Clay   149   historical   75837094     33         33   0.0003283   0.000328296   0.01083377   0     0.0000672    0.010901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                 George Carlin      126   historical   77443006     14         14   0.0003283   0.000328296   0.00459615   0     0.0000285   0.0046247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273    Couples In Love                                         Andrew Dice Clay   211   historical   75794610      2          2   0.0003283   0.000328296   0.00065659   0    0.00000407   0.0006607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                    Andrew Dice Clay   178   historical   75848780     12         12   0.0003283   0.000328296   0.00393955   0     0.0000244    0.003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                George Carlin      286   historical   76771316    164        164   0.0003283   0.000328296   0.05384056   0    0.00033412   0.0541747


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                           Andrew Dice Clay   14    historical   75819329      2          2   0.0003283   0.000328296   0.00065659   0    0.00000407   0.0006607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                           Andrew Dice Clay   32    historical   75819334     35         35   0.0003283   0.000328296   0.01149036   0     0.0000713   0.0115617


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                              George Carlin      214   historical   76765818    361        361   0.0003283   0.000328296   0.11851489   0   0.000735472   0.1192504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                     George Carlin      99    historical   76788606     69         69   0.0003283   0.000328296   0.02265243   0   0.000140575    0.022793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                        ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)               Andrew Dice Clay   111   historical   75837081     29         29   0.0003283   0.000328296   0.00952059   0     0.0000591   0.0095797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                               Andrew Dice Clay   108   historical   75819322     27         27   0.0003283   0.000328296     0.008864   0      0.000055    0.008919


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                      Andrew Dice Clay   78    historical   75819309     44         44   0.0003283   0.000328296   0.01444503   0   0.000089642   0.0145347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YSF   RAISIN RHETORIC                                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                            George Carlin      126   historical   76791791     19         19   0.0003283   0.000328296   0.00623763   0   0.000038709   0.0062763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                       Andrew Dice Clay   32    historical   75819317     13         13   0.0003283   0.000328296   0.00426785   0     0.0000265   0.0042943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                              Andrew Dice Clay   126   historical   75848776      6          6   0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                            George Carlin      419   historical   76766805    437      611.8   0.0003283   0.000328296   0.20085155   0   0.001246431    0.202098


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                            Robin Williams     192   historical   75725093    298        298   0.0003283   0.000328296   0.09783224   0   0.000607121   0.0984394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                           George Carlin      229   historical   76788757    317        317   0.0003283   0.000328296   0.10406986   0    0.00064583   0.1047157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)             Andrew Dice Clay   339   historical   75800708      1        1.2   0.0003283   0.000328296   0.00039396   0    0.00000244   0.0003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                              Andrew Dice Clay   65    historical   75819313     33         33   0.0003283   0.000328296   0.01083377   0     0.0000672    0.010901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)       Andrew Dice Clay   307   historical   75837107    135        162   0.0003283   0.000328296   0.05318397   0   0.000330045    0.053514


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)      Robin Williams     646   historical   75993814   8738    19223.6   0.0003283   0.000328296   6.31103291   0   0.039164573   6.3501975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                         GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                        George Carlin      355   historical   77443009    107      128.4   0.0003283   0.000328296   0.04215322   0   0.000261592   0.0424148


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                 GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo   George Carlin      221   historical   76791787     91         91   0.0003283   0.000328296   0.02987495   0   0.000185396   0.0300603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)        Andrew Dice Clay   98    historical   75837110     43         43   0.0003283   0.000328296   0.01411673   0     0.0000876   0.0142043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                Andrew Dice Clay   48    historical   75819331      4          4   0.0003283   0.000328296   0.00131318   0    0.00000815   0.0013213


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                            George Carlin      269   historical   77443019     60         60   0.0003283   0.000328296   0.01969777   0   0.000122239     0.01982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)      Robin Williams     405   historical   75993813   11973   16762.2   0.0003283   0.000328296   5.50296489   0   0.034149921   5.5371148


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                        GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                     George Carlin      351   historical   77237352      2        2.4   0.0003283   0.000328296   0.00078791   0    0.00000489   0.0007928


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                      George Carlin      61    historical   76766804     50         50   0.0003283   0.000328296   0.01641481   0   0.000101866   0.0165167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                        George Carlin      174   historical   77443007      7          7   0.0003283   0.000328296   0.00229807   0     0.0000143   0.0023123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)          Andrew Dice Clay   63    historical   75837106     19         19   0.0003283   0.000328296   0.00623763   0   0.000038709   0.0062763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                            George Carlin      85    historical   77448123    167        167   0.0003283   0.000328296   0.05482545   0   0.000340232   0.0551657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                Andrew Dice Clay   33    historical   75819307     17         17   0.0003283   0.000328296   0.00558103   0     0.0000346   0.0056157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                        George Carlin      158   historical   76791789     10         10   0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                      Andrew Dice Clay   255   historical   75848779     62         62   0.0003283   0.000328296   0.02035436   0   0.000126314   0.0204807


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                     George Carlin      429   historical   77443022     78      124.8   0.0003283   0.000328296   0.04097135   0   0.000254257   0.0412256


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                           George Carlin      310   historical   77443016    278      333.6   0.0003283   0.000328296   0.10951958   0   0.000679649   0.1101992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                        Andrew Dice Clay   419   historical   76084104     84      117.6   0.0003283   0.000328296   0.03860762   0   0.000239589   0.0388472


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                 Andrew Dice Clay   202   historical   75848773     13         13   0.0003283   0.000328296   0.00426785   0     0.0000265   0.0042943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                 Andrew Dice Clay   126   historical   75837097     28         28   0.0003283   0.000328296   0.00919229   0      0.000057   0.0092493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                          Andrew Dice Clay   187   historical   75848769     28         28   0.0003283   0.000328296   0.00919229   0      0.000057   0.0092493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                   Andrew Dice Clay   180   historical   75819327     63         63   0.0003283   0.000328296   0.02068265   0   0.000128351    0.020811


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                               George Carlin      153   historical   76766154     10         10   0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                             Andrew Dice Clay   28    historical   75819332     13         13   0.0003283   0.000328296   0.00426785   0     0.0000265   0.0042943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                    Andrew Dice Clay   79    historical   75848777      2          2   0.0003283   0.000328296   0.00065659   0    0.00000407   0.0006607


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                       George Carlin      296   historical   77443000    159        159   0.0003283   0.000328296   0.05219908   0   0.000323934    0.052523


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                         George Carlin      418   historical   76775516      2        2.8   0.0003283   0.000328296   0.00091923   0     0.0000057   0.0009249


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)          Andrew Dice Clay   108   historical   75837085     41         41   0.0003283   0.000328296   0.01346014   0    0.00008353   0.0135437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                      George Carlin      115   historical   76771322     91         91   0.0003283   0.000328296   0.02987495   0   0.000185396   0.0300603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                Andrew Dice Clay   101   historical   75837088      6          6   0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                         George Carlin      189   historical   76770229    209        209   0.0003283   0.000328296   0.06861389   0   0.000425799   0.0690397


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                  Robin Williams     406   historical   75993815   11153   15614.2   0.0003283   0.000328296   5.12608097   0    0.03181108    5.157892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                      George Carlin      127   historical   77448120     32         32   0.0003283   0.000328296   0.01050548   0     0.0000652   0.0105707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                 George Carlin      206   historical   77443020     22         22   0.0003283   0.000328296   0.00722251   0   0.000044821   0.0072673


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                   Andrew Dice Clay   162   historical   75819325     23         23   0.0003283   0.000328296   0.00755081   0     0.0000469   0.0075977


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                          George Carlin      173   historical   77443013      9          9   0.0003283   0.000328296   0.00295467   0     0.0000183    0.002973


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)           Robin Williams     517   historical   75993809   5924    10663.2   0.0003283   0.000328296   3.50068697   0   0.021724322   3.5224113


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                    Robin Williams     154   historical   75725095     44         44   0.0003283   0.000328296   0.01444503   0   0.000089642   0.0145347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)               Andrew Dice Clay   216   historical   75800712     11         11   0.0003283   0.000328296   0.00361126   0     0.0000224   0.0036337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                           George Carlin      252   historical   76791786     86         86   0.0003283   0.000328296   0.02823347   0   0.000175209   0.0284087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                           Andrew Dice Clay   60    historical   75819316     19         19   0.0003283   0.000328296   0.00623763   0   0.000038709   0.0062763


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                             George Carlin      203   historical   76775518     11         11   0.0003283   0.000328296   0.00361126   0     0.0000224   0.0036337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)        Andrew Dice Clay   67    historical   75837096     25         25   0.0003283   0.000328296    0.0082074   0     0.0000509   0.0082583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                             George Carlin      500   historical   77237353      2        3.6   0.0003283   0.000328296   0.00118187   0    0.00000733   0.0011892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                               Andrew Dice Clay   70    historical   75819320      1          1   0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                Andrew Dice Clay   232   historical   75848782     69         69   0.0003283   0.000328296   0.02265243   0   0.000140575    0.022793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   72    historical   75819324     21         21   0.0003283   0.000328296   0.00689422   0     0.0000428    0.006937


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                       George Carlin      129   historical   77443004     42         42   0.0003283   0.000328296   0.01378844   0     0.0000856    0.013874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                          Andrew Dice Clay   29    historical   75819314      8          8   0.0003283   0.000328296   0.00262637   0     0.0000163   0.0026427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IOQ   SPEEDIN'                                                                 ANDREW DICE CLAY   128623771   100   20746963   USSM18900272    Speedin'                                                Andrew Dice Clay   86    historical   75794609      1          1   0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                            George Carlin      828   historical   76771317      4       11.2   0.0003283   0.000328296   0.00367692   0   0.000022818   0.0036997


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)               Andrew Dice Clay   98    historical   75837083     41         41   0.0003283   0.000328296   0.01346014   0    0.00008353   0.0135437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)              Andrew Dice Clay   85    historical   75837103     31         31   0.0003283   0.000328296   0.01017718   0     0.0000632   0.0102403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                      ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                     Andrew Dice Clay   123   historical   75819312     14         14   0.0003283   0.000328296   0.00459615   0     0.0000285   0.0046247


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                          George Carlin      244   historical   76791790    169        169   0.0003283   0.000328296   0.05548204   0   0.000344307   0.0558263


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                   Andrew Dice Clay   59    historical   75819305     17         17   0.0003283   0.000328296   0.00558103   0     0.0000346   0.0056157


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                             Andrew Dice Clay   94    historical   75848770      3          3   0.0003283   0.000328296   0.00098489   0   0.000006112    0.000991


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                           Andrew Dice Clay   99    historical   75819328     13         13   0.0003283   0.000328296   0.00426785   0     0.0000265   0.0042943


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                          Andrew Dice Clay   114   historical   75848781      7          7   0.0003283   0.000328296   0.00229807   0     0.0000143   0.0023123
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706     New York Voices                                                          George Carlin      426   historical   77448122   546      873.6    0.0003283   0.000328296   0.28679947   0     0.0017798   0.2885793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                               ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                    Robin Williams     246   historical   75725090   417        417    0.0003283   0.000328296   0.13689947   0   0.000849561    0.137749


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                                Andrew Dice Clay   70    historical   75819321     6          6    0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022     Khadafi (Live)                                                           Robin Williams     111   historical   76007003   717        717    0.0003283   0.000328296    0.2353883   0   0.001460757   0.2368491


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                  GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                                      George Carlin      145   historical   76766405    29         29    0.0003283   0.000328296   0.00952059   0     0.0000591   0.0095797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315     People Are Pricks                                                        Andrew Dice Clay   90    historical   75819336    12         12    0.0003283   0.000328296   0.00393955   0     0.0000244    0.003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                           Andrew Dice Clay   49    historical   75819339     1          1    0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                           George Carlin      157   historical   76766985    43         43    0.0003283   0.000328296   0.01411673   0     0.0000876   0.0142043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                                               George Carlin      173   historical   76791784    56         56    0.0003283   0.000328296   0.01838458   0    0.00011409   0.0184987


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                                           Andrew Dice Clay   368   historical   75819319    63       88.2    0.0003283   0.000328296   0.02895572   0   0.000179691   0.0291354


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                                 Andrew Dice Clay   174   historical   75794613    39         39    0.0003283   0.000328296   0.01280355   0     0.0000795    0.012883


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190     Dice Talks To The Salesmen (Live At Govenors/1991)                       Andrew Dice Clay   60    historical   75837076    34         34    0.0003283   0.000328296   0.01116207   0     0.0000693   0.0112313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                              George Carlin      192   historical   76766153     1          1    0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311     Black Chicks                                                             Andrew Dice Clay   41    historical   75819333     6          6    0.0003283   0.000328296   0.00196978   0     0.0000122    0.001982


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)                    Andrew Dice Clay   173   historical   75837090    29         29    0.0003283   0.000328296   0.00952059   0     0.0000591   0.0095797


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636     Good 4 U                                                                 Andrew Dice Clay   304   historical   76084105    10         12    0.0003283   0.000328296   0.00393955   0     0.0000244    0.003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                         George Carlin      486   historical   76766984    78      140.4    0.0003283   0.000328296   0.04609277   0   0.000286039   0.0463788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610     Urinals Are 50 Percent Universal                                         George Carlin      147   historical   77443008    49         49    0.0003283   0.000328296   0.01608651   0     0.0000998   0.0161863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                        George Carlin      355   historical   76791783     1        1.2    0.0003283   0.000328296   0.00039396   0    0.00000244   0.0003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601     Shoot                                                                    George Carlin      355   historical   77443012   558      669.6    0.0003283   0.000328296   0.21982707   0   0.001364188   0.2211913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604     Some Werds                                                               George Carlin      477   historical   77443002   708     1132.8    0.0003283   0.000328296   0.37189382   0   0.002307873   0.3742017


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                       Andrew Dice Clay   108   historical   75848786     8          8    0.0003283   0.000328296   0.00262637   0     0.0000163   0.0026427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                            George Carlin      315   historical   76791785    84      100.8    0.0003283   0.000328296   0.03309225   0   0.000205362   0.0332976


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                                   George Carlin      112   historical   76766810    40         40    0.0003283   0.000328296   0.01313184   0     0.0000815   0.0132133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish         George Carlin      966   historical   76765868     2        6.8    0.0003283   0.000328296   0.00223241   0     0.0000139   0.0022463


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                                 Andrew Dice Clay   101   historical   75837099    25         25    0.0003283   0.000328296    0.0082074   0     0.0000509   0.0082583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                                George Carlin      253   historical   76766395   1552      1552    0.0003283   0.000328296   0.50951555   0   0.003161917   0.5126775


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                                     George Carlin      328   historical   76766403   529      634.8    0.0003283   0.000328296   0.20840236   0   0.001293289   0.2096957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603     Sex in Commercials                                                       George Carlin      320   historical   77443014   316      379.2    0.0003283   0.000328296   0.12448988   0   0.000772551   0.1252624


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                            Robin Williams     369   historical   75993808   7460     10444    0.0003283   0.000328296   3.42872447   0   0.021277742   3.4500022


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                                        Andrew Dice Clay   231   historical   75819326    86         86    0.0003283   0.000328296   0.02823347   0   0.000175209   0.0284087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076     The Argument                                                             Andrew Dice Clay   330   historical   75848792    57       68.4    0.0003283   0.000328296   0.02245545   0   0.000139353   0.0225948


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                      George Carlin      295   historical   76775521     1          1    0.0003283   0.000328296    0.0003283   0    0.00000204   0.0003303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                           George Carlin      191   historical   76771318    88         88    0.0003283   0.000328296   0.02889006   0   0.000179284   0.0290693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083     Sarah Palin, The Clintons, And Jack (Explicit Audio)                     Robin Williams     324   historical   75993810   9766   11719.2    0.0003283   0.000328296   3.84736766   0   0.023875729   3.8712434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                                    Andrew Dice Clay   65    historical   75848783     5          5    0.0003283   0.000328296   0.00164148   0     0.0000102   0.0016517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                    George Carlin      389   historical   76766990    75        105    0.0003283   0.000328296   0.03447109   0   0.000213918    0.034685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314     The First Blow‐Job                                                       Andrew Dice Clay   50    historical   75819335    10         10    0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189     Dice Goes To The Mall (Live At Govenors/1991)                            Andrew Dice Clay   215   historical   75837074    89         89    0.0003283   0.000328296   0.02921835   0   0.000181321   0.0293997


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                                       George Carlin      149   historical   76766811   195        195    0.0003283   0.000328296   0.06401774   0   0.000397277    0.064415


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612     Midgets 2000                                                             Andrew Dice Clay   319   historical   76084102     1        1.2    0.0003283   0.000328296   0.00039396   0    0.00000244   0.0003964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293     The Car Ride (Goin' To A Party)                                          Andrew Dice Clay   135   historical   75819315    10         10    0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                           George Carlin      518   historical   76775522     1        1.8    0.0003283   0.000328296   0.00059093   0    0.00000367   0.0005946


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                                    Robin Williams     223   historical   75725082   384        384    0.0003283   0.000328296    0.1260657   0    0.00078233    0.126848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604     Drugs                                                                    George Carlin      263   historical   77443015   242        242    0.0003283   0.000328296   0.07944766   0   0.000493031   0.0799407


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308     Smokin' For Your Health                                                  Andrew Dice Clay   37    historical   75819330    10         10    0.0003283   0.000328296   0.00328296   0     0.0000204   0.0033033


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                              ANDREW DICE CLAY   128623771   100   20966163   USSM19100203     Dice Knows When To Say When (Live At Govenors/1991)                      Andrew Dice Clay   166   historical   75837102    21         21    0.0003283   0.000328296   0.00689422   0     0.0000428    0.006937


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                          George Carlin      86    historical   76766987    51         51    0.0003283   0.000328296    0.0167431   0   0.000103903    0.016847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                             Andrew Dice Clay   73    historical   75837109    84         84    0.0003283   0.000328296   0.02757687   0   0.000171135    0.027748


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Plus      Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                              Andrew Dice Clay   78    historical   75819304    34         34    0.0003283   0.000328296   0.01116207   0     0.0000693   0.0112313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                GEORGE CARLIN      473337545   100   3446766                     Quicksand                                                                George Carlin      129   historical   89623032     6          6 0.00033369      0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                  GEORGE CARLIN      473337545   100   4823646                     Just Enough Bullshit / No One Questions Things                           George Carlin      268   historical   90404803   1050      1050 0.00033369      0.00033369   0.35037461   0   0.002174331   0.3525489


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                              GEORGE CARLIN      473337545   100   4823648                     Proud To Be An American / God Bless America                              George Carlin      286   historical   90404804   752        752 0.00033369      0.00033369   0.25093496   0   0.001557235   0.2524922


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                    George Carlin Book Club                                                  George Carlin      62    historical   87750843    21         21 0.00033369      0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                         GEORGE CARLIN      473337545   100   3446748                     Religious People                                                         George Carlin      400   historical   89623001    90        126 0.00033369      0.00033369   0.04204495   0    0.00026092   0.0423059


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                  GEORGE CARLIN      473337545   100   3446745                     No Brown In The Rainbow                                                  George Carlin      180   historical   89622999    10         10 0.00033369      0.00033369    0.0033369   0     0.0000207   0.0033576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                    Expressions (In The Privacy Of Your Own Home)                            George Carlin      396   historical   87750848    10         14 0.00033369      0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                     Latest Disaster                                                          George Carlin      80    historical   89623026    12         12 0.00033369      0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   11005104                    Random Thoughts (Recreational Drugs)                                     George Carlin      299   historical   87750854    55         55 0.00033369      0.00033369   0.01835296   0   0.000113894   0.0184668


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                           GEORGE CARLIN      473337545   100   3446735                     Falling Asleep                                                           George Carlin      59    historical   89622984    12         12 0.00033369      0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                         GEORGE CARLIN      473337545   100   11005083                    Let's Beat Them With Our Purses!                                         George Carlin      118   historical   87750834    11         11 0.00033369      0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                     Greatest Thing Since Sliced Bread                                        George Carlin      221   historical   89622961    26         26 0.00033369      0.00033369   0.00867594   0     0.0000538   0.0087298


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                              GEORGE CARLIN      473337545   100   3446757                     Free Speech                                                              George Carlin      183   historical   89623012    11         11 0.00033369      0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                   GEORGE CARLIN      473337545   100   3446720                     Dogs Come In All Sizes                                                   George Carlin      152   historical   89622966     9          9 0.00033369      0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                   GEORGE CARLIN      473337545   100   5493859                     (02/28/71 Performance)                                                   George Carlin      369   historical   90610252    12       16.8   0.00033369    0.00033369   0.00560599   0     0.0000348   0.0056408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                     Opening / Old Fuck                                                       George Carlin      315   historical   90404795   1132    1358.4   0.00033369    0.00033369   0.45328463   0   0.002812963   0.4560976


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                    GEORGE CARLIN      473337545   100   11005102                    Reincarnation (Souls)                                                    George Carlin      38    historical   87750852     8          8 0.00033369      0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                    It's Your Body‐Fearless Fashions                                         George Carlin      484   historical   87750822     5          9 0.00033369      0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                                    GEORGE CARLIN      473337545   100   3446714                     Asylums                                                                  George Carlin      301   historical   89622957    22       26.4   0.00033369    0.00033369   0.00880942   0     0.0000547   0.0088641


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                 GEORGE CARLIN      473337545   100   11005086                    Anything But The Present                                                 George Carlin      334   historical   87750837    16       19.2   0.00033369    0.00033369   0.00640685   0     0.0000398   0.0064466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                     Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   90404801   521        521 0.00033369      0.00033369   0.17385254   0   0.001078882   0.1749314


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                                           GEORGE CARLIN      473337545   100   3446767                     Retired People                                                           George Carlin      63    historical   89623034    11         11 0.00033369      0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                                  GEORGE CARLIN      473337545   100   11005076                    Hi Mom!                                                                  George Carlin      64    historical   87750828     5          5 0.00033369      0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                                 GEORGE CARLIN      473337545   100   3446751                     Rip‐Offs                                                                 George Carlin      165   historical   89623003    12         12 0.00033369      0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                    GEORGE CARLIN      473337545   100   3446752                     Bumper Sticker                                                           George Carlin      173   historical   89623006     7          7 0.00033369      0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                        GEORGE CARLIN      473337545   100   11005062                    Appropriate Names                                                        George Carlin      157   historical   87750818    12         12 0.00033369      0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                      GEORGE CARLIN      473337545   100   11005097                    15 Rules To Live By                                                      George Carlin      246   historical   87750847   118        118 0.00033369      0.00033369   0.03937543   0   0.000244353   0.0396198


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                   GEORGE CARLIN      473337545   100   3446728                     Airlines                                                                 George Carlin      518   historical   89622978    21       37.8   0.00033369    0.00033369   0.01261349   0     0.0000783   0.0126918


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                               GEORGE CARLIN      473337545   100   11005103                    My Childhood                                                             George Carlin      338   historical   87750853    11       13.2   0.00033369    0.00033369   0.00440471   0     0.0000273    0.004432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                               GEORGE CARLIN      473337545   100   11005099                    More Redundant Expressions                                               George Carlin      46    historical   87750849    14         14 0.00033369      0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                           GEORGE CARLIN      473337545   100   11005095                    Popular Beliefs Rooted In Familiar Expressions                           George Carlin      388   historical   87750845     8       11.2   0.00033369    0.00033369   0.00373733   0     0.0000232   0.0037605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                                             GEORGE CARLIN      473337545   100   3446743                     Saying Hello                                                             George Carlin      200   historical   89622997    44         44 0.00033369      0.00033369   0.01468236   0     0.0000911   0.0147735


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                      GEORGE CARLIN      473337545   100   3446765                     The Red Sox (Socks)                                                      George Carlin      188   historical   89623030    10         10 0.00033369      0.00033369    0.0033369   0     0.0000207   0.0033576
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 69 of 86 Page ID
                                                                                                                                                                                                                                              #:4522
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                 GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                George Carlin      183   historical   89622998    99        99 0.00033369     0.00033369   0.03303532   0   0.000205008   0.0332403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                               GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                              George Carlin      46    historical   87750844     4         4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                 GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                George Carlin      165   historical   89622959     2         2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES           GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles          George Carlin      69    historical   87750820     1         1 0.00033369     0.00033369   0.00033369   0    0.00000207   0.0003358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                 GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                George Carlin      74    historical   89622995     9         9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                            GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                           George Carlin      441   historical   87750841    83     132.8   0.00033369   0.00033369   0.04431405   0   0.000275001    0.044589


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                 GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                George Carlin      164   historical   89622992     4         4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                        GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                       George Carlin      154   historical   89622986    14        14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UF5   A PROPOSITION                                                    GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                   George Carlin      100   historical   89623007     6         6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                        George Carlin      181   historical   89597993   144       144 0.00033369     0.00033369   0.04805137   0   0.000298194   0.0483496


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                           GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                          George Carlin      335   historical   90607768   120       144 0.00033369     0.00033369   0.04805137   0   0.000298194   0.0483496


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                       GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                      George Carlin      54    historical   89622985    30        30 0.00033369     0.00033369    0.0100107   0     0.0000621   0.0100728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                        GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                       George Carlin      388   historical   87750812    11      15.4   0.00033369   0.00033369   0.00513883   0     0.0000319   0.0051707


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                    GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                   George Carlin      250   historical   87750842    51        51 0.00033369     0.00033369    0.0170182   0    0.00010561   0.0171238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                      GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                   George Carlin      481   historical   87750816    11      19.8   0.00033369   0.00033369   0.00660706   0      0.000041   0.0066481


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                                      GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                     George Carlin      42    historical   87750830    19        19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                         GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                      George Carlin      84    historical   87750814    33        33 0.00033369     0.00033369   0.01101177   0     0.0000683   0.0110801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                       GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                      George Carlin      271   historical   89622954     6         6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                        GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                       George Carlin      66    historical   87750840    18        18 0.00033369     0.00033369   0.00600642   0     0.0000373   0.0060437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                 GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                George Carlin      450   historical   89622955   204     326.4   0.00033369   0.00033369   0.10891645   0   0.000675906   0.1095924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                       ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                      Andrew Dice Clay   131   historical   90657416     2         2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                           GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                          George Carlin      595   historical   87750825    10        20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                                   GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                  George Carlin      118   historical   87750832     2         2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                     GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                    George Carlin      121   historical   89622990    14        14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                          GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                         George Carlin      108   historical   87750833     4         4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                   GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                  George Carlin      74    historical   87750827    17        17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                              ANDREW DICE CLAY   128623771   100   20966165   USSM19100205    Dice And Truckdrivers (Live At Govenors/1991)                   Andrew Dice Clay   23    historical   88635622    24        24 0.00033369     0.00033369   0.00800856   0   0.000049699   0.0080583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                    GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                                      George Carlin      310   historical   89809231    16      19.2   0.00033369   0.00033369   0.00640685   0     0.0000398   0.0064466


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                               ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                              Andrew Dice Clay   50    historical   88611978    18        18 0.00033369     0.00033369   0.00600642   0     0.0000373   0.0060437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                             1990   ANDREW DICE CLAY   128623771   100   5643610                                                                             1990   Andrew Dice Clay   132   historical   90657428     3         3 0.00033369     0.00033369   0.00100107   0    0.00000621   0.0010073


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                              GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                             George Carlin      174   historical   89623018    18        18 0.00033369     0.00033369   0.00600642   0     0.0000373   0.0060437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                            GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                           George Carlin      228   historical   87750826    29        29 0.00033369     0.00033369   0.00967701   0     0.0000601   0.0097371


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                             GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                            George Carlin      487   historical   89623002    49      88.2   0.00033369   0.00033369   0.02943147   0   0.000182644   0.0296141


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                       GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                      George Carlin      106   historical   87750855     4         4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                          GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                         George Carlin      101   historical   89622956    20        20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                           GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                          George Carlin      45    historical   87750836     4         4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                           GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                          George Carlin      322   historical   89622958    17      20.4   0.00033369   0.00033369   0.00680728   0     0.0000422   0.0068495


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                       GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                      George Carlin      743   historical   87750838    31      80.6   0.00033369   0.00033369   0.02689542   0   0.000166906   0.0270623


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                  ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                       Andrew Dice Clay   154   historical   88635607    54        54 0.00033369     0.00033369   0.01801927   0   0.000111823   0.0181311


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                             GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                              George Carlin      263   historical   89809230    19        19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                             GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                               George Carlin      235   historical   89780114   229       229 0.00033369     0.00033369   0.07641503   0   0.000474211   0.0768892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                         ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                        Andrew Dice Clay   232   historical   88650474    40        40 0.00033369     0.00033369    0.0133476   0     0.0000828   0.0134304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                                              GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                                George Carlin      94    historical   89780816    47        47 0.00033369     0.00033369   0.01568344   0     0.0000973   0.0157808


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                      ANDREW DICE CLAY   128623771   100   21026300   USSM19303067    Talk To 'Em                                                     Andrew Dice Clay   32    historical   88650477    12        12 0.00033369     0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                   ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                                Andrew Dice Clay   239   historical   88985213    16        16 0.00033369     0.00033369   0.00533904   0     0.0000331   0.0053722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO          GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                        George Carlin      286   historical   89785746   131       131 0.00033369     0.00033369    0.0437134   0   0.000271274   0.0439847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                                        ANDREW DICE CLAY   128623771   100   20966160   USSM19100201    "What A Mess" (Live At Govenors/1991)                           Andrew Dice Clay   50    historical   88635617    25        25 0.00033369     0.00033369   0.00834225   0     0.0000518    0.008394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                      GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                        George Carlin      391   historical   89809232    14      19.6   0.00033369   0.00033369   0.00654033   0     0.0000406   0.0065809


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                             ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                            Andrew Dice Clay   41    historical   88611950    42        42 0.00033369     0.00033369   0.01401498   0      0.000087    0.014102


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                               George Carlin      129   historical   90498776    82        82 0.00033369     0.00033369   0.02736259   0   0.000169805   0.0275324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                        ANDREW DICE CLAY   128623771   100   21026284   USSM19303051    The Notes                                                       Andrew Dice Clay   48    historical   88650460    21        21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                             GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                               George Carlin      53    historical   89780827    28        28 0.00033369     0.00033369   0.00934332   0      0.000058   0.0094013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                             ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620    The Honeymoon's Over                                            Andrew Dice Clay   55    historical   88985219     6         6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                                     GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                    George Carlin      456   historical   90304770    33      52.8   0.00033369   0.00033369   0.01761884   0   0.000109338   0.0177282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                               ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                              Andrew Dice Clay   78    historical   88611948    75        75 0.00033369     0.00033369   0.02502676   0   0.000155309   0.0251821


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                             GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                             George Carlin      102   historical   89779877   117       117 0.00033369     0.00033369   0.03904174   0   0.000242283    0.039284


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                                       ANDREW DICE CLAY   128623771   100   20872374   USSM19000320    The Urinal                                                      Andrew Dice Clay   13    historical   88611959     7         7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                           GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                             George Carlin      192   historical   89790707    46        46 0.00033369     0.00033369   0.01534975   0     0.0000953    0.015445


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                     ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                    Andrew Dice Clay   14    historical   88650455    15        15 0.00033369     0.00033369   0.00500535   0     0.0000311   0.0050364


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                                  George Carlin      131   historical   89779870   131       131 0.00033369     0.00033369    0.0437134   0   0.000271274   0.0439847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                       ANDREW DICE CLAY   128623771   100   20778740   USSM18900281    First Kiss (Live At Dangerfield's/1989)                         Andrew Dice Clay   131   historical   88586971    11        11 0.00033369     0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                   ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                                 Andrew Dice Clay   23    historical   88650452     9         9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                       GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                         George Carlin      112   historical   89780620    48        48 0.00033369     0.00033369   0.01601713   0   0.000099398   0.0161165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                  ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                                 Andrew Dice Clay   135   historical   88611954    21        21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                              GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                George Carlin      340   historical   89784344   297     356.4   0.00033369   0.00033369   0.11892715   0    0.00073803   0.1196652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                         ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                        Andrew Dice Clay   304   historical   88985235    10        12 0.00033369     0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                              ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)            Robin Williams     324   historical   88847757   7858   9429.6   0.00033369   0.00033369   3.14656417   0   0.019526731   3.1660909


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                       ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                      Andrew Dice Clay   126   historical   88650467    19        19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                  GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                    George Carlin      147   historical   89809238     9         9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                               GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                                     George Carlin      500   historical   90304768    60       108 0.00033369     0.00033369   0.03603853   0   0.000223645   0.0362622


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                                      ANDREW DICE CLAY   128623771   100   20778765   USSM18900301    Frozen Food (Live At Dangerfield's/1989)                        Andrew Dice Clay   69    historical   88586995     5         5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                      ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                     Andrew Dice Clay   78    historical   88611943    21        21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                      ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)             Andrew Dice Clay   166   historical   88635620    50        50 0.00033369     0.00033369   0.01668451   0    0.00010354    0.016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                                     ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)                       Andrew Dice Clay   216   historical   88587007    14        14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                          GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                            George Carlin      175   historical   89779888   106       106 0.00033369     0.00033369   0.03537115   0   0.000219504   0.0355907


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                    GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                              George Carlin      477   historical   89790711    33      52.8   0.00033369   0.00033369   0.01761884   0   0.000109338   0.0177282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                                                  GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                                  George Carlin      182   historical   89809246    11        11 0.00033369     0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                         ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                        Andrew Dice Clay   174   historical   88578776    36        36 0.00033369     0.00033369   0.01201284   0     0.0000745   0.0120874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                              ANDREW DICE CLAY   128623771   100   20778756   USSM18900296    Laughter Vs. Comedy (Live At Dangerfield's/1989)                Andrew Dice Clay   67    historical   88586987     6         6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                  GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                    George Carlin      419   historical   89780615   297     415.8   0.00033369   0.00033369   0.13874834   0   0.000861035   0.1396094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                          ANDREW DICE CLAY   128623771   100   20778764   USSM18900300    Concave (Live At Dangerfield's/1989)                            Andrew Dice Clay   67    historical   88586994     5         5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                          ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                          Andrew Dice Clay   200   historical   88578775    48        48 0.00033369     0.00033369   0.01601713   0   0.000099398   0.0161165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                               ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                              Andrew Dice Clay   255   historical   88650471    48        48 0.00033369     0.00033369   0.01601713   0   0.000099398   0.0161165
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 70 of 86 Page ID
                                                                                                                                                                                                                                              #:4523
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                                    ANDREW DICE CLAY   128623771   100   20778752   USSM18900292     Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)   Andrew Dice Clay   169   historical   88586983      8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                          ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                        Andrew Dice Clay   162   historical   88611966     39         39 0.00033369     0.00033369   0.01301391   0     0.0000808   0.0130947


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                                    GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                      George Carlin      177   historical   89779560    142        142 0.00033369     0.00033369   0.04738399   0   0.000294052    0.047678


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                         GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                         George Carlin      521   historical   89805780     98      176.4   0.00033369   0.00033369   0.05886293   0   0.000365288   0.0592282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                                                     ANDREW DICE CLAY   128623771   100   20746969   USSM18900278     Masturbation                                                 Andrew Dice Clay   91    historical   88578774      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                                      GEORGE CARLIN      473337545   100   51648298   USZQE0610780     Capt. Jack & Jolly George                                    George Carlin      236   historical   90491207      1          1 0.00033369     0.00033369   0.00033369   0    0.00000207   0.0003358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                                   ANDREW DICE CLAY   128623771   100   20778772   USSM18900308     Dogs & Birds (Live at Dangerfield's/1989)                    Andrew Dice Clay   168   historical   88587002      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                              GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                              George Carlin      65    historical   89780831     24         24 0.00033369     0.00033369   0.00800856   0   0.000049699   0.0080583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                           1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293     1990 (Live At Dangerfield's/1989)                            Andrew Dice Clay   132   historical   88586984      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                     GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                                    George Carlin      51    historical   89779880    113        113 0.00033369     0.00033369   0.03770698   0   0.000233999    0.037941


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                            ANDREW DICE CLAY   128623771   100   20872366   USSM19000290     Handicaps, Cripples                                          Andrew Dice Clay   123   historical   88611951     19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                                                      ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621     Road Call                                                    Andrew Dice Clay   82    historical   88985220      6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                                 ANDREW DICE CLAY   128623771   100   20872375   USSM19000297     1989‐ A Review                                               Andrew Dice Clay   368   historical   88611960    103      144.2   0.00033369   0.00033369   0.04811811   0   0.000298608   0.0484167


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                       GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                         George Carlin      76    historical   89779876    128        128 0.00033369     0.00033369   0.04271233   0   0.000265061   0.0429774


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                                     ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623     Home Or Office, You Decide                                   Andrew Dice Clay   44    historical   88985222      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                        GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                          George Carlin      206   historical   89809234     15         15 0.00033369     0.00033369   0.00500535   0     0.0000311   0.0050364


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                   ROBIN WILLIAMS     89045747    100   22454789   USQX91000081     Healthcare And Heart Surgery (Explicit Audio)                Robin Williams     369   historical   88847755   6057     8479.8   0.00033369   0.00033369   2.82962531   0   0.017559894   2.8471852


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                                ANDREW DICE CLAY   128623771   100   20872379   USSM19000301     Chicks Aren't Funny (Joey Will)                              Andrew Dice Clay   72    historical   88611965     20         20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                         ANDREW DICE CLAY   128623771   100   20966169   USSM19100209     Dice At The Drive Thru (Live At Govenors/1991)               Andrew Dice Clay   63    historical   88635626     41         41 0.00033369     0.00033369   0.01368129   0     0.0000849   0.0137662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                                   ANDREW DICE CLAY   128623771   100   21026294   USSM19303061     Film & Video                                                 Andrew Dice Clay   106   historical   88650470     16         16 0.00033369     0.00033369   0.00533904   0     0.0000331   0.0053722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                             ROBIN WILLIAMS     89045747    100   22454786   USQX91000078     What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)        Robin Williams     129   historical   88847752   3418       3418 0.00033369     0.00033369   1.14055276   0   0.007077964   1.1476307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                                                               GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                 George Carlin      336   historical   89790704     99      118.8   0.00033369   0.00033369   0.03964238   0    0.00024601   0.0398884


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                                    ANDREW DICE CLAY   128623771   100   20778782   USSM18900318     How Are Ya? (Live at Dangerfield's/1989)                     Andrew Dice Clay   50    historical   88587012      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XAJ   SILENCE IS GOLDEN                                                              ANDREW DICE CLAY   128623771   100   20778783   USSM18900319     Silence Is Golden (Live at Dangerfield's/1989)               Andrew Dice Clay   16    historical   88587013      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                      ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                    Andrew Dice Clay   139   historical   88611945     25         25 0.00033369     0.00033369   0.00834225   0     0.0000518    0.008394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                                   ANDREW DICE CLAY   128623771   100   20872400   USSM19000311     Black Chicks                                                 Andrew Dice Clay   41    historical   88611975     21         21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                                                                  ANDREW DICE CLAY   128623771   100   20778758   USSM18900298     What'll It Be (Live At Dangerfield's/1989)                   Andrew Dice Clay   136   historical   88586989      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                          ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)           Andrew Dice Clay   186   historical   88586975     10         10 0.00033369     0.00033369    0.0033369   0     0.0000207   0.0033576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                                ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)           Robin Williams     646   historical   88847761   10474   23042.8   0.00033369   0.00033369   7.68915424   0   0.047716824   7.7368711


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                                       ANDREW DICE CLAY   128623771   100   20778745   USSM18900286     The Gift (Live At Dangerfield's/1989)                        Andrew Dice Clay   100   historical   88586976      8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                                GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                             George Carlin      214   historical   90491210      3          3 0.00033369     0.00033369   0.00100107   0    0.00000621   0.0010073


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)                George Carlin      315   historical   89809239     10         12 0.00033369     0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                             ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                           Andrew Dice Clay   110   historical   88650483     23         23 0.00033369     0.00033369   0.00767487   0     0.0000476   0.0077225


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                           ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                 Andrew Dice Clay   73    historical   88635629    148        148 0.00033369     0.00033369   0.04938614   0   0.000306477   0.0496926


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                                                              ANDREW DICE CLAY   128623771   100   20746957   USSM18900266     Moby And The Japs                                            Andrew Dice Clay   51    historical   88578762     21         21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                      ANDREW DICE CLAY   128623771   100   20872364   USSM19000288     Opportunity In America (Al Capone's Safe)                    Andrew Dice Clay   99    historical   88611949     25         25 0.00033369     0.00033369   0.00834225   0     0.0000518    0.008394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                                 ANDREW DICE CLAY   128623771   100   21026282   USSM19303049     Gas (Feminine)                                               Andrew Dice Clay   187   historical   88650458     62         62 0.00033369     0.00033369   0.02068879   0   0.000128389   0.0208172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                                                                ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical   88490232    214        214 0.00033369     0.00033369   0.07140968   0   0.000443149   0.0718528


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                                       ANDREW DICE CLAY   128623771   100   20746963   USSM18900272     Speedin'                                                     Andrew Dice Clay   86    historical   88578768      9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                                                    ANDREW DICE CLAY   128623771   100   20778780   USSM18900316     Double Date (Live at Dangerfield's/1989)                     Andrew Dice Clay   145   historical   88587010      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...          GEORGE CARLIN      473337545   100   51923440   US4LA0704601     Shoot                                                        George Carlin      355   historical   90498785    319      382.8   0.00033369   0.00033369   0.12773657   0   0.000792699   0.1285293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                                ANDREW DICE CLAY   128623771   100   20966168   USSM19100208     Dice Vs. PeeWee (Live At Govenors/1991)                      Andrew Dice Clay   30    historical   88635625     26         26 0.00033369     0.00033369   0.00867594   0     0.0000538   0.0087298


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                     ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                        Robin Williams     246   historical   88490237    534        534 0.00033369     0.00033369   0.17819051   0   0.001105802   0.1792963


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                                                       ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615     K2Y/Wife                                                     Andrew Dice Clay   47    historical   88985214      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                            GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                              George Carlin      158   historical   89809250      6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                                                      ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   88490236    215        215 0.00033369     0.00033369   0.07174337   0    0.00044522   0.0721886


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                                GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                  George Carlin      426   historical   89809251      7       11.2   0.00033369   0.00033369   0.00373733   0     0.0000232   0.0037605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                               ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                     Andrew Dice Clay   101   historical   88635603     41         41 0.00033369     0.00033369   0.01368129   0     0.0000849   0.0137662


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                      GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                      George Carlin      64    historical   89779874    132        132 0.00033369     0.00033369   0.04404709   0   0.000273344   0.0443204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                                GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                  George Carlin      147   historical   89779558     62         62 0.00033369     0.00033369   0.02068879   0   0.000128389   0.0208172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                                GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                  George Carlin      119   historical   89809243     16         16 0.00033369     0.00033369   0.00533904   0     0.0000331   0.0053722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                                 ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                       Andrew Dice Clay   145   historical   88635623     43         43 0.00033369     0.00033369   0.01434867   0   0.000089044   0.0144377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                                   ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                               Andrew Dice Clay   114   historical   88650473     17         17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                                                                 GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                                 George Carlin      26    historical   89780813     62         62 0.00033369     0.00033369   0.02068879   0   0.000128389   0.0208172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                                                               ANDREW DICE CLAY   128623771   100   20778775   USSM18900311     A History Lesson (Live at Dangerfield's/1989)                Andrew Dice Clay   119   historical   88587005      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                              ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630     Rita's As* Funnel                                            Andrew Dice Clay   101   historical   88985229      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                                                    GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                                      George Carlin      69    historical   89779885    116        116 0.00033369     0.00033369   0.03870805   0   0.000240212   0.0389483


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                                               ANDREW DICE CLAY   128623771   100   20778769   USSM18900305     Rhyme Renditions (Live at Dangerfield's/1989)                Andrew Dice Clay   231   historical   88586999     10         10 0.00033369     0.00033369    0.0033369   0     0.0000207   0.0033576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                                                            ANDREW DICE CLAY   128623771   100   20778743   USSM18900284     Texas (Live At Dangerfield's/1989)                           Andrew Dice Clay   185   historical   88586974      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                        GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                             George Carlin      93    historical   89779887    107        107 0.00033369     0.00033369   0.03570484   0   0.000221575   0.0359264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                        ANDREW DICE CLAY   128623771   100   20746959   USSM18900268     Smokin'                                                      Andrew Dice Clay   131   historical   88578764     11         11 0.00033369     0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                                                      GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                      George Carlin      150   historical   89780617     56         56 0.00033369     0.00033369   0.01868665   0   0.000115964   0.0188026


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                                 ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                               Andrew Dice Clay   49    historical   88611981      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                                ANDREW DICE CLAY   128623771   100   20778771   USSM18900307     Automatic Pilot (Live at Dangerfield's/1989)                 Andrew Dice Clay   106   historical   88587001      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                                  ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   88490231    508        508 0.00033369     0.00033369   0.16951457   0   0.001051962   0.1705665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                                          ANDREW DICE CLAY   128623771   100   20966173   USSM19100213     Dice Does It Like Dis (Live At Govenors/1991)                Andrew Dice Clay   59    historical   88635630     20         20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                       ANDREW DICE CLAY   128623771   100   21026292   USSM19303059     Dr. Dice                                                     Andrew Dice Clay   20    historical   88650468     15         15 0.00033369     0.00033369   0.00500535   0     0.0000311   0.0050364


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                               ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631     Flat As*/Fat As*                                             Andrew Dice Clay   80    historical   88985230      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                                   GEORGE CARLIN      473337545   100   51923448   US4LA0704607     Divorce Game                                                 George Carlin      269   historical   90498792     64         64 0.00033369     0.00033369   0.02135617   0   0.000132531   0.0214887


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                               GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                 George Carlin      42    historical   89779879    114        114 0.00033369     0.00033369   0.03804067   0    0.00023607   0.0382767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                                       ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                     Andrew Dice Clay   114   historical   88650464     26         26 0.00033369     0.00033369   0.00867594   0     0.0000538   0.0087298


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                                   ANDREW DICE CLAY   128623771   100   21026279   USSM19303048     Thermometers                                                 Andrew Dice Clay   14    historical   88650454     18         18 0.00033369     0.00033369   0.00600642   0     0.0000373   0.0060437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                                   ANDREW DICE CLAY   128623771   100   20778770   USSM18900306     True Stories (Live at Dangerfield's/1989)                    Andrew Dice Clay   41    historical   88587000      6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                                                              ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                    Andrew Dice Clay   111   historical   88635595     50         50 0.00033369     0.00033369   0.01668451   0    0.00010354    0.016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                            GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                            George Carlin      115   historical   89785754     78         78 0.00033369     0.00033369   0.02602783   0   0.000161522   0.0261894


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                       ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622     Date Night At The Movies                                     Andrew Dice Clay   227   historical   88985221     19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                           ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                         Andrew Dice Clay   178   historical   88650472     20         20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                                                       GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                         George Carlin      328   historical   89780120    426      511.2   0.00033369   0.00033369   0.17058238   0   0.001058588    0.171641


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H49   THE SICKEST                                                                    GEORGE CARLIN      473337545   100   51648302   USZQE0610784     The Sickest                                                  George Carlin      113   historical   90491211      2          2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                                  GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                    George Carlin      214   historical   89779501    331        331 0.00033369     0.00033369   0.11045142   0   0.000685432   0.1111369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                               ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                     Andrew Dice Clay   101   historical   88635615     37         37 0.00033369     0.00033369   0.01234653   0     0.0000766   0.0124232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                                 ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627     Grocery‐Part 1                                               Andrew Dice Clay   31    historical   88985226      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                                                                 ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                               Andrew Dice Clay   140   historical   88650481     20         20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                              Andrew Dice Clay   65    historical   88650475     19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211     Dice Learns To Mambo (Live At Govenors/1991)                       Andrew Dice Clay   189   historical   88635628     75         75 0.00033369     0.00033369   0.02502676   0   0.000155309   0.0251821


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   89779556     78      265.2   0.00033369   0.00033369   0.08849462   0   0.000549174   0.0890438


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303     3 Beautiful Dates                                                  Andrew Dice Clay   231   historical   88611967     60         60 0.00033369     0.00033369   0.02002141   0   0.000124248   0.0201457


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                            GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                                          George Carlin      70    historical   89779872    130        130 0.00033369     0.00033369   0.04337971   0   0.000269203   0.0436489


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264     Mother Goose                                                       Andrew Dice Clay   207   historical   88578760     19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                              Andrew Dice Clay   180   historical   88611969     40         40 0.00033369     0.00033369    0.0133476   0     0.0000828   0.0134304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                              George Carlin      49    historical   89779884    108        108 0.00033369     0.00033369   0.03603853   0   0.000223645   0.0362622


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)        Robin Williams     359   historical   88847758   8508    10209.6   0.00033369   0.00033369   3.40684245   0   0.021141948   3.4279844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                Robin Williams     154   historical   88490242    119        119 0.00033369     0.00033369   0.03970912   0   0.000246424   0.0399555


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                                    ANDREW DICE CLAY   128623771   100   20778763   USSM18900299     Pizza (Live At Dangerfield's/1989)                                 Andrew Dice Clay   108   historical   88586993      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                                 ANDREW DICE CLAY   128623771   100   20778767   USSM18900303     Hot Mama (Live at Dangerfield's/1989)                              Andrew Dice Clay   138   historical   88586997      6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                                                   GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                                 George Carlin      149   historical   89780621    134        134 0.00033369     0.00033369   0.04471447   0   0.000277486    0.044992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295     The Grocery Store                                                  Andrew Dice Clay   32    historical   88611957     17         17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                    George Carlin      86    historical   89780824     51         51 0.00033369     0.00033369    0.0170182   0    0.00010561   0.0171238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   88635627     81       97.2   0.00033369   0.00033369   0.03243468   0   0.000201281    0.032636


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                                                    ANDREW DICE CLAY   128623771   100   20746966   USSM18900275     Shampoo                                                            Andrew Dice Clay   48    historical   88578771      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                   Andrew Dice Clay   67    historical   88635611     37         37 0.00033369     0.00033369   0.01234653   0     0.0000766   0.0124232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317     Apartment Life                                                     Andrew Dice Clay   49    historical   88611982      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619     The Honeymoon                                                      Andrew Dice Clay   113   historical   88985218      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                             Andrew Dice Clay   167   historical   88650478     39         39 0.00033369     0.00033369   0.01301391   0     0.0000808   0.0130947


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308     Smokin' For Your Health                                            Andrew Dice Clay   37    historical   88611972     24         24 0.00033369     0.00033369   0.00800856   0   0.000049699   0.0080583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                   ANDREW DICE CLAY   128623771   100   20872382   USSM19000304     Action                                                             Andrew Dice Clay   21    historical   88611968      6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                           ANDREW DICE CLAY   128623771   100   20872411   USSM19000318     Brooklyn Bad Boy                                                   Andrew Dice Clay   166   historical   88611983      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                            George Carlin      54    historical   89779883    103        103 0.00033369     0.00033369   0.03437008   0   0.000213292   0.0345834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782     The Cool World                                                     George Carlin      316   historical   90491209      2        2.4   0.00033369   0.00033369   0.00080086   0    0.00000497   0.0008058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704     The Hallway Groups                                                 George Carlin      127   historical   90504545     37         37 0.00033369     0.00033369   0.01234653   0     0.0000766   0.0124232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086     The Summer Olympics And Athletics (Explicit Audio)                 Robin Williams     405   historical   88847760   10360     14504 0.00033369     0.00033369   4.83984121   0   0.030034753    4.869876


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                          Andrew Dice Clay   199   historical   88587003      9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                            ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634     Sid/In Toilet                                                      Andrew Dice Clay   151   historical   88985233      2          2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                                                 ANDREW DICE CLAY   128623771   100   20872408   USSM19000316     Ya Hear?                                                           Andrew Dice Clay   54    historical   88611980     18         18 0.00033369     0.00033369   0.00600642   0     0.0000373   0.0060437


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                                George Carlin      107   historical   89779889    165        165 0.00033369     0.00033369   0.05505887   0   0.000341681   0.0554005


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                     GEORGE CARLIN      473337545   100   51923444   US4LA0704604     Drugs                                                              George Carlin      263   historical   90498788    187        187 0.00033369     0.00033369   0.06240005   0   0.000387238   0.0627873


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                            ANDREW DICE CLAY   128623771   100   20966167   USSM19100207     Dice On Manners (Live At Govenors/1991)                            Andrew Dice Clay   79    historical   88635624     78         78 0.00033369     0.00033369   0.02602783   0   0.000161522   0.0261894


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                                      ANDREW DICE CLAY   128623771   100   20778757   USSM18900297     While The Cats Away... (Live At Dangerfield's/1989)                Andrew Dice Clay   198   historical   88586988      4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                 George Carlin      99    historical   89805604    310        310 0.00033369     0.00033369   0.10344393   0   0.000641945   0.1040859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703     White Harlem                                                       George Carlin      285   historical   90504544    206        206 0.00033369     0.00033369   0.06874016   0   0.000426583   0.0691667


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                                                         ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   88635593     84         84 0.00033369     0.00033369   0.02802997   0   0.000173946   0.0282039


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606     Son of Wino                                                        George Carlin      391   historical   90498790     31       43.4   0.00033369   0.00033369   0.01448215   0     0.0000899    0.014572


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   88650484     14         14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070     Sealed With A Kiss                                                 Andrew Dice Clay   108   historical   88650480     24         24 0.00033369     0.00033369   0.00800856   0   0.000049699   0.0080583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                              Robin Williams     223   historical   88490229    454        454 0.00033369     0.00033369   0.15149531   0   0.000940139   0.1524354


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                     George Carlin      518   historical   89790713     27       48.6   0.00033369   0.00033369   0.01621734   0    0.00010064    0.016318


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                          George Carlin      155   historical   89780819    132        132 0.00033369     0.00033369   0.04404709   0   0.000273344   0.0443204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                George Carlin      295   historical   89790712     33         33 0.00033369     0.00033369   0.01101177   0     0.0000683   0.0110801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                     George Carlin      321   historical   89809229     26       31.2   0.00033369   0.00033369   0.01041113   0     0.0000646   0.0104757


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                                              ANDREW DICE CLAY   128623771   100   20778754   USSM18900294     Jerkin' Off (Live At Dangerfield's/1989)                           Andrew Dice Clay   79    historical   88586985      8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                                         ANDREW DICE CLAY   128623771   100   20966177   USSM19100217     Let Yourself Go (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   88635634     17         17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216     Dice Rewrites History (Live At Govenors/1991)                      Andrew Dice Clay   135   historical   88635633     28         28 0.00033369     0.00033369   0.00934332   0      0.000058   0.0094013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                     George Carlin      157   historical   89780822     58         58 0.00033369     0.00033369   0.01935403   0   0.000120106   0.0194741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                                       George Carlin      85    historical   90504548    105        105 0.00033369     0.00033369   0.03503746   0   0.000217433   0.0352549


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                              ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                        Andrew Dice Clay   94    historical   88650459     31         31 0.00033369     0.00033369   0.01034439   0     0.0000642   0.0104086


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   51923450   US4LA0704609     Let's Make a Deal                                                  George Carlin      288   historical   90498794    265        265 0.00033369     0.00033369   0.08842788   0    0.00054876   0.0889766


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                                             ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606     Dice Funk‐Up                                                       Andrew Dice Clay   89    historical   88985205     40         40 0.00033369     0.00033369    0.0133476   0     0.0000828   0.0134304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                                                    ANDREW DICE CLAY   128623771   100   20746961   USSM18900270     No Pity                                                            Andrew Dice Clay   64    historical   88578766     10         10 0.00033369     0.00033369    0.0033369   0     0.0000207   0.0033576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   51923442   US4LA0704602     The Hair Piece                                                     George Carlin      173   historical   90498786     35         35 0.00033369     0.00033369   0.01167915   0     0.0000725   0.0117516


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                                George Carlin      39    historical   89779878    110        110 0.00033369     0.00033369   0.03670591   0   0.000227787   0.0369337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                                           ANDREW DICE CLAY   128623771   100   20778748   USSM18900289     Female Anatomy (Live At Dangerfield's/1989)                        Andrew Dice Clay   222   historical   88586979      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)                                GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                                George Carlin      261   historical   89780609     51         51 0.00033369     0.00033369    0.0170182   0    0.00010561   0.0171238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                   George Carlin      275   historical   89779564    316        316 0.00033369     0.00033369   0.10544607   0    0.00065437   0.1061004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   70    historical   88611961      6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                                  ANDREW DICE CLAY   128623771   100   20872402   USSM19000312     A Vibrant Beautiful Woman                                          Andrew Dice Clay   35    historical   88611976      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                               ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612     Midgets 2000                                                       Andrew Dice Clay   319   historical   88985211     12       14.4   0.00033369   0.00033369   0.00480514   0     0.0000298    0.004835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604     Some Werds                                                         George Carlin      477   historical   90498774    450        720 0.00033369     0.00033369   0.24025687   0    0.00149097   0.2417478


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608     Ed Sullivan Self Taught                                            George Carlin      206   historical   90498793     42         42 0.00033369     0.00033369   0.01401498   0      0.000087    0.014102


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                          George Carlin      253   historical   89780112    869        869 0.00033369     0.00033369    0.2899767   0   0.001799517   0.2917762


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214     Dice Has Random Thoughts (Live At Govenors/1991)                   Andrew Dice Clay   98    historical   88635631     39         39 0.00033369     0.00033369   0.01301391   0     0.0000808   0.0130947


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                        George Carlin      192   historical   89779881    125        125 0.00033369     0.00033369   0.04171126   0   0.000258849   0.0419701


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                              ANDREW DICE CLAY   128623771   100   20778766   USSM18900302     The Osmonds (Live at Dangerfield's/1989)                           Andrew Dice Clay   264   historical   88586996      9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   52042526   US4LA0703708     Childhood Cliches                                                  George Carlin      244   historical   90504549     29         29 0.00033369     0.00033369   0.00967701   0     0.0000601   0.0097371


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72Z3   WAR PICTURES                                                             GEORGE CARLIN      473337545   100   51648299   USZQE0610781     War Pictures                                                       George Carlin      222   historical   90491208      2          2 0.00033369     0.00033369   0.00033369   0    0.00000207   0.0003358


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                                            George Carlin      177   historical   89809240     19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE546E   KILLER CARLIN                                                            GEORGE CARLIN      473337545   100   51648297   USZQE0610779     Killer Carlin                                                      George Carlin      167   historical   90491206      6          6 0.00033369     0.00033369   0.00100107   0    0.00000621   0.0010073


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                           George Carlin      85    historical   89809252      7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                                    George Carlin      25    historical   89780829     29         29 0.00033369     0.00033369   0.00967701   0     0.0000601   0.0097371


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273     Couples In Love                                                    Andrew Dice Clay   211   historical   88578769     16         16 0.00033369     0.00033369   0.00533904   0     0.0000331   0.0053722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195     Dice On Lasting Relationships (Live At Govenors/1991)              Andrew Dice Clay   173   historical   88635605     77         77 0.00033369     0.00033369   0.02569414   0   0.000159451   0.0258536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075     No Poems                                                           Andrew Dice Clay   180   historical   88650485     43         43 0.00033369     0.00033369   0.01434867   0   0.000089044   0.0144377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                          GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                                        George Carlin      828   historical   89785747     18       50.4   0.00033369   0.00033369   0.01681798   0   0.000104368   0.0169223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                                                   ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611     Big Head                                                           Andrew Dice Clay   55    historical   88985210     10         10 0.00033369     0.00033369    0.0033369   0     0.0000207   0.0033576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                          Andrew Dice Clay   98    historical   88635598     65         65 0.00033369     0.00033369   0.02168986   0   0.000134601   0.0218245


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O39 WHAT DID SHE SAY?                                                          ANDREW DICE CLAY   128623771   100   20778779   USSM18900315     What Did She Say? (Live at Dangerfield's/1989)                     Andrew Dice Clay   75    historical   88587009      5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320     Hour Back...Get It? (Live at Dangerfield's/1989)                   Andrew Dice Clay   400   historical   88587014      7        9.8   0.00033369   0.00033369   0.00327016   0     0.0000203   0.0032905
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 72 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                             Andrew Dice Clay   48    historical   88611973    15         15 0.00033369     0.00033369   0.00500535   0     0.0000311   0.0050364


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                       ANDREW DICE CLAY   128623771   100   20746956   USSM18900265    A Day At The Beach                                   Andrew Dice Clay   158   historical   88578761    17         17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                                                        GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                     George Carlin      49    historical   89784343    37         37 0.00033369     0.00033369   0.01234653   0     0.0000766   0.0124232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)          Andrew Dice Clay   339   historical   88586986     6        7.2   0.00033369   0.00033369   0.00240257   0     0.0000149   0.0024175


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                            George Carlin      270   historical   89809233    14         14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                    George Carlin      275   historical   89809244     8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                              ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613    Banana Nose                                          Andrew Dice Clay   33    historical   88985212     8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617    Never Marry Her                                      Andrew Dice Clay   81    historical   88985216     8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                            George Carlin      285   historical   89809248     7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                      George Carlin      127   historical   89809249     8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                              George Carlin      126   historical   90498778    51         51 0.00033369     0.00033369    0.0170182   0    0.00010561   0.0171238


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   20966175   USSM19100215    Dice Greeting Cards (Live At Govenors/1991)          Andrew Dice Clay   43    historical   88635632    21         21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20746967   USSM18900276    Joey                                                 Andrew Dice Clay   127   historical   88578772     9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                                                           ANDREW DICE CLAY   128623771   100   20746965   USSM18900274    When I Was Young                                     Andrew Dice Clay   129   historical   88578770     7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                         Robin Williams     192   historical   88490240   266        266 0.00033369     0.00033369   0.08876157   0    0.00055083   0.0893124


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                        George Carlin      310   historical   90498789   176      211.2   0.00033369   0.00033369   0.07047535   0   0.000437351   0.0709127


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                                ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628    Fish Tank                                            Andrew Dice Clay   28    historical   88985227     8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                    GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                   George Carlin      15    historical   89780833    22         22 0.00033369     0.00033369   0.00734118   0     0.0000456   0.0073867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                      George Carlin      189   historical   89784346   236        236 0.00033369     0.00033369   0.07875086   0   0.000488707   0.0792396


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                            ANDREW DICE CLAY   128623771   100   20778768   USSM18900304    Turn‐On Words (Live at Dangerfield's/1989)           Andrew Dice Clay   34    historical   88586998     7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                           ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)          Andrew Dice Clay   284   historical   88587015     4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                                ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                          Andrew Dice Clay   33    historical   88985204    48         48 0.00033369     0.00033369   0.01601713   0   0.000099398   0.0161165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                         George Carlin      326   historical   89790709    56       67.2   0.00033369   0.00033369   0.02242398   0   0.000139157   0.0225631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                George Carlin      28    historical   89780823    59         59 0.00033369     0.00033369   0.01968772   0   0.000122177   0.0198099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                            Andrew Dice Clay   70    historical   88611962    11         11 0.00033369     0.00033369   0.00367059   0     0.0000228   0.0036934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                                 ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                             Andrew Dice Clay   151   historical   88578773    17         17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                              Andrew Dice Clay   195   historical   88650479    27         27 0.00033369     0.00033369   0.00900963   0     0.0000559   0.0090655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                   George Carlin      355   historical   89809227    34       40.8   0.00033369   0.00033369   0.01361456   0     0.0000845    0.013699


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                        GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                  George Carlin      351   historical   90304767    93      111.6   0.00033369   0.00033369   0.03723982   0     0.0002311   0.0374709


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                        ANDREW DICE CLAY   128623771   100   20746954   USSM18900263    What If The Chick Gets Pregnant...                   Andrew Dice Clay   99    historical   88578759    27         27 0.00033369     0.00033369   0.00900963   0     0.0000559   0.0090655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)        Andrew Dice Clay   215   historical   88635587   110        110 0.00033369     0.00033369   0.03670591   0   0.000227787   0.0369337


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                               ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618    For Who, For Her, For What                           Andrew Dice Clay   35    historical   88985217     9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                          GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                         George Carlin      68    historical   89779871   140        140 0.00033369     0.00033369   0.04671661   0   0.000289911   0.0470065


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                         Andrew Dice Clay   330   historical   88650486    47       56.4   0.00033369   0.00033369   0.01882012   0   0.000116793   0.0189369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                Robin Williams     337   historical   88490230   541      649.2   0.00033369   0.00033369   0.21663161   0   0.001344358    0.217976


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                            ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                        Andrew Dice Clay   29    historical   88611964    14         14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                  ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                       Robin Williams     111   historical   88867293   843        843 0.00033369     0.00033369   0.28130075   0   0.001745677   0.2830464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LIT   CIGARETTES                                                               ANDREW DICE CLAY   128623771   100   20778774   USSM18900310    Cigarettes (Live at Dangerfield's/1989)              Andrew Dice Clay   136   historical   88587004     5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                     Andrew Dice Clay   419   historical   88985224    55         77 0.00033369     0.00033369   0.02569414   0   0.000159451   0.0258536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                           ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                      Andrew Dice Clay   23    historical   88650451    27         27 0.00033369     0.00033369   0.00900963   0     0.0000559   0.0090655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                     ANDREW DICE CLAY   128623771   100   20778750   USSM18900291    Kids (Live At Dangerfield's/1989)                    Andrew Dice Clay   118   historical   88586981     4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                       ANDREW DICE CLAY   128623771   100   20746958   USSM18900267    Doctors And Nurses                                   Andrew Dice Clay   97    historical   88578763    19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                       George Carlin      310   historical   89809254    11       13.2   0.00033369   0.00033369   0.00440471   0     0.0000273    0.004432


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                   GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                  George Carlin      54    historical   89805601   327        327 0.00033369     0.00033369   0.10911666   0   0.000677149   0.1097938


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                        Andrew Dice Clay   60    historical   88611956    19         19 0.00033369     0.00033369   0.00634011   0   0.000039345   0.0063795


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                       George Carlin      244   historical   89809253   106        106 0.00033369     0.00033369   0.03537115   0   0.000219504   0.0355907


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                      George Carlin      426   historical   90504547   313      500.8   0.00033369   0.00033369     0.167112   0   0.001037052   0.1681491


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                        Andrew Dice Clay   32    historical   88611977    40         40 0.00033369     0.00033369    0.0133476   0     0.0000828   0.0134304


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                           ANDREW DICE CLAY   128623771   100   20778741   USSM18900282    Holiday Season (Live At Dangerfield's/1989)          Andrew Dice Clay   111   historical   88586972     6          6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                             ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632    My Statement                                         Andrew Dice Clay   62    historical   88985231     4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                    George Carlin      296   historical   90498772   263        263 0.00033369     0.00033369    0.0877605   0   0.000544618   0.0883051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635    Club 33                                              Andrew Dice Clay   190   historical   88985234     2          2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                       Andrew Dice Clay   29    historical   88611953    30         30 0.00033369     0.00033369    0.0100107   0     0.0000621   0.0100728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                          GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                       George Carlin      222   historical   89809247     9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                          ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609    K2Y‐China Diner                                      Andrew Dice Clay   157   historical   88985208    13         13 0.00033369     0.00033369   0.00433797   0     0.0000269   0.0043649


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)               Robin Williams     406   historical   88847762   7962   11146.8   0.00033369   0.00033369   3.71957681   0   0.023082694   3.7426595


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                         ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                     Andrew Dice Clay   129   historical   88650465    20         20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                             ANDREW DICE CLAY   128623771   100   20746960   USSM18900269    The Attitude                                         Andrew Dice Clay   113   historical   88578765    10         10 0.00033369     0.00033369    0.0033369   0     0.0000207   0.0033576


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)   Andrew Dice Clay   60    historical   88635590   100        100 0.00033369     0.00033369   0.03336901   0   0.000207079   0.0335761


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                      George Carlin      418   historical   89790705    63       88.2   0.00033369   0.00033369   0.02943147   0   0.000182644   0.0296141


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                  ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                              Andrew Dice Clay   202   historical   88650463    44         44 0.00033369     0.00033369   0.01468236   0     0.0000911   0.0147735


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)           Andrew Dice Clay   149   historical   88635609    44         44 0.00033369     0.00033369   0.01468236   0     0.0000911   0.0147735


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                              Andrew Dice Clay   17    historical   88650466    14         14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Q1 MULTIPLE SCLEROSIS                                                         ANDREW DICE CLAY   128623771   100   20778781   USSM18900317    Multiple Sclerosis (Live at Dangerfield's/1989)      Andrew Dice Clay   26    historical   88587011     4          4 0.00033369     0.00033369   0.00133476   0    0.00000828    0.001343


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637    Club 33(Reprise)                                     Andrew Dice Clay   195   historical   88985236     2          2 0.00033369     0.00033369   0.00066738   0    0.00000414   0.0006715


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                             ANDREW DICE CLAY   128623771   100   20746962   USSM18900271    The Golden Age Of Television                         Andrew Dice Clay   111   historical   88578767    20         20 0.00033369     0.00033369    0.0066738   0     0.0000414   0.0067152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                            George Carlin      153   historical   89779882   129        129 0.00033369     0.00033369   0.04304602   0   0.000267132   0.0433132


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)         Andrew Dice Clay   209   historical   88586980     8          8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                          Andrew Dice Clay   28    historical   88611974    14         14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                            Andrew Dice Clay   108   historical   88611963    22         22 0.00033369     0.00033369   0.00734118   0     0.0000456   0.0073867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                       George Carlin      288   historical   89809235    14         14 0.00033369     0.00033369   0.00467166   0      0.000029   0.0047007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                         George Carlin      126   historical   89809255     7          7 0.00033369     0.00033369   0.00233583   0     0.0000145   0.0023503


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                               George Carlin      389   historical   89780828    70         98 0.00033369     0.00033369   0.03270163   0   0.000202938   0.0329046


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)       Andrew Dice Clay   108   historical   88635600    55         55 0.00033369     0.00033369   0.01835296   0   0.000113894   0.0184668


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)           Andrew Dice Clay   85    historical   88635621    43         43 0.00033369     0.00033369   0.01434867   0   0.000089044   0.0144377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                        ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633    Fat As* House Mix                                    Andrew Dice Clay   146   historical   88985232     5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                             ANDREW DICE CLAY   128623771   100   20872370   USSM19000294    The Driveway                                         Andrew Dice Clay   19    historical   88611955     9          9 0.00033369     0.00033369   0.00300321   0     0.0000186   0.0030218


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                     George Carlin      147   historical   90498780    75         75 0.00033369     0.00033369   0.02502676   0   0.000155309   0.0251821


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                        Andrew Dice Clay   99    historical   88611970    29         29 0.00033369     0.00033369   0.00967701   0     0.0000601   0.0097371


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                     George Carlin      174   historical   90498779    55         55 0.00033369     0.00033369   0.01835296   0   0.000113894   0.0184668


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                       George Carlin      255   historical   90498773   415        415 0.00033369     0.00033369   0.13848139   0   0.000859378   0.1393408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                    George Carlin      486   historical   89780821    82      147.6   0.00033369   0.00033369   0.04925266   0   0.000305649   0.0495583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                                             ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                       Andrew Dice Clay   82    historical   88985228     5          5 0.00033369     0.00033369   0.00166845   0   0.000010354   0.0016788
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                                                                                                                                                                                                                                              #:4526
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                         ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                          Andrew Dice Clay   40    historical   88611958    69        69 0.00033369     0.00033369   0.02302462   0   0.000142885   0.0231675


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                 Andrew Dice Clay   33    historical   88611946    80        80 0.00033369     0.00033369   0.02669521   0   0.000165663   0.0268609


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                             ANDREW DICE CLAY   128623771   100   20778746   USSM18900287    The Divider (Live At Dangerfield's/1989)                 Andrew Dice Clay   130   historical   88586977     6         6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                      GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                       George Carlin      577   historical   90304769    39        78 0.00033369     0.00033369   0.02602783   0   0.000161522   0.0261894


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                       ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                        Andrew Dice Clay   462   historical   88985206    86     137.6   0.00033369   0.00033369   0.04591576   0   0.000284941   0.0462007


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                     GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                         George Carlin      430   historical   89809236    15        24 0.00033369     0.00033369   0.00800856   0   0.000049699   0.0080583


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                    ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                     Andrew Dice Clay   79    historical   88650469    21        21 0.00033369     0.00033369   0.00700749   0     0.0000435    0.007051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                       ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                        Andrew Dice Clay   90    historical   88611979    29        29 0.00033369     0.00033369   0.00967701   0     0.0000601   0.0097371


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                     GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                      George Carlin      429   historical   90498795    68     108.8   0.00033369   0.00033369   0.03630548   0   0.000225302   0.0365308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                        GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                         George Carlin      355   historical   90498781   133     159.6   0.00033369   0.00033369   0.05325694   0   0.000330498   0.0535874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                                                         ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624    The Pencil Room                                          Andrew Dice Clay   79    historical   88985223     6         6 0.00033369     0.00033369   0.00200214   0     0.0000124   0.0020146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                      GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                       George Carlin      320   historical   90498787   209     250.8   0.00033369   0.00033369   0.08368948   0   0.000519354   0.0842088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                        ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616    Sid/All Bound Up                                         Andrew Dice Clay   16    historical   88985215     8         8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                                                   ANDREW DICE CLAY   128623771   100   20966162   USSM19100202    Dice On Redheaded Men (Live At Govenors/1991)            Andrew Dice Clay   42    historical   88635619    27        27 0.00033369     0.00033369   0.00900963   0     0.0000559   0.0090655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                              ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)            Robin Williams     517   historical   88847756   5537   9966.6   0.00033369   0.00033369   3.32575575   0   0.020638746   3.3463945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                  ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626    My Cum                                                   Andrew Dice Clay   89    historical   88985225    12        12 0.00033369     0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                 GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                            George Carlin      229   historical   89805781   301       301 0.00033369     0.00033369   0.10044072   0   0.000623308    0.101064


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                                                          GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                              George Carlin      203   historical   89790708    57        57 0.00033369     0.00033369   0.01902034   0   0.000118035   0.0191384


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                                    GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                        George Carlin      69    historical   89780820    42        42 0.00033369     0.00033369   0.01401498   0      0.000087    0.014102


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                      GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                          George Carlin      191   historical   89785750   104       104 0.00033369     0.00033369   0.03470377   0   0.000215362   0.0349191


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                                                           ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                            Andrew Dice Clay   14    historical   88611971    17        17 0.00033369     0.00033369   0.00567273   0     0.0000352   0.0057079


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6EAS   MOTHERS CLUB                                                            GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                             George Carlin      279   historical   90491205     5         5 0.00033369     0.00033369   0.00083423   0   0.000005177   0.0008394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                              ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                               Andrew Dice Clay   65    historical   88611952    54        54 0.00033369     0.00033369   0.01801927   0   0.000111823   0.0181311


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                              GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                  George Carlin      586   historical   89790710    41        82 0.00033369     0.00033369   0.02736259   0   0.000169805   0.0275324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                    ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                     Andrew Dice Clay   197   historical   88985207    12        12 0.00033369     0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                 GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                     George Carlin      145   historical   89780122    62        62 0.00033369     0.00033369   0.02068879   0   0.000128389   0.0208172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                            ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                    Andrew Dice Clay   59    historical   88611944    22        22 0.00033369     0.00033369   0.00734118   0     0.0000456   0.0073867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo    George Carlin      221   historical   89809242    16        16 0.00033369     0.00033369   0.00533904   0     0.0000331   0.0053722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                        GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                            George Carlin      252   historical   89809241    12        12 0.00033369     0.00033369   0.00400428   0     0.0000248   0.0040291


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                  Andrew Dice Clay   126   historical   88635613    59        59 0.00033369     0.00033369   0.01968772   0   0.000122177   0.0198099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                               ANDREW DICE CLAY   128623771   100   20778747   USSM18900288    Personal Delivery Service (Live At Dangerfield's/1989)   Andrew Dice Clay   232   historical   88586978     8         8 0.00033369     0.00033369   0.00266952   0     0.0000166   0.0026861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                   GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                       George Carlin      61    historical   89780614    73        73 0.00033369     0.00033369   0.02435938   0   0.000151168   0.0245105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                     ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                    Andrew Dice Clay   468   historical   88650482    60        96 0.00033369     0.00033369   0.03203425   0   0.000198796    0.032233


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   10/1/2017   10/31/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                                                          GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                              George Carlin      173   historical   89809228    27        27 0.00033369     0.00033369   0.00900963   0     0.0000559   0.0090655


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                  GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                   George Carlin      369   historical   80766983     6       8.4   0.00037823   0.00037823   0.00317713   0     0.0000197   0.0031968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA38T0   LATEST DISASTER                                                         GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                          George Carlin      80    historical   79812539    11        11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                              GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                               George Carlin      106   historical   77969973     3         3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MC6 ASYLUMS                                                                   GEORGE CARLIN      473337545   100   3446714                    Asylums                                                  George Carlin      301   historical   79812476    25        30 0.00037823     0.00037823    0.0113469   0     0.0000704   0.0114173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                             GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                            George Carlin      481   historical   77969937     5         9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                  GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                   George Carlin      595   historical   77969945    12        24 0.00037823     0.00037823   0.00907752   0     0.0000563   0.0091339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                     George Carlin      299   historical   77969972    36        36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                  GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                   George Carlin      45    historical   77969954     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OG8   NICE DAYS                                                               GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                George Carlin      154   historical   79812499     4         4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                   GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                    George Carlin      38    historical   77969970     2         2 0.00037823     0.00037823   0.00075646   0    0.00000469   0.0007612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                           GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)            George Carlin      396   historical   77969966     3       4.2   0.00037823   0.00037823   0.00158857   0    0.00000986   0.0015984


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L90   AVANT GARDE PLAY                                                        GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                         George Carlin      74    historical   79812509     2         2 0.00037823     0.00037823   0.00075646   0    0.00000469   0.0007612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                        GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                         George Carlin      450   historical   79812474   147     235.2   0.00037823   0.00037823   0.08895972   0    0.00055206   0.0895118


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MH9 AIRLINES                                                                  GEORGE CARLIN      473337545   100   3446728                    Airlines                                                 George Carlin      518   historical   79812491    20        36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                     GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                      George Carlin      246   historical   77969965    88        88 0.00037823     0.00037823   0.03328425   0   0.000206553   0.0334908


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                  GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                   George Carlin      322   historical   79812477     5         6 0.00037823     0.00037823   0.00226938   0     0.0000141   0.0022835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55U6   DEATH AND DYING 2                                                       GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                 George Carlin      181   historical   79788668    69        69 0.00037823     0.00037823   0.02609788   0   0.000161956   0.0262598


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                                                          ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                           Andrew Dice Clay   49    historical   78817093     4         4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                                                          ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                          Andrew Dice Clay   23    historical   78855421    19        19 0.00037823     0.00037823   0.00718637   0     0.0000446    0.007231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V0O   THE ATTITUDE                                                            ANDREW DICE CLAY   128623771   100   20746960   USSM18900269    The Attitude                                             Andrew Dice Clay   113   historical   78784571    13        13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFQ   NEWSBOY                                                                 ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                     Robin Williams     154   historical   78696460    97        97 0.00037823     0.00037823   0.03668832   0   0.000227678    0.036916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                           GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                            George Carlin      310   historical   80657412   132     158.4   0.00037823   0.00037823   0.05991165   0   0.000371796   0.0602834


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3W HELLO GOODBYE 2                                                           GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                               George Carlin      253   historical   79964414   836       836 0.00037823     0.00037823   0.31620036   0   0.001962254   0.3181626


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DT6   HE'S SMILING DOWN                                                       GEORGE CARLIN      473337545   100   36915342   QMFME1556350 He's Smiling Down                                           George Carlin      131   historical   79964178   158       158 0.00037823     0.00037823   0.05976036   0   0.000370857   0.0601312


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB5374   BIRTH CONTROL                                                           GEORGE CARLIN      473337545   100   37436676   QMFME1556406 Birth Control                                               George Carlin      310   historical   79992577    18      21.6   0.00037823   0.00037823   0.00816977   0     0.0000507   0.0082205


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32ET   DICE ON COMPLAINTS                                                      ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)               Andrew Dice Clay   85    historical   78840411    33        33 0.00037823     0.00037823   0.01248159   0     0.0000775   0.0125591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NFP   DEVILS DANDRUFF                                                         ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                             Robin Williams     192   historical   78696458   220       220 0.00037823     0.00037823   0.08321062   0   0.000516383    0.083727


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93OB   THE GOLDEN AGE OF TELEVISION                                            ANDREW DICE CLAY   128623771   100   20746962   USSM18900271    The Golden Age Of Television                             Andrew Dice Clay   111   historical   78784573    16        16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                 GEORGE CARLIN      473337545   100   37436679   QMFME1556409 Ed Sullivan Self Taught                                     George Carlin      206   historical   79992580    19        19 0.00037823     0.00037823   0.00718637   0     0.0000446    0.007231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6P17   BACK HOME                                                               ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                   Robin Williams     223   historical   78696447   369       369 0.00037823     0.00037823   0.13956691   0   0.000866115    0.140433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   37436684   QMFME1556414 Values (How Much Is That Dog Crap in the Window?)           George Carlin      315   historical   79992585    31      37.2   0.00037823   0.00037823   0.01407016   0     0.0000873   0.0141575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WQG BANANA GIRL                                                               ANDREW DICE CLAY   128623771   100   22719843   USA2P0862605    Banana Girl                                              Andrew Dice Clay   33    historical   79185493    43        43 0.00037823     0.00037823   0.01626389   0   0.000100929   0.0163648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32FF   DEEF & DUMB                                                             ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                              Andrew Dice Clay   94    historical   78855428    17        17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                 GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                     George Carlin      175   historical   79964196   125       125 0.00037823     0.00037823   0.04727876   0   0.000293399   0.0475722


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                      ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                       Andrew Dice Clay   78    historical   78817059    63        63 0.00037823     0.00037823    0.0238285   0   0.000147873   0.0239764


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                  GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                      George Carlin      192   historical   79974745    58        58 0.00037823     0.00037823   0.02193735   0   0.000136137   0.0220735


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WM WHILE THE CATS AWAY...                                                     ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)      Andrew Dice Clay   198   historical   78792661     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                      ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                       Andrew Dice Clay   110   historical   78855451    18        18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PYC   BANANA NOSE                                                             ANDREW DICE CLAY   128623771   100   22719851   USA2P0862613    Banana Nose                                              Andrew Dice Clay   33    historical   79185501     9         9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                      ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)    Robin Williams     129   historical   79049417   3041     3041 0.00037823     0.00037823   1.15019773   0   0.007137818   1.1573356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                     GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                      George Carlin      429   historical   80657418    38      60.8   0.00037823   0.00037823   0.02299639   0   0.000142709   0.0231391


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                           George Carlin      288   historical   79992581    16        16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3B   UNCLE DAVE                                                              GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                  George Carlin      586   historical   79974748    38        76 0.00037823     0.00037823   0.02874549   0   0.000178387   0.0289239


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                             George Carlin      147   historical   79963884    54        54 0.00037823     0.00037823   0.02042443   0   0.000126749   0.0205512


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                             ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                              Andrew Dice Clay   78    historical   78817054    35        35 0.00037823     0.00037823   0.01323805   0     0.0000822   0.0133202


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8H79   THE SELF‐ESTEEM MOVEMENT                                                GEORGE CARLIN      473337545   100   36915348   QMFME1556356 The Self‐Esteem Movement                                    George Carlin      76    historical   79964184   154       154 0.00037823     0.00037823   0.05824744   0   0.000361468   0.0586089


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KE1   DEATH AND DYING                                                         GEORGE CARLIN      473337545   100   37009841   QMFME1556314 Death and Dying                                             George Carlin      828   historical   79969827    20        56 0.00037823     0.00037823   0.02118089   0   0.000131443   0.0213123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OXH   THE DIVIDER                                                             ANDREW DICE CLAY   128623771   100   20778746   USSM18900287    The Divider (Live At Dangerfield's/1989)                 Andrew Dice Clay   130   historical   78792650     5         5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                                                          ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                         Andrew Dice Clay   165   historical   78817095    10        10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 74 of 86 Page ID
                                                                                                                                                                                                                                              #:4527
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                           ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)                              Robin Williams     405   historical   79049425   8431   11803.4   0.00037823   0.00037823   4.46440116   0   0.027704873    4.492106


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                                     George Carlin      42    historical   77969950    13         13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   79812531     9          9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   79812473     9          9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   80813546     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                    Retired People                                                                  George Carlin      63    historical   79812544    13         13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                                     George Carlin      286   historical   80565864   633        633 0.00037823     0.00037823   0.23941965   0   0.001485774   0.2409054


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   79812475    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   80813558     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                                        George Carlin      334   historical   77969955    11       13.2   0.00037823   0.00037823   0.00499264   0   0.000030983   0.0050236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                                         George Carlin      180   historical   79812513     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                                              George Carlin      46    historical   77969962     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   80764525   127      152.4   0.00037823   0.00037823   0.05764227   0   0.000357712       0.058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical   77969948     2          2 0.00037823     0.00037823   0.00075646   0    0.00000469   0.0007612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   79812515    84      117.6   0.00037823   0.00037823   0.04447986   0    0.00027603   0.0447559


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   79812543     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                          George Carlin      152   historical   79812481     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical   77969952     4          4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                                   George Carlin      250   historical   77969960    61         61 0.00037823     0.00037823   0.02307204   0   0.000143179   0.0232152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                    The Evening News                                                                George Carlin      165   historical   79812478     1          1 0.00037823     0.00037823   0.00037823   0    0.00000235   0.0003806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   80565863   919        919 0.00037823     0.00037823   0.34759346   0   0.002157072   0.3497505


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                                  George Carlin      59    historical   79812497     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   79812520     4          4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                                  ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                                          Robin Williams     246   historical   78696455   446        446 0.00037823     0.00037823   0.16869063   0   0.001046849   0.1697375


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2ZIR   PIZZA                                                                       ANDREW DICE CLAY   128623771   100   20778763   USSM18900299    Pizza (Live At Dangerfield's/1989)                                              Andrew Dice Clay   108   historical   78792665     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIC   CHINESE RESTAURANT                                                          ANDREW DICE CLAY   128623771   100   21026290   USSM19303057    Chinese                                                                         Andrew Dice Clay   17    historical   78855435    13         13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1Q2T   GROCERY‐PART 1                                                              ANDREW DICE CLAY   128623771   100   22719865   USA2P0862627    Grocery‐Part 1                                                                  Andrew Dice Clay   31    historical   79185515     4          4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                      GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                                             George Carlin      54    historical   79989116   281        281 0.00037823     0.00037823   0.10628266   0   0.000659562   0.1069422


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                                                ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                                                    Andrew Dice Clay   14    historical   78855423     6          6 0.00037823     0.00037823   0.00226938   0     0.0000141   0.0022835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                            GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                                                George Carlin      174   historical   80657399    27         27 0.00037823     0.00037823   0.01021221   0     0.0000634   0.0102756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6003   MY CUM                                                                      ANDREW DICE CLAY   128623771   100   22719864   USA2P0862626    My Cum                                                                          Andrew Dice Clay   89    historical   79185514     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   37436675   QMFME1556405 Drugs                                                                              George Carlin      263   historical   79992576    27         27 0.00037823     0.00037823   0.01021221   0     0.0000634   0.0102756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4O   FOR NAMES' SAKE                                                             GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                                    George Carlin      419   historical   79964867   234      327.6   0.00037823   0.00037823   0.12390818   0   0.000768941   0.1246771


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IDV   SHAKIN' HANDS                                                               ANDREW DICE CLAY   128623771   100   20872378   USSM19000300    Shakin' Hands                                                                   Andrew Dice Clay   29    historical   78817075    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68GQ MIDGETS 2000                                                                  ANDREW DICE CLAY   128623771   100   22719850   USA2P0862612    Midgets 2000                                                                    Andrew Dice Clay   319   historical   79185500    10         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                           ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                                               Andrew Dice Clay   90    historical   78817090    19         19 0.00037823     0.00037823   0.00718637   0     0.0000446    0.007231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9PWP SONGS                                                                         ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                                           Andrew Dice Clay   468   historical   78855450    27       43.2   0.00037823   0.00037823   0.01633954   0   0.000101399   0.0164409


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83HB   SID/IN TOILET                                                               ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                                                   Andrew Dice Clay   151   historical   79185522     1          1 0.00037823     0.00037823   0.00037823   0    0.00000235   0.0003806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                         GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                                                George Carlin      158   historical   79992597    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HSO WIFE TELLS ALL                                                                ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                                                  Andrew Dice Clay   114   historical   78855442    18         18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   20778740   USSM18900281    First Kiss (Live At Dangerfield's/1989)                                         Andrew Dice Clay   131   historical   78792644    16         16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                             GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                                            George Carlin      295   historical   79974750    24         24 0.00037823     0.00037823   0.00907752   0     0.0000563   0.0091339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   36915359   QMFME1556367 Just Enough Bullshit                                                               George Carlin      93    historical   79964195   127        127 0.00037823     0.00037823   0.04803522   0   0.000298094   0.0483333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                           ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                                               Andrew Dice Clay   231   historical   78817078    44         44 0.00037823     0.00037823   0.01664212   0   0.000103277   0.0167454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                           GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                                             George Carlin      351   historical   80469222    71       85.2   0.00037823   0.00037823   0.03222521   0   0.000199981   0.0324252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                                 GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                                     George Carlin      391   historical   80657413    12       16.8   0.00037823   0.00037823   0.00635427   0     0.0000394   0.0063937


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                   GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                             George Carlin      99    historical   79989119   273        273 0.00037823     0.00037823   0.10325682   0   0.000640784   0.1038976


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WLC WOMAN'S WORLD                                                                 ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                                   Andrew Dice Clay   32    historical   78817088    41         41 0.00037823     0.00037823   0.01550743   0   0.000096235   0.0156037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical   77969971    24       28.8   0.00037823   0.00037823   0.01089303   0     0.0000676   0.0109606


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                        George Carlin      165   historical   79812517     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                                      George Carlin      54    historical   79812498    36         36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical   77969935    25         25 0.00037823     0.00037823   0.00945575   0     0.0000587   0.0095144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   79812541    20         20 0.00037823     0.00037823    0.0075646   0     0.0000469   0.0076115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                    Opening / Old Fuck                                                              George Carlin      315   historical   80565855   915       1098 0.00037823     0.00037823   0.41529665   0   0.002577219   0.4178739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                                  George Carlin      118   historical   77969951     2          2 0.00037823     0.00037823   0.00075646   0    0.00000469   0.0007612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical   77969961    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   77969933     7        9.8   0.00037823   0.00037823   0.00370666   0      0.000023   0.0037297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                                    George Carlin      200   historical   79812511    39         39 0.00037823     0.00037823   0.01475097   0     0.0000915   0.0148425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   80565861   443        443 0.00037823     0.00037823   0.16755593   0   0.001039807   0.1685957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                                     George Carlin      183   historical   79812525    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical   77969959    81      129.6   0.00037823   0.00037823   0.04901862   0   0.000304196   0.0493228


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   79812516    84      151.2   0.00037823   0.00037823   0.05718839   0   0.000354896   0.0575433


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   77969963     8       11.2   0.00037823   0.00037823   0.00423618   0     0.0000263   0.0042625


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   77969958    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9DSB   RITA'S AS* FUNNEL                                                           ANDREW DICE CLAY   128623771   100   22719868   USA2P0862630    Rita's As* Funnel                                                               Andrew Dice Clay   101   historical   79185518     4          4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64FH   BLACK CHICKS                                                                ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                                    Andrew Dice Clay   41    historical   78817086    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                                    George Carlin      192   historical   79964189   177        177 0.00037823     0.00037823   0.06694673   0   0.000415453   0.0673622


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32NG   DICE STOPS FOR GAS                                                          ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                                      Andrew Dice Clay   149   historical   78840399    43         43 0.00037823     0.00037823   0.01626389   0   0.000100929   0.0163648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                               ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)                           Andrew Dice Clay   173   historical   78840395    53         53 0.00037823     0.00037823    0.0200462   0   0.000124401   0.0201706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BFT   NO POEMS                                                                    ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                                        Andrew Dice Clay   180   historical   78855453    25         25 0.00037823     0.00037823   0.00945575   0     0.0000587   0.0095144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O42 WHAT IF THE CHICK GETS PREGNANT....                                           ANDREW DICE CLAY   128623771   100   20746954   USSM18900263    What If The Chick Gets Pregnant...                                              Andrew Dice Clay   99    historical   78784565    34         34 0.00037823     0.00037823   0.01285982   0     0.0000798   0.0129396


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                         ANDREW DICE CLAY   128623771   100   20966175   USSM19100215    Dice Greeting Cards (Live At Govenors/1991)                                     Andrew Dice Clay   43    historical   78840422    18         18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   20778753   USSM18900293    1990 (Live At Dangerfield's/1989)                                               Andrew Dice Clay   132   historical   78792657     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0BEW   THE OSMONDS                                                                 ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                                        Andrew Dice Clay   264   historical   78792668     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LGA   CRITICS                                                                     ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                                         Andrew Dice Clay   202   historical   78855432    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                           ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                                               Andrew Dice Clay   462   historical   79185495    50         80 0.00037823     0.00037823   0.03025841   0   0.000187776   0.0304462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                    ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                                        Andrew Dice Clay   227   historical   79185510    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)                  GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001                                 George Carlin      518   historical   79974751    40         72 0.00037823     0.00037823   0.02723257   0   0.000168998   0.0274016


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32E6   DR. DICE                                                                    ANDREW DICE CLAY   128623771   100   21026292   USSM19303059    Dr. Dice                                                                        Andrew Dice Clay   20    historical   78855437     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A2K   THE BAIT                                                                    ANDREW DICE CLAY   128623771   100   20746968   USSM18900277    The Bait                                                                        Andrew Dice Clay   151   historical   78784579    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6CXX   DAYTIME TELEVISION                                                          GEORGE CARLIN      473337545   100   45268812   USRC10503015    Daytime Television                                                              George Carlin      577   historical   80469224    36         72 0.00037823     0.00037823   0.02723257   0   0.000168998   0.0274016


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                             ANDREW DICE CLAY   128623771   100   20746967   USSM18900276    Joey                                                                            Andrew Dice Clay   127   historical   78784578    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                      GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                                               George Carlin      486   historical   79965063    96      172.8   0.00037823   0.00037823   0.06535816   0   0.000405595   0.0657638
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 75 of 86 Page ID
                                                                                                                                                                                                                                              #:4528
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                               Andrew Dice Clay   70    historical   78817072     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                Andrew Dice Clay   232   historical   78855443    23        23 0.00037823     0.00037823   0.00869929   0      0.000054   0.0087533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DA   DOUBLE DATE                                                              ANDREW DICE CLAY   128623771   100   20778780   USSM18900316    Double Date (Live at Dangerfield's/1989)                Andrew Dice Clay   145   historical   78792682     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z35   TURN‐ON WORDS                                                            ANDREW DICE CLAY   128623771   100   20778768   USSM18900304    Turn‐On Words (Live at Dangerfield's/1989)              Andrew Dice Clay   34    historical   78792670     9         9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                             Andrew Dice Clay   28    historical   78817085    12        12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                        Andrew Dice Clay   419   historical   79185513    30        42 0.00037823     0.00037823   0.01588566   0     0.0000986   0.0159842


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8M   PEOPLE REFUSE TO BE REALISTIC                                            GEORGE CARLIN      473337545   100   36915344   QMFME1556352 People Refuse to Be Realistic                              George Carlin      70    historical   79964180   159       159 0.00037823     0.00037823   0.06013859   0   0.000373204   0.0605118


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                        GEORGE CARLIN      473337545   100   52042526   US4LA0703708    Childhood Cliches                                       George Carlin      244   historical   80663063    20        20 0.00037823     0.00037823    0.0075646   0     0.0000469   0.0076115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IOQ   SPEEDIN'                                                                 ANDREW DICE CLAY   128623771   100   20746963   USSM18900272    Speedin'                                                Andrew Dice Clay   86    historical   78784574    11        11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                              GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                George Carlin      177   historical   79963886   119       119 0.00037823     0.00037823   0.04500938   0   0.000279316   0.0452887


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                      George Carlin      61    historical   79964866    83        83 0.00037823     0.00037823    0.0313931   0   0.000194817   0.0315879


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)            Andrew Dice Clay   189   historical   78840418    74        74 0.00037823     0.00037823   0.02798903   0   0.000173692   0.0281627


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                           ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                        Andrew Dice Clay   239   historical   79185502     8         8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MJA   A FEW MORE FARTS                                                         GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                        George Carlin      355   historical   80657401   101     121.2   0.00037823   0.00037823   0.04584149   0    0.00028448    0.046126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2C4C   PARENTS IN HELL                                                          GEORGE CARLIN      473337545   100   36915343   QMFME1556351 Parents in Hell                                            George Carlin      68    historical   79964179   169       169 0.00037823     0.00037823   0.06392089   0   0.000396676   0.0643176


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)      Andrew Dice Clay   60    historical   78840380    80        80 0.00037823     0.00037823   0.03025841   0   0.000187776   0.0304462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3B   FEMALE ANATOMY                                                           ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)             Andrew Dice Clay   222   historical   78792652     6         6 0.00037823     0.00037823   0.00226938   0     0.0000141   0.0022835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                           George Carlin      229   historical   79989298   265       265 0.00037823     0.00037823   0.10023098   0   0.000622007    0.100853


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                         George Carlin      127   historical   79992595     8         8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0PNQ   THE NOTES                                                                ANDREW DICE CLAY   128623771   100   21026284   USSM19303051    The Notes                                               Andrew Dice Clay   48    historical   78855429    16        16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)               Andrew Dice Clay   99    historical   78817060    18        18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                 George Carlin      206   historical   80657416    26        26 0.00037823     0.00037823   0.00983398   0      0.000061    0.009895


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3ECC   PHONE SEX                                                                ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                               Andrew Dice Clay   139   historical   78817056    38        38 0.00037823     0.00037823   0.01437274   0     0.0000892   0.0144619


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O39 WHAT DID SHE SAY?                                                          ANDREW DICE CLAY   128623771   100   20778779   USSM18900315    What Did She Say? (Live at Dangerfield's/1989)          Andrew Dice Clay   75    historical   78792681    10        10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                   Andrew Dice Clay   65    historical   78855444    17        17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                         George Carlin      426   historical   80663061   266     425.6   0.00037823   0.00037823   0.16097473   0   0.000998966   0.1619737


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93MB   THE NEWS                                                                 ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                Andrew Dice Clay   48    historical   78817084    18        18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                 Andrew Dice Clay   195   historical   78855447    18        18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                Andrew Dice Clay   304   historical   79185524     8       9.6   0.00037823   0.00037823   0.00363101   0     0.0000225   0.0036535


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                            George Carlin      269   historical   80657415    29        29 0.00037823     0.00037823   0.01096867   0     0.0000681   0.0110367


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                          George Carlin      316   historical   80650168     1       1.2   0.00037823   0.00037823   0.00045388   0    0.00000282   0.0004567


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QU1   IN A COMA                                                                GEORGE CARLIN      473337545   100   36915356   QMFME1556364 In a Coma                                                  George Carlin      49    historical   79964192   127       127 0.00037823     0.00037823   0.04803522   0   0.000298094   0.0483333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                        George Carlin      430   historical   79992582    22      35.2   0.00037823   0.00037823    0.0133137   0     0.0000826   0.0133963


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                  Andrew Dice Clay   200   historical   78784581    50        50 0.00037823     0.00037823   0.01891151   0    0.00011736   0.0190289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   37436696   QMFME1556598 White Harlem                                               George Carlin      285   historical   79992594     9         9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9INM   SOMETHING SOFT                                                           ANDREW DICE CLAY   128623771   100   20778785   USSM18900321    Something Soft (Live at Dangerfield's/1989)             Andrew Dice Clay   284   historical   78792687     6         6 0.00037823     0.00037823   0.00226938   0     0.0000141   0.0022835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB188G   HOME OR OFFICE, YOU DECIDE                                               ANDREW DICE CLAY   128623771   100   22719861   USA2P0862623    Home Or Office, You Decide                              Andrew Dice Clay   44    historical   79185511     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XG9   THE CONFESSIONAL                                                         GEORGE CARLIN      473337545   100   37436686   QMFME1556591 The Confessional                                           George Carlin      252   historical   79992587    43        43 0.00037823     0.00037823   0.01626389   0   0.000100929   0.0163648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                 Andrew Dice Clay   37    historical   78817083    23        23 0.00037823     0.00037823   0.00869929   0      0.000054   0.0087533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                       George Carlin      275   historical   79963890   222       222 0.00037823     0.00037823   0.08396708   0   0.000521077   0.0844882


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9IEH   SID/ALL BOUND UP                                                         ANDREW DICE CLAY   128623771   100   22719854   USA2P0862616    Sid/All Bound Up                                        Andrew Dice Clay   16    historical   79185504     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAS A COUPLE OF OTHER QUESTIONS                                                GEORGE CARLIN      473337545   100   36915346   QMFME1556354 A Couple of Other Questions                                George Carlin      64    historical   79964182   146       146 0.00037823     0.00037823    0.0552216   0    0.00034269   0.0555643


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4TZA   LAUGHTER VS. COMEDY                                                      ANDREW DICE CLAY   128623771   100   20778756   USSM18900296    Laughter Vs. Comedy (Live At Dangerfield's/1989)        Andrew Dice Clay   67    historical   78792660     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                 Andrew Dice Clay   126   historical   78840403    39        39 0.00037823     0.00037823   0.01475097   0     0.0000915   0.0148425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                              George Carlin      155   historical   79965061   109       109 0.00037823     0.00037823   0.04122708   0   0.000255844   0.0414829


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                    Andrew Dice Clay   41    historical   78817061    32        32 0.00037823     0.00037823   0.01210336   0     0.0000751   0.0121785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)          Andrew Dice Clay   63    historical   78840416    28        28 0.00037823     0.00037823   0.01059044   0     0.0000657   0.0106562


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9V47   THE DRIVEWAY                                                             ANDREW DICE CLAY   128623771   100   20872370   USSM19000294    The Driveway                                            Andrew Dice Clay   19    historical   78817066    13        13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                               Andrew Dice Clay   108   historical   78817074    23        23 0.00037823     0.00037823   0.00869929   0      0.000054   0.0087533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MM6 SIXTH ANNOUNCEMENTS                                                        GEORGE CARLIN      473337545   100   36929048   QMFME1556578 Sixth Announcements                                        George Carlin      65    historical   79965072    25        25 0.00037823     0.00037823   0.00945575   0     0.0000587   0.0095144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)               Andrew Dice Clay   98    historical   78840388    43        43 0.00037823     0.00037823   0.01626389   0   0.000100929   0.0163648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NLB   DICE ON READING MATERIAL                                                 ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)        Andrew Dice Clay   67    historical   78840401    41        41 0.00037823     0.00037823   0.01550743   0   0.000096235   0.0156037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B5O   KIDS                                                                     ANDREW DICE CLAY   128623771   100   20778750   USSM18900291    Kids (Live At Dangerfield's/1989)                       Andrew Dice Clay   118   historical   78792654     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                            Andrew Dice Clay   207   historical   78784566    41        41 0.00037823     0.00037823   0.01550743   0   0.000096235   0.0156037


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YSF   RAISIN RHETORIC                                                          GEORGE CARLIN      473337545   100   37436707   QMFME1556605 Raisin Rhetoric                                            George Carlin      126   historical   79992602    18        18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                      Andrew Dice Clay   108   historical   78855448    12        12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)        Andrew Dice Clay   98    historical   78840421    26        26 0.00037823     0.00037823   0.00983398   0      0.000061    0.009895


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XAJ   SILENCE IS GOLDEN                                                        ANDREW DICE CLAY   128623771   100   20778783   USSM18900319    Silence Is Golden (Live at Dangerfield's/1989)          Andrew Dice Clay   16    historical   78792685     7         7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                          ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)            Andrew Dice Clay   209   historical   78792653     6         6 0.00037823     0.00037823   0.00226938   0     0.0000141   0.0022835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297    1989‐ A Review                                          Andrew Dice Clay   368   historical   78817071    76     106.4   0.00037823   0.00037823   0.04024368   0   0.000249742   0.0404934


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)            Andrew Dice Clay   73    historical   78840419   120       120 0.00037823     0.00037823   0.04538761   0   0.000281663   0.0456693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                       George Carlin      235   historical   79964416   195       195 0.00037823     0.00037823   0.07375487   0   0.000457703   0.0742126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   36915352   QMFME1556360 I Like People                                              George Carlin      51    historical   79964188   138       138 0.00037823     0.00037823   0.05219575   0   0.000323913   0.0525197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                    Andrew Dice Clay   79    historical   78855438    17        17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2KA1   PROUD TO BE AN AMERICAN                                                  GEORGE CARLIN      473337545   100   36915361   QMFME1556369 Proud to Be an American                                    George Carlin      107   historical   79964197   224       224 0.00037823     0.00037823   0.08472354   0   0.000525772   0.0852493


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   OC23QW OCCUPATION: FOOLE                                                          GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                          George Carlin      222   historical   79992593    12        12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB9LIT   CIGARETTES                                                               ANDREW DICE CLAY   128623771   100   20778774   USSM18900310    Cigarettes (Live at Dangerfield's/1989)                 Andrew Dice Clay   136   historical   78792676     9         9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OK5   CONCAVE                                                                  ANDREW DICE CLAY   128623771   100   20778764   USSM18900300    Concave (Live At Dangerfield's/1989)                    Andrew Dice Clay   67    historical   78792666     8         8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                         Andrew Dice Clay   72    historical   78817076    26        26 0.00037823     0.00037823   0.00983398   0      0.000061    0.009895


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                               George Carlin      153   historical   79964190   151       151 0.00037823     0.00037823   0.05711275   0   0.000354426   0.0574672


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32LP   DICE DOES IT LIKE DIS                                                    ANDREW DICE CLAY   128623771   100   20966173   USSM19100213    Dice Does It Like Dis (Live At Govenors/1991)           Andrew Dice Clay   59    historical   78840420    15        15 0.00037823     0.00037823   0.00567345   0     0.0000352   0.0057087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8YRZ   CHILDREN ARE OUR FUTURE                                                  GEORGE CARLIN      473337545   100   36915350   QMFME1556358 Children Are Our Future                                    George Carlin      39    historical   79964186   145       145 0.00037823     0.00037823   0.05484337   0   0.000340343   0.0551837


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB1M8S   AUTOMATIC PILOT                                                          ANDREW DICE CLAY   128623771   100   20778771   USSM18900307    Automatic Pilot (Live at Dangerfield's/1989)            Andrew Dice Clay   106   historical   78792673     8         8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                    Andrew Dice Clay   178   historical   78855441    17        17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                              Andrew Dice Clay   126   historical   78855436    15        15 0.00037823     0.00037823   0.00567345   0     0.0000352   0.0057087


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                          ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609    K2Y‐China Diner                                         Andrew Dice Clay   157   historical   79185497     9         9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                 GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo   George Carlin      221   historical   79992588    44        44 0.00037823     0.00037823   0.01664212   0   0.000103277   0.0167454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                          George Carlin      255   historical   80657393   282       282 0.00037823     0.00037823   0.10666089   0   0.000661909   0.1073228


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DMH EVERY CHILD IS SPECIAL                                                     GEORGE CARLIN      473337545   100   36915349   QMFME1556357 Every Child Is Special                                     George Carlin      102   historical   79964185   157       157 0.00037823     0.00037823   0.05938213   0    0.00036851   0.0597506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)    Robin Williams     324   historical   79049422   6887   8264.4   0.00037823   0.00037823   3.12584484   0   0.019398153    3.145243


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                                                     ANDREW DICE CLAY   128623771   100   22719858   USA2P0862620    The Honeymoon's Over                                    Andrew Dice Clay   55    historical   79185508    10        10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                 George Carlin      112   historical   79964872    44        44 0.00037823     0.00037823   0.01664212   0   0.000103277   0.0167454


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6BB6   NEVER MARRY HER                                                          ANDREW DICE CLAY   128623771   100   22719855   USA2P0862617    Never Marry Her                                         Andrew Dice Clay   81    historical   79185505     8         8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446
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                                                                                                                                                                                                                                              #:4529
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB184Q   HOT MAMA                                                                 ANDREW DICE CLAY   128623771   100   20778767   USSM18900303     Hot Mama (Live at Dangerfield's/1989)                              Andrew Dice Clay   138   historical   78792669     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                 Robin Williams     646   historical   79049426   7033   15472.6   0.00037823   0.00037823   5.85220305   0   0.036317199   5.8885202


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FYB   HOLIDAY SEASON                                                           ANDREW DICE CLAY   128623771   100   20778741   USSM18900282     Holiday Season (Live At Dangerfield's/1989)                        Andrew Dice Clay   111   historical   78792645     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                           Andrew Dice Clay   114   historical   78855433    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                          Andrew Dice Clay   199   historical   78792675     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   37436683   QMFME1556413 Wasted Time ‐ Sharing a Swallow                                        George Carlin      147   historical   79992584    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DZ   BAMBI                                                                    ANDREW DICE CLAY   128623771   100   20872380   USSM19000302     Bambi                                                              Andrew Dice Clay   162   historical   78817077    28         28 0.00037823     0.00037823   0.01059044   0     0.0000657   0.0106562


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8Z4Y   TALK TO 'EM                                                              ANDREW DICE CLAY   128623771   100   21026300   USSM19303067     Talk To 'Em                                                        Andrew Dice Clay   32    historical   78855445     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074     Greeting Cards                                                     Andrew Dice Clay   107   historical   78855452    16         16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292     Double Parking                                                     Andrew Dice Clay   29    historical   78817064    17         17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NM6 DICE AND TRUCKDRIVERS                                                      ANDREW DICE CLAY   128623771   100   20966165   USSM19100205     Dice And Truckdrivers (Live At Govenors/1991)                      Andrew Dice Clay   23    historical   78840412    17         17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280     No Guilt                                                           Andrew Dice Clay   174   historical   78784582    38         38 0.00037823     0.00037823   0.01437274   0     0.0000892   0.0144619


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Q1 MULTIPLE SCLEROSIS                                                         ANDREW DICE CLAY   128623771   100   20778781   USSM18900317     Multiple Sclerosis (Live at Dangerfield's/1989)                    Andrew Dice Clay   26    historical   78792683     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                            George Carlin      286   historical   79969825    71         71 0.00037823     0.00037823   0.02685434   0   0.000166651    0.027021


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068     Chinks                                                             Andrew Dice Clay   167   historical   78855446    24         24 0.00037823     0.00037823   0.00907752   0     0.0000563   0.0091339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635     Club 33                                                            Andrew Dice Clay   190   historical   79185523     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC64VL   JERRY HAMZA INTERVIEW (BONUS)                                            GEORGE CARLIN      473337545   100   37085047   QMFMF1553620 Jerry Hamza Interview                                                  George Carlin      477   historical   79974749    30         48 0.00037823     0.00037823   0.01815505   0   0.000112665   0.0182677


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                              ANDREW DICE CLAY   128623771   100   20778752   USSM18900292     Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)         Andrew Dice Clay   169   historical   78792656    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93N6   TRUE STORIES                                                             ANDREW DICE CLAY   128623771   100   20778770   USSM18900306     True Stories (Live at Dangerfield's/1989)                          Andrew Dice Clay   41    historical   78792672     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                   ANDREW DICE CLAY   128623771   100   20966143   USSM19100193     Dice Just Says No Leno (Live At Govenors/1991)                     Andrew Dice Clay   108   historical   78840390    39         39 0.00037823     0.00037823   0.01475097   0     0.0000915   0.0148425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                      George Carlin      310   historical   79992601    10         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   37366495   QMFME1556290 Abortion                                                               George Carlin      521   historical   79989297    96      172.8   0.00037823   0.00037823   0.06535816   0   0.000405595   0.0657638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20778782   USSM18900318     How Are Ya? (Live at Dangerfield's/1989)                           Andrew Dice Clay   50    historical   78792684     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                             Andrew Dice Clay   145   historical   78840413    37         37 0.00037823     0.00037823   0.01399451   0     0.0000868   0.0140814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB22A9   A DAY AT THE BEACH                                                       ANDREW DICE CLAY   128623771   100   20746956   USSM18900265     A Day At The Beach                                                 Andrew Dice Clay   158   historical   78784567    21         21 0.00037823     0.00037823   0.00794283   0     0.0000493   0.0079921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB633X   BACHELORETTE PARTY                                                       ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                                 Andrew Dice Clay   255   historical   78855440    36         36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7DX0   HEAVY MYSTERIES                                                          GEORGE CARLIN      473337545   100   37436688   QMFME1556593 Heavy Mysteries                                                        George Carlin      119   historical   79992589    14         14 0.00037823     0.00037823   0.00529522   0     0.0000329   0.0053281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20778772   USSM18900308     Dogs & Birds (Live at Dangerfield's/1989)                          Andrew Dice Clay   168   historical   78792674     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049     Gas (Feminine)                                                     Andrew Dice Clay   187   historical   78855427    35         35 0.00037823     0.00037823   0.01323805   0     0.0000822   0.0133202


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601     Shoot                                                              George Carlin      355   historical   80657407   275        330 0.00037823     0.00037823   0.12481593   0   0.000774574   0.1255905


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UUA   ACTION                                                                   ANDREW DICE CLAY   128623771   100   20872382   USSM19000304     Action                                                             Andrew Dice Clay   21    historical   78817079    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA68B4   MY FIRST CONCERT                                                         ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                                   Andrew Dice Clay   129   historical   78855434    24         24 0.00037823     0.00037823   0.00907752   0     0.0000563   0.0091339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MP1 A VIBRANT BEAUTIFUL WOMAN                                                  ANDREW DICE CLAY   128623771   100   20872402   USSM19000312     A Vibrant Beautiful Woman                                          Andrew Dice Clay   35    historical   78817087    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U6E   DICE VS. PEEWEE                                                          ANDREW DICE CLAY   128623771   100   20966168   USSM19100208     Dice Vs. PeeWee (Live At Govenors/1991)                            Andrew Dice Clay   30    historical   78840415    16         16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH     GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   79963882    34      115.6   0.00037823   0.00037823    0.0437234   0   0.000271336   0.0439947


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9INX   FISH TANK                                                                ANDREW DICE CLAY   128623771   100   22719866   USA2P0862628     Fish Tank                                                          Andrew Dice Clay   28    historical   79185516     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32BR   DOCTORS AND NURSES                                                       ANDREW DICE CLAY   128623771   100   20746958   USSM18900267     Doctors And Nurses                                                 Andrew Dice Clay   97    historical   78784569    18         18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                              George Carlin      389   historical   79965069    63       88.2   0.00037823   0.00037823    0.0333599   0   0.000207023   0.0335669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295     The Grocery Store                                                  Andrew Dice Clay   32    historical   78817068    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   78840393    30         30 0.00037823     0.00037823    0.0113469   0     0.0000704   0.0114173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P2H   FAT AS* HOUSE MIX                                                        ANDREW DICE CLAY   128623771   100   22719871   USA2P0862633     Fat As* House Mix                                                  Andrew Dice Clay   146   historical   79185521     1          1 0.00037823     0.00037823   0.00037823   0    0.00000235   0.0003806


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014     Commercials                                                        George Carlin      500   historical   80469223    53       95.4   0.00037823   0.00037823   0.03608315   0   0.000223922   0.0363071


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YLG   RAISIN' A CHILD IS NOT DIFFICULT                                         GEORGE CARLIN      473337545   100   36915351   QMFME1556359 Raisin' a Child Is Not Difficult                                       George Carlin      42    historical   79964187   150        150 0.00037823     0.00037823   0.05673452   0   0.000352079   0.0570866


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                     George Carlin      189   historical   79968396   167        167 0.00037823     0.00037823   0.06316443   0   0.000391981   0.0635564


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                                    George Carlin      86    historical   79965066    50         50 0.00037823     0.00037823   0.01891151   0    0.00011736   0.0190289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210     Dice Gets Creative In Bed (Live At Govenors/1991)                  Andrew Dice Clay   307   historical   78840417    72       86.4   0.00037823   0.00037823   0.03267908   0   0.000202798   0.0328819


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NMP DICE THE ADVOCATE                                                          ANDREW DICE CLAY   128623771   100   20966150   USSM19100196     Dice The Advocate (Live At Govenors/1991)                          Andrew Dice Clay   154   historical   78840397    39         39 0.00037823     0.00037823   0.01475097   0     0.0000915   0.0148425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084     Arnold, The Economy, And Alternative Fuels (Explicit Audio)        Robin Williams     359   historical   79049423   7460      8952 0.00037823     0.00037823   3.38591586   0   0.021012083   3.4069279


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32J1   DON'T MOVE                                                               ANDREW DICE CLAY   128623771   100   20872367   USSM19000291     Don't Move                                                         Andrew Dice Clay   65    historical   78817063    43         43 0.00037823     0.00037823   0.01626389   0   0.000100929   0.0163648


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                     George Carlin      157   historical   79965064    52         52 0.00037823     0.00037823   0.01966797   0   0.000122054     0.01979


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IMN   FROZEN FOOD                                                              ANDREW DICE CLAY   128623771   100   20778765   USSM18900301     Frozen Food (Live At Dangerfield's/1989)                           Andrew Dice Clay   69    historical   78792667     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA4T4V   LET YOURSELF GO*                                                         ANDREW DICE CLAY   128623771   100   20966177   USSM19100217     Let Yourself Go (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   78840424    13         13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   37436677   QMFME1556407 Son of Wino                                                            George Carlin      391   historical   79992578    19       26.6   0.00037823   0.00037823   0.01006092   0     0.0000624   0.0101234


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915355   QMFME1556363 What a Phone Call Should Be                                            George Carlin      54    historical   79964191   163        163 0.00037823     0.00037823   0.06165151   0   0.000382593   0.0620341


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83EH   FOURTH ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929042   QMFME1556574 Fourth Announcements                                                   George Carlin      53    historical   79965068    24         24 0.00037823     0.00037823   0.00907752   0     0.0000563   0.0091339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                         GEORGE CARLIN      473337545   100   3446740                     Secretary Of Being In The Closet                                   George Carlin      164   historical   79812505     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5N3Z   UGLY SINGERS                                                             GEORGE CARLIN      473337545   100   3446739                     Ugly Singers                                                       George Carlin      121   historical   79812502    18         18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                               GEORGE CARLIN      473337545   100   11005099                    More Redundant Expressions                                         George Carlin      46    historical   77969967     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                          GEORGE CARLIN      473337545   100   3446719                     Greatest Thing Since Sliced Bread                                  George Carlin      221   historical   79812480    14         14 0.00037823     0.00037823   0.00529522   0     0.0000329   0.0053281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                        GEORGE CARLIN      473337545   100   11005062                    Appropriate Names                                                  George Carlin      157   historical   77969939    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                    GEORGE CARLIN      473337545   100   11005072                    Mental Brain Thoughts                                              George Carlin      228   historical   77969946    36         36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                         GEORGE CARLIN      473337545   100   11005066                    It's Your Body‐Fearless Fashions                                   George Carlin      484   historical   77969942     6       10.8   0.00037823   0.00037823   0.00408489   0     0.0000253   0.0041102


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8ICJ   THE NEW ZODIAC                                                           GEORGE CARLIN      473337545   100   11005075                    The New Zodiac                                                     George Carlin      74    historical   77969947     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                    GEORGE CARLIN      473337545   100   3446752                     Bumper Sticker                                                     George Carlin      173   historical   79812519     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005064                    # The George Carlin Book Club Offer No.1‐How To Titles             George Carlin      69    historical   77969941     2          2 0.00037823     0.00037823   0.00075646   0    0.00000469   0.0007612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                               GEORGE CARLIN      473337545   100   11005087                    First Time Human Sacrifice                                         George Carlin      743   historical   77969956    74      192.4   0.00037823   0.00037823   0.07277147   0     0.0004516   0.0732231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                         GEORGE CARLIN      473337545   100   3446744                     No Complaining About Politicians                                   George Carlin      183   historical   79812512    89         89 0.00037823     0.00037823   0.03366248   0     0.0002089   0.0338714


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610     Urinals Are 50 Percent Universal                                   George Carlin      147   historical   80657400    45         45 0.00037823     0.00037823   0.01702036   0   0.000105624    0.017126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   37436689   QMFME1556594 Muhammad Ali ‐ America The Beautiful                                   George Carlin      275   historical   79992590    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9P3N   FLAT AS*/FAT AS*                                                         ANDREW DICE CLAY   128623771   100   22719869   USA2P0862631     Flat As*/Fat As*                                                   Andrew Dice Clay   80    historical   79185519     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305     Rhyme Renditions (Live at Dangerfield's/1989)                      Andrew Dice Clay   231   historical   78792671     9          9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604     Some Werds                                                         George Carlin      477   historical   80657394   379      606.4   0.00037823   0.00037823   0.22935873   0   0.001423339   0.2307821


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602     Toledo Window Box                                                  George Carlin      296   historical   80657392   143        143 0.00037823     0.00037823    0.0540869   0   0.000335649   0.0544226


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                                     George Carlin      321   historical   79992575    26       31.2   0.00037823   0.00037823   0.01180078   0     0.0000732    0.011874


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200     Dice's Checklist (Live At Govenors/1991)                           Andrew Dice Clay   101   historical   78840405    28         28 0.00037823     0.00037823   0.01059044   0     0.0000657   0.0106562


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                                  George Carlin      355   historical   79992573    41       49.2   0.00037823   0.00037823   0.01860892   0   0.000115482   0.0187244


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                          ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical   78817069    60         60 0.00037823     0.00037823   0.02269381   0   0.000140832   0.0228346


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                     ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608     Sid And The Oriental                                               Andrew Dice Clay   197   historical   79185496    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                                ANDREW DICE CLAY   128623771   100   20778747   USSM18900288     Personal Delivery Service (Live At Dangerfield's/1989)             Andrew Dice Clay   232   historical   78792651     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                           George Carlin      85    historical   79992599     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                                     George Carlin      191   historical   79969830   108        108 0.00037823     0.00037823   0.04084885   0   0.000253497   0.0411023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FVX   MILK & SHAMPOO                                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                        Andrew Dice Clay   339   historical   78792659     7        8.4   0.00037823   0.00037823   0.00317713   0     0.0000197   0.0031968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TD8ZY2   THE GIFT                                                                 ANDREW DICE CLAY   128623771   100   20778745   USSM18900286     The Gift (Live At Dangerfield's/1989)                              Andrew Dice Clay   100   historical   78792649     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 77 of 86 Page ID
                                                                                                                                                                                                                                              #:4530
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3USN   DICE REWRITES HISTORY                       ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)         Andrew Dice Clay   135   historical   78840423    24         24 0.00037823     0.00037823   0.00907752   0     0.0000563   0.0091339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MB9 ABORTION                                      GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                 George Carlin      28    historical   79965065    61         61 0.00037823     0.00037823   0.02307204   0   0.000143179   0.0232152


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2U3K   APARTMENT LIFE                              ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                        Andrew Dice Clay   49    historical   78817092    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93XH   THERMOMETERS                                ANDREW DICE CLAY   128623771   100   21026279   USSM19303048    Thermometers                                          Andrew Dice Clay   14    historical   78855424    16         16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS               GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                            George Carlin      214   historical   79963825   305        305 0.00037823     0.00037823   0.11536018   0   0.000715894   0.1160761


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93LQ   TIS THE SEASON                              ANDREW DICE CLAY   128623771   100   21026277   USSM19303047    'Tis The Season                                       Andrew Dice Clay   23    historical   78855420     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6OVH   CLUB 33(REPRISE)                            ANDREW DICE CLAY   128623771   100   22719875   USA2P0862637    Club 33(Reprise)                                      Andrew Dice Clay   195   historical   79185525     3          3 0.00037823     0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9LAN   RICHARD SIMMONS                             ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                          Robin Williams     76    historical   78696450   184        184 0.00037823     0.00037823   0.06959434   0   0.000431884   0.0700262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72TA WELCOME TO MY JOB                             GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                        George Carlin      182   historical   79992592    13         13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH8WCG SHAMPOO                                       ANDREW DICE CLAY   128623771   100   20746966   USSM18900275    Shampoo                                               Andrew Dice Clay   48    historical   78784577    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                  ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)         Robin Williams     517   historical   79049421   4471    8047.8   0.00037823   0.00037823    3.0439202   0    0.01888975   3.0628099


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                        GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                     George Carlin      69    historical   79965062    34         34 0.00037823     0.00037823   0.01285982   0     0.0000798   0.0129396


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)        GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                 George Carlin      263   historical   80657411   136        136 0.00037823     0.00037823   0.05143929   0   0.000319218   0.0517585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8IBX   THEIR KIDS!                                 GEORGE CARLIN      473337545   100   36915357   QMFME1556365 Their Kids!                                              George Carlin      69    historical   79964193   144        144 0.00037823     0.00037823   0.05446513   0   0.000337996   0.0548031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC5V86   NEW YORK VOICES                             GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                          George Carlin      426   historical   79992598     7       11.2   0.00037823   0.00037823   0.00423618   0     0.0000263   0.0042625


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32A3   DICE ON REDHEADED MEN                       ANDREW DICE CLAY   128623771   100   20966162   USSM19100202    Dice On Redheaded Men (Live At Govenors/1991)         Andrew Dice Clay   42    historical   78840409    20         20 0.00037823     0.00037823    0.0075646   0     0.0000469   0.0076115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                          George Carlin      85    historical   80663062    69         69 0.00037823     0.00037823   0.02609788   0   0.000161956   0.0262598


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9SJZ   ROAD CALL                                   ANDREW DICE CLAY   128623771   100   22719859   USA2P0862621    Road Call                                             Andrew Dice Clay   82    historical   79185509     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6I3K   K2Y/WIFE                                    ANDREW DICE CLAY   128623771   100   22719853   USA2P0862615    K2Y/Wife                                              Andrew Dice Clay   47    historical   79185503     6          6 0.00037823     0.00037823   0.00226938   0     0.0000141   0.0022835


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA6KI2   DIVORCE GAME                                GEORGE CARLIN      473337545   100   37436678   QMFME1556408 Divorce Game                                             George Carlin      270   historical   79992579    21         21 0.00037823     0.00037823   0.00794283   0     0.0000493   0.0079921


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9IM0   FILTHY IN BED                               ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                         Andrew Dice Clay   99    historical   78817081    14         14 0.00037823     0.00037823   0.00529522   0     0.0000329   0.0053281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   EB1DNC   EARRINGS                                    GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                 George Carlin      328   historical   79964422   376      451.2   0.00037823   0.00037823   0.17065742   0   0.001059054   0.1717165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                       ANDREW DICE CLAY   128623771   100   20872383   USSM19000305    Debbie Duz Everything                                 Andrew Dice Clay   180   historical   78817080    37         37 0.00037823     0.00037823   0.01399451   0     0.0000868   0.0140814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IS2   THE URINAL                                  ANDREW DICE CLAY   128623771   100   20872374   USSM19000320    The Urinal                                            Andrew Dice Clay   13    historical   78817070    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D58   TIRED OF SONGS                              GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                           George Carlin      203   historical   79974746    59         59 0.00037823     0.00037823   0.02231558   0   0.000138485   0.0224541


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3UU5   DOGS & BIRDS                                ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                 Andrew Dice Clay   59    historical   78817055    23         23 0.00037823     0.00037823   0.00869929   0      0.000054   0.0087533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                    ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                              Andrew Dice Clay   33    historical   78817057    56         56 0.00037823     0.00037823   0.02118089   0   0.000131443   0.0213123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   LA316U   LET'S MAKE A DEAL                           GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                     George Carlin      288   historical   80657417   198        198 0.00037823     0.00037823   0.07488956   0   0.000464745   0.0753543


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                              GEORGE CARLIN      473337545   100   37436673   QMFME1556403 The Hair Piece                                           George Carlin      173   historical   79992574    66         66 0.00037823     0.00037823   0.02496319   0   0.000154915   0.0251181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA678N MASTURBATION                                  ANDREW DICE CLAY   128623771   100   20746969   USSM18900278    Masturbation                                          Andrew Dice Clay   91    historical   78784580    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MAR A MOMENT OF SILENCE                           GEORGE CARLIN      473337545   100   36991646   QMFME1556276 A Moment of Silence                                      George Carlin      49    historical   79968393    46         46 0.00037823     0.00037823   0.01739859   0   0.000107971   0.0175066


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   JC7JHM   JERKIN' OFF                                 ANDREW DICE CLAY   128623771   100   20778754   USSM18900294    Jerkin' Off (Live At Dangerfield's/1989)              Andrew Dice Clay   79    historical   78792658     9          9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA8YUB   RATS AND SQUEALERS                          GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                       George Carlin      418   historical   79974743    69       96.6   0.00037823   0.00037823   0.03653703   0   0.000226739   0.0367638


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9XEJ   SUBWAY TRAVEL                               ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                         Andrew Dice Clay   60    historical   78817067    17         17 0.00037823     0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8D9B   THE FIRST ENEMA                             GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                          George Carlin      326   historical   79974747    51       61.2   0.00037823   0.00037823   0.02314768   0   0.000143648   0.0232913


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FV1   HOUR BACK...GET IT?                         ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)      Andrew Dice Clay   400   historical   78792686     7        9.8   0.00037823   0.00037823   0.00370666   0      0.000023   0.0037297


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                          ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                    Andrew Dice Clay   50    historical   78817089    16         16 0.00037823     0.00037823   0.00605168   0     0.0000376   0.0060892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WH    WHAT'LL IT BE                               ANDREW DICE CLAY   128623771   100   20778758   USSM18900298    What'll It Be (Live At Dangerfield's/1989)            Andrew Dice Clay   136   historical   78792662     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2M1L   A HISTORY LESSON                            ANDREW DICE CLAY   128623771   100   20778775   USSM18900311    A History Lesson (Live at Dangerfield's/1989)         Andrew Dice Clay   119   historical   78792677     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB64DI   BAD PRESS                                   ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                             Andrew Dice Clay   70    historical   78817073    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U31   DICE ON DISASTERS                           ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)             Andrew Dice Clay   111   historical   78840385    42         42 0.00037823     0.00037823   0.01588566   0     0.0000986   0.0159842


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54I2   BI‐LABIAL FRICATIVE (CLASS CLOWN TRACK 1)   GEORGE CARLIN      473337545   100   36926280   QMFME1556679 Track 1                                                  George Carlin      261   historical   79964861    37         37 0.00037823     0.00037823   0.01399451   0     0.0000868   0.0140814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04RS   GAY LIB                                     GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                               George Carlin      126   historical   80657398    39         39 0.00037823     0.00037823   0.01475097   0     0.0000915   0.0148425


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA1JNM GROCERY‐PART 2                                ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629    Grocery‐Part 2                                        Andrew Dice Clay   82    historical   79185517     5          5 0.00037823     0.00037823   0.00189115   0   0.000011736   0.0019029


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                     ANDREW DICE CLAY   128623771   100   20746959   USSM18900268    Smokin'                                               Andrew Dice Clay   131   historical   78784570    14         14 0.00037823     0.00037823   0.00529522   0     0.0000329   0.0053281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD8V69   FIRST ANNOUNCEMENTS                         GEORGE CARLIN      473337545   100   36929029   QMFME1556565 First Announcements                                      George Carlin      94    historical   79965058    33         33 0.00037823     0.00037823   0.01248159   0     0.0000775   0.0125591


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)             ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                       Andrew Dice Clay   135   historical   78817065    22         22 0.00037823     0.00037823   0.00832106   0     0.0000516   0.0083727


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3U71   DICE GOES TO THE MALL                       ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)         Andrew Dice Clay   215   historical   78840377    69         69 0.00037823     0.00037823   0.02609788   0   0.000161956   0.0262598


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                     ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                 Robin Williams     337   historical   78696448   494      592.8   0.00037823   0.00037823    0.2242148   0   0.001391417   0.2256062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8R5L   THE NEWSCAST                                GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                          George Carlin      456   historical   80469225    26       41.6   0.00037823   0.00037823   0.01573437   0     0.0000976    0.015832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93UW TEXAS                                         ANDREW DICE CLAY   128623771   100   20778743   USSM18900284    Texas (Live At Dangerfield's/1989)                    Andrew Dice Clay   185   historical   78792647     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2K6O   YA HEAR?                                    ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                              Andrew Dice Clay   54    historical   78817091    10         10 0.00037823     0.00037823    0.0037823   0     0.0000235   0.0038058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   GA04HW GOOD SPORTS                                   GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                              George Carlin      150   historical   79964869    50         50 0.00037823     0.00037823   0.01891151   0    0.00011736   0.0190289


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32AK   DICE BUYS A SUIT                            ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)              Andrew Dice Clay   216   historical   78840383    63         63 0.00037823     0.00037823    0.0238285   0   0.000147873   0.0239764


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB72RB WORDS WE LEAVE BEHIND                         GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                    George Carlin      115   historical   79969836    90         90 0.00037823     0.00037823   0.03404071   0   0.000211248    0.034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8XMV   THE HALLWAY GROUPS                          GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                    George Carlin      127   historical   80663059    45         45 0.00037823     0.00037823   0.01702036   0   0.000105624    0.017126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60Z8   MOTHER & SON                                ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)             Andrew Dice Clay   216   historical   78792679    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IFO   THE HONEYMOON'S OVER                        ANDREW DICE CLAY   128623771   100   22719857   USA2P0862619    The Honeymoon                                         Andrew Dice Clay   113   historical   79185507     8          8 0.00037823     0.00037823   0.00302584   0     0.0000188   0.0030446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH9P8G   SALT & PEPPER                               ANDREW DICE CLAY   128623771   100   20872385   USSM19000307    Salt & Pepper                                         Andrew Dice Clay   14    historical   78817082    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   YA2IE8   Y'EVER                                      GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                   George Carlin      149   historical   79964873   104        104 0.00037823     0.00037823   0.03933593   0   0.000244108     0.03958


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WOX BIG HEAD                                      ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611    Big Head                                              Andrew Dice Clay   55    historical   79185499    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8WJ5 WHAT A MESS                                   ANDREW DICE CLAY   128623771   100   20966160   USSM19100201    "What A Mess" (Live At Govenors/1991)                 Andrew Dice Clay   50    historical   78840407    20         20 0.00037823     0.00037823    0.0075646   0     0.0000469   0.0076115


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   AB2MKO ACKNOWLEDGEMENTS                              GEORGE CARLIN      473337545   100   36929023   QMFME1556562 Acknowledgements                                         George Carlin      26    historical   79965055    45         45 0.00037823     0.00037823   0.01702036   0   0.000105624    0.017126


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                         GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                      George Carlin      340   historical   79968394   281      337.2   0.00037823   0.00037823   0.12753919   0   0.000791474   0.1283307


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE9ORW THE ARGUMENT                                  ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                          Andrew Dice Clay   330   historical   78855454    31       37.2   0.00037823   0.00037823   0.01407016   0     0.0000873   0.0141575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                 ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)   Andrew Dice Clay   166   historical   78840410    36         36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   PF3EC8   PLACES TO MEET CHICKS                       ANDREW DICE CLAY   128623771   100   20778744   USSM18900285    Places To Meet Chicks (Live At Dangerfield's/1989)    Andrew Dice Clay   186   historical   78792648     9          9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                       ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                Robin Williams     406   historical   79049427   7374   10323.6   0.00037823   0.00037823   3.90469626   0   0.024231495   3.9289278


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB8O3U WHEN I WAS YOUNG                              ANDREW DICE CLAY   128623771   100   20746965   USSM18900274    When I Was Young                                      Andrew Dice Clay   129   historical   78784576    11         11 0.00037823     0.00037823   0.00416053   0     0.0000258   0.0041864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA32K7   DICE FUNK‐UP                                ANDREW DICE CLAY   128623771   100   22719844   USA2P0862606    Dice Funk‐Up                                          Andrew Dice Clay   89    historical   79185494    36         36 0.00037823     0.00037823   0.01361628   0   0.000084499   0.0137008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB54D0   BOSTON RANT 1957                            GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                         George Carlin      336   historical   79974742    73       87.6   0.00037823   0.00037823   0.03313296   0   0.000205614   0.0333386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB6HIV   COUPLES IN LOVE                             ANDREW DICE CLAY   128623771   100   20746964   USSM18900273    Couples In Love                                       Andrew Dice Clay   211   historical   78784575    13         13 0.00037823     0.00037823   0.00491699   0     0.0000305   0.0049475


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   BB6WNK BROOKLYN BAD BOY                              ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                      Andrew Dice Clay   165   historical   78817094     4          4 0.00037823     0.00037823   0.00151292   0    0.00000939   0.0015223


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8DZX   THE HAIR PIECE                              GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                        George Carlin      173   historical   80657409    18         18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA60SA   MOBY AND THE JAPS                           ANDREW DICE CLAY   128623771   100   20746957   USSM18900266    Moby And The Japs                                     Andrew Dice Clay   51    historical   78784568    19         19 0.00037823     0.00037823   0.00718637   0     0.0000446    0.007231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE93RW   THE PENCIL ROOM                             ANDREW DICE CLAY   128623771   100   22719862   USA2P0862624    The Pencil Room                                       Andrew Dice Clay   79    historical   79185512     7          7 0.00037823     0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HB1861   HANDICAPS, CRIPPLES                         ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                   Andrew Dice Clay   123   historical   78817062    18         18 0.00037823     0.00037823   0.00680814   0     0.0000422   0.0068504


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IM0   THE CONTRACTOR                              ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                        Andrew Dice Clay   140   historical   78855449     9          9 0.00037823     0.00037823   0.00340407   0     0.0000211   0.0034252


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                 GEORGE CARLIN      473337545   100   37436685   QMFME1556590 I Used To Be Irish Catholic                              George Carlin      177   historical   79992586    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                         GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                      George Carlin      25    historical   79965070    28         28 0.00037823     0.00037823   0.01059044   0     0.0000657   0.0106562


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53XA   NICHOLSON                                   ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                Robin Williams     81    historical   78696454   291        291 0.00037823     0.00037823   0.11006496   0   0.000683034    0.110748


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   CB8RP5   CHILDHOOD CLICHES                           GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                        George Carlin      244   historical   79992600    78         78 0.00037823     0.00037823   0.02950195   0   0.000183081    0.029685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   NC53W5 NO PITY                                       ANDREW DICE CLAY   128623771   100   20746961   USSM18900270    No Pity                                               Andrew Dice Clay   64    historical   78784572    12         12 0.00037823     0.00037823   0.00453876   0     0.0000282   0.0045669
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 78 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                ROBIN WILLIAMS     89045747    100   22454789   USQX91000081   Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams     369   historical    79049420    5390     7546 0.00037823      0.00037823   2.85412434   0   0.017711928   2.8718363


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   KE6B2Y   KHADAFI                                                                     ROBIN WILLIAMS     89045747    100   22491098   USSM18600022   Khadafi (Live)                                                                  Robin Williams     111   historical    79068736    775       775 0.00037823      0.00037823   0.29312833   0   0.001819076   0.2949474


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9ILG   FILM & VIDEO                                                                ANDREW DICE CLAY   128623771   100   21026294   USSM19303061   Film & Video                                                                    Andrew Dice Clay   106   historical    78855439     17        17 0.00037823      0.00037823   0.00642991   0     0.0000399   0.0064698


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TF0IVE   THE FALKLANDS                                                               ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                                     Robin Williams     188   historical    78696449    472       472 0.00037823      0.00037823   0.17852461   0   0.001107876   0.1796325


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                     GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                                           George Carlin      145   historical    79964424     62        62 0.00037823      0.00037823   0.02345027   0   0.000145526   0.0235958


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   FD9PZG   FOR WHO, FOR HER, FOR WHAT                                                  ANDREW DICE CLAY   128623771   100   22719856   USA2P0862618   For Who, For Her, For What                                                      Andrew Dice Clay   35    historical    79185506      7         7 0.00037823      0.00037823   0.00264761   0     0.0000164    0.002664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   TE8MZO   THE METRIC SYSTEM                                                           GEORGE CARLIN      473337545   100   51923372   US4LA0703606   The Metric System                                                               George Carlin      129   historical    80657396     55        55 0.00037823      0.00037823   0.02080266   0   0.000129096   0.0209318


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   WB791V WHITE HARLEM                                                                  GEORGE CARLIN      473337545   100   52042521   US4LA0703703   White Harlem                                                                    George Carlin      285   historical    80663058    157       157 0.00037823      0.00037823   0.05938213   0    0.00036851   0.0597506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                          GEORGE CARLIN      473337545   100   51923443   US4LA0704603   Sex in Commercials                                                              George Carlin      320   historical    80657410    152     182.4   0.00037823    0.00037823   0.06898917   0   0.000428128   0.0694173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   DA3NQO DICE ON MANNERS                                                               ANDREW DICE CLAY   128623771   100   20966167   USSM19100207   Dice On Manners (Live At Govenors/1991)                                         Andrew Dice Clay   79    historical    78840414     76        76 0.00037823      0.00037823   0.02874549   0   0.000178387   0.0289239


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   MA7FJ7   MY STATEMENT                                                                ANDREW DICE CLAY   128623771   100   22719870   USA2P0862632   My Statement                                                                    Andrew Dice Clay   62    historical    79185520      3         3 0.00037823      0.00037823   0.00113469   0    0.00000704   0.0011417


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   11/1/2017   11/30/2017   M18195   Pandora   Pandora Premium   Streaming US   SH71B4   SEVENTH ANNOUNCEMENTS                                                       GEORGE CARLIN      473337545   100   36929052   QMFME1556580 Seventh Announcements                                                             George Carlin      15    historical    79965074     26        26 0.00037823      0.00037823   0.00983398   0      0.000061    0.009895


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                  It's Your Body‐Fearless Fashions                                                George Carlin      484   historical   1537106651    39      70.2   0.00028794   0.000287935   0.02021307   0   0.000125437   0.0203385


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                  George Carlin Book Club                                                         George Carlin      62    historical   1537106696    41        41 0.00028794     0.000287935   0.01180535   0     0.0000733   0.0118786


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                  Food Terms                                                                      George Carlin      84    historical   1537106629    32        32 0.00028794     0.000287935   0.00921393   0     0.0000572   0.0092711


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                               GEORGE CARLIN      473337545   100   11005091                  Another Objection On Language                                                   George Carlin      250   historical   1537106694    68        68 0.00028794     0.000287935   0.01957961   0   0.000121506   0.0197011


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                  More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical   1537106690    37        37 0.00028794     0.000287935   0.01065361   0     0.0000661   0.0107197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YOE   RETIRED PEOPLE                                                              GEORGE CARLIN      473337545   100   3446767                   Retired People                                                                  George Carlin      63    historical   1537650676    49        49 0.00028794     0.000287935   0.01410884   0     0.0000876   0.0141964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                      GEORGE CARLIN      473337545   100   5486207                   The Best Of Comic Relief '90: Track 13                                          George Carlin      335   historical   1538594996   449     538.8   0.00028794   0.000287935   0.15513959   0   0.000962755   0.1561023


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                   Religious People                                                                George Carlin      400   historical   1537650648   313     438.2   0.00028794   0.000287935   0.12617329   0   0.000782998   0.1269563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                  First Time Human Sacrifice                                                      George Carlin      743   historical   1537106686    48     124.8   0.00028794   0.000287935   0.03593434   0   0.000222999   0.0361573


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                        GEORGE CARLIN      473337545   100   11005104                  Random Thoughts (Recreational Drugs)                                            George Carlin      299   historical   1537106720    64        64 0.00028794     0.000287935   0.01842787   0   0.000114358   0.0185422


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                  Reincarnation (Souls)                                                           George Carlin      38    historical   1537106716    15        15 0.00028794     0.000287935   0.00431903   0     0.0000268   0.0043458


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                   Airlines                                                                        George Carlin      518   historical   1537650616    64     115.2   0.00028794   0.000287935   0.03317016   0   0.000205845    0.033376


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                   A Proposition                                                                   George Carlin      100   historical   1537650656    16        16 0.00028794     0.000287935   0.00460697   0     0.0000286   0.0046356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                  Language Of Comedy/Goodbye                                                      George Carlin      106   historical   1537106722     9         9 0.00028794     0.000287935   0.00259142   0     0.0000161   0.0026075


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                                 GEORGE CARLIN      473337545   100   4823648                   Proud To Be An American / God Bless America                                     George Carlin      286   historical   1538246402   2558     2558 0.00028794     0.000287935   0.73653875   0   0.004570762   0.7411095


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                   Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   1538246396   1800     1800 0.00028794     0.000287935   0.51828372   0   0.003216329      0.5215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                           GEORGE CARLIN      473337545   100   5496715                   Wonderful Wino (Top 40 Disc Jockey)                                             George Carlin      350   historical   1538600661    12      14.4   0.00028794   0.000287935   0.00414627   0     0.0000257    0.004172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                   Favorite Period Of Time                                                         George Carlin      101   historical   1537650600    49        49 0.00028794     0.000287935   0.01410884   0     0.0000876   0.0141964


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                   Death And Dying (Part 2)                                                        George Carlin      181   historical   1537625106   296       296 0.00028794     0.000287935   0.08522888   0   0.000528908   0.0857578


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8MUA TRAFFIC ACCIDENTS ‐ KEEP MOVIN'!                                              GEORGE CARLIN      473337545   100   3657797                   Traffic Accidents ? Keep Movin'!                                                George Carlin      376   historical   1537794802   1568   2195.2   0.00028794   0.000287935   0.63207579   0   0.003922492   0.6359983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   NC5V8K   NAPALM & SILLY PUTTY (EXCERPT)                                              GEORGE CARLIN      473337545   100   5493818                   Napalm & Silly Putty (Excerpt)                                                  George Carlin      723   historical   1538599337     6      15.6   0.00028794   0.000287935   0.00449179   0     0.0000279   0.0045197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   GA1BXD   GIVE A HOOT                                                                 GEORGE CARLIN      473337545   100   11005079                  Give A Hoot                                                                     George Carlin      42    historical   1537106671    15        15 0.00028794     0.000287935   0.00431903   0     0.0000268   0.0043458


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                  Let's Beat Them With Our Purses!                                                George Carlin      118   historical   1537106678    43        43 0.00028794     0.000287935   0.01238122   0     0.0000768   0.0124581


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                   The Red Sox (Socks)                                                             George Carlin      188   historical   1537650672    32        32 0.00028794     0.000287935   0.00921393   0     0.0000572   0.0092711


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                   Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   1537650610    95        95 0.00028794     0.000287935   0.02735386   0   0.000169751   0.0275236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83L3   FREE SPEECH                                                                 GEORGE CARLIN      473337545   100   3446757                   Free Speech                                                                     George Carlin      183   historical   1537650660    34        34 0.00028794     0.000287935    0.0097898   0     0.0000608   0.0098506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005064                  # The George Carlin Book Club Offer No.1‐How To Titles                          George Carlin      69    historical   1537106647     8         8 0.00028794     0.000287935   0.00230348   0     0.0000143   0.0023178


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   SH7MKT   SAYING HELLO                                                                GEORGE CARLIN      473337545   100   3446743                   Saying Hello                                                                    George Carlin      200   historical   1537650640    87        87 0.00028794     0.000287935   0.02505038   0   0.000155456   0.0252058


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                   Euphamistic Language                                                            George Carlin      487   historical   1537650650    80       144 0.00028794     0.000287935    0.0414627   0   0.000257306     0.04172


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   NC5OG8   NICE DAYS                                                                   GEORGE CARLIN      473337545   100   3446737                   Nice Days                                                                       George Carlin      154   historical   1537650628    33        33 0.00028794     0.000287935   0.00950187   0   0.000058966   0.0095608


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                   Dogs Come In All Sizes                                                          George Carlin      152   historical   1537650612    26        26 0.00028794     0.000287935   0.00748632   0     0.0000465   0.0075328


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                  Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical   1537106625    33      46.2   0.00028794   0.000287935   0.01330262   0     0.0000826   0.0133852


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                  Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical   1537106708    42      58.8   0.00028794   0.000287935    0.0169306   0   0.000105067   0.0170357


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   OC23UO OPENING ‐ OLD FUCK                                                            GEORGE CARLIN      473337545   100   4823634                   Opening / Old Fuck                                                              George Carlin      315   historical   1538246384   2880     3456 0.00028794     0.000287935   0.99510474   0   0.006175353   1.0012801


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                  Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical   1537106633    36      64.8   0.00028794   0.000287935   0.01865821   0   0.000115788    0.018774


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                     GEORGE CARLIN      473337545   100   3446745                   No Brown In The Rainbow                                                         George Carlin      180   historical   1537650644    25        25 0.00028794     0.000287935   0.00719839   0     0.0000447   0.0072431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                      GEORGE CARLIN      473337545   100   11005070                  A Place For Your Stuff                                                          George Carlin      595   historical   1537106659    45        90 0.00028794     0.000287935   0.02591419   0   0.000160817    0.026075


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                   (02/28/71 Performance)                                                          George Carlin      369   historical   1538599379    33      46.2   0.00028794   0.000287935   0.01330262   0     0.0000826   0.0133852


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   BB64DZ   BAMBI                                                                       ANDREW DICE CLAY   128623771   100   5970472                   Bambi                                                                           Andrew Dice Clay   162   historical   1538905867    23        23 0.00028794     0.000287935   0.00662251   0     0.0000411   0.0066636


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                   Sports Is Big Business                                                          George Carlin      322   historical   1537650604    51      61.2   0.00028794   0.000287935   0.01762165   0   0.000109355    0.017731


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                  Appropriate Names                                                               George Carlin      157   historical   1537106643    35        35 0.00028794     0.000287935   0.01007774   0     0.0000625   0.0101403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   UA5N3Z   UGLY SINGERS                                                                GEORGE CARLIN      473337545   100   3446739                   Ugly Singers                                                                    George Carlin      121   historical   1537650632    37        37 0.00028794     0.000287935   0.01065361   0     0.0000661   0.0107197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                  The New Zodiac                                                                  George Carlin      74    historical   1537106665    12        12 0.00028794     0.000287935   0.00345523   0     0.0000214   0.0034767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                   Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   1538246400   2563     2563 0.00028794     0.000287935   0.73797843   0   0.004579696   0.7425581


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                                    GEORGE CARLIN      473337545   100   11005086                  Anything But The Present                                                        George Carlin      334   historical   1537106684    52      62.4   0.00028794   0.000287935   0.01796717   0   0.000111499   0.0180787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   FD83M4   FALLING ASLEEP                                                              GEORGE CARLIN      473337545   100   3446735                   Falling Asleep                                                                  George Carlin      59    historical   1537650624    24        24 0.00028794     0.000287935   0.00691045   0     0.0000429   0.0069533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   HB18ZJ   HE SAID, SHE SAID                                                           ANDREW DICE CLAY   128623771   100   5975940                   He Said She Said                                                                Andrew Dice Clay   462   historical   1538909522   123     196.8   0.00028794   0.000287935   0.05666569   0   0.000351652   0.0570173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                  Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical   1537106702    51      71.4   0.00028794   0.000287935   0.02055859   0   0.000127581   0.0206862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                  More Redundant Expressions                                                      George Carlin      46    historical   1537106710    38        38 0.00028794     0.000287935   0.01094155   0     0.0000679   0.0110094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8M05   THE COOL WORLD                                                              GEORGE CARLIN      473337545   100   32163213   USZQE0610782   The Cool World                                                                  George Carlin      316   historical   1540336915    21      25.2   0.00028794   0.000287935   0.00725597   0      0.000045    0.007301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   DA3NL7   DICE'S CHECKLIST                                                            ANDREW DICE CLAY   128623771   100   20966158   USSM19100200   Dice's Checklist (Live At Govenors/1991)                                        Andrew Dice Clay   101   historical   1539142881    22        22 0.00028794     0.000287935   0.00633458   0     0.0000393   0.0063739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                             GEORGE CARLIN      473337545   100   32163216   USZQE0610783   Person to Person                                                                George Carlin      214   historical   1540363025    68        68 0.00028794     0.000287935   0.01957961   0   0.000121506   0.0197011


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   DA32AK   DICE BUYS A SUIT                                                            ANDREW DICE CLAY   128623771   100   20966136   USSM19100191   Dice Buys A Suit (Live At Govenors/1991)                                        Andrew Dice Clay   216   historical   1539170593    81        81 0.00028794     0.000287935   0.02332277   0   0.000144735   0.0234675


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                   Secretary Of Being In The Closet                                                George Carlin      164   historical   1537650634    36        36 0.00028794     0.000287935   0.01036567   0     0.0000643     0.01043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R90   THE INDIAN SERGEANT                                                         GEORGE CARLIN      473337545   100   5739918                   The Indian Sergeant                                                             George Carlin      321   historical   1538750329   619     742.8   0.00028794   0.000287935   0.21387842   0   0.001327272   0.2152057


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                          GEORGE CARLIN      473337545   100   11005094                  The "Pre" Epidemic                                                              George Carlin      46    historical   1537106700     6         6 0.00028794     0.000287935   0.00172761   0     0.0000107   0.0017383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                  Television Announcers                                                           George Carlin      441   historical   1537106692   199     318.4   0.00028794   0.000287935   0.09167863   0   0.000568933   0.0922476


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                  15 Rules To Live By                                                             George Carlin      246   historical   1537106706   243       243 0.00028794     0.000287935    0.0699683   0   0.000434205   0.0704025


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                            1990   Andrew Dice Clay   132   historical   1538686222    18        18 0.00028794     0.000287935   0.00518284   0     0.0000322    0.005215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                  # What's My Motivation                                                          George Carlin      45    historical   1537106682    13        13 0.00028794     0.000287935   0.00374316   0   0.000023229   0.0037664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                            GEORGE CARLIN      473337545   100   3446744                   No Complaining About Politicians                                                George Carlin      183   historical   1537650642   290       290 0.00028794     0.000287935   0.08350127   0   0.000518186   0.0840195


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                  Hi Mom!                                                                         George Carlin      64    historical   1537106667    15        15 0.00028794     0.000287935   0.00431903   0     0.0000268   0.0043458


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                   People Who Want To Know The Time                                                George Carlin      450   historical   1537650598   537     859.2   0.00028794   0.000287935    0.2473941   0   0.001535261   0.2489294


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   TE8R2D   THE EVENING NEWS                                                            GEORGE CARLIN      473337545   100   3446716                   The Evening News                                                                George Carlin      165   historical   1537650606    18        18 0.00028794     0.000287935   0.00518284   0     0.0000322    0.005215


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                   Asylums                                                                         George Carlin      301   historical   1537650602    79      94.8   0.00028794   0.000287935   0.02729628   0   0.000169393   0.0274657


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                  Sports Roundup                                                                  George Carlin      118   historical   1537106674    10        10 0.00028794     0.000287935   0.00287935   0     0.0000179   0.0028972


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                  Deaths Of Supercelebrities                                                      George Carlin      164   historical   1537106698     6         6 0.00028794     0.000287935   0.00172761   0     0.0000107   0.0017383


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                   Latest Disaster                                                                 George Carlin      80    historical   1537650666    97        97 0.00028794     0.000287935   0.02792973   0   0.000173324   0.0281031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                  My Childhood                                                                    George Carlin      338   historical   1537106718    37      44.4   0.00028794   0.000287935   0.01278433   0     0.0000793   0.0128637


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   DA6KEJ   DOGS ON TV                                                                  GEORGE CARLIN      473337545   100   3446736                   Dogs On Tv                                                                      George Carlin      54    historical   1537650626    85        85 0.00028794     0.000287935   0.02447451   0   0.000151882   0.0246264


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus      Streaming US   WB72Z3   WAR PICTURES                                                                GEORGE CARLIN      473337545   100   32163210   USZQE0610781   War Pictures                                                                    George Carlin      222   historical   1540356034    61        61 0.00028794     0.000287935   0.00836442   0     0.0000519   0.0084163
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 79 of 86 Page ID
                                                                                                                                                                                                                                              #:4532
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                          GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                              George Carlin      86    historical   1540541290     39         39 0.00028794     0.000287935   0.01122948   0     0.0000697   0.0112992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                       GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                         George Carlin      28    historical   1540547742     28         28 0.00028794     0.000287935   0.00806219   0       0.00005   0.0081122


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                   GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                       George Carlin      586   historical   1540900400      8         16 0.00028794     0.000287935   0.00460697   0     0.0000286   0.0046356


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                              GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                  George Carlin      326   historical   1540915777    121      145.2   0.00028794   0.000287935   0.04180822   0   0.000259451   0.0420677


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                         ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                  Andrew Dice Clay   189   historical   1539490294    107        107 0.00028794     0.000287935   0.03080909   0   0.000191193   0.0310003


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                             ANDREW DICE CLAY   128623771   100   20966146   USSM19100194    Dice On Redheads (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   1539182315     13         13 0.00028794     0.000287935   0.00374316   0   0.000023229   0.0037664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                           GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                               George Carlin      418   historical   1540940903     54       75.6   0.00028794   0.000287935   0.02176792   0   0.000135086    0.021903


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                           GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                               George Carlin      157   historical   1540540495     35         35 0.00028794     0.000287935   0.01007774   0     0.0000625   0.0101403


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                        GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                         George Carlin      228   historical   1537106663     80         80 0.00028794     0.000287935   0.02303483   0   0.000142948   0.0231778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                          GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                           George Carlin      174   historical   1537650662     66         66 0.00028794     0.000287935   0.01900374   0   0.000117932   0.0191217


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                      GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                       George Carlin      108   historical   1537106676     22         22 0.00028794     0.000287935   0.00633458   0     0.0000393   0.0063739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                     GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                      George Carlin      165   historical   1537650652      7          7 0.00028794     0.000287935   0.00201555   0     0.0000125   0.0020281


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU        GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                George Carlin      173   historical   1537650654     12         12 0.00028794     0.000287935   0.00345523   0     0.0000214   0.0034767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                   GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                    George Carlin      271   historical   1537650596     36         36 0.00028794     0.000287935   0.01036567   0     0.0000643     0.01043


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                    GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                     George Carlin      129   historical   1537650674     27         27 0.00028794     0.000287935   0.00777426   0     0.0000482   0.0078225


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                   ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                    Andrew Dice Clay   131   historical   1538686198     14         14 0.00028794     0.000287935    0.0040311   0      0.000025   0.0040561


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                             GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                              George Carlin      74    historical   1537650636      5          5 0.00028794     0.000287935   0.00143968   0    0.00000893   0.0014486


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                      ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                          Robin Williams     154   historical   1539409647    140        140 0.00028794     0.000287935   0.04031096   0   0.000250159   0.0405611


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                    ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   1539409402    139      166.8   0.00028794   0.000287935   0.04802763   0   0.000298047   0.0483257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                       GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                           George Carlin      54    historical   1540582977      1          1 0.00028794     0.000287935   0.00028794   0    0.00000179   0.0002897


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                    GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                           George Carlin      99    historical   1540582241     95         95 0.00028794     0.000287935   0.02735386   0   0.000169751   0.0275236


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7MJH   SECOND ANNOUNCEMENTS                                         GEORGE CARLIN      473337545   100   36929033   QMFME1556568 Second Announcements                                             George Carlin      69    historical   1540542603      1          1 0.00028794     0.000287935   0.00028794   0    0.00000179   0.0002897


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                            ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)                     Andrew Dice Clay   111   historical   1539426331     29         29 0.00028794     0.000287935   0.00835013   0     0.0000518   0.0084019


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                              ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                       Andrew Dice Clay   126   historical   1539280707     25         25 0.00028794     0.000287935   0.00719839   0     0.0000447   0.0072431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                     ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)              Andrew Dice Clay   98    historical   1539198532     24         24 0.00028794     0.000287935   0.00691045   0     0.0000429   0.0069533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                    GEORGE CARLIN      473337545   100   32163208   USZQE0610780    Capt. Jack & Jolly George                                     George Carlin      241   historical   1540348130      1          1 0.00028794     0.000287935   0.00028794   0    0.00000179   0.0002897


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                          ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)          Robin Williams     325   historical   1539777725   12420     14904 0.00028794     0.000287935    4.2913892   0   0.026631208   4.3180204


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                              GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                          George Carlin      295   historical   1540901378      1          1 0.00028794     0.000287935   0.00028794   0    0.00000179   0.0002897


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                         ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                  Andrew Dice Clay   73    historical   1539450284    116        116 0.00028794     0.000287935   0.03340051   0   0.000207275   0.0336078


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                       ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)                Andrew Dice Clay   63    historical   1539444728     12         12 0.00028794     0.000287935   0.00345523   0     0.0000214   0.0034767


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                              ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                  Robin Williams     192   historical   1539503986    750        750 0.00028794     0.000287935   0.21595155   0   0.001340137   0.2172917


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                        ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                 Andrew Dice Clay   215   historical   1539419160    103        103 0.00028794     0.000287935   0.02965735   0   0.000184046   0.0298414


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                 ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     370   historical   1539745578   9171    12839.4   0.00028794   0.000287935   3.69691778   0   0.022942078   3.7198599


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                GEORGE CARLIN      473337545   100   32163205   USZQE0610779    Killer Carlin                                                 George Carlin      167   historical   1540370684     14         14 0.00028794     0.000287935    0.0019197   0     0.0000119   0.0019316


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                           ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)                    Andrew Dice Clay   149   historical   1539433556     27         27 0.00028794     0.000287935   0.00777426   0     0.0000482   0.0078225


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                           GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   1540586354    327        327 0.00028794     0.000287935   0.09415488   0     0.0005843   0.0947392


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                            ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)            Robin Williams     405   historical   1539768877   13760     19264 0.00028794     0.000287935   5.54678755   0   0.034421872   5.5812094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                               GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                   George Carlin      203   historical   1540924996    229        229 0.00028794     0.000287935   0.06593721   0   0.000409189   0.0663464


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                   ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                 Robin Williams     517   historical   1539770035     31       55.8   0.00028794   0.000287935    0.0160668   0     0.0000997   0.0161665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                             GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                 George Carlin      336   historical   1540892628     89      106.8   0.00028794   0.000287935    0.0307515   0   0.000190836   0.0309423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                    George Carlin      155   historical   1540564197    175        175 0.00028794     0.000287935    0.0503887   0   0.000312699   0.0507014


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                     ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)              Andrew Dice Clay   67    historical   1539437303     22         22 0.00028794     0.000287935   0.00633458   0     0.0000393   0.0063739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                       ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                Andrew Dice Clay   108   historical   1539427088     22         22 0.00028794     0.000287935   0.00633458   0     0.0000393   0.0063739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                           ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)         Robin Williams     130   historical   1539746309   3039       3039 0.00028794     0.000287935   0.87503568   0   0.005430236   0.8804659


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                      ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                Robin Williams     111   historical   1539794737   1212       1212 0.00028794     0.000287935   0.34897771   0   0.002165662   0.3511434


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                   ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   1539742530   13021   15625.2   0.00028794   0.000287935   4.49904821   0   0.027919884   4.5269681


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                        ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical   1539757895   13164   18429.6   0.00028794   0.000287935   5.30653425   0   0.032930925   5.3394652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                               ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                        Andrew Dice Clay   145   historical   1539235161     34         34 0.00028794     0.000287935    0.0097898   0     0.0000608   0.0098506


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                           ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                    Andrew Dice Clay   85    historical   1539285917     17         17 0.00028794     0.000287935    0.0048949   0     0.0000304   0.0049253


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)         Andrew Dice Clay   173   historical   1539536735     31         31 0.00028794     0.000287935     0.008926   0     0.0000554   0.0089814


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                       Andrew Dice Clay   79    historical   1539504577     50         50 0.00028794     0.000287935   0.01439677   0     0.0000893   0.0144861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                       GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                             George Carlin      486   historical   1540567082     88      158.4   0.00028794   0.000287935   0.04560897   0   0.000283037    0.045892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                      ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                         Robin Williams     337   historical   1539490174   1271     1525.2   0.00028794   0.000287935   0.43915907   0   0.002725303   0.4418844


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                    ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                        Robin Williams     81    historical   1539321913    574        574 0.00028794     0.000287935   0.16527492   0   0.001025652   0.1663006


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                            ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                     Andrew Dice Clay   98    historical   1539136494     33         33 0.00028794     0.000287935   0.00950187   0   0.000058966   0.0095608


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                 GEORGE CARLIN      473337545   100   32163203   USZQE0610778    Mothers Club                                                  George Carlin      279   historical   1540357328      4          4 0.00028794     0.000287935   0.00054849   0     0.0000034   0.0005519


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                  ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)           Andrew Dice Clay   166   historical   1539546282     11         11 0.00028794     0.000287935   0.00316729   0     0.0000197   0.0031869


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                   ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                        Robin Williams     246   historical   1539333508    873        873 0.00028794     0.000287935    0.2513676   0    0.00155992   0.2529275


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                    ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                        Robin Williams     223   historical   1539445093    797        797 0.00028794     0.000287935   0.22948451   0   0.001424119   0.2309086


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                       GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                           George Carlin      192   historical   1540917417     50         50 0.00028794     0.000287935   0.01439677   0     0.0000893   0.0144861


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                    GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                        George Carlin      389   historical   1540565459    109      152.6   0.00028794   0.000287935   0.04393894   0   0.000272673   0.0442116


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                              ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical   1539233931    221        221 0.00028794     0.000287935   0.06363372   0   0.000394894   0.0640286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                  GEORGE CARLIN      473337545   100   32163219   USZQE0610784    The Sickest                                                   George Carlin      113   historical   1540356374      2          2 0.00028794     0.000287935   0.00057587   0    0.00000357   0.0005794


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                              ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                     Andrew Dice Clay   154   historical   1539171310     22         22 0.00028794     0.000287935   0.00633458   0     0.0000393   0.0063739


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                    Robin Williams     188   historical   1539442590   1062       1062 0.00028794     0.000287935    0.3057874   0   0.001897634    0.307685


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                   ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   1539279108     37         37 0.00028794     0.000287935   0.01065361   0     0.0000661   0.0107197


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO      GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                 George Carlin      229   historical   1540577767    477        477 0.00028794     0.000287935   0.13734519   0   0.000852327   0.1381975


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)   GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001               George Carlin      518   historical   1540935350      9       16.2   0.00028794   0.000287935   0.00466455   0   0.000028947   0.0046935


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                              ROBIN WILLIAMS     89045747    100   22454795   USQX91000087    Drugs, Alcoholism, And More Drugs (Explicit Audio)            Robin Williams     646   historical   1539777448     19       41.8   0.00028794   0.000287935    0.0120357   0     0.0000747   0.0121104


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                        ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                 Andrew Dice Clay   135   historical   1539503474     15         15 0.00028794     0.000287935   0.00431903   0     0.0000268   0.0043458


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   12/1/2016   12/31/2016   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                          GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                              George Carlin      340   historical   1540570550    619      742.8   0.00028794   0.000287935   0.21387842   0   0.001327272   0.2152057


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                      GEORGE CARLIN      473337545   100   3446745                    No Brown In The Rainbow                                       George Carlin      180   historical    31792949      20         20 0.00029127      0.00029127    0.0058254   0     0.0000362   0.0058616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                  GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                 George Carlin      481   historical    30173941      33       59.4   0.00029127    0.00029127   0.01730144   0   0.000107368   0.0174088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                            GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                             George Carlin      157   historical    30173943      50         50 0.00029127      0.00029127    0.0145635   0     0.0000904   0.0146539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                   GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                    George Carlin      164   historical    30173969       2          2 0.00029127      0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                 George Carlin      100   historical    31792963       8          8 0.00029127      0.00029127   0.00233016   0     0.0000145   0.0023446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                           GEORGE CARLIN      473337545   100   11005094                   The "Pre" Epidemic                                            George Carlin      46    historical    30173970       5          5 0.00029127      0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                          GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                           George Carlin      246   historical    30173973     252        252 0.00029127      0.00029127   0.07340004   0   0.000455501   0.0738555


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                        GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                         George Carlin      228   historical    30173951     212        212 0.00029127      0.00029127   0.06174924   0   0.000383199   0.0621324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                             GEORGE CARLIN      473337545   100   3446716                    The Evening News                                              George Carlin      165   historical    31792917      17         17 0.00029127      0.00029127   0.00495159   0     0.0000307   0.0049823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                   GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                  George Carlin      338   historical    30173979      42       50.4   0.00029127    0.00029127   0.01468001   0     0.0000911   0.0147711


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                               GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                George Carlin      74    historical    30173952      25         25 0.00029127      0.00029127   0.00728175   0     0.0000452   0.0073269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908    6/1/2017    6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                     GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                      George Carlin      165   historical    31792955       6          6 0.00029127      0.00029127   0.00174762   0     0.0000108   0.0017585
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                         GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                         George Carlin      64    historical   30173953    30       30 0.00029127     0.00029127    0.0087381   0     0.0000542   0.0087923


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R90   THE INDIAN SERGEANT                                             GEORGE CARLIN      473337545   100   5739918                    The Indian Sergeant                                             George Carlin      321   historical   32801951   389    466.8   0.00029127   0.00029127   0.13596484   0   0.000843761   0.1368086


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                          GEORGE CARLIN      473337545   100   3446728                    Airlines                                                        George Carlin      518   historical   31792928    92    165.6   0.00029127   0.00029127   0.04823431   0   0.000299329   0.0485336


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                       GEORGE CARLIN      473337545   100   3446737                    Nice Days                                                       George Carlin      154   historical   31792936    65       65 0.00029127     0.00029127   0.01893255   0    0.00011749     0.01905


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                  GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                  George Carlin      388   historical   30173971    47     65.8   0.00029127   0.00029127   0.01916557   0   0.000118936   0.0192845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                        GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                      George Carlin      84    historical   30173939   107      107 0.00029127     0.00029127   0.03116589   0   0.000193407   0.0313593


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES          GEORGE CARLIN      473337545   100   11005064                   # The George Carlin Book Club Offer No.1‐How To Titles          George Carlin      69    historical   30173945     3        3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                George Carlin      164   historical   31792943    30       30 0.00029127     0.00029127    0.0087381   0     0.0000542   0.0087923


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                 GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                               George Carlin      221   historical   31792919    97       97 0.00029127     0.00029127   0.02825319   0   0.000175332   0.0284285


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                     GEORGE CARLIN      473337545   100   11005079                   Give A Hoot                                                     George Carlin      42    historical   30173955    62       62 0.00029127     0.00029127   0.01805874   0   0.000112068   0.0181708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                      GEORGE CARLIN      473337545   100   3446736                    Dogs On Tv                                                      George Carlin      54    historical   31792935    62       62 0.00029127     0.00029127   0.01805874   0   0.000112068   0.0181708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                George Carlin      74    historical   31792945    18       18 0.00029127     0.00029127   0.00524286   0     0.0000325   0.0052754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                     GEORGE CARLIN      473337545   100   3446757                    Free Speech                                                     George Carlin      183   historical   31792968    48       48 0.00029127     0.00029127   0.01398096   0     0.0000868   0.0140677


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                GEORGE CARLIN      473337545   100   3446748                    Religious People                                                George Carlin      400   historical   31792951   254    355.6   0.00029127   0.00029127   0.10357561   0   0.000642762   0.1042184


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                           GEORGE CARLIN      473337545   100   3446714                    Asylums                                                         George Carlin      301   historical   31792915    61     73.2   0.00029127   0.00029127   0.02132096   0   0.000132312   0.0214533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                    GEORGE CARLIN      473337545   100   3446743                    Saying Hello                                                    George Carlin      200   historical   31792947    84       84 0.00029127     0.00029127   0.02446668   0   0.000151834   0.0246185


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                George Carlin      484   historical   30173947    18     32.4   0.00029127   0.00029127   0.00943715   0     0.0000586   0.0094957


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                        GEORGE CARLIN      473337545   100   11005086                   Anything But The Present                                        George Carlin      334   historical   30173962    46     55.2   0.00029127   0.00029127    0.0160781   0     0.0000998   0.0161779


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                         GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                  George Carlin      268   historical   32562257   2341    2341 0.00029127     0.00029127   0.68186307   0   0.004231459   0.6860945


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                            1990   ANDREW DICE CLAY   128623771   100   5643610                                                                             1990   Andrew Dice Clay   132   historical   32782076    10       10 0.00029127     0.00029127    0.0029127   0     0.0000181   0.0029308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                          GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                          George Carlin      369   historical   32754480    44     61.6   0.00029127   0.00029127   0.01794223   0   0.000111345   0.0180536


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                            GEORGE CARLIN      473337545   100   11005104                   Random Thoughts (Recreational Drugs)                            George Carlin      299   historical   30173980    80       80 0.00029127     0.00029127    0.0233016   0   0.000144604   0.0234462


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                               GEORGE CARLIN      473337545   100   5496715                    Wonderful Wino (Top 40 Disc Jockey)                             George Carlin      350   historical   32754994     1      1.2   0.00029127   0.00029127   0.00034952   0    0.00000217   0.0003517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                               GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                        George Carlin      181   historical   31767565   287      287 0.00029127     0.00029127   0.08359449   0   0.000518765   0.0841133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                      GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                      George Carlin      106   historical   30173981    17       17 0.00029127     0.00029127   0.00495159   0     0.0000307   0.0049823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                         GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                         George Carlin      101   historical   31792914    60       60 0.00029127     0.00029127    0.0174762   0   0.000108453   0.0175847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                      GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                      George Carlin      743   historical   30173963    45      117 0.00029127     0.00029127   0.03407859   0   0.000211483   0.0342901


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                      ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                      Andrew Dice Clay   131   historical   32782064    23       23 0.00029127     0.00029127   0.00669921   0     0.0000416   0.0067408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                GEORGE CARLIN      473337545   100   3446744                    No Complaining About Politicians                                George Carlin      183   historical   31792948   225      225 0.00029127     0.00029127   0.06553575   0   0.000406697   0.0659424


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                          GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                          George Carlin      152   historical   31792922    32       32 0.00029127     0.00029127   0.00932064   0     0.0000578   0.0093785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                          GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                          George Carlin      45    historical   30173961    21       21 0.00029127     0.00029127   0.00611667   0      0.000038   0.0061546


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                          GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                          George Carlin      322   historical   31792916    65       78 0.00029127     0.00029127   0.02271906   0   0.000140988     0.02286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                  GEORGE CARLIN      473337545   100   3446767                    Retired People                                                  George Carlin      63    historical   31792988    33       33 0.00029127     0.00029127   0.00961191   0     0.0000596   0.0096716


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                     GEORGE CARLIN      473337545   100   4823648                    Proud To Be An American / God Bless America                     George Carlin      286   historical   32562258   1898    1898 0.00029127     0.00029127   0.55283046   0   0.003430717   0.5562612


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                           GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                           George Carlin      441   historical   30173966   216    345.6   0.00029127   0.00029127   0.10066291   0   0.000624687   0.1012876


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                             GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                             George Carlin      174   historical   31792974    44       44 0.00029127     0.00029127   0.01281588   0     0.0000795   0.0128954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                          GEORGE CARLIN      473337545   100   11005070                   A Place For Your Stuff                                          George Carlin      595   historical   30173950    51      102 0.00029127     0.00029127   0.02970954   0   0.000184369   0.0298939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                George Carlin      450   historical   31792913   570      912 0.00029127     0.00029127   0.26563824   0    0.00164848   0.2672867


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                         GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                         George Carlin      108   historical   30173958    10       10 0.00029127     0.00029127    0.0029127   0     0.0000181   0.0029308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                   GEORGE CARLIN      473337545   100   11005091                   Another Objection On Language                                   George Carlin      250   historical   30173967   170      170 0.00029127     0.00029127    0.0495159   0   0.000307282   0.0498232


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                             GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                             George Carlin      188   historical   31792985    45       45 0.00029127     0.00029127   0.01310715   0     0.0000813   0.0131885


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                   ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                         Andrew Dice Clay   79    historical   30945093    59       59 0.00029127     0.00029127   0.01718493   0   0.000106645   0.0172916


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                             GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                                George Carlin      340   historical   31950739   394    472.8   0.00029127   0.00029127   0.13771246   0   0.000854607   0.1385671


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                         GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                            George Carlin      175   historical   31946337     3        3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                     GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                     George Carlin      391   historical   32660324     3      4.2   0.00029127   0.00029127   0.00122333   0    0.00000759   0.0012309


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                       ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                       Andrew Dice Clay   71    historical   30926037     5        5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                 ANDREW DICE CLAY   128623771   100   20872373   USSM19000296    Industrial Size                                                 Andrew Dice Clay   40    historical   30926034    17       17 0.00029127     0.00029127   0.00495159   0     0.0000307   0.0049823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                          ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)                  Andrew Dice Clay   108   historical   30945072    48       48 0.00029127     0.00029127   0.01398096   0     0.0000868   0.0140677


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                      ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                    Andrew Dice Clay   330   historical   30957492    32     38.4   0.00029127   0.00029127   0.01118477   0     0.0000694   0.0112542


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                    GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                    George Carlin      269   historical   32660326    82       82 0.00029127     0.00029127   0.02388414   0   0.000148219   0.0240324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                           ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                   Andrew Dice Clay   215   historical   30945061    92       92 0.00029127     0.00029127   0.02679684   0   0.000166294   0.0269631


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                          GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                               George Carlin      486   historical   31947211   140      252 0.00029127     0.00029127   0.07340004   0   0.000455501   0.0738555


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                 ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                       Andrew Dice Clay   154   historical   30945079    39       39 0.00029127     0.00029127   0.01135953   0     0.0000705     0.01143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                   George Carlin      336   historical   31956147    15       18 0.00029127     0.00029127   0.00524286   0     0.0000325   0.0052754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                 ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                                 Andrew Dice Clay   72    historical   30926041    10       10 0.00029127     0.00029127    0.0029127   0     0.0000181   0.0029308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                       GEORGE CARLIN      473337545   100   51648298   USZQE0610780    Capt. Jack & Jolly George                                       George Carlin      241   historical   32652123     3        3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                      ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                      Andrew Dice Clay   126   historical   30957466     1        1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                   GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                      George Carlin      155   historical   31947210   153      153 0.00029127     0.00029127   0.04456431   0   0.000276554   0.0448409


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                        Andrew Dice Clay   101   historical   30945087    28       28 0.00029127     0.00029127   0.00815556   0     0.0000506   0.0082062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                     ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)             Andrew Dice Clay   166   historical   30945090    32       32 0.00029127     0.00029127   0.00932064   0     0.0000578   0.0093785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                         ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                                  Robin Williams     111   historical   31125319   914      914 0.00029127     0.00029127   0.26622078   0   0.001652095   0.2678729


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                 GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                                 George Carlin      426   historical   32665141   468    748.8   0.00029127   0.00029127   0.21810298   0   0.001353488   0.2194565


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                    ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                           Andrew Dice Clay   59    historical   30926016     6        6 0.00029127     0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                   ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                   Andrew Dice Clay   100   historical   30926048    13       13 0.00029127     0.00029127   0.00378651   0     0.0000235     0.00381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BEW   THE OSMONDS                                                     ANDREW DICE CLAY   128623771   100   20778766   USSM18900302    The Osmonds (Live at Dangerfield's/1989)                        Andrew Dice Clay   264   historical   30906458    15       15 0.00029127     0.00029127   0.00436905   0     0.0000271   0.0043962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                  ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                                  Andrew Dice Clay   140   historical   30957484     8        8 0.00029127     0.00029127   0.00233016   0     0.0000145   0.0023446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                  GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                     George Carlin      203   historical   31956150    68       68 0.00029127     0.00029127   0.01980636   0   0.000122913   0.0199293


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                     ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                     Andrew Dice Clay   28    historical   30926052     3        3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                  ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                  Andrew Dice Clay   50    historical   30926061     4        4 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                               GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                               George Carlin      296   historical   32660305   369      369 0.00029127     0.00029127   0.10747863   0   0.000666984   0.1081456


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                 ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)                    Andrew Dice Clay   210   historical   30906450     6        6 0.00029127     0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                          GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                             George Carlin      149   historical   31946984   224      224 0.00029127     0.00029127   0.06524448   0    0.00040489   0.0656494


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                 GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                    George Carlin      419   historical   31946978   709    992.6   0.00029127   0.00029127    0.2891146   0   0.001794168   0.2909088


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                         GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                            George Carlin      145   historical   31946559     6        6 0.00029127     0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                      ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                      Andrew Dice Clay   65    historical   30926029     7        7 0.00029127     0.00029127   0.00203889   0     0.0000127   0.0020515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                     GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                        George Carlin      177   historical   31946068   241      241 0.00029127     0.00029127   0.07019607   0   0.000435618   0.0706317


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                      GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                                      George Carlin      477   historical   32660308   618    988.8   0.00029127   0.00029127   0.28800778   0   0.001787299   0.2897951


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                        ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                        Andrew Dice Clay   227   historical   31208642    36       36 0.00029127     0.00029127   0.01048572   0     0.0000651   0.0105508


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                 GEORGE CARLIN      473337545   100   51648301   USZQE0610783    Person to Person                                                George Carlin      214   historical   32652126    41       41 0.00029127     0.00029127   0.01194207   0     0.0000741   0.0120162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                      ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                                      Andrew Dice Clay   65    historical   30926028    14       14 0.00029127     0.00029127   0.00407778   0     0.0000253   0.0041031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                        ANDREW DICE CLAY   128623771   100   20966154   USSM19100198    Dice On Reading Material (Live At Govenors/1991)                Andrew Dice Clay   67    historical   30945083    38       38 0.00029127     0.00029127   0.01106826   0     0.0000687   0.0111369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                             ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                             Andrew Dice Clay   123   historical   30926027    14       14 0.00029127     0.00029127   0.00407778   0     0.0000253   0.0041031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                           ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                           Andrew Dice Clay   162   historical   30926043    37       37 0.00029127     0.00029127   0.01077699   0     0.0000669   0.0108439
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 81 of 86 Page ID
                                                                                                                                                                                                                                              #:4534
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26UT   PERSONAL DELIVERY SERVICE                                                ANDREW DICE CLAY   128623771   100   20778747   USSM18900288    Personal Delivery Service (Live At Dangerfield's/1989)                   Andrew Dice Clay   232   historical   30906448      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                                    Andrew Dice Clay   59    historical   30926017     11         11 0.00029127     0.00029127   0.00320397   0   0.000019883   0.0032239


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                            Andrew Dice Clay   100   historical   30926047     15         15 0.00029127     0.00029127   0.00436905   0     0.0000271   0.0043962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                                     Andrew Dice Clay   41    historical   30926025      5          5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                     ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                                     Andrew Dice Clay   41    historical   30926026     14         14 0.00029127     0.00029127   0.00407778   0     0.0000253   0.0041031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                           GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                           George Carlin      118   historical   30173957     27         27 0.00029127     0.00029127   0.00786429   0     0.0000488   0.0079131


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                          GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                          George Carlin      80    historical   31792982    119        119 0.00029127     0.00029127   0.03466113   0   0.000215098   0.0348762


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                    GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                    George Carlin      38    historical   30173978     46         46 0.00029127     0.00029127   0.01339842   0   0.000083147   0.0134816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                George Carlin      66    historical   30173965     44         44 0.00029127     0.00029127   0.01281588   0     0.0000795   0.0128954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                George Carlin      129   historical   31792987     37         37 0.00029127     0.00029127   0.01077699   0     0.0000669   0.0108439


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                             GEORGE CARLIN      473337545   100   3446739                    Ugly Singers                                                             George Carlin      121   historical   31792941     34         34 0.00029127     0.00029127   0.00990318   0     0.0000615   0.0099646


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                           GEORGE CARLIN      473337545   100   3446735                    Falling Asleep                                                           George Carlin      59    historical   31792934     63         63 0.00029127     0.00029127   0.01835001   0   0.000113875   0.0184639


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                    GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                           George Carlin      173   historical   31792961     24         24 0.00029127     0.00029127   0.00699048   0   0.000043381   0.0070339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                               GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                               George Carlin      46    historical   30173975     62         62 0.00029127     0.00029127   0.01805874   0   0.000112068   0.0181708


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                            GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                            George Carlin      396   historical   30173974     39       54.6   0.00029127   0.00029127   0.01590334   0     0.0000987    0.016002


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   37436698   QMFME1556599 The Hallway Groups                                                          George Carlin      127   historical   31972896      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                               ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                               Andrew Dice Clay   126   historical   30957465      5          5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                                          George Carlin      189   historical   31950741    279        279 0.00029127     0.00029127   0.08126433   0   0.000504305   0.0817686


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                             Andrew Dice Clay   41    historical   30926054      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                        GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                                           George Carlin      310   historical   31972900      1        1.2   0.00029127   0.00029127   0.00034952   0    0.00000217   0.0003517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                                 Andrew Dice Clay   33    historical   30926021     20         20 0.00029127     0.00029127    0.0058254   0     0.0000362   0.0058616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                             GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                             George Carlin      279   historical   32652121      8          8 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                                        Andrew Dice Clay   32    historical   30926033     14         14 0.00029127     0.00029127   0.00407778   0     0.0000253   0.0041031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063    Tom & The Philippino                                                     Andrew Dice Clay   178   historical   30957471      5          5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                                GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                                   George Carlin      389   historical   31947217     98      137.2   0.00029127   0.00029127   0.03996224   0   0.000247995   0.0402102


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                       ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                               Andrew Dice Clay   85    historical   30945091     20         20 0.00029127     0.00029127    0.0058254   0     0.0000362   0.0058616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                           Andrew Dice Clay   187   historical   30957457     46         46 0.00029127     0.00029127   0.01339842   0   0.000083147   0.0134816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83HB   SID/IN TOILET                                                            ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                                            Andrew Dice Clay   151   historical   31208645      2          2 0.00029127     0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                       ANDREW DICE CLAY   128623771   100   21026306   USSM19303073    Chinese Restaurant                                                       Andrew Dice Clay   110   historical   30957486     23         23 0.00029127     0.00029127   0.00669921   0     0.0000416   0.0067408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                      ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                                    Andrew Dice Clay   468   historical   30957485     32       51.2   0.00029127   0.00029127   0.01491302   0     0.0000925   0.0150056


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                                           Andrew Dice Clay   107   historical   30957488      4          4 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                               GEORGE CARLIN      473337545   100   52042521   US4LA0703703    White Harlem                                                             George Carlin      285   historical   32665138    366        366 0.00029127     0.00029127   0.10660482   0   0.000661561   0.1072664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060    Rice                                                                     Andrew Dice Clay   79    historical   30957468      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                        GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                                        George Carlin      129   historical   32660310    133        133 0.00029127     0.00029127   0.03873891   0   0.000240403   0.0389793


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                                            Andrew Dice Clay   60    historical   30926032      6          6 0.00029127     0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                   GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                      George Carlin      192   historical   31956149     25         25 0.00029127     0.00029127   0.00728175   0     0.0000452   0.0073269


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9P3B   FEMALE ANATOMY                                                           ANDREW DICE CLAY   128623771   100   20778748   USSM18900289    Female Anatomy (Live At Dangerfield's/1989)                              Andrew Dice Clay   222   historical   30906449      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                                       George Carlin      127   historical   32665139     40         40 0.00029127     0.00029127    0.0116508   0     0.0000723   0.0117231


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                                 Andrew Dice Clay   180   historical   30957489     35         35 0.00029127     0.00029127   0.01019445   0   0.000063264   0.0102577


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma   George Carlin      256   historical   32562255   1217       1217 0.00029127     0.00029127   0.35447559   0    0.00219978   0.3566754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                               ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                             Andrew Dice Clay   330   historical   30957491     26       31.2   0.00029127   0.00029127   0.00908762   0     0.0000564    0.009144


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                      ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)                     Robin Williams     325   historical   31111173   11995     14394 0.00029127     0.00029127   4.19254038   0   0.026017778   4.2185582


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                    GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                                       George Carlin      61    historical   31946977    139        139 0.00029127     0.00029127   0.04048653   0   0.000251249   0.0407378


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                  ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                                  Andrew Dice Clay   37    historical   30926050     20         20 0.00029127     0.00029127    0.0058254   0     0.0000362   0.0058616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                                        Andrew Dice Clay   231   historical   30926044     54         54 0.00029127     0.00029127   0.01572858   0     0.0000976   0.0158262


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                                 ANDREW DICE CLAY   128623771   100   21026288   USSM19303055    Pink Dot                                                                 Andrew Dice Clay   114   historical   30957463      7          7 0.00029127     0.00029127   0.00203889   0     0.0000127   0.0020515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)                       Andrew Dice Clay   60    historical   30945063     55         55 0.00029127     0.00029127   0.01601985   0     0.0000994   0.0161193


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                           ANDREW DICE CLAY   128623771   100   20778755   USSM18900295    Milk & Shampoo (Live At Dangerfield's/1989)                              Andrew Dice Clay   339   historical   30906452      7        8.4   0.00029127   0.00029127   0.00244667   0     0.0000152   0.0024619


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                                          George Carlin      418   historical   31956148     21       29.4   0.00029127   0.00029127   0.00856334   0     0.0000531   0.0086165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                          ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                                  Andrew Dice Clay   126   historical   30945085     39         39 0.00029127     0.00029127   0.01135953   0     0.0000705     0.01143


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72TA WELCOME TO MY JOB                                                          GEORGE CARLIN      473337545   100   37436693   QMFME1556596 Welcome To My Job                                                           George Carlin      182   historical   31972894      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV1   HOUR BACK...GET IT?                                                      ANDREW DICE CLAY   128623771   100   20778784   USSM18900320    Hour Back...Get It? (Live at Dangerfield's/1989)                         Andrew Dice Clay   400   historical   30906465      2        2.8   0.00029127   0.00029127   0.00081556   0    0.00000506   0.0008206


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20778772   USSM18900308    Dogs & Birds (Live at Dangerfield's/1989)                                Andrew Dice Clay   169   historical   30906460      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                     ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)                             Andrew Dice Clay   189   historical   30945096    190        190 0.00029127     0.00029127    0.0553413   0   0.000343433   0.0556847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                                Andrew Dice Clay   108   historical   30926038     17         17 0.00029127     0.00029127   0.00495159   0     0.0000307   0.0049823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                           ANDREW DICE CLAY   128623771   100   20966166   USSM19100206    Dice Jerks Off (Live At Govenors/1991)                                   Andrew Dice Clay   145   historical   30945092     41         41 0.00029127     0.00029127   0.01194207   0     0.0000741   0.0120162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                           George Carlin      255   historical   32660306    658        658 0.00029127     0.00029127   0.19165566   0   0.001189364    0.192845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                                   Robin Williams     81    historical   30825805    227        227 0.00029127     0.00029127   0.06611829   0   0.000410312   0.0665286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BVM BIG TIT/ PIN TIT                                                           ANDREW DICE CLAY   128623771   100   22719852   USA2P0862614    Big Tit/ Pin Tit                                                         Andrew Dice Clay   239   historical   31208641      2          2 0.00029127     0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                  GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                            George Carlin      229   historical   31969807    307        307 0.00029127     0.00029127   0.08941989   0   0.000554916   0.0899748


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                                    George Carlin      355   historical   32660319    637      764.4   0.00029127   0.00029127   0.22264679   0   0.001381686   0.2240285


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)                       Robin Williams     405   historical   31111176   14174   19843.6   0.00029127   0.00029127   5.77984537   0   0.035868166   5.8157135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                                 Andrew Dice Clay   180   historical   30957490     44         44 0.00029127     0.00029127   0.01281588   0     0.0000795   0.0128954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                            Andrew Dice Clay   135   historical   30945099      8          8 0.00029127     0.00029127   0.00233016   0     0.0000145   0.0023446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                       ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)                    Robin Williams     130   historical   31111168   3060       3060 0.00029127     0.00029127    0.8912862   0   0.005531083   0.8968173


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   51923443   US4LA0704603    Sex in Commercials                                                       George Carlin      320   historical   32660321    286      343.2   0.00029127   0.00029127   0.09996386   0   0.000620349   0.1005842


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                        ANDREW DICE CLAY   128623771   100   20872406   USSM19000315    People Are Pricks                                                        Andrew Dice Clay   90    historical   30926059      9          9 0.00029127     0.00029127   0.00262143   0     0.0000163   0.0026377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                                         George Carlin      147   historical   32660314     41         41 0.00029127     0.00029127   0.01194207   0     0.0000741   0.0120162


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                               GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                                  George Carlin      586   historical   31956152      5         10 0.00029127     0.00029127    0.0029127   0     0.0000181   0.0029308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                     GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                        George Carlin      235   historical   31946551     61         61 0.00029127     0.00029127   0.01776747   0    0.00011026   0.0178777


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                            Andrew Dice Clay   231   historical   30906459     12         12 0.00029127     0.00029127   0.00349524   0     0.0000217   0.0035169


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                             ANDREW DICE CLAY   128623771   100   20872400   USSM19000311    Black Chicks                                                             Andrew Dice Clay   41    historical   30926055      2          2 0.00029127     0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                        ANDREW DICE CLAY   128623771   100   20966141   USSM19100218    Dice On Nutrition (Live At Govenors/1991)                                Andrew Dice Clay   98    historical   30945070     37         37 0.00029127     0.00029127   0.01077699   0     0.0000669   0.0108439


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                            GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                                               George Carlin      214   historical   31945999    311        311 0.00029127     0.00029127   0.09058497   0   0.000562146   0.0911471


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                                       George Carlin      115   historical   31951876    155        155 0.00029127     0.00029127   0.04514685   0   0.000280169    0.045427


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                             GEORGE CARLIN      473337545   100   52042525   US4LA0703707    Grass Swept the Neighborhood                                             George Carlin      85    historical   32665142    262        262 0.00029127     0.00029127   0.07631274   0   0.000473576   0.0767863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                            Robin Williams     517   historical   31111172   7701    13861.8   0.00029127   0.00029127   4.03752649   0   0.025055804   4.0625823


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                        ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607    He Said, She Said                                                        Andrew Dice Clay   462   historical   31208637    168      268.8   0.00029127   0.00029127   0.07829338   0   0.000485868   0.0787792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                         GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                         George Carlin      118   historical   30173959     37         37 0.00029127     0.00029127   0.01077699   0     0.0000669   0.0108439


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                     GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                     George Carlin      487   historical   31792952     52       93.6   0.00029127   0.00029127   0.02726287   0   0.000169186   0.0274321


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                   GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                  George Carlin      62    historical   30173968     71         71 0.00029127     0.00029127   0.02068017   0   0.000128336   0.0208085


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                   GEORGE CARLIN      473337545   100   5486207                    The Best Of Comic Relief '90: Track 13                                   George Carlin      335   historical   32752654    394      472.8   0.00029127   0.00029127   0.13771246   0   0.000854607   0.1385671


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                               GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                               George Carlin      271   historical   31792912     15         15 0.00029127     0.00029127   0.00436905   0     0.0000271   0.0043962
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 82 of 86 Page ID
                                                                                                                                                                                                                                              #:4535
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                         GEORGE CARLIN      473337545   100   4823634                   Opening / Old Fuck                                            George Carlin      315   historical   32562249   2823     3387.6   0.00029127   0.00029127   0.98670625   0   0.006123234   0.9928295


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                GEORGE CARLIN      473337545   100   11005052                  Air Pollution & Seven Things I'm Tired Of                     George Carlin      388   historical   30173937     65         91 0.00029127     0.00029127   0.02650557   0   0.000164486   0.0266701


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297   1989‐ A Review                                                Andrew Dice Clay   368   historical   30926035     81      113.4   0.00029127   0.00029127   0.03303002   0   0.000204975    0.033235


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3W HELLO GOODBYE 2                                                            GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                                   George Carlin      253   historical   31946549     64         64 0.00029127     0.00029127   0.01864128   0   0.000115683    0.018757


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                      George Carlin      112   historical   31946983     38         38 0.00029127     0.00029127   0.01106826   0     0.0000687   0.0111369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                              ANDREW DICE CLAY   128623771   100   20872358   USSM19000282   How Are Ya?                                                   Andrew Dice Clay   78    historical   30926014     13         13 0.00029127     0.00029127   0.00378651   0     0.0000235     0.00381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                                 George Carlin      426   historical   31972897      3        4.8   0.00029127   0.00029127    0.0013981   0    0.00000868   0.0014068


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069   Mad Max                                                       Andrew Dice Clay   195   historical   30957481     20         20 0.00029127     0.00029127    0.0058254   0     0.0000362   0.0058616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                             George Carlin      86    historical   31947214     30         30 0.00029127     0.00029127    0.0087381   0     0.0000542   0.0087923


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214   Dice Has Random Thoughts (Live At Govenors/1991)              Andrew Dice Clay   98    historical   30945098     32         32 0.00029127     0.00029127   0.00932064   0     0.0000578   0.0093785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608   Ed Sullivan Self Taught                                       George Carlin      206   historical   32660327     27         27 0.00029127     0.00029127   0.00786429   0     0.0000488   0.0079131


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                       ANDREW DICE CLAY   128623771   100   20872363   USSM19000287   Hoidy Toidy Chicks                                            Andrew Dice Clay   78    historical   30926023     46         46 0.00029127     0.00029127   0.01339842   0   0.000083147   0.0134816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                             GEORGE CARLIN      473337545   100   51648299   USZQE0610781   War Pictures                                                  George Carlin      222   historical   32652124      5          5 0.00029127     0.00029127   0.00072818   0    0.00000452   0.0007327


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   37436674   QMFME1556404 Sex in Commercials                                              George Carlin      321   historical   31972890      1        1.2   0.00029127   0.00029127   0.00034952   0    0.00000217   0.0003517


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                       ANDREW DICE CLAY   128623771   100   20966152   USSM19100197   Dice Stops For Gas (Live At Govenors/1991)                    Andrew Dice Clay   149   historical   30945081     28         28 0.00029127     0.00029127   0.00815556   0     0.0000506   0.0082062


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                        George Carlin      328   historical   31946557    212      254.4   0.00029127   0.00029127   0.07409909   0   0.000459839   0.0745589


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                    ANDREW DICE CLAY   128623771   100   20778744   USSM18900285   Places To Meet Chicks (Live At Dangerfield's/1989)            Andrew Dice Clay   186   historical   30906447      5          5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610   The 11 O'clock News                                           George Carlin      429   historical   32660329    102      163.2   0.00029127   0.00029127   0.04753526   0   0.000294991   0.0478303


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                 George Carlin      326   historical   31956151     50         60 0.00029127     0.00029127    0.0174762   0   0.000108453   0.0175847


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                       GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                              George Carlin      191   historical   31951871    304        304 0.00029127     0.00029127   0.08854608   0   0.000549493   0.0890956


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                     ANDREW DICE CLAY   128623771   100   21026296   USSM19303063   Tom & The Philippino                                          Andrew Dice Clay   178   historical   30957472      5          5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   37436681   QMFME1556411 The 11 O'clock News                                             George Carlin      430   historical   31972892      4        6.4   0.00029127   0.00029127   0.00186413   0     0.0000116   0.0018757


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064   Wife Tells All                                                Andrew Dice Clay   114   historical   30957474      4          4 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782   The Cool World                                                George Carlin      316   historical   32652125     36       43.2   0.00029127   0.00029127   0.01258286   0     0.0000781    0.012661


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                        ANDREW DICE CLAY   128623771   100   20872381   USSM19000303   3 Beautiful Dates                                             Andrew Dice Clay   231   historical   30926045     38         38 0.00029127     0.00029127   0.01106826   0     0.0000687   0.0111369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                                GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                          George Carlin      99    historical   31969652     71         71 0.00029127     0.00029127   0.02068017   0   0.000128336   0.0208085


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                  GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                     George Carlin      286   historical   31951870    351        351 0.00029127     0.00029127   0.10223577   0   0.000634448   0.1028702


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                            ANDREW DICE CLAY   128623771   100   20966148   USSM19100195   Dice On Lasting Relationships (Live At Govenors/1991)         Andrew Dice Clay   173   historical   30945077     20         20 0.00029127     0.00029127    0.0058254   0     0.0000362   0.0058616


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605   Birth Control                                                 George Carlin      310   historical   32660323    384      460.8   0.00029127   0.00029127   0.13421722   0   0.000832916   0.1350501


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                    ANDREW DICE CLAY   128623771   100   20872383   USSM19000305   Debbie Duz Everything                                         Andrew Dice Clay   180   historical   30926046     82         82 0.00029127     0.00029127   0.02388414   0   0.000148219   0.0240324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                 Robin Williams     76    historical   30825801    118        118 0.00029127     0.00029127   0.03436986   0    0.00021329   0.0345832


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...    GEORGE CARLIN      473337545   100   37436672   QMFME1556402 Shoot                                                           George Carlin      355   historical   31972889      2        2.4   0.00029127   0.00029127   0.00069905   0    0.00000434   0.0007034


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292   Double Parking                                                Andrew Dice Clay   29    historical   30926030     18         18 0.00029127     0.00029127   0.00524286   0     0.0000325   0.0052754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6WNK BROOKLYN BAD BOY                                                           ANDREW DICE CLAY   128623771   100   20872411   USSM19000318   Brooklyn Bad Boy                                              Andrew Dice Clay   165   historical   30926063      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                          ANDREW DICE CLAY   128623771   100   20872379   USSM19000301   Chicks Aren't Funny (Joey Will)                               Andrew Dice Clay   72    historical   30926042     13         13 0.00029127     0.00029127   0.00378651   0     0.0000235     0.00381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                 George Carlin      192   historical   31946335      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                        GEORGE CARLIN      473337545   100   37436680   QMFME1556410 Let's Make a Deal                                               George Carlin      288   historical   31972891      4          4 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                               ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                       Robin Williams     246   historical   30825806    349        349 0.00029127     0.00029127   0.10165323   0   0.000630833   0.1022841


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                      ANDREW DICE CLAY   128623771   100   21026307   USSM19303074   Greeting Cards                                                Andrew Dice Clay   107   historical   30957487     10         10 0.00029127     0.00029127    0.0029127   0     0.0000181   0.0029308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608   Gay Lib                                                       George Carlin      126   historical   32660312     53         53 0.00029127     0.00029127   0.01543731   0     0.0000958   0.0155331


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                     GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                            George Carlin      275   historical   31946072    728        728 0.00029127     0.00029127   0.21204456   0   0.001315892   0.2133605


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9INM   SOMETHING SOFT                                                           ANDREW DICE CLAY   128623771   100   20778785   USSM18900321   Something Soft (Live at Dangerfield's/1989)                   Andrew Dice Clay   285   historical   30906466      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                             ROBIN WILLIAMS     89045747    100   22454789   USQX91000081   Healthcare And Heart Surgery (Explicit Audio)                 Robin Williams     370   historical   31111171   8175      11445 0.00029127     0.00029127   3.33358515   0   0.020687333   3.3542725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                    ROBIN WILLIAMS     89045747    100   22454796   USQX91000088   Religion And Marriage (Explicit Audio)                        Robin Williams     406   historical   31111178   13014   18219.6   0.00029127   0.00029127   5.30682289   0   0.032932716   5.3397556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                            ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                   Robin Williams     188   historical   30825800    375        375 0.00029127     0.00029127   0.10922625   0   0.000677829   0.1099041


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264   Mother Goose                                                  Andrew Dice Clay   207   historical   30900080      6          6 0.00029127     0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                         ANDREW DICE CLAY   128623771   100   20966146   USSM19100194   Dice On Redheads (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   30945075      5          5 0.00029127     0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                     George Carlin      150   historical   31946980     56         56 0.00029127     0.00029127   0.01631112   0   0.000101222   0.0164123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                         ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625   Old School Phone                                              Andrew Dice Clay   419   historical   31208643    231      323.4   0.00029127   0.00029127   0.09419672   0    0.00058456   0.0947813


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279   Hoggin                                                        Andrew Dice Clay   200   historical   30900083    149        149 0.00029127     0.00029127   0.04339923   0   0.000269324   0.0436686


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                            ANDREW DICE CLAY   128623771   100   20872378   USSM19000300   Shakin' Hands                                                 Andrew Dice Clay   29    historical   30926040     11         11 0.00029127     0.00029127   0.00320397   0   0.000019883   0.0032239


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                             ANDREW DICE CLAY   128623771   100   20778777   USSM18900313   Mother & Son (Live at Dangerfield's/1989)                     Andrew Dice Clay   217   historical   30906463      8          8 0.00029127     0.00029127   0.00233016   0     0.0000145   0.0023446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636   Good 4 U                                                      Andrew Dice Clay   304   historical   31208647     17       20.4   0.00029127   0.00029127   0.00594191   0     0.0000369   0.0059788


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                        Robin Williams     337   historical   30825799    458      549.6   0.00029127   0.00029127   0.16008199   0   0.000993426   0.1610754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A2K   THE BAIT                                                                 ANDREW DICE CLAY   128623771   100   20746968   USSM18900277   The Bait                                                      Andrew Dice Clay   151   historical   30900082      7          7 0.00029127     0.00029127   0.00203889   0     0.0000127   0.0020515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                       ANDREW DICE CLAY   128623771   100   21026303   USSM19303070   Sealed With A Kiss                                            Andrew Dice Clay   108   historical   30957482     12         12 0.00029127     0.00029127   0.00349524   0     0.0000217   0.0035169


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                 ANDREW DICE CLAY   128623771   100   21026298   USSM19303065   Surprise                                                      Andrew Dice Clay   232   historical   30957475     47         47 0.00029127     0.00029127   0.01368969   0      0.000085   0.0137746


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JNM GROCERY‐PART 2                                                             ANDREW DICE CLAY   128623771   100   22719867   USA2P0862629   Grocery‐Part 2                                                Andrew Dice Clay   82    historical   31208644      1          1 0.00029127     0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                              GEORGE CARLIN      473337545   100   51648302   USZQE0610784   The Sickest                                                   George Carlin      113   historical   32652127     16         16 0.00029127     0.00029127   0.00466032   0     0.0000289   0.0046892


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6OVH   CLUB 33(REPRISE)                                                         ANDREW DICE CLAY   128623771   100   22719873   USA2P0862635   Club 33                                                       Andrew Dice Clay   190   historical   31208646      6          6 0.00029127     0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6IVR   K2Y‐CHINA DINER                                                          ANDREW DICE CLAY   128623771   100   22719847   USA2P0862609   K2Y‐China Diner                                               Andrew Dice Clay   157   historical   31208639      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310   Fat Orgasms                                                   Andrew Dice Clay   28    historical   30926053      2          2 0.00029127     0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                        George Carlin      28    historical   31947213     87         87 0.00029127     0.00029127   0.02534049   0   0.000157256   0.0254977


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                      ANDREW DICE CLAY   128623771   100   20778757   USSM18900297   While The Cats Away... (Live At Dangerfield's/1989)           Andrew Dice Clay   198   historical   30906453      8          8 0.00029127     0.00029127   0.00233016   0     0.0000145   0.0023446


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                          ROBIN WILLIAMS     89045747    100   22454795   USQX91000087   Drugs, Alcoholism, And More Drugs (Explicit Audio)            Robin Williams     646   historical   31111177   3584     7884.8   0.00029127   0.00029127    2.2966057   0   0.014252118   2.3108578


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084   Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   31111174   12747   15296.4   0.00029127   0.00029127   4.45538243   0   0.027648905   4.4830313


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317   Apartment Life                                                Andrew Dice Clay   50    historical   30926062      4          4 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068   Chinks                                                        Andrew Dice Clay   167   historical   30957478      7          7 0.00029127     0.00029127   0.00203889   0     0.0000127   0.0020515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                 ANDREW DICE CLAY   128623771   100   20746971   USSM18900280   No Guilt                                                      Andrew Dice Clay   174   historical   30900084     71         71 0.00029127     0.00029127   0.02068017   0   0.000128336   0.0208085


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                            ANDREW DICE CLAY   128623771   100   20872385   USSM19000307   Salt & Pepper                                                 Andrew Dice Clay   14    historical   30926049     11         11 0.00029127     0.00029127   0.00320397   0   0.000019883   0.0032239


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273   Couples In Love                                               Andrew Dice Clay   211   historical   30900081      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                          ANDREW DICE CLAY   128623771   100   20872369   USSM19000293   The Car Ride (Goin' To A Party)                               Andrew Dice Clay   135   historical   30926031     14         14 0.00029127     0.00029127   0.00407778   0     0.0000253   0.0041031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609   Snot, The Original Rubber Cement                              George Carlin      174   historical   32660313     30         30 0.00029127     0.00029127    0.0087381   0     0.0000542   0.0087923


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                   ANDREW DICE CLAY   128623771   100   20966169   USSM19100209   Dice At The Drive Thru (Live At Govenors/1991)                Andrew Dice Clay   63    historical   30945094     23         23 0.00029127     0.00029127   0.00669921   0     0.0000416   0.0067408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314   The First Blow‐Job                                            Andrew Dice Clay   50    historical   30926057     10         10 0.00029127     0.00029127    0.0029127   0     0.0000181   0.0029308


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                  ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                         Robin Williams     154   historical   30825811     24         24 0.00029127     0.00029127   0.00699048   0   0.000043381   0.0070339


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288   Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   30926024     15         15 0.00029127     0.00029127   0.00436905   0     0.0000271   0.0043962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                   ANDREW DICE CLAY   128623771   100   21026301   USSM19303068   Chinks                                                        Andrew Dice Clay   167   historical   30957479      4          4 0.00029127     0.00029127   0.00116508   0    0.00000723   0.0011723


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210   Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   30945095    185        222 0.00029127     0.00029127   0.06466194   0   0.000401275   0.0650632


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9SED   RICE                                                                     ANDREW DICE CLAY   128623771   100   21026293   USSM19303060   Rice                                                          Andrew Dice Clay   79    historical   30957467      3          3 0.00029127     0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                          GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                                 George Carlin      147   historical   31946066     90         90 0.00029127     0.00029127    0.0262143   0   0.000162679    0.026377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299   Backwards                                                     Andrew Dice Clay   108   historical   30926039     30         30 0.00029127     0.00029127    0.0087381   0     0.0000542   0.0087923


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                           GEORGE CARLIN      473337545   100   51923442   US4LA0704602   The Hair Piece                                                George Carlin      173   historical   32660320     39         39 0.00029127     0.00029127   0.01135953   0     0.0000705     0.01143
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 83 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                  ANDREW DICE CLAY   128623771   100   21026299   USSM19303066     Games                                                              Andrew Dice Clay   65    historical   30957476      7          7 0.00029127      0.00029127   0.00203889   0     0.0000127   0.0020515


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                           ANDREW DICE CLAY   128623771   100   21026297   USSM19303064     Wife Tells All                                                     Andrew Dice Clay   114   historical   30957473      6          6 0.00029127      0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                ANDREW DICE CLAY   128623771   100   21026287   USSM19303054     Critics                                                            Andrew Dice Clay   202   historical   30957462     66         66 0.00029127      0.00029127   0.01922382   0   0.000119298   0.0193431


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                   ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608     Sid And The Oriental                                               Andrew Dice Clay   197   historical   31208638      9          9 0.00029127      0.00029127   0.00262143   0     0.0000163   0.0026377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                           GEORGE CARLIN      473337545   100   37436703   QMFME1556602 Grass Swept The Neighborhood                                           George Carlin      85    historical   31972898      1          1 0.00029127      0.00029127   0.00029127   0    0.00000181   0.0002931


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                            ANDREW DICE CLAY   128623771   100   20872403   USSM19000313     Woman's World                                                      Andrew Dice Clay   32    historical   30926056     22         22 0.00029127      0.00029127   0.00640794   0   0.000039766   0.0064477


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                               ANDREW DICE CLAY   128623771   100   20872361   USSM19000285     Ya Can't Be Nice To Them                                           Andrew Dice Clay   33    historical   30926020      9          9 0.00029127      0.00029127   0.00262143   0     0.0000163   0.0026377


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                        ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                        Robin Williams     192   historical   30825809    264        264 0.00029127      0.00029127   0.07689528   0   0.000477191   0.0773725


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23QW OCCUPATION: FOOLE                                                        GEORGE CARLIN      473337545   100   37436695   QMFME1556597 Occupation: Foole                                                      George Carlin      222   historical   31972895      3          3 0.00029127      0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                             ANDREW DICE CLAY   128623771   100   20778773   USSM18900309     Women Comics (Live at Dangerfield's/1989)                          Andrew Dice Clay   200   historical   30906461      2          2 0.00029127      0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                               ANDREW DICE CLAY   128623771   100   20872387   USSM19000309     The News                                                           Andrew Dice Clay   48    historical   30926051     18         18 0.00029127      0.00029127   0.00524286   0     0.0000325   0.0052754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                           ANDREW DICE CLAY   128623771   100   21026294   USSM19303061     Film & Video                                                       Andrew Dice Clay   106   historical   30957469     13         13 0.00029127      0.00029127   0.00378651   0     0.0000235     0.00381


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                       ANDREW DICE CLAY   128623771   100   20966136   USSM19100191     Dice Buys A Suit (Live At Govenors/1991)                           Andrew Dice Clay   216   historical   30945066     99         99 0.00029127      0.00029127   0.02883573   0   0.000178947   0.0290147


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                   ANDREW DICE CLAY   128623771   100   20966172   USSM19100212     Dice On Bodybuilders (Live At Govenors/1991)                       Andrew Dice Clay   73    historical   30945097    128        128 0.00029127      0.00029127   0.03728256   0   0.000231366   0.0375139


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                       ANDREW DICE CLAY   128623771   100   21026289   USSM19303056     My First Concert                                                   Andrew Dice Clay   129   historical   30957464     14         14 0.00029127      0.00029127   0.00407778   0     0.0000253   0.0041031


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                              ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   139   historical   30926018      5          5 0.00029127      0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                      GEORGE CARLIN      473337545   100   51923450   US4LA0704609     Let's Make a Deal                                                  George Carlin      288   historical   32660328    534        534 0.00029127      0.00029127   0.15553818   0   0.000965228   0.1565034


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                  ANDREW DICE CLAY   128623771   100   21026302   USSM19303069     Mad Max                                                            Andrew Dice Clay   195   historical   30957480     46         46 0.00029127      0.00029127   0.01339842   0   0.000083147   0.0134816


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                               ANDREW DICE CLAY   128623771   100   20872408   USSM19000316     Ya Hear?                                                           Andrew Dice Clay   54    historical   30926060      2          2 0.00029127      0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH   GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   31946064      2        6.8   0.00029127    0.00029127   0.00198064   0     0.0000123   0.0019929


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                              ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   71    historical   30926036      3          3 0.00029127      0.00029127   0.00087381   0    0.00000542   0.0008792


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                              ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                              Robin Williams     223   historical   30825798    269        269 0.00029127      0.00029127   0.07835163   0   0.000486229   0.0788379


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                      GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                                      George Carlin      244   historical   31972899    277        277 0.00029127      0.00029127   0.08068179   0    0.00050069   0.0811825


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6WOX BIG HEAD                                                                 ANDREW DICE CLAY   128623771   100   22719849   USA2P0862611     Big Head                                                           Andrew Dice Clay   55    historical   31208640      2          2 0.00029127      0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                      ANDREW DICE CLAY   128623771   100   20872406   USSM19000315     People Are Pricks                                                  Andrew Dice Clay   90    historical   30926058      6          6 0.00029127      0.00029127   0.00174762   0     0.0000108   0.0017585


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                              ANDREW DICE CLAY   128623771   100   20872360   USSM19000284     Phone Sex                                                          Andrew Dice Clay   139   historical   30926019     15         15 0.00029127      0.00029127   0.00436905   0     0.0000271   0.0043962


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                     GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                                     George Carlin      157   historical   31947212     37         37 0.00029127      0.00029127   0.01077699   0     0.0000669   0.0108439


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                            ANDREW DICE CLAY   128623771   100   21026283   USSM19303050     Deef & Dumb                                                        Andrew Dice Clay   94    historical   30957458     12         12 0.00029127      0.00029127   0.00349524   0     0.0000217   0.0035169


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                       GEORGE CARLIN      473337545   100   51923377   US4LA0703611     A Few More Farts                                                   George Carlin      355   historical   32660315    150        180 0.00029127      0.00029127    0.0524286   0   0.000325358    0.052754


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                     ANDREW DICE CLAY   128623771   100   21026295   USSM19303062     Bachelorette Party                                                 Andrew Dice Clay   255   historical   30957470     81         81 0.00029127      0.00029127   0.02359287   0   0.000146411   0.0237393


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                         ANDREW DICE CLAY   128623771   100   21026304   USSM19303071     The Contractor                                                     Andrew Dice Clay   140   historical   30957483      5          5 0.00029127      0.00029127   0.00145635   0    0.00000904   0.0014654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                            ANDREW DICE CLAY   128623771   100   20872358   USSM19000282     How Are Ya?                                                        Andrew Dice Clay   78    historical   30926015     12         12 0.00029127      0.00029127   0.00349524   0     0.0000217   0.0035169


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                      ANDREW DICE CLAY   128623771   100   20966138   USSM19100192     Dice On Disasters (Live At Govenors/1991)                          Andrew Dice Clay   111   historical   30945068     32         32 0.00029127      0.00029127   0.00932064   0     0.0000578   0.0093785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                   GEORGE CARLIN      473337545   100   51923444   US4LA0704604     Drugs                                                              George Carlin      263   historical   32660322    323        323 0.00029127      0.00029127   0.09408021   0   0.000583837    0.094664


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   6/1/2017   6/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                          GEORGE CARLIN      473337545   100   51648297   USZQE0610779     Killer Carlin                                                      George Carlin      167   historical   32652122      4          4 0.00029127      0.00029127   0.00058254   0    0.00000362   0.0005862


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V51   NO COMPLAINING ABOUT POLITICIANS                                       GEORGE CARLIN      473337545   100   3446744                     No Complaining About Politicians                                   George Carlin      183   historical   1570267     190        190 0.00029062     0.000290618   0.05521736   0   0.000342664     0.05556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5ODY   NO BROWN IN THE RAINBOW                                                GEORGE CARLIN      473337545   100   3446745                     No Brown In The Rainbow                                            George Carlin      180   historical   1570268      12         12 0.00029062     0.000290618   0.00348741   0     0.0000216   0.0035091


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KDQ   PROUD TO BE AN AMERICAN ‐ GOD BLESS AMERICA                            GEORGE CARLIN      473337545   100   4823648                     Proud To Be An American / God Bless America                        George Carlin      286   historical   2314094    1726       1726 0.00029062     0.000290618   0.50160615   0   0.003112833    0.504719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC23UO OPENING ‐ OLD FUCK                                                       GEORGE CARLIN      473337545   100   4823634                     Opening / Old Fuck                                                 George Carlin      315   historical   2314085    2200       2640 0.00029062     0.000290618   0.76723073   0   0.004761228    0.771992


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                   GEORGE CARLIN      473337545   100   11005104                    Random Thoughts (Recreational Drugs)                               George Carlin      299   historical     40525      62         62 0.00029062     0.000290618    0.0180183   0   0.000111817   0.0181301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7MKT   SAYING HELLO                                                           GEORGE CARLIN      473337545   100   3446743                     Saying Hello                                                       George Carlin      200   historical   1570266      88         88 0.00029062     0.000290618   0.02557436   0   0.000158708   0.0257331


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L9T   ANOTHER OBJECTION ON LANGUAGE                                          GEORGE CARLIN      473337545   100   11005091                    Another Objection On Language                                      George Carlin      250   historical     40512     135        135 0.00029062     0.000290618   0.03923339   0   0.000243472   0.0394769


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MEE   ANYTHING BUT THE PRESENT                                               GEORGE CARLIN      473337545   100   11005086                    Anything But The Present                                           George Carlin      334   historical     40507      50         60 0.00029062     0.000290618   0.01743706   0    0.00010821   0.0175453


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEJ   DOGS ON TV                                                             GEORGE CARLIN      473337545   100   3446736                     Dogs On Tv                                                         George Carlin      54    historical   1570252      62         62 0.00029062     0.000290618    0.0180183   0   0.000111817   0.0181301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83L3   FREE SPEECH                                                            GEORGE CARLIN      473337545   100   3446757                     Free Speech                                                        George Carlin      183   historical   1570284      42         42 0.00029062     0.000290618   0.01220594   0     0.0000757   0.0122817


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                 GEORGE CARLIN      473337545   100   11005064                    # The George Carlin Book Club Offer No.1‐How To Titles             George Carlin      69    historical     40491       4          4 0.00029062     0.000290618   0.00116247   0   0.000007214   0.0011697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OG8   NICE DAYS                                                              GEORGE CARLIN      473337545   100   3446737                     Nice Days                                                          George Carlin      154   historical   1570254      22         22 0.00029062     0.000290618   0.00639359   0     0.0000397   0.0064333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BXD   GIVE A HOOT                                                            GEORGE CARLIN      473337545   100   11005079                    Give A Hoot                                                        George Carlin      42    historical     40501      40         40 0.00029062     0.000290618   0.01162471   0     0.0000721   0.0116968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DX7   THE 'PRE' EPIDEMIC                                                     GEORGE CARLIN      473337545   100   11005094                    The "Pre" Epidemic                                                 George Carlin      46    historical     40515      27         27 0.00029062     0.000290618   0.00784668   0     0.0000487   0.0078954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2D   THE EVENING NEWS                                                       GEORGE CARLIN      473337545   100   3446716                     The Evening News                                                   George Carlin      165   historical   1570237       5          5 0.00029062     0.000290618   0.00145309   0    0.00000902   0.0014621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZ8   THE BEST OF COMIC RELIEF '90: TRACK 13                                 GEORGE CARLIN      473337545   100   5486207                     The Best Of Comic Relief '90: Track 13                             George Carlin      335   historical   2523439     282      338.4   0.00029062   0.000290618   0.09834503   0   0.000610303   0.0989553


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB21NX   A PLACE FOR YOUR STUFF                                                 GEORGE CARLIN      473337545   100   11005070                    A Place For Your Stuff                                             George Carlin      595   historical     40496      31         62 0.00029062     0.000290618    0.0180183   0   0.000111817   0.0181301


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3Z   UGLY SINGERS                                                           GEORGE CARLIN      473337545   100   3446739                     Ugly Singers                                                       George Carlin      121   historical   1570259      20         20 0.00029062     0.000290618   0.00581235   0     0.0000361   0.0058484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YOE   RETIRED PEOPLE                                                         GEORGE CARLIN      473337545   100   3446767                     Retired People                                                     George Carlin      63    historical   1570308      35         35 0.00029062     0.000290618   0.01017162   0     0.0000631   0.0102347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83M4   FALLING ASLEEP                                                         GEORGE CARLIN      473337545   100   3446735                     Falling Asleep                                                     George Carlin      59    historical   1570251      50         50 0.00029062     0.000290618   0.01453089   0     0.0000902   0.0146211


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04IX   GRASS SWEPT THE NEIGHBORHOOD                                           GEORGE CARLIN      473337545   100   52042525   US4LA0703707     Grass Swept the Neighborhood                                       George Carlin      85    historical   2421389     183        183 0.00029062     0.000290618   0.05318304   0    0.00033004   0.0535131


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFQ   NEWSBOY                                                                ROBIN WILLIAMS     89045747    100   19908648   USUM71413006 Newsboy                                                                Robin Williams     154   historical    652926      20         20 0.00029062     0.000290618   0.00581235   0     0.0000361   0.0058484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32DN   DICE ON REDHEADS                                                       ANDREW DICE CLAY   128623771   100   20966146   USSM19100194     Dice On Redheads (Live At Govenors/1991)                           Andrew Dice Clay   101   historical    766823      11         11 0.00029062     0.000290618    0.0031968   0     0.0000198   0.0032166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IDV   SHAKIN' HANDS                                                          ANDREW DICE CLAY   128623771   100   20872378   USSM19000300     Shakin' Hands                                                      Andrew Dice Clay   29    historical    748640       8          8 0.00029062     0.000290618   0.00232494   0   0.000014428   0.0023394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04J0   GROUPS AND CHARITIES                                                   GEORGE CARLIN      473337545   100   36918503   QMFME1556609 Groups and Charities                                                   George Carlin      235   historical   1713597     284        284 0.00029062     0.000290618   0.08253543   0   0.000512193   0.0830476


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                              ANDREW DICE CLAY   128623771   100   20872376   USSM19000298     Bad Press                                                          Andrew Dice Clay   70    historical    748637       8          8 0.00029062     0.000290618   0.00232494   0   0.000014428   0.0023394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDI   DICE ON NUTRITION                                                      ANDREW DICE CLAY   128623771   100   20966141   USSM19100218     Dice On Nutrition (Live At Govenors/1991)                          Andrew Dice Clay   98    historical    766818      87         87 0.00029062     0.000290618   0.02528374   0   0.000156904   0.0254406


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8YSC   CIGARS AND HOUSE OF BLUES                                              GEORGE CARLIN      473337545   100   37363403   QMFME1556388 Cigars                                                                 George Carlin      99    historical   1736250      72         72 0.00029062     0.000290618   0.02092447   0   0.000129852   0.0210543


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NRG DRUGS, ALCOHOLISM, AND MORE DRUGS                                        ROBIN WILLIAMS     89045747    100   22454795   USQX91000087     Drugs, Alcoholism, And More Drugs (Explicit Audio)                 Robin Williams     646   historical    926061    12596   27711.2   0.00029062   0.000290618   8.05336521   0   0.049977019   8.1033422


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64FH   BLACK CHICKS                                                           ANDREW DICE CLAY   128623771   100   20872400   USSM19000311     Black Chicks                                                       Andrew Dice Clay   41    historical    748650      21         21 0.00029062     0.000290618   0.00610297   0     0.0000379   0.0061408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26M9   PEOPLE ARE PRICKS                                                      ANDREW DICE CLAY   128623771   100   20872406   USSM19000315     People Are Pricks                                                  Andrew Dice Clay   90    historical    748653      13         13 0.00029062     0.000290618   0.00377803   0     0.0000234   0.0038015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIC   CHINESE RESTAURANT                                                     ANDREW DICE CLAY   128623771   100   21026306   USSM19303073     Chinese Restaurant                                                 Andrew Dice Clay   110   historical    778622      34         34 0.00029062     0.000290618     0.009881   0     0.0000613   0.0099423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                            GEORGE CARLIN      473337545   100   32163219   USZQE0610784     The Sickest                                                        George Carlin      113   historical   1449726       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DYW   THE ORIGINAL 'PERSON TO PERSON'                                        GEORGE CARLIN      473337545   100   51648301   USZQE0610783     Person to Person                                                   George Carlin      214   historical   2407850      41         41 0.00029062     0.000290618   0.01191533   0     0.0000739   0.0119893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IP7   TOM & THE PHILIPPINO                                                   ANDREW DICE CLAY   128623771   100   21026296   USSM19303063     Tom & The Philippino                                               Andrew Dice Clay   178   historical    778612      25         25 0.00029062     0.000290618   0.00726544   0     0.0000451   0.0073105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   ID0EUM   INDUSTRIAL SIZE                                                        ANDREW DICE CLAY   128623771   100   20872373   USSM19000296     Industrial Size                                                    Andrew Dice Clay   40    historical    748635      39         39 0.00029062     0.000290618   0.01133409   0     0.0000703   0.0114044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB858F   CLASS CLOWN ‐ BI‐LABIAL FRICATIVE / ATTRACTING ATTENTION / SQUEAMISH   GEORGE CARLIN      473337545   100   36910409   QMFME1556581 Class Clown ‐ Bi‐Labial Fricative / Attracting Attention / Squeamish   George Carlin      966   historical   1713086      55        187 0.00029062     0.000290618   0.05434551   0   0.000337254   0.0546828


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791V WHITE HARLEM                                                             GEORGE CARLIN      473337545   100   52042521   US4LA0703703     White Harlem                                                       George Carlin      285   historical   2421385     347        347 0.00029062     0.000290618   0.10084434   0   0.000625813   0.1014702


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NLB   DICE ON READING MATERIAL                                               ANDREW DICE CLAY   128623771   100   20966154   USSM19100198     Dice On Reading Material (Live At Govenors/1991)                   Andrew Dice Clay   67    historical    766831      23         23 0.00029062     0.000290618   0.00668421   0     0.0000415   0.0067257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3EC8   PLACES TO MEET CHICKS                                                  ANDREW DICE CLAY   128623771   100   20778744   USSM18900285     Places To Meet Chicks (Live At Dangerfield's/1989)                 Andrew Dice Clay   186   historical    729640       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18ZJ   HE SAID, SHE SAID                                                      ANDREW DICE CLAY   128623771   100   22719845   USA2P0862607     He Said, She Said                                                  Andrew Dice Clay   462   historical   1017465      76      121.6   0.00029062   0.000290618   0.03533911   0   0.000219305   0.0355584


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P8G   SALT & PEPPER                                                          ANDREW DICE CLAY   128623771   100   20872385   USSM19000307     Salt & Pepper                                                      Andrew Dice Clay   14    historical    748646       3          3 0.00029062     0.000290618   0.00087185   0    0.00000541   0.0008773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                     GEORGE CARLIN      473337545   100   51923443   US4LA0704603     Sex in Commercials                                                 George Carlin      320   historical   2416285     231      277.2   0.00029062   0.000290618   0.08055923   0   0.000499929   0.0810592


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL9   DEBBIE DUZ EVERYTHING                                                  ANDREW DICE CLAY   128623771   100   20872383   USSM19000305     Debbie Duz Everything                                              Andrew Dice Clay   180   historical    748644     115        115 0.00029062     0.000290618   0.03342104   0   0.000207402   0.0336284


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA7FVX   MILK & SHAMPOO                                                         ANDREW DICE CLAY   128623771   100   20778755   USSM18900295     Milk & Shampoo (Live At Dangerfield's/1989)                        Andrew Dice Clay   339   historical    729644       2        2.4   0.00029062   0.000290618   0.00069748   0    0.00000433   0.0007018


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF7   DICE JERKS OFF                                                         ANDREW DICE CLAY   128623771   100   20966166   USSM19100206     Dice Jerks Off (Live At Govenors/1991)                             Andrew Dice Clay   145   historical    766839      26         26 0.00029062     0.000290618   0.00755606   0     0.0000469    0.007603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF26WA   PINK DOT                                                               ANDREW DICE CLAY   128623771   100   21026288   USSM19303055     Pink Dot                                                           Andrew Dice Clay   114   historical    778607      53         53 0.00029062     0.000290618   0.01540274   0     0.0000956   0.0154983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IVE   THE FALKLANDS                                                          ROBIN WILLIAMS     89045747    100   19908637   USUM71412983 The Falklands                                                          Robin Williams     188   historical    652915     402        402 0.00029062     0.000290618   0.11682832   0   0.000725005   0.1175533
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 84 of 86 Page ID
                                                                                                                                                                                                                                              #:4537
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5N3B   UNCLE DAVE                                                                  GEORGE CARLIN      473337545   100   37085045   QMFMF1553619 Uncle Dave                                                                         George Carlin      586   historical   1722930      3          6 0.00029062     0.000290618   0.00174371   0   0.000010821   0.0017545


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32AK   DICE BUYS A SUIT                                                            ANDREW DICE CLAY   128623771   100   20966136   USSM19100191    Dice Buys A Suit (Live At Govenors/1991)                                        Andrew Dice Clay   216   historical   766814     117        117 0.00029062     0.000290618   0.03400227   0   0.000211009   0.0342133


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83FQ   SID AND THE ORIENTAL                                                        ANDREW DICE CLAY   128623771   100   22719846   USA2P0862608    Sid And The Oriental                                                            Andrew Dice Clay   197   historical   1017466      1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC53XA   NICHOLSON                                                                   ROBIN WILLIAMS     89045747    100   19908642   USUM71412996 Nicholson                                                                          Robin Williams     81    historical   652920      82         82 0.00029062     0.000290618   0.02383065   0   0.000147887   0.0239785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5OAZ   UNDER 2 MINUTES                                                             ANDREW DICE CLAY   128623771   100   20778749   USSM18900290    Under 2 Minutes (Live At Dangerfield's/1989)                                    Andrew Dice Clay   209   historical   729641       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R1D   # THE GEORGE CARLIN BOOK CLUB OFFER NO.1‐HOW TO TITLES                      GEORGE CARLIN      473337545   100   11005092                   George Carlin Book Club                                                         George Carlin      62    historical    40513      40         40 0.00029062     0.000290618   0.01162471   0     0.0000721   0.0116968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TV8   SPORTS ROUNDUP                                                              GEORGE CARLIN      473337545   100   11005081                   Sports Roundup                                                                  George Carlin      118   historical    40502       9          9 0.00029062     0.000290618   0.00261556   0     0.0000162   0.0026318


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38V5   LET'S BEAT THEM WITH OUR PURSES!                                            GEORGE CARLIN      473337545   100   11005083                   Let's Beat Them With Our Purses!                                                George Carlin      118   historical    40504      15         15 0.00029062     0.000290618   0.00435927   0     0.0000271   0.0043863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UH9   AIR POLLUTION & SEVEN THINGS I'M TIRED OF                                   GEORGE CARLIN      473337545   100   11005052                   Air Pollution & Seven Things I'm Tired Of                                       George Carlin      388   historical    40482      40         56 0.00029062     0.000290618   0.01627459   0   0.000100996   0.0163756


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1G5X   15 RULES TO LIVE BY                                                         GEORGE CARLIN      473337545   100   11005097                   15 Rules To Live By                                                             George Carlin      246   historical    40518     204        204 0.00029062     0.000290618   0.05928601   0   0.000367913   0.0596539


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KIK   POPULAR BELIEFS ROOTED IN FAMILIAR EXPRESSIONS                              GEORGE CARLIN      473337545   100   11005095                   Popular Beliefs Rooted In Familiar Expressions                                  George Carlin      388   historical    40516      31       43.4   0.00029062   0.000290618   0.01261281   0     0.0000783   0.0126911


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA31VB   LANGUAGE OF COMEDY/GOODBYE                                                  GEORGE CARLIN      473337545   100   11005105                   Language Of Comedy/Goodbye                                                      George Carlin      106   historical    40526      34         34 0.00029062     0.000290618     0.009881   0     0.0000613   0.0099423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8ICJ   THE NEW ZODIAC                                                              GEORGE CARLIN      473337545   100   11005075                   The New Zodiac                                                                  George Carlin      74    historical    40498      32         32 0.00029062     0.000290618   0.00929977   0     0.0000577   0.0093575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2L90   AVANT GARDE PLAY                                                            GEORGE CARLIN      473337545   100   3446741                    Avant Garde Play                                                                George Carlin      74    historical   1570264      8          8 0.00029062     0.000290618   0.00232494   0   0.000014428   0.0023394


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RFI   COMITTING THE PERFECT DOUBLE MURDER                                         GEORGE CARLIN      473337545   100   3446758                    Comitting The Perfect Double Murder                                             George Carlin      174   historical   1570290     30         30 0.00029062     0.000290618   0.00871853   0     0.0000541   0.0087726


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6BWU BUMPER STICKERS / INTELLECTUAL BUMPER STICKER / SPIRITU                       GEORGE CARLIN      473337545   100   3446752                    Bumper Sticker                                                                  George Carlin      173   historical   1570278      9          9 0.00029062     0.000290618   0.00261556   0     0.0000162   0.0026318


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83KC   # FUCK YOU, I LIKE THESE KINDS OF JOKES                                     GEORGE CARLIN      473337545   100   11005082                   # Fuck You, I Like These Kinds Of Jokes                                         George Carlin      108   historical    40503      15         15 0.00029062     0.000290618   0.00435927   0     0.0000271   0.0043863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MC6 ASYLUMS                                                                       GEORGE CARLIN      473337545   100   3446714                    Asylums                                                                         George Carlin      301   historical   1570235     22       26.4   0.00029062   0.000290618   0.00767231   0     0.0000476   0.0077199


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UF5   A PROPOSITION                                                               GEORGE CARLIN      473337545   100   3446753                    A Proposition                                                                   George Carlin      100   historical   1570279      5          5 0.00029062     0.000290618   0.00145309   0    0.00000902   0.0014621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH707P   SECRETARY OF BEING IN THE CLOSET                                            GEORGE CARLIN      473337545   100   3446740                    Secretary Of Being In The Closet                                                George Carlin      164   historical   1570261     26         26 0.00029062     0.000290618   0.00755606   0     0.0000469    0.007603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55SO   DOGS COME IN ALL SIZES                                                      GEORGE CARLIN      473337545   100   3446720                    Dogs Come In All Sizes                                                          George Carlin      152   historical   1570240     20         20 0.00029062     0.000290618   0.00581235   0     0.0000361   0.0058484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC64VR   JUST ENOUGH BULLSHIT ‐ NO ONE QUESTIONS                                     GEORGE CARLIN      473337545   100   4823646                    Just Enough Bullshit / No One Questions Things                                  George Carlin      268   historical   2314093   2149       2149 0.00029062     0.000290618   0.62453744   0   0.003875711   0.6284131


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R2E   TELEVISION ANNOUNCERS                                                       GEORGE CARLIN      473337545   100   11005090                   Television Announcers                                                           George Carlin      441   historical    40511     182      291.2   0.00029062   0.000290618   0.08462787   0   0.000525178   0.0851531


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72QV WELL, YA GOTTA LIVE SOMEPLACE                                                 GEORGE CARLIN      473337545   100   11005056                   Well, Ya Gotta Live Someplace                                                   George Carlin      481   historical    40486      14       25.2   0.00029062   0.000290618   0.00732357   0     0.0000454    0.007369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA5ZJ4   MENTAL BRAIN THOUGHTS                                                       GEORGE CARLIN      473337545   100   11005072                   Mental Brain Thoughts                                                           George Carlin      228   historical    40497     178        178 0.00029062     0.000290618   0.05172995   0   0.000321022    0.052051


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D21   THE RED SOX (SOCKS)                                                         GEORGE CARLIN      473337545   100   3446765                    The Red Sox (Socks)                                                             George Carlin      188   historical   1570302     27         27 0.00029062     0.000290618   0.00784668   0     0.0000487   0.0078954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB7942   # WHAT'S MY MOTIVATION                                                      GEORGE CARLIN      473337545   100   11005085                   # What's My Motivation                                                          George Carlin      45    historical    40506      15         15 0.00029062     0.000290618   0.00435927   0     0.0000271   0.0043863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MNJ   APPROPRIATE NAMES                                                           GEORGE CARLIN      473337545   100   11005062                   Appropriate Names                                                               George Carlin      157   historical    40489      23         23 0.00029062     0.000290618   0.00668421   0     0.0000415   0.0067257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJO   RELIGIOUS PEOPLE                                                            GEORGE CARLIN      473337545   100   3446748                    Religious People                                                                George Carlin      400   historical   1570270    217      303.8   0.00029062   0.000290618   0.08828966   0   0.000547902   0.0888376


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DB   FAVORITE PERIOD OF TIME                                                     GEORGE CARLIN      473337545   100   3446713                    Favorite Period Of Time                                                         George Carlin      101   historical   1570234     25         25 0.00029062     0.000290618   0.00726544   0     0.0000451   0.0073105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XOU   TELL CLAUS I SAID, 'HELLO'                                                  GEORGE CARLIN      473337545   100   3446711                    Tell Claus I Said, "Hello"                                                      George Carlin      271   historical   1570232     23         23 0.00029062     0.000290618   0.00668421   0     0.0000415   0.0067257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8WA9 FOOD TERMS                                                                    GEORGE CARLIN      473337545   100   11005054                   Food Terms                                                                      George Carlin      84    historical    40484      95         95 0.00029062     0.000290618   0.02760868   0   0.000171332     0.02778


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YJ5   REINCARNATION (SOULS)                                                       GEORGE CARLIN      473337545   100   11005102                   Reincarnation (Souls)                                                           George Carlin      38    historical    40523      38         38 0.00029062     0.000290618   0.01104347   0     0.0000685    0.011112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2C52   PEOPLE WHO WANT TO KNOW THE TIME                                            GEORGE CARLIN      473337545   100   3446712                    People Who Want To Know The Time                                                George Carlin      450   historical   1570233    579      926.4   0.00029062   0.000290618   0.26922824   0   0.001670758    0.270899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3B   HI MOM!                                                                     GEORGE CARLIN      473337545   100   11005076                   Hi Mom!                                                                         George Carlin      64    historical    40499      22         22 0.00029062     0.000290618   0.00639359   0     0.0000397   0.0064333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DK3   EXPRESSIONS (IN THE PRIVACY OF YOUR OWN HOME)                               GEORGE CARLIN      473337545   100   11005098                   Expressions (In The Privacy Of Your Own Home)                                   George Carlin      396   historical    40519      34       47.6   0.00029062   0.000290618    0.0138334   0     0.0000858   0.0139192


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJB                                                                        1990   ANDREW DICE CLAY   128623771   100   5643610                                                                                             1990   Andrew Dice Clay   132   historical   2572112     35         35 0.00029062     0.000290618   0.01017162   0     0.0000631   0.0102347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA56Z9   MORE REDUNDANT EXPRESSIONS                                                  GEORGE CARLIN      473337545   100   11005099                   More Redundant Expressions                                                      George Carlin      46    historical    40520      26         26 0.00029062     0.000290618   0.00755606   0     0.0000469    0.007603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   4823642                    Stupid Bullshit On The Phone / What A Phone Call Should Be / In A Coma          George Carlin      256   historical   2314091   1086       1086 0.00029062     0.000290618   0.31561082   0   0.001958596   0.3175694


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2KCV   PERFORMANCE OF 2/28/71                                                      GEORGE CARLIN      473337545   100   5493859                    (02/28/71 Performance)                                                          George Carlin      369   historical   2525848     37       51.8   0.00029062   0.000290618     0.015054   0     0.0000934   0.0151474


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1BWE GREATEST THING SINCE SLICED BREAD                                             GEORGE CARLIN      473337545   100   3446719                    Greatest Thing Since Sliced Bread                                               George Carlin      221   historical   1570239     51         51 0.00029062     0.000290618    0.0148215   0      0.000092   0.0149135


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9UQO   IT'S YOUR BODY‐FEARLESS FASHIONS                                            GEORGE CARLIN      473337545   100   11005066                   It's Your Body‐Fearless Fashions                                                George Carlin      484   historical    40493      24       43.2   0.00029062   0.000290618   0.01255469   0   0.000077911   0.0126326


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TX4   SPORTS IS BIG BUSINESS                                                      GEORGE CARLIN      473337545   100   3446715                    Sports Is Big Business                                                          George Carlin      322   historical   1570236     21       25.2   0.00029062   0.000290618   0.00732357   0     0.0000454    0.007369


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA38T0   LATEST DISASTER                                                             GEORGE CARLIN      473337545   100   3446760                    Latest Disaster                                                                 George Carlin      80    historical   1570298     44         44 0.00029062     0.000290618   0.01278718   0     0.0000794   0.0128665


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83K6   FIRST TIME HUMAN SACRIFICE                                                  GEORGE CARLIN      473337545   100   11005087                   First Time Human Sacrifice                                                      George Carlin      743   historical    40508      96      249.6   0.00029062   0.000290618   0.07253818   0   0.000450152   0.0729883


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KEO   DEATHS OF SUPERCELEBRITIES                                                  GEORGE CARLIN      473337545   100   11005093                   Deaths Of Supercelebrities                                                      George Carlin      164   historical    40514       7          7 0.00029062     0.000290618   0.00203432   0     0.0000126   0.0020469


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1KXM   EUPHAMISTIC LANGUAGE                                                        GEORGE CARLIN      473337545   100   3446750                    Euphamistic Language                                                            George Carlin      487   historical   1570271    190        342 0.00029062     0.000290618   0.09939125   0   0.000616795    0.100008


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PR9   FIRST KISS                                                                  ANDREW DICE CLAY   128623771   100   5643598                    First Kiss                                                                      Andrew Dice Clay   131   historical   2572100     16         16 0.00029062     0.000290618   0.00464988   0     0.0000289   0.0046787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MH9 AIRLINES                                                                      GEORGE CARLIN      473337545   100   3446728                    Airlines                                                                        George Carlin      518   historical   1570245     52       93.6   0.00029062   0.000290618   0.02720182   0   0.000168807   0.0273706


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6EAS   MOTHERS CLUB                                                                GEORGE CARLIN      473337545   100   51648296   USZQE0610778    Mothers Club                                                                    George Carlin      279   historical   2407845      2          2 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB1861   HANDICAPS, CRIPPLES                                                         ANDREW DICE CLAY   128623771   100   20872366   USSM19000290    Handicaps, Cripples                                                             Andrew Dice Clay   123   historical   748629       4          4 0.00029062     0.000290618   0.00116247   0   0.000007214   0.0011697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2IE8   Y'EVER                                                                      GEORGE CARLIN      473337545   100   36926292   QMFME1556691 Y'ever                                                                             George Carlin      149   historical   1714010    182        182 0.00029062     0.000290618   0.05289242   0   0.000328236   0.0532207


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA561Z   MUHAMMAD ALI ‐ AMERICA THE BEAUTIFUL                                        GEORGE CARLIN      473337545   100   36910416   QMFME1556588 Muhammad Ali ‐ America the Beautiful                                               George Carlin      275   historical   1713094    447        447 0.00029062     0.000290618   0.12990611   0   0.000806162   0.1307123


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9AYT   SMOKIN' FOR YOUR HEALTH                                                     ANDREW DICE CLAY   128623771   100   20872386   USSM19000308    Smokin' For Your Health                                                         Andrew Dice Clay   37    historical   748647      17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZX   THE HAIR PIECE                                                              GEORGE CARLIN      473337545   100   51923442   US4LA0704602    The Hair Piece                                                                  George Carlin      173   historical   2416284     23         23 0.00029062     0.000290618   0.00668421   0     0.0000415   0.0067257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18TI   HOW ARE YA?                                                                 ANDREW DICE CLAY   128623771   100   20872358   USSM19000282    How Are Ya?                                                                     Andrew Dice Clay   78    historical   748621      31         31 0.00029062     0.000290618   0.00900915   0     0.0000559   0.0090651


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9PWP SONGS                                                                         ANDREW DICE CLAY   128623771   100   21026305   USSM19303072    Songs                                                                           Andrew Dice Clay   468   historical   778621      54       86.4   0.00029062   0.000290618   0.02510937   0   0.000155822   0.0252652


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH8V9P   SARAH PALIN, THE CLINTONS, AND JACK                                         ROBIN WILLIAMS     89045747    100   22454791   USQX91000083    Sarah Palin, The Clintons, And Jack (Explicit Audio)                            Robin Williams     324   historical   926057    10877   13052.4   0.00029062   0.000290618   3.79325847   0   0.023539942   3.8167984


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8DZW   THE FECAL DIFFERENTIAL                                                      GEORGE CARLIN      473337545   100   37085036   QMFMF1553616 The Fecal Differential                                                             George Carlin      192   historical   1722927     15         15 0.00029062     0.000290618   0.00435927   0     0.0000271   0.0043863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8H49   THE SICKEST                                                                 GEORGE CARLIN      473337545   100   51648302   USZQE0610784    The Sickest                                                                     George Carlin      113   historical   2407851     11         11 0.00029062     0.000290618    0.0031968   0     0.0000198   0.0032166


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68HL   MORE NOTES                                                                  ANDREW DICE CLAY   128623771   100   21026291   USSM19303058    More Notes                                                                      Andrew Dice Clay   126   historical   778609      13         13 0.00029062     0.000290618   0.00377803   0     0.0000234   0.0038015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NMP DICE THE ADVOCATE                                                             ANDREW DICE CLAY   128623771   100   20966150   USSM19100196    Dice The Advocate (Live At Govenors/1991)                                       Andrew Dice Clay   154   historical   766827      25         25 0.00029062     0.000290618   0.00726544   0     0.0000451   0.0073105


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6WNK BROOKLYN BAD BOY                                                              ANDREW DICE CLAY   128623771   100   20872411   USSM19000318    Brooklyn Bad Boy                                                                Andrew Dice Clay   165   historical   748657       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9BAG   SEALED WITH A KISS                                                          ANDREW DICE CLAY   128623771   100   21026303   USSM19303070    Sealed With A Kiss                                                              Andrew Dice Clay   108   historical   778619      14         14 0.00029062     0.000290618   0.00406865   0     0.0000252   0.0040939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9OTK   THE CAR RIDE (GOIN' TO A PARTY)                                             ANDREW DICE CLAY   128623771   100   20872369   USSM19000293    The Car Ride (Goin' To A Party)                                                 Andrew Dice Clay   135   historical   748632      19         19 0.00029062     0.000290618   0.00552174   0     0.0000343    0.005556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6O00   CHICKS AREN'T FUNNY (JOEY WILL)                                             ANDREW DICE CLAY   128623771   100   20872379   USSM19000301    Chicks Aren't Funny (Joey Will)                                                 Andrew Dice Clay   72    historical   748641      16         16 0.00029062     0.000290618   0.00464988   0     0.0000289   0.0046787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TTH   STUCK BEHIND SOMEONE ON THE ROAD / CARS TO WATCH OUT FO                     GEORGE CARLIN      473337545   100   37009839   QMFME1556313 On The Road                                                                        George Carlin      286   historical   1718683    171        171 0.00029062     0.000290618   0.04969563   0   0.000308398    0.050004


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FOU   HEALTHCARE AND HEART SURGERY                                                ROBIN WILLIAMS     89045747    100   22454789   USQX91000081    Healthcare And Heart Surgery (Explicit Audio)                                   Robin Williams     369   historical   926055    7727    10817.8   0.00029062   0.000290618   3.14384416   0   0.019509852    3.163354


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF3ECC   PHONE SEX                                                                   ANDREW DICE CLAY   128623771   100   20872360   USSM19000284    Phone Sex                                                                       Andrew Dice Clay   139   historical   748623      21         21 0.00029062     0.000290618   0.00610297   0     0.0000379   0.0061408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   3A20U9   3 BEAUTIFUL DATES                                                           ANDREW DICE CLAY   128623771   100   20872381   USSM19000303    3 Beautiful Dates                                                               Andrew Dice Clay   231   historical   748643     113        113 0.00029062     0.000290618    0.0328398   0   0.000203795   0.0330436


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE9ORW THE ARGUMENT                                                                  ANDREW DICE CLAY   128623771   100   21026309   USSM19303076    The Argument                                                                    Andrew Dice Clay   330   historical   778625      62       74.4   0.00029062   0.000290618   0.02162196   0    0.00013418   0.0217561


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB633X   BACHELORETTE PARTY                                                          ANDREW DICE CLAY   128623771   100   21026295   USSM19303062    Bachelorette Party                                                              Andrew Dice Clay   255   historical   778611      83         83 0.00029062     0.000290618   0.02412127   0    0.00014969    0.024271


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04HW GOOD SPORTS                                                                   GEORGE CARLIN      473337545   100   36926288   QMFME1556687 Good Sports                                                                        George Carlin      150   historical   1714006     35         35 0.00029062     0.000290618   0.01017162   0     0.0000631   0.0102347


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YPX   RIP‐OFFS                                                                    GEORGE CARLIN      473337545   100   3446751                    Rip‐Offs                                                                        George Carlin      165   historical   1570273     14         14 0.00029062     0.000290618   0.00406865   0     0.0000252   0.0040939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   QA7027   QUICKSAND                                                                   GEORGE CARLIN      473337545   100   3446766                    Quicksand                                                                       George Carlin      129   historical   1570306     19         19 0.00029062     0.000290618   0.00552174   0     0.0000343    0.005556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6D69 MY CHILDHOOD                                                                  GEORGE CARLIN      473337545   100   11005103                   My Childhood                                                                    George Carlin      338   historical    40524      24       28.8   0.00029062   0.000290618   0.00836979   0     0.0000519   0.0084217


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA562B   MORE RANDOM THOUGHTS (PEACEKEEPING FORCE)                                   GEORGE CARLIN      473337545   100   11005089                   More Random Thoughts (Peacekeeping Force)                                       George Carlin      66    historical    40510      33         33 0.00029062     0.000290618   0.00959038   0     0.0000595   0.0096499


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA55U6   DEATH AND DYING 2                                                           GEORGE CARLIN      473337545   100   3408459                    Death And Dying (Part 2)                                                        George Carlin      181   historical   1546223    287        287 0.00029062     0.000290618   0.08340728   0   0.000517603   0.0839249


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7JNN   JAPS                                                                        ANDREW DICE CLAY   128623771   100   20872365   USSM19000289    Japs                                                                            Andrew Dice Clay   41    historical   748628      22         22 0.00029062     0.000290618   0.00639359   0     0.0000397   0.0064333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA      GEORGE CARLIN      473337545   100   36915353   QMFME1556361 Stupid Bullshit                                                                    George Carlin      192   historical   1713368     15         15 0.00029062     0.000290618   0.00435927   0     0.0000271   0.0043863


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32ET   DICE ON COMPLAINTS                                                          ANDREW DICE CLAY   128623771   100   20966164   USSM19100204    Dice On Complaints (Live At Govenors/1991)                                      Andrew Dice Clay   85    historical   766838      17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7DYH   HOW'S EVERYBODY DOIN'?                                                      GEORGE CARLIN      473337545   100   37363400   QMFME1556385 How's Everybody Doin'?                                                             George Carlin      54    historical   1736247      1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4N   FREE FLOATING HOSTILITY (SANCTITY OF LIFE (MAN MADE STO                     GEORGE CARLIN      473337545   100   37366496   QMFME1556291 Sanctity of Life                                                                   George Carlin      229   historical   1736402    463        463 0.00029062     0.000290618     0.134556   0   0.000835018    0.135391
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 85 of 86 Page ID
                                                                                                                                                                                                                                              #:4538
2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3USN   DICE REWRITES HISTORY                                                    ANDREW DICE CLAY   128623771   100   20966176   USSM19100216    Dice Rewrites History (Live At Govenors/1991)                 Andrew Dice Clay   135   historical   766846      18         18 0.00029062     0.000290618   0.00523112   0     0.0000325   0.0052636


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH83HB   SID/IN TOILET                                                            ANDREW DICE CLAY   128623771   100   22719872   USA2P0862634    Sid/In Toilet                                                 Andrew Dice Clay   151   historical   1017469      1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WM WHILE THE CATS AWAY...                                                      ANDREW DICE CLAY   128623771   100   20778757   USSM18900297    While The Cats Away... (Live At Dangerfield's/1989)           Andrew Dice Clay   198   historical   729645       4          4 0.00029062     0.000290618   0.00116247   0   0.000007214   0.0011697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60O7 MAD MAX                                                                    ANDREW DICE CLAY   128623771   100   21026302   USSM19303069    Mad Max                                                       Andrew Dice Clay   195   historical   778618      84         84 0.00029062     0.000290618   0.02441189   0   0.000151494   0.0245634


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OEL   NURSERY RHYMES                                                           GEORGE CARLIN      473337545   100   51923369   US4LA0703603    Nursery Rhymes                                                George Carlin      255   historical   2416272    552        552 0.00029062     0.000290618   0.16042097   0   0.000995529   0.1614165


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NL7   DICE'S CHECKLIST                                                         ANDREW DICE CLAY   128623771   100   20966158   USSM19100200    Dice's Checklist (Live At Govenors/1991)                      Andrew Dice Clay   101   historical   766834      23         23 0.00029062     0.000290618   0.00668421   0     0.0000415   0.0067257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YL5   RICE KRISPIES                                                            GEORGE CARLIN      473337545   100   36929032   QMFME1556567 Rice Krispies                                                    George Carlin      155   historical   1714199     79         79 0.00029062     0.000290618    0.0229588   0   0.000142476   0.0231013


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6PXD   BACKWARDS                                                                ANDREW DICE CLAY   128623771   100   20872377   USSM19000299    Backwards                                                     Andrew Dice Clay   108   historical   748639      40         40 0.00029062     0.000290618   0.01162471   0     0.0000721   0.0116968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NGI   DATE NIGHT AT THE MOVIES                                                 ANDREW DICE CLAY   128623771   100   22719860   USA2P0862622    Date Night At The Movies                                      Andrew Dice Clay   227   historical   1017467     17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93T6   THE GROCERY STORE                                                        ANDREW DICE CLAY   128623771   100   20872372   USSM19000295    The Grocery Store                                             Andrew Dice Clay   32    historical   748634      19         19 0.00029062     0.000290618   0.00552174   0     0.0000343    0.005556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                Andrew Dice Clay   49    historical   748656       4          4 0.00029062     0.000290618   0.00116247   0   0.000007214   0.0011697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K7Y   YA CAN'T BE NICE TO THEM                                                 ANDREW DICE CLAY   128623771   100   20872361   USSM19000285    Ya Can't Be Nice To Them                                      Andrew Dice Clay   33    historical   748624      40         40 0.00029062     0.000290618   0.01162471   0     0.0000721   0.0116968


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U5D   DICE HAS RANDOM THOUGHTS                                                 ANDREW DICE CLAY   128623771   100   20966174   USSM19100214    Dice Has Random Thoughts (Live At Govenors/1991)              Andrew Dice Clay   98    historical   766845      43         43 0.00029062     0.000290618   0.01249656   0     0.0000776   0.0125741


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HB18T8   HOGGIN'                                                                  ANDREW DICE CLAY   128623771   100   20746970   USSM18900279    Hoggin                                                        Andrew Dice Clay   200   historical   723331     111        111 0.00029062     0.000290618   0.03225857   0   0.000200188   0.0324588


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8WLC WOMAN'S WORLD                                                              ANDREW DICE CLAY   128623771   100   20872403   USSM19000313    Woman's World                                                 Andrew Dice Clay   32    historical   748651      32         32 0.00029062     0.000290618   0.00929977   0     0.0000577   0.0093575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RYY   THE 11 O'CLOCK NEWS                                                      GEORGE CARLIN      473337545   100   51923451   US4LA0704610    The 11 O'clock News                                           George Carlin      429   historical   2416293     68      108.8   0.00029062   0.000290618   0.03161921   0    0.00019622   0.0318154


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9LAN   RICHARD SIMMONS                                                          ROBIN WILLIAMS     89045747    100   19908638   USUM71412985 Richard Simmons                                                  Robin Williams     76    historical   652916     126        126 0.00029062     0.000290618   0.03661783   0    0.00022724   0.0368451


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZV   GAS (FEMININE)                                                           ANDREW DICE CLAY   128623771   100   21026282   USSM19303049    Gas (Feminine)                                                Andrew Dice Clay   187   historical   778602      58         58 0.00029062     0.000290618   0.01685583   0   0.000104603   0.0169604


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8XMV   THE HALLWAY GROUPS                                                       GEORGE CARLIN      473337545   100   52042522   US4LA0703704    The Hallway Groups                                            George Carlin      127   historical   2421386     21         21 0.00029062     0.000290618   0.00610297   0     0.0000379   0.0061408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TRX   SNOT, THE ORIGINAL RUBBER CEMENT                                         GEORGE CARLIN      473337545   100   51923375   US4LA0703609    Snot, The Original Rubber Cement                              George Carlin      174   historical   2416278     16         16 0.00029062     0.000290618   0.00464988   0     0.0000289   0.0046787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NDF   DICE TALKS TO THE SALESMEN                                               ANDREW DICE CLAY   128623771   100   20966133   USSM19100190    Dice Talks To The Salesmen (Live At Govenors/1991)            Andrew Dice Clay   60    historical   766811      76         76 0.00029062     0.000290618   0.02208695   0   0.000137066    0.022224


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0A86   THOBBING PYTHON OF LOVE                                                  ROBIN WILLIAMS     89045747    100   19908636   USUM71111341 Throbbing Python Of Love                                         Robin Williams     337   historical   652914     484      580.8   0.00029062   0.000290618   0.16879076   0    0.00104747   0.1698382


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72RB WORDS WE LEAVE BEHIND                                                      GEORGE CARLIN      473337545   100   37009850   QMFME1556319 Words We Leave Behind                                            George Carlin      115   historical   1718687    103        103 0.00029062     0.000290618   0.02993362   0    0.00018576   0.0301194


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QI5   INTERVIEW WITH JESUS 2                                                   GEORGE CARLIN      473337545   100   36929035   QMFME1556569 Interview with Jesus                                             George Carlin      486   historical   1714200    152      273.6   0.00029062   0.000290618     0.079513   0   0.000493436   0.0800064


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   EB1DNC   EARRINGS                                                                 GEORGE CARLIN      473337545   100   36918509   QMFME1556615 Earrings                                                         George Carlin      328   historical   1713603    646      775.2   0.00029062   0.000290618   0.22528684   0    0.00139807   0.2266849


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TQG   SOME WERDS                                                               GEORGE CARLIN      473337545   100   51923370   US4LA0703604    Some Werds                                                    George Carlin      477   historical   2416273    651     1041.6   0.00029062   0.000290618    0.3027074   0   0.001878521   0.3045859


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54BN   BLACK CONSCIOUSNESS                                                      GEORGE CARLIN      473337545   100   37436700   QMFME1556600 Black Consciousness                                              George Carlin      158   historical   1739470      1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NFP   DEVILS DANDRUFF                                                          ROBIN WILLIAMS     89045747    100   19908646   USUM71413003 Devils Dandruff                                                  Robin Williams     192   historical   652924     214        214 0.00029062     0.000290618   0.06219219   0   0.000385948   0.0625781


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA6TD4 MOTHERS, DAUGHTERS, & SISTERS                                              ANDREW DICE CLAY   128623771   100   20778752   USSM18900292    Mothers, Daughters, & Sisters (Live At Dangerfield's/1989)    Andrew Dice Clay   169   historical   729643       3          3 0.00029062     0.000290618   0.00087185   0    0.00000541   0.0008773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3IRW   OPPORTUNITY IN AMERICA (AL CAPONE'S SAFE)                                ANDREW DICE CLAY   128623771   100   20872364   USSM19000288    Opportunity In America (Al Capone's Safe)                     Andrew Dice Clay   99    historical   748627       6          6 0.00029062     0.000290618   0.00174371   0   0.000010821   0.0017545


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D9B   THE FIRST ENEMA                                                          GEORGE CARLIN      473337545   100   37085043   QMFMF1553618 The First Enema                                                  George Carlin      326   historical   1722929     17       20.4   0.00029062   0.000290618    0.0059286   0     0.0000368   0.0059654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72Z3   WAR PICTURES                                                             GEORGE CARLIN      473337545   100   51648299   USZQE0610781    War Pictures                                                  George Carlin      222   historical   2407848      6          6 0.00029062     0.000290618   0.00087185   0    0.00000541   0.0008773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IKD   THE FIRST BLOW‐JOB                                                       ANDREW DICE CLAY   128623771   100   20872405   USSM19000314    The First Blow‐Job                                            Andrew Dice Clay   50    historical   748652      19         19 0.00029062     0.000290618   0.00552174   0     0.0000343    0.005556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T33   SON OF WINO                                                              GEORGE CARLIN      473337545   100   51923446   US4LA0704606    Son of Wino                                                   George Carlin      391   historical   2416288      3        4.2   0.00029062   0.000290618   0.00122059   0    0.00000757   0.0012282


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB791N WONDERFUL WINO (TOP‐40 DISC JOCKEY)                                        GEORGE CARLIN      473337545   100   45268810   USRC10503013    Wonderful Wino (Top‐40 Disc Jockey)                           George Carlin      351   historical   2207773      1        1.2   0.00029062   0.000290618   0.00034874   0    0.00000216   0.0003509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA04RS   GAY LIB                                                                  GEORGE CARLIN      473337545   100   51923374   US4LA0703608    Gay Lib                                                       George Carlin      126   historical   2416277     34         34 0.00029062     0.000290618     0.009881   0     0.0000613   0.0099423


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB5374   BIRTH CONTROL                                                            GEORGE CARLIN      473337545   100   51923445   US4LA0704605    Birth Control                                                 George Carlin      310   historical   2416287    265        318 0.00029062     0.000290618   0.09241643   0   0.000573512   0.0929899


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   YA2K6O   YA HEAR?                                                                 ANDREW DICE CLAY   128623771   100   20872408   USSM19000316    Ya Hear?                                                      Andrew Dice Clay   54    historical   748654      20         20 0.00029062     0.000290618   0.00581235   0     0.0000361   0.0058484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1JST   GAMES                                                                    ANDREW DICE CLAY   128623771   100   21026299   USSM19303066    Games                                                         Andrew Dice Clay   65    historical   778615       9          9 0.00029062     0.000290618   0.00261556   0     0.0000162   0.0026318


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA6KI2   DIVORCE GAME                                                             GEORGE CARLIN      473337545   100   51923448   US4LA0704607    Divorce Game                                                  George Carlin      269   historical   2416290     82         82 0.00029062     0.000290618   0.02383065   0   0.000147887   0.0239785


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2U3K   APARTMENT LIFE                                                           ANDREW DICE CLAY   128623771   100   20872410   USSM19000317    Apartment Life                                                Andrew Dice Clay   49    historical   748655       4          4 0.00029062     0.000290618   0.00116247   0   0.000007214   0.0011697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DI   BAD PRESS                                                                ANDREW DICE CLAY   128623771   100   20872376   USSM19000298    Bad Press                                                     Andrew Dice Clay   70    historical   748638       5          5 0.00029062     0.000290618   0.00145309   0    0.00000902   0.0014621


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RXT   THIRD LEFTFIELDERS                                                       GEORGE CARLIN      473337545   100   36991649   QMFME1556279 Third Leftfielders                                               George Carlin      189   historical   1717579    355        355 0.00029062     0.000290618   0.10316928   0   0.000640241   0.1038095


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UU5   DOGS & BIRDS                                                             ANDREW DICE CLAY   128623771   100   20872359   USSM19000283    Birds                                                         Andrew Dice Clay   59    historical   748622      32         32 0.00029062     0.000290618   0.00929977   0     0.0000577   0.0093575


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0BBL   THE SUMMER OLYMPICS AND ATHLETICS                                        ROBIN WILLIAMS     89045747    100   22454794   USQX91000086    The Summer Olympics And Athletics (Explicit Audio)            Robin Williams     405   historical   926060    15086   21120.4   0.00029062   0.000290618   6.13796207   0   0.038090542   6.1760526


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U71   DICE GOES TO THE MALL                                                    ANDREW DICE CLAY   128623771   100   20966130   USSM19100189    Dice Goes To The Mall (Live At Govenors/1991)                 Andrew Dice Clay   215   historical   766809      65         65 0.00029062     0.000290618   0.01889015   0   0.000117227   0.0190074


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                          GEORGE CARLIN      473337545   100   52042524   US4LA0703706    New York Voices                                               George Carlin      426   historical   2421388    518      828.8   0.00029062   0.000290618   0.24086395   0   0.001494737   0.2423587


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YUB   RATS AND SQUEALERS                                                       GEORGE CARLIN      473337545   100   37085031   QMFMF1553614 Rats and Squealers                                               George Carlin      418   historical   1722926     78      109.2   0.00029062   0.000290618   0.03173545   0   0.000196942   0.0319324


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9XEJ   SUBWAY TRAVEL                                                            ANDREW DICE CLAY   128623771   100   20872371   USSM19000319    Subway Travel                                                 Andrew Dice Clay   60    historical   748633      24         24 0.00029062     0.000290618   0.00697483   0     0.0000433   0.0070181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K93   RHYME RENDITIONS                                                         ANDREW DICE CLAY   128623771   100   20778769   USSM18900305    Rhyme Renditions (Live at Dangerfield's/1989)                 Andrew Dice Clay   231   historical   729649       3          3 0.00029062     0.000290618   0.00087185   0    0.00000541   0.0008773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8M05   THE COOL WORLD                                                           GEORGE CARLIN      473337545   100   51648300   USZQE0610782    The Cool World                                                George Carlin      316   historical   2407849     15         18 0.00029062     0.000290618   0.00523112   0     0.0000325   0.0052636


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MR1   TOLEDO WINDOW BOX                                                        GEORGE CARLIN      473337545   100   51923368   US4LA0703602    Toledo Window Box                                             George Carlin      296   historical   2416271    390        390 0.00029062     0.000290618    0.1133409   0   0.000703363   0.1140443


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB6P17   BACK HOME                                                                ROBIN WILLIAMS     89045747    100   19908635   USUM71412982 Back Home                                                        Robin Williams     223   historical   652913     332        332 0.00029062     0.000290618   0.09648508   0    0.00059876   0.0970838


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTO   ROCCO URBISCI INTERVIEW (BONUS)                                          GEORGE CARLIN      473337545   100   37085050   QMFMF1553621 Rocco Urbisci Interview                                          George Carlin      295   historical   1722931      2          2 0.00029062     0.000290618   0.00058124   0   0.000003607   0.0005848


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32N6   DICE GETS CREATIVE IN BED                                                ANDREW DICE CLAY   128623771   100   20966170   USSM19100210    Dice Gets Creative In Bed (Live At Govenors/1991)             Andrew Dice Clay   307   historical   766842     102      122.4   0.00029062   0.000290618   0.03557161   0   0.000220748   0.0357924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YX2   RADIO DIAL                                                               GEORGE CARLIN      473337545   100   36926291   QMFME1556690 Radio Dial                                                       George Carlin      112   historical   1714009     60         60 0.00029062     0.000290618   0.01743706   0    0.00010821   0.0175453


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7T0L   SEX IN COMMERCIALS                                                       GEORGE CARLIN      473337545   100   45268811   USRC10503014    Commercials                                                   George Carlin      500   historical   2207774      7       12.6   0.00029062   0.000290618   0.00366178   0   0.000022724   0.0036845


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9PX4   FAT ORGASMS                                                              ANDREW DICE CLAY   128623771   100   20872398   USSM19000310    Fat Orgasms                                                   Andrew Dice Clay   28    historical   748649      14         14 0.00029062     0.000290618   0.00406865   0     0.0000252   0.0040939


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   UA5G0A   URINALS ARE 50 PERCENT UNIVERSAL                                         GEORGE CARLIN      473337545   100   51923376   US4LA0703610    Urinals Are 50 Percent Universal                              George Carlin      147   historical   2416279     39         39 0.00029062     0.000290618   0.01133409   0     0.0000703   0.0114044


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   1C1KJA   1989‐ A REVIEW                                                           ANDREW DICE CLAY   128623771   100   20872375   USSM19000297    1989‐ A Review                                                Andrew Dice Clay   368   historical   748636     137      191.8   0.00029062   0.000290618   0.05574048   0    0.00034591   0.0560864


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   JC7BZ0   JOIN THE BOOK CLUB                                                       GEORGE CARLIN      473337545   100   36929036   QMFME1556570 Join the Book Club                                               George Carlin      157   historical   1714201     38         38 0.00029062     0.000290618   0.01104347   0     0.0000685    0.011112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8IIS   THIRD ANNOUNCEMENTS                                                      GEORGE CARLIN      473337545   100   36929039   QMFME1556572 Third Announcements                                              George Carlin      86    historical   1714203     52         52 0.00029062     0.000290618   0.01511212   0     0.0000938   0.0152059


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QTF   I KINDA LIKE IT WHEN A LOTTA PEOPLE DIE, 6‐23‐2001 (BONUS)               GEORGE CARLIN      473337545   100   37085052   QMFMF1553622 I Kinda Like It When a Lotta People Die, 6‐23‐2001               George Carlin      518   historical   1722932      3        5.4   0.00029062   0.000290618   0.00156934   0    0.00000974   0.0015791


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6BFT   NO POEMS                                                                 ANDREW DICE CLAY   128623771   100   21026308   USSM19303075    No Poems                                                      Andrew Dice Clay   180   historical   778624      89         89 0.00029062     0.000290618   0.02586498   0   0.000160511   0.0260255


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UY0   DOUBLE PARKING                                                           ANDREW DICE CLAY   128623771   100   20872368   USSM19000292    Double Parking                                                Andrew Dice Clay   29    historical   748631      19         19 0.00029062     0.000290618   0.00552174   0     0.0000343    0.005556


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD8V4O   FOR NAMES' SAKE                                                          GEORGE CARLIN      473337545   100   36926286   QMFME1556685 For Names' Sake                                                  George Carlin      419   historical   1714004    427      597.8   0.00029062   0.000290618   0.17373126   0    0.00107813   0.1748094


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB54D0   BOSTON RANT 1957                                                         GEORGE CARLIN      473337545   100   37085028   QMFMF1553613 Boston Rant 1957                                                 George Carlin      336   historical   1722925     17       20.4   0.00029062   0.000290618    0.0059286   0     0.0000368   0.0059654


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8R5L   THE NEWSCAST                                                             GEORGE CARLIN      473337545   100   45268813   USRC10503016    The Newscast                                                  George Carlin      456   historical   2207775      7       11.2   0.00029062   0.000290618   0.00325492   0     0.0000202   0.0032751


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TY0   SELF TAUGHT ED SULLIVAN                                                  GEORGE CARLIN      473337545   100   51923449   US4LA0704608    Ed Sullivan Self Taught                                       George Carlin      206   historical   2416291     23         23 0.00029062     0.000290618   0.00668421   0     0.0000415   0.0067257


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9IM0   FILTHY IN BED                                                            ANDREW DICE CLAY   128623771   100   20872384   USSM19000306    Filthy In Bed                                                 Andrew Dice Clay   99    historical   748645      20         20 0.00029062     0.000290618   0.00581235   0     0.0000361   0.0058484


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HIV   COUPLES IN LOVE                                                          ANDREW DICE CLAY   128623771   100   20746964   USSM18900273    Couples In Love                                               Andrew Dice Clay   211   historical   723329       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ7   SECOND LEFTFIELDERS                                                      GEORGE CARLIN      473337545   100   36991647   QMFME1556277 Second Leftfielders                                              George Carlin      340   historical   1717577    335        402 0.00029062     0.000290618   0.11682832   0   0.000725005   0.1175533


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NJO   DICE ON BODYBUILDERS                                                     ANDREW DICE CLAY   128623771   100   20966172   USSM19100212    Dice On Bodybuilders (Live At Govenors/1991)                  Andrew Dice Clay   73    historical   766844      85         85 0.00029062     0.000290618   0.02470251   0   0.000153297   0.0248558


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2195   ARNOLD, THE ECONOMY, AND ALTERNATIVE FUELS                               ROBIN WILLIAMS     89045747    100   22454792   USQX91000084    Arnold, The Economy, And Alternative Fuels (Explicit Audio)   Robin Williams     359   historical   926058    11642   13970.4   0.00029062   0.000290618   4.06004552   0   0.025195551   4.0852411


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8D58   TIRED OF SONGS                                                           GEORGE CARLIN      473337545   100   37085039   QMFMF1553617 Tired of Songs                                                   George Carlin      203   historical   1722928     24         24 0.00029062     0.000290618   0.00697483   0     0.0000433   0.0070181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA68B4   MY FIRST CONCERT                                                         ANDREW DICE CLAY   128623771   100   21026289   USSM19303056    My First Concert                                              Andrew Dice Clay   129   historical   778608      18         18 0.00029062     0.000290618   0.00523112   0     0.0000325   0.0052636


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   GA1QZ7   GOOD 4 U                                                                 ANDREW DICE CLAY   128623771   100   22719874   USA2P0862636    Good 4 U                                                      Andrew Dice Clay   304   historical   1017470      7        8.4   0.00029062   0.000290618   0.00244119   0     0.0000151   0.0024563


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MB9 ABORTION                                                                   GEORGE CARLIN      473337545   100   36929038   QMFME1556571 Abortion                                                         George Carlin      28    historical   1714202     77         77 0.00029062     0.000290618   0.02237756   0   0.000138869   0.0225164


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA672Q MOTHER GOOSE                                                               ANDREW DICE CLAY   128623771   100   20746955   USSM18900264    Mother Goose                                                  Andrew Dice Clay   207   historical   723328       3          3 0.00029062     0.000290618   0.00087185   0    0.00000541   0.0008773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HSO WIFE TELLS ALL                                                             ANDREW DICE CLAY   128623771   100   21026297   USSM19303064    Wife Tells All                                                Andrew Dice Clay   114   historical   778613      13         13 0.00029062     0.000290618   0.00377803   0     0.0000234   0.0038015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8HWY WOMEN COMICS                                                               ANDREW DICE CLAY   128623771   100   20778773   USSM18900309    Women Comics (Live at Dangerfield's/1989)                     Andrew Dice Clay   199   historical   729650       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7TVZ   STUPID BULLSHIT ON THE PHONE / WHAT A PHONE CALL SHOULD BE / IN A COMA   GEORGE CARLIN      473337545   100   36915354   QMFME1556362 Stupid Bullshit on the Phone                                     George Carlin      153   historical   1713369    108        108 0.00029062     0.000290618   0.03138671   0   0.000194778   0.0315815


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB7BWY BUSH, CHENEY, AND THE OBAMAS                                               ROBIN WILLIAMS     89045747    100   22454790   USQX91000082    Bush, Cheney, And The Obamas (Explicit Audio)                 Robin Williams     517   historical   926056    7291    13123.8   0.00029062   0.000290618   3.81400857   0   0.023668712   3.8376773
                                                                                                                                                                                                            Case 2:22-cv-00809-MCS-MAR Document 178-12 Filed 07/18/23 Page 86 of 86 Page ID
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2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32IZ   DICE AT THE DRIVE THRU                                                  ANDREW DICE CLAY   128623771   100   20966169   USSM19100209    Dice At The Drive Thru (Live At Govenors/1991)          Andrew Dice Clay   63    historical   766841      17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RGE   CAPT. JACK & JOLLY GEORGE                                               GEORGE CARLIN      473337545   100   51648298   USZQE0610780    Capt. Jack & Jolly George                               George Carlin      241   historical   2407847      4          4 0.00029062     0.000290618   0.00116247   0   0.000007214   0.0011697


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3UVB   DICE ON ORGASMS                                                         ANDREW DICE CLAY   128623771   100   20966156   USSM19100199    Dice On Orgasms (Live At Govenors/1991)                 Andrew Dice Clay   126   historical   766832      26         26 0.00029062     0.000290618   0.00755606   0     0.0000469    0.007603


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   LA316U   LET'S MAKE A DEAL                                                       GEORGE CARLIN      473337545   100   51923450   US4LA0704609    Let's Make a Deal                                       George Carlin      288   historical   2416292    426        426 0.00029062     0.000290618   0.12380314   0   0.000768289   0.1245714


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB86FB   CUTE LITTLE FARTS                                                       GEORGE CARLIN      473337545   100   37436706   QMFME1556604 Cute Little Farts                                          George Carlin      310   historical   1739473      1        1.2   0.00029062   0.000290618   0.00034874   0    0.00000216   0.0003509


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   VB62S6   VALUES (HOW MUCH IS THAT DOG CRAP IN THE WINDOW?) / SHOOT IS SHIT ...   GEORGE CARLIN      473337545   100   51923440   US4LA0704601    Shoot                                                   George Carlin      355   historical   2416283    524      628.8   0.00029062   0.000290618   0.18274041   0   0.001134038   0.1838744


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   MA60Z8   MOTHER & SON                                                            ANDREW DICE CLAY   128623771   100   20778777   USSM18900313    Mother & Son (Live at Dangerfield's/1989)               Andrew Dice Clay   216   historical   729651      17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB6HCO   CHINKS                                                                  ANDREW DICE CLAY   128623771   100   21026301   USSM19303068    Chinks                                                  Andrew Dice Clay   167   historical   778617      22         22 0.00029062     0.000290618   0.00639359   0     0.0000397   0.0064333


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   PF2J8N   POSTHUMOUS FEMALE TRANSPLANTS                                           GEORGE CARLIN      473337545   100   36909191   QMFME1556382 Posthumous Female Transplants                              George Carlin      214   historical   1713026    237        237 0.00029062     0.000290618    0.0688764   0   0.000427428   0.0693038


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE6B2Y   KHADAFI                                                                 ROBIN WILLIAMS     89045747    100   22491098   USSM18600022    Khadafi (Live)                                          Robin Williams     111   historical   939463     671        671 0.00029062     0.000290618   0.19500448   0   0.001210145   0.1962146


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2MJA   A FEW MORE FARTS                                                        GEORGE CARLIN      473337545   100   51923377   US4LA0703611    A Few More Farts                                        George Carlin      355   historical   2416280    179      214.8   0.00029062   0.000290618   0.06242468   0   0.000387391   0.0628121


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HC   DICE ON LASTING RELATIONSHIPS                                           ANDREW DICE CLAY   128623771   100   20966148   USSM19100195    Dice On Lasting Relationships (Live At Govenors/1991)   Andrew Dice Clay   173   historical   766825      27         27 0.00029062     0.000290618   0.00784668   0     0.0000487   0.0078954


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8MZO   THE METRIC SYSTEM                                                       GEORGE CARLIN      473337545   100   51923372   US4LA0703606    The Metric System                                       George Carlin      129   historical   2416275     49         49 0.00029062     0.000290618   0.01424027   0     0.0000884   0.0143286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH7EQ6   SPECIAL DISPENSATION ‐ HEAVEN, HELL, PURGATORY AND LIMBO                GEORGE CARLIN      473337545   100   37436687   QMFME1556592 Special Dispensation ‐ Heaven, Hell, Purgatory And Limbo   George Carlin      221   historical   1739468      1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5V86   NEW YORK VOICES                                                         GEORGE CARLIN      473337545   100   37436701   QMFME1556601 New York Voices                                            George Carlin      426   historical   1739471      1        1.6   0.00029062   0.000290618   0.00046499   0    0.00000289   0.0004679


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   OC3ITB   OLD SCHOOL PHONE                                                        ANDREW DICE CLAY   128623771   100   22719863   USA2P0862625    Old School Phone                                        Andrew Dice Clay   419   historical   1017468    123      172.2   0.00029062   0.000290618   0.05004437   0   0.000310562   0.0503549


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NED   DICE JUST SAYS NO LENO                                                  ANDREW DICE CLAY   128623771   100   20966143   USSM19100193    Dice Just Says No Leno (Live At Govenors/1991)          Andrew Dice Clay   108   historical   766820      37         37 0.00029062     0.000290618   0.01075286   0     0.0000667   0.0108196


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9P3B   SURPRISE                                                                ANDREW DICE CLAY   128623771   100   21026298   USSM19303065    Surprise                                                Andrew Dice Clay   232   historical   778614      33         33 0.00029062     0.000290618   0.00959038   0     0.0000595   0.0096499


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NQO DICE ON MANNERS                                                           ANDREW DICE CLAY   128623771   100   20966167   USSM19100207    Dice On Manners (Live At Govenors/1991)                 Andrew Dice Clay   79    historical   766840      49         49 0.00029062     0.000290618   0.01424027   0     0.0000884   0.0143286


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U4A   DICE GREETING CARDS                                                     ANDREW DICE CLAY   128623771   100   21026307   USSM19303074    Greeting Cards                                          Andrew Dice Clay   107   historical   778623      24         24 0.00029062     0.000290618   0.00697483   0     0.0000433   0.0070181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32NG   DICE STOPS FOR GAS                                                      ANDREW DICE CLAY   128623771   100   20966152   USSM19100197    Dice Stops For Gas (Live At Govenors/1991)              Andrew Dice Clay   149   historical   766829      24         24 0.00029062     0.000290618   0.00697483   0     0.0000433   0.0070181


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE93MB   THE NEWS                                                                ANDREW DICE CLAY   128623771   100   20872387   USSM19000309    The News                                                Andrew Dice Clay   48    historical   748648      17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7FV3   HOIDY TOIDY CHICKS                                                      ANDREW DICE CLAY   128623771   100   20872363   USSM19000287    Hoidy Toidy Chicks                                      Andrew Dice Clay   78    historical   748626      53         53 0.00029062     0.000290618   0.01540274   0     0.0000956   0.0154983


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD83DC   FIFTH ANNOUNCEMENTS                                                     GEORGE CARLIN      473337545   100   36929045   QMFME1556576 Fifth Announcements                                        George Carlin      25    historical   1714207      1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC6A7E   NO GUILT                                                                ANDREW DICE CLAY   128623771   100   20746971   USSM18900280    No Guilt                                                Andrew Dice Clay   174   historical   723332      38         38 0.00029062     0.000290618   0.01104347   0     0.0000685    0.011112


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TF0IM0   THE CONTRACTOR                                                          ANDREW DICE CLAY   128623771   100   21026304   USSM19303071    The Contractor                                          Andrew Dice Clay   140   historical   778620      16         16 0.00029062     0.000290618   0.00464988   0     0.0000289   0.0046787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   BB64DZ   BAMBI                                                                   ANDREW DICE CLAY   128623771   100   20872380   USSM19000302    Bambi                                                   Andrew Dice Clay   162   historical   748642      21         21 0.00029062     0.000290618   0.00610297   0     0.0000379   0.0061408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O3U WHEN I WAS YOUNG                                                          ANDREW DICE CLAY   128623771   100   20746965   USSM18900274    When I Was Young                                        Andrew Dice Clay   129   historical   723330       1          1 0.00029062     0.000290618   0.00029062   0     0.0000018   0.0002924


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB9LGA   CRITICS                                                                 ANDREW DICE CLAY   128623771   100   21026287   USSM19303054    Critics                                                 Andrew Dice Clay   202   historical   778606      29         29 0.00029062     0.000290618   0.00842791   0     0.0000523   0.0084802


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   HA7D3W HELLO GOODBYE 2                                                           GEORGE CARLIN      473337545   100   36918501   QMFME1556607 Hello‐Goodbye                                              George Carlin      253   historical   1713595   1845       1845 0.00029062     0.000290618   0.53618966   0   0.003327449   0.5395171


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   NC5OE2   NO ONE QUESTIONS THINGS                                                 GEORGE CARLIN      473337545   100   36915360   QMFME1556368 No One Questions Things                                    George Carlin      175   historical   1713371      3          3 0.00029062     0.000290618   0.00087185   0    0.00000541   0.0008773


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB72VJ   WURDS                                                                   GEORGE CARLIN      473337545   100   36926285   QMFME1556684 Wurds                                                      George Carlin      61    historical   1714003     74         74 0.00029062     0.000290618   0.02150571   0   0.000133459   0.0216392


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB793C   WASTED TIME ‐ SHARING A SWALLOW                                         GEORGE CARLIN      473337545   100   36910410   QMFME1556582 Wasting Time: Sharing a Swallow                            George Carlin      147   historical   1713088    131        131 0.00029062     0.000290618   0.03807092   0   0.000236258   0.0383072


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE546E   KILLER CARLIN                                                           GEORGE CARLIN      473337545   100   51648297   USZQE0610779    Killer Carlin                                           George Carlin      167   historical   2407846      3          3 0.00029062     0.000290618   0.00043593   0    0.00000271   0.0004386


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32J1   DON'T MOVE                                                              ANDREW DICE CLAY   128623771   100   20872367   USSM19000291    Don't Move                                              Andrew Dice Clay   65    historical   748630      41         41 0.00029062     0.000290618   0.01191533   0     0.0000739   0.0119893


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3U31   DICE ON DISASTERS                                                       ANDREW DICE CLAY   128623771   100   20966138   USSM19100192    Dice On Disasters (Live At Govenors/1991)               Andrew Dice Clay   111   historical   766816      17         17 0.00029062     0.000290618    0.0049405   0     0.0000307   0.0049712


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   WB8O1E WHAT'S UP DC??? CHICAGO/RIO OLYMPICS                                      ROBIN WILLIAMS     89045747    100   22454786   USQX91000078    What's Up DC?!? Chicago/Rio Olympics (Explicit Audio)   Robin Williams     129   historical   926052    4031       4031 0.00029062     0.000290618   1.17147995   0    0.00726989   1.1787498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32HO   DICE LEARNS TO MAMBO                                                    ANDREW DICE CLAY   128623771   100   20966171   USSM19100211    Dice Learns To Mambo (Live At Govenors/1991)            Andrew Dice Clay   189   historical   766843      96         96 0.00029062     0.000290618    0.0278993   0   0.000173136   0.0280724


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   KE545K   KIDS ARE TOO SMALL                                                      GEORGE CARLIN      473337545   100   37009844   QMFME1556316 Kids Are Too Small                                         George Carlin      191   historical   1718684    123        123 0.00029062     0.000290618   0.03574598   0    0.00022183   0.0359678


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA8YTJ   RANDOM THOUGHTS (RECREATIONAL DRUGS)                                    GEORGE CARLIN      473337545   100   51923444   US4LA0704604    Drugs                                                   George Carlin      263   historical   2416286    235        235 0.00029062     0.000290618   0.06829516   0   0.000423821    0.068719


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   IC9QSB   I USED TO BE IRISH CATHOLIC                                             GEORGE CARLIN      473337545   100   36910412   QMFME1556584 I Used to Be Irish Catholic                                George Carlin      177   historical   1713090    136        136 0.00029062     0.000290618   0.03952401   0   0.000245275   0.0397693


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   CB8RP5   CHILDHOOD CLICHES                                                       GEORGE CARLIN      473337545   100   37436704   QMFME1556603 Childhood Cliches                                          George Carlin      244   historical   1739472    192        192 0.00029062     0.000290618    0.0557986   0   0.000346271   0.0561449


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   SH9IQ1   SHAKE HANDS WITH MR. HAPPY                                              ROBIN WILLIAMS     89045747    100   19908643   USUM71412997 Shake Hands With Mr Happy                                  Robin Williams     246   historical   652921     321        321 0.00029062     0.000290618   0.09328828   0   0.000578922   0.0938672


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   FD9ILG   FILM & VIDEO                                                            ANDREW DICE CLAY   128623771   100   21026294   USSM19303061    Film & Video                                            Andrew Dice Clay   106   historical   778610      13         13 0.00029062     0.000290618   0.00377803   0     0.0000234   0.0038015


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   RA9K3Q   RELIGION AND MARRIAGE                                                   ROBIN WILLIAMS     89045747    100   22454796   USQX91000088    Religion And Marriage (Explicit Audio)                  Robin Williams     406   historical   926062    11486   16080.4   0.00029062   0.000290618   4.67324886   0   0.029000926   4.7022498


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA3NF6   DICE KNOWS WHEN TO SAY WHEN                                             ANDREW DICE CLAY   128623771   100   20966163   USSM19100203    Dice Knows When To Say When (Live At Govenors/1991)     Andrew Dice Clay   166   historical   766837      16         16 0.00029062     0.000290618   0.00464988   0     0.0000289   0.0046787


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   AB2UIS   ASSHOLE, JACKOFF, SCUMBAG                                               GEORGE CARLIN      473337545   100   36929044   QMFME1556575 Asshole, Jackoff, Scumbag                                  George Carlin      389   historical   1714206     61       85.4   0.00029062   0.000290618   0.02481875   0   0.000154019   0.0249728


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP                                                P63131   BLUEWATER MUSIC CORP. D/B/A MIGHTY NICE MUSIC   201732908   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   TE8RZJ   THINGS TO WATCH OUT FOR                                                 GEORGE CARLIN      473337545   100   36918511   QMFME1556617 Things to Watch out For                                    George Carlin      145   historical   1713605     21         21 0.00029062     0.000290618   0.00610297   0     0.0000379   0.0061408


2022‐06   22‐Jun   6/13/2022   P7978J   BLUEWATER MUSIC SERVICES CORP   P8219F   BLUEWATER MUSIC SERVICES CORP   P1009H   BLUEWATER MUSIC CORP.   161970171   P50568   BASH MUSIC                                      127194183   9/1/2017   9/30/2017   M18195   Pandora   Pandora Plus   Streaming US   DA32FF   DEEF & DUMB                                                             ANDREW DICE CLAY   128623771   100   21026283   USSM19303050    Deef & Dumb                                             Andrew Dice Clay   94    historical   778603      18         18 0.00029062     0.000290618   0.00523112   0     0.0000325   0.0052636
